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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION



    UNITED STATES, et al.,

                              Plaintiffs,

                v.                                No. 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                              Defendant.




                     GOOGLE LLC’S PROPOSED FINDINGS OF FACT




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                                 PRELIMINARY STATEMENT

        There is a vast delta between the evidence promised by the Plaintiffs and the evidence they

 delivered at trial. The constrained digital advertising ecosystem described in Plaintiffs’ complaint

 bears little resemblance to the real-world marketplace described in the testimony of those who

 know it best.

        Day after day, the Court heard about a vibrant and continually evolving competitive

 landscape where the biggest and fastest growing companies in the world—Amazon, Microsoft,

 Meta, and TikTok—along with lesser known but significant and growing ad tech players—The

 Trade Desk, Criteo, Magnite, PubMatic, Index Exchange, OpenX, and Equativ—all fiercely

 compete for a share of display advertising in a single two-sided market connecting publishers and

 advertisers. The result? An extraordinary, uncontested eighteen-fold economic growth in the

 display advertising market since 2008 that benefited customers and lifted businesses of all sizes.

 DTX-1828.

        Since 2008, as an early entrant into the ad tech industry, Google has invested many billions

 of dollars and hundreds of thousands of engineering hours to develop a suite of tools “establishing

 an infrastructure that renders them uniquely suited to serve their customers.” Verizon Commc’ns

 Inc. v. L. Offs. of Curtis V. Trinko, LLP, 540 U.S. 398, 407 (2004). Prices have never gone up,

 even as quality, publisher revenue, and advertiser return on investment have all increased. DTX-

 1886; DTX-1896; DTX-1897; DTX-1895. And—for all its investment and innovation—Google’s

 market share of display advertising spending facilitated is 25% and falling as of the date Plaintiffs

 filed their complaint. DTX-1875. These facts refute Plaintiffs’ antitrust claims, which all depend

 on proving that Google has developed a “unique demand” source (i.e., Google’s advertiser

 customers) and that rivals should be able to access it on exactly the same terms as Google. For

 one thing, Plaintiffs never attempted to define a market for advertiser demand or analyze whether


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 Google Ads demand is actually unique (it is not). For another, the claim is squarely barred by

 longstanding Supreme Court precedents, including Trinko and linkLine.             These threshold

 obstacles, among others, are fatal to Plaintiffs’ claims.

        The fact is that Google is not the only company that has been making enormous

 investments in ad tech. Meta and TikTok have built proprietary end-to-end technology on two of

 the widest reaching ad platforms in the world. Amazon offers advertisers tools to buy ads on its

 many digital properties—Amazon.com, Prime Video, and Twitch to name a few—and on third-

 party properties, as well as a header-bidding solution that lets publishers connect to numerous

 exchanges and is a substitute for Google’s ad server. Microsoft’s acquisition spree gave it an end-

 to-end stack to supply advertising to the social media, gaming, and retail platforms it owns. Rivals

 across the marketplace, including The Trade Desk, looking to serve a $1 trillion global market, are

 pursuing a strategy of “supply path optimization” to reduce the number of intermediary tools like

 Google’s required to match publishers to advertisers. And all of these competitors and more are

 working to use artificial intelligence to even more fundamentally upend how those matches occur.

        If Plaintiffs contend that economic growth would have been even greater but-for Google’s

 role in the market, they never showed it. 9/26/24 AM Tr. 158:19-159:11 (Israel) (“I haven’t seen

 Professor Lee or plaintiffs even try to” show “a but-for world. Meaning but for Google’s conduct,

 [the ecosystem] would have done even better.”); 9/20/24 AM Tr. 146:4-23 (Lee) (“I’m not putting

 forward a specific but-for world”). Just like they never showed the Court how the products they

 challenge actually work; or presented testimony from a single advertiser; or showed a timeline of

 auction design changes against the backdrop of industry-wide trends; or called to the stand major,

 direct competitors like Microsoft, Amazon, Criteo, or Meta (for whom Plaintiffs called a former

 employee and avoided the corporate representative); or proffered an expert in auction economics




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 or, for that matter, any rebuttal to Professor Milgrom and Dr. Israel; or perhaps most

 fundamentally, rebutted the clear efficiency and security benefits of Google’s integrated end-to-

 end system of software. The list goes on and on, deficiency upon deficiency, amounting to

 Plaintiffs’ failure to carry their burden of proof.

         At trial, the evidence showed that Google actually went beyond legal requirements. While

 the law would have protected Google’s decision to keep its customer base and technology to itself

 (like Meta, Amazon and TikTok), the evidence showed that Google did the opposite, creating

 interoperability that enabled a range of competition and choice.

         Start with publishers. Plaintiffs ignore numerous ways that Google has enabled publishers

 to interoperate with rivals and sell ad inventory without the need to use one or more Google tools.

 For example, Google made it possible for publishers to use its DFP tool to offer all of their

 impressions to Amazon’s and Prebid’s header-bidding offerings, through which publishers reach

 over 100 competing exchanges. Google also built Open Bidding, a competitive alternative to

 header bidding that enables publishers to sell inventory through approximately 25 rival exchanges

 within Google’s platform. Google even facilitates publishers’ contracts with competing exchanges

 in Open Bidding because Google wanted to design its product “in a way that made it as easy as

 possible for them to do so effectively.” 9/23/24 AM Tr. 40:25-41:9 (Korula); Korula DX 1.15. A

 publisher can use DFP in conjunction with header bidding and/or Open Bidding to sell “every

 single” impression without ever using AdX. 9/9/24 AM Tr. 79:4-13 (Wolfe). In essence,

 Google took the “publisher customer base that we had built and grown and g[ave] our competitors

 direct access to it, and in many cases, facilitat[ed] those connections where they didn’t exist”

 previously. 9/23/24 AM Tr. 67:24-68:11 (Korula).




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        Publishers have a wide ability to mix and match tools. Not only can publishers who want

 to use AdX access advertisers using Google’s two buying tools—Google Ads and DV360—but

 Google has gone out and persuaded over 100 rival buying tools (“Authorized Buyers”) to bid into

 AdX so those publishers can readily access advertisers from within and without Google’s

 platform. A publisher who wants access to Google’s advertisers without using DFP can use AdX

 Direct tags to access that demand.      And a publisher who wants access to advertisers on

 Google Ads, and DV360, and Authorized Buyers without going through AdX and DFP can use

 AdSense—a tool entirely excluded from Plaintiffs’ case. 9/23/24 AM Tr. 170:19-23 (Korula).

        Advertisers enjoy similar flexibility. Google’s DV360 allows them to bid into over 100

 third-party exchanges, and those advertisers can choose to never purchase on AdX. 9/23/24 PM

 Tr. 42:22-43:7, 43:22-45:2, 45:17-46:4 (Stefaniu); Stefaniu DX 1.25. Even advertisers who

 choose to use Google Ads can be reached in certain instances from third-party exchanges because

 Google built AwBid, a feature to help those advertisers reach third-party exchanges in a safe and

 reliable way. 9/20/24 PM Tr. 63:1-6 (Sheffer). And most advertisers—especially the largest ones

 that account for the vast majority of ad spend—multi-home and use multiple buying tools. DTX-

 1902; DTX-1978. For advertisers as well as publishers, there are many choices and paths to

 effective monetization.

        Against this backdrop, Plaintiffs’ case boiled down to the persistent complaints of a handful

 of Google’s rivals and several mammoth publishers (who also compete with Google in other lines

 of business) who have already gotten the vast majority of the interoperability they claim to want

 from Google. Yet they remain unsatisfied because they believe Google’s technology and its

 customers should be “community property.” 9/13/24 AM Tr. 28:1-11 (Kershaw); 9/10/24 AM Tr.

 100:14-21, 102:5-9 (Layser); 9/17/24 PM Tr. 51:18-52:6 (Cadogan); 9/9/24 PM Tr. 163:9-16




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 (Avery); 9/13/24 PM Tr. 68:20-25 (Creput); 9/12/24 PM Tr. 91:1-15 (Goel). Requiring a company

 to do further engineering work to make its technology and customers accessible by all of its

 competitors on their preferred terms has never been compelled by U.S. antitrust law; the law

 protects a company’s decision not to do that in order to preserve incentives to invest and innovate.

 Trinko, 540 U.S. at 407-08.

        These proposed Findings of Fact and Conclusions of Law detail the factual and legal

 infirmities in the Plaintiffs’ case; this preliminary statement highlights just a few:

        Market Definition and Power. “Proof of a relevant market is a threshold” requirement for

 each of Plaintiffs’ claims. Consul, Ltd. v. Transco Energy Co., 805 F.2d 490, 493 (4th Cir. 1986).

 Plaintiffs failed to show, as they must, that their alleged product markets reflect the “commercial

 realities” of how publishers and advertisers transact to fill digital ad space. Ohio v. Am. Express

 Co., 585 U.S. 529, 544 (2018).

        Two-Sided Market for Facilitating Display Ad Transactions.              The evidence at trial

 established a single two-sided market for ad tech for display ad transactions. The hallmark of a

 two-sided market is a product that “cannot make a sale to one side of the platform without

 simultaneously making a sale to the other.” Am. Express, 585 U.S. at 535. That is the case for the

 tools at issue here, each of which needs a willing buyer and seller to complete a sale. Plaintiffs’

 own witnesses described themselves as operating on the buy-side and/or the sell-side of one market

 that connects publishers and advertisers. E.g., 9/9/24 PM Tr. 45:21-46:10 (Casale); 9/11/24 PM

 Tr. 87:19-88:13, 157:25-158:19 (Dederick); see also 9/16/24 PM Tr. 44:1-4 (Weintraub); 9/20/24

 AM Tr. 72:9-16 (Lee). Reflecting this view of a two-sided market, testimony and documents from

 Google and its rivals confirmed that ad tech providers consider their competitors to be not just

 companies offering certain component tools, but all other companies that compete to facilitate




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 display advertising transactions. Lawyers’ arguments and artful pleading cannot rebut what was

 plainly established by testimony from nearly every witness in the case.

        Plaintiffs also artificially circumscribed their alleged markets based on a category of ads

 that market participants do not recognize as distinct. As Plaintiffs’ own expert acknowledges, this

 category—“open-web display advertising”—is one delineated specially for this case. 9/18/24 AM

 Tr. 70:5-15 (Abrantes-Metz). Most witnesses, including Plaintiffs’ own experts, had no prior

 familiarity with the term and not one indicated that they made decisions about tools based on their

 particular ability to transact this ad format. E.g., 9/19/24 PM Tr. 51:22-52:2 (Lee); 9/9/24 PM Tr.

 13:18-14:1 (Casale); 9/23/24 PM Tr. 98:10-99:3 (Oliphant); 9/20/24 PM Tr. 65:25-66:3 (Sheffer);

 9/17/24 AM Tr. 107:6-13 (Jayaram).

        That is unsurprising: it is undisputed that no ad tech tools exclusively transact the subset

 of traditional banner ads on the “open web.” Rather, the tools work across multiple channels and

 formats, and compete based on their ability to do so, because advertisers shift spend across them.

 DTX-59 at 2; DTX-76 at 8; DTX-101 at 2-3; DTX-308 at 5; DTX-319 at 11; DTX-1420 at 13;

 DTX-1487 at 25. Plaintiffs argue that basing markets on “open-web display ads” is nonetheless

 appropriate because such ads are “distinct” and there is “direct evidence” of market power.

 Plaintiffs’ Demonstrative O. Yet unrebutted real-world data show substitution between so-called

 “open-web display ads” and other types of digital display ads because, as even Plaintiffs’ witnesses

 admit, the flow of display advertising dollars is driven by where consumer engagement goes across

 multiple digital surfaces. E.g., 9/9/24 AM Tr. 56:5-22, 93:1-21 (Lowcock); 9/10/24 PM Tr. 6:11-

 7:7, 8:2-14 (Friedman) (“all media is just media”). Plaintiffs’ expert argued that substitution

 evidence was irrelevant here, 9/19/24 PM Tr. 58:10-59:15 (Lee), but that claim has no support in




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 the case law or under the facts of this case where Plaintiffs’ own witnesses confirm substitution is

 happening between Google and major competitors.

        Plaintiffs’ component-based markets, which are remnants of the way some tools developed

 in the very early years of display advertising, deliberately exclude significant technological

 advancements some of which happened, at this point, years ago.

        Header bidding—a technology Plaintiffs spent considerable time at trial discussing—is a

 clear example. This technology emerged to put newly developed real-time bidding by multiple

 exchanges in head-to-head competition.       As Plaintiffs acknowledge, header bidding was a

 competitive “threat” to which Google responded competitively by creating its own version called

 Open Bidding. 9/20/24 AM Tr. 5:7-7:13, 16:25-17:14, 25:25-27:15 (Lee); 9/11/24 PM Tr. 44:2-9

 (Ravi). Today, multiple header bidding tools compete for ad spend in what Plaintiffs’ own

 witnesses concede is a “hypercompetitive” marketplace. 9/9/25 AM Tr. 155:23-156:9 (Casale);

 9/9/24 PM Tr. 23:3-15 (Casale); 9/18/24 AM Tr. 98:1-20 (Abrantes-Metz); 9/20/24 AM Tr. 16:8-

 24 (Lee); 9/13/24 AM Tr. 32:4-5 (Kershaw). Header bidding allows advertisers and publishers to

 bypass Google’s traditional tools, yet Plaintiffs inexplicably exclude header bidding from their

 markets.

        A similar competitive force is “supply path optimization,” the effort to reduce the number

 of ad tech intermediaries needed to facilitate a display advertising transaction, which again places

 pressure on Google’s products across the ad tech stack. With supply path optimization, advertisers

 and publishers are increasingly able to bypass ad exchanges, buying tools, and/or publisher ad

 servers when transacting display ad impressions. 9/11/24 PM Tr. 116:14-117:4 (Dederick);

 9/12/24 PM Tr. 40:4-9, 41:6-13 (Dederick); 9/12/24 PM Tr. 142:20-143:19, 144:15-19 (Goel).




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        A third significant competitive challenge has arisen from the in-house technologies being

 developed by major publishers like Facebook, Amazon, and TikTok to cut out all intermediaries—

 third-party buying tools, exchanges, and publisher ad servers—when selling owned-and-operated

 inventory (as well as third-party inventory). As one of Plaintiffs’ experts acknowledged, these

 proprietary tools serve the same function as Google’s tools. 9/20/24 AM Tr. 32:8-33:11 (Lee); see

 also 9/26/24 AM Tr. 105:24-106:20 (Israel).

        It is only by ignoring these alternatives that Plaintiffs are able to inflate Google’s market

 shares and exclude major companies that view themselves to and do compete with Google. Once

 that competition in the market is accounted for, Google’s market share of display advertising

 transactions was never higher than 46% between 2008 and 2022. DTX-1875. And, since 2013,

 Google’s share has been on a steady decline, with a 25% market share in 2022, notwithstanding

 the steady rise in display ad spend. DTX-1875. These shares are far below the 70% the Fourth

 Circuit observed has been the threshold for finding monopoly power pursuant to Supreme Court

 cases. Kolon Indus. Inc. v. E.I. DuPont de Nemours & Co., 748 F.3d 160, 174 (4th Cir. 2014).

        Component Markets Exclude Key Substitutes.           A market is determined by whether

 products are “reasonably interchangeable by consumers for the same purpose.” Satellite Television

 & Associated Res., Inc. v. Cont’l Cablevision of Va., 714 F.2d 351, 356 (4th Cir. 1983). The

 measure for reasonable interchangeability is the “extent to which consumers will change their

 consumption of one product in response to a price change in another, i.e., the cross-elasticity of

 demand.” It’s My Party, Inc. v. Live Nation, Inc., 811 F.3d 676, 683 (4th Cir. 2016). As discussed,

 Plaintiffs’ gerrymandered markets are found in no Google or third-party analysis of markets or

 market share. Google presented real-world evidence that customers actually substitute and treat

 the products within and without Plaintiffs’ markets as “reasonably interchangeable,” and




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 Plaintiffs’ lead market definition expert did not conduct any econometric analysis to rebut that

 fact.

         For example, when it comes to buying tools, Plaintiffs assert Google Ads is a monopoly in

 a market for “advertiser ad networks for open-web display advertising.” “Advertiser ad networks”

 is another made-up term Plaintiffs’ expert admitted he had not used prior to the litigation. 9/20/24

 AM Tr. 137:12-15 (Lee). Plaintiffs’ fact and expert witnesses agreed that “ad networks” consist

 of tools that fundamentally serve both advertisers and publishers. 9/16/24 PM Tr. 47:15-25

 (Weintraub); Weintraub DX 1; 9/11/24 PM Tr. 102:24-103:13, 104:1-24, 105:21-106:15, 156:21-

 157:24 (Dederick); 9/10/24 AM Tr. 139:23-140:6 (Friedman). Yet Plaintiffs lopped off the

 publisher part of the ad network in order to assert an “advertiser ad network” market that no

 industry participant recognized.

         To support that claimed market, Plaintiffs exclude demand-side platforms (DSPs), even

 though the majority of ad spend on Google Ads comes from advertisers who use DSPs and can

 and do easily shift spending between these tools. DTX-1970. Plaintiffs also knock out integrated

 buying tools like the ones to buy ads on Facebook and TikTok even though the testimony at trial

 showed that advertisers view these as substitutes. 9/27/24 AM Tr. 26:14-24, 28:6-11 (Bumpers);

 9/25/24 PM Tr. 9:1-10:11 (Caldwell); 9/23/24 PM Tr. 96:5-13 (Oliphant). Under Plaintiffs’ view,

 there is supposedly just one other competitor in this constructed market—Criteo, which itself lists

 its competitors as not just Google, but also Amazon, Meta, Microsoft, and The Trade Desk, DTX-

 1420 at 12, 29 (2022 Criteo 10-K). If this two-firm market were true, Google, an alleged

 monopolist, would be the discount provider. And Plaintiffs never even called that company to the

 stand lest they call into question their alleged market, a market unsupported by any competitive




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 analysis documents. When all these substitutes are taken into consideration, Google’s market

 share in buying tools is not 88%, PTX-1281; it is 19%, DTX-1860.

        A similar story plays out when it comes to Plaintiffs’ claimed market in ad exchanges.

 When marking the boundaries of this market, Plaintiffs conspicuously excise 70% of all display

 advertising spend by excluding all direct transactions, even though those transactions are

 increasingly carried out using the same programmatic tools as those within Plaintiffs’ markets and

 account for the majority of publisher advertising revenue. 9/26/24 AM Tr. 85:16-86:11 (Israel);

 DTX-1923; 9/20/24 PM Tr. 48:3-18 (Sheffer). Plaintiffs have no justification for why they

 excluded the many other tools that auction off web remnant inventory, like AdSense and in-house

 ad tech tools.

        The same goes for tools on the sell-side of the marketplace, where Plaintiffs claim DFP is

 an unlawful monopoly. To reach this result, Plaintiffs again ignore AdSense, which is used by

 millions of Google’s publisher customers, and the header-bidding tools Prebid and Amazon TAM

 that help a publisher manage monetization of their inventory just like a publisher ad server does.

 9/12/24 PM Tr. 164:2-9 (Kershaw) (Prebid takes “over the auction process that previously had

 been determined by what was called the ad server”). Plaintiffs also excise in-house ad servers,

 even though publisher customers choose “on a regular basis” whether to switch between third-

 party or proprietary ad servers. 9/20/24 PM Tr. 71:25-72:20 (Sheffer). Amazon, Reddit, Disney,

 and Snapchat, as well as smaller publishers, have switched from Google’s ad server to build their

 own; the New York Times and IMDb switched inventory from their own ad servers to Google’s.

 9/26/24 AM Tr. 55:2-8, 126:17-25 (Israel); 9/20/24 AM Tr. 73:15-74:3, 78:7-79:1 (Lee); 9/17/24

 PM Tr. 123:9-11 (Helfand); 9/20/24 PM Tr. 70:10-24 (Sheffer). And Plaintiffs in no way account

 for the fact that the majority of large web publishers also operate apps and substitute by focusing




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 their users and monetization efforts on in-app ads (and the tools to monetize that inventory).

 9/26/24 AM Tr. 122:11-123:16 (Israel).

        No Monopoly Power. Not only have Plaintiffs failed to prove valid antitrust markets, they

 have also failed to show monopoly power. Plaintiffs have offered little direct evidence of

 monopoly power. See Rebel Oil Co. v. Atl. Richfield Co., 51 F.3d 1421, 1434 (9th Cir. 1995) (i.e.,

 “evidence of restricted output and supracompetitive prices”). Output has consistently grown

 during Google’s time in the market, repeatedly beating contemporaneous projections. DTX-1884.

 At the same time, Google’s share of the market has steadily declined as other competitors have

 won business from Google. DTX-1969; DTX-1928. In 2017, a memo from AppNexus’ CEO to

 Microsoft’s CEO observed that Google’s display ads business was “a bit on the ropes” and

 “surprisingly vulnerable,” while Amazon was “stealthy aggressive and winning.” DTX-379 at 2.

 As depicted below, the market (denoted by the sharply ascending blue line) is growing at a much

 faster clip than Google’s revenue (denoted by the much flatter red line), and Google’s share of the

 overall market has declined considerably as most of that growth is captured by competitors. DTX-

 1928; DTX-1884.




        Moreover Google’s prices, which are in line with or lower than rivals, have either stayed

 the same or gone down. Plaintiffs focused on prices only in one of their proposed markets, “ad


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 exchanges for indirect open-web display advertising,” and did not offer evidence of supra-

 competitive pricing for their other markets or across the ad tech stack. For exchanges, Plaintiffs

 contend that one expert’s analysis shows Google’s price was higher than some exchanges but

 lower than others—with no accounting for the acknowledged quality difference between

 exchanges, 9/19/24 AM Tr. 10:25-12:16, 112:7-12 (Simcoe)—and that Google’s take rate was 2%

 higher calculated than what he believed it would be in a competitive market, PTX-1199B; 9/19/24

 AM Tr. 48:1-11 (Simcoe). Plaintiffs’ argument that any evidence a firm charges a higher price

 than some other firms selling related products constitutes proof of market definition and market

 power all at once has never been endorsed by any court. In reality, viewed across the entire ad

 stack—as the revenue share must be because it is shared by advertisers and publishers, 9/18/24

 PM Tr. 36:14-19 (Simcoe)—Google’s prices are lower than the vast majority of its competitors,

 reflecting the quality and efficiency of its integrated software system. DTX-1886; DTX-1977

 (Google Ads, AdX, and DFP combined fee lower than the industry average). As shown below,

 the average full-stack revenue share for competitor tools is 36.1%, whereas each combination of

 Google’s buying tools with Google’s ad exchange is lower than 30%. DTX-2071A.




        Similarly, a comparison of the combined fees for buying tool and ad exchange pairs also

 shows that Google’s fees are among the lowest in the market. DTX-1893A.



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 Note: Sharethrough is a rival ad tech provider. The other companies are anonymized pursuant to
 this Court’s order. ECF No. 1147.




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        Lacking direct evidence, Plaintiffs’ expert argued that market definition and power are

 demonstrated by Google’s ability to “degrade” quality. The only examples of Google “degrading”

 quality he identified are the same, lawful refusals to deal he alleges are anticompetitive. 9/19/24

 PM Tr. 66:7-67:11 (Lee); 9/20/24 AM Tr. 134:11-135:1 (Lee). Plaintiffs ask this Court to collapse

 two distinct inquiries under antitrust law to a single question: Did Google engage in

 “anticompetitive conduct” as defined by Plaintiffs? If so, that suffices to prove market definition,

 market power, and anticompetitive conduct in one fell swoop. But not only was Google’s conduct

 here procompetitive, this is not how the law works. Plaintiffs’ claim that a product did not work

 as rivals wanted is no rebuttal to significant evidence of substitution between products within and

 without Plaintiffs’ product market. It’s My Party, Inc., 811 F.3d at 683.

        All that remains is Plaintiffs’ claim that Google has a high market share in the

 gerrymandered markets Plaintiffs put forward. It’s My Party, Inc., 811 F.3d at 683 (warning

 against such markets). Just as competition added back into the overall display ad transaction

 market shrinks Google’s share, the actual competition faced by Google in the component markets

 shows that Google has 30% of all display advertising among ad servers, DTX-1873; 17% among

 ad exchanges, DTX-1868; and 19% among ad-space buying tools, DTX-1860. All well short of

 any threshold for market power. Kolon, 748 F.3d at 174.

        Conduct and Consequences. From the outset, Google has sought to develop an integrated

 ad tech stack that serves advertiser and publisher customers end-to-end. The benefits of such

 integration are established, and were demonstrated at trial—operational efficiency, safety and

 security, user privacy, reduced latency, and lower prices—and many of Google’s largest

 competitors pursue the same models.          E.g., DTX-371 at 1-2 (Google); DTX-939 at 2

 (AppNexus/Xandr, now Microsoft Monetize). Even rivals acknowledge Google’s products are




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 good quality. E.g., PTX-1709 at -934 (Meta); 9/17/24 PM Tr. 48:9-16, 80:13-20 (Cadogan)

 (OpenX); 9/17/24 PM Tr. 129:3-12 (Helfand) (Disney).

        Lawful Refusals to Deal. In building this end-to-end integrated ad tech offering, Google

 was not only animated by valid business reasons but also acted in a manner squarely protected by

 the Supreme Court’s decision in Verizon Commc’ns., Inc. v. Law Offices of Curtis V. Trinko, LLP,

 540 U.S. 398, 408 (2004), which recognized “the right of [a] trader or manufacturer engaged in an

 entirely private business, freely to exercise his own independent discretion as to parties with whom

 he will deal.” Plaintiffs seek to upend this rule and hold Google liable under a theory that rivals

 lack access to Google’s infrastructure, technologies, and customers that is “comparable” to what

 Google has. As the Court held in Trinko, and reaffirmed five years later, “businesses are free to

 choose the parties with whom they will deal, as well as the prices, terms, and conditions of that

 dealing.” Pac. Bell Tel. Co. v. linkLine Commc’ns, Inc., 555 U.S. 438, 448 (2009). Absent such

 a rule, courts are put in the position of ordering “enforced sharing,” which risks dampening the

 incentives to “invest in those economically beneficial facilities” and requires courts “to act as

 central planners, identifying the proper price, quantity, and other terms of dealing—a role for

 which they are ill suited.” Trinko, 540 U.S. at 408.

        The actions in this case illustrate well why U.S. antitrust law gives firms this latitude. Out

 of Google’s thousands of innovations, Plaintiffs hone in on five allegedly anticompetitive acts

 (only three of which remain in effect). All of the acts are described in greater detail herein but

 each had as its purpose benefiting Google’s advertiser and publisher customers. 9/24/24 PM Tr.

 34:13-21 (Milgrom) (for Google’s auction changes, “every one of the conducts we’ve described,

 Google’s programs benefited its own customers, either advertisers or publishers or both”). Rather

 than “investing, innovating, or expanding,” a handful of competitors are doing what now-Justice




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 Gorsuch warned antitrust law does not permit: to “demand the right to piggyback on its larger

 rival.” Novell, Inc. v. Microsoft Corp., 731 F.3d 1064, 1073 (10th Cir. 2013).

        Plaintiffs’ central claim is for greater access to the customers Google has carefully

 cultivated through its Google Ads offering, also known as “Google Ads demand.” Plaintiffs insist

 that Google build the ability for Google Ads to bid into third-party exchanges without restrictions.

 That tool already exists: it is Google’s DV360 (notably absent from any of Plaintiffs’ purported

 markets). Google Ads, developed at a different time and in a different way than DV360, offers

 customers a different value proposition: connecting advertisers with a pool of vetted and curated

 publisher inventory. 9/11/24 AM Tr. 48:21-52:17 (Bender). Google has built and constantly

 expanded a feature on Google Ads, AwBid, that connects Google Ads advertisers to third-party

 exchanges when doing so does not degrade the quality of the inventory offered on Google Ads.

        Compelled integration of Google Ads with third-party exchanges would not only overrule

 Google’s business judgment about the legitimate trade-offs between expanded access to inventory

 and considerations like the quality of ad inventory, 9/11/24 AM Tr. 62:10-63:1, 63:19-64:22

 (Bender), it would require “completely new systems” and redoing “a vast majority of the

 engineering,” 9/17/24 AM Tr. 120:16-121:17 (Jayaram). Plaintiffs’ demand would also collapse

 Google’s two differentiated products into one, require Google to deal with rivals on their terms,

 reduce the incentives of Google and its rivals to invest in building their own customer bases, and

 reduce consumer choice—hardly the aims of U.S. antitrust law. See Trinko, 540 U.S. 398 at 407-

 408 (firms are not required to turn over the “source of their advantage”).

        Plaintiffs seek a similarly unjustified result by arguing AdX should deliver to rival

 publisher ad servers the real-time amount of bids from the advertisers that have chosen to bid into

 AdX. This is also the basis of their “tying” claim (even though DFP and AdX can be and are used




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 separately, with the vast majority of publishers not using AdX) and their objection to the Admeld

 acquisition (that Google should have built an Admeld feature to transmit real-time bids to rival ad

 servers). Plaintiffs want publishers to be able to compare real-time bid amounts from all demand

 sources, including AdX (and by extension Google’s advertising customers, such as those using

 Google Ads). Google has already made that possible through Open Bidding and the Unified First

 Price Auction. What Plaintiffs now want is for Google to replicate the ability to compare AdX

 real-time bid amounts and all other real-time bid amounts on rival platforms. 9/16/24 PM Tr.

 123:5-124:17 (Abrantes-Metz). They demand that Google not only build integrations with rival

 publisher ad servers, but reverse its design decisions and take “years” to rewrite AdX’s “core code

 in many places” in order to make that comparison possible using rival platforms. 9/23/24 AM Tr.

 47:12-48:4 (Korula). The law nowhere guarantees rivals such access, and certainly not on the

 “prices, terms, and conditions” a rival demands. linkLine, 555 U.S. at 448.

        Contrary to Plaintiffs’ opening statement that Google “controls” its customers, 9/9/24 AM

 Tr. 21:8-17 (Plaintiffs’ Opening), publishers using DFP have always retained complete control

 over how they set up DFP, including the price floors and values assigned to particular demand

 sources, not to mention the choice to use it at all. 9/11/24 PM Tr. 32:3-18 (Ravi); 9/27/24 AM Tr.

 97:6-8 (Wheatland); 9/23/24 AM Tr. 36:20-24 (Korula).

        Dynamic Allocation (DA) was a “risk-free” feature on DFP that publishers could choose

 to use to maximize publisher revenue, which worked because of the close integration of AdX and

 DFP. DTX-117 at 117. Plaintiffs argue similar integrations should also have been built for rival

 exchanges. Remarkably, their own expert conceded she did not know what or how much work

 would have been required to build these integrations, but claimed her lack of understanding was

 “more or less” irrelevant to her opinion. 9/18/24 AM Tr. 78:15-79:7 (Abrantes-Metz). The law




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 did not require Google to undertake the “onerous” technical work required to build those

 integrations, 9/19/24 PM Tr. 25:23-26:11 (Levitte); 9/12/24 PM Tr. 93:8-16, 115:1-7 (Goel)—not

 to mention that, when it did become technologically feasible, Google did exactly what Plaintiffs

 seek.

         Similarly, in 2019, Google launched the Unified First Price Auction and Unified Pricing

 Rules to simplify auctions and make them more transparent for both advertisers and publishers.

 DTX-705 at 7, 10; DTX-1016 at 20; 9/12/24 AM Tr. 123:10-124:5 (Srinivasan). Publishers using

 DFP still have the option to deprioritize AdX (or turn AdX off entirely), and the “vast majority”

 of DFP publishers do not use AdX. 9/10/24 AM Tr. 96:25-98:3 (Layser); 9/23/24 AM Tr. 41:15-

 42:1, 42:10-43:2, 43:8-24 (Korula) (demonstrating, in Korula DX 1.17, how to turn AdX off on

 DFP). Though a handful of large publishers now seek even greater ability to discriminate against

 AdX while still using Google’s DFP ad server tool, the law does not require Google to recreate its

 products to enable that outcome.

         Ultimately, what Plaintiffs want is to overturn controlling Supreme Court precedent that

 protects a firm’s ability to choose with whom and on what terms to do business. Plaintiffs have

 tried to argue that this is not a broadside on Trinko but rather a challenge to Google unlawfully

 “conditioning access” for its customers. 9/19/24 PM Tr. 127:11-24 (Lee); 9/16/24 PM Tr. 116:14-

 22 (Abrantes-Metz). As the D.C. Circuit recently held, a claim that a firm withheld “valuable

 access from rivals leaving them weakened and less competitive” is still a claim challenging that

 lawful choice. New York v. Meta Platforms, Inc., 66 F.4th 288, 306 (D.C. Cir. 2023) (quoting

 DOJ’s amicus brief arguing for a distinction between an unlawful “conditioning access” for

 customers and a lawful refusal to deal and rejecting that argument).




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        Furthermore, customers and rivals remain free to do business as they wish without using

 any of Google’s advertising products, or to use those products with ever increasing interoperability

 and choice. 9/10/24 PM Tr. 25:2-4, 24:12-14 (Friedman); 9/9/24 AM Tr. 78:10-79:13, 80:7-22

 (Wolfe). The only limits from Google are as to what customers can do with Google’s own

 products, which courts have upheld as lawful refusals to deal. Meta, 66 F.4th at 305 (“To consider

 Facebook’s policy as a violation of § 2 would be to suppose that a dominant firm must lend its

 facilities to its potential competitors. That theory of antitrust law runs into problems under the

 Supreme Court’s Trinko opinion.”); United States v. Google, 2024 WL 3647498, at *129-*131

 (D.D.C. Aug. 5, 2024) (permitting Google to have “prioritized and advantaged its own ad platform,

 Google Ads, over Microsoft's ad platform on SA360” under “the settled principle that firms have

 ‘no duty to deal’ with a rival”).

        Valid Business Reasons. Even if Google’s conduct were not squarely protected by

 Supreme Court precedent, Plaintiffs’ claims independently fail because each challenged act was

 motivated by a “valid business reason or concern for efficiency.” Oksanen v. Page Memorial

 Hosp., 945 F.2d 696, 710 (4th Cir. 1991). Across not just the five challenged acts that form the

 basis of Plaintiffs’ case but also the thousands of other innovations introduced during the period

 at issue, the evidence consistently showed that Google sought to maximize value for advertisers

 and publishers (as well as users) by increasing return on investment for advertisers; maximizing

 yield for publishers; promoting safety, security, and trust in the display advertising ecosystem; and

 creating a fair, transparent auction system. E.g., 9/16/24 AM Tr. 13:18-14:3, 73:7-24 (Mohan);

 DTX-37 at 5-6; DTX-59 at 3.

        That is why, far from having anticompetitive effects, Google’s investments and product

 design decisions have contributed to the exponential growth of the display advertising industry,




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 which has consistently outpaced industry projections. Today, display advertising customers,

 including Google’s customers, have increased choice, decreased prices, and greater opportunities,

 improvements that especially benefit small businesses, e.g., 9/25/24 PM Tr. 4:25-5:10, 10:12-23,

 19:6-12 (Caldwell). Against this unrebutted empirical evidence, Plaintiffs would build a case on

 the self-described “late night jetlag ramblings” of one employee and the “wild idea” of another

 self-professed “engineer who knows very little about anything” with “basically zero experience in

 the business.” PTX-367 at -463; 9/19/24 AM Tr. 155:10-156:25 (Bellack); PTX-238 at -609 to -

 610; 9/13/24 AM Tr. 144:20-145:9 (LaSala). The law requires more to show “proof of actual

 detrimental effects on competition.” Am. Express, 585 U.S. at 542. As the Fourth Circuit has

 cautioned, “a desire to increase market share or even to drive a competitor out of business through

 vigorous competition on the merits is not sufficient.” Abcor Corp. v. AM Int’l, Inc., 916 F.2d 924,

 927 (4th Cir. 1990) (citing United States Steel Corp. v. Fortner Enters. 429 U.S. 610, 612 n.1

 (1977)).

        The Supreme Court has warned that Section 2 findings of antitrust violations can do real

 damage by harming innovation and competition. That is certainly true in this case where the

 consequences of intervention—intended and unintended—could disrupt millions of businesses,

 especially small businesses, who rely on a complex advertising ecosystem that has been constantly

 improving to serve their needs. For 16 years, those businesses have been best served when Google

 and its many competitors have invested in the innovation that fueled continuous improvement and

 market-wide economic growth. That investment, innovation, and improvement continues apace.

 Rooted firmly in the distant past, Plaintiffs are seeking a judgment of liability and an injunction

 attempting to control a rapidly evolving and dynamic future. 9/12/24 PM Tr. 30:13-19 (Dederick);




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 9/9/24 PM Tr. 21:2-7 (Casale); 9/12/24 PM Tr. 150:7-13 (Goel). The antitrust laws do not permit

 this and the evidence does not support it.




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                               PROPOSED FINDINGS OF FACT 1

 I.     Over the Past Two Decades, Google Has Innovated and Responded to Changes in
        Display Advertising in Ways that Benefited the Advertising Ecosystem.

        1.      The industry for facilitating matches of advertisers to display ad space on digital

 content has been “exceptionally fluid.” 2 9/20/24 PM Tr. 62:9-17 (Sheffer). That fluidity has been

 driven by “innovation,” which “is really at the heart of this whole business.” 9/23/24 AM Tr.

 48:13-20 (Korula). As Paul Milgrom, a Nobel laureate in auction economics, explained, Google’s

 auction design choices and innovation “benefited its own customers, either advertisers or

 publishers or both.” 9/24/24 PM Tr. 34:13-21 (Milgrom). The case Plaintiffs presented was

 focused on five cherry-picked forms of conduct out of thousands of Google innovations that have

 driven the industry. Infra ¶¶ 16, 715.1. Plaintiffs’ case ignored how Google’s products evolved,

 with each innovation building on prior technology to benefit its advertisers, its publishers, and its

 users, and ultimately the entire display advertising ecosystem. 9/24/24 AM Tr. 27:1-7 (Milgrom)

 (“When you evaluate auction design or auction programs and processes, you have to put them in

 context and understand how they work together with what’s already available in the market and

 capabilities and processes of the existing participants.”).

        2.      In the beginning, before even radio and television matched advertisers and

 publishers, newspapers provided a “one-stop shop” for sought-after content—local and national

 news, sports, fashion, entertainment, leisure, and weather. DTX-173 at 12. Newspaper publishers

 generated revenue based on a combination of subscriptions and advertising. DTX-173 at 9.


 1
   Proposed Findings of Fact relating to the witnesses who testified at trial, including proposed
 findings relating to witness credibility and Plaintiffs’ motion for adverse inference, are included
 in a separate document titled Proposed Findings of Fact Relating to Trial Witnesses.
 2
  With respect to quoted material, unless otherwise indicated, brackets, ellipses, footnote call
 numbers, internal quotations, and citations have been omitted for readability. All emphasis is
 added unless otherwise indicated.


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        3.        The advent of digital content in the 1990s expanded monetization opportunities for

 content creators and advertisers. As subject-matter specific content on digital properties, including

 user generated content, became more widespread, digital content increasingly competed with

 traditional newspapers for users’ attention and advertising dollars, with digital platforms

 democratizing who could be a publisher.          DTX-173 at 12 (2013 Google “Publishers 101”

 presentation).

        4.        “[I]n the last 15 years, the ad industry has seen a migration from legacy media

 channels to digital media channels like social media, video, digital display, apps, and CTV.”

 9/13/24 PM Tr. 45:1-6 (Lambert); see also 9/12/24 PM Tr. 58:7-21 (Goel).

        5.        As advertising shifted from legacy media to digital media, technology—“ad

 tech”—developed to assist publishers who owned digital properties to sell ad space and advertisers

 to buy that digital ad space. 9/24/24 AM Tr. 33:24-35:3 (Milgrom).

        6.        The creators of digital content, called publishers, 3 designate space for digital ads,

 called inventory. 9/9/24 AM Tr. 66:9-16 (Wolfe). Every person who navigates to a creator’s

 digital content—whether a website, app, TV streaming service, podcast platform, gaming console,

 or any other digital platform—has an opportunity to view an ad, referred to as an “impression.”

 9/9/24 AM Tr. 60:13-23, 65:12-18 (Wolfe).



 3
  “Advertisers” refers to any entity that purchases advertising to reach “users,” referring to viewers
 of digital content. In the two-sided display advertising market, industry participants refer to
 advertisers, advertising agencies, and tools that serve advertisers as the “buy-side” of the market.
 E.g., 9/9/24 AM Tr. 131:2-19 (Casale); 9/10/24 PM Tr. 76:8-18 (Lipkovitz); 9/11/24 AM Tr.
 47:12-23 (Bender).
 “Publishers” refers to all entities that produce digital content, including on websites, mobile apps,
 Connected TV, social media feeds, and more. In the two-sided display advertising market,
 industry participants refer to publishers and tools that serve publishers as the “sell-side” of the
 market. E.g., 9/9/24 AM Tr. 131:2-19 (Casale); 9/10/24 PM Tr. 76:8-18 (Lipkovitz); 9/19/24 AM
 Tr. 119:20-24 (Bellack).


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        7.      The purpose of ad tech is to facilitate the match between advertisers, publishers,

 and users viewing advertising impressions on digital content. 9/24/24 AM Tr. 45:5-20 (Milgrom);

 9/26/24 AM Tr. 37:13-38:13, 40:20-41:8 (Israel).

        8.      The quality of a match is a function of not only the pricing of a particular impression,

 but also the fit between the advertisement and the user viewing the impression. 9/16/24 PM Tr.

 9:23-10:10 (Weintraub). The buyers of ad space (“advertisers”)—depending on who their target

 audience is—place different values on impressions based on factors such as the inventory and the

 user associated with an impression. 9/24/24 PM Tr. 27:17-28:10 (Milgrom).

        9.      Because of investments in ad tech by Google and many other companies,

 advertising spend on digital content has grown exponentially, consistently beating industry

 projections. Infra ¶¶ 1104-1105. Throughout that time, Google has continuously invested in and

 improved advertiser and publisher outcomes on its tools, all while maintaining a low price across

 its integrated stack without increasing prices. Infra ¶¶ 1123-1143, 1146.

        10.     Today, ad tech needs to be able to find the best match—often out of millions of

 possibilities—to show to a particular user within a few hundred milliseconds. 9/9/24 AM Tr.

 69:17-25 (Wolfe).

        11.     Display ads can appear in different channels and formats. Throughout these

 Proposed Findings, the term “ad channels” refers to the variety of devices and environments where

 display ads appear, including websites, apps, Connected TV, gaming consoles, digital out-of-home,

 and more. 9/9/24 PM Tr. 59:5-10 (Lowcock) (“channels” are “different methods in which we

 place advertising,” such as television, website, search, and social media). The term “ad formats”

 refers to the various possible layouts for a display ad, such as traditional banner, native, and video.




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 As explained below, infra § III.B, advertisers and publishers shift their display advertising spend

 across ad channels and ad formats, often using the same ad tech tools.

        12.     The marketplace for ad tech tools serving display ad buyers and sellers has always

 been intensely competitive and rapidly evolving, with new competitors and technologies

 consistently emerging. Google is just one of the many participants who fiercely compete to attract

 and retain advertisers and publishers. Infra §§ II, VIII.A.

        13.     Central to Google’s development of ad tech tools is the company’s long-held, stated

 mission to “organize the world’s information and make it universally accessible and useful.”

 9/23/24 AM Tr. 8:1-3 (Korula). The guiding principle of Google’s sell-side business has, since

 before 2013, been to “fund the world’s information by enabling content creators” “to grow their

 online businesses.” DTX-506 at 1 (2017 email sent by Scott Sheffer, vice president for global

 partnerships sell-side monetization, to his global team sharing “our 2018 global plan”); 9/20/24

 PM Tr. 102:6-103:10 (Sheffer). By helping its publisher partners monetize, Google “enables our

 partners to pursue their passions and create meaningful jobs,” helps “to create a globally diverse

 and open digital ecosystem of information and viewpoints which is good for humanity,” and

 creates “an open information ecosystem [that] is strategically important for Google” and its search

 business. DTX-506 at 1; 9/20/24 PM Tr. 102:13-22 (Sheffer). That mission guides Google’s work

 across its display ads business, including its teams that fight for ad safety and security. 9/25/24

 PM Tr. 115:20-116:9 (Borgia) (“In order for Google to accomplish its mission of universal access

 to information, we need to have a safe ecosystem.”).

        14.     In pursuit of that mission, Google has consistently sought to provide “the best

 platform in the industry for publishers” as well as “the best platform in the industry for advertisers.”

 DTX-37 at 5-6 (January 2009 email from Mohan); 9/16/24 AM Tr. 13:18-14:3 (Mohan).




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        15.      Google’s incentives are directly aligned with its customers. As Mohan explained:

 Google’s display ads “business, which was fundamentally a revenue share business, only grew if

 our publishers’ revenues grew. It was directly correlated with the success of our publishers. And

 our publishers’ revenue would only grow if they could deliver high ROI to their advertisers. And

 so we needed to deliver better return on investment to advertisers, which would translate into

 higher revenue for publishers, and, as a result, our business would grow because our business was

 a rev share of publishers’ overall revenues.” 9/16/24 AM Tr. 73:7-24 (Mohan). Accordingly,

 Google’s strategy was “straightforward. We want to grow the overall display advertising pie for

 everyone in the industry. By growing the pie for everyone, Google will of course continue to grow

 its own revenues.” DTX-59 at 3 (January 2010 email from Mohan).

        16.      Google continually evolved its products and services to best serve the needs of its

 customers. The Court heard from numerous Google witnesses who described these efforts.

 Google’s display ads business is “constantly trying to find ways to make the product better.”

 9/23/24 AM Tr. 48:13-20 (Korula); see also 9/17/24 AM Tr. 108:21-25 (Jayaram) (the “goal has

 always been to build good, strong advertiser products that achieve the goals and constraints that

 advertiser have set for us”).

              16.1.   Google generates ideas for improvements to its ad tech tools both by gathering

                      feedback from its customers and by brainstorming improvements within the

                      team. If customers “want certain features, certain offerings, then we will build

                      those.” 9/17/24 AM Tr. 109:16-25 (Jayaram).

              16.2.   Internally, Google has an “ads quality team” devoted to “looking for ways to

                      make the product better wherever they can” in order to “help publishers make

                      more money.” 9/23/24 AM Tr. 48:21-49:1 (Korula). The ads quality team is




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                 the “backbone” of Google’s display business. DTX-76 at 2 (January 2011

                 email from Mohan) “Pretty much every week,” the display ads launch

                 committee goes through “five or ten launches that were designed to improve

                 the product in certain ways.” 9/23/24 AM Tr. 51:5-21 (Korula). Some of

                 those launches reduced Google’s revenue in order to benefit publisher and

                 advertiser customers. 9/17/24 AM Tr. 112:1-15 (Jayaram) (“We are, many

                 times, willing to take a short-term revenue hit to improve advertiser

                 performance and make the product better.”). For example, Google launched

                 “a bunch of innovations” to make sure that advertisers were not charged for

                 ads that were never actually viewed. 9/23/24 AM Tr. 49:18-50:11 (Korula).

                 Ultimately, Google recognizes that these measures still benefit Google’s

                 business because they benefit the display ecosystem by pulling more ad spend

                 into display advertising. Id. (Korula).

         16.3.   As recorded by Google’s internal system for tracking product launches,

                 Google has launched thousands of products in its display ads business every

                 year from 2016 to 2022. DTX-1883.




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        17.      In addition to Google’s numerous innovations to its tools, Google offers significant

 benefits and support to its customers, both large and small:

              17.1.   Google invests in thousands of employees to support the advertisers that buy

                      on Google Ads, including teams that support both large customers and small

                      and medium businesses on-demand. 9/23/24 PM Tr. 8:1-23, 9:7-18 (Stefaniu).

              17.2.   Courtney Caldwell, owner of a small business advertiser, testified that Google

                      Ads has offered her a flexible, easy-to-use interface that reaches her target

                      audience. 9/25/24 PM Tr. 4:25-5:10, 19:6-12 (Caldwell). Using Google Ads

                      has helped her save money and human resources she would otherwise have

                      spent on designing the ads, executing ad campaigns, tracking ad performance,

                      and pulling together performance analytics.       9/25/24 PM Tr. 10:12-23

                      (Caldwell).

              17.3.   Google similarly offers its publisher customers “a tiered system of support

                      and interaction,” including “a robust interaction system” that serves smaller

                      and medium sized partners. 9/20/24 PM Tr. 84:14-23 (Sheffer). Google has



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                     a dedicated scale and insights team that helps smaller seller partners

                     implement Google’s tools, troubleshoots for those partners, provides customer

                     support, and aggregates customer feedback that Google reviews quarterly. Id.

                     at 85:11-86:8 (Sheffer).

        18.    Out of the many thousands of product launches and design decisions Google has

 made over the past 16 years, Plaintiffs argue that only a small subset of Google’s product design

 decisions and innovations were anticompetitive—excluding, for example, even the innovations

 crossed out in red below, DTX-2077A, that Plaintiffs originally pursued in their complaint.

 9/24/24 AM Tr. 26:21-30:25 (Milgrom); infra ¶ 715. Of those few forms of conduct that Plaintiffs

 do argue were anticompetitive, two relate to how Google has designed its integrated ad tech tools

 since they were launched. Infra ¶¶ 117, 715.1, 715.2, 790, 866. Another is based on a product

 design by DoubleClick, a company whose acquisition by Google was government-reviewed. Infra

 ¶ 907. And the other, Unified Pricing Rules, implemented five years ago along with the Unified

 First Price Auction, made auctions more simple and transparent, benefiting advertisers and most

 publishers. While some larger publishers complained, the changes were not unique to Google and

 were widely embraced. Infra ¶¶ 1031-1039, 1051, 105-1058.




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          19.   The history presented below contextualizes how the products and conduct that

 Plaintiffs based their case on developed in the evolution of the display advertising industry. As

 explained below, however, infra ¶¶ 270-298, even that history is necessarily incomplete because

 Plaintiffs’ case concerns only fragments of the display advertising industry. Their allegations are

 largely based on the designs of a subset of ad tech tools that developed in the earliest years of the

 industry, leaving out some of the most important ways that advertisers and publishers connect

 today.

          A.    Early Years: Direct Deals

          20.   Initially, display advertising was sold through “direct deals.” Digital content

 providers, through their sales teams, contracted directly with advertisers and advertising agencies

 to sell inventory on their websites. DTX-1165 at 9-10; 9/24/24 AM Tr. 33:24-35:3 (Milgrom);

 9/20/24 PM Tr. 48:3-18 (Sheffer). Over time, tools evolved that provided new pathways for

 connecting publishers and advertisers.




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        21.     These initial direct deals could be transacted on a “guaranteed” basis, which meant

 that the advertiser was guaranteed to receive a certain number of impressions. DTX-117 at 116

 (2010 Google white paper). Since the early years of display advertising, digital content providers

 have sold the majority of their inventory on a guaranteed basis through these direct sales. DTX-

 117 at 116 (as of 2010, a “typical large publisher generates upward of 80% of its online advertising

 revenue from guaranteed ad sales.”).

        22.     Publishers continue to sell inventory through direct deals today, with roughly 50%

 to 80% of large publishers’ revenue coming from their direct sales efforts. 9/20/24 PM Tr. 48:3-

 18, 78:4-25 (Sheffer). Today, a large percentage of those direct sales occur programmatically,

 which means they are facilitated by automated ad tech tools. 9/26/24 AM Tr. 85:22-86:19 (Israel);

 9/9/24 AM Tr. 63:1-9, 97:7-23 (Wolfe).

        23.     After publishers fulfilled their guaranteed direct deal obligations, they might still

 have some digital ad space that remained unsold. That leftover inventory is referred to as “remnant

 inventory.” 9/24/24 AM Tr. 33:24-35:3 (Milgrom).

        B.      Early 2000s: Ad Networks Evolved to Enable Vetted Groups of Advertisers to
                Connect to Vetted Groups of Publishers.

        24.     In the early 2000s, digital advertising was “still in its infancy” and transitioning

 “from analog—things like print magazines or radio—to digital.” 9/12/24 PM Tr. 58:14-17 (Goel).

        25.     Ad networks emerged as a tool to sell remnant or leftover inventory that was not

 sold through guaranteed direct deals to advertisers. The sale of remnant or leftover inventory is

 also referred to as “indirect monetization.” 9/20/24 PM Tr. 78:4-25 (Sheffer); 9/12/24 PM Tr.

 59:3-15 (Goel). These ad networks would aggregate remnant inventory from multiple digital

 content providers and connect that inventory with advertisers, often incorporating targeting

 technology to improve the connections between ads and users. 9/24/24 AM Tr. 33:24-35:3



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 (Milgrom); DTX-1514 at 29; 9/20/24 PM Tr. 53:15-23 (Sheffer); 9/20/24 PM Tr. 112:22-113:12

 (ad networks can determine which advertiser to sell inventory to by running auctions).

          26.   Publishers who joined ad networks would typically agree to a fixed price for a non-

 guaranteed number of impressions. 9/24/24 AM Tr. 33:24-35:3 (Milgrom); DTX-117 at 116 (2010

 white paper stating that, with early sales through ad networks, “the CPM is usually fixed, but the

 number of impressions delivered is not.”).

          27.   Ad networks have always served both publishers and advertisers. (In other words,

 there is no such thing as an “advertiser ad network.” Infra ¶ 655.) For content providers, ad

 networks provided a more cost-effective way to package and sell remnant inventory.             For

 advertisers, the advent of online ad networks provided a wide selection of trusted digital content

 providers and the ability to target ads to particular audiences.

          28.   Today, Google’s ad network, the Google Display Network, can be accessed by

 advertisers and publishers through multiple tools, both Google and non-Google, on the buy-side

 and on the sell-side. The digital properties that are part of the Google Display Network consist of

 more than two million websites, video properties, and apps, including Google owned-and-operated

 properties, that use Google tools—AdSense, AdMob (Google’s ad network for in-app ads), and

 AdX (now part of Google Ad Manager)—to sell ad inventory. 9/11/24 AM Tr. 41:3-10 (Bender);

 9/20/24 PM Tr. 57:15-20, 62:21-25 (Sheffer). Advertisers can access the Google Display Network

 properties—and more—using Google’s buying tools, Google Ads and DV360, or using non-

 Google buying tools called Authorized Buyers. Infra ¶¶ 50, 128. The relevant tools are described

 below.

          29.   Google’s competitors that are also major digital content providers, such as

 Facebook, Microsoft, and Amazon, offer tools similar to the Google Display Network. Those




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 tools connect advertisers to the publisher’s owned-and-operated inventory, as well as to additional

 third-party inventory that has joined the publisher’s ad network. Infra ¶¶ 311, 331, 342.

                1.      Google Ads

        30.     In 2000, Google launched the first tool in its ad tech ecosystem, AdWords, which

 has since been rebranded as Google Ads. When it was first created, Google Ads was an advertiser

 buying tool for placing ads on Google’s search results page. 9/20/24 PM Tr. 48:19-49:10 (Sheffer).

        31.     At the time, “the notion of a network” was to (1) simplify the overhead and labor

 of advertisers reaching out to each publisher individually to negotiate the placement of ads on their

 sites, and (2) enable publishers to aggregate their available inventory. 9/11/24 AM Tr. 50:20-25,

 51:1-4 (Bender) (“An advertiser would just have to come to a single network and say I want to

 buy, [for example] in your sports vertical. . . . And that represents, itself, maybe 100 sites. But

 instead of having to transact with 100 different sites, they could share one single tag.”). From its

 genesis, consistent with the traditional concept of an ad network, Google Ads was intended to be

 a tool to provide advertisers with access to curated, high-quality inventory, 9/11/24 AM Tr. 51:25-

 52:17 (Bender), and to connect publishers with vetted advertisers, 9/20/24 PM Tr. 49:11-14

 (Sheffer).

        32.     Google put in “a lot of work” in order to ensure that the publisher inventory

 available through its network “was safe and of high quality.” 9/11/24 AM Tr. 52:6-17 (Bender).

 That work is constantly ongoing, as “the bad actors in the ecosystem” continue to evolve. Id.

 (Bender); see also 9/24/24 PM Tr. 49:15-50:6 (Bjorke) (“bad actors are continuously evolving and

 improving the way they try to defraud us”); DTX-214 at 1 (2014 Google strategy document: “The

 advertising world moves quickly,” so “each new ad feature, format, platform, and monetization

 option needs to be analyzed” for ad fraud risks.).




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        33.    Google has also always vetted the advertisers who use Google Ads to make sure

 that publishers selling to these advertisers “could rest assured that they are working with high-

 quality advertisers.” 9/20/24 PM Tr. 49:11-14 (Sheffer); see also 9/16/24 AM Tr. 76:20-77:13

 (Mohan); 9/25/24 PM Tr. 106:13-107:5 (Borgia).

        34.    Advertisers can set up an account on Google Ads at no cost to them, and Google

 Ads does not have a minimum spend requirement. 9/23/24 PM Tr. 27:23-28:3 (Stefaniu).

        35.    Advertisers pay Google Ads based on a revenue share model, which means that

 Google makes revenue by receiving a percentage of the advertiser’s bid before it is paid to other

 intermediaries and, ultimately, the publisher. The revenue share paid can vary by impression but

 targets an internal average revenue share. 9/20/24 AM Tr. 93:2-8 (Lee); 9/27/24 AM Tr. 137:24-

 138:19 (Jayaram). Google Ads generally charges advertisers on a cost-per-click model. That

 means advertisers pay Google Ads only when the user actually clicks on the purchased ad. 9/11/24

 AM Tr. 24:14-24 (Bender); 9/13/24 AM Tr. 55:22-24 (LaSala).

               2.      AdSense

        36.    Google Ads was first created to connect advertisers to Google owned-and-operated

 properties. “Very soon after” Google launched Google Ads, Google began opening up its systems

 to third-party publishers. 9/20/24 PM Tr. 49:15-22 (Sheffer).

        37.    Google developed a sell-side tool called AdSense for Search, which enabled third-

 party search engines to sell ad space on their search results pages to Google Ads advertisers.

 9/20/24 PM Tr. 49:15-50:1 (Sheffer). These third-party search engines could therefore use

 AdSense for Search to access Google Ads advertisers. Id. at 50:2-5 (Sheffer).




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          38.      After that, in 2003, Google launched AdSense for Content, 4 a sell-side tool for

 third-party publisher websites. These publisher websites could use AdSense for Content to access

 Google Ads advertisers. 9/20/24 PM Tr. 50:12-51:2, 51:12-13 (Sheffer).

          39.      Google decided to build AdSense for Content to benefit both advertisers and

 publishers:

                39.1.   As “Websites were proliferating,” “it was a great opportunity for advertisers

                        to reach those users” on the new non-Google websites. 9/20/24 PM Tr. 51:14-

                        52:1 (Sheffer).

                39.2.   On the other side of the transaction, publishers made money from connecting

                        to advertisers, which “enables them to create more content, thus growing the

                        web.” 9/20/24 PM Tr. 51:14-52:1 (Sheffer). Publishers thus benefited from

                        Google’s ad network because it allowed them to “monetize inventory” and

                        has “consistently been able to provide good RPMs [revenue per thousand

                        impressions] to publishers.” DTX-37 at 4 (January 2009 Google email).

          40.      After the launch of AdSense, the ad network connecting advertisers using Google

 Ads to third-party publisher inventory on AdSense and Google owned-and-operated inventory was

 referred to as the Google Display Network (or GDN or GCN).             9/20/24 PM Tr. 52:17-53:5

 (Sheffer).

          41.      Because Google had a relationship with the customers of the Google Display

 Network, from the inception of the Network Google Ads could better ensure that its advertisers

 bid on valid and safe display inventory. 9/24/24 PM Tr. 58:1-4 (Bjorke) (“there was a very clear

 significant benefit of being closed and only operating in a closed ecosystem.”).


 4
     For convenience, we use “AdSense” below as shorthand to refer to AdSense for Content.


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              41.1.   Google has always vetted the publishers joining AdSense. 9/20/24 PM Tr.

                      52:2-5 (Sheffer).    The vetting benefits both advertisers and publishers:

                      advertisers can “feel comfortable with the content of the sites they were

                      placing ads against,” and publishers “feel like they [are] joining a high-quality

                      network.” Id. at 52:6-13 (Sheffer).

              41.2.   Publishers are required to meet certain criteria and agree to AdSense policies

                      in order to be part of the network.        DTX-47 at 41, 43 (2009 Google

                      presentation); Bjorke DX 1.3; 9/24/24 PM Tr. 51:18-54:3 (Bjorke).

        42.      Publishers using AdSense also benefit from Google’s vetting of advertisers. Only

 advertisers who have gone through Google’s certification process, including advertisers buying

 through Google Ads, can buy inventory from AdSense. Publishers (and people viewing ads on

 their sites) are protected from inappropriate ads and from malicious actors posing as advertisers.

 DTX-47 at 25, 41, 46 (2009 Google presentation); see 9/25/24 PM Tr. 104:18-105:7 (Borgia)

 (threats posed by bad ads).

        43.      At the time that Google built AdSense and connected it to Google Ads, there were

 “probably dozens” of competitor ad networks. 9/20/24 PM Tr. 53:24-25 (Sheffer). Microsoft,

 Yahoo, and AOL were some of the most significant competitor offerings. DTX-59 at 1 (January

 2010 Google email referring to Yahoo and Microsoft as GCN’s “largest competitors”); PTX-44 at

 -913 (2009 Google email).

        44.      After AdSense’s launch, Google continued to improve on its ad network. DTX-37

 at 2 (January 2009 Google email: “90 launches creating 25%” lift in revenue and 35%

 improvement in cost spent on ads); DTX-59 at 2 (January 2010 Google email: “Our team launched

 an entirely new interface for our publisher partners” that helped to grow “the number of publishers




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 in our network 22% YoY to well over a million.”); DTX-76 at 4 (January 2011 Google email

 describing launch for publishers that gave them “better insights, more controls, and increased

 efficiency (reporting data running up to 100X faster!”); DTX-101 at 2 (January 2012 Google

 email). In particular, one of the goals of Google’s display ad business was to not only provide

 solutions for “large publishers,” but also offer AdSense as “a turn-key, no worries solution for

 torso and small publishers.” DTX-76 at 5; see also 9/16/24 AM Tr. 106:9-22 (Mohan) (“torso”

 publishers refers to “the medium and the tiny”).

        45.     AdSense can serve many different ad formats, including traditional web banner ads,

 native ads, video ads, ads on web-based games, and mobile app ads. 9/23/24 AM Tr. 13:15-20

 (Korula).

        46.     AdSense can be used by publishers of all sizes, including “less sophisticated

 publishers” such as “smaller, mom & pop websites, blogs,” PTX-939 at -991, -993 (2018 Google

 presentation), that are seeking “a fast way to implement ad delivery” and “more automation for

 their ad solutions,” PTX-1144 at 1 (Google Ad Manager Help); see also 9/23/24 AM Tr. 12:19-

 13:4 (Korula). AdSense is particularly targeted at publishers who want to monetize their inventory

 and sell through indirect transactions with “simpler controls.” PTX-939 at -993; 9/23/24 AM Tr.

 12:21-13:8 (Korula); 9/20/24 114:15-17 (Sheffer) (“a website that wants to sell indirectly” can

 “absolutely” use AdSense).

        47.     Plaintiffs’ allegations are focused on web publishers’ access to Google Ads demand,

 infra ¶¶ 855, 895, but do not include AdSense in any of their alleged markets even though web

 publishers can use AdSense to access Google Ads demand. 9/23/24 AM Tr. 13:21-14:15 (Korula)

 (AdSense publishers get “access to the same demand” that AdX or DFP publishers do, including




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 Google Ads, DV360, and non-Google buying tools); 9/20/24 PM Tr. 72:21-73:17 (Sheffer)

 (“effectively all of the Google Ads’ demand flowing through AdSense for Content”).

        48.     Plaintiffs attempted to justify the exclusion of AdSense on the inaccurate

 assumption that a website publisher that wants to manage both direct and indirect deals cannot use

 AdSense. 9/20/24 PM Tr. 110:14-25 (Sheffer). That was corrected by Scott Sheffer, who is the

 Vice President for Global Partnerships Sell-Side Monetization at Google and has 18 years of

 experience in Google’s sell-side business—including leading the AdSense online sales team. Id.

 at 47:5-11 (Sheffer).

        49.     As Sheffer explained, publishers can use AdSense to sell indirectly and, if they

 want to manage direct deals, they can simply pair AdSense with any publisher ad server they

 choose. Publisher ad servers are tools that have existed since the 1990s to help publishers

 manage their ad space inventory. 9/16/24 AM Tr. 55:22-56:6 (Mohan); DTX-1016 at 12. Per

 Sheffer’s testimony:

                Q. So let’s stick with a publisher that has both direct and indirect

                sales.

                A. Okay. They can sell their indirect through AdSense.

                Q. And then you’re saying that they would also use DFP to do their

                direct deals?

                A. They can use whatever other ad server they would want for their

                direct deals, yes.

                ...

                The Court. You’re saying that a website that wants to sell indirectly

                can use AdSense?




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                The Witness. Absolutely, yes.

 9/20/24 PM Tr. 113:233-114:17 (Sheffer).

        50.     A publisher can use AdSense to sell inventory to Google Ads advertisers, DV360

 advertisers, and to the non-Google buying tools, referred to as “Authorized Buyers,” that sign up

 to purchase inventory from any of Google’s sell-side tools (AdSense, AdMob, or AdX and DFP).

 PTX-1144 at 2; 9/23/24 AM Tr. 13:21-14:15 (Korula).

        51.     As Sheffer and other witnesses explained, a publisher can choose to use AdSense

 in conjunction with another tool, such as a third-party publisher ad server or an in-house publisher

 ad server. 9/23/24 AM Tr. 15:3-5 (Korula). For example, a publisher can use AdSense in

 conjunction with a third-party publisher ad server, like Microsoft Monetize, and use the third-party

 ad server to allocate inventory between direct and indirect deals while selling inventory indirectly

 through AdSense. 9/20/24 PM Tr. 114:1-115:6 (Sheffer) (a publisher “can use whatever other

 ad server they would want for their direct deals”).

        52.     It is also “very common” for a seller to use AdSense without any publisher ad server

 at all. 9/23/24 AM Tr. 15:12-14 (Korula).

        53.     In short, by connecting AdSense to a non-Google publisher ad server, an in-house

 ad server, or no ad server at all, a publisher can access buyer demand from Google Ads without

 using Google’s ad exchange, AdX, or publisher ad server, DoubleClick for Publishers (“DFP”).

                3.      AdMob

        54.     In 2011, Google acquired AdMob, expanding its ad network offering in order to

 provide ad tech services to publishers with mobile ad inventory that wanted to use Google’s

 network. DTX-76 at 2. AdMob is both an ad network and mediation platform, or “simplified ad

 server,” for app ads. 9/20/24 PM Tr. 59:17-23 (Sheffer).




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         55.    Google acquired AdMob because mobile was “a huge opportunity.” DTX-76 at 2

 (January 2011 Google email). After the acquisition, Google continued to grow AdMob, “with

 revenue and ad requests up by 100%” in six months after the acquisition. DTX-76 at 2.

         56.    Like AdSense, AdMob is a way to get access to advertisers who are purchasing

 through Google Ads without using DFP or AdX. 9/20/24 PM Tr. 62:18-25 (Sheffer); DTX-101 at

 3, 6 (January 2012 Google email stating that integration of AdMob and Google Ads was a

 “priority”).

         57.    Even though AdMob provides the same functionality for serving app ads as

 Google’s other sell-side tools, DFP and AdX, Plaintiffs do not include AdMob in any of their

 alleged markets. 9/20/24 PM Tr. 60:2-5 (Sheffer).

         C.     Early 2000s: Publisher Ad Servers Evolved to Help Publishers Manage
                Numerous Sources of Buyers for Their Inventory.

         58.    As the industry evolved, publisher ad server functionality evolved to help digital

 content providers manage their inventory across both direct deals and indirect sales, communicate

 to advertisers the characteristics of their inventory, and monitor performance. DTX-1165 at 10-

 11; 9/9/24 AM Tr. 66:1-8 (Wolfe).

         59.    Publisher ad servers are complex from an engineering perspective and require

 significant research and development on “how best to serve ads to the right person at the right time

 with the right amount of budget.” 9/9/24 PM Tr. at 120:11-20 (Avery).

         60.    The quality of publisher ad servers is “mission-critical” for publishers that manage

 direct sales efforts because “the ad server is the way by which they deliver against all of their

 advertiser agency commitments” and ensure that “they fulfill all their contractual commitments.”

 9/20/24 PM Tr. 78:4-25 (Sheffer).




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        61.      In the late 1990s, Net Gravity, an early pioneer of internet advertising technology,

 offered a software-based ad server that publishers could install in their data centers to manage

 advertising on their websites. 9/16/24 AM Tr. 55:15-56:6 (Mohan).

              61.1.   Net Gravity merged with DoubleClick, which offered ad tech to both

                      publishers and advertisers, including the industry leading publisher ad server.

                      9/16/24 AM Tr. 56:12-57:2 (Mohan).

              61.2.   Neal Mohan worked at both Net Gravity and DoubleClick prior to Google’s

                      acquisition of DoubleClick, and then joined Google.         Id. at 55:12-56:2

                      (Mohan).

                 1.     Early 2000s: Publishers Sold Remnant Inventory to Different Demand
                        Sources Via a “Waterfall.”

        62.      As discussed supra, in the early 2000s, the primary way digital content providers

 sold inventory was through direct agreements with advertisers or their advertising agencies.

 9/24/24 AM Tr. 33:24-35:3 (Milgrom). To sell the remnant inventory that was not committed to

 a direct deal, digital content providers sold the ad space indirectly to multiple kinds of demand

 sources that aggregated inventory.

              62.1.   Initially, ad networks were the primary source of demand for remnant

                      inventory. Supra ¶ 25.

              62.2.   Later, between 2005 and 2007, an additional form of advertising technology

                      called ad exchanges emerged as another demand source. At that time, ad

                      exchanges ran auctions based on fixed (static) prices. Because bidders had to

                      value impressions in advance of the impression actually becoming available,

                      they would specify to the ad exchange the amount they were willing to pay

                      for impressions with particular characteristics. 9/24/24 AM Tr. 51:7-23



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                       (Milgrom). These early ad exchanges enabled publishers and advertisers to

                       transact without needing to negotiate one-on-one.           DTX-7 at 3 (2007

                       Microsoft board presentation: “It is inevitable that exchanges develop,

                       because they are inherently more efficient than 1-1 negotiated advertising.”).

        63.      Because there were hundreds of different demand sources through which publishers

 could sell remnant inventory, including hundreds of ad networks, digital content providers set up

 a “waterfall” system to fill their inventory. 9/12/24 PM Tr. 60:21-61:5 (Goel); 9/9/24 AM Tr.

 148:3-149:12 (Casale); 9/23/24 AM Tr. 57:25-58:11 (Korula)

        64.      The waterfall system was in common use across the industry and “existed before

 DFP and AdX came into existence.” 9/24/24 AM Tr. 36:3-11 (Milgrom); see also 9/11/24 PM

 Tr. 24:9-10 (Ravi).

        65.      Under the “waterfall” system, which was typically run using a publisher ad server,

 content providers would offer any remnant inventory to ad networks and other demand sources in

 a sequential order.      9/24/24 AM Tr. 33:24-35:3 (Milgrom); 9/25/24 PM Tr. 169:10-17

 (Hochberger).

        66.      When the publisher had an available impression, it would offer that impression to

 the first demand source in the waterfall. Publishers chose the order in which different demand

 sources were called in their waterfall by entering a value in a line item in their publisher ad server

 for each demand source. Deposition of Brian O’Kelley Tr. at 103:8-9, 103:12-104:3 (explaining

 that “the publisher would decide what priority to put every ad” in the waterfall).

              66.1.    In the earliest days of the industry, that value would typically be the negotiated

                       fixed price from each ad network. 9/24/24 AM Tr. 37:7-18 (Milgrom).




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              66.2.   As the industry developed, the value associated with a line item was called a

                      “value CPM” and could be the average historical value received from that

                      demand source, an amount negotiated with that demand source, or any other

                      value chosen by the publisher.     9/11/24 PM Tr. 33:12-25 (Ravi) (“The

                      publisher is choosing a value for each of those exchanges.”); 9/23/24 AM Tr.

                      107:16-24, 172:3-8 (Korula); 9/25/24 PM Tr. 169:20-24 (Hochberger); DTX-

                      376 at 25 (2017 Google presentation describing how publishers could

                      optimally set their line item rates, or “Value CPM”).

        67.      Prior to DoubleClick’s development of dynamic allocation, described below, there

 “was no bidding going on” in the waterfall process. 9/24/24 AM Tr. 36:24-37:6 (Milgrom); see

 also 9/25/24 PM Tr. 169:25-170:5 (Hochberger) (“So the issue with the traditional waterfall setup

 is that you are not getting real-time bids.”). Each ad network, when it was called, “would say yes,

 I’ll take that one; or no, I won’t take that one.” 9/24/24 AM Tr. 33:24-35:3 (Milgrom). If the ad

 network did not take the impression, it would return the impression to the publisher, “who would

 then offer it to” the next demand source in the waterfall. Id. (Milgrom).

        68.      The “waterfall” process was inefficient. There was no guarantee that the advertiser

 who valued the inventory the most would have the opportunity to purchase the ad inventory.

 9/12/24 PM Tr. 61:18-62:1 (Goel). For any given impression, a demand source might have an

 advertiser willing to bid higher than the historical price or previously agreed-upon price. As a

 result, the “waterfall” system based on expected bids sometimes resulted in a buyer winning an

 impression even though a buyer lower in the waterfall would have paid more. 9/24/24 AM Tr.

 38:2-39:25 (Milgrom); see also Milgrom DX 1.3 (illustrating inefficiencies in the waterfall);

 9/23/24 AM Tr. 61:12-23 (Korula) (a bidder might have the highest bid but still lose an impression).




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 An impression might therefore be purchased for a price below market value. 9/12/24 PM Tr.

 61:18-62:1 (Goel).

        69.      Although the waterfall system was “not efficient,” “it was the best technology there

 was at the time,” when all that publishers had from various demand sources were “historical

 average prices” or negotiated prices, and the demand sources needed to be called in some sequence.

 9/23/24 AM Tr. 58:3-11 (Korula); see also DTX-422 at 39 (2015 AppNexus presentation: “The

 Waterfall Was the BEST Option for Two Decades”).

        70.      Plaintiffs provided a depiction of the waterfall that misrepresents the waterfall on

 multiple counts. Korula DX 1.19




              70.1.   First, the graphic lists bids of $1.00, $0.99, $1.05, and $1.10 above each of the

                      exchanges. That “seems to suggest that the publisher is getting these bids,”

                      but “that’s not how it actually worked. Typically exchanges weren’t giving

                      or ad networks weren’t giving publishers these prices. A call would be made

                      to the exchange or ad network, and they would just say yes or no.” 9/23/24

                      AM Tr. 55:4-56:16 (Korula).




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              70.2.   In the early days of the waterfall, ad networks would respond “yes or no”

                      based on whether they had an advertiser willing to pay the fixed contract price,

                      pre-negotiated with the publisher, for a particular impression. 9/24/24 AM Tr.

                      33:24-35:3 (Milgrom). Later, once ad exchanges became more popular,

                      exchanges would respond “yes or no” based on whether they had an advertiser

                      bid that beat the publisher-set floor price.      9/23/24 AM Tr. 55:4-56:16

                      (Korula).

              70.3.   Second, the graphic lists a $1.10 “bid” above OpenX even though Magnite

                      has won the auction. In reality, “once Magnite wins the impression,” “then

                      no call is made to OpenX at all.” The price of $1.10 “doesn’t really exist.

                      Nobody knows what this price is because no call was made to OpenX, OpenX

                      didn’t call its buyers, there were no bids received. So that’s just a hypothetical

                      not actually representing a real price from anyone.” 9/23/24 AM Tr. 55:4-

                      56:16 (Korula). Professor Milgrom testified to the same fact. 9/24/24 AM

                      Tr. 38:2-39:8 (Milgrom).

        71.      A correct depiction of the same waterfall setup, ordering ad exchanges, would look

 as follows. Korula DX 1.20.




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              71.1.   As the former Engineering Director for Google’s sell-side products explained:

                      “[W]hen the call comes to PubMatic, PubMatic internally, it doesn’t disclose

                      this, perhaps has a bid of $1. And because that’s below the floor price,

                      PubMatic will respond no, and that’s all that happens. You get a yes or a no.

                      And then because you have no, you go to the next one in the sequence. That’s

                      Verizon Media. Again, internally they have 99 cents, so they respond no. The

                      publisher gets a no. You go to the next one in the sequence, Magnite, you get

                      a yes. And so then Magnite wins that impression. And the publisher doesn’t

                      even know the price at which Magnite has won this impression at this point.

                      And then finally, no call to OpenX happens at all, and so we just have the

                      question marks reflecting there’s no bid here because they didn’t even have

                      an opportunity to bid.” 9/23/24 AM Tr. 57:1-17 (Korula).

        72.      Plaintiffs’ mistakes in depicting the waterfall are not just errors in a figure. They

 reflect a fundamental misunderstanding that is “critical to the whole reason you have a waterfall.”

 9/23/24 AM Tr. 56:8-10 (Korula).



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        73.    The reason that a “sequential process”—or waterfall—was necessary in the first

 place was because demand sources, including ad networks and even exchanges, were incapable

 of providing real-time prices. Publishers needed to call demand sources one by one because each

 demand source only sent publishers a “yes or no.” Additionally, without real-time prices,

 publishers necessarily had to set that sequence based on imperfect information about what a given

 demand source might be willing to offer for a particular impression. 9/23/24 AM Tr. 56:11-16

 (Korula).

        74.    Plaintiffs’ depiction wrongly implies that, in the early 2000s, publishers could

 obtain real-time bids from multiple demand sources simultaneously and thus run a head-to-head

 auction to compare those bids—even though the technology to do so, header bidding, would not

 be invented until years later (circa 2014). Infra ¶¶ 159-163. As explained in more detail below,

 infra ¶¶ 927-935, some of Plaintiffs’ arguments relating to Google’s conduct depend on this key

 misunderstanding, comparing the waterfall to header bidding technology that had not yet been

 developed.

               2.      2007: DoubleClick’s Dynamic Allocation Moves the Industry Toward
                       Auctions.

        75.    In 2007, prior to its acquisition by Google, DoubleClick introduced a technology

 called Dynamic Allocation on its publisher ad server and nascent ad exchange. 9/16/24 AM Tr.

 78:14-16 (Mohan); DTX-2077; 9/11/24 PM Tr. 24:22-25:5 (Ravi). Dynamic Allocation allowed

 publishers to configure DoubleClick’s publisher ad server to maximize revenue for sales of non-

 guaranteed inventory by trying to allocate each impression to the advertiser who was willing to

 pay the most money for it, and allowed advertisers using DoubleClick’s ad exchange to win an

 impression by paying the publisher more than the highest expected value in the publisher’s

 waterfall. DTX-117 at 116 (2010 Google Dynamic Allocation white paper).



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        76.     Dynamic Allocation worked by using the highest value CPM in the waterfall as the

 floor price, or minimum price, for an auction run in DoubleClick’s ad exchange. “If the Ad

 Exchange can provide the publisher with a net CPM value higher than they would have gotten

 from delivering their directly booked, non-guaranteed ad, the Ad Exchange will deliver an ad. If

 the directly booked ad’s CPM value is higher, it ignores any bids coming in from the Ad Exchange.”

 DTX-117 at 117; see also 9/24/24 AM Tr. 40:23-41:9 (Milgrom) (“Well, it’s running an auction.

 So instead of—instead of having a fixed contract price, it has a floor price. That’s the price to beat.

 And then it runs an auction among its advertisers.”).

        77.     If no bidder in DoubleClick’s ad exchange beat that floor price, the impression

 would be offered to the first demand source (that is, the demand source with the highest value

 CPM) in the seller’s existing waterfall setup. If that demand source said “no” to the impression,

 the Dynamic Allocation process would run again to see if any bidders on DoubleClick’s ad

 exchange could beat a floor price set by the next highest value CPM in the waterfall. DTX-117 at

 117 (the ad server “passes to the Ad Exchange the CPM value associated with” each ad that it is

 about to serve). This process would repeat at every step down the waterfall if no DoubleClick

 bidder could beat the floor price set by the next highest value CPM and the next demand source in

 the waterfall said “no.” The effect was that DoubleClick’s ad exchange ended up “in the right

 place” in the waterfall based on the amount its bidders were willing to pay and “the competing

 prices” in the waterfall. 9/23/24 AM Tr. 60:14-61:3 (Korula).

        78.     The “risk-free” nature of Dynamic Allocation was made possible by the close

 integration of DoubleClick’s publisher ad server with its ad exchange. DTX-117 at 117 (2010

 Google Dynamic Allocation white paper); DTX-80 at 7 (2010 Google white paper: “Tight

 integration with DFP” provides additional benefits beyond Dynamic Allocation, and “one of the




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 biggest overall benefits of Ad Exchange is that it is embedded in DFP, so we can easily create and

 manage campaigns.”). In order for Dynamic Allocation to guarantee that a publisher would make

 the same amount of money than it expected to get from the waterfall, the ad server needed to be

 integrated with the ad exchange so that the ad server could pass the highest line item value from

 the waterfall to the ad exchange as a floor price. As Spencer explained, Dynamic Allocation was

 thus “a unique feature that existed between DFP and the exchange” due to their integration.

 9/18/24 AM Tr. 17:14-18:16 (Spencer); DTX-117 at 117.

        79.     Dynamic Allocation benefited publishers and advertisers by incorporating auctions

 into the old waterfall system. Using an auction “creates competition among the advertisers so the

 advertiser with the highest value will be able to win the impression,” and “when the competition

 is effective, generates a higher price for the publisher.” 9/24/24 AM Tr. 41:10-17 (Milgrom).

        80.     Dynamic Allocation was a particularly valuable step in the industry’s development

 because it was “backward compatible.” In other words, Dynamic Allocation advanced the old

 system by introducing auctions but was still “designed to fit into the waterfall.” 9/24/24 AM Tr.

 54:18-55:10 (Milgrom). Instead of requiring publishers to change overnight how they were

 accustomed to doing business, Dynamic Allocation “just said instead of having a fixed price for

 us, just tell us a minimum price and we’ll let the auction set the price and it won’t upset the rest of

 the waterfall. So it’s backward compatible.” Id. (Milgrom).

        81.     Being backward compatible was important because changing existing processes

 takes “months and years,” and “having something that slips right in and doesn’t require such

 changes is—makes it much more acceptable to publishers.”              9/24/24 AM Tr. 55:20-56:12

 (Milgrom). As an example of the importance of backward compatibility, Rajeev Goel, founder of

 PubMatic, testified that early on PubMatic proposed allowing publishers to run multiple waterfalls




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 with the sequence changing on an hourly basis instead of the typical weekly or even monthly basis.

 9/12/24 PM Tr. 64:14-19 (Goel). But many publishers would not even make that change. They

 would “just set it and forget it.” Id. at 65:13-19 (Goel).

        82.     Prior to Google’s acquisition of DoubleClick and its ad exchange, DoubleClick’s

 ad exchange ran its auction using static bids, which bidders entered in advance by specifying the

 amount they would pay for impressions with certain characteristics. 9/24/24 AM Tr. 51:7-23

 (Milgrom); 9/11/24 PM Tr. 24:15-21 (Ravi). In a world based on static bids entered in advance,

 “there was no notion of real-time bidding.” 9/12/24 PM Tr. 65:1-9 (Goel).

        83.     Even with static bids from the ad exchange, the version of Dynamic Allocation that

 DoubleClick introduced made publishers more money. A 2010 Google white paper examined the

 first-generation version of Dynamic Allocation in the DoubleClick Ad Exchange. It concluded

 that “the combined effects of auction pressure and Dynamic Allocation in DoubleClick Ad

 Exchange resulted in an average CPM lift of 136% compared with fixed, upfront, pre-negotiated

 sales of non-guaranteed inventory.” DTX-117 at 118; see also DTX-80 at 2 (2010 Google white

 paper); 9/24/24 AM Tr. 51:24-52:5, 57:14-23, 59:8-60:7 (Milgrom). In other words, “as a result

 of this Dynamic Allocation technology,” even without real-time bidding on AdX, “publishers saw

 136 percent more money than if they had fulfilled that demand in the way that it used to work

 before, which was pre-negotiated sales with ad networks.” 9/16/24 AM Tr. 79:15-81:4, 81:22-

 82:13 (Mohan).

        84.     After it acquired DoubleClick, Google distributed the results of the 2010 study at

 the Interactive Advertising Bureau’s annual flagship conference. Google was excited to share the

 results because “the core proposition of [its] publisher-side solutions was to help publishers

 generate more revenue,” and from Google’s perspective the study was “proof” that publishers




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 could make more money if they used Dynamic Allocation than if they only sold their remnant

 inventory through the old waterfall system.           9/16/24 AM Tr. 82:21-84:7 (Mohan).         By

 “showcas[ing] these results,” Google hoped to persuade publishers to adopt this new “watershed”

 technology that could “actually help publishers dramatically make more money.” Id. at 83:8-84:7

 (Mohan).

                 3.      2008: DoubleClick Acquisition and DoubleClick for Publishers

        85.      By 2007, Google had identified that it could better serve its customers if it offered

 a comprehensive publisher ad server. It competed against Microsoft, Yahoo, and AOL to acquire

 DoubleClick. 9/16/24 AM Tr. 57:10-58:3 (Mohan).

        86.      Google finalized its acquisition of DoubleClick in 2008 following review by the

 Federal Trade Commission. With the acquisition, Google acquired DoubleClick’s publisher ad

 server (DoubleClick for Publishers (DFP)) and its nascent ad exchange, AdX. 9/20/24 PM Tr.

 54:20-24 (Sheffer).

        87.      After the acquisition, in order to let publishers using DFP benefit from Google’s

 technology and innovation, Google had to rebuild “from scratch” the core DoubleClick ad serving

 software into Google’s technology stack. That required rebuilding DFP to be compatible with

 “multiple platforms and capabilities, programming languages,” and “various types of integrations

 with Google technology.” 9/16/24 AM Tr. 58:9-59:13 (Mohan).

              87.1.    Rather than being able to “cut and paste” DoubleClick code onto Google’s ad

                       tech stack, Google had to rewrite the code from scratch in order to “take

                       advantage of all that innovation that’s happening on those core base-level

                       Google technologies,” and to continue to “build ahead of where” DoubleClick

                       “was, because publishers are demanding features and functionality constantly.”

                       9/16/24 AM Tr. 59:14-60:9 (Mohan).


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         87.2.   At the same time that Google was rebuilding the DFP ad server, Google also

                 had to continue to offer and innovate upon DFP’s core functionality. “These

                 integrations sometimes can take years,” and “you don’t want to just be

                 standing still in the market when all of these other competitors are innovating

                 and offering their solutions.” 9/16/24 AM Tr. 60:10-23 (Mohan); see also id.

                 at 90:6-91:7 (Mohan) (“we had to not just rebuild the core functionality, we

                 had to add new capabilities”).

         87.3.   Neal Mohan, then director of Display Ads product management, analogized

                 the “herculean task” of operating DFP while rebuilding it onto Google’s ad

                 tech stack to “changing the engines on a plane while continuing to fly it.”

                 9/16/24 AM Tr. 7:3-10, 62:2-63:17 (Mohan); DTX-37 at 1 (2009 Google

                 email: “We delivered this continuous stream of innovation for our users,

                 advertisers and publishers while successfully integrating two companies and

                 creating a unified display / content organization.”); DTX-59 at 2 (2010 Google

                 email analogizing to “rebuild the engine and body from the ground up, all

                 while continue to drive faster and faster”).

         87.4.   In February 2010, Google “launched the new DoubleClick for Publishers

                 (DFP) after two years of hard work with a revamped workflow, better

                 forecasting, new reporting, ad server optimization, etc.”         DTX-76 at 3

                 (January 2011 Google email).

         87.5.   The rebuilt server added dozens of new features to drive revenue for

                 publishers. DTX-76 at 3. For example, in 2011 Google released over seventy-

                 five features, including a full suite of capabilities for not just web banner ads,




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                       but also mobile, video, and other web capabilities. DTX-101 at 2 (January

                       2012 Google email).

        88.      At the time, the newly rebuilt DFP enabled publishers to sell inventory through

 AdX, competitor ad exchanges, competitor ad networks, and AdSense for Content, as well as

 directly to advertisers through direct deals. 9/20/24 PM Tr. 55:2-9, 56:6-8 (Sheffer).

        89.      When Google acquired DoubleClick, there were many competitors in the industry,

 including many that are still competing today such as Yahoo!, Microsoft, Magnite (f/k/a Rubicon),

 and OpenX. PTX-22 at 11 (2008 Google presentation regarding Google Ad Exchange: “We are

 behind, but well positioned”). At the time, competitor ad servers could connect to AdSense for

 Content, competitor ad networks, and directly to advertisers through direct deals. 9/20/24 PM Tr.

 55:16-22 (Sheffer).

        90.      When Google launched the improved version of DFP, it made clear that it was

 rebuilding a platform solution “for every type of publisher,” large or small, with digital content in

 websites or app or video.        As Neal Mohan wrote in his annual email summarizing the

 accomplishments of Google’s display ads business in 2010 and presenting goals for 2011:

              90.1.    Google wanted to “[p]rovide the first multi-format exchange that supports not

                       only traditional online display formats, but provides comprehensive support

                       for in-stream video, expandable and mobile formats.” DTX-76 at 8.

              90.2.    “By providing the most comprehensive enterprise class revenue generation

                       solution for large publishers and a turn-key, no worries solution for torso and

                       small publishers, we will continue to deliver on this promise in 2011.” DTX-

                       76 at 5.




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        91.     Google incorporated DoubleClick’s existing Dynamic Allocation into its

 relaunched publisher tools, generating significantly more revenue for publishers than they were

 able to attain under the old waterfall system. DTX-80 at 2 (2010 Google white paper).

        92.     Dynamic Allocation was a “good feature” that increased revenue for publishers and

 made it easier for targeted ads to be delivered. According to Plaintiffs’ witness Brian Boland,

 Dynamic Allocation was so effective that he believed in 2010 that “it would be devastating for

 Microsoft.” 9/13/24 PM Tr. 139:17-19 (Boland).

        93.     Other ad tech competitors developed features analogous to Dynamic Allocation,

 recognizing that it generated more revenue for publishers compared to the waterfall. For example,

 AppNexus offered a dynamic allocation feature as part of its publisher ad server suite. DTX-1487

 at 18-20 (AppNexus presentation showing AppNexus’ dynamic allocation feature increased

 publisher revenue by 20% compared to the waterfall).

        94.     Google has continued to innovate on DFP since first rebuilding it after the

 DoubleClick acquisition, infra ¶¶ 190, 209, and still offers it today as a publisher ad serving

 functionality. There are two versions of DFP that publishers can use: an enterprise version with

 all the bells and whistles that are the focus of Plaintiffs’ allegations, and a version called DFP

 Small Business. 9/16/24 AM Tr. 94:2-14 (Mohan).

        95.     Only a tiny percentage of publishers (“on the order of hundreds, maybe low

 thousands” out of millions of Google publisher customers) use the enterprise version of DFP.

 9/16/24 AM Tr. 94:5-14 (Mohan); 9/23/24 AM Tr. 21:9-18 (Korula).

        96.     Publishers that use the enterprise version pay very low ad serving fees, which are a

 fixed cost per impression served, and typically on the order of less than a penny for one thousand

 impressions. 9/20/24 PM Tr. 79:13-22 (Sheffer). For comparison, the publisher could make “at




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 least $5 or $10” for the direct sale of those thousand impressions. Id. (Sheffer). In addition,

 Google offers customers fee waivers or heavy discounts on DFP ad serving fees. E.g., DTX-1169

 at 1-2 (2021 proposal by Google to waive ad serving fees and offer performance bonuses to entice

 a publisher to sell inventory through DFP).

        97.      Most Google publishers—at least 16,000 publisher customers—that use DFP use a

 version of DFP called DFP Small Business that has serviced publishers since 2011. DTX-76 at 3;

 DTX-101 at 2. Plaintiffs ignore DFP Small Business.

              97.1.   DFP Small Business is an ad server similar to the flagship DFP product, but

                      it is simpler and has less functionality. 9/16/24 AM Tr. 91:25-92:19 (Mohan).

                      DFP Small Business enables small businesses to manage their inventory if

                      they want to use direct sales to serve some ads. 9/20/24 PM Tr. 80:1-9

                      (Sheffer).

              97.2.   Any publisher can sign up for DFP Small Business for free. 9/20/24 PM Tr.

                      79:13-22, 80:10-15 (Sheffer).

        98.      For publishers who use DFP Small Business, Google does not charge any ad

 serving fees for the first 90 million non-video impressions and 800,000 video impressions in a

 month. 9/23/24 AM Tr. 21:22-22:1 (Korula); 9/20/24 PM Tr. 79:13-80:9 (Sheffer); 9/16/24 AM

 Tr. 92:20-23 (Mohan); see also 9/25/24 PM Tr. 164:19-25 (Hochberger) (Mediavine used DFP’s

 “small business product that was free” until its publisher business “outgrew the free impression

 tier”). “No other vendor offers such a deal.” 9/9/24 PM Tr. at 161:7-162:20 (Avery).

        99.      In 2022, over 86% of DFP publisher customers in the United States paid zero ad

 serving fees. DTX-1954; 9/26/24 AM Tr. 119:1-16 (Israel).




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        100.   As Avery, who runs a competitor publisher ad server business testified, DFP has

 been widely adopted because it is “a deal” for small to medium publishers. 9/9/24 PM Tr. 161:19-

 22 (Avery). In addition, Kevel represents to its customers that publishers adopt DFP because it

 makes them more money and because it is “reliable from both an infrastructure and business

 perspective.” 9/9/24 Tr. 161:7-162:20 (Avery).

        101.   For some publishers, including website-only publishers who do not need to manage

 a significant number of direct deals, Google suggests in the sign-up process for DFP (both the

 enterprise version and DFP Small Business) that they might find AdSense to be “a better solution”

 for their needs. 9/23/24 AM Tr. 25:8-26:4 (Korula). In other words, AdSense is the “better

 solution” for many of the web-only publishers that Plaintiffs’ claims are focused on and connects

 directly to Google Ads, yet Plaintiffs exclude AdSense from their alleged markets. Supra ¶ 47.




        102.   While thousands of publishers use DFP and DFP Small Business, over a million

 publishers worldwide use one of Google’s other inventory management tools, AdSense. 9/16/24

 AM Tr. 93:18-21 (Mohan); see also 9/20/24 PM Tr. 84:9-13 (Sheffer). It is “very common” for


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 those publishers to use AdSense without any publisher ad server, including without DFP or DFP

 Small Business. 9/23/24 AM Tr. 15:12-14 (Korula).

        D.       2009: Google Launched a Rebuilt Ad Exchange, AdX, with the Innovation of
                 Real-Time Bidding.

        103.     When Google acquired DoubleClick, DoubleClick also had a nascent ad exchange.

 9/16/24 AM Tr. 14:21-15:1 (Mohan).

        104.     After the acquisition, Google continued to operate the DoubleClick ad exchange it

 had acquired while also rebuilding the new Google version of the ad exchange—called AdX. In

 2009, Google launched the rebuilt ad exchange on Google’s ad tech stack. Google made two major

 improvements.

        105.     The first was integrating the ad exchange with Google’s ad network customers on

 AdSense and Google Ads (with attendant functionality improvements). DTX-37 at 3 (January

 2009 Google email); 9/16/24 AM Tr. 70:8-10 (Mohan); 9/11/24 PM Tr. 24:15-21 (Ravi); 9/20/24

 PM Tr. 57:15-25 (Sheffer).

             105.1.   It took more than a year for Google to launch AdX because Google “needed

                      to continue to offer the existing DoubleClick solutions in the market, so that

                      we wouldn’t lose out to our competitors while rebuilding” the technology on

                      Google’s stack. 9/16/24 AM Tr. 70:11-71:4 (Mohan).

             105.2.   Google “rebuilt the core yield management functionality of the nascent

                      DoubleClick ad exchange” and “continued to innovate” at the same time that

                      it was building the new ad exchange. 9/16/24 AM Tr. 69:13-70:6 (Mohan);

                      DTX-59 at 3 (2010 Google email: “Deliver on our vision of building the best

                      ad yield management platform for publishers”).




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               105.3.   As documented in a January 2010 email, Google’s expectation was that AdX

                        would be a significant step forward for display advertising: “Ad Exchange

                        (AdX) will transform the display advertising industry by making it more open,

                        transparent, fair and effective for everyone from ad networks to agency

                        holding companies to large publishers.” DTX-59 at 2; see also 9/16/24 AM

                        Tr. 71:18-72:3 (Mohan) (“I really felt that it would really be a win-win for all

                        the parties, publishers, as well as advertisers, and also for our business, but

                        really be revolutionary in the space because it would do things that would

                        solve a lot of the real challenges that the display advertising industry was

                        facing at the time.”).

         106.     Investing in rebuilding and improving AdX was important to Google because it

 would grow “the three pillars” of Google’s business—“the ad network, ad exchange and

 platform”—“through the launch of dozens and dozens of new products, major upgrades and feature

 enhancements.” DTX-37 at 1 (January 2009 Google email).

         107.     Google’s three-pillared strategy recognized that, in order to provide the best

 offerings to publishers and advertisers, Google “needed new products and new capabilities,” and

 “needed to upgrade our existing products that were already in market” because “our competitors

 were trying to do the same thing, and we needed to do all of this at a very rigorous pace to remain

 competitive in the market.” 9/16/24 AM Tr. 64:2-16 (Mohan).

         108.     Google was not alone in pursuing a three-pillared strategy of offering an ad network,

 exchange, and publisher platform. Yahoo!, Microsoft, AOL, and OpenX all competed with similar

 strategies.




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            108.1.   A Google document from 2009 noted: “Our competitors have essentially the

                     same three-pillared strategy (platform, AdX, network) strategy as we do and

                     have realized that the most strategic battle is about the publisher platform and

                     so are focusing on it pretty aggressively (Yahoo APT, MSFT Pub Center,

                     AOL Platform A are basically their DFP and AdX competitors).” PTX-41 at

                     -005.

            108.2.   Another 2009 document added: “OpenX is the only relatively smaller player

                     to offer the same three-pillared approach to the display market as us, Yahoo,

                     MSFT, AOL—platform, exchange and network.” PTX-44 at -913; 9/16/24

                     AM Tr. 67:24-68:11 (Mohan).

                1.     Google Innovated Real-Time Bidding and Added It to the Rebuilt Ad
                       Exchange.

        109.    Google’s second major innovation to the DoubleClick ad exchange was the addition

 of real-time bidding. The nascent ad exchange that Google acquired from DoubleClick did not

 have real-time bidding functionality and was run based on static bids. 9/16/24 AM Tr. 69:4-12

 (Mohan).

        110.    Real-time bidding was one of the “really core innovations” Google added to AdX.

 9/16/24 AM Tr. 69:13-70:6 (Mohan). Real-time bidding is a protocol that lets advertisers and

 publishers communicate in an auction for an ad impression that runs in a fraction of a second after

 the user who will view the ad has created an impression. 9/12/24 PM Tr. 68:2-5 (Goel).

        111.    Around the same time in 2009, a handful of other ad tech companies, including

 PubMatic, also developed real-time bidding. 9/11/24 PM Tr. 24:15-21, 25:6-14 (Ravi); 9/12/24

 PM Tr. 68:6-10 (Goel). Real-time bidding was a significant advance in the display advertising




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 landscape because it solved some of the inefficiencies of the waterfall. 9/12/24 PM Tr. 68:15-22

 (Goel).

              111.1.   Real-time bidding was an improvement over static bids because buyers were

                       able to use information about the user viewing the impression to bid with

                       “more information about each ad opportunity.” 9/24/24 AM Tr. 61:15-25

                       (Milgrom).

              111.2.   Using this real-time information, advertisers were able to predict more

                       accurately the most effective ad opportunities for their particular product and

                       “get many more clicks per dollar by just buying the ad opportunities for the

                       most interested users.” 9/24/24 AM Tr. 62:8-63:5 (Milgrom). As a result,

                       advertiser ROI increased, which also translated “into a higher yield for

                       publishers.” 9/16/24 AM Tr. 69:13-70:6 (Mohan).

              111.3.   Real-time bidding thus made auctions more efficient—and likely to generate

                       higher value for publishers—by promoting competition among advertisers for

                       a particular impression. 9/9/24 AM Tr. 73:22-25 (Wolfe); 9/24/24 AM Tr.

                       61:15-25 (Milgrom).

           112.   With real-time bidding, AdX would run an auction and, if there was a bid that beat

 the floor price, deliver the winning ad back to the publisher. Notably, contrary to Plaintiffs’

 suggestion that AdX has always exclusively provided real-time bid amounts to DFP, since its

 launch AdX did not inform any publisher ad server—including DFP—of the “winning amount of

 the bid” (i.e., the amount of the real-time bid for the winning bidder) in real time. 9/18/24 AM Tr.

 18:25-19:12 (Spencer).




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        113.    At the time that Google launched the rebuilt AdX, the real-time bidding protocols

 offered by both Google and other innovators like PubMatic were proprietary. It was only several

 years later that companies started to release their real-time bidding protocols as open-source

 computer code. 9/12/24 PM Tr. 69:16-21 (Goel).

        114.    Within a year of its launch, AdX went from “transacting $50K in media per day,”

 with “only 50 buyers and no agency” doing significant spending, to “$1mm days,” with “hundreds

 of buyers and sellers including many of the largest on the internet.” DTX-76 at 1, 3 (January 2011

 Google email).

        115.    AdX was “recognized internally and externally as fulfilling the promise of

 transforming the display industry by making it more open, transparent, fair and effective for

 everyone. AdWeek recognized AdX as one of the Top 10 innovations of 2010 along with

 Facebook, Twitter, Foursquare, etc.” DTX-76 at 3 (January 2011 Google email); 9/16/24 AM Tr.

 86:3-87:6 (Mohan).

        116.    Following the launch of AdX, Google continued to innovate on the real-time

 bidding functionality it introduced. “In 2010, not only did we keep pace with this trajectory, we

 accelerated it with nearly 100 product launches, increasing our presence to most geographies and

 developing solutions for all advertisers and publishers – large and small.” DTX-76 at 1. The

 “constant stream of innovation” included “numerous RTB [real-time bidding] enhancements,

 publisher controls like category blocking and ad review toolbar, better targeting, rich media /

 expandable ads support, private ad slots, etc.” DTX-76 at 3.

                2.     The Integration of AdX and DFP Benefited Publishers.

        117.    The introduction of real-time bidding in AdX helped publishers make even more

 money when paired with Dynamic Allocation in DFP. 9/23/24 AM Tr. 54:11-55:3 (Korula).




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        118.    When paired with AdX, Dynamic Allocation allowed sellers to determine in real-

 time, for a particular remnant impression, whether there were AdX buyers willing to pay a higher

 price than what the seller expected that other demand sources in the waterfall would pay. If AdX

 buyers beat the highest expected price from other sources, the highest-bidding AdX buyer would

 win. 9/11/24 AM Tr. 96:9-14 (Ravi); 9/24/24 AM Tr. 62:13-63:5 (Milgrom).

        119.    The combination of Dynamic Allocation with AdX increased yield for publishers

 even more than Dynamic Allocation did based on static bids. DTX-80 at 2 (one study finding the

 combination led to a 188% increase in revenue, on average, when AdX won the auction); 9/24/24

 AM Tr. 61:15-62:5 (Milgrom).

        120.    Today, the functionalities of DFP and AdX can be accessed from a single

 streamlined user interface, referred to as Google Ad Manager, that offers publishers additional

 benefits when the two are used together. 9/20/24 PM Tr. 60:6-15 (Sheffer); infra ¶¶ 868-869.

        121.    Google’s decision to integrate the DFP and AdX functionalities into one user

 interface, Google Ad Manager, was made in response to feedback from publishers that they

 preferred a single interface to manage direct and indirect sales. 9/20/24 PM Tr. 60:6-15 (Sheffer);

 DTX-308 at 16 (2016 Google presentation). The integration provided publishers, among other

 things, “one screen,” or a single user interface “to make it easier for pubs to use AdX and DFP

 together.” DTX-308 at 5, 16.

            121.1.   As written in a 2014 Google internal email announcing the plan for Google

                     Ad Manager, “On the publisher side, we have two great products—DFP and

                     AdX—but our customers are asking us for a more unified offering.” DTX-

                     211 at 3. For example, News Corp stated that it would agree to continue with

                     Google only if it implemented a “feature request” to create “Seamless




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                     Functionality between DFP and AdX.” 9/10/24 AM Tr. 74:18-75:11 (Layser);

                     DTX-404 at 12.

            121.2.   The results of a Google publisher survey about whether to combine the

                     functionalities showed that “publishers want the option to see their data

                     together.”   DTX-213 at 26.      In addition, publishers reported that the

                     combination would save time, increase convenience, increase productivity,

                     and eliminate discrepancies. DTX-213 at 26.

            121.3.   An “integrated solution” would allow Google to “bring more DFP inventory

                     into our auction, maximizing yield” for publishers; allow customers to

                     “execute all deal types” “as efficiently as programmatic”; and streamline the

                     user interface and inventory management so that Google teams would have

                     more “time to focus on strategic bets.” DTX-211 at 3 (2014 mid-year check-

                     in Google email).

        122.   Though the functionalities of DFP and AdX have been integrated into one user

 interface, publishers can still use DFP without AdX, or use AdX without DFP. Infra ¶¶ 871-878.

               3.        Google Kept the AdX Revenue Share Percentage the Same After the
                         DoubleClick Acquisition and Until Today, Even As Google Has
                         Continuously Invested in Improving AdX.

        123.   Since it was first created by DoubleClick, AdX has used a revenue share model.

 The revenue share is a percentage of the price that an advertiser pays when it wins an impression

 and is taken out before the publisher receives its payout. The “baseline” revenue share that AdX

 charges for auctions of remnant inventory that are available to all the buyers on the exchange

 (“open auctions”) is 20 percent for Google and 80 percent for the publisher.     9/20/24 PM Tr.

 56:18-57:5 (Sheffer).




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        124.   When Google first acquired and relaunched AdX, it adopted the previously charged

 DoubleClick revenue share because 20 percent “was a market rate” that Google “thought was

 appropriate.” 9/20/24 PM Tr. 56:1-57:14 (Sheffer). Google maintained that price even though

 Google had added the significant innovation of real-time bidding to DoubleClick’s nascent ad

 exchange and connected the ad exchange to Google’s advertiser and publisher customers. Supra

 ¶¶ 109-116.

        125.   Since the acquisition, Google has not changed the base 20% revenue share for AdX,

 which remains the same today. 9/20/24 PM Tr. 56:18-57:14 (Sheffer).

        126.   Some publishers negotiate even lower revenue shares for AdX. For example,

 Hearst negotiated a 15% revenue share for open auctions on AdX. PTX-453 at -192 (2017 Google

 email: “With Hearst’s 15% revenue share in the Open Auction, if an AdX buyer spends $1 on an

 impression in the Open Auction, Hearst receives 85 cents.”).

        127.   Even though the revenue share for AdX has stayed the same, Google has made

 numerous innovations to AdX and invested to improve the quality of inventory available. 9/20/24

 PM Tr. 56:18-57:14 (Sheffer); 9/23/24 AM Tr. 77:7-9; 83:18-21, 92:17-19 (Korula) (Google did

 not charge publishers for innovations such as Enhanced Dynamic Allocation, Dynamic Revenue

 Share, and Reserve Price Optimization).

        128.   Plaintiffs’ expert Professor Simcoe agreed that “a key dimension of quality for ad

 exchanges is the installed base of buyers and sellers to which they connect.” 9/19/24 AM Tr.

 31:19-32:9 (Simcoe). Google has continuously worked to grow the “installed base” of advertisers

 connected to AdX. In addition to connecting AdX to its buying tools, Google has an exchange

 platforms team dedicated to convincing the operators of major buying tools to purchase on AdX.

 9/20/24 PM Tr. 81:3-82:1 (Sheffer). Today, there are hundreds of Authorized Buyers on Google’s




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 AdX—all of whom are non-Google ad networks and demand-side platforms that compete with

 Google—that participate in the AdX auction. 9/23/24 AM Tr. 32:19-33:2 (Korula); e.g., 9/11/24

 PM Tr. 89:7-8 (Dederick) (“Q. Does The Trade Desk bid into Google’s ad exchange, AdX? A.

 Yes.”).

           129.   Professor Simcoe identified as another quality differentiator of exchanges

 “detecting and filtering spam, malware, and fraud.” 9/19/24 AM Tr. 11:24-12:16 (Simcoe). Since

 AdX’s launch, Google has vetted both advertiser and publisher customers of AdX to filter out bad

 actors before they join Google’s network. For example, publishers selling on AdX have always

 been required to comply with Google’s policies against duplicate or fraudulent accounts,

 fraudulent inventory or false clicks, and harmful content. 9/16/24 AM Tr. 76:1-15, 77:18-24

 (Mohan); 9/23/24 AM Tr. 20:5-22 (Korula).

           130.   Since the relaunch of AdX, Google has continuously invested in spam, malware,

 and fraud protections for both advertiser and publisher customers, and those investments are baked

 into Google’s revenue share. Infra ¶¶ 1126-1132; 9/25/24 PM Tr. 130:21-131:8 (Borgia) (Google

 continues to invest “billions of dollars” in AdSafety); 9/18/24 AM Tr. 209:5-12 (Pappu) (“There

 were many publisher features built in the exchange from protecting against malware, bad

 JavaScript.”); id. at 209:16-19 (Pappu).

           E.     After 2009: Supply-Side Platforms Moved Away from Yield Management
                  Technology in Favor of Real-Time Bidding.

           131.   Around the same time exchanges first gained traction, publishers also relied on

 supply-side platforms (“SSPs”) to make their inventory available for ad placements. 9/10/24 PM

 Tr. 28:8-21 (Friedman).

           132.   One type of supply-side platform that emerged around 2009 was network yield

 managers such as Admeld, PubMatic, and Rubicon. These tools tried “to provide the best yield to



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 publishers from ad networks,” just like AdX, but with “some key differences,” including that they

 did not have Dynamic Allocation or run real-time auctions. DTX-45 at 1-2 (2009 Google email).

        133.    A key limitation to these traditional yield managers was that they made decisions

 based on historical data, which is “like trying to manage yield with imperfect information.” DTX-

 45 at 2; 9/16/24 AM Tr. 96:4-99:9 (Mohan) (network yield managers relied on a “static evaluation

 process that was existing before”); PTX-44 at -913 (2009 Google email identifying as limitations

 of Admeld, Rubicon, and PubMatic “No true dynamic allocation,” “No integration with buy-side

 platform,” “No Real-time Bidder, No Ad Quality controls, No Inventory Quality controls”). One

 of the major yield managers, for example, improved on static bids by pulling pricing information

 “on a much more frequent basis” so that the static waterfall would be sequenced based on relatively

 recent information—but not real-time information. 9/12/24 PM Tr. 64:25-65:9 (Goel).

        134.    Notwithstanding these limitations, network yield managers were “getting traction

 and positioning themselves as an alternative to exchanges” because publishers were reluctant to

 give up their existing ad network relationships. DTX-45 at 2 (2009 Google email); 9/16/24 AM

 Tr. 99:10-101:3 (Mohan) (moving from network yield management to real-time bidding required

 publishers to take a “big leap of faith,” which some publishers were more cautious about).

        135.    Starting from 2008 onward, Google had already invested in real-time bidding

 instead of traditional network yield management because, at the time, Google believed real-time

 bidding was where “the industry was going.” 9/16/24 AM Tr. 101:4-20 (Mohan).

        136.    When publishers took longer than expected to transition to real-time bidding and

 Dynamic Allocation, Google recognized that its publisher customers still had a “pressing need”

 for traditional “ad network management for non-RTB deals.” PTX-112 at -979 (March 2011

 Google presentation); 9/16/24 AM Tr. 105:2-25 (Mohan) (“it was becoming clear at the time that




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 while we felt that we had the solution that was the way forward and ultimately generated more

 money for publishers—they wanted to get there maybe in baby steps and wanted to hold onto this

 older type of technology, and that’s where the yield managers were getting some traction”).

         137.   In order to provide network yield management for its publisher customers as

 quickly as possible, Google acquired Admeld in 2011. PTX-112 at -975, -979 (2011 Google

 document describing Admeld integration); 9/16/24 AM Tr. 44:13-20, 107:7-24 (Mohan). Google

 integrated key Admeld features into Google’s tools, including Admeld’s network yield

 management function, and incorporated Admeld’s “talented engineering, service, and sales team”

 into Google’s business so that they could continue to support publisher customers. PTX-112 at -

 979; DTX-126 at 10, 13; 9/16/24 AM Tr. 108:23-109:17, 112:14-113:24 (Mohan); infra ¶¶ 1001-

 1002.

         138.   Over time, Google’s prediction proved correct: supply-side platforms like

 PubMatic also built their own real-time bidding functionality and shifted their focus away from

 optimizing among ad networks in the “waterfall” to real-time bidding. E.g., 9/12/24 PM Tr. 68:1-

 10 (Goel). Today, the term “supply-side platform” has become synonymous with “ad exchange.”

 9/11/24 PM Tr. 88:14-89:2 (Dederick) (“Demand-side platforms plug into ad exchanges, supply-

 side platforms, which have really merged into being the same tools, typically.”); 9/9/24 AM Tr.

 67:8-18 (Wolfe); 9/10/24 PM Tr. 28:22-25 (Friedman); 9/12/24 AM Tr. 19:15-18 (Srinivasan).

         F.     After 2009: Proliferation of Ad Exchanges with Real-Time Bidding Leads to
                the Emergence of Demand-Side Platforms.

         139.   With the proliferation of ad exchanges, demand-side platforms also emerged.

 9/11/24 PM Tr. 88:14-89:2 (Dederick). Demand-side platforms help advertisers manage buying

 across multiple channels, including across exchanges and supply-side platforms, direct deals, and




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 other means of reaching publishers. 9/11/24 PM Tr. 87:21-88:3 (Dederick); 9/20/24 PM Tr. 58:1-

 17 (Sheffer).

          140.    From the beginning of Google Ads, the value proposition of Google Ads has been

 to offer advertisers the ability to buy from higher quality publishers who have been vetted by

 Google. 9/19/24 PM Tr. 33:20-35:2 (Kim) (Google Ads advertisers “only buying through Google-

 owned exchanges or Google-owned channels” are protected from “low-quality spam traffic. . .

 and spammy publishers”).

          141.    In 2010, Google acquired Invite Media, a buying tool that provided advertisers with

 a centralized place to manage their bidding across ad exchanges and access both the Google

 network and “all inventory sources” outside of the Google network. DTX-76 at 4 (2011 Google

 email). This tool became known as DoubleClick Bid Manager (or DBM), and was renamed

 DV360 in 2018. 5 9/12/24 PM Tr. 68:23-69:15 (Goel).

          142.    DV360’s value proposition for advertisers is to provide customers with expanded

 access to inventory outside of the Google network. 9/11/24 AM Tr. 27:13-18 (Bender) (“a conduit

 for advertisers”). Google thus markets DV360 for “its integration with third-party exchanges,”

 9/25/24 PM Tr. 85:7-10 (Stewart),” which enables “buying efficiencies across channels and

 formats” because advertisers have “broad access” to inventory, DTX-1514 at 47, 50.

          143.    At the same time, since it was acquired, DV360 has had no special relationship with

 all of the third-party inventory sources it connects to, which means it cannot ensure inventory

 quality to the degree that Google Ads can. There was “an understanding there that if something

 fraudulent or spammy happens” when using DV360, “the onus would be on the advertiser.”

 9/11/24 AM Tr. 27:13-18 (Bender).


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     For consistency, we refer to this product as “DV360” throughout.


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        144.    Today, advertisers can use DV360 to purchase ads in a variety of formats and

 channels, including banner, native, and video ads that appear on websites, apps, and Connected

 TV, on over one hundred inventory sources. 9/9/24 PM Tr. 106:7-19 (Lowcock); 9/23/24 PM Tr.

 43:5-7 (Stefaniu).

            144.1.    As one example, the U.S. Census Bureau uses DV360 to purchase various ad

                      formats including display, video, and audio ads. 9/23/24 PM Tr. 97:10-18

                      (Oliphant). DV360 helped the 2020 Census advertising campaign reach

                      roughly 65% of the U.S. population an average of over four times per person.

                      DTX-903 at 1 (2020 Census presentation).

        145.    DV360 and Google Ads offer similar user interfaces that enable advertisers to

 easily start a campaign and select the inventory they want to purchase. The Google Ads, Stefaniu

 DX 1.1, and DV360, Stefaniu DX 1.20, interfaces to start an advertising campaign share many

 similarities. 9/23/24 PM Tr. 40:10-17 (Stefaniu).




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        146.    After an advertiser starts a campaign, in both Google Ads and DV360 the advertiser

 proceeds to campaign settings pages that ask the advertiser to select a campaign goal and creative

 types (display, video, and audio). The Google Ads, Stefaniu DX 1.2-1.3, and DV360, Stefaniu

 DX 1.21, interfaces for this step bear many similarities as well. 9/23/24 PM Tr. 40:18-41:24

 (Stefaniu).




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        147.   After a DV360 advertiser starts a campaign and sets campaign criteria, it can select

 whether to purchase from many inventory sources, including Google’s ad exchange AdX and over



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 100 rival exchanges such as Index Exchange, OpenX, Magnite, PubMatic, and others. Stefaniu

 DX 1.25-1.26; Stefaniu DX 2 9/23/24 PM Tr. 44:21-45:25 (Stefaniu). DV360 advertisers can also

 buy from Google’s owned and operated properties, such as YouTube. 9/23/24 PM Tr. 128:16-21

 (Hardie).

        148.    As depicted below, Stefaniu DX 1.25, using checkboxes a DV360 advertiser can

 use checkboxes to select as many (all) or as few (only one) of the inventory sources as it would

 like, and can choose to select or deselect any of the sources. 9/23/24 PM Tr. 44:11-20 (Stefaniu).

 For example, an advertiser can choose to select every inventory source and unselect Google’s ad

 exchange. Id. at 46:1-4 (Stefaniu). An advertiser can also purchase by bidding in auctions or by

 making automated direct deals with publishers. Id. at 49:13-17 (Stefaniu).




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        149.    After selecting inventory sources, similar to in Google Ads, Stefaniu DX 1.4, a

 DV360 advertiser, Stefaniu DX 1.27, can easily select criteria for the users it is targeting for a

 given campaign, including demographic characteristics, geographic location, and language.

 9/23/24 PM Tr. 46:5-47:11 (Stefaniu).




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        150.    Both Google Ads, Stefaniu DX 1.8, and DV360, Stefaniu DX 1.28, interfaces also

 enable advertisers to use similar interfaces to set brand safety criteria that filter for topics like

 profanity, “shocking content,” and sensitive social issues. 9/23/24 PM Tr. 47:13-48:2 (Stefaniu).




        151.    After these selections, an advertiser can use DV360 to manually set budget goals

 and bidding settings in a similar way that it would in Google Ads. Just like Google Ads, DV360


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 also gives newer, less sophisticated advertiser customers the option for Google to automate

 budgeting or bidding. 9/23/24 PM Tr. 49:5-12 (Stefaniu); see also id. at 27:12-29:8 (Stefaniu)

 (describing options available on Google Ads); Stefaniu DX 1.9-1.10.

        152.   In addition to sharing similar user interfaces, today Google Ads and DV360 also

 offer advertisers many of the same campaign types and features. Google has taken affirmative

 steps to move towards “unification” on the feature offerings of DV360 and Google Ads. PTX-417

 at -757 (referred to as “Skyray”). One 2023 Google slide deck listed DV360 as achieving “full

 parity with Google Ads” in “bidding,” “enhanced conversions,” “attribution,” “creatives,” and

 “audiences” features. DTX-1514 at 74; see also id. at 68 (“DV360 media buys are structured very

 similarly to Google Ads campaigns”); 9/25/24 PM Tr. 96:23-97:2 (Stewart).

        153.   DV360 is used by advertisers of all sizes. More sophisticated advertisers use

 DV360 to optimize for “broad reach” and manage their campaigns themselves. 9/11/24 AM Tr.

 48:6-12 (Bender). Smaller advertisers such as restaurant franchisees and automotive dealer groups

 also use DV360, including to purchase local advertising. 9/25/24 PM Tr. 45:5-23, 53:19-54:7,

 92:15-93:4 (Stewart).

        154.   Demand-side platforms like DV360 compete in the same auctions for the same

 impressions. 9/11/24 PM Tr. 147:5-148:14 (Dederick) (when The Trade Desk bids into AdX

 auctions, it competes with Google Ads); 9/26/24 AM Tr. 147:20-149:2 (Israel); 9/20/24 AM Tr.

 144:7-22 (Lee); 9/16/24 PM Tr. 45:13-21 (Weintraub) (Plaintiffs’ expert agreeing that both ad

 networks and DSPs “compete for impressions on the advertisers’ behalf”).

        155.   Even though DV360 directly competes for impressions and customer business with

 Google Ads, which is included in Plaintiffs’ alleged markets, Plaintiffs have excluded DV360 and




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 all other demand-side platforms from their product markets. Plaintiffs’ Demonstrative A; infra ¶

 662.

         156.    At the same time that they excluded demand-side platforms from their market

 definitions, Plaintiffs presented significant testimony and evidence relating to demand-side

 platforms at trial.

              156.1.   Plaintiffs presented the testimony of Dederick, a representative of a company

                       that offers a demand-side platform. 9/11/24 PM Tr. 87:19-22 (Dederick).

                       They elicited testimony from Dederick about DV360’s market position

                       despite not alleging that DV360 has market power in any relevant market. Id.

                       at 102:4-19 (Dederick).

              156.2.   Plaintiffs also presented extensive testimony, including expert witness

                       testimony, and evidence about Project Poirot, a feature specific to DV360.

                       E.g., 9/17/24 AM Tr. 76:8-101:21 (Jayaram); 9/11/24 AM Tr. 125:24-127:17

                       (Ravi); 9/16/24 PM Tr. 31:16-32:17 (Weintraub); 9/11/24 PM Tr. 53:5-13

                       (Ravi) (agreeing that Poirot was not implemented for any of the products in

                       Plaintiffs’ alleged markets).

              156.3.   Plaintiffs presented witness testimony that Google demand is “unique,” but

                       those witnesses were referring to demand from both Google Ads, which is

                       included in Plaintiffs’ markets, and DV360, which is not. Infra ¶ 857.

         G.      After 2014: Header Bidding Solutions Enabled Head-to-Head, Real-Time
                 Competition Among Ad Exchanges.

         157.    As explained in the next section, starting around 2014 the industry began to change

 because of the emergence of a new technology called header bidding. Header bidding was initially

 pioneered by some publishers and ad tech providers that wanted to compare real-time bids from



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 multiple exchanges at the same time, instead of sequentially. Header bidding soon became popular.

 Responding to the demand for this new technology, Google developed its own functionality for

 facilitating head-to-head competition between exchanges on DFP, called Open Bidding. Since its

 launch, Open Bidding has competed with header bidding for publisher customers. While Open

 Bidding has been successful, header bidding has continued to grow in popularity, and by the

 testimony of Plaintiffs’ own witness is “alive and well” today. 9/13/24 AM Tr. 32:4-5 (Kershaw).

 The story of the development of header bidding, Google’s competitive response, and the continued

 fierce competition from header bidding is one of competition, demonstrating a thriving market

 with innovation and evolution.

        158.   As explained below, header bidding places significant competitive pressure on

 Google. Plaintiffs’ own witness Casale of Index Exchange testified multiple times that header

 bidding’s impact has made the market “hypercompetitive.” 9/9/24 AM Tr. 155:23-156:9 (Casale);

 9/9/24 PM Tr. 23:3-15 (Casale). Yet Plaintiffs do not include header bidding within any of their

 alleged markets. 9/20/24 AM Tr. 25:25-27:15 (Lee); 9/11/24 PM Tr. 44:2-9 (Ravi) (header

 bidding is a competitive threat to Google’s ad server and ad exchange).

               1.      Rise of Header Bidding

        159.   By about 2014, there were even more real-time bidding exchanges. Before, the

 industry understood exchanges as one-stop shops for auctions. If an exchange could beat a floor

 price, “the exchange would win and that ad would serve.” 9/23/24 AM Tr. 46:23-47:6 (Korula).

        160.   The industry had not yet developed technology permitting ad exchanges to compete

 with each other in real time on price. In the old “waterfall” system, exchanges were called

 sequentially and won if they could beat a price floor; it did not matter whether a subsequent ad

 exchange might in theory have returned an ad with a higher bid if called. Supra ¶¶ 62-74.




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        161.    In other words, ad tech providers had not yet built the technology to compare real-

 time bids from multiple exchanges, 9/23/24 AM Tr. 62:23-63:10 (Korula), which was referred to

 as—an “auction of auctions.” Google had not done anything to prevent competing exchanges from

 submitting their real-time bid amounts to DFP, but at the time third-party exchanges were not

 providing the amount the winning advertiser would pay. Supra ¶¶ 70-71. It was thus impossible

 for Google to unilaterally create a feature to compare amounts from multiple exchanges within

 DFP.   9/23/24 AM Tr. 64:1-13 (Korula) (“So if [the rival exchanges] had developed that

 technology sooner, then DFP would have been able to integrate it sooner, right. . . . So DFP was

 always open to this.”).

                           a.   Header Bidding Solutions: Prebid, Amazon, Meta, and More

        162.    Over time, publishers sought a way not just to use Dynamic Allocation to compare

 AdX real-time bids against the waterfall, but compare bids from multiple competing real-time

 auctions in real time. A new solution—header bidding—emerged. 9/24/24 AM Tr. 73:4-22

 (Milgrom); Deposition of Brian O’Kelley Tr. 110:17-20, 110:23-111:5 (“Header bidding began to

 get a lot of traction, I want to say, around 2014.”); 9/11/24 PM Tr. 36:17-37:8 (Ravi) (header

 bidding emerged around 2014 as a competitive response to “first look,” or dynamic allocation).

        163.    Header bidding allows a publisher to solicit and compare real-time bids from ad

 exchanges and demand partners simultaneously before sending the impression to its publisher ad

 server. PTX-1650 at -040, -046 (2017 The Trade Desk presentation about header bidding); 9/11/24

 PM Tr. 133:9-134:5 (Dederick). Header bidding can be used for multiple kinds of ads that appear

 on websites, including banner, native, and video ads. 9/12/24 PM Tr. 47:25-48:7 (Dederick).

        164.    Initially, publishers set up header bidding by manually placing publicly available

 code on their websites (referred to as “client-side” header bidding). 9/20/24 PM Tr. 60:22-61:8

 (Sheffer). When a user visited the publisher’s website, the website browser would “read” the


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 header bidding code and activate the process of running an auction among other ad exchanges and

 demand sources. That entire process of collecting and comparing bids was handled by code on

 the digital content provider’s website. 9/9/24 AM Tr. 74:13-23 (Wolfe); see also PTX-1650 at -

 046, -048 (2017 The Trade Desk slide deck: “Publishers insert Javascript code into webpage

 header” that “circumvents [the] waterfall auction.”).

        165.    In response to publisher interest in header bidding, dedicated tools to facilitate

 header bidding auctions emerged.

        166.    One of the important ad tech providers that played a role in kicking off the rise of

 header bidding was Prebid. According to Casale of Index Exchange, “before the launch of Prebid,

 header bidding was an infant”—“barely a technology at all” with “no standard at all.” 9/9/24 PM

 Tr. 28:19-29:4 (Casale); see also 9/12/24 PM Tr. 164:25-166:1 (Kershaw) (“[A]t the time header

 bidding was just starting, . . . it was not taking off because of the complexities of publishers to run

 that environment because everyone had a different solution for header bidding”).

        167.    Launched in 2015, Prebid created a standard header bidding wrapper, agreed to by

 a collective organization of exchanges and publishers, that would run an auction comparing the

 prices of participating exchanges in real time. 9/9/24 PM Tr. 29:5-11 (Casale); 9/10/24 AM Tr.

 126:25-127:3 (Layser).

            167.1.    Prebid.org is the name of the organization of ad tech providers and publishers

                      that “collectively own” the header bidding technology (“wrapper”) that the

                      organization developed. 9/12/24 PM Tr. 164:2-24 (Kershaw). That wrapper

                      technology is called Prebid.js. Id.; 9/13/24 AM Tr. 13:21-14:13 (Kershaw).

                      (For convenience, we refer to both the organization and the technology below

                      as “Prebid.”)




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            167.2.   Prebid’s wrapper calls multiple exchanges simultaneously for a given

                     impression, the exchanges submit bids into the wrapper, and Prebid “will pick

                     a winner and push that into the [publisher] ad server.” 9/9/24 PM Tr. 46:11-

                     47:7 (Casale).

            167.3.   As described by the founder of Prebid, Prebid’s vision was to create “one

                     common wrapper.” 9/12/24 PM Tr. 164:25-166:1 (Kershaw). The goal was

                     not only to standardize header bidding across the industry, but also to create

                     “an organization that governs” the code so that “it’s not owned by any one

                     company.”     Id. (Kershaw).     Prebid’s board of directors serves as that

                     governance organization and consists of both publishers and ad tech providers.

                     Today, it contains representatives from many of Google’s major competitors,

                     including OpenX, Magnite, PubMatic, The Trade Desk, Index Exchange, and

                     Microsoft. 9/17/24 PM Tr. 96:2-97:13 (Cadogan); Cadogan DX 1; 9/12/24

                     PM Tr. 139:16-22 (Goel); 9/12/24 PM Tr. 164:25-166:1 (Kershaw).

            167.4.   Consistent with Prebid’s vision of collective ownership, all of Prebid’s

                     software to solicit bids, compare them, and output the winning bid is

                     “published in open servers so anyone can see it.” 9/12/24 PM Tr. 164:10-24

                     (Kershaw).

        168.    As the founder of Prebid testified, the Prebid wrapper serves similar functions that

 a publisher ad server does. It takes “control over the auction process that previously had been

 determined by what was called the ad server.” 9/12/24 PM Tr. 164:2-9 (Kershaw).

        169.    Because the Prebid wrapper handles the solicitation of bids and comparison logic

 that a publisher ad server would, Prebid’s website instructs publishers on how to use Prebid to run




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 an auction and display the winning ad on a website—all without using a publisher ad server.

 9/13/24 AM Tr. 15:10-16:3 (Kershaw) (page is titled “running Prebid.js without an ad server”);

 see also 9/25/24 PM Tr. 170:18-171:5 (Hochberger) (publisher testifying that it is possible to

 “render to page” header bidding ads without using an ad server). In other words, a publisher

 interested in soliciting bids from multiple exchanges, comparing them, and selecting a winner

 could do so using only Prebid’s wrapper, without DFP or any other ad server.

        170.    Other ad tech providers also started to capitalize on the popularity of header bidding

 by developing their own header bidding solutions.

        171.    For example, Amazon offers two popular server-side header bidding wrappers,

 Transparent Ad Marketplace (“TAM”) and Unified Ad Marketplace (“UAM”), that are built on

 proprietary code. DTX-879 at 8 (2018 Google competitive analysis of Amazon); 9/9/24 PM Tr.

 28:12-18, 45:21-46:10 (Casale); 9/12/24 PM Tr. 140:19-141:3 (Goel); 9/13/24 AM Tr. 157:17-

 159:11 (LaSala).

        172.    Since at least 2016, Meta also started offering a header bidding solution through

 Meta Audience Network. According to Meta, the solution introduced “massive unique demand to

 the world of header bidding, enabling publishers to better monetize by accessing Facebooks’ 4M

 advertisers.” PTX-1540 at 18 (2016 Facebook slide deck about header bidding).

                       b.      Advantages and Risks of Header Bidding

        173.    The industry participants that drove the rise of header bidding tools and

 implementations sought to increase competition for impressions by enabling simultaneous

 competition between exchanges. PTX-1650 at -043, -045 (2017 The Trade Desk presentation

 about header bidding); 9/11/24 PM Tr. 133:4-134:5 (Dederick). As a result, the simultaneous

 competition facilitated by header bidding provided some benefits to industry participants over the

 old waterfall system, including:


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            173.1.   Increasing revenue for publishers.     9/9/24 AM Tr. 74:24-75:5 (Wolfe);

                     9/24/24 AM Tr. 73:23-74:9 (Milgrom); PTX-1650 at -049.

            173.2.   For smaller exchanges, lowering “barriers to entry” so that they could see

                     more publisher inventory, and enabling “bids from third parties” to “compete

                     on even footing.” PTX-1650 at -046, -048; PTX-1540 at 12 (2016 Facebook

                     header bidding analysis); PTX-1710 (2017 Facebook document) 6 ; 9/12/24

                     PM Tr. 171:14-172:3 (Kershaw) (“header bidding started to happen to open

                     up and democratize access to publisher inventory, especially the most valuable

                     publisher inventory”); 9/13/24 AM Tr. 22:14-17 (Kershaw). According to

                     Wheatland of The Daily Mail, header bidding helped “non-Google exchanges,”

                     as The Daily Mail saw “anything from 50 to 100 percent increase in revenue

                     from exchanges when they move from the waterfall setup to a header bidding

                     setup.” 9/18/24 AM Tr. 140:4-15 (Wheatland)

            173.3.   For buying tools, expanding their access to more and higher quality inventory

                     and enabling advertisers to better forecast available inventory. PTX-1650 at

                     -049 to -052.

        174.   At the same time, because header bidding was initially introduced as a “hack[] to

 solicit bids from other exchanges,” 9/12/24 AM Tr. 15:13-16 (Srinivasan), header bidding also

 introduced a number of new risks to be mitigated.




 6
   According to this 2017 document, competitors like Facebook understood that header bidding was
 a competitive threat to Google and that Google’s competitive response, Open Bidding, infra ¶¶
 188-190, needed to compete with the demand available through competitors like Facebook,
 Amazon, and AppNexus (now Microsoft). PTX-1710 at 1 (Open Bidding “doesn’t offer demand
 from the big three—[Facebook] Audience Network, Amazon and Appnexus”).


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            174.1.    A Google document identified as drawbacks “increased latency, . . . [with]

                      timeouts on HB exchanges significantly higher”; “operational complexity”;

                      “data security/leakage”; “eventual loss of advertiser trust in RTB auctions”;

                      “significant discrepancies between HB and DFP reports . . . and risk of bid

                      fraud”; and “troubleshooting complexity.” DTX-376 at 10 (2017 Google slide

                      deck); see also DTX-371 at 2 (2017 Google strategy document) (“latency,

                      complexity, potential for bid fraud, and data leakage”); PTX-1543 at -603

                      (2017 Google email identifying “latency” and “fraud risk”); PTX-367 at -464

                      (2016 Google email noting in the context of header bidding that “this industry

                      has a history of loving tech that is good for short-term $ but so bad for users

                      they have to back off later”).

            174.2.    A presentation by The Trade Desk regarding header bidding noted that header

                      bidding increased the infrastructure costs and lowered margins for ad

                      exchanges, which had to compete more intensely; increased costs for ad

                      buying tools because they had to submit multiple bids for the same impression;

                      and increased the price advertisers had to pay per impression. PTX-1650 at

                      -049 to -052.

        175.    One security risk from header bidding was increased ad fraud, which “is a broad

 topic that includes things like invalid traffic but also low-quality made-for-advertising sites. . . .

 Effectively, it’s the idea that some websites will just ram more ads on a page that aren’t viewable

 or aren’t seen or they’ll rotate them quickly. And advertisers will buy them. And they won’t get

 any value, but they will never know.” 9/11/24 PM Tr. 115:14-116:6 (Dederick).

        176.    Header bidding, as Google witnesses explained, could also introduce latency:




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            176.1.   Header bidding “increased latency to the page for marketers” and would

                     diminish “value to the publisher in the long term because of the poor

                     experience.” 9/13/24 AM Tr. 115:7-22 (LaSala); see also id. at 106:22-107:2,

                     154:5-21 (LaSala); 9/19/24 AM Tr. 137:14-138:5 (Bellack) (header bidding

                     raised “significant” concerns “as it first came out” because of “the impact on

                     page performance”).

            176.2.   Header bidding latency resulted in a “pretty bad” user experience, including

                     because “it would take a very long time for the page to render or you would

                     get, like, broken links.” 9/10/24 PM Tr. 88:10-90:11 (Lipkovitz).

        177.    Other industry participants agreed that header bidding increased latency and could

 affect the user experience.

            177.1.   According to Farber of Meta, header bidding “would make the website load

                     slower,” impacting the end user experience. 9/26/24 PM Tr. 160:11-22

                     (Farber). This in turn could “create churn” and turn viewers away from a

                     publisher’s digital content. Id. at 161:1-10 (Farber); see also DTX-365 at 1

                     (2016 Facebook email: “Header Bidding does not increase speed / decrease

                     latency, it actually increases it!”).

            177.2.   In the experience of a representative from The New York Times, header

                     bidding “typically adds tax to the site performance and may slow down the

                     page load for the end reader or user.” 9/26/24 PM Tr. 137:3-7 (Glogovsky).

            177.3.   A representative of Goodway Group, an advertising agency, advised

                     advertisers that header bidding “can cause increased page latency and page

                     load times.” 9/10/24 PM Tr. 39:17-21, 40:25-41:7 (Friedman).




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            177.4.   Kershaw, founder of a major header bidding solution, agreed that latency was

                     important to the industry and a challenge associated with header bidding.

                     9/13/24 AM Tr. 23:5-24 (Kershaw); see also id. at 33:7-21 (Kershaw)

                     (“[L]atency will always be an issue unless you can move to a server-side

                     environment.”).

            177.5.   Layser, former Vice President of Advertising Technology & Operations at

                     News Corp, agreed News Corp had to manage latency concerns when using

                     header bidding. 9/10/24 AM Tr. 84:24-85:1 (Layser).

        178.    Header bidding could also create billing problems for publishers because they had

 less of a “paper trail” to keep track of how much they were owed. 9/10/24 PM Tr. 88:10-90:11

 (Lipkovitz).

            178.1.   According to one former Google employee, billing and ad fraud issues were

                     one of the downsides that made header bidding “crappy.” 9/10/24 PM Tr.

                     88:10-90:11 (Lipkovitz); see also DTX-376 at 19 (2017 Google presentation);

                     DTX-1016 at 16 (2020 Google presentation).

            178.2.   One Google employee observed that publishers could still find header bidding

                     “pretty inconvenient to use” because of “latency, reporting, transparency,

                     billing” issues. PTX-367 at -470 (2016 Google email).

        179.    Additionally, ad tech providers could take advantage of the fact that, for header

 bidding, prices were self-reported. As Jonathan Bellack, former Product Manager Leader for AdX

 and DFP explained, “other exchanges in the industry were playing games with their auction logic.

 They were misrepresenting their fee structure. They were modifying their auctions in ways that

 were not fair and intended to advantage their one business. And one of the huge problems I saw




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 with header bidding was all of the prices going into that client-side code were self-reported by

 these exchanges.” 9/19/24 AM Tr. 137:14-138:5 (Bellack).

        180.    Header bidding also required nontrivial investments by both publishers and ad tech

 providers to set up.

            180.1.      As Farber of Meta explained, “this is not a turnkey or plug-and-play solution.”

                        9/27/24 PM Tr. 161:1-10 (Farber). “It requires a significant initial set up and

                        maintenance by engineers of the HB configuration.” PTX-1540 at -579 (2016

                        Facebook Header Bidding 101 slide deck).

            180.2.      Building integrations with header bidding was a resource-intensive process

                        that could detract from exchanges’ ability to build other new features for their

                        customers. 9/13/24 AM Tr. 24:8-26:6 (Kershaw).

        181.    Header bidding risked harming advertisers by artificially inflating the prices they

 paid for ads. Both Google and industry participants observed that header bidding might lead an

 advertiser to “self-compete” when it bid through multiple exchanges for the same impression.

 9/24/24 AM Tr. 126:21-128:17 (Milgrom).

            181.1.      A presentation by The Trade Desk about header bidding stated that header

                        bidding can lead to higher costs per thousand impressions (CPMs) for

                        advertisers. PTX-1650 at -052.

            181.2.      Google noted that header bidding can cause “bid duplication due to multiple

                        requests for the same inventory.”         DTX-1016 at 16 (2020 Google

                        presentation).

            181.3.      AppNexus wrote: “With the advent of header bidding technology, AppNexus

                        has seen a rise in redundant supply on our platform. . . . This dynamic harms




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                      buyers by causing them to bid against themselves for the same impression.”

                      DTX-422 at 223 (2017 AppNexus presentation). Similarly, Xandr observed

                      that header bidding caused DSPs to see “the same stream of impressions from

                      many different sources,” which was “highly inefficient.” DTX-1091 at 6

                      (2021 Xandr document).

             181.4.   As reflected in the notes of a 2017 meeting between Google and Yahoo,

                      Yahoo expressed concern that “another challenge with HB is that” it “may be

                      getting the same inventory from multiple” avenues “and there is no way to

                      flag it.” PTX-470 at -293.

             181.5.   In 2017, Google also noted that a third party’s “internal research shows that

                      up to 28% of the impressions they see” through header bidding “are

                      duplicates.” PTX-470 at -292.

         182.    In a 2017 internal presentation, The Trade Desk acknowledged that downsides of

 header bidding included “higher CPMs” for advertisers and “higher costs from submitting multiple

 bids for [the] same impression” for buying tools like The Trade Desk’s own DSP. PTX-1650 at -

 051 to -052. In evaluating “what does header bidding mean for TTD,” it identified short-term

 effects of “duplicate bid requests” and rising transaction costs even as it projected that, in the long-

 term, header bidding would result in The Trade Desk gaining market share and emerging “as a

 stronger company at end state.” PTX-1650 at -057 to -058.

         183.    Despite the challenges introduced by early header bidding implementations, header

 bidding quickly became incredibly popular.

             183.1.   A Meta document stated that, in 2016, 70% of U.S. publishers used header

                      bidding. PTX-1540 at 15.




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            183.2.   AppNexus “invested aggressively in header bidding” because it “directly

                     attacks the connection between DFP and AdX/GDN,” and AppNexus

                     “enlisted most of the SSP companies into this effort.” DTX-352 at 2 (2016

                     document about AppNexus-TTD Partnership).

            183.3.   A Google strategy document prepared for 2017: “As of Jan 2017, 50% of

                     [Large Publisher Services] publishers (and 25% of [Online Partnership

                     Groups Tier 1]) are using header/wrapper tags.” DTX-371 at 2.

        184.   Though header bidding introduced risks for both publishers and advertisers, Google

 responded to publishers’ demand for header bidding and “went out of” its “way to make” header

 bidding work with DFP so that publishers could use DFP to serve ads won by exchanges

 participating in header bidding. 9/13/24 AM Tr. 146:12-147:1 (LaSala); PTX-254 at -238 (2015

 Google email). For example, Google increased the number of line items publishers could set up

 in DFP from thousands to tens or hundreds of thousands so that publishers could enter header

 bidding bids as line items. 9/13/24 AM Tr. 146:12-147:1 (LaSala).

               2.      Development of Open Bidding

        185.   As header bidding gained more traction and more publisher inventory was sold

 through header bidding, Google viewed the new technology as a substantial source of competition

 to its ad tech products. Header bidding made “third party yield more attractive, undermining the

 value of [AdX and DFP] as a must-call platform.” PTX-611 at -801 (2018 Google presentation);

 9/12/24 AM Tr. 15:20-22, 43:7-44:10 (Srinivasan).

        186.   AdX did not participate in header bidding, but it competed with header bidding

 exchanges for impressions. In addition, header bidding put pressure on DFP because advertisers

 could use header bidding to access more inventory than before, without needing to use DFP. PTX-

 308 at -243 (2016 Google email noting that header bidding yields “higher revenue for publishers


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 because it allows SSPs [exchanges] to compete with AdX more on an impression-by-impression

 basis”); PTX-1650 at -048 (2017 The Trade Desk presentation stating that when header bids are

 “inserted into DFP,” “bids from third parties compete on even footing with AdX”).

        187.   Internal Google documents and testimony demonstrate that Google took the

 competitive pressure exerted by header bidding seriously. Google particularly felt a need to

 innovate in response to competition from Facebook and Amazon because those companies could

 leverage advertiser demand for their owned-and-operated properties into their own successful

 header bidding products. Publishers would then make greater use of Amazon or Meta’s header

 bidding products, reducing usage of AdX or DFP to monetize content. E.g., DTX-879 at 10 (2020

 Google presentation listing Amazon’s “unique demand” as a “key differentiator” for Amazon’s

 header bidding wrappers).

           187.1.   In July 2015, a Google employee wrote: “Team, are you amenable to having

                    a working session on header bidding soon? This is posing a threat to not only

                    our programmatic auction business but also DFP/Programmatic Guaranteed.”

                    PTX-234 at -237.

           187.2.   A January 2016 “Yield Management Overview” document described the

                    “threat” that header bidding poses “to our business” as “huge.” PTX-275 at -

                    495.

           187.3.   In August 2016, Bellack, former Product Manager Leader for AdX and DFP,

                    observed “increasing chatter about” the “use of header bidding to set up deals

                    with preferential access,” which “could grow even into a replacement ad

                    server.” PTX-367 at -469.




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          187.4.   In October 2016, Bellack wrote: “HB has continued to grow rapidly and is

                   measurably impacting our revenues.” PTX-1543 at -604. “Major rivals FAN

                   and Amazon have made big bets on HB, to avoid our pipes.” PTX-1543 at -

                   604.

          187.5.   In October 2016, a Google employee observed that “HB is growing and the

                   use cases of HB are expanding.” PTX-403 at -512. “HB solutions + price

                   competition from emergent ad servers + SSPs pose a competitive threat to

                   DFP’s value prop of being a broad source of access to premium inventory.”

                   PTX-403 at -512.

          187.6.   In December 2016 LaSala, former Managing Director for Global

                   Commercialization, described header bidding and Facebook Audience

                   Network as a significant threat to Google’s business. PTX-433 at 601; see

                   also 9/13/24 AM Tr. 94:6-8 (LaSala).

          187.7.   In February 2017, notes from a meeting between Google and Yahoo describe

                   a lengthy discussion between the two companies about header bidding.

                   Google described header bidding to Yahoo as “a threat to our core business.”

                   PTX-470 at -293. In particular, Google was concerned that header bidding

                   advocates were persuading Yahoo’s advertiser customers that they were

                   losing access to valuable publisher inventory if they purchased only through

                   AdX. The document continued: “SSPs are telling Yahoo that the only way to

                   access certain inventory is through header bidding.” PTX-470 at -293; see

                   also id. at -291.




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           188.   In the face of this growing competitive pressure, Google began to brainstorm

 “competing” solutions to “meet the publishers’ needs.” PTX-239 at -813, -817 (2015 Google

 email).

              188.1.   Reacting to header bidding, Google employees wrote: “We need to think

                       about this problem with a fresh perspective, answering the publishers’ needs.”

                       PTX-239 at -813 (August 2015 Google email). “This is not about don’t use

                       the other[ ] guys—this is about here’s how you can do it profitably and

                       without losing the user . . . . We have a great opportunity to build a stronger

                       indirect demand solution in DFP to do exactly that.” PTX-239 at -818.

              188.2.   As Bellack explained, “because our customers were reporting that” they were

                       finding header bidding “valuable, for us to not respond by trying to deliver

                       value would give them more reasons to try other things.” 9/19/24 AM 143:25-

                       144:8 (Bellack).

           189.   After a few years of development and beta, Google widely launched Open Bidding

 in 2018 “in response to competition from header bidding.”            9/12/24 AM Tr. at 25:17-24

 (Srinivasan); 9/23/24 AM Tr. 39:10-16 (Korula).

              189.1.   In a 2016 internal document describing the competitive threat of header

                       bidding, Google stated that it developed “demand syndication,” an internal

                       term for Open Bidding, in order to “counter” the “threat” of header bidding.

                       PTX-275 at -495.

              189.2.   In a description of how Open Bidding began, a 2020 Google slide deck stated:

                       “We built Open Bidding in response to changes in the aggregated bidding




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                     landscape, recognising the need to help publishers attain a higher yield on their

                     ad inventory without sacrificing on user experience.” DTX-1016 at 23.

            189.3.   Tom Kershaw, Chair of the Prebid Board and former employee of Magnite,

                     agreed that Open Bidding was Google’s “competitive response to header

                     bidding.” 9/13/24 AM Tr. 31:16-23 (Kershaw).

        190.    Whereas header bidding called third-party exchanges directly from a publisher’s

 webpage before sending the impression to DFP, Open Bidding was a server-side solution that

 enabled publishers to achieve the same goal—put third-party ad exchanges in competition—in a

 simultaneous auction within DFP. Moreover, Open Bidding enabled publishers also to put these

 third-party ad exchanges in simultaneous competition with AdX. 9/25/24 PM Tr. 173:10-13

 (Hochberger); PTX-764 at -258 (2019 Google presentation). Open Bidding thus helped publishers

 achieve the same purpose of header bidding—head-to-head competition between real-time prices

 from different exchanges—using DFP.

        191.    Open Bidding was developed “in direct response to feedback from publishers and

 buyers that asked for help in overcoming key monetization and media buying challenges.” DTX-

 1016 at 25 (2020 Google presentation). Google’s goal in launching Open Bidding was to increase

 the attractiveness of its own sell-side tools to publishers, particularly publishers drawn to header

 bidding. Google’s goal was “not to directly stop HB [header bidding],” but to “improve

 platform attractiveness and increase net revenue” in order to compete with it for customer

 business. 7 PTX-611 at -805 (July 2018 Google strategy review presentation); see also 9/12/24



 7
   Google ran experiments that paused small amounts (such as 0.1 percent) of bidding on third-
 party exchanges in order to identify how much of the inventory purchased through header bidding
 was the same (in other words, not “incremental”) as what was already available on Google’s own
 tools. 9/17/24 PM Tr. 6:4-7:9 (Jayaram); see PTX-1545 at -142, -145. As explained above, supra
 ¶¶ 181-182, other industry participants shared the concern that header bidding could result in “the

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 AM Tr. 146:13-18, 153:5-7 (Srinivasan) (“The intent was not to stop header bidding.”); PTX-367

 at -463 (September 2016 email observing if Google made Open Bidding “attractive, fair, and

 transparent for ssps, key networks, and adx buyers it might be enough to keep hb in check”).

        192.    Google first introduced Open Bidding on a trial basis in 2016 (when it was first

 called Exchange Bidding before it was renamed Open Bidding), and launched it fully to all

 publishers in 2018. 9/23/24 AM Tr. 39:10-12 (Korula).

        193.    Open Bidding competed successfully as an additional option for publishers,

 significantly improving on the operational issues present in header bidding while increasing yield

 for publishers. 9/23/24 AM Tr. 39:13-16 (Korula).

            193.1.    “We saw a market need based on publisher behavior and decided to build a

                      product more natively that we thought was a more superior product.” 9/12/24

                      AM Tr. 25:7-12 (Srinivasan).

            193.2.    Meta’s corporate representative testified that Open Bidding improved on

                      header bidding in multiple ways: “Q. Was, in Meta’s view in 2017, Google’s

                      open bidding solution superior to header bidding in some of those respects




 same impression being auctioned off through different supply sources.” DTX-422 at 223 (2017
 AppNexus presentation). Google’s experiments suggested that at least some inventory available
 through header bidding was incremental. PTX-1545 at -142.
 As Jayaram testified, and Plaintiffs do not dispute, these experiments were run to test a hypothesis
 but not “follow up on in real life”—DV360 never stopped bidding on third-party exchanges.
 9/17/24 PM Tr. 6:4-7:9 (Jayaram); see also 9/13/24 AM Tr. 82:19-83:21 (LaSala) (DV360,
 AwBid, Google Ads “did whatever they wanted”); id. at 153:19-154:4 (LaSala) (“Q. Was a
 suggestion that DV360 stop buying on third-party exchanges accepted? A. No.”). Jayaram further
 testified that these experiments bore no relation to the reasons for launching Project Poirot. 9/17/24
 PM Tr. 33:14-21 (Jayaram) (“Q. What you did instead at around the same time was to reduce
 DV360’s bidding on those third-party exchanges; isn’t that right? A. We launched Poirot to
 optimize for the advertiser.”).


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                      that you mentioned? A. To the best of my knowledge, Google’s open bidding

                      solution addressed those issues.” 9/26/24 PM Tr. 161:11-17 (Farber).

            193.3.    As the founder of Prebid admitted, Open Bidding was “faster and more

                      efficient” than header bidding. 9/13/24 AM Tr. 11:9-12:9 (Kershaw).

            193.4.    Open Bidding also came with “virtually no setup cost or operational

                      complexity” for publishers. DTX-1016 at 25 (2020 Google presentation).

            193.5.    In Open Bidding, Google handled all billing, including for purchases made

                      through third-party exchanges, so publishers could receive guaranteed net 30

                      day payments. DTX-1016 at 25.

            193.6.    Another “key advantage” of Open Bidding over header bidding was “that

                      reporting can be done within DFP, while reporting is a key challenge when

                      using header bidding.” PTX-275 at -495 (2016 Google document).

            193.7.    For advertisers, Open Bidding offered tools that limited the possibility that

                      they would bid on the same impression multiple times through different

                      exchanges and inadvertently inflate the price of the impression. DTX-1016 at

                      25-26.

        194.   These benefits of Open Bidding succeeded in attracting customers. The New York

 Times, for example, chose to integrate Index Exchange via Open Bidding rather than header

 bidding because Open Bidding “typically has a lower impact on the site performance” and because

 Open Bidding is “managed within Google Ad Manager, which would limit the impact of operation

 burden,” i.e., “the personnel and the time of those people responsible for managing that specific

 integration.” 9/26/24 PM Tr. 138:3-140:9 (Glogovsky); see also DTX-997 at 3 (2020 New York

 Times slide deck).




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        195.    Google charges a 5% revenue share for Open Bidding transactions. PTX-590 at -

 751 (2018 Google email). That fee covers Google’s costs in “running the Open Bidding system,

 sending bid requests to all of the participating exchanges, getting their bids, handling the billing

 and payments, managing the publisher relationship, eliminating discrepancies, all of that stuff that

 we did and the exchanges no longer had to do.” 9/23/24 AM Tr. 97:14-24 (Korula).

        196.    In exchange for that fee, Open Bidding provides “a lot of value to publishers in that

 it gave them a very simple unified setup that they could do in one place with unified reporting, one

 payment system, and so forth.” 9/23/24 AM Tr. 97:14-24 (Korula); see also DTX-879 at 10 (2020

 Google competitive analysis of Amazon: “DFP provides value that is not built into its price”). In

 addition, Open Bidding creates optimizations for publishers based on the bid data that flows

 through Open Bidding. 9/19/24 PM Tr. 21:25-22:10 (Levitte).

        197.    The relatively low revenue share of Open Bidding reflected that Google’s “goal

 was to combat the threat of header bidding and free header bidding wrapper solutions.” 9/13/24

 AM Tr. 149:20-150:9 (LaSala).

        198.    Google initially marketed Open Bidding as a tool to use instead of header bidding,

 but that effort was short-lived because the adoption of header bidding continued in parallel with

 the adoption of Open Bidding. 9/9/24 PM Tr. 22:10-23:2 (Casale).

            198.1.   As Srinivasan, a Product Manager for Google Ad Manager, explained to

                     publishers at an April 2019 meeting, Google initially had a vision to “build a

                     better product that all publishers” would “opt and use,” but Google soon

                     recognized that “header bidding is not going away” and “accepted that.”

                     PTX-1854 at 58 (certified transcript of April 2019 publisher meeting); see also

                     PTX-611 at -793 (2018 Google slide deck) (“Stopping HB may not be entirely




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                     feasible; Our focus is to tolerate it”). Google’s strategy was to offer “tools

                     that help” publishers “manage sources of demand across all different channels

                     in a way that [they] actually want to.” PTX-1854 at 58.

            198.2.   Another Google employee testified: “You know, to my knowledge, header

                     bidding has not gone away. You know, so I don’t believe the launch of

                     exchange bidding has changed the competitive environment significantly.”

                     Deposition of Brian Rowley Tr. at 147:24-148:12.

        199.    Today, Open Bidding enables publishers using Google Ad Manager to sell

 inventory through about 25 third-party exchanges directly within Google Ad Manager, including

 some of AdX’s biggest competitors such as Index Exchange, OpenX, Magnite, and PubMatic.

 9/23/24 AM Tr. 39:13-22 (Korula).

        200.    Open Bidding has helped Google’s rival exchanges grow by connecting to a wider

 pool of publisher inventory and advertiser demand. For example,




        201.    Consistent with its vision to make a product that allows publishers to manage all of

 their inventory sources from a centralized tool, Google affirmatively helps publishers connect with

 competitor exchanges that are participating in Open Bidding. If a publisher does not have a pre-

 existing agreement with an Open Bidding exchange, as shown below, Korula DX 1.15, Google’s

 DFP interface facilitates the agreement between the publisher and exchange so that the publisher

 can start selling through the exchange using Open Bidding. 9/23/24 AM Tr. 40:2-24 (Korula).

 Google decided to do this because it “thought that actually was better addressing publishers’ needs.”




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 9/23/24 AM Tr. 40:25-41:9 (Korula) (“We thought we would design this product in a way that

 made it as easy as possible for” publishers to “work with these exchanges” “effectively.”).




                3.     The Continued Popularity of Header Bidding Tools Created a
                       “Hypercompetitive” Environment.

        202.    Even as Open Bidding was increasingly adopted by publishers and partnered with

 rival exchanges, other header bidding solutions also remained popular and continued to grow.

 PTX-611 at -803 (2018 Google slide deck: “HB adoption and impression share still growing. . . .

 We expect publishers to continue using HB [header bidding] as long as there is incremental yield

 to be made.”); 9/12/24 AM Tr. 145:24-146:1 (Srinivasan).

        203.    In the figure below, which is based on third-party industry data, the red line depicts

 when Open Bidding became generally available. Publisher adoption of header bidding continued

 to increase after that date. DTX-2085A.




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        204.   As reflected in DFP data, the number of impressions won by exchanges

 participating in header bidding grew from about 25% of impressions in July 2018 to over 40% of

 impressions in October 2022. DTX-1898.

        205.   Open Bidding, though adopted by many publishers because it offered benefits to

 customers, did not stop the growth of header bidding.

            205.1.   As Kershaw, former employee of Magnite and Chairman of the Prebid board

                     testified, header bidding is “alive and well today.” 9/13/24 AM Tr. 32:4-5

                     (Kershaw).

            205.2.   PubMatic stated in November 2020 that “header bidding has now been

                     adopted by over 60 percent of digital publishers in the United States.” 9/12/24

                     PM Tr. 139:2-7 (Goel).




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            205.3.     Casale of Index Exchange even credited Open Bidding for growing header

                       bidding. 9/9/24 PM Tr. 23:20-24:4 (Casale). He testified that, today, almost

                       every web publisher leverages some sort of header bidding. Id. at 23:16-19

                       (Casale); see also id. at 24:5-24 (Casale) (the “vast majority” of transactions

                       on Index Exchange come through header bidding).

            205.4.     Plaintiffs’ own witnesses contradicted the unsupported testimony, given only

                       by The Trade Desk’s Chief Revenue Officer, Jed Dederick, that Open Bidding

                       “decimated header bidding.” 9/11/24 PM Tr. 143:3-6 (Dederick). 8

        206.    The continued popularity of header bidding has continued to exert competitive

 pressure on Google.

            206.1.     Header bidding “makes it easier for other players,” including other exchanges

                       or SSPs, “to compete for DFP publishers’ inventory.” DTX-371 at 3 (2017

                       Google strategy document).

            206.2.     The Trade Desk bids into header bidding auctions, and perceived the

                       introduction of header bidding to be “critical to the growth of” its company.

                       9/11/24 PM Tr. 128:20-129:17 (Dederick). When The Trade Desk “saw

                       header bidding arise, [it] saw increased competition among exchanges,” and

                       determined that header bidding would enable it to gain market share. Id. at

                       137:5-18 (Dederick); PTX-1650 at -058 (2017 The Trade Desk presentation).




 8
  Dederick tried to explain his testimony regarding header bidding as referring to only “a very
 specific header bidding implementation that was popularized in 2016 and 2017”—a distinction no
 other witness at trial testified to and that Dederick only remembered after he was confronted with
 data that conflicted his testimony. 9/12/24 PM Tr. 46:15-47:3 (Dederick).


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        207.    Ad tech providers and publishers have found ways to develop improved header

 bidding tools—without some of the disadvantages of the initial implementations of header

 bidding—by offering server-side solutions that are similar to what Google innovated in Open

 Bidding. 9/20/24 PM Tr. 60:22-61:8 (Sheffer). Server-side solutions, unlike client-side header

 bidding, conduct header bidding auctions on a server rather than all within the publisher’s website.

            207.1.   A 2017 presentation from The Trade Desk explained that client-side header

                     bidding was “not a long-term solution” and “Google, Amazon, OpenX,

                     PubMatic, Rubicon Project [were] known to be developing more efficient

                     solutions for header bidding on the server-side.” PTX-1650 at -055.

            207.2.   A 2020 Google internal document noted that Index Exchange, Rubicon, and

                     OpenX “continue to be stable players in the marketplace” and are “investing

                     in their own header bidding solutions” as well as “looking to header bidding

                     wrapper partners . . . to support their inventory acquisition efforts.” DTX-801

                     at 8.

        208.    Just like Open Bidding, the server-side header bidding offerings of Google’s rivals

 have successfully won publisher business. For example, in contemporaneous business documents,

 Google repeatedly identified Amazon’s header bidding products as a significant source of

 competition for customers.

            208.1.   A 2017 strategy document observed that “Amazon had developed a wrapper

                     that aggregates their own demand with other SSPs and is trying to convince

                     DFP publishers to implement their wrapper in DFP in such a way that they

                     gain privileged access to inventory.” DTX-371 at 3.




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            208.2.     An internal email from 2018 stated that “Amazon has experienced the fastest

                       HB growth in the past 12 months.” PTX-587 at 795.

            208.3.     A Google competitive analysis of Amazon described “Significant Amazon

                       Header Bidding growth in 2017” such that Amazon was “becoming one of

                       key monetization platforms.” DTX-879 at 9. The same analysis noted that

                       Amazon’s TAM already had “many of the large” publishers as partners,

                       including “Weather, Hearst, TripAdvisor, Turner, Warner Bros, Daily Mail,

                       Conde, Gannett, IAC.” DTX-879 at 7.

        209.    Amazon’s wrappers market multiple competitive advantages over Open Bidding.

            209.1.     Amazon advertises that its wrappers access “unique demand from Amazon”

                       and Facebook Audience Network. 9/10/24 AM Tr. 86:12-20 (Layser); 9/9/24

                       PM Tr. 25:4-10 (Casale); see also DTX-879 at 7, 10 (2020 Google

                       competitive analysis noting that an advantage of TAM over Open Bidding is

                       “integration to all leading ad buyers + AMZ unique” and “demand integration

                       with A9 + FAN,” and a “key differentiator” is that “Amazon provides unique

                       demand”); DTX-754 at 15 (2019 Google competitive analysis).

            209.2.     Amazon also offers “very low fees for TAM.” DTX-879 at 7; 9/13/24 PM

                       8:25-9:13 (LaSala) (referring to Amazon wrappers as “low cost” and “for free

                       or close to free,” but “without all of the protections that a really quality

                       exchange would have”).

        210.    Prebid, which played a seminal role in the rise of header bidding, has also continued

 to gain popularity.




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           210.1.   “Even without Google’s participation as part of Prebid, that organization is

                    still thriving today.” 9/13/24 AM Tr. 31:24-32:3 (Kershaw). Although Prebid

                    is incredibly popular, Google is not the only competitor that does not bid into

                    Prebid. For example, Amazon never bid into Prebid. 9/10/24 AM Tr. 98:20-

                    99:4 (Layser) (agreeing there are other companies that do not bid into Prebid).

           210.2.   According to Kershaw, former Chairman of the Board of Prebid, in 2021 the

                    “vast majority” of publishers used Prebid’s header bidding wrapper. 9/13/24

                    AM Tr. 6:7-12 (Kershaw). He explained that today, “pretty much everybody

                    is in Prebid.” Id. at 30:22-31:8 (Kershaw).

           210.3.   Prebid has expanded to “thousands of participants” and is “viewed as a

                    community asset for running large-scale advertising networks.” 9/12/24 PM

                    Tr. 164:10-24 (Kershaw).

           210.4.   Prebid has been “continuously improving things, bringing new options and

                    features” and developing “solutions from video and mobile app.” 9/13/24 AM

                    Tr. 33:7-21 (Kershaw).

           210.5.   As Plaintiffs’ witness Layser agreed, at least in 2021, Prebid had successfully

                    “made the advertising ecosystem more competitive.” 9/10/24 AM Tr. 105:24-

                    106:1 (Layser).

        211.   Google’s rivals can use Prebid to build their own header bidding solutions. In 2016,

 PubMatic developed its “own header bidding solution marketed as Open Wrap,” which is built on

 Prebid. 9/12/24 PM Tr. 139:12-19 (Goel). Since then, according to PubMatic, there has been “a

 surge in the adoption of its wrapper solution” “as publishers increasingly abandon their home-




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 grown Prebid wrappers or alternative solutions for PubMatic’s Open Wrap.” Id. at 141:14-22

 (Goel).

           212.   Google recognized the continued staying power of these rival header bidding

 products, including after the launch of Open Bidding.

              212.1.   A March 2018 header bidding sell–side update captured the rapid growth of

                       header bidding adoption, with large competitors like Amazon quickly gaining

                       share. PTX-587 at -795 (header bidding “adoption continues to grow globally,

                       now reaching 50% and is projected to reach 66% by EOY 2018. . . . Amazon

                       has experienced the fastest HB growth in the past 12 months.”).

              212.2.   In August 2018, Bellack wrote: “AdX is losing third-party demand at a rapid

                       clip. MediaMath, Turn, TTD, etc are all growing but not spending on AdX.”

                       “There is clear weaknesses in the AdX buyer segment and continued adoption

                       of header bidding.” PTX-639 at -965.

              212.3.   A 2019 Google document stated: “The rise of header bidding, when pubs call

                       other competitive networks and exchanges, like AMZN, FB or Rubicon,

                       outside of the ad server, is exacerbating this problem. . . . This is posing

                       something of an existential risk on our sell-side business and there is a risk

                       that DSPs, in addition to networks and exchanges, ALSO bid in header tags.”

                       PTX-764 at -258; see also 9/20/24 PM Tr. 116:14-117:19 (Sheffer).

           213.   Industry participants are free to choose to participate in header bidding and not

 Open Bidding. The Trade Desk, for example, has expressly decided not to use Open Bidding.

 9/11/24 PM Tr. 141:10-22 (Dederick) (“Eventually The Trade Desk decided to shut off the open

 bidding pipe because we didn’t see value for our advertisers in continuing to buy it”); 9/12/24 PM




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 Tr. 46:3-14 (Dederick) (explaining that The Trade Desk announced it would stop buying Google’s

 inventory through Open Bidding in 2022 when it announced its supply path optimization tool,

 OpenPath).

        214.    As explained above, recognizing the popularity of header bidding, Google has

 invested in supporting interoperability with header bidding on DFP. Supra ¶ 184. To this day,

 publishers can use DFP to sell as many of their impressions as they want to header bidding

 exchanges. Of the publishers who testified live at this trial, all three currently use Google’s tools

 in conjunction with both Amazon Transparent Ad Marketplace and Prebid to sell inventory. The

 publishers that testified via deposition stated the same. Specifically:

            214.1.   By 2021, Gannett was running an unified auction that offered every

                     impression on the USA Today Network to Prebid and Amazon Transparent

                     Ad Marketplace, and only a subset of impressions to Google’s Open Bidding.

                     9/9/24 AM Tr. 80:2-22, 91:22-92:1 (Wolfe). USA Today Network uses DFP

                     to connect to multiple non-Google demand sources, including more than 20

                     exchanges and bidding tools that compete with Google. 9/9/24 AM Tr. 75:6-

                     17 (Wolfe) (Gannett currently works with 24 or 25 “programmatic partners

                     participating in header bidding” plus buying tools); see also id. at 78:20-79:3,

                     81:16-82:14, 89:13-90:22, 91:4-92:1 (Wolfe); Wolfe DX 1; 9/9/24 AM Tr.

                     87:5-16 (Wolfe) (Wolfe DX 1 identifies authorized sellers on the USA Today

                     Network). Gannett is moving from a combination of client-side and server-

                     side header bidding towards its own server-side header bidding system using

                     Prebid technology that will run a unified auction through Amazon, Prebid and

                     Google Open Bidding. 9/9/24 AM Tr. 90:10-91:21 (Wolfe).




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          214.2.   News Corp uses Amazon Transparent Ad Marketplace and Prebid in

                   conjunction with Google’s ad tech products. 9/10/24 AM Tr. 79:11-19,

                   116:20-25 (Layser).

          214.3.   The Daily Mail runs “client-side header bidding bids” inside Google Ad

                   Manager. 9/18/24 AM Tr. 161:5-15 (Wheatland). The Daily Mail uses

                   Google’s Open Bidding, Amazon Transparent Ad Marketplace, and Prebid.

                   Id. at 175:21-176:8 (Wheatland).

          214.4.   The New York Times uses a combination of Open Bidding and header bidding

                   to put exchanges in competition for its inventory. 9/26/24 PM Tr. 132:8-

                   135:17 (Glogovsky) (testifying that the New York Times receives bids

                   through Xandr, Index Exchange, Magnite, OpenX, TripleLift, PubMatic,

                   Media.net, and Yahoo using a combination of header bidding and Open

                   Bidding); DTX-1599 (webpage listing the New York Times’s authorized

                   partners).

          214.5.   Buzzfeed continues to use both Google Ad Manager and header bidding.

                   Header bidding adds value because it offers “competition and even playing

                   field.” Deposition of Ken Blom Tr. 131:8-25.

          214.6.   Mediavine’s representative testified that Google’s introduction of Open

                   Bidding (which he referred to as Exchange Bidding) helped Mediavine use

                   header bidding more effectively: “As a publisher, that actually gave us the

                   option to choose whether you want to put an exchange through header bidding

                   or through exchange bidding. So we may have moved a partner or two from

                   header bidding off of—into exchange bidding.” 9/25/24 PM Tr. 173:17-24




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                      (Hochberger). Today, Mediavine




                                                      see also 9/25/24 PM Tr. at 175:16-180:3

                      (Hochberger); DTX-1733 (identifying Mediavine partners).

          215.   Plaintiffs spent significant time at trial introducing evidence concerning header

 bidding and Google’s competitive response, including Open Bidding. This was curious because,

 as explained above, the rise of header bidding products as competitors to Google and Google’s

 competitive response to create an improved solution on its own tools demonstrate competition at

 work. As shown by the industry testimony elicited at trial, that competition continues fiercely

 today.

          H.     2016-2019: New “Auction of Auctions” Capabilities Fundamentally
                 Transform the Industry.

          216.   The development of technology like header bidding and Open Bidding

 fundamentally transformed the way the industry operated. It became possible to compare the

 amounts that winners of different real-time auctions were willing to pay simultaneously, instead

 of sequentially. 9/13/24 AM Tr. 22:7-23:4 (Kershaw) (agreeing that “header bidding and open

 unified auctions where everybody bids at once” had “changed the entire ad tech ecosystem

 forever”).

          217.   As explained in the next section, because of the changes brought by this new

 technology, the industry entered a period of transition in auction formats and pricing. During that

 period, advertisers struggled to adjust to the new auction landscape, and ad tech providers devised



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 new solutions—like bid-shading features—to help advertisers bid optimally. Reacting to these

 changes and an increasingly complex ecosystem that could lead to inefficient outcomes for

 everyone, in 2019 Google shifted to the Unified First Price Auction and Unified Pricing Rules.

 The new auction would enable publishers to put all demand sources in competition on equal

 footing subject to equal rules.

                1.      Transition in the Industry from Second-Price Auctions to First-Price
                        Auctions

        218.    Since the introduction of auctions in display advertising, the second-price auction

 format was the industry standard. 9/24/24 AM Tr. 42:16-44:6 (Milgrom); id. at 50:21-51:2

 (Milgrom); see also 9/11/24 PM Tr. 67:8-18 (Ravi) (discussing his academic paper that studied

 why exchanges ultimately switched from second to first-price auctions). From its initial launch

 until 2019, AdX was a second-price auction. 9/23/24 AM Tr. 93:11-19 (Korula); 9/24/24 AM Tr.

 41:18-21 (Milgrom).

        219.    Because digital ad sales must be concluded in fractions of a second, a traditional

 ascending auction with multiple rounds of bidding is not possible. 9/24/24 AM Tr. 45:5-20

 (Milgrom); 9/11/24 AM Tr. 123:20-124:22 (Ravi). A second-price auction is a type of auction

 that “is intended to run very fast and very simply and bring about the same outcome.” 9/24/24

 AM Tr. 45:5-20 (Milgrom); id. at 44:9-45:4 (Milgrom).

        220.    In a second-price auction, the bidder with the highest bid wins and pays the amount

 of either the second-highest bid or the price floor, whichever is larger. 9/24/24 AM Tr. 42:16-44:6

 (Milgrom); see also Milgrom DX 1.5 (winning bidder pays $1.20, or the amount of the second-

 highest bid); Milgrom DX 1.6 (winning bidder pays $1.25, or the amount of the price floor);

 9/11/24 AM Tr. 95:5-8 (Ravi). In the event of a tie, one bidder wins at random and pays the

 amount that bidders had tied at. 9/24/24 AM Tr. 53:25-54:14 (Milgrom).



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        221.    Second-price auctions benefited advertisers because the optimal bid strategy in a

 second-price auction is “really simple.” Every bidder should bid the maximum value they are

 willing to pay for the impression. 9/24/24 AM Tr. 42:16-44:6 (Milgrom); 9/11/24 AM Tr. 124:25-

 125:22 (Ravi) (“there’s absolutely no gains in trying to shade your bid” in a second-price auction).

 Since the winner pays the second-price, bidding less than their maximum value would not save

 any money but could needlessly risk losing the impression. 9/24/24 AM Tr. 42:16-44:6 (Milgrom).

        222.    The second-price format did not disadvantage the seller because, if the auction rule

 was instead that winners paid the amount they bid, buyers would bid less and sellers would make

 less money. 9/24/24 AM Tr. 48:15-49:9 (Milgrom).

        223.    After header bidding became popular, exchanges faced the problem that “the

 second price that came out of” a second-price auction “was not a good bid to send in for header

 bidding.” 9/24/24 AM Tr. 90:18-91:13 (Milgrom); see also 9/11/24 PM Tr. 67:12-18 (Ravi)

 (discussing his academic paper that examined ad exchanges’ transition from second- to first-price

 auctions and “put forward the explanation that the cause was header bidding”).

            223.1.   An “auction of auctions” that compares the winning bids from multiple

                     exchanges “doesn’t work when any of the [initial] auctions are second-price

                     auctions” since “you don’t get to compare the highest bid from the different

                     auctions if only the second highest bids are being forwarded.” 9/24/24 AM

                     Tr. 122:12-123:15 (Milgrom); see also id. at 90:18-91:13 (Milgrom)

                     (“Second-price auctions are wonderful when they run in isolation, but when

                     you try to combine the clearing price from a second-price auction with

                     anything else, it becomes a terrible mess.”).




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           223.2.   For example, a bidder who bids into Header Bidding Exchange A’s second-

                    price auction with a value of “$100, or $1,000” might win that auction but find

                    themselves “represented by a $6 bid” (from the runner-up bidder) when

                    Header Bidding Exchange A sends its winner into the header bidding auction.

                    9/24/24 AM Tr. 122:12-123:15 (Milgrom).

       224.   In response, industry participants started to move to a first-price auction format.

           224.1.   In a first-price auction, the bidder with the highest bid wins and pays the full

                    amount that they bid. 9/11/24 AM Tr. 94:22-95:4 (Ravi); 9/24/24 AM Tr.

                    95:22-97:17 (Milgrom).

           224.2.   Unlike a second-price auction, in which a bidder should bid its maximum

                    value for the impression, a bidder into a first-price auction should bid lower

                    than their value, or “shade” its bid. 9/24/24 AM Tr. 95:22-97:21 (Milgrom);

                    see also id. at 99:12-101:7 (Milgrom) (discussing academic work by Professor

                    Ravi stating that bidders must shade bids into first-price auctions); 9/11/24

                    AM Tr. 121:25-122:18 (Ravi). If a bidder bids its maximum value, it may end

                    up paying its maximum value, which would leave it with a “surplus” of zero,

                    referring to the amount of value the bidder obtained from the impression.

                    9/24/24 AM Tr. 95:22-97:21 (Milgrom) (“You can’t make any money if you

                    bid $5 and your value is $5.”); see also 9/11/24 AM Tr. 121:25-122:18 (Ravi)

                    (a buyer who does not shade bids in a first-price auction “would not have any”

                    “surplus or savings from having participated in this transaction”).

       225.   When the industry first experimented with the first-price auction format, it took

 time for the prices paid in first-price auctions to stabilize. 9/24/24 AM Tr. 104:24-105:13




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 (Milgrom). As Professor Milgrom explained, as a mathematical matter the “average price” should

 be identical between a first-price auction and a second-price auction for the same impression. Id.

 at 103:24-104:23 (Milgrom).        That revenue equivalence theorem only holds, however, “if

 everybody is bidding optimally,” so when first-price auctions were first adopted price levels were

 not necessarily the same across first- and second-price auctions. Id. at 103:24-104:23 (Milgrom).

        226.    Bidders took time to optimize their strategies for bidding into first-price auctions.

 9/24/24 AM Tr. 104:24-105:13 (Milgrom) (discussing academic work by Plaintiffs’ expert

 Professor Weintraub showing that different price levels between first and second-price auctions

 dissipated over time as bidders learned to bid optimally into the first-price auction). “It’s much

 harder to bid into a first-price auction than a second-price auction” because “you don’t know how

 much you have to bid in order to win.” Id. at 95:1-5, 95:22-97:17 (Milgrom). Optimizing a bid is

 “hard because it varies from auction to auction. It varies according to how much competition you

 expect, how many competitors, how strong they are, what they are likely to bid.” Id. at 97:24-

 98:10 (Milgrom). Bidders must therefore “try to assess the probabilities that they’ll bid different

 amounts in order to figure out what the risks and trade-offs are. And here, since you’re bidding in

 millions or thousands of millions of auctions, each of which might have different answers to that

 question, it’s hard.” Id. at 97:24-98:10 (Milgrom).

        227.    During the period of transition from second-price to first-price auctions, the task of

 optimal bidding was made even more difficult when some exchanges experimented with auction

 rules that made it difficult to determine whether an auction was first-price or second-price. If “you

 bid 10 and pay 10, it doesn’t take you long to figure out that you’re bidding in a first-price auction,”

 but if an exchange instead charged the winner “the average of their price and the second highest




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 price, their bid and the second highest bid, that will raise price, but it will make it a lot harder to

 tell from any individual bid.” 9/24/24 AM Tr. 108:22-109:23 (Milgrom).

        228.    Non-transparent auctions, which made it difficult for bidders to figure out how to

 bid, were called “dirty” auctions. 9/24/24 AM Tr. 108:22-109:23 (Milgrom). Around 2016 to

 2019, as more auctions adopted non-transparent pricing structures, industry participants observed

 that others were “playing games:”

            228.1.    At the time that PubMatic transitioned to a first-price auction, it wrote that

                      there was “inconsistency across auctions and a lack of transparency into how

                      each auction operates where that’s created an environment where buyers don’t

                      have visibility into whether the auctions are being closed at first price or

                      second price.” 9/12/24 PM Tr. 119:8-16 (Goel).

            228.2.    An Index Exchange representative testified that “games were being played by

                      exchanges and SSPs who were running a first-price auction but calling it a

                      second-price auction.” 9/9/24 PM Tr. 34:12-25 (Casale).

            228.3.    Bellack, a former Google product manager on the sell-side, testified that

                      exchanges “were playing games with their auction logic” and “modifying their

                      auctions in ways that were not fair and intended to advantage their own

                      business.” 9/19/24 AM Tr. 137:14-138:5 (Bellack).

                2.      Buying Tools Developed Bid Shading Features to Optimize Bidding
                        into First-Price and Non-Transparent Auctions.

        229.    In response to the changing auction formats and challenges of “dirty” auctions,

 buying tools developed bid shading features that helped their advertiser customers bid optimally

 into new auctions. 9/24/24 AM Tr. 105:14-106:8 (Milgrom).




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        230.    Bid shading features were necessary because, as explained above, advertisers

 overpaid if they bid into auctions as if they were second-price auctions but the auctions were not

 actually second-price.

            230.1.   “[I]f they’re fooled, if they think it’s a second-price auction and bid their value,

                     they wind up paying too much. Their cost per impression goes up, and it’s

                     higher than it needs to be compared to optimal bidding.” 9/24/24 AM Tr.

                     110:14-19 (Milgrom).

            230.2.   Put another way, “if it was actually a first-price auction under the hood, then

                     the advertiser would have to pay the entire true value to the exchange, which

                     means they end up with zero profits.” 9/17/24 AM Tr. 148:14-23 (Jayaram);

                     see also id. at 146:1-12, 147:10-148:13 (Jayaram); DTX-615 at 12 (2017

                     Google presentation with chart of exchanges that claimed to be second-price

                     but ran auctions that resembled first-price auctions).

        231.    Bid shading tools were especially useful for smaller advertiser customers.

            231.1.   When faced with non-transparent auctions, advertisers have to resort to

                     experimenting with their bidding to figure out whether an auction is first- or

                     second-price and develop optimal bidding strategies. 9/10/24 AM Tr. 61:19-

                     62:11 (Friedman) (advertising agency had to “mobilize very quickly during

                     that time to manually reduce bids” into first-price auctions). The data and

                     technical expertise required to build statistically robust bidding strategies can

                     be challenging for small, individual advertisers to obtain. 9/11/24 PM 54:5-

                     10 (Ravi) (buyers would typically “have to run experiments themselves trying




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                     to figure out what’s going in” if exchanges do not run clean second-price

                     auctions).

            231.2.   Bidding into non-second-price auctions is particularly “hard because it varies

                     from auction to auction. It varies according to how much competition you

                     expect, how many competitors, how strong they are, what they are likely to

                     bid.” 9/24/24 AM Tr. 97:24-98:10 (Milgrom). Bidders must “try to assess

                     the probabilities that they’ll bid different amounts in order to figure out what

                     the risks and trade-offs are. And here, since you’re bidding in millions or

                     thousands of millions of auctions, each of which might have different answers

                     to that question, it’s hard.” Id. at 97:24-98:10 (Milgrom). For example, an

                     advertising agency had to build its own “algorithm” with “a way to adjust bids

                     to that first-price environment.” 9/10/24 PM Tr. 61:19-62:11 (Friedman).

        232.    In order to help its advertiser customers “win the same impressions at lower prices”

 as exchanges transitioned their auction formats, DTX-615 at 14, 21 (2017 Google presentation

 about Project Poirot), Google introduced bid shading features into its buying tools: Project Poirot

 for DV360, and Project Marple for Google Ads. 9/24/24 AM Tr. 107:6-108:3 (Milgrom);

 Deposition of Eisar Lipkovitz Tr. 169:12-170:3; DTX-372 at 19, 26 (2017 Google presentation

 describing Projects Poirot and Marple).

        233.    Project Poirot was implemented only for DV360, a Google buying tool that

 Plaintiffs exclude from their alleged markets. 9/17/24 AM Tr. 85:8-10 (Jayaram). Project Poirot

 was not launched on Google Ads, the Google buying tool that is included in Plaintiffs’ markets.

 9/24/24 AM Tr. 107:6-107:13 (Milgrom).




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        234.    Project Poirot tried to detect auctions that deviated from traditional second-price

 auctions by running daily exploration experiments on a small subset of an advertiser’s bids into a

 particular exchange. 9/24/24 AM Tr. 107:14-108:3, 111:4-112:9 (Milgrom); see also DTX-615 at

 13-14 (2017 Google presentation: “Objective: win the same impressions at lowest price”); 9/17/24

 AM Tr. 146:1-12, 149:21-150:15 (Jayaram).

        235.    The experiments asked whether bidding the advertiser’s true value for an

 impression in a particular exchange would maximize the advertiser’s profit (or surplus). 9/17/24

 AM Tr. 149:21-150:15 (Jayaram); 9/24/24 AM Tr. 111:4-112:9 (Milgrom); DTX-615 at 16. “[I]f

 the answer was yes, then they treated it like a second-price auction and set bids equal to the value.

 And if the answer was no, then they used the experimental results to figure out how much shading

 led to the highest profits, and they bid that way on the next day.” 9/24/24 AM Tr. 111:4-112:9

 (Milgrom); see also 9/11/24 PM 54:22-55:3 (Ravi).

        236.    Project Poirot created tangible benefits for the entire display advertising ecosystem.

 9/11/24 PM 84:20-23 (Ravi).

        237.    Project Poirot benefited DV360’s advertisers by helping them win the same

 impressions at lower prices, increasing advertiser surplus.

            237.1.   According to the results of some experiments, Poirot increased advertiser

                     surplus by 6% and advertisers’ conversions per dollar by 7%. DTX-615 at 21

                     (2017 Google presentation); see also 9/11/24 PM 53:17-20 (Ravi); 9/17/24

                     AM Tr. 151:3-18 (Jayaram) (“6 percent surplus increase” refers to the

                     difference between the advertiser’s “true value and the amount of money that

                     they had to pay”).




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            237.2.   According to a Google experiment relied on by Plaintiffs’ expert, Professor

                     Weintraub, Project Poirot increased surplus for DV360 advertisers on third-

                     party exchanges by 11.48%.          9/16/24 PM Tr. 89:21-90:6, 91:13-16

                     (Weintraub); PTX-518 at 3-4 (2017 Google spreadsheet reporting experiment

                     results).

            237.3.   Another experiment Plaintiffs’ expert relied on demonstrated increases of

                     8.8%. 9/16/24 PM Tr. 93:18-21, 94:15-23 (Weintraub) (another experiment

                     relied on by Plaintiffs’ expert showing increased DV360 advertiser surplus);

                     PTX-860 at -683 (2018 Google document).

        238.    Advertisers were free to opt out of Project Poirot, but fewer than 1 percent chose to

 do so. DTX-615 at 21 (2017 Google presentation); 9/17/21 AM Tr. 151:19-152:14 (Jayaram)

 (“This percentage has continued to remain really small over the years, showing to us that

 advertisers truly value this feature.”). As Professor Milgrom explained, determining the correct

 amount to shade bids “is really hard for customers to deal with.” 9/24/24 AM Tr. 114:17-115:2

 (Milgrom). Project Poirot is valuable because it “says we’ll figure out for you which exchanges

 you need to adjust your bids, and we’ll adjust your bids to maximize profits, and this is—and

 customers said, well, that was really hard, I’ll let Google do that for me. Yes, very few customers

 opted out.” 9/24/24 AM Tr. 114:17-115:2 (Milgrom).

        239.    Project Poirot also benefited publishers because, when advertiser surplus increases,

 “advertisers will spend more if they have more budget dollars; so [publishers] . . . probably get

 more budget dollars in the long run for the same inventory.” 9/20/24 PM Tr. 125:17-23 (John);

 see also 9/24/24 AM Tr. 114:3-15 (Milgrom) (“One would expect over the longer term that, of

 course, this wouldn’t be spend neutral, that if you’re resulting in better performance for your




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 advertisers, they would increase the spending”); DTX-615 at 14 (2017 Google presentation stating

 “savings will buy additional similar impressions”).

        240.    The impact of Project Poirot on rival exchanges varied.

            240.1.   Exchanges running clean second-price auctions, in addition to AdX,

                     experienced increased spending after Project Poirot launched. DTX-615 at 21

                     (2017 Google presentation noting spend on dirty auction exchanges dropped

                     by approximately 10% while spend on clean second-price auctions increased

                     by 6%); see also 9/11/24 PM Tr. 55:4-22 (Ravi).

            240.2.   In contrast, exchanges on which advertisers gained surplus from shading bids

                     were negatively impacted. 9/17/24 AM Tr. 155:9-17 (Jayaram) (“They’re

                     actually correlated. We were able to win the value for advertisers at a lower

                     price, which is why you see the revenue going down, but the surplus went up

                     as a result.”). Exchanges that were “extracting a lot of advertiser surplus by

                     running close to first-price auctions” had “the biggest negative impact.”

                     9/17/24 AM Tr. 152:20-154:15 (Jayaram); see also DTX-615 at 12, 21

                     (OpenX and PubMatic had the highest cost/bid ratios).

        241.    Google invested resources in continuing to improve Poirot. Subsequent versions,

 including Poirot 2.0 in 2018, further benefited advertisers by increasing advertiser surplus even

 more. PTX-860 at -682 (2018 Google document showing surplus increase of 8.8%); 9/17/24 AM

 Tr. 154:14-155:17 (Jayaram).

        242.    Like the initial version of Poirot, Poirot 2.0 also had varying effects on rival

 exchanges. PTX-860 at -683-84. The figure created by Plaintiffs’ expert, Professor Weintraub,

 that depicts DV360 spending before and after both versions of Project Poirot demonstrates that




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 DV360 spending on third-party exchanges continued to grow after both versions of Project Poirot

 were implemented. 9/16/24 PM Tr. 96:1-4 (Weintraub); PTX-1466.

           243.   Other buying tools, including The Trade Desk, Microsoft’s Xandr, and AppNexus

 (before it was acquired) designed similar bid-shading features. 9/11/24 PM Tr. 56:22-57:1 (Ravi).

              243.1.   According to Microsoft, which offers a bid shading feature, bid shading is

                       good for advertisers and for publishers. 9/20/24 PM Tr. 147:23-149:14 (John);

                       see also DTX-1091 at 4 (2021 Microsoft document).

              243.2.   The Trade Desk’s bid shading feature is called Predictive Clearing. 9/11/24

                       PM Tr. 120:4-11 (Dederick).

              243.3.   AppNexus also built a bid shading feature.           DTX-422 at 222-23 (2017

                       AppNexus presentation); Deposition of Brian O’Kelley Tr. at 292:3-293:6.

           244.   Unlike Google, The Trade Desk charged for a feature analogous to Poirot. 9/17/24

 AM Tr. 155:25-156:7 (Jayaram); PTX-734 at -596 (2019 Google document observing that “TTD

 takes a cut” of the savings generated by their bid-shading feature); 9/20/24 PM Tr. 149:11-20

 (John).

           245.   Although Plaintiffs discussed Project Poirot at trial, Plaintiffs’ experts did not opine

 that Poirot was anticompetitive.        9/20/24 AM Tr. 18:19-22 (Lee); 9/16/24 PM 116:14-22

 (Abrantes-Metz); 9/16/24 PM Tr. 41:5-9 (Weintraub) (Professor Weintraub discussed Project

 Poirot but was not opining on any harm to competition).

           246.   Contrary to Plaintiffs’ arguments, Project Poirot was not an attempt to attack header

 bidding by reducing DV360 bids into rival exchanges, but rather “the obvious thing to do” when

 the industry transitioned from second- to first-price auctions. 9/24/24 AM Tr. 115:16-25 (Milgrom)

 (“Q. Now, finally, Professor Milgrom, you’ve heard plaintiffs’ experts opine in this case that Poirot




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 was pretextual and its actual purpose was to damage header bidding; do you agree? A. I think

 that’s ridiculous. I’m sorry. Q. And why do you disagree? A. I mean, it’s just the obvious thing

 that if you are serving advertisers and providing technology to help them to bid, this is the obvious

 thing to do. Everybody would do it if they were—any good business person would do that.”).

 Plaintiffs’ own expert Professor Ravi agreed that in a “first-price auction, it’s a reasonable strategy

 to bid shade,” 9/11/24 AM Tr. 122:5-18 (Ravi), and that “bid shading programs like Poirot are

 needed when facing auctions that don’t run clean second-price auctions,” 9/11/24 PM 53:25-54:4

 (Ravi).

           247.   Plaintiffs also argued that the rationale for Project Poirot was pretextual because it

 did not shade bids into AdX. Plaintiffs’ expert testified that Project Poirot should have shaded

 bids into AdX because, he claimed, Reserve Price Optimization (“RPO”) and sell-side Dynamic

 Revenue Sharing (“DRS”) caused AdX to deviate from a second-price auction. 9/11/24 AM

 127:4-17 (Ravi).

           248.   Plaintiffs’ argument does not make sense because Project Poirot was an algorithm

 that applied equally to all exchanges, including AdX.

              248.1.   Plaintiffs’ expert conceded that Project Poirot determined whether and how

                       much to shade bids based on empirical experiments, not based on reviewing

                       exchange features. 9/11/24 PM Tr. 54:22-55:3 (Ravi). When Poirot ran

                       experiments, it did not take into account whether an ad exchange was a

                       competitor or whether an exchange participated in header bidding. 9/24/24

                       AM Tr. 112:10-19 (Milgrom); 9/17/24 AM Tr. 150:16-19 (Jayaram); 9/17/24

                       PM Tr. 42:5-43:4 (Jayaram).




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            248.2.    Plaintiffs’ expert also conceded that Project Poirot operated with respect to all

                      exchanges the same way as of September 2017, that Project Poirot did not

                      shade bids into AdX because experiments showed that shading bids into AdX

                      would not increase advertiser surplus, and that Project Poirot likewise did not

                      shade bids into other exchanges when its experiments showed that doing so

                      would not increase advertiser surplus. 9/11/24 PM Tr. 54:11-55:22 (Ravi);

                      see also 9/17/24 AM Tr. 150:16-22 (Jayaram) (Poirot applied “the same

                      algorithmic framework” to “AdX as well as all of the third-party exchanges”).

        249.      Moreover, neither RPO nor sell-side DRS caused AdX to deviate from a second-

 price auction.

            249.1.    The definition of a second-price auction is one in which (1) “the high bidder

                      wins and [(2)] pays the higher of the floor price or the second highest bid.”

                      9/24/24 PM Tr. 29:7-30:7 (Milgrom); see also id. at 30:8-12 (Milgrom)

                      (“never heard anyone else use any other definition, actually”); 9/11/24 AM

                      95:5-8 (Ravi) (Plaintiffs’ expert agreeing to definition).

            249.2.    By that universal definition, neither RPO nor DRS affected whether AdX is a

                      second-price auction. RPO assisted publishers in setting optimal floor prices

                      based on historical bidding data, 9/11/24 AM Tr. 127:18-128:8 (Ravi), and

                      sell-side DRS varied AdX’s revenue share to facilitate auctions where no bid

                      would otherwise exceed the floor price. 9/11/24 PM Tr. 78:2-9 (Ravi).

                      Neither of those optimizations changed the rules of (1) which bidder wins an

                      AdX auction or (2) the amount paid by the winning bidder.




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                3.      Unified First Price Auction

        250.    By 2019, the ad tech landscape was “evolving from (relative) chaos,” with

 “multiple auctioneers, multiple calls, multiple layers of overlap—and above all that, the prices for

 the same inventory are different through different channels.” DTX-705 at 7 (2019 Google

 presentation). Publishers had many sources of demand competing for the same impression through

 multiple pathways: direct deals (including Programmatic Guaranteed), Open Bidding, header

 bidding, AdX’s second-price auction, and “dirty” or first-price auctions run by other exchanges.

 The complexity made it difficult to create a true “auction of auctions” in which all kinds of bids

 could compete against each other on equal footing, so that the advertiser that valued an impression

 most would win. DTX-705 at 7, 25-29 (2019 Google presentation depicting multiple ways the

 complex bidding landscape produced inefficient outcomes).

        251.    Advertisers and publishers were subject to a “cascading set of auctions,” which “led

 to a lot of inefficiencies” that in turn “compromised publisher yield.” 9/12/24 AM Tr. 111:21-

 112:10 (Srinivasan). Each auction would be subject to different rules regarding “auction dynamics,

 floors, information access,” and more, making it difficult for all channels to compete on equal

 footing for the same inventory. DTX-701 at 11 (2019 Google presentation).

        252.    Further complicating the landscape, as explained above, different exchanges and

 tools ran different types of auctions, and the type of auction was not always transparent to the

 buyer. By 2019, AdX was “one of the few SSPs that were still operating in a second price world.”

 9/12/24 AM Tr. 113:20-114:9 (Srinivasan); see also 9/23/24 AM Tr. 94:13-17 (Korula).

        253.    This combination of auctions “was extremely confusing for buyers and for

 publishers in some cases.” Because of auction dynamics, “[i]t was not necessarily the case that

 the highest bidder would win an auction because of the complex and interconnected auction




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 mechanics.” 9/23/24 AM Tr. 93:24-94:9, 95:14-96:16 (Korula); see also Korula DX 1.29; 9/17/24

 AM Tr. 158:18-159:7 (Jayaram).

        254.   Just some of the complexity, and the inefficient auction outcomes that would result

 from the combination of first-price and second-price auctions, is depicted below, Korula DX 1.29

 The highest bid would not win because it was submitted into a second-price auction and competed

 against a bid from a first-price auction based on the second highest bid amount. 9/23/24 AM Tr.

 95:14-96:16 (Korula).




        255.   In addition, in the pre-2019 landscape, some advertisers were forced to “throttle”

 queries—in other words, “essentially ignore a bunch of queries because they could not handle

 it”—because they were receiving up to billions of queries on a daily basis through duplicated

 channels. 9/12/24 AM Tr. 116:10-117:13, 117:9-13 (Srinivasan); see also PTX-1650 at -057

 (2017 The Trade Desk presentation stating header bidding increased “QPS,” or queries per second,

 for The Trade Desk). As a consequence, advertisers submitted fewer bids into auctions, which




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 would in turn reduce publisher revenues. 9/12/24 AM Tr. 118:5-11 (Srinivasan); see also DTX-

 701 at 13 (2019 Google presentation).

        256.    Exacerbating this complexity, one of the tactics publishers used to optimize revenue

 in this fragmented world was setting variable price floors. Publishers would separately set price

 floors—the minimum price to beat at auction—for each of the exchanges to which they sold

 inventory in an effort to “fish” for a higher price for the same impression. 9/24/24 AM Tr. 126:21-

 127:14 (Milgrom).

        257.    Variable price floors created complications for both advertisers and publishers.

            257.1.   Advertisers “struggle[d] to optimize when bidding across different channels

                     due to lack of symmetry.” DTX-1016 at 21 (2020 Google presentation);

                     9/24/24 AM Tr. 127:15-128:3 (Milgrom). Because “different floor prices

                     could apply for the same impression,” buyers were forced to adopt more

                     involved bidding strategies in order to optimize their likelihood of winning

                     desirable impressions at the lowest price possible. DTX-1016 at 21. In

                     addition, because the same impression might be valued differently depending

                     on the bidding channel, buyers struggled to “understand how to value the

                     impression.” DTX-1016 at 22.         As an advertising agency representative

                     testified, as a buyer he did not like variable price floors because “as a buyer,

                     we want everything as low priced as possible.” 9/10/24 PM Tr. 39:2-9

                     (Friedman).

            257.2.   Publishers, who had to manually set these price floors, adopted “complex

                     monetization strategies” for gaming variable pricing floors that were “hard to

                     maintain in the long term.” DTX-1016 at 21. Because the market was so




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                     complex, publishers also found it difficult to “understand which intermediary

                     and yield strategies are adding true unique/incremental value” and whether

                     they were at a “global optimum” of yield. DTX-701 at 12 (2019 Google

                     presentation).

        258.    Given these challenges, Google sought to make changes to its products that would

 “establish a level playing field” for “buyers and sellers,” and by extension, create a “more

 sustainable programmatic ecosystem.” DTX-1016 at 20. Google believed that the increased

 market efficiency would “ultimately lead to greater ecosystem surplus and improved pub yield.”

 DTX-701 at 20 (2019 Google presentation).

        259.    In 2019, in furtherance of those objectives, Google made four changes to GAM: (1)

 the adoption of the Unified First Price Auction; (2) the adoption of Unified Pricing Rules; (3) the

 removal of “last look” (which referred to a way that sellers could set up Dynamic Allocation to

 work with header bidding, infra ¶¶ 937, 941); and (4) “increased transparency into the auction”

 9/12/24 AM Tr. 71:15-24, 113:20-115:9 (Srinivasan).

        260.    At a broad level, the “goal” of this package of changes “was to clean up, or rather

 improve the quality of the ecosystem” so that Google could “attract more ad dollars into additional

 advertising more broadly, because the current ecosystem was not sustainable.” 9/12/24 AM Tr.

 123:25-124:5 (Srinivasan). Google anticipated that the changes would improve “understanding

 and transparency into the auction and not allow publishers to treat it as a black box that they do

 not understand.”   Id. at 123:10-123:24 (Srinivasan). In addition, the changes would “increase

 publisher revenue” and benefit buyers on Google’s exchange. Id. at 123:10-24 (Srinivasan).

        261.    The first of the changes, the Unified First Price Auction, compares all bids for a

 seller’s inventory that have come in through a range of different channels simultaneously on a




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 first-price basis, including bids from Google Ads, DV360, other AdX bidders (Authorized Buyers),

 Open Bidding, and other non-guaranteed demand sources such as bids from third-party exchanges

 submitted via header bidding. 9/23/24 AM Tr. 96:17-24 (Korula). “[E]verybody was competing

 in the same auction with the same mechanics,” so “there was no advantage for Google or anyone

 else.” Id. at 96:25-97:6 (Korula); Korula DX 1.30.




        262.    At the same time, to move to a “simpler and more consistent auction,” Google also

 adopted the Unified Pricing Rules (“UPR”). 9/12/24 AM Tr. 113:20-115:9 (Srinivasan). UPR

 extended the ability of publishers to configure pricing rules across all demand sources—not just

 AdX—and, at the same time, simplified the dimensions along which publishers set price floors.

 Publishers could set price floors that vary by the properties of the impression and characteristics

 or identity of the buyer but not price floors that vary by the identity of the exchange or demand

 source. Id. at 113:20-115:9 (Srinivasan).

        263.    As part of this bundle of changes, Google also increased transparency by sharing

 additional auction information with publishers and buyers. Google implemented these changes in


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 response to publisher feedback that they “wanted increased visibility into how many bids were

 eligible in each auction for the impressions that they were selling.” 9/12/24 AM Tr. 127:4-12

 (Srinivasan). Google gave publishers transparency into all the bids into an auction. Google also

 provided buyers with, for the winning bid, the next highest bid “what the other next highest bid in

 the auction was” and what the winning bid was, or “minimum bid to win.” Id. at 125:9-24

 (Srinivasan). This auction information was useful to sellers because it provided information about

 bid density, and to buyers because it provided data to “inform their bidding strategies.” Id. at

 125:9-24 (Srinivasan); see also DTX-829 at 2 (2019 Google document).

        264.    Even though Google had no means to provide the minimum bid to win data with

 header bidding competitors because it did not have a direct relationship with those competitors,

 Google did “provide the information to publishers in a form they can then use to pass to the header

 bidding partners because they can work with header bidding partners [Google does not] work with

 ourselves.” 9/23/24 AM Tr. 99:8–100:12 (Korula).

        265.    Following extensive engagement with publisher and advertiser customers, infra ¶¶

 1049-1054, Google fully launched the bundle of changes consisting of the Unified First Price

 Auction, UPR, removing last look, and sharing auction information in September 2019. The effort

 was “a massive technical undertaking across dozens of engineers.” DTX-829 at 2 (2019 Google

 document); see also 9/12/24 AM Tr. 143:21-144:2 (Srinivasan) (referring to DTX-829).

        266.    The ultimate launch of a Unified First Price Auction, along with UPR, “resulted in

 a simpler, fairer, and more transparent auction for publisher and demand partners.” DTX-829 at

 1. As Google explained in a contemporaneous document, “for Google, these changes reduce the

 complexity of our products and improve market competitiveness through greater consistency of

 rules among the auction participants.” Id. at 2.




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            266.1.    Layser, formerly at News Corp, testified that she agreed that “the change to

                      the first-price auction” generally made the auction “more fair.” 9/10/24 AM

                      Tr. 68:6-10 (Layser).

            266.2.    Plaintiffs’ own expert agreed that the Unified First Price Auction was “the

                      best way” “to get the highest revenue for the publishers.” 9/11/24 PM Tr.

                      76:13-20 (Ravi).

        267.    The new auction was more transparent, “with no clearing price games,” for all

 parties. DTX-1016 at 22 (2020 Google presentation). Buyers would “pay what they bid” and

 could “better understand the value of the inventory and bid more confidently.” DTX-1016 at 21-

 22. Sellers could adopt a “simpler floor pricing strategy” that no longer required them to

 “constantly optimize floors.” DTX-1016 at 21.

        268.    Plaintiffs have argued that Google should have reached the functionality of the

 Unified First Price Auction, which compares real-time bid amounts from all demand sources

 simultaneously, earlier. See, e.g., 9/11/24 PM Tr. 41:10-23 (Ravi) (“last look” was “not the most

 efficient system” because it did not increase publisher revenue “as much as a unified first-price

 auction that came later”); id. at 76:13-20 (Ravi) (the best way “to get the highest revenue for the

 publishers” was “the unified first-price auction”). As an initial matter, Plaintiffs’ experts have not

 accounted for the considerable technical work that was required to launch the Unified First Price

 Auction once Google decided to build it. DTX-829 at 1 (November 2019 Google email) ; 9/11/24

 PM Tr. 43:22-24 (Ravi) (“Q. Do you know how much technological work went into building

 unified first auction? A. No, I don’t.”).

        269.    Even more importantly, “when you evaluate auction design or auction programs

 and processes, you have to put them in context and understand how they work together with what’s




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 already available in the market and capabilities and processes of the existing participants.” 9/24/24

 AM Tr. 27:1-7 (Milgrom). Plaintiffs ignore the long history of the display advertising ecosystem

 and the technological progress that was needed to get to the Unified First Price Auction. The

 industry needed to transition away from second-price auctions, develop tools to optimally bid into

 first-price auctions, and develop standards for real-time competition between demand sources.

 9/24/24 AM Tr. 124:18-125:25 (Milgrom); 9/24/24 PM Tr. 33:22-34:12 (Milgrom) (not until five

 years after the introduction of Dynamic Allocation did header bidding develop to allow multiple

 exchanges to bid against each other). Once all of that had developed, Google implemented the

 Unified First Price Auction.

         I.     The Continuing Evolution of Ad Tech Tools

         270.   As promised in Google’s opening statement, the ad tech market is “rapidly

 changing.” 9/9/24 AM Tr. 46:11-21. The definitions and categories of ad tech tools do not stay

 fixed. In the last two decades, Google’s and rivals’ tools have “changed and morphed” and “shown

 up in multiple different places across this ecosystem.” 9/20/24 PM Tr. 62:9-17 (Sheffer). The

 industry witnesses who testified at trial all agreed that display advertising has already changed

 considerably in two decades and will continue to be unpredictable in the future. Infra ¶¶ 1206-

 1207.

         271.   The history described above captures only a segment of the innovations that have

 shaped display advertising because it is focused on Plaintiffs’ allegations and the products

 Plaintiffs presented evidence about. Plaintiffs’ case highlighted one set of tools (publisher ad

 servers, ad exchanges, and third-party buying tools) that were first developed in the first decade of

 display advertising.   Plaintiffs omitted some of the most significant developments in how

 advertisers and publishers connect, including in-house ad tech tools, supply path optimization,

 programmatic direct deals, and artificial intelligence.


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                1.      Supply Path Optimization

        272.    One important development in the evolution of ad tech is supply path optimization,

 a push to improve return on investment for advertising spend by, among other things, eliminating

 the number of third-party intermediaries involved in an ad transaction. Through supply path

 optimization, advertisers and publishers are seeking “greater control” and to “cut[] clutter between

 media buyers and publishers.” 9/10/24 PM Tr. 43:3-19 (Friedman).

        273.    Industry testimony and business documents agree on the popularity of supply path

 optimization initiatives.

            273.1.    A Google employee observed in a 2019 email: “Agencies and DSPs are also

                      using supply path optimization to find the best performing route to a particular

                      publisher, and that’s often the exchange with the lowest fees.” PTX-719 at -

                      004-005.

            273.2.    A 2021 Xandr document stated that “the industry is trying to solve for” supply

                      path optimization “in a myriad of ways.” DTX-1091A at 6. Explaining the

                      need for supply path optimization, Xandr wrote: “For example, if Xandr and

                      Rubicon have access to the same inventory from The Wall Street Journal, but

                      Xandr charges an 8.5% SSP revenue fee (SASC) whereas Rubicon charges a

                      12% revenue fee, Xandr provides more efficient path that puts more working

                      media in the hands of the publisher.”       DTX-1091A at 6.       Supply path

                      optimization initiatives could vary from manually blocking certain exchanges

                      in buying tools to build proprietary technology to assess supply paths. DTX-

                      1091A at 6.




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            273.3.   PubMatic expects “potential” for its supply path optimization offering to be

                     “75 percent of PubMatic’s total buyer activity.” 9/12/24 PM Tr. 145:7-16

                     (Goel).

            273.4.   A 2023 product proposal and planning document from BidSwitch, a tool that

                     facilitates connections between buy-side and sell-side tools and has been

                     acquired by Criteo, 9 observed that both buy-side and sell-side tools “are

                     moving from partners to competitors” because they are no longer transacting

                     in a single pathway, but creating new pathways directly to advertisers and

                     publishers. DTX-1544A at 7.



                                                       As examples, the document listed The Trade

                     Desk and Criteo integrating directly with publishers, as well as Index

                     Exchange and PubMatic “cutting deals with [advertising] agencies directly.”

                     DTX-1544A at 7.

        274.    The Trade Desk now has a major supply path optimization offering, OpenPath, that

 creates “a more direct supply path … on behalf of advertisers and agencies” by bypassing

 exchanges, including Google’s ad exchange, and enabling advertisers buying on The Trade Desk’s

 demand-side platform to plug directly into the publisher’s ad server. 9/11/24 PM Tr. 152:5-21



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   DTX-1544A is a “Product Proposals: 2-YR Forward Planning” document that was produced in
 this litigation by Criteo but created by BidSwitch, an ad tech provider that serves as “a passthrough
 between SSPs and DSPs,” before it was acquired by Criteo. DTX-1544A at 2; Deposition of Todd
 Parsons Tr. 140:23-141:3, 142:20-24. BidSwitch builds connectivity, standardization, and
 optimization between ad tech tools, and the tool handles “many technical, tedious, or otherwise
 undesirable tasks associated with programmatic trading” on behalf of other ad tech providers.
 DTX-1544A at 3-5 BidSwitch also helps demand-side platforms manage “lower-priority”
 relationships with smaller supply-side platforms. DTX-1544A at 5.


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 (Dederick) (describing how The Trade Desk’s supply path optimization tool, OpenPath, can

 bypass the exchange); see also 9/12/24 PM Tr. 40:4-9, 41:6-13, 46:3-11 (Dederick); 9/11/24 AM

 Tr. 116:14-117:4 (Dederick).

           274.1.   OpenPath can be used across multiple formats and channels, including across

                    the web, connected TV, and in apps. 9/12/24 PM Tr. 45:1-6 (Dederick).

           274.2.   When an advertiser purchases from a publisher, like Disney, that uses their

                    own in-house ad server, OpenPath bypasses not only the exchange, but also

                    any fees that would be taken out by a third-party publisher ad server. 9/12/24

                    PM Tr. 43:9-44:6 (Dederick).

           274.3.   Even though The Trade Desk is adamant that it is a company that “explicitly

                    sits on the buy side of the advertising industry,” 9/11/24 PM Tr. 87:23-88:6

                    (Dederick), as part of its OpenPath feature The Trade Desk has entered into

                    supply partnerships directly with publishers, 9/12/24 PM Tr. 45:11-17

                    (Dederick). The Trade Desk has announced in recent press releases that,

                    through OpenPath, The Trade Desk is partnering with major digital content

                    providers such as Reuters, The Washington Post, Gannett, USA Today, Conde

                    Nast, BuzzFeed, the Los Angeles Times, and Forbes. 9/12/24 PM Tr. 45:18-

                    24 (Dederick).

        275.   Goodway Group, an advertising agency, has entered into a “supply path

 optimization” arrangement with PubMatic. PubMatic lowers its fees to Goodway Group in

 exchange for Goodway Group directing the DSPs it bids into to bid higher on PubMatic inventory.

 9/10/24 PM Tr. 44:1-25 (Friedman); see also id. at 46:11-17 (Friedman) (Goodway Group is trying

 to help PubMatic “win every auction they can”).




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        276.    Mediavine, a publisher that both sells its owned and operated inventory and assists

 other small publishers in monetizing their inventory, has created proprietary ad tech to facilitate

 “direct integrations” between its publisher inventory and buying tools. 9/25/24 PM Tr. 165:16-20

 (Hochberger). Mediavine’s tool bypasses exchanges by providing “direct connections to demand-

 side partners” so that “bidders are able to bid into the inventory.” Id. at 178:1-10 (Hochberger)

 (these “direct connection[s]” are “an alternative to going through an SSP”). Mediavine’s sell-side

 tools are directly integrated with buying tools such as Basis Technologies, Criteo, and The Trade

 Desk. Id. at 177:16-180:3 (Hochberger).

        277.    Publishers and advertisers are seeking to optimize supply paths not only to reduce

 costs, but also because additional intermediaries in supply paths can increase exposure to bad

 actors and create latency, safety and security risks, a lack of transparency, and more. DTX-1016

 at 7, 8 (2020 Google presentation listing benefits of supply path optimization such as “[r]educing

 fraud and brand safety issues,” as well as improving key performance indicators and buying power).

        278.    Supply path optimization initiatives create competitive pressure when they bypass

 certain ad tech tools.

            278.1.    For example, Jay Friedman, a long-time advertising agency employee,

                      testified that supply path optimization agreements like the one his advertising

                      agency entered into with PubMatic would create “healthy competition among

                      [most] top exchanges.” 9/10/24 PM Tr. 45:6-10 (Friedman). He further

                      testified: “if other agencies and exchanges follow this model” of supply path

                      optimization, “the industry will end up with—will eliminate the hangers-on

                      that don’t provide real value.” Id. at 45:11-20 (Friedman). In other words, if




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                        supply path optimization efforts continued to grow, exchanges would have to

                        compete more fiercely.




        279.       Supply path optimization initiatives demonstrate that the display advertising

 landscape is constantly evolving. Historical categories of tools such as “advertiser ad networks,”

 “ad exchanges,” and “publisher ad servers” no longer capture the world of competitive pressures

 within ad tech.

                   2.     In-House Ad Tech Tools

        280.       Many publishers, including the largest household name digital publishers today,

 can and do build proprietary ad tech tools to sell their owned-and-operated inventory—just like

 Google Ads existed to sell Google’s owned-and-operated inventory before Google made additional

 tools to connect its advertisers to non-Google publishers, supra ¶¶ 30-32, 39. 9/9/24 PM Tr. 152:4-

 9, 154:17-24, 160:10-19 (Avery); 9/20/24 PM Tr. 72:9-2 (Sheffer).

        281.       Publishers that build their own ad tech tools can choose what functionalities in the

 ad tech stack they want to take in-house. When a publisher builds an in-house tool, that tool

 replaces a third-party tool the publisher would otherwise rely on. For example, after Disney built

 its own ad server it switched from Google Ad Manager to its proprietary ad server. 9/17/24 PM

 Tr. 123:9-11 (Helfand).

            281.1.      A publisher can choose to build proprietary ad tech that facilitates a

                        transaction from end-to-end between advertiser and publisher. These tools are

                        one form of supply path optimization because they reduce the number of

                        intermediaries by facilitating the entire transaction in-house. 9/26/24 AM Tr.


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                   105:9-21 (Israel). A publisher’s integrated tool would include proprietary ad

                   tech to manage its inventory sales (in-house publisher ad servers), conduct

                   auctions (in-house auction tools), and sell directly to advertisers (self-service

                   platforms, self-serve platforms, or integrated buying tools). 9/20/24 AM Tr.

                   32:8-33:11 (Lee); 9/26/24 AM Tr. 105:24-106:20 (Israel). The companies

                   that now rely on integrated proprietary ad tech tools, such as Facebook,

                   Amazon, SnapChat, and TikTok, are some of the largest publishers that

                   account for large amounts of digital ad spend. Infra ¶¶ 337, 344, 351; 9/17/24

                   PM Tr. 119:8-20, 121:14-122:2 (Helfand); 9/26/24 AM Tr. 49:23-50:6, 60:24-

                   61:7 (Israel).

          281.2.   A publisher can also choose to build proprietary ad tech for certain

                   functionalities, but still rely on third-party ad tech to facilitate a match. For

                   example, Disney has built a proprietary ad server, real-time ad exchange, and

                   self-serve platform. 9/17/24 PM Tr. 116:13-117:7, 119:3-7 (Helfand). But it

                   also relies on third-party ad tech tools, like the Magnite exchange or Amazon’s

                   SSP, to run auctions and submit the winning bids into Disney’s tools. Id. at

                   124:18-125:13 (Helfand). Disney is also supplied with advertiser demand

                   from The Trade Desk’s demand-side platform. Id. at 125:19-23 (Helfand).

          281.3.   Or a publisher can choose to build proprietary ad tech that serves certain ads

                   on its inventory and rely on third-party ad tech tools to serve other ads. For

                   example, Disney’s proprietary ad server serves video ads but not banner ads,

                   and Disney relies on Google Ad Manager as the publisher ad server for some




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                      of its properties and to sell non-video ads. 9/17/24 PM Tr. 131:24-132:11,

                      133:11-13 (Helfand).

                 3.     Programmatic Direct Deals

        282.     Another way that the display advertising industry has continued to evolve is the

 increasing popularity of transacting direct deals through programmatic ad tech tools. 9/26/24 AM

 Tr. 85:22-86:19 (Israel); 9/9/24 AM Tr. 97:7-23 (Wolfe); DTX-308 at 6 (2016 Google presentation

 identifying as a product priority for Google’s sell-side tools to “extend the benefits of

 programmatic” to direct deals to “capture high-value inventory”).

        283.     By 2014, over 70% of display ad dollars were still spent through direct deals, but

 the process for setting up these deals remained manual and time intensive. DTX-428 at 3 (2014

 Google document); see also DTX-308 at 8 (2016 Google product priority presentation: “80% of

 DFP media under management is directly sold”).

        284.     Enabling advertisers and publishers to transact direct deals using programmatic

 tools would help both sides of the transaction “save time and money,” “reduce waste and increase

 yield,” and “save time/reduce bad debt.” DTX-428 at 3 (2014 Google product design document).

        285.     “Programmatic guaranteed,” or “programmatic direct,” refers to the sale of display

 advertising inventory using programmatic tools that can facilitate direct transactions. 9/10/24 AM

 Tr. 146:13-20 (Friedman); 9/10/24 PM Tr. 21:21-22:1 (Friedman); 9/23/24 PM Tr. 51:16-21

 (Stefaniu) (advertisers can use DV360 to enter into a deal with a publisher for “a guarantee for the

 delivery of a certain set of impressions and a certain set of criteria”); 9/25/24 PM Tr. 183:19-25

 (Hochberger).

        286.     Google has developed Programmatic Guaranteed capabilities on its ad tech tools—

 DV360, AdX, and DFP—so that sellers and buyers can more efficiently negotiate and execute




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 direct deals. 9/18/24 AM Tr. 229:22-230:10 (Pappu); DTX-428 at 6 (2014 Google product design

 document).

            286.1.   On DFP, Google’s Programmatic Guaranteed feature combines “some

                     features of direct sold guaranteed ads but also some features that come from

                     the programmatic or the real-time bidding world.”        9/23/24 AM Tr. 17:8-

                     18:16 (Korula). Publishers can use DFP to manage and serve all of their ad

                     inventory, including ads sold through Programmatic Guaranteed transactions.

                     9/27/24 AM Tr. 77:19-25 (Wheatland).

            286.2.   In DV360, advertisers can select, for any given publisher, whether to purchase

                     “guaranteed” or “non-guaranteed” inventory.           9/23/24 PM Tr. 51:1-15

                     (Stefaniu).

            286.3.   After the DV360 advertiser fills in all of the relevant selection criteria, Google

                     transmits the RFP corresponding to the Programmatic Guaranteed deal to the

                     publisher.    The publisher can either agree to the terms and conditions,

                     transacting a direct deal, or negotiate the terms and conditions using Google’s

                     interface before agreeing. 9/23/24 PM Tr. 51:22-52:10 (Stefaniu).

        287.    Google’s Programmatic Guaranteed functionalities offer both advertisers and

 publishers benefits that they would not have in ordinary direct deals.

            287.1.   DFP publishers have access to a streamlined, centralized interface to manage

                     direct and indirect transactions; receive guaranteed payments powered by

                     Google; outsource invoicing and collection of payments to Google; and have

                     a built-in digital process for negotiating and agreeing to direct deals. DTX-

                     428 at 4.




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              287.2.   DV360 buyers access increased controls; receive a single bill for indirect and

                       direct transactions; and experience improved frequency control across

                       transactions because DV360 manages the frequency with which the same ad

                       is shown to the same user. DTX-428 at 4.

                 4.      Artificial Intelligence

        288.     Artificial intelligence has become increasingly important to ad tech tools. E.g.,

 9/11/24 PM Tr. 95:18-96:7 (Dederick) (testifying that The Trade Desk was “also having to build

 a lot of technology to constantly assess the marketplace and add a level of artificial intelligence to,

 you know, automate because there’s just so much metadata that we’re assessing all of the time to

 help figure out what an advertiser should bid.”).

        289.     One way artificial intelligence has driven innovation is automated ad buying.

 Advertisers can submit their goals to a buying tool and instruct the buying tool to make decisions

 about ad buying on behalf of the advertiser in a “fast, accurate and cost-effective” way that

 provides better pricing “on an impression-by-impression basis.” DTX-1484 at 8 (2022 The Trade

 Desk 10-K identifying “automation of ad buying” as a “trend in the advertising industry”).

        290.     For example, Google created a feature called Performance Max on Google Ads that

 is powered by artificial intelligence and automates selection among ad channels and formats on

 behalf of advertisers in order to maximize their return on investment. 9/25/24 PM Tr. 34:12-22

 (Stewart); DTX-1248N at 6.

        291.     Performance Max uses artificial intelligence to automatically create ads and

 purchase ad inventory across all the channels and formats that Google Ads can serve: YouTube,

 Google’s other owned-and-operated properties, traditional banner ads on third-party websites or

 apps, native ads, Google Search ads, and more. DTX-1248N at 7; 9/25/24 PM Tr. 36:16-25

 (Stewart).


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        292.   Google does not charge for Performance Max. An advertiser who opts to use a

 Performance Max campaign in Google Ads pays the same rate that it would to run any other kind

 of Google Ads campaign. 9/25/24 PM Tr. 37:1-9 (Stewart).

        293.   Advertisers who upgraded their Smart Shopping campaigns to Google’s

 Performance Max experienced an average of 12% conversion value increase. DTX-1248N at 9

 (2022 Google Performance Max presentation). A 2022 Google deck announcing the launch of

 Performance Max described the feature as “the future of Ad’s.” DTX-1248N at 9.

        294.   When advertisers set up Google Ads and start a new campaign, as shown below in

 the Google Ads demonstration, Stefaniu DX 1.3, they can choose from a variety of campaign

 formats, including the AI-powered automated bidding through Performance Max. If an advertiser

 selects Performance Max, Google Ads will automatically optimize ad placement across display,

 video, and app ads on the advertiser’s behalf. 9/23/24 PM Tr. 19:9-24 (Stefaniu).




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        295.    The markets that Plaintiffs have concocted for this case do not account for any of

 these important developments that are shaping display advertising. Their asserted categories of

 tools—“advertiser ad networks,” “ad exchanges,” and “publisher ad servers”—do not capture the

 world of competitive pressures within ad tech. 9/20/24 PM Tr. 62:9-17 (Sheffer) (“A lot of the

 companies that are operating across this entire ecosystem have changed and morphed their

 offerings and have shown up in multiple different places across this ecosystem.”). Plaintiffs

 exclude from their markets header bidding, all proprietary ad tech tools, supply path optimization,

 and (from some markets) programmatic guaranteed deals. Infra ¶¶ 377, 497, 561, 569. By

 defining markets in tools that transact one particular form of advertising, Plaintiffs also ignore the

 impact of artificial intelligence. Infra ¶¶ 421, 430.

                                                 ***

        296.    Plaintiffs have not only excluded much of the innovation and evolution in display

 advertising, but also selectively focused their case on only a set of products in that broader history.

        297.    Sheffer, a Google sell-side executive with 18 years of experience in the industry,

 prepared a demonstrative, Sheffer DX1, that showed some of the components of the ad tech

 ecosystem (without even accounting for developments like supply path optimization and

 proprietary tools). 9/20/24 PM Tr. 45:23-45:4, 47:12-15 (Sheffer) ( the “spaghetti football”).

            297.1.    As depicted below, that ecosystem is made up of numerous connections that

                      convey data or signals, money, and advertisements between software. Sheffer

                      DX 1 10; 9/20/24 PM Tr. 50:6-11, 62:9-17, 67:2-6 (Sheffer).



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    Plaintiffs’ counsel tried to argue that certain Google tools, including AdMob, AdSense for
 Search, AdSense for Content, and AdX Direct, should be removed from the depiction of the ad
 tech ecosystem for various reasons. 9/20/24 PM Tr. 109:3-112:23 (Sheffer). But all of those
 removals perceive the ecosystem only from the publishers’ perspective and ignore that the tools in
 Plaintiffs’ alleged markets connect to the tools they seek to exclude. For example, Google's ad

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           297.2.   Each connection requires “a significant amount of technical work,” regardless

                    of whether the connection is between two proprietary pieces of software or

                    Google software and third-party software. 9/20/24 PM Tr. 67:7-15 (Sheffer);

                    see also 9/13/24 AM Tr. 25:18-26:1 (Kershaw) (explaining that “certainly

                    every time you have to do an integration with another piece of technology,

                    there’s testing involved, there’s lots of work that’s involved, and that was a

                    resource sucker”).

           297.3.   Google has built numerous connections between Google tools and competitor

                    tools, all shown below by lines connecting Google’s products to its

                    competitors’ and all of which represent considerable time and resources

                    expended. 9/20/24 PM Tr. 67:7-15 (Sheffer).




 buying tool in one of Plaintiffs’ defined markets—Google Ads—connects with the very tools that
 Plaintiffs tried to remove. Sheffer DX 1.


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        298.    Even on Plaintiffs’ own terms, focusing only on the components that are the subject

 of their allegations, Plaintiffs conveniently omit products and connections that do not fit into their

 narrative. Of Google’s tools, Plaintiffs’ markets in this case include only Google Ads, AdX, and

 DFP. Plaintiffs are purportedly concerned about the ability of publishers to access Google Ads

 demand without AdX or DFP. Infra ¶¶ 843, 895. However, Plaintiffs have excluded from their

 markets AdSense, AdMob, and DV360—even though publishers can use AdSense or AdMob to

 connect to Google Ads advertisers without AdX or DFP, and even though DV360 advertisers

 purchase through over 100 exchanges that are not AdX. Supra ¶¶ 47, 56-57, 155. Plaintiffs also

 discount the existence of AdX Direct, which connects publishers to Google Ads demand without

 DFP, and AwBid, which enables Google Ads advertisers to purchase from competitor exchanges.

 Infra ¶¶ 795, 871.

 II.    The Number of Participants in the Ad Tech Industry Keeps Growing, and the
        Competitors that Are Successfully Competing Keep Changing, Creating Dynamic
        and Rigorous Competition.

        299.    The history of the ad tech industry, only parts of which are captured above, is

 characterized by dynamic and fierce competition. Competitors must keep up with creative

 innovations—like yield management, Dynamic Allocation, real-time bidding, header bidding,

 first-price auctions, and unified auctions. The section below describes just a few examples of

 competitors that have successfully won market share from Google, including multiple that offer

 integrated ad tech stacks like Google, by bringing their own competitive advantages to the ad tech

 business.

        300.    Google’s internal documents and employee testimony describe the significant

 pressures Google has felt from competition throughout time:

             300.1.   In 2015, Google performed a competitive assessment of a representative

                      sample of competitors “because the competitive space in display and video


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                     advertising is very large.” 9/11/24 AM Tr. 58:10-23 (Bender). As the

                     assessment noted, the competitive space was “highly saturated,” and the

                     analysis was “not meant to be entirely comprehensive.” DTX-259 at 4.

            300.2.   In 2017, Google wrote: “Competition in the display space is strong and

                     increasing,” discussing Facebook, Amazon, and Criteo. DTX-486N at 38.

            300.3.   In 2019, Google wrote:      “The Ads ecosystem is becoming increasingly

                     complex and even more competitive.” DTX-670 at 2.

            300.4.   In 2020, Google wrote: “Programmatic advertising has grown more complex,

                     with multiple access points to inventory for Buyers and multiple demand

                     sources for Publishers.” DTX-1016 at 10.

            300.5.   A former Google executive who worked in Google’s display ads business for

                     14 years testified that there was never a point in which “the competitive

                     landscape felt less competitive and not more competitive.” 9/11/24 AM Tr.

                     60:1-60:5 (Bender).

            300.6.   A Google sell-side executive who worked in the display ads business for 18

                     years, 9/20/24 PM Tr. 45:23-45:4 (Sheffer), testified that Google faces “fierce

                     competition” from a wide variety of competitors including Microsoft, which

                     “is a huge one”; Meta, another “huge competitor in terms of just ad dollars”;

                     Amazon; Kevel; Equativ; Adzerk; AppLovin; IronSource; Unity; Tapjoy;

                     Pangle; Chartboost; Media.net; Criteo; Magnite; and PubMatic. 9/20/24 PM

                     Tr. 86:9-24, 87:19-88:18 (Sheffer).

        301.   To keep up with intense competition, Google must continuously invest in

 innovating and improving its products. Google’s engineering expenditures investing in its display




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 ads business totaled $7.6 billion for the period 2017 to 2022—over $1 billion each year. DTX-

 1881 at 1; 9/26/24 AM Tr. 162:15-163:5 (Israel). Google’s privacy and safety expenditures for

 the same time period totaled $604 million. DTX-1827 at 1; 9/26/24 AM Tr. 163:9-163:19 (Israel).

        302.   The documents and testimony from some of Google’s biggest competitors likewise

 describe the ad tech industry as highly competitive, with disruptive new technologies developing,

 new products and services emerging, and competition expected to intensify.

            302.1.   AppNexus:

                         302.1.1. “This is an ideal time to make a big play. The battle lines are

                                    being drawn to determine the major winners of the upcoming

                                    cycle. [Amazon] is stealthy aggressive and winning. Google

                                    is a bit on the ropes and is surprisingly vulnerable. Facebook

                                    and Apple have retrenched but have the resources to come back

                                    with a new push sometime over the next 12-14 months.” DTX-

                                    379 at 2 (2017 outline of AppNexus presentation to

                                    Microsoft’s CEO); 9/20/24 PM Tr. 130:22-132:21 (John).

                         302.1.2. “Over the past three years, AppNexus has invested hundreds

                                    of millions of dollars (seriously) to create a publisher ad serv[er]

                                    that is a viable alternative to DFP. With the success of the first

                                    few migrations, Google is treating this as an existential threat.”

                                    The AppNexus memo concluded: “Google is vulnerable on the

                                    sell-side,” and AppNexus could compete by partnering with

                                    buy-side provider The Trade Desk. DTX-352 at 2-3 (2016

                                    AppNexus-The Trade Desk partnership document).




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          302.2.   Microsoft:      “Q. But at this point, as you just said, there are multiple

                   competitors, do you know how many at this point in 2021? A. It’s the same

                   list that I mentioned before, Amazon, Google, Facebook, Trade Desk, Magnite,

                   PubMatic.” 9/20/24 PM Tr. 142:8-13 (John); id. at 142:24-143:13 (John)

                   (also identifying Yahoo, Freewheel, Index Exchange, and Criteo as

                   competitors).

          302.3.   Meta: “Our business is highly competitive. Competition presents an ongoing

                   threat to the success of our business. We compete with . . . companies that

                   sell advertising to businesses looking to reach consumers and/or develop tools

                   and systems for managing and optimizing advertising campaigns.” DTX-

                   1480 at 26 (2022 Meta 10-K).

          302.4.   Criteo: “We compete in the commerce media market and in the broader

                   market for digital marketing and media monetization, primarily through

                   Display Advertising.      Our market is complex, rapidly evolving, highly

                   competitive, still fragmented, and yet rapidly consolidating.         We face

                   significant competition in this market, which we expect to intensify in the

                   future, partially as a result of potential new entrants in our market, including

                   but not limited to large, well-established internet publishers and players.”

                   DTX-1420 at 29 (2022 Criteo 10-K); see also Deposition of Todd Parsons Tr.

                   89:13-90:16 (Criteo competes “vigorously” with Google, Amazon, and

                   Facebook).

          302.5.   The Trade Desk:




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                       302.5.1. “The market in which we participate is intensely competitive,

                                  and we may not be able to compete successfully with our

                                  current or future competitors.” DTX-1484 at 5 (2022 10-K);

                                  see also 9/12/24 PM Tr. 26:4-27:10 (Dederick).

                       302.5.2. “We operate in a highly competitive and rapidly changing

                                  industry. We expect competition to persist and intensify in the

                                  future . . . . We may also face competition from new companies

                                  entering the market, including large established companies and

                                  companies that we do not yet know about or do not yet exist.”

                                  DTX-1484 at 19 (2022 10-K).

          302.6.   Index Exchange: “Businesses are entering and leaving the business all the

                   time,” and “there’s a lot of change in the individual businesses these days.”

                   9/9/24 PM Tr. 41:8-21 (Casale).

          302.7.   Goodway Group: “Parts of digital advertising are fiercely competitive.”

                   9/10/24 PM Tr. 47:21-48:5 (Friedman).

          302.8.   PubMatic: Competition with Google keeps PubMatic “on our toes in terms of

                   pace of innovation, speed, nimbleness, customer service.” 9/12/24 PM Tr.

                   84:6-15 (Goel). In SEC disclosures year after year, PubMatic has stated that

                   “the digital advertising ecosystem is competitive and complex due to a variety

                   of factors” and that PubMatic faces “intense competition in the marketplace

                   and [is] confronted by rapidly changing technology, evolving industry

                   standards, and consumer preferences.” 9/12/24 PM Tr. 134:9-135:12 (Goel).




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        303.    The competition described by the industry and experienced by Google bears the

 hallmarks of a healthy market, not one dominated by a single firm.

        A.      Microsoft

        304.    Microsoft has a long history in the ad tech landscape that has been driven, in part,

 by a series of strategic acquisitions and deals. Microsoft’s current suite of ad tech tools combines

 the ad tech that Microsoft itself developed with ad tech that it acquired, including (but not limited

 to) the Xandr suite of tools formerly known as AppNexus tools. 11 Microsoft, and previously

 AppNexus (later rebranded as Xandr), have been competing with Google via their integrated ad

 tech offerings for the past two decades.

        305.    Microsoft is a publisher that owns many digital properties, ranging from its own

 search engine, Bing; to a news site, MSN; an email service, Outlook; an internet browser, Edge; a

 gaming console, Xbox; a social media platform, LinkedIn; and a video call platform, Skype.

 9/20/24 PM Tr. 123:22-123:2, 130:16-21, 135:3-15 (John).

        306.    Microsoft launched MSN adCenter, its first digital advertising platform, in 2006

 and expanded it in 2010 through a joint venture on Yahoo Search and Bing. Israel DX 1; 9/26/24

 AM Tr. 161:7-162:10 (Israel).

        307.    In 2007, Microsoft competed against Google to acquire DoubleClick, in furtherance

 of Microsoft’s goal “to become the leading ad platform for all media.” DTX-7 at 2, 9 (Apr. 2007

 Microsoft presentation); 9/20/24 PM Tr. 121:21-123:6 (John). After Microsoft learned that its




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   Benneaser John, current VP of engineering at Microsoft, testified as the corporate representative
 of Microsoft, including about topics relating to Xandr, which was acquired by Microsoft in 2022,
 and AppNexus, the predecessor to Xandr that was acquired by AT&T in 2018 and integrated into
 AT&T’s new tech offering, branded as Xandr. 9/20/24 PM Tr. 121:2-8 (John).


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 efforts to outbid Google for DoubleClick had failed, Microsoft tried to persuade the Federal Trade

 Commission to block Google’s acquisition. 9/20/24 PM Tr. 122:23-123:14 (John).

        308.    Before it was acquired by Microsoft, AppNexus, which was founded in 2007, was

 an ad tech company that offered both buy- and sell-side tools. 9/20/24 PM Tr. 121:9-14 (John);

 Deposition of Brian O’Kelley Tr. 57:22-23.

            308.1.   AppNexus had an end-to-end ad tech stack, with a demand-side platform,

                     supply-side platform (i.e., an exchange), and a publisher ad server. 9/20/24

                     PM Tr. 129:12-17 (John); DTX-1487 at 5 (AppNexus document describing

                     the “AppNexus Publisher Suite” as an “end-to-end platform future-built for

                     all channels, screens, and formats”).

            308.2.   Microsoft and AppNexus had a long history of working together to compete

                     against ad tech companies like Google, Facebook, and Amazon.

                         308.2.1. A 2017 document on behalf of Brian O’Kelley, AppNexus

                                    CEO and co-founder, bore the title “satya outline” (referring to

                                    Satya Nadella, CEO of Microsoft) and stated: “It seems to be

                                    in Microsoft’s interests . . . to have a advertising ecosystem that

                                    isn’t dependent on Google/FB/Amazon.”            “AppNexus and

                                    Microsoft have the combined assets to create a third digital

                                    advertising platform/ecosystem,” which would provide

                                    “opportunities” such as the ability to “create [the] third end-to-

                                    end digital advertising platform to compete with Google and

                                    Facebook.” DTX-379 at 1-3.




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                       308.2.2. Microsoft and AppNexus also partnered to “route all Microsoft

                                  proprietary demand and O&O supply through AppNexus to

                                  anchor an alternative exchange/marketplace to Google and

                                  Facebook,” reaching “exclusive agreement” to route at least 95%

                                  of Microsoft’s remnant inventory through AppNexus. 9/20/24

                                  PM Tr. 129:18-130:8, 134:9-135:25 (John). The partnership

                                  was “a strong success.” Id. (John).

          308.3.   As of 2017, AppNexus perceived Google—particularly its publisher ad

                   server—as being “on the ropes” and “surprisingly vulnerable.” DTX-379 at

                   2 (2017 outline of AppNexus presentation to Microsoft’s CEO). According to

                   AppNexus, as a “market leader” it had found an opportunity to “push based

                   on how Google and AppNexus was playing in the market on the publisher side,

                   as well as the demand side.” 9/20/24 PM Tr. 130:22-131:21 (John).

                   Specifically, AppNexus saw that “publishers were looking for open, better

                   monetization, and they were looking for optionality,” so AppNexus “built [its]

                   own ad server and used that as an opportunity to help [its] publisher

                   ecosystem.” 9/20/24 PM Tr. 130:22-131:21 (John).

          308.4.   AppNexus believed that it could—and did—win full-stack ad serving deals

                   against DFP. DTX-379 at 2 (2017 outline of AppNexus presentation to

                   Microsoft CEO); 9/20/24 PM Tr. 133:1-21 (John) (“Axel Springer was one of

                   our customers we migrated off Google. Schipsted was another customer we

                   migrated off of Google.”).




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            308.5.   Further competing against Google, AppNexus also fueled the “growth of

                     header bidding to undermine AdX.”         DTX-379 at 2 (2017 outline of

                     AppNexus presentation to Microsoft CEO); 9/20/24 PM Tr. 133:22-134:8

                     (John) (“Header bidding was our solution to empower the publishers to make

                     better monetization, and Google was—Google saw the down slow or

                     slowdown after we launched header bidding. So we wanted to leverage that

                     growth to win the deals….”).

            308.6.   AppNexus viewed Amazon as a competitor in ad tech as well. A 2017

                     document observed that Amazon was “stealthy aggressive and winning.”

                     DTX-379 at 2 (2017 outline of presentation to Microsoft CEO). Amazon had

                     “both retail dollars, as well as buyers,” and its advertising platform was

                     “growing aggressively” and “taking the demand dollars that would go to the

                     open web into the closed Amazon ecosystem.” 9/20/24 PM Tr. 131:22-132:11

                     (John).

            308.7.   AppNexus also viewed Facebook, The Trade Desk, Magnite (formerly known

                     as Rubicon), PubMatic, and Index Exchange as competitors, and perceived

                     Apple as a notable new market entrant. DTX-379 at 2 (2017 outline of

                     AppNexus presentation to Microsoft’s CEO); 9/20/24 PM Tr. 132:12-21

                     (John) (“There were multiple competitors on the buy-side and sell-side.”).

        309.   Returning to Microsoft, in 2015 Microsoft entered into a deal with AOL for AOL

 to manage sales of Microsoft’s inventory across various Microsoft products. Israel DX 1; 9/26/24

 AM Tr. 161:7-162:10 (Israel).




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        310.   In 2016, Microsoft acquired LinkedIn, a major business and employment-focused

 social media platform. Israel DX 1; 9/26/24 AM Tr. 161:7-162:10 (Israel); 9/20/24 PM Tr. 86:25-

 87:18 (Sheffer) (Microsoft’s purchase of LinkedIn “gave them user data that they’re certainly

 using to create an advertising business”); 9/20/24 PM Tr. 130:16-21 (John).

        311.   In 2018, as part of its Microsoft Advertising offering, Microsoft launched the

 Microsoft Audience Network. Israel DX 1; 9/26/24 AM Tr. 161:7-162:10 (Israel).

            311.1.   Microsoft Audience Network was built on the “advertising demand” offered

                     by Microsoft’s “search business.” 9/20/24 PM Tr. 86:25-87:18 (Sheffer). The

                     buying tool enables Bing search advertisers to extend their campaigns to

                     purchase display ads on both Microsoft’s owned-and-operated properties (like

                     MSN, Outlook, and Xbox) and third-party publisher properties that cover

                     “most other publishers,” such as CNN, Bloomberg, Wall Street Journal, and

                     New York Times. 9/20/24 PM Tr. 123:19-124:15, 126:5-21 (John); DTX-847

                     at 9, 14-16 (2019 “Why Microsoft Advertising” presentation).

            311.2.   Microsoft Audience Network is similar to Google Ads in that both permit

                     advertisers to buy search ads and display ads on both owned-and-operated and

                     third-party properties. 9/20/24 PM Tr. 124:16-19 (John); id. at 144:11-19

                     (John) (“Q. And just so I make sure I understand this, those are the same

                     advertisers who sometimes advertise on search are now advertising in

                     nonsearch placements, right ? A. Yes, it is.”); 9/26/24 AM Tr. 152:18-154:18

                     (Israel).

            311.3.   Microsoft recognizes Google Ads as a competitor to Microsoft Audience

                     Network, yet Microsoft Audience Network is excluded from Plaintiffs’




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                     alleged market for “advertiser ad networks.” 9/20/24 PM Tr. 124:20-23 (John)

                     (Microsoft Audience Network competes with Google Ads); 9/26/24 AM Tr.

                     152:18-154:18 (Israel) (Plaintiffs omit Microsoft Audience Network from

                     their asserted market that Google Ads competes in).

            311.4.   Microsoft also acknowledges the ad buying tools operated by Facebook,

                     Amazon, and The Trade Desk as competitors to Microsoft Audience Network.

                     Those tools are similarly excluded from Plaintiffs’ alleged market for

                     “advertiser ad networks.” 9/20/24 PM Tr. 124:24-125:16 (John); 9/26/24 AM

                     Tr. 38:19-40:19 (Israel).

            311.5.   The Microsoft Audience Network experienced significant revenue growth,

                     even prior to Microsoft’s acquisition and integration of Xandr. DTX-847 at

                     22 (2019 “Why Microsoft Advertising” presentation); DTX-1840 (Israel

                     Report Figure 19: Microsoft Audience Network U.S. Spending, Apr 2020-

                     2022); 9/20/24 PM Tr. 126:22-127:12 (John); 9/26/24 AM Tr. 153:16-154:18

                     (Israel).

        312.    Google competes with Microsoft Audience Network, but Google has also created

 a feature to help Google Ads advertisers easily import their Google advertising campaign settings

 directly into Microsoft Audience Network so that advertisers can use both tools without having to

 choose just one. DTX-1129 (2021 Microsoft presentation titled “Google Import Feature Guide”).

 The Microsoft representative explained how this “feature of Google” helps advertisers: “[A]s an

 advertiser, you can go to Google and create a campaign, set up the target audience, set up the

 keywords, set up the budget, all of those things, and those campaigns run on Google. And if the

 same advertisers don’t want to come and set up all the metadata in Microsoft, Google has a feature




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 that exposes only the metadata to Microsoft Advertising. An advertiser can log in to Microsoft

 Advertising, click ‘Google import’ as it shows on the screen, and the metadata will come into the

 server. . . . And all the bidding happens within the Microsoft platform.” 9/20/24 PM Tr. 127:13-

 128:22 (John).

        313.      In 2019, Microsoft also acquired Promote IQ, a retail media ad platform that

 facilitates buying and selling targeted ads on retail websites like Kroger, Office Depot, Kohl’s, and

 Dick’s Sporting Goods. 9/20/24 PM Tr. 143:23-144:10 (John); DTX-1288 at 4 (2022 “Advertising

 at Microsoft” presentation); Israel DX 1; 9/26/24 AM Tr. 161:7-162:10 (Israel).

        314.      In 2018, AT&T had acquired AppNexus “for its end-to-end tech” and integrated

 the AppNexus tools into its new ad tech offering, branded as Xandr. DTX-939 at 1 (2020 Xandr

 document, explaining that, “as AT&T sought to launch its advertising business, the acquisition of

 an ad tech platform was central to the strategy, with AppNexus selected in part due to having both

 buy-side and sell-side capabilities”). Following that acquisition, in 2019 Google referred to

 AppNexus as its “primary full-stack competition.” 12 DTX-801 at 5.

        315.      In 2022 (a little over a year before Plaintiffs filed this action), Microsoft acquired

 Xandr from AT&T for $900 million. DTX-1203 at 3 (2021 Microsoft document); 9/20/24 PM Tr.

 121:2-11, 129:1-8, 136:10-12, 140:21-22 (John).

            315.1.     Even before the acquisition, Microsoft and Xandr had been successful partners

                       in display advertising partners. 9/20/24 PM Tr. 143:14-22 (John).

            315.2.     Prior to the Xandr acquisition, Microsoft Advertising was already “a

                       digital advertising business, primarily built on Search (Bing) with the



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   Even after AppNexus was acquired and rebranded as Xandr, industry participants in many
 instances continue to refer to it as AppNexus. See, e.g., 9/26/24 PM Tr. 143:17-24 (Glogovsky).


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                   Microsoft Audience Network (MSAN) as a more recent and fast-growing

                   solution for non-Search advertising.”      DTX-1203 at 4 (2021 Microsoft

                   document).

          315.3.   When considering the acquisition, the Microsoft Board of Directors was

                   informed that the acquisition would help Microsoft continue to compete

                   against Amazon, Google, Facebook, The Trade Desk, Magnite, PubMatic,

                   Yahoo, FreeWheel, Index Exchange, Criteo, and others because Xandr offered

                   “(1) A globally-deployed DSP that will expand Microsoft data and demand

                   across the Open Web, (2) An SSP used by over 2,200 premium publishers to

                   manage and optimize advertising against their supply, (3) Strong video and

                   Connected TV assets and investments, and (4) A media platform which

                   enables advertisers, publishers, and retail clients to buy and sell media in

                   secure marketplaces and across the internet.” DTX-1203 at 4 (2021 Microsoft

                   document); 9/20/24 PM Tr. 140:23-143:13 (John).

          315.4.   The Microsoft Board was also told that “




                                                                                         DTX-

                   1203 at 4 (2021 Microsoft document).

          315.5.   Microsoft acquired “Xandr Invest,” a “buying platform that offers cross-

                   screen buying (TV, Video, and Digital), targeting, measurement, and

                   forecasting”; “Xandr Monetize,” a “selling platform that includes ad server




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                     capabilities, yield analytics, monetization tools across channels and formats,

                     and linear TV sell-side optimization”; and “Xandr Curate,” a “data

                     marketplace that enables customers to create custom packages of supply &

                     data across multiple publishers to sell programmatically to buyers on any

                     DSP.” DTX-1203 at 5 (2021 Microsoft document).

            315.6.   As Sheffer testified, Microsoft’s Xandr Monetize ad server is “a very strong

                     piece of technology.” 9/20/24 PM Tr. 86:25-87:18 (Sheffer). The Xandr ad

                     server partners with the header bidding wrapper Prebid to connect publishers

                     to even more demand from header bidding. DTX-1083 at 15-16 (2021 Xandr

                     presentation).

            315.7.   At the time of the acquisition, Microsoft strategy included integrating “

                                                                                            ” DTX-

                     1203 at 7 (2021 Microsoft document).

        316.    Following the acquisition, Microsoft integrated Xandr’s products with its other

 offerings. Internal documents observed that the combination of Xandr’s and Microsoft’s ad tech

 tools offered a significant competitive advantage.

            316.1.   For publishers, the “integrated platform advantage provides an optimized path

                     to demand through [Xandr] Invest DSP, maximizing revenue that reaches”

                     them.    DTX-1524A at 16 (2023 “Welcome to Microsoft Advertising”

                     presentation).

            316.2.   Additionally, Microsoft expanded the advertiser demand available on Xandr’s

                     supply-side tools by increasing bidding by Microsoft Audience Network on

                     Xandr, and, for advertisers, Microsoft provided Microsoft user data for




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                     targeting. DTX-1376 at 2-3 (Nov. 2022 Xandr synergies document); 9/20/24

                     PM Tr. 149:21-150:7 (John) (Xandr has access to first-party data).

        317.    Plaintiffs allege that competition in their asserted ad exchange and publisher ad

 server markets are foreclosed because Google Ads has access to “unique demand” that competitors

 need access to in order to compete effectively. E.g., 9/19/24 PM Tr. 89:8-12 (Lee); infra ¶¶ 843,

 895. But, after the Xandr acquisition, Microsoft recognized that it too could offer publishers

 “Unique Demand,” “Unique Data,” and “Unique Inventory.” DTX-1376 at 2-4 (2022 Xandr

 synergies document). Microsoft even began “working on a project to unify Microsoft’s first-party

 data and Xandr’s third-party data” in order “to join the data to scale the audience.” 9/23/24 PM

 Tr. 139:7-140:15 (John); DTX-1376 at 2-4 (2022 Xandr synergies document).

        318.    Microsoft has described its integrated ad tech stack as offering unique benefits to

 advertisers and publishers that a non-integrated stack would lack.

            318.1.   As its corporate representative testified: “When you run a marketplace,

                     connecting the buyers and sellers through the underlying same platform, will

                     yield better results for advertisers and that—and avoid errors; and those are

                     the efficiencies when you run a marketplace both buy and sell in the same

                     ecosystem.” 9/20/24 PM Tr. 137:3-9 (John). The “linkage between buy and

                     sell side” (1) enables advertisers to make better matches because user data is

                     in the same underlying infrastructure; (2) reduces errors; and (3) enables

                     advertisers to have more visibility into the supply available through

                     Microsoft’s ecosystem. 9/20/24 PM Tr. 137:3-21 (John).

            318.2.   A 2019 Microsoft presentation to advertisers touted “massive reach you can

                     trust,” highlighting the importance of vetted inventory because advertisers




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                     view their brands as “precious assets” and do not want their “ads showing next

                     to shady content and tragic current events.” DTX-847 at 16; 9/24/24 PM Tr.

                     141:4-6 (John) (an integrated platform helps prevent fraud).

            318.3.   A 2022 Microsoft deck identified “benefits of an end-to-end solution” that

                     include “more value from media spend,” “seamless deals troubleshooting,”

                     and “streamlined transactions.” DTX-1524 at 16.

            318.4.   Before it was acquired by Microsoft, Xandr perceived the same benefits of

                     integration. Xandr’s integrated platform helped it “increase its” revenue share,

                     “increase value for customers,” create “tech efficiencies,” and “ensure its

                     high-value data stays within its platform.” DTX-939 at 2 (2020 Xandr

                     presentation); see also id. at 1-2 (“Why our DSP and SSP together offer

                     greater advantages” included “Increased value for customers” in the form of

                     “visibility into path of spend”; “Tech efficiencies / access: The combination

                     of Invest [Xandr’s DSP] and Monetize [Xandr’s SSP] offers unique value for

                     agencies and advertisers, with more direct supply access, a 100% match rate

                     and 0% discrepancy between platforms”; a “Programmatic ‘Flywheel’”

                     because “The majority of programmatic spend that reaches our Monetize

                     supply comes from Invest”; and “Brand safety / data compliance”).

        319.   Microsoft has described its new combined offering as “one of the world’s largest

 marketplaces,” with an “expansive” advertising ecosystem that reaches over one billion users

 “across different audiences and different formats” that include “display, audio, video,” “CTV, as

 well as “gaming, shopper marketing and native.” DTX-1756 at 2 (Microsoft webpage); see also




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 DTX-1384 at 2 (2022 outline for Xandr synergies presentation); 9/23/24 PM Tr. 140:16-143:3

 (John).

              319.1.   Microsoft plans to develop what it calls a “Meta DSP,” or a “fully integrated

                       Omnichannel DSP that provides an easy way to run omnichannel campaigns

                       using premium inventory and exclusive data” across search, display, native,

                       video, CTV, digital out-of-home, traditional TV, gaming, audio, and social

                       ads. DTX-1288 at 11 (2022 “Advertising at Microsoft” presentation); see also

                       9/23/24 PM Tr. 143:15-144:24 (John) (“An omnichannel DSP or campaign is

                       where a buyer can buy multiple formats through one DSP.”).

           320.   In 2022, Microsoft beat Google to win a deal to become Netflix’s ad tech provider.

 9/20/24 PM Tr. 144:20-23 (John); 9/20/24 PM Tr. 99:1-21 (Sheffer). Netflix, a video streaming

 service, had been “looking for a partner for both ad technology, ad serving in particular, as well as

 a partner that would sell their streaming video inventory for advertisements on a global basis.”

 9/20/24 PM Tr. 99:1-16 (Sheffer).

           321.   Microsoft’s ownership of Xandr was a “critical element” in Netflix choosing

 Microsoft. 9/20/24 PM Tr. 145:6-18 (John). Google had made concessions in an attempt to win

 the deal, such as by agreeing to do development work for Netflix’s specific ad tech requirements,

 providing Google’s sales team to “represent their streaming inventory against all their videos that

 they put ads against,” and offering a “financial guarantee” for the sale of Netflix inventory. 9/20/24

 PM Tr. 100:14-20 (Sheffer). Even those concessions were not enough to win the deal. Microsoft

 was more willing than Google to offer Netflix specific development for Netflix’s ad tech stack and

 a “revenue guarantee for the inventory” that would be sold. Id. at 99:24-100:13 (Sheffer).




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        322.    Winning the Netflix business was “a big deal” for Microsoft because “Netflix is

 one of the premium publishers” that was launching an ad supported business for the first time, and

 “has a good target audience that advertisers are looking to reach.” 9/20/24 PM Tr. 145:6-18 (John).

            322.1.   Microsoft winning the Netflix deal created a “halo effect” because “the reason

                     that Netflix chose Microsoft and Xandr is now going to be publicly known,

                     and that will bring additional value and additional opportunities for Microsoft.”

                     9/20/24 PM Tr. 145:19-146:14 (John).

            322.2.   In connection with this “halo effect,” “major CTV platforms and publishers

                     have reached out for more information on Microsoft Advertising solutions

                     including—                                                       ,” and “DSPs

                     and technology partners including

                                                                                 all reached out for

                     more engagement on advertising solutions.”          DTX-1367A at 2 (2022

                     Microsoft presentation about Netflix deal); 9/20/24 PM Tr. 146:9-147:5

                     (John); Deposition of Benneaser John Tr. 109:8-110:8 (sealed testimony

                     referenced at 9/20/24 PM Tr. 146:9-147:5 (John)).

        323.    In 2022, Microsoft also announced that it would start offering display ads on its

 gaming platform, Xbox, which Microsoft planned to grow by acquiring the major gaming company

 Activision Blizzard. 9/20/24 PM Tr. 150:12-22 (John); Israel DX 1; 9/26/24 AM Tr. 161:7-162:10

 (Israel); 9/20/24 PM Tr. 86:25-87:18 (Sheffer) (Microsoft’s purchase of Activision Blizzard “gives

 them a strong connection to a new interaction with users”).

        324.    The consequence of Microsoft’s development of proprietary ad tech and its

 acquisitions, as shown below, DTX-1757, is an ad tech ecosystem that includes many tools




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 connecting advertisers with publishers in a variety of ad formats and channels, including

 connecting advertisers to third-party publishers and to Microsoft’s owned-and-operated inventory.

 DTX-1288 at 3-4 (2022 “Advertising at Microsoft” presentation); DTX-1755 (depiction of

 Microsoft ad tech stack) 9/26/24 AM Tr. 161:7-162:10 (Israel) (“Microsoft is now in the position

 of having first owned-and-operated properties, a buying tool, and a full ad stack very similar to

 Google”).




        325.    Google acknowledges and treats Microsoft as a significant competitor in display

 ads for a number of reasons, including because “they are creating an ad technology and ad

 monetization system that will enable them to utilize both their own demand and deliver ad

 monetization and ad technology to publisher partners around the world.” 9/20/24 PM Tr. 86:25-

 87:18 (Sheffer).

        326.    Microsoft views itself as a competitor not just to Google, but also other ad tech

 providers such as Facebook, Amazon, The Trade Desk, Yahoo, Magnite, PubMatic, Index

 Exchange, FreeWheel, Criteo and others. 9/20/24 PM Tr. 124:20-125:16, 130:22-132:21, 142:8-


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 143:13 (when asked whether there were others, John testified, “I’m sure there is plenty because

 the ecosystem has a lot”).

        327.    Prior to Plaintiffs’ filing of this lawsuit against Google, the many steps Microsoft

 had taken—successfully—to compete by acquiring and building a full ad tech stack like Google’s

 were publicly known:

            327.1.   It was publicly known that, in 2019, Microsoft “had acquired PromoteIQ,

                     which gave advertisers access to retail.” 9/20/24 PM Tr. 151:1-3 (John).

                     Google does not have any offering like PromoteIQ. 9/20/24 PM Tr. 143:23-

                     144:10 (John).

            327.2.   It was publicly known that, by acquiring Xandr in 2022, Microsoft had

                     acquired a full stack: “buy-side tools, sell-side tools, and an exchange.”

                     9/20/24 PM Tr. 150:8-11 (John).

            327.3.   “It was publicly known that Microsoft had access to first-party data,” and that

                     Xandr advertisers could access that first-party data. 9/20/24 PM Tr. 149:21-

                     150:7 (John).

            327.4.   “It was publicly known that Microsoft had AI technology.” 9/20/24 PM Tr.

                     150:12-15 (John).

            327.5.   “It was publicly known that Microsoft had Xbox,” its gaming platform, and

                     in 2022 was trying to grow Xbox by acquiring Activision Blizzard. 9/20/24

                     PM Tr. 150:16-22 (John).

            327.6.   It was publicly known that, in 2022, Microsoft had won an “exclusive

                     arrangement with Netflix.” 9/20/24 PM Tr. 150:23-25 (John).




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             327.7.   Depicting the information publicly known to Plaintiffs when this suit was filed,

                      below are just some of the acquisitions and product launches that were critical

                      to Microsoft building its display ads business today. Israel DX 1; 9/26/24 AM

                      Tr. 161:15-162:10 (Israel).




        328.    Even based on only the information Plaintiffs had about Microsoft’s display ads

 business prior to the filing of this lawsuit, Plaintiffs’ allegations that Google has engaged in unique,

 anticompetitive conduct that has excluded competition in display advertising must fail. Microsoft,

 like Google, has acquired companies to build its business, owns tools on both the buy-side and

 sell-side, and touts access to its first-party data as a competitive advantage. And, as demonstrated

 by the Netflix deal and resulting “halo effects,” Microsoft is competing against Google for

 customer business—and winning.

        B.      Meta

        329.    Meta is a publisher and an ad tech provider that owns and operates its own social

 media properties, including Facebook and Instagram, that are accessible through both websites

 and mobile apps. 9/9/24 PM Tr. 81:2-82:2 (Lowcock); 9/10/24 AM Tr. 136:25-137:15 (Friedman).



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        330.    Meta has built its own integrated ad tech that includes a proprietary publisher ad

 server, auction functionality, and buying tool. Advertisers using Meta’s buying tool can purchase

 ads on Meta’s owned-and-operated properties and on non-Meta properties. 9/20/24 AM Tr. 32:8-

 32:21 (Lee); 9/26/24 AM Tr. 105:24-106:20 (Israel).

        331.    In 2014, Meta launched the Facebook Audience Network (now called the Meta

 Audience Network). As initially launched, the Facebook Audience Network connected Meta’s

 properties and third-party website sellers with advertisers. 9/26/24 PM Tr. 147:15-24, 148:1-25

 (Farber); 9/13/24 PM Tr. 98:5-17 (Boland).

        332.    In 2020, consistent with increased advertiser investment in mobile app advertising,

 Meta made a “strategic move to better serve customers seeking mobile app ads” by transitioning

 Facebook Audience Network away from selling third-party website inventory to selling third-party

 app inventory. 9/13/24 PM Tr. 97:10-19, 114:8-145:17 (Boland).

        333.    As explained by Farber, now lead Product Manager at Meta Audience Network,

 Meta Audience Network “provided better value for advertisers because they were no longer supply

 constrained,” and “they could reach more people across different times” and “across different

 places.” 9/26/24 PM Tr. 146:20-22, 148:3-25 (Farber); see also id. at 150:13-151:5 (Farber) (Meta

 Audience Network is attractive to advertiser customers because it “increases the reach as it allows

 them to serve ads and fulfill marketing objectives across more opportunities, across more

 impressions through serving those ads with more apps”).

        334.    As of 2023, Meta Audience Network served between 14,000 and 16,000 publisher

 customers, and a “few million” advertiser customers. 9/26/24 PM Tr. 149:1-13 (Farber).

        335.    Meta charges a revenue share to place ads through the Meta Audience Network.

 9/26/24 PM Tr. 151:16-24 (Farber). In 2022 and 2023, Meta Audience Network’s average revenue




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 share was        . Deposition of Omri Farber Tr. 42:8-42:10, 42:11-42:16 (sealed testimony

 referenced at 9/26/24 PM Tr. 151:25-152:4 (Farber)).

        336.     Google estimates that the Meta Audience Network attracted between $4.5 and $5

 billion of ad spending in 2018. DTX-801 at 7. By 2022, Meta Audience Network’s annual gross

 revenue (revenue that accrued to Meta Audience Network out of total ad spend) was                .

 Deposition of Omri Farber Tr. 50:20-22 (sealed testimony referenced at 9/26/24 PM Tr. 153:8

 (Farber)).

        337.     Meta’s total display advertising revenue in the United States has grown

 exponentially, starting at $200 million in 2008 and reaching $50 billion in 2022. DTX-1925.

 During that time period, Meta’s percentage of U.S. display ad revenue grew from 3% in 2008 to

 37% in 2022. DTX-1925.

        338.     Plaintiffs exclude almost all of Meta’s display ads business from their asserted

 markets because Meta’s ad tech is proprietary (and therefore “closed web”), and because Meta

 Audience Network now serves third-party app ads, not website ads. Infra ¶¶ 650, 687. However,

 as shown in Google’s internal documents and reflected in trial testimony, since as early as 2014

 Google has considered Meta a significant competitive threat to its display advertising business.

 According to Google’s own documents, Google has been losing market share to Meta and growing

 more slowly than Meta’s display ad business.

              338.1.   In 2014, Google expressed concern that Facebook’s recent growth was

                       “worrisome” for Google’s ads business “for a number of reasons.” “Given

                       1B+ users, with significant daily user time spent on FB (approximately 20%

                       of time on mobile devices is spent on FB app alone), there is a risk that FB

                       becomes the ‘starting point’ of the Internet.” DTX-184 at 1.




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          338.2.   According to Mohan, Facebook’s growth was “worrisome for Google” as

                   early as 2014 because Facebook had been “growing as a formidable

                   competitor in the display space even at that time,” particularly for display ads

                   on mobile phones given that “mobile web, all of that was basically display

                   advertising.” 9/16/24 AM Tr. 88:11-89:20 (Mohan).

          338.3.   Bellack testified that around September 2016, “Facebook was building its own

                   ad network and was rumored to be working on other kinds of sell-side

                   products.” 9/19/24 AM Tr. 155:10-156:12 (Bellack). He was particularly

                   concerned that Meta would invest in header bidding. 9/19/24 AM Tr. 156:13-

                   19; see also PTX-367 at -461 (2016 Google email about header bidding: “That

                   is the concern about FAN or Amazon investing in HB—they could persuade

                   publishers to say something like ‘if we can pay you $10+, don’t even bother

                   checking with Google, just give it to us right away.”).

          338.4.   In 2017, Google observed that “Facebook has taken the leadership position

                   from Google over the last four years, capturing a significant share of display

                   market growth.”     DTX-486N at 6.       “Google has fallen from 106% of

                   Facebook’s display+video revenue in 2013 to 43% in 2017.” DTX-486N at

                   4.

          338.5.   Again in 2017, Google noted that “Facebook (FB) and Amazon (AMZN) have

                   been winning more mind and market share from our top partners due to their

                   growing array of publisher solutions,” and advertisers have shifted their

                   budgets to both competitors. DTX-463 at 2, 4.




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          338.6.   A January 2018 internal Google document stated: “Facebook has become the

                   dominant player and is expected to continue to grow faster than the market

                   through 2020.” DTX-695 at 3. Google viewed itself as occupying “second

                   place” compared to Facebook “since 2014.” DTX-695 at 3. Google produced

                   a chart of estimated market shares in the “display and video market” by buying

                   door, with Facebook’s estimated share in blue rapidly outgrowing Google’s

                   estimated share in green. DTX-695 at 3. In the same analysis, Google also

                   estimated that its “share in display is expected to stay largely flat,” as Meta

                   was “poised to outpace the market” and grow “to a 50% share by 2020.”

                   DTX-695 at 4.

          338.7.   As Google again observed in 2019, “Facebook’s ad business continues to

                   strengthen (in spite of their PR issues). They are building deeper capabilities

                   that are being integrated to 4 of the largest mobile properties in the world.”

                   DTX-670 at 2.

          338.8.   Google further described Meta as one of its “largest and diverse competitors”

                   because they “compete directly with and presents a threat to Google.” DTX-

                   758 at 3 (2019 Google competitive intelligence presentation about Facebook).

                   Meta brought unique advantages to display advertising. It “aims to provide

                   solutions . . . with a closed ad eco-system offering similar scale and cost

                   efficiencies, coupled with zero fraud, full transparency and robust ROI

                   tracking, introducing new ad formats for top-of-funnel brand objectives, all

                   while not forcing marketers to deal with multiple middlemen.” DTX-758 at




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                   27; see also DTX-758 at 31 (2019 Google presentation discussing Meta’s

                   advantage from “Facebook targeting data”).

          338.9.   In 2020, Google described Meta Audience Network in particular as “an

                   established monetization partner for publishers” worth “between $4.5B and

                   $5B in 2018.” DTX-801 at 7. Google observed that Meta “understands what

                   users like and has developed some of the most sophisticated targeting

                   capabilities in the industry.” DTX-801 at 7.

          338.10. LaSala, former Managing Director for Global Commercialization, testified

                   that Meta posed a significant competitive threat to Google because of its

                   valuable user audience data. He explained: “My feel[ing] was that the

                   companies with the best data and the companies with the best technology

                   would be the companies that would sort of prevail in this long-term game.

                   And Facebook knows what you’re doing and has really good audience data.”

                   9/13/24 AM Tr. 38:11-22, 152:2-13 AM (LaSala); see also id. at 82:19-83:21,

                   153:3-10 (LaSala); PTX-612 at -035 (2018 Google comment thread stating

                   that “it is reasonable to assume that Amazon and Facebook actually have

                   better data” and have the ability to “fill at high rates”).

          338.11. Google continued to view Meta as a significant competitive threat after Meta

                   Audience Network shifted to third-party app inventory in 2020. 9/13/24 AM

                   Tr. 147:19-148:11 (LaSala) (“Q. Was there some point where you thought

                   while you were at Google that FAN was no longer an existential threat? A.

                   No.”).




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             338.12. In a 2021 presentation, Google noted that “Facebook Ads are still growing

                      faster than Google Ads, despite narrowed gap.” DTX-1132N at 9. Data from

                      2019 to 2021 showed that Facebook’s growth rate was consistently higher

                      than Google’s. DTX-1132N at 9.

        339.    Meta views itself as competing with both ad tech providers that own and operate

 properties, such as Google, Amazon, Apple, and TikTok, and those that do not, such as The Trade

 Desk, AppLovin, and Unity.       9/13/24 PM Tr. 145:20-146:4 (Boland) (“Facebook Ads” and

 Google competed to provide the “full funnel” of outcomes to advertisers); 9/26/24 PM Tr. 152:5-

 153:7, 153:21-154:8, 154:9-17 (Farber).

             339.1.   As Farber explained, Meta competes with all players that consolidate “digital

                      demand that advertisers will buy supply for online.” 9/26/24 PM Tr. 152:14-

                      153:7 (Farber). “Demand is demand. Advertiser outcomes are advertiser

                      outcomes.” Id. (Farber). “If you’re an advertiser and you want to get people

                      to, for example, download your app,” “you would take a dollar and would put

                      it into any and all demand side platform, ad network, etc.,” “that will allow

                      you to promote your app effectively. This is the scope of competition.” Id. at

                      152:14-153:7 (Farber).

        340.    Other ad tech providers included in Plaintiffs’ alleged markets also regard Meta as

 a competitor. E.g., 9/9/24 PM Tr. 15:10-21, 18:16-19:1 (Casale) (Index Exchange testifying

 Facebook is a competitor to Index Exchange and “everyone’s main competitor, us included”).

        C.      Amazon

        341.    Like Meta, Amazon is both a publisher and an ad tech provider. Amazon sells

 owned-and-operated inventory on its website and apps. 9/9/24 PM Tr. 26:24-27:8 (Casale).

 Amazon also offers both buy-side and sell-side tools that serve ads on not only its owned-and-


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 operated properties but also third-party publisher properties, all of which compete with Google.

 9/10/24 AM Tr. 64:21-65:4 (Layser); DTX-801 at 6.

         342.    On the buy side, advertisers can use Amazon’s proprietary “integrated” ad tech

 tools to purchase Amazon owned-and-operated inventory and third-party inventory. DTX-754 at

 5; 9/20/24 AM Tr. 32:22-33:11 (Lee).

         343.    Amazon’s sell-side products include two popular header bidding wrappers,

 Transparent Ad Marketplace (TAM) and Unified Ad Marketplace (UAM). Supra ¶¶ 171, 208-

 209. Exchanges such as Index Exchange work with TAM to submit bids. 9/9/24 PM Tr. 25:4-7

 (Casale).

         344.    Amazon’s display advertising revenue in the United States has grown significantly

 in just a few years, starting at $830 million in 2017 and reaching $8.3 billion in 2022. DTX-1926.

 During that time period, Amazon’s percentage of U.S. display ad revenue grew from 1.8% in 2017

 to 6.1% in 2022. DTX-1926.

         345.    Plaintiffs exclude from their markets many of the transactions facilitated by

 Amazon’s buy-side ad tech because it is proprietary ad tech to used to purchase owned-and-

 operated inventory, and they exclude Amazon’s sell-side ad tech because it is a header bidding

 wrapper. 9/26/24 AM Tr. 39:12-40:19 (Israel); 9/20/24 PM Tr. 50:4-9 (Lee). But Google

 documents, surveys, and former employees identify Amazon’s ads business as a key competitive

 threat to the Google products that are included in Plaintiffs’ markets, particularly because Amazon

 has developed an integrated ad tech stack with tools for both advertisers and publishers. E.g.,

 DTX-879 at 24 (2020 competitive analysis deck dedicated to Amazon stating “Risk: Potential for

 full stack offering”).




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          345.1.   As early as 2015, a Google slide deck described Amazon as posing “one of

                   the largest potential threats to our programmatic advertising business” because

                   “Amazon is actively building a walled garden to compete with the

                   DoubleClick stack, and this should not be underestimated.” DTX-278 at 3.

                   As would be a theme in Google’s competitive analyses, Google was

                   particularly concerned that Amazon could build an integrated ad tech stack:

                   “Amazon has developed key pillars of an advertising ecosystem that can

                   compete with DoubleClick stack” including owned-and-operated inventory, a

                   buy-side ad server, a demand-side platform, a mobile ad network and desktop

                   display network, and a proprietary ad server. DTX-278 at 11, 14-18; see also

                   DTX-406 at 6-7 (2017 Google deck containing similar language).

          345.2.   In a 2017 competitive analysis, Google depicted Amazon as now in third place

                   after Facebook in first and Google in second. DTX-435 at 7. Amazon’s

                   header bidding wrapper created an “‘Amazon Prime’ for Publishers.” DTX-

                   435 at 17.

          345.3.   In February 2019, Google highlighted Amazon as “scaling their ads business

                   in multiple ways—geographically, going deeper for on-Amazon ads . . . ,

                   scaling ad-supported offerings . . . , and growing their [demand-side platform]

                   / ad-network.” DTX-670 at 2.

          345.4.   In 2019, Google also described Amazon as a “different type of competitor,”

                   posing “business risks to Google.” DTX-754 at 4. Google observed that

                   major advertisers such as Procter & Gamble were “shifting budgets” and

                   spending more on Amazon than Google. DTX-754 at 4. On the sell-side,




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                   Amazon offered a “header bidding wrapper to pubs which gives them a direct

                   pipeline to Amazon’s demand with a lower ‘ad tech tax.” DTX-754 at 4.

                   “This all poses a significant risk to Google’s display business.” DTX-754 at

                   4.

          345.5.   Similarly, Google also noted in 2019 that Amazon continued to “gain traction

                   as a key monetization source for publishers thanks to its low cost solutions,

                   unique demand and effective targeting.” DTX-801 at 6. Google expected

                   “Amazon’s presence to continue to grow” because “they bring unique

                   Amazon demand as well as” Meta Audience Network “demand at virtually no

                   cost.” DTX-801 at 6. Google noted that “Amazon is also a competitor that

                   has the ability to build a full-stack solution to compete with Google Ad

                   Manager.” DTX-801 at 6.

          345.6.   A 2020 competitive analysis and strategy document was dedicated to Amazon

                   because “Amazon’s growth is strong, their suite of ad solutions increasingly

                   encroaches upon Google’s core business.” DTX-879 at 2. “Amazon has all

                   the building blocks to compete at Google/Facebook scale; it also has the

                   unique advantage of closing the loop through conversion.” DTX-879 at 19;

                   see also id. at 22 (comparing Amazon’s full-stack offering to Google’s and

                   noting “Amazon suite of ad solutions is increasingly encroaching on Google’s

                   core business”); id. at 24 (“Key differentiation factors) for Amazon’s ad stack

                   include “unique demand and data”).

          345.7.   LaSala, former Managing Director for Global Commercialization, testified

                   that he believed when he was at Google that Amazon posed a major




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                   competitive threat. 9/13/24 AM Tr. 38:11-22 (LaSala). As he stated, “frankly,”

                   when Amazon “started to get into this business” it “scared me even more than

                   Facebook because they have such great commercial intent data.” 9/13/24 AM

                   Tr. 151:14-152:13 (LaSala). LaSala’s “paranoia kicked up” “when Amazon

                   created their ad network and their DSP using their own data.” Id. (LaSala);

                   see also id. At 82:19-83:21 (LaSala) (Google was seeing “real competition

                   from Amazon” because “the power of the data plus the power of the—of what

                   you do with the data really drives long-term value for advertisers and

                   publishers”).    Contemporaneous statements by LaSala corroborate that he

                   took the competitive threat posed by Amazon very seriously. See, e.g., PTX-

                   864 at -223 (2019 email stating “Amazon will put the biggest pressure on us

                   over time . . . . They have the resources to be a fully functioning SSP via

                   TAM and could suck out all 3rd party demand from our auction over time.”);

                   PTX-612 at -035 (2018 comment thread explaining that “it is reasonable to

                   assume that Amazon and Facebook actually have better data” and the ability

                   to “fill at high rates”).

          345.8.   Rowley, another Google employee, agreed that Amazon is a “competitor to

                   Google in the ad space” because “it developed its own header bidding

                   technology” and is “a major aggregator of demand.” Deposition of Brian

                   Rowley Tr. 138:12-138:23.         He further explained that Amazon’s

                   “monetization of inventory and the aggregation of demand covers most of ad

                   tech.” Id. at 138:24-139:8 (Rowley).




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        346.   Other ad tech providers included in Plaintiffs’ alleged markets also consider

 Amazon a significant competitor. E.g., 9/9/24 PM Tr. 15:10-21, 19:7-21:11(Casale).

        D.     TikTok

        347.   TikTok is a major social media video platform that relies on artificial intelligence

 to show users short-form videos based on their interests. DTX-1045 at 13 (2021 GroupM media

 landscape presentation).

        348.   The popularity of TikTok has soared in recent years. 9/26/24 AM Tr. 60:24-61:7

 (Israel) (TikTok is the most recent “big growth stor[y]”); see also 9/9/24 PM Tr. 88:11-17

 (Lowcock) (TikTok went from “no advertising at all” a few years ago to growing ad spend);

 9/25/24 PM Tr. 9:12-18 (Caldwell) (small business advertiser interested in advertising on TikTok

 because “that’s where the eyeballs are”); DTX-1045 at 15 (2021 GroupM media landscape

 presentation). According to a 2022 Google competitive analysis document, TikTok is the fastest

 social media company ever to reach one billion monthly active users. DTX-1188 at 3.

        349.   TikTok offers advertisers a self-service ad platform, TikTok Ads Manager, that

 enables buyers “with various degrees of savviness” to advertise content on the app. DTX-1188 at

 15 (2022 Google competitive analysis of TikTok stating that the self-service platform offers both

 more sophisticated customers the option to take “full control of their advertising strategy” and

 “non-savvy advertisers” the ability to “create powerful performance campaigns”).

        350.   Of the top 50 U.S. Google Ads advertisers, in 2022        spent over $1 million on

 TikTok advertising.   DTX-1974; 9/26/24 AM Tr. 62:8-63:11 (Israel).          A number of those

 advertisers increased their ad spending on TikTok significantly between 2021 and 2022, including

 by up to         . DTX-1974.

        351.   TikTok’s display ad revenue in the United States grew from $173 million in 2019

 to over $5 billion in 2022, and is projected to grow to $9.5 billion in 2025. DTX-1927; 9/26/24


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 AM Tr. 60:18-61:7 (Israel) (TikTok is the “next iteration” of growth in a “dynamically competitive

 market”). As a percent of U.S. display ad spending, TikTok has grown from 0.2% in 2019 to 3.7%

 in 2022, and is projected to reach 5.2% by 2025. DTX-1927.

        352.    Plaintiffs exclude TikTok’s ad tech tools from their markets because they are

 proprietary, 9/26/24 AM Tr. 38:19-40:19 (Israel), but internal Google documents demonstrate that

 Google’s display ads business was “paying attention and reacting to” the “important competition”

 coming from TikTok. 9/26/24 AM Tr. 61:17-22 (Israel).

            352.1.   Google has identified TikTok’s in-house ad tech stack as competing with

                     Google’s display ads business. 9/20/24 PM Tr. 87:23-88:14 (Sheffer) (Vice

                     President of Global Partnerships Sell-Side Monetization at Google looks at

                     marketing materials and sales pitches for TikTok “to get a sense of where

                     they’re headed with their strategy and their technology development”);

                     9/25/24 PM Tr. 63:14-22 (Stewart) (competitive analysis considered

                     “continued growth happening with companies like TikTok, Snap, Pinterest,

                     and Twitter”).

            352.2.   One 2022 Google document described TikTok’s growth as the “fastest ever.”

                     DTX-1188 at 2, 3.       Google noted that TikTok’s “advertising strategy

                     replicates Facebook’s,” including because TikTok has replicated a usable user

                     interface and workflows that “allow easy campaign creation” for small- and

                     medium-sized businesses (“SMBs”). DTX-1188 at 2; see also id. at 10

                     (“TikTok provides resources like help center pages, chat support and partners

                     to help SMB advertisers”); id. at 14 (“TikTok replicates FB’s Ad [user

                     interface] to reduce campaign creation friction”).




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             352.3.   A 2021 Google strategy document compared Google’s “share of non-Search

                      ads” to those of other major social media sites that use their own proprietary

                      ad tech, observing: “Share in Non-Search Ads has gone to TikTok, Snap,

                      Pinterest, and Twitter.” DTX-1132N at 9; see also id. at 14 (evaluating “social

                      network ad spend” and observing that “TikTok is growing the fastest, with 87%

                      user growth in 2020 and 18.3% in 2021”).

        E.      Criteo

        353.    Criteo, a publicly-traded company, started as an ad tech provider focused on the

 buy-side and has since expanded to offering both buy-side and sell-side tools. DTX-1420 at 12

 (2022 Criteo 10-K); DTX-1257 at 11 (2022 Criteo investor presentation).

        354.    Criteo first launched a buying tool that differentiated itself based on access to

 curated remarketing inventory. See DTX-376 at 39 (2017 Google competitive update). The

 strength of Criteo’s advantage in remarketing has continuously exerted competitive pressure on

 Google’s buy-side tools.

             354.1.   A Google 2012 Product Requirements Document noted that Google Ads had

                      “recently been hurting in a very competitive remarketing field,” and stated

                      that new features on Google Ads were needed to “close competitive gap to

                      Criteo.” DTX-129 at 1-2.

             354.2.   A 2017 Google strategy document expressed concern that Criteo was still

                      “growing faster than GDN in remarketing.” DTX-371 at 3.

        355.    Criteo’s buying tool charges a high revenue share of 35% to 40%. PTX-737 at -

 160 (Google’s buy-side personnel discussing that Criteo “had a reported gross margin of 35-40%”

 in March 2019);




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        356.    Even when it offered only a buy-side tool, Criteo has negotiated directly with

 publishers for preferred access and thus competed with Google’s sell-side products for publisher

 inventory. DTX-376 at 39 (2017 Google header bidding presentation); PTX-234 at -236 (2015

 Google email about header bidding expressing concern that publishers often placed Criteo line

 items at a higher priority “reservation band”). In particular, Criteo was a threat to Google because

 it could leverage its status as a “specialized demand player” to “cherry-pick impressions” from

 DFP publishers’ inventory. DTX-371 at 3; see also DTX-376 at 39 (2017 Google competitive

 update noting risk that Criteo was “locking in access to first look inventory, removing opportunity

 for other buyers to compete”).

        357.    The advertiser demand for Criteo’s buying tool built was so attractive to publishers

 that Google and Microsoft competitive documents described Criteo as a competitor with

 “new/unique demand,” DTX-371 at 2 (2017 Google competitive update), and a “large demand

 pool,” DTX-379 at 4 (2017 outline of presentation to Microsoft’s CEO). As AppNexus observed,

 Criteo’s strength in advertiser demand meant that it could effectively build a “publisher network”

 even if it was not the “publisher decisioning platform.” DTX-379 at 4.

        358.    After header bidding emerged, in 2017 Criteo launched Criteo Direct Bidder to

 directly integrate Criteo’s buying tool with publishers’ header bidding wrappers and thus bypass

 exchanges entirely. DTX-376 at 39; Deposition of Todd Parsons Tr. 38:14-23 (direct integrations

 mean that “we’re not using an intermediary SSP to access the inventories of that publisher”);

 9/26/24 AM Tr. 105:9-23 (Israel).

        359.    “Since 2018, and accelerating since 2020, Criteo has deeply transformed itself from

 a single-product (retargeting) to a multi-solution Commerce Media platform provider, fast

 diversifying the business.” DTX-1420 at 12 (2022 Criteo 10-K). Criteo created the “Commerce




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 Media Platform,” which contains both buy-side and sell-side products that are depicted below in

 Criteo’s 10-K SEC filing. DTX-1420 at 12-13 (2022 Criteo 10K).




        360.      Criteo’s Commerce Media Platform currently includes a publisher ad server

 (Commerce Yield), ad exchange (Commerce Grid), and demand-side platform (Commerce Max),

 as well as an additional optimization tool for advertisers called Commerce Growth. DTX-1420 at

 12 (2022 Criteo 10-K); see also Deposition of Todd Parsons Tr. 60:20-24.

        361.      In addition, Criteo continues to market its direct integrations with publishers as part

 of its “1P Media Network,” with access to “~60% of web [Daily Active Users] addressable through”

 the “thousands of publishers” in its publisher network. DTX-1257 at 3-4 (2022 Criteo investor

 presentation).

        362.      Since launching its Commerce Media Platform, Criteo has also diversified its

 business by expanding beyond its traditional focus on remarketing and adding features designed

 to appeal to retail media publishers. DTX-1257 at 13 (May 2022 Criteo investor presentation

 documenting year-over-year results for Q1 2022 showing 42% growth in “Acquisition” targeting

 and 48% growth in retail media).



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        363.    Criteo’s integrated product now transacts ads on web browsers, apps, Connected

 TV, and screens in physical retail stores in formats such as display (defined as “including social

 and native”), video, and Connected TV. DTX-1420 at 13 (2022 Criteo 10-K).

        364.    Another unique competitive advantage of Criteo’s tools is Criteo’s access to

 proprietary user commerce data. According to Criteo, it has access to proprietary data from “over

 $1 trillion in online sales” annually, reflecting approximately “$2.7 billion worth of transactions

 per day on average” and daily data for over 750 million active consumers each day. DTX-1420 at

 13 (2022 Criteo 10-K); DTX-1257 at 3 (2022 Criteo investor presentation). Criteo has used this

 proprietary data to develop AI tools that improve user targeting. DTX-1179 at 2 (2022 Criteo

 competitive analysis identifying Criteo’s “AI-built audiences” as an advantage).

            364.1.   Criteo considers its targeting abilities based on its proprietary data to be a

                     competitive advantage, or “How Criteo Wins,” against Meta, Google Ads, and

                     other competitors. DTX-1179 at 2-5 (2022 Criteo competitive analysis); see

                     also Deposition of Criteo (Todd Parsons) Tr. at 91:9-17, 92:02-92:03.

            364.2.   Google documents also described Criteo’s data and targeting ability as a

                     unique competitive advantage. A 2020 Google competitive overview of

                     Criteo noted that Criteo offers numerous ways to target audiences and

                     described Criteo’s “extensive cross-device graph” as part of its value

                     proposition. DTX-961 at 8, 10.

        365.    Demonstrating the success Criteo has had in winning both publisher and advertiser

 business, many of the witnesses who testified at trial partner with Criteo.

            365.1.   Gannett integrates with Criteo using header bidding. 9/9/24 AM Tr. 89:13-15

                     (Wolfe).




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             365.2.   In his work for the advertising agency Universal McCann, Joshua Lowcock

                      used Criteo’s buying tool. 9/9/24 PM Tr. 108:8-19 (Lowcock).

             365.3.   News Corp receives bids from Criteo. 9/10/24 AM Tr. 80:11-12 (Layser).

             365.4.   Cadogan testified that Criteo was “a customer of” OpenX and “bought

                      significant amounts of inventory through the OpenX ad exchange.” 9/17/24

                      PM Tr. 60:13-17 (Cadogan).

             365.5.   Mediavine, a publisher, has a direct connection with Criteo’s demand-side

                      platform and uses Criteo’s ad exchange.            9/25/24 PM Tr. 179:1-9

                      (Hochberger).

             365.6.   Vox receives bids from Criteo via header bidding. 9/27/24 AM Tr. 19:24-

                      20:1 (Pauley).

             365.7.   Zulily uses Criteo as a buying tool to place ads. 9/27/24 AM Tr. 27:8-14,

                      28:14-19 (Bumpers).

        F.      The Trade Desk

        366.    The Trade Desk offers a demand-side platform that advertisers use to purchase

 advertising. 9/11/24 PM Tr. 87:21-88:6 (Dederick).

        367.    In 2022, The Trade Desk also launched a supply-path optimization tool known as

 “OpenPath.”

             367.1.   The Trade Desk enters into direct agreements with publishers in order to

                      provide a “direct line” from an advertiser to a publisher ad server that creates

                      “a more efficient supply chain for advertisers.” 9/11/24 PM Tr. 116:11-117:4

                      (Dederick); 9/12/24 PM Tr. 46:3-14 (Dederick).

             367.2.   Advertisers using OpenPath can therefore “bypass an exchange.” 9/11/24 PM

                      Tr. 116:11-117:4 (Dederick); see also 9/12/24 PM Tr. 40:4-9 (Dederick)


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                     (“OpenPath is the Trade Desk’s capability to plug directly into, typically, a

                     publisher ad server, bypassing an exchange.”).

            367.3.   The Trade Desk has direct partnerships with several publishers through

                     OpenPath, including Reuters, The Washington Post, Gannett, USA Today,

                     Condé Nast, Buzzfeed, the L.A. Times, and Forbes. 9/12/24 PM Tr. 45:11-

                     24 (Dederick).

        368.    According to The Trade Desk’s Chief Revenue Officer, The Trade Desk is one of

 the “two most commonly used demand-side platforms” today. 9/11/24 PM Tr. 96:8-12 (Dederick);

 see also 9/9/24 AM Tr. 131:24-132:7 (Casale).

        369.    In recent years, The Trade Desk has experienced significant growth. Between 2020

 and 2021, The Trade Desk’s stock “more than tripled” in value. DTX-1053N at 2 (2021 Google

 competitive analysis). In its 2022 10-K filing, The Trade Desk reported a revenue increase of $381

 million, or 32%, from 2021. DTX-1484 at 49. As recently as August 2024, The Trade Desk

 reported comparable revenue gains. 9/12/24 AM Tr. 163:3-17 (Dederick).

        370.    The Trade Desk attributes its growth to its investments in rising ad formats and

 channels, such as Connected TV and digital audio ads. 9/12/24 AM Tr. 165:23-166:9 (Dederick)

 (“Our investments in these separate channels are driving top-line revenue growth.”); see also

 9/12/24 AM Tr. 163:11-165:22 (Dederick) (The Trade Desk told investors that it “will continue to

 outpace the market in the years to come led by areas such as Connected TV” and that “connected

 television has been a key growth driver for our company”); DTX-1053N at 7 (2021 Google

 competitive analysis noting that “TTD has an advanced CTV offering for reach and measurement,

 including access to some exclusive inventory”).




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        371.   In pitch documents, the Trade Desk positions itself as a scaled, global industry

 leader in display advertising. DTX-319A at 11 (2016 The Trade Desk response to a Request for

 Proposal); see also 9/12/24 PM Tr. 21:15-22:9 (Dederick) (“Q. And so one of the things that you

 emphasize in your pitch document is the scale of your company, correct? A. Yes.”). The Trade

 Desk touts “over 20,000” advertiser partners “extending throughout North America, South

 America, Europe, Australia, the Middle East, North Africa and Asia.” DTX-319A at 11. It

 describes itself as the “fastest growing demand-side platform in the industry” offering “best-in

 class technology to manage cross channel advertising campaigns in display, video, social and

 mobile.” DTX-319A at 11.

        372.   Further demonstrating The Trade Desk’s success, multiple advertisers, advertising

 agencies, and publishers testified at trial about their partnerships with The Trade Desk and the

 importance of The Trade Desk as a source of advertiser demand.

            372.1.   The e-commerce retailer Zulily partners with The Trade Desk to purchase

                     advertising. 9/27/24 AM Tr. 27:8-14 (Bumpers).

            372.2.   Federal agency advertisers, including the U.S. Navy and the U.S. Postal

                     Service, use the Trade Desk to purchase ads programmatically. DTX-2532;

                     9/19/24 AM Tr. 26:5-11 (Simcoe).

            372.3.   The Goodway Group, an advertising agency, has a certified partnership with

                     The Trade Desk through which small- and medium-sized businesses can use

                     The Trade Desk’s demand-side platform. 9/10/24 PM Tr. 36:8-20, 37:13-

                     39:12 (Friedman).




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           372.4.   The advertising agency Universal McCann used The Trade Desk’s buying tool

                    to purchase Connected TV, banner, native, social media, and video ads.

                    9/9/24 PM Tr. 107:10-19, 107:22-108:7 (Lowcock).

           372.5.   The Trade Desk and DV360 “are the two largest buyers of Mediavine

                    inventory.” 9/25/24 PM Tr. 174:3-7 (Hochberger). Advertisers can also use

                    OpenPath to place ads on Mediavine’s owned-and-operated inventory and on

                    inventory owned by the third-party publishers that partner with Mediavine.

                    9/25/24 PM Tr. 179:16-180:3 (Hochberger).

           372.6.   Buzzfeed works directly with demand-side platforms and considers the Trade

                    Desk a “big partner.” Deposition of Ken Blom Tr. at 123:10-24. Buzzfeed

                    tries to sell as much ad inventory to the Trade Desk as it can. Id. (Blom).

           372.7.   The Trade Desk is “one of” the Disney ad exchange’s “largest sources of

                    demand.” 9/17/24 PM Tr. 125:16-23 (Helfand).

           372.8.   The retailer giant Walmart partners with the Trade Desk to power a demand-

                    side platform in conjunction with Walmart’s retail media network “Walmart

                    Connect.” 9/25/24 PM Tr. 54:24-55:20 (Stewart).

        373.   Plaintiffs exclude The Trade Desk from their alleged markets because it offers a

 demand-side platform, 9/26/24 AM Tr. 39:12-40:19 (Israel), but The Trade Desk views both of

 Google’s buying tools—DV360 and Google Ads—as among its primary competitors. DTX-1484

 at 13 (2022 The Trade Desk 10-K stating that “we compete with other demand-side platform

 providers,” such as “Google and Adobe”); 9/11/24 PM Tr. 165:4-6 (Dederick). The Trade Desk

 has, for example, conducted competitive analyses of Google Ads and its features. 9/12/24 PM Tr.

 14:3-24 (Dederick). And, as The Trade Desk representative was forced to acknowledge, The Trade




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 Desk directly competes with Google Ads when they submit bids into AdX for the same auctions.

 9/11/24 PM Tr. 107:13-15, 146:22-148:14 (Dederick).

        374.   Internal Google documents and Google witness testimony identified The Trade

 Desk as a significant competitor to Google’s buy-side business, including to Google Ads.

            374.1.   When Stewart, a Vice President at Google responsible for many of Google’s

                     advertising partnerships, was asked about Google’s competition from

                     “companies that offer buying tools for display ads,” he named The Trade Desk

                     first. 9/25/24 PM Tr. 26:16-18, 66:3-10 (Stewart). Stewart described The

                     Trade Desk as “a very big DSP” that works “with a lot of partners” such as

                     many retail media networks like Walmart’s. Id. at 54:24-55:15, 66:3-20

                     (Stewart). Google prepares competitive analyses of The Trade Desk. Id. at

                     66:21-23 (Stewart).

            374.2.   Sheffer, Google’s Vice President for Global Partnerships Sell-Side

                     Monetization, testified that even his sell-side team routinely tracks The Trade

                     Desk’s earnings calls to understand “their strategic” and “technical direction,”

                     which gives Google a sense of where to “focus” or “double” its “efforts.”

                     9/20/24 PM Tr. 87:23-89:8 (Sheffer). After the CEO of The Trade Desk made

                     comments about Google as a competitor on a recent earnings call, Sheffer

                     instructed his team to “find a way to show up better in the marketplace to

                     compete more effectively with The Trade Desk” and used the comments as a

                     “vehicle to try to get more resources” from Google’s senior leadership. Id. at

                     92:3-13 (Sheffer).




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            374.3.   An internal Google presentation from June 2019 named The Trade Desk as

                     one of the primary reasons Google Ads was losing market share. Google

                     believed it was “Losing share in US Display market overall and to key

                     competitors” Meta and “TTD,” “primarily driven by GDA” (Google Ads).

                     DTX-733 at 3, 5; see also 9/25/24 PM Tr. 59:19-60:6 (Stewart) (“we

                     recognized we were losing share to Facebook and to the Trade Desk” and “the

                     losses were primarily coming from” Google Ads).

            374.4.   A 2021 “Competitive Overview” deck of The Trade Desk noted that, in 2020,

                     Google “lost $510M to” The Trade Desk, “with another $1.4B at risk.” DTX-

                     1053N at 3. Google estimated that post 2020, an additional “         is at risk.”

                     DTX-1053N at 3. Google observed that customers choose The Trade Desk

                     over Google because of The Trade Desk’s Connected TV offerings and

                     Google’s more stringent “targeting limits,” such as pharmaceutical and

                     gambling. DTX-1053N at 4; see also 9/25/24 PM Tr. 67:20-69:2 (Stewart).

        375.    Other ad tech providers also recognize The Trade Desk as a competitor with unique

 advantages that competes with the products included in Plaintiffs’ asserted “advertiser ad network”

 market.

            375.1.   In public filings, Criteo—which, according to Plaintiffs, offers an “advertiser

                     ad network”—represents that it competes with The Trade Desk. DTX-1420

                     at 29 (2022 Criteo 10-K: “We currently compete with large, well-established

                     companies, such as Amazon, Meta Platforms, Google, and Microsoft, pure

                     play Demand-Side Platforms (‘DSPs’),” such as The Trade Desk); Deposition

                     of Todd Parsons Tr. 75:11-75:13, 75:15, 92:4-9 (“Q. And does it remain true




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                   today that Criteo competes with demand-side platforms, including the Trade

                   Desk? A. Yes, that is true.”).

          375.2.   In a 2022 “Future of Advertising” slide deck depicting the “buy-side

                   competitive landscape,” Microsoft noted that Google’s “share is being

                   threatened by” The Trade Desk. DTX-1282A at 47. According to Microsoft,

                   The Trade Desk is “digitally-focused with success as alternative to walled

                   gardens based on CTV capabilities and leading service” and “positioned for

                   growth through priority access to leading CTV inventory from Amazon, social

                   video from TikTok, and preferred treatment from a number of publishers /

                   media owners.” DTX-1282A at 47.

          375.3.   Meta Audience Network competes with The Trade Desk for advertising spend.

                   9/26/24 PM Tr. 153:25-154:8 (Farber) (an “advertiser will go and put their

                   dollar either into the Trade Desk” “or to Audience Network”).




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 III.   Plaintiffs’ Market Definitions Ignore the Commercial Reality that Ad Tech Tools
        Match Advertisers to Users Viewing Ads on Publishers’ Digital Properties; As a
        Result, Plaintiffs Fail to Account for the Effective Area of Competition.

        376.    Plaintiffs allege that Google has monopolized three separate markets for ad tech

 tools that were tailor-made for this case: (1) “publisher ad servers for open-web display

 advertising”; (2) “ad exchanges for indirect open-web display advertising”; and (3) “advertiser ad

 networks for open-web display advertising.” First Am. Compl., ECF No. 120 (“FAC”) ¶¶ 282,

 290, 297, 310-335. According to Plaintiffs, of Google’s ad tech tools, only DFP is in the first

 market, only AdX is in the second, and only Google Ads is in the third. Plaintiffs’ Demonstrative

 I.

        377.    Plaintiffs define these made-for-litigation markets based on whether the products

 within them transact “open-web display advertising.” 9/19/24 PM Tr. 45:13-46:1 (Lee). Plaintiffs’

 market definition expert, Professor Lee, defined “open-web display advertising” specifically for

 this case: (1) traditional banner ads (not “native” ads or “instream video” ads); (2) that appear on

 websites (not in apps or on Connected TV); (3) operated by publishers that use third-party ad tech

 tools, i.e., tools that are not owned by the publisher itself (not ad tech operated by major

 competitors like Meta (f/k/a Facebook), Amazon, and TikTok). 9/19/24 PM Tr. 51:11-52:2 (Lee);

 9/20/24 AM Tr. 48:5-25, 77:22-78:6 (Lee). This gerrymandered definition and its exclusions, laid

 out below in Abrantes-Metz DX 1, carve out many of the channels where users primarily view

 digital content in the real world.




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        378.    Professor Lee expressed no opinion as to “whether there are antitrust markets for

 publisher ad servers, ad exchanges, and advertiser ad networks generally without” the limitation

 that they can transact “open-web display ads.” 9/20/24 AM Tr. 62:4-24 (Lee).

        379.    Nor has Professor Lee defined a market for “open-web display advertising” itself.

 9/19/24 PM Tr. 52:3-11 (Lee); 9/20/24 AM Tr. 31:16-21 (Lee) (“I’m not expressing an opinion on

 a relevant market comprising advertisements themselves.”).

        380.    Professor Lee defined markets only for specific ad tech tools that are “capable of

 transacting open-web display ads.” 9/20/24 AM Tr. 62:10-19 (Lee). But, as explained below, no

 tool transacts solely “open-web display advertising.” All ad tech tools are multi-functional,

 transacting in multiple ad formats and channels that industry participants view as reasonable

 substitutes. Plaintiffs ignore those other functions.




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        381.    By defining their markets in this artificial way, Plaintiffs exclude channels and

 formats for display advertising, and the tools used to transact them, that impose significant

 competitive constraints on Google’s ad tech. In particular, Plaintiffs exclude the channels where

 digital content consumers now spend most of their time: social media, retail media, mobile apps,

 and Connected TV. 9/26/24 AM Tr. 43:20-44:19 (Israel); DX-1833 (Israel Figure 12: U.S. Adult

 Internet Users’ Fraction of Time Spent with Non-Social, Non-Video Content Accessed via a

 Desktop, Laptop, or Mobile Browser, 2010-2022). Those exclusions leave out the most vibrant

 competition happening in the ad tech industry. 9/26/24 AM Tr. 39:12-40:19 (Israel). Plaintiffs

 also exclude ad formats that appear on “open-web” websites but are not traditional banner ads,

 such as instream video and native ads. Id. at 38:19-39:11, 82:3-21 (Israel).

        382.    Professor Lee’s market share calculations do not conform to his market definitions.

 Professor Lee says that the markets are for tools (not ads or transactions), but his market share

 calculations are based on the number of impressions or associated fees for “open-web display ad”

 transactions. 9/19/24 PM Tr. 90:14-91:11, 119:15-20 (Lee); PTX-1243A; 9/20/24 AM Tr. 31:22-

 32:7, 41:13-42:3, 71:16-23 (Lee); PTX-1237A; PTX-1265A.            Professor Lee’s market share

 calculations are thus based on distinguishing types of advertisements, but Professor Lee declined

 to opine on substitution between types of advertisements by saying that his markets are defined

 based not on ads or transactions, but ad tech tools. 9/20/24 AM Tr. 31:22-32:7, 33:12-20 (Lee).

        383.    For their ad exchange and “advertiser ad network” markets, Plaintiffs also exclude

 from their market share calculations any direct transactions between advertisers and publishers,

 even though, as explained below, both advertisers and publishers substitute between direct and

 indirect transactions. 9/26/24 AM Tr. 88:24-89:12 (Israel).




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        A.      Ad Tech Tools Are Multi-Functional and Do Not Solely Serve and Transact
                “Open-Web Display Ads.”

        384.    Plaintiffs’ experts acknowledge that all of the tools in Plaintiffs’ proposed markets

 transact in more than “open-web display advertising,” including in different channels such as

 mobile apps and Connected TV and in different formats such as instream video and native.

             384.1.   Professor Lee acknowledged that publisher ad servers, including DFP, can

                      serve display ads other than “open-web display ads,” including video and in-

                      app ads. 9/19/24 PM Tr. 62:20-24 (Lee).

             384.2.   Professor Weintraub, who has significant experience teaching about and

                      advising in the display advertising industry, is not aware of any tools exclusive

                      to “open-web display advertising.” 9/16/24 PM Tr. 5:12-24, 46:17-20, 47:6-

                      10 (Weintraub); PTX-1779 at 5.

        385.    Plaintiffs even exclude from their relevant markets competing tools that are more

 focused on serving “open web” inventory, such as Google’s AdSense and header bidding tools

 like Amazon TAM, Amazon UAM, and Prebid. 9/20/24 AM Tr. 27:1-24, 44:13-19 (Lee); see

 9/20/24 PM Tr. 65:2-10 (Sheffer) (these tools are “dominantly web-focused”).

        386.    Google’s ad tech tools, including the ones at issue in this case, transact in many ad

 formats and channels, including banner, native, and instream and outstream video ads on “open

 web” and “closed web” websites, apps, and Connected TV. 9/20/24 PM Tr. 64:22-66:25 (Sheffer)

 (tools are “definitely multi-functional” as they transact banner, video, audio, digital out-of-home,

 Connected TV).

             386.1.   DV360 and Google Ads purchase ads in multiple channels and formats. DTX-

                      1514 at 39, 50 (2023 Google presentation: “DV360 access is available over

                      multiple formats, including . . . display, native, in-app ads, CTV, video, . . .



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                    and audio.”); 9/9/24 PM Tr. 106:7-24 (Lowcock); 9/10/24 PM Tr. 24:15-23

                    (Friedman); 9/23/24 PM Tr. 128:16-129:8 (Hardie); 9/11/24 AM Tr. 43:10-

                    16 (Bender); 9/17/24 AM Tr. 106:17-107:1 (Jayaram). Both buying tools can

                    also be used to purchase ads on Google’s “closed web” properties, such as

                    YouTube.      9/20/24 PM Tr. 64:17-20 (Lee); 9/11/24 PM Tr. 97:25-98:5

                    (Dederick).

           386.2.   Google Ad Manager supports text, banner, native, instream and outstream

                    video, and audio ads appearing on the web, in-app, on Connected TV, and in

                    digital out-of-home. 9/20/24 PM Tr. 65:11-24, 66:13-23 (Sheffer); 9/10/24

                    PM Tr. 25:9-11 (Friedman). DFP is not “just about ads on web pages.” It

                    also serves ads “into mobile environments,” “video ads,” “rich media ads,”

                    and more. 9/16/24 AM Tr. 91:8-24 (Mohan); 9/20/24 PM Tr. 60:2-5, 65:11-

                    24 (Sheffer).

           386.3.   For example, Google Ad Manager serves in-app ads and thus competes for

                    customers against sell-side tools that serve only in-app advertising. E.g.,

                    DTX-1169 at 2 (2021 Google document describing effort to win the business

                    of a publisher that used GAM only for video and audio ads, and was

                    considering shifting its “display business” from MoPub, an in-app sell-side

                    platform, to GAM).

               1.     The Industry Recognizes the Value of Offering Multi-Functional Ad
                      Tech Tools.

        387.   From the beginning of its display advertising business, Google has built multi-

 functional ad tech tools to meet customer demands.




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            387.1.   As Neal Mohan testified, as early as the DoubleClick acquisition, Google’s ad

                     tech solutions “had to work seamlessly across” different ad formats and

                     channels because those ads “were interchangeable in the minds of advertisers,

                     and therefore, had to be capabilities that publishers were able to offer to their

                     advertiser clients.” 9/16/24 AM Tr. 72:10-73:1 (Mohan).

            387.2.   As early as January 2009, Google’s stated goal was thus to “Support all

                     formats.” DTX-37 at 6 (email from Mohan stating that “we need to be able

                     to deliver on this platform, exchange, network vision across all formats”).

        388.    The multi-functionality of tools is a competitive advantage because advertisers and

 publishers derive unique benefits from multi-functionality.

            388.1.   The Microsoft corporate representative explained that ad tech providers need

                     to offer advertisers “a diverse set of publishers, of inventory, of formats”

                     because advertisers are looking for multiple types of supply to reach their

                     target audience. 9/20/24 PM Tr. 159:10-160:12 (John).

            388.2.   One benefit of a multi-functional buying tool for advertisers is cross-channel

                     frequency capping. Frequency capping limits the number of times an ad is

                     shown to the same user across multiple screens and formats, which makes

                     advertising more efficient and saves advertisers money. DTX-1214 at 20

                     (2022 Google business partnership presentation explaining how cross-channel

                     frequency capping in DV360 helped the Army save $2.4M annually and

                     increase reach efficiency by 23%); DTX-1429N at 10 (2022 Google business

                     partnership presentation identifying $100K savings from two weeks of




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                     frequency capping); DTX-1499 at 30 (2023 GroupM advertising agency

                     recommendation describing benefits of frequency capping).

            388.3.   A 2023 deck produced by an advertising agency recommended that

                     advertisers consolidate ad buying into The Trade Desk in order to “increase

                     channel connectivity,” “driving benefits across multiple channels” such as

                     Connected TV, audio, display, and digital out-of-home advertising. DTX-

                     1499 at 16. The benefits to advertisers of buying across channels from one

                     tool include “more comprehensive frequency control,” “greater reach,” and

                     “more fluidity in budget allocation.” DTX-1499 at 16.

            388.4.   Likewise, publishers “don’t want only one specific type of demand” to place

                     ads on their property. 9/20/24 PM Tr. 159:10-160:12 (John). Publishers can

                     own properties in many digital environments and want tools that enable them

                     “to offer all of these different types of display inventories to their advertisers.”

                     9/16/24 AM Tr. 91:8-24 (Mohan).            For example, Google Ad Manager

                     advertises that it is a suitable solution for publishers that are seeking “a central

                     place to monetize all of your inventory types (websites, mobile apps, videos,

                     or games).” PTX-1144 at -001 (Google Ad Manager help page). BidSwitch,

                     an ad tech provider now owned by Criteo, planned to integrate its ad tech

                     “across multiple apps and sites” precisely because publishers want to “cross-

                     promote their titles” across channels.        DTX-1544A at 17 (2023 future

                     planning document).

        389.   Multi-functionality is also important to ad tech tools seeking to interoperate with

 other tools. According to a representative of The Trade Desk, AdX “has to have functionality with




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 respect to” multiple ad formats and channels, including static banner ads, outstream video ads,

 instream video ads, and native ads, “in order to receive the bids from The Trade Desk.” 9/11/24

 PM Tr. 149:21-150:4, 150:24-151:4 (Dederick). When it bids on AdX, The Trade Desk bids on

 website ads, app ads, Connected TV ads, static banner ads, native ads, instream video ads, and

 outstream video ads. Id. at 148:15-149:3, 149:21-150:4 (Dederick).

        390.    Consistent with the value of multi-functional tools, no buy-side witness testified

 that they use ad tech tools to purchase only “open-web display advertising” or that they consider

 which tools to use based only on their ability to transact in “open-web display advertising.”

            390.1.   While at Universal McCann, Lowcock used buying tools such as The Trade

                     Desk and Criteo, which transact Connected TV, banner, native, social media,

                     and video ads. 9/9/24 AM Tr. 107:10-108:19 (Lowcock).

            390.2.   To reach all Americans for the first digital census, the Census Bureau used

                     programmatic tools to transact in video ads, search ads, in-app ads, and other

                     ad channels and formats not included in Plaintiffs’ definition of “open-web

                     display advertising.” 9/23/24 AM Tr. 128:16-129:8 (Hardie); DTX-1030 at 3

                     (2020 Google business partnership document regarding the 2020 Census);

                     9/23/24 PM Tr. 81:12-19, 97:10-18 (Oliphant) (the Census Bureau used

                     programmatic advertising for video, rich media, and banner ads); DTX-629 at

                     37 (2018 Census Media Strategy presentation).

            390.3.   Caldwell, the owner of a small business advertiser, testified that her business

                     uses Google Ads to run banner ads, native ads, and instream video ads.

                     9/25/24 PM Tr. 5:19-6:11 (Caldwell). She uses the different ad channels and




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                      formats available in Google Ads because “they allow us to reach the broadest

                      audience as possible.” 9/25/24 PM Tr. 5:19-6:2 (Caldwell).

                2.      Ad Tech Tools Compete Based on Their Multiple Functionalities.

        391.    Contemporaneous documents show that, for years, Google has competed by

 building functionality for ads other than traditional website banner ads on the very same products

 Plaintiffs include in their asserted markets.

            391.1.    By 2010, Google had expanded beyond “a network that served text ads and a

                      few types of display banners to one that supports nearly every format relevant

                      for users—graphical ads, video formats, rich media, mobile, feeds,

                      expandables, and even online streaming audio ads.” DTX-59 at 2 (2010

                      Mohan email describing goals for display ads business in the new year); id. at

                      3 (“Make sure we do for video what we have done for the rest of display

                      advertising. Video is one of the fastest growing parts of the display ad

                      industry.”).

            391.2.    In 2011, Google was working to “provide the first multi-format exchange that

                      supports not only traditional online display formats, but provides

                      comprehensive support for in-stream video, expandable, and mobile formats.”

                      DTX-76 at 8 (2011 Mohan email describing goals for the new year); id. at 5

                      (“Display does not just mean graphical ads for our publishers—it includes

                      mobile and video.”).

            391.3.    In 2012, Google described AdX as a “huge win for [Google’s] publishers and

                      advertisers” because it is a “cross-channel offering in the market—supporting

                      desktop, mobile and video.” DTX-101 at 3 (2012 Mohan email describing

                      goals for the new year). Another of Google’s goals was to offer “an integrated


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                   platform to maximize publishers’ advertising revenue,” including to “support

                   all channels and formats seamlessly,” including “mobile and video.” DTX-

                   101 at 5.

          391.4.   “At the outset of 2014,” one of Google’s “key big bets” in the display ads

                   business was to “build for the always-connected consumer (multi-screen, local,

                   mobile apps).” DTX-211 at 1 (2014 Mohan mid-year check in email).

          391.5.   In 2014, an AdSpam strategy document stated that “the advertising world

                   moves quickly, and we are racing to offer new ad formats and new ad solutions

                   that can cater to the important opportunities that lie ahead in mobile, display,

                   and video.” DTX-214 at 1.

          391.6.   An April 2016 product prioritization document stated that the mission of

                   Google’s sell-side products (DFP and AdX, or “DRX”) was to “give

                   publishers one platform for all screens,” including “mobile app and web made

                   easy” and helping “publishers navigate TV’s shift to digital.” DTX-308 at 5.

          391.7.   A document titled Programmatic Big Bet 2017 Product and Business Strategy

                   stated that Google was working to “drive adoption of native and outstream

                   formats across all screens.” DTX-371 at 1.

          391.8.   A competition strategy document from 2017 indicated that, to compete

                   effectively against AppNexus, Google’s messaging should be that

                   “DoubleClick is the proven solution in market that can seamlessly support ad

                   serving and yield management across mApp [mobile apps] and desktop.”

                   DTX-406 at 22.




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         392.     Google’s tools are also competitively advantaged by offering ads excluded from

 Plaintiffs’ markets because they appear on Google’s owned-and-operated properties.                 A

 representative of The Trade Desk acknowledged that the various advertising formats supported by

 Google’s tools—including ads that appear on Google’s “closed web” properties, such as YouTube

 and Search—offer unique benefits to Google’s customers. 9/11/24 PM Tr. 99:11-100:5; see also

 id. at 102:9-19 (Dederick) (“The combination of having all of the associated metadata from the

 publisher side, from the search side, and having the placement as the publisher ad server and ad

 exchange, it just—it gives tremendous advantage to buying and placing online display ads if you’re

 working directly with Google.”).

         393.     In addition to supporting multiple channels and formats, Google’s tools also enable

 advertisers to automatically change the size and format of their creatives, such as the words and

 text that appear in an ad, so that advertisers can easily shift the same creatives across ad formats

 at little to no cost.

              393.1.     For example, Google can help an advertiser “turn their video essentially from

                         being horizontal to vertical,” from a traditional banner ad to a video ad, or

                         from a video ad to a banner ad. 9/25/24 PM Tr. 37:19-24 (Stewart).

              393.2.     Google Ads also offers Performance Max, an AI tool that automatically

                         creates ads and optimizes ad buying channels and formats on behalf of

                         advertisers. Supra ¶¶ 289-294.

         394.     Similarly, Google’s competitors not only support different ad formats and channels,

 but recognize that multi-functional tools add particular value for customers who want to manage

 “omnichannel,” or “cross-channel,” advertising using one centralized tool. 9/23/24 PM Tr.

 143:25-144:24 (John) (“An omnichannel DSP or campaign is where a buyer can buy multiple




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 formats through one DSP.”); 9/10/24 PM Tr. 26:15-27:6 (Friedman); 9/19/24 AM Tr. 126:24-

 127:9 (Bellack) (publishers were “increasingly looking for solutions that could help them across”

 web, apps, video, and “many different technology platforms”). In other words, part of the

 competitive advantage of multi-functional ad tech tools is their ability to transact ads other than

 “open-web display ads.”

            394.1.   The Trade Desk:

                           394.1.1. The Trade Desk’s DSP “tries to plug into all available ad

                                    formats.”     9/11/24 PM Tr. 121:14-22 (Dederick) (“So

                                    connected television is a major channel for The Trade Desk.

                                    Digital audio, digital out-of-home, mobile display ads, mobile

                                    video, online video are some of the channels that we operate

                                    in.”).

                           394.1.2. When The Trade Desk pitches against other companies in the

                                    market, it talks “frequently about being able to buy across

                                    multiple channels,” including display and Connected TV.

                                    9/12/24 PM Tr. 19:18-20:1 (Dederick).

                           394.1.3. A 2016 pitch made by The Trade Desk to a large global brand

                                    highlighted its offering of “technology to manage cross

                                    channel advertising campaigns in display, video, social and

                                    mobile,” not just campaigns focused on only one form of

                                    advertising. DTX-319 at 11. As The Trade Desk stated, the

                                    breadth of ad channels and formats it serves has driven

                                    “massive success in the US and Canada for paid media across




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                                display, video, mobile, cross-device, and Connected TV.” In

                                particular, “our ability to buy inventory across multiple

                                channels at scale, and all over the globe positions us as a leader

                                in the space and an ideal DSP for large global brands.” DTX-

                                319 at 11; 9/12/24 PM Tr. 20:19-22:14 (Dederick).

                       394.1.4. The Trade Desk’s 2022 10-K filing stated: “Our platform

                                allows clients to execute integrated campaigns across ad

                                formats and channels, including video (which includes

                                connected TV (‘CTV’)), display, audio, digital out-of-home,

                                native and social, on a multitude of devices, such as computers,

                                mobile devices, televisions and streaming devices.” DTX-

                                1484 at 7; see also 9/10/24 PM Tr. 35:7-36:7 (Friedman) (The

                                Trade Desk provides complete access through “comprehensive

                                cross channel digital buys,” such as digital out of home, audio,

                                native, Connected TV, mobile, and display). “What this means

                                is, if a client has creative assets available across different

                                channels, they can use them in the same platform.” 9/12/24

                                PM Tr. 27:12-28:13 (Dederick).

          394.2.   Microsoft (including AppNexus and Xandr):

                       394.2.1. A Google competitive analysis deck from 2017 noted that one

                                of AppNexus’s strengths is that it will “shift resources and

                                focus between features at any given moment,” including




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                              among traditional banner, mobile, and video functionalities.

                              DTX-406 at 14.

                    394.2.2. An AppNexus slide deck described as a competitive advantage

                              of its ad server “efficient campaign management across screens”

                              that manages “desktop, mobile, and video ad serving

                              seamlessly in one platform.” DTX-1487 at 25.

                    394.2.3. Microsoft describes its integrated ad tech stack as “one of the

                              world’s largest marketplaces,” with an “expansive” advertising

                              ecosystem that reaches over one billion users “across different

                              audiences and different formats,” including through “display,

                              audio, video,” “CTV, gaming, shopper marketing and native.”

                              DTX-1756 at 2 (Xandr webpage describing its ad tech

                              offerings); DTX-1384 at 2 (2022 “Xandr in Microsoft Product

                              Synergy Slides”); 9/23/24 PM Tr. 140:10-142:3 (John).

                    394.2.4. Microsoft highlights that its publisher ad server, Xandr, serves

                              “all channels and ad formats (Display, Mobile, Native, Video).”

                              DTX-1524 at 14 (2022 “Welcome to Microsoft Advertising”

                              slide deck).   Xandr’s “full publisher suite” enables it “to

                              holistically serve publisher needs for monetization and

                              technology across inventory types.” DTX-939 at 1 (June 2020

                              document describing Xandr’s ad tech products).

                    394.2.5. Post Xandr acquisition, Microsoft developed a “Meta DSP.”

                              Supra ¶ 319.      Microsoft advertises that the Meta DSP




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                                 “provides an easy way to run omnichannel campaigns using

                                 premium inventory and exclusive data,” across search, display,

                                 native, video, CTV, digital out-of-home, traditional TV,

                                 gaming, audio, and social ads. DTX-1288 at 11.

          394.3.   Criteo:

                       394.3.1. Criteo’s 2022 10-K filing emphasized that Criteo’s solutions

                                 support much more than just “open-web display advertising”:

                                 “Criteo’s solutions work seamlessly across digital devices

                                 (desktops, laptops, smartphones and tablets), commerce and

                                 advertising environments (browsers, apps, connected TV, and

                                 physical retail stores), . . . advertising channels and formats

                                 (display, including social and native, online video, connected

                                 TV and ads on retailers’ properties), and media environments

                                 (retail media, thousands of direct publishers and mobile app

                                 developers in the open Internet, and all major real-time bidding

                                 exchanges).” DTX-1420 at 13.

                       394.3.2. A 2023 BidSwitch (now part of Criteo) forward planning

                                 document stated that Criteo’s “omnichannel performance

                                 agenda” was a competitive advantage and reason to “align as

                                 closely as possible to Criteo’s plans and strategy.” DTX-

                                 1544A at 8.

          394.4.   OpenX: In a 2017 competitive analysis document, OpenX listed the devices

                   and ad formats that various competitors, including Google, Rubicon, Index




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                   Exchange, PubMatic, AppNexus, and One by AOL, support. DTX-384 at 9.

                   According to OpenX’s analysis, those competitors “compete across devices,

                   screens, and formats.” 9/17/24 PM Tr 98:13-14, 98:21-99:4 (Cadogan). In

                   addition, OpenX’s analysis was not limited to competitors that can support

                   desktop ads. OpenX also evaluated MoPub as a competitor, even though

                   MoPub only transacts mobile ads. DTX-384 at 9.

          394.5.   PubMatic: PubMatic represented in an investor earnings call that it transacts

                   banner, native, and video ads in desktop and mobile web, in apps, and on

                   Connected TV. 9/12/24 PM Tr. 124:17-125:5 (Goel); Goel DX 1. In addition,

                   PubMatic wrote in its 10-K filing that it has “global omni channel scale,”

                   using the word “omni channel” to highlight the fact that PubMatic is able to

                   transact across many different ad formats and channels. 9/12/24 PM Tr.

                   136:12-23 (Goel).

          394.6.   Kevel: Kevel represents to its publisher customers and potential customers

                   that they can use Kevel’s ad server to serve many different types of ads,

                   including banner, video, and native ads appearing on websites, in mobile apps,

                   and in digital-out-of-home environments. 9/9/24 PM Tr. 156:5-23 (Avery).

          394.7.   Index Exchange: Publishers can use Index Exchange to sell web ads, in-app

                   ads (including video ads), and Connected TV ads. 9/9/24 PM Tr. 40:12-24

                   (Casale).

          394.8.   Equativ: Equativ advertises that its integrated stack enables “any format,”

                   including display, video, native, and rich media, and “any environment,”




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                      including desktop, mobile web, mobile app, and Connected TV (OTT). PTX-

                      1674 at -015 (2023 Equativ presentation of its products).

                3.      Plaintiffs’ Market Definition Expert Has Not Analyzed Competition
                        Among Ad Tech Tools Taking Into Account the Multi-Functional
                        Nature or Quality of the Tools.

        395.    Although any markets based on ad tech tools involve competition among multi-

 functional tools, Plaintiffs’ expert Professor Lee did not analyze that competition. Professor Lee’s

 testimony was devoid of any consideration of how multi-functional ad tech tools compete for

 publishers or advertisers based on the totality of their offerings.

        396.    Professor Lee admitted that the same ad tech tools in his product markets are

 capable of transacting in-app ads, Connected TV apps, and ads on owned-and-operated properties,

 as well as native and instream video ads. 9/20/24 AM Tr. 63:11-15, 64:17-20 (Lee) (tools “have

 those additional functions”). Yet Professor Lee did not analyze the ability of ad tech tools to

 monetize inventory other than “open-web display ads.” Id. at 65:22-66:5 (Lee). Nor did Professor

 Lee know what advertisers considered—including whether they considered the different

 functionalities of a tool—when choosing among ad exchanges. Id. at 68:4-9 (Lee) (“it’s hard to

 definitely state everything they consider or don’t consider”).

        397.    Professor Lee’s sole justification for his failure to analyze competition among the

 full range of ad tech functionality was to compare transactions in “open-web display ads” and, as

 an example, in-app ads to a gas station’s sale of gasoline and potato chips. 9/20/24 AM Tr. 68:16-

 69:4 (Lee). Professor Lee’s analogy was not grounded in any actual analysis or economic

 principles regarding how publishers and advertisers make their choices among ad tech tools based

 on the functionalities they offer. Moreover, the analogy of in-app ads, Connected TV ads, and ads

 on owned-and-operated properties, as well as native and instream video ads, to chips at a gas




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 station is wildly implausible given the importance and economic significance of those types of ads

 and, as explained below, substitution among them. Infra ¶¶ 417-419.

        B.      “Open-Web Display Advertising” as a Basis for Market Definition Was
                Created for This Litigation.

                1.      Industry Participants Do Not Recognize “Open-Web Display Ads” as
                        Defined by Plaintiffs.

        398.    All industry participants who testified to a definition of the term “open-web display

 advertising”—or, more often component parts of that term (because witnesses had never before

 heard those four words strung together)—defined it differently than Plaintiffs do.

             398.1.   Index Exchange: Casale testified that “open-web display advertising” is “not

                      a well-understood defined category. It’s usually ‘open web,’ and then ‘display

                      is separate. Putting them together is just not a common way we speak in ad

                      tech.” 9/9/24 PM Tr. 13:1-14:1 (Casale).

             398.2.   Omnicom: Lambert testified that “display” and “open web display” are just

                      “semantics” because “they’re the same thing.” 9/13/24 PM Tr. 56:24-57:6

                      (Lambert). As he explained, when Omnicom included the word “digital

                      display” in certain documents, the term “display” included ads that Plaintiffs

                      do not consider “open-web display,” such as native ads and ads on owned-

                      and-operated properties like YouTube, Amazon, and social media properties.

                      9/13/24 PM Tr. 51:8-52:1, 55:4-21, (Lambert) (describing DTX-1151 and

                      DTX-1172).

             398.3.   Universal McCann: After testifying that he was familiar with the term and had

                      been for decades based on his work in the advertising industry, Lowcock

                      defined “open-web display advertising” as “advertising that can appear

                      effectively anywhere on the internet” that is not a “walled garden,” but did not


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                   exclude ad formats such as native and instream video ads. 9/9/24 PM Tr.

                   59:25-60:20 (Lowcock).

          398.4.   The Trade Desk: Dederick testified that “open-web display” refers to “a

                   standardized series of ad formats that many of the sort of web publishers rely

                   on.” 9/11/24 PM Tr. 94:19-95:3 (Dederick). Consistent with The Trade

                   Desk’s testimony, Sheffer explained that the industry delivers ads in

                   “industry-standard formats” and sizes, but those formats and sizes are not

                   restricted to “open-web display ads.” 9/20/24 PM Tr. 66:13-67:1 (Sheffer).

                   For example, both native and video ads can also be placed in those “industry-

                   standard formats” and sizes. Id. (Sheffer).

          398.5.   PubMatic: When asked to define a “display ad,” Goel testified that “display

                   ad” refers to a “type of ad that is shown to consumers, typically a banner or

                   graphical ad of some sort”—implying that other, non-banner “graphical” ads

                   like native ads are included. 9/12/24 PM Tr. 70:25-71:14 (Goel).

          398.6.   Goodway Group: Friedman testified that “open-web display advertising” is “a

                   very common term in the industry.” 9/10/24 AM 157:5-14 (Friedman). He

                   then defined “display advertising” as the “squares and rectangles or whatever

                   it may be on web pages, potentially in mobile apps,” reiterating that they are

                   “fixed slots on web pages or apps.” 9/10/24 AM Tr. 133:15-22 (Friedman).

                   Friedman’s definition thus includes native ads and in-app ads, both of which

                   are excluded from Plaintiffs’ definition. When asked how he approaches

                   display advertising “across the web,” Friedman again referred to “websites or

                   apps.” Id. at 135:15-136:2 (Friedman).




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          398.7.   Census Bureau: Oliphant confirmed she does not understand what “open-web

                   display” advertising means and first heard of the term through this lawsuit.

                   9/23/24 PM Tr. 98:10-99:6 (Oliphant) (agreeing “it was not a terminology you

                   used in the course of what you do for your work”).

          398.8.   GroupM: Schiekofer testified that her advertising agency, GroupM, does not

                   use the words “open web,” and interpreted that phrase to refer to “exchanges.”

                   9/17/24 PM Tr. 140:24-141:3 (Schiekofer).

          398.9.   Disney: A Disney business document defined “display” as including

                   “animated or video, image units within articles and stories,” as well as

                   “sponsored logos, pause, and marquee ads” on streaming TV (which Plaintiffs

                   would exclude as instream videos). 9/17/24 PM Tr. 124:1-13 (Helfand).

          398.10. Criteo: Parsons testified that the “open Internet” includes “mobile apps.”

                   Deposition of Todd Parsons Tr. 38:24-39:05. Display advertising consists of:

                   “Visual ads placed on websites, social media networks or apps. They’re

                   typically image, text, or video banner acts that, when clicked on, take a

                   consumer to a website or landing page.” Id. at 64:15-65:9 (agreeing with this

                   definition in a Criteo glossary that includes as “display ads” video ads, native

                   ads, social media ads, and in-app ads, all of which are excluded by Plaintiffs);

                   see also DTX-1700 at 14 (Criteo digital advertising glossary). Parsons also

                   testified that display ads can appear on websites, in mobile apps, on social

                   media including Meta and TikTok, and on Connected TV. Id. at 67:11-19,

                   68:2-25 (Parsons).




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            398.11. Microsoft: John testified that “open-web” refers to “taking the demand and

                     openly making it available for all publishers.” 9/20/24 PM Tr. 146:1-3 (John).

                     That distinction has no relation to whether an ad is served by third-party ad

                     tech.

            398.12. Google:

                          398.12.1. Sheffer, with 18 years of experience on the sell-side, never

                                    heard the term “open-web display advertising” used in the

                                    industry. 9/20/24 PM Tr. 65:25-66:3 (Sheffer).

                          398.12.2. Jayaram, with 12 years of experience on the buy-side first

                                    heard “those four words strung together in exactly that way”

                                    was “while preparing for trial.” 9/17/24 AM Tr. 107:7-13

                                    (Jayaram);    see   also   id.   at   107:16-108:3   (Jayaram)

                                    (understanding of “open web” is “where people have free

                                    access to the content,” as opposed to “paid access or a

                                    subscription access”).

        399.    Some of Plaintiffs’ witnesses testified to differences they perceive between display

 advertising on “open web” websites and so-called “walled gardens,” which by Plaintiffs’ definition

 includes social media and Google’s own properties. Each of the distinctions identified

 demonstrates that different forms of advertising can have particular advantages or disadvantages,

 but not that “open-web display ads” are a “distinct” form of ad for purposes of evaluating

 competition or supporting Plaintiffs’ market definition.

            399.1.   One advertising agency representative testified that Google’s ad tech tools

                     provide distinct value from social media advertising because “the value of




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                    Google’s data” is “applied to either Google’s properties or the open

                    Internet.” 9/10/24 AM Tr. 136:18-137:15 (Friedman). But Plaintiffs exclude

                    from their markets the owned-and-operated sites from which Google

                    purportedly obtains data unique to Google’s tools.

           399.2.   Another advertising agency representative testified that placing social media

                    ads can require distinct assets, such as “short form or video content,” that is

                    not required to place other forms of display advertising. 9/9/24 PM Tr. 66:9-

                    67:9, 67:16-24 (Lowcock). A 2017 Google competitive analysis document

                    shows, however, that the same image can be used to create ads on Facebook

                    and Google Ads. DTX-399 at 28. Demonstrating that the same assets can be

                    used across channels, the advertisements placed by the Census Bureau on

                    Facebook as compared to a general banner ad are nearly identical. DTX-1074

                    at 36-37 (2021 Census report).

               2.     Plaintiffs’ Experts’ Efforts to Define Markets Based Only on the
                      Capability to Transact in “Open-Web Display Advertising” Are
                      Inconsistent with Commercial Realities.

        400.   Nor did Plaintiffs’ experts recognize the term “open-web display advertising” as

 commonly used in the industry.

           400.1.   Professor Lee did not “recall hearing those four words in that order prior to

                    my work on this case.” 9/19/24 PM Tr. 51:22-52:2 (Lee).

           400.2.   Plaintiffs’ expert, Dr. Abrantes-Metz, testified that she did not recall hearing

                    the term “open-web display advertising” before this case, and that the term is

                    “a name that was given to the relevant antitrust market that Professor Lee

                    delineated for this case.” 9/18/24 AM Tr. 70:5-14 (Abrantes-Metz).




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            400.3.   Professor Ravi testified that “open web” referred to “open auction impressions

                     sold on the web,” as distinguished from impressions sold in “closed auctions”

                     that are “closed to a set of private buyers”—a distinction that has no relation

                     to Plaintiffs’ allegations in this case. 9/11/24 PM Tr. 16:18-18:1 (Ravi).

        401.    Despite all the work he performed for this case, Professor Lee offered no evidence

 of industry recognition of ad tech markets for “open-web display advertising.”

            401.1.   Professor Lee testified that he did not recall seeing any industry documents—

                     from Google or any third-party—that used the term “open-web display ads,”

                     much less reported market shares for any market using the term “open-web

                     display ad.” 9/20/24 AM Tr. 69:15-70:9, 71:24-72:2 (Lee).

            401.2.   Professor Lee further testified that he did not know whether, before this case,

                     anyone has ever tried to compute market shares for markets that use the term

                     “open-web display ads.” 9/20/24 AM Tr. 70:5-19 (Lee).

            401.3.   Professor Lee could not recall there being any industry recognition of a market

                     using the term “open-web display advertising.” 9/20/24 AM Tr. 71:24-72:2

                     (Lee).

        402.    Third-party industry and market reports do not refer to markets for “open-web

 display advertising” or provide data for such proposed markets. The market research company,

 eMarketer, a leading source of industry data and analysis on which Plaintiffs’ experts and industry

 participants heavily rely, defines “display ads” far more broadly than Plaintiffs and their experts

 do. eMarketer defines “display ads” to include video, banners, and other rich media ads, and

 specifies that “banners and other” includes “ads such as Facebook’s News Feed Ads and Twitter’s

 Promoted Tweets.” DTX-847 at 18.




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        403.    Contrary to Plaintiffs’ argument, a Google document describing certain inventory

 served with in-house tools as “unaddressable” does not establish a market in “open-web display

 ads.” PTX-657 at -350. The document explicitly included both addressable ads and unaddressable

 ads (such as ads served using proprietary ad tech, including Facebook and Amazon ads) as part of

 the same “market.” PTX-657 at -350 (Google is running ads on “22% of all market, and 51% of

 addressable”); see also 9/20/24 AM Tr. 72:3-73:14 (Lee) (agreeing the “market” being discussed

 includes Facebook and Amazon).

        C.      The Criteria Plaintiffs Presented to Define Their Markets Did Not Support the
                Alleged Markets.

        404.    Professor Lee identified three factors as supporting his market definition analysis:

 direct evidence of market power, distinct features, and industry recognition.            Plaintiffs’

 Demonstrative O.

        405.    Professor Lee’s “direct evidence” of market power for each of his alleged markets

 is discussed further below.

             405.1.   As a general matter, with respect to prices, Professor Lee did no pricing

                      analysis of his own for two of his alleged markets (publisher ad servers and

                      ad networks). 9/20/24 AM Tr. 129:17-130:3, 134:11-135:5 (Lee).

             405.2.   As to the ad exchange market, Professor Lee’s only price analysis was a

                      comparison of the AdX nominal take rate to other exchanges’ nominal take

                      rates showing that AdX’s was higher than some, but not all exchanges’. Infra

                      ¶¶ 627, 1160, 1162-1163. Professor Lee’s analysis of AdX pricing would

                      imply that anytime a firm charges a price higher than the average price of a

                      group of firms, there is direct evidence supporting market definition.




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            405.3.    Other than pricing, Professor Lee’s only other “direct” evidence was the

                      conduct he alleged was anticompetitive: Google not sharing its customers or

                      technology with competitors, which he considered to diminish product quality.

                      9/20/24 AM Tr. 129:17-130:3, 134:11-135:5 (Lee).

        406.    With respect to “distinct products” supporting his market definition analysis,

 Professor Lee relied on product distinctions to exclude certain tools from his markets no matter

 how much evidence there was that an excluded tool posed a competitive threat to publisher ad

 servers, ad exchanges, or “advertiser ad networks.” For example, Professor Lee agreed that header

 bidding was ad tech that enabled publishers to receive real-time bids from one or more exchanges

 running auctions, and that it affects competition in the alleged markets. Infra ¶¶ 555-558. Even

 though, according to Plaintiffs’ witnesses and Google documents, header bidding made Plaintiffs’

 markets “hyper-competitive” and posed a significant threat to products in Plaintiffs’ markets,

 9/9/24 AM Tr. 155:23-156:9 (Casale); supra ¶¶ 202-215; infra ¶¶ 551, 560, Professor Lee

 excluded header bidding from his markets because header bidding was a “different product,

 different functionality than those other products.” 9/20/24 AM Tr. 25:25-26:15 (Lee).

        407.    Professor Lee also claimed that defining markets based on “open-web display

 advertising” was appropriate because “open-web display advertising” is “distinct from other forms

 of advertising.” 9/19/24 PM Tr. 52:12-19 (Lee). According to Professor Lee, when assessing

 whether alternative tools should be included in an antitrust market, whether the ads are “distinct”

 is also relevant because it explains why customers would be willing to pay more than competitive

 prices for the tools used to transact” only those “distinct” ads. Plaintiffs’ Demonstrative O; 9/20/24

 AM Tr. 57:17-24 (Lee); 9/19/24 PM Tr. 52:12-19 (Lee).




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        408.    Professor Lee agreed, however, that products being “distinct” in the minds of

 consumers is insufficient on its own to require that the products be in separate markets. 9/20/24

 AM Tr. 58:4-60:4 (Lee). Professor Lee also agreed that differentiated products can be included in

 the same market. Id. at 60:5-15 (Lee). Professor Lee never explained in his testimony why

 distinctions between the ad tech products here are sufficient to define separate markets. Professor

 Lee did not even study the differences between ad tech products other than isolating whether they

 could transact “open-web display ads.”

        409.    In any event, the evidence presented in this case does not demonstrate that “open-

 web display ads” are “distinct.” Industry participants, including Plaintiffs’ witnesses, rely on a

 concept called the “marketing funnel” to describe how different “media channels and media tactics”

 can serve different purposes in marketing. 9/9/24 PM Tr. 57:11-20 (Lowcock). As Plaintiffs’

 advertising agency witness explained, “at the high end of the funnel, you’re trying to drive

 awareness”; moving down the funnel, “you’re trying to get interest, consideration, and finally a

 decision or a purchase action at the end of it.” Id. (Lowcock).

        410.    Industry participants’ descriptions of the funnel confirm that—aside from search

 ads—other ads can and do serve the same purpose that “open-web display ads” do because they

 are placed in the same places in the funnel.

            410.1.   Media plan recommendations to the Army listed “digital display” as both

                     “mid/lower funnel” and “upper funnel.” Also contained in those categories in

                     the funnel were “online video” and “paid social.” DTX-1151A at 10 (2021

                     Omnicom recommendation to Army); DTX-1172 at 18 (2021 Omnicom

                     recommendation to Army listing “programmatic display” and “paid social” as

                     both “mid funnel” and “low funnel”).




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          410.2.   In its advertising campaign, the Census used multiple ad formats and channels

                   for the “awareness and motivation phase” of its campaign: in-app ads, website

                   ads, and video ads. 9/23/24 PM Tr. 128:22-129:8 (Hardie); DTX-1030 at 3

                   (2020 Google slide deck prepared for Census Bureau).

          410.3.   Farber, lead Product Manager for Meta’s Audience Network testified that

                   social media ads on Meta’s properties serve advertisers across all parts of the

                   funnel. 9/26/24 PM Tr. 149:23-150:12 (Farber).

          410.4.   Omnicom, an advertising agency, testified that “a channel can live in any

                   position in the funnel. They’re not exclusive to one or the other.” 9/13/24

                   PM Tr. 35:22-36:6 (Lambert).

          410.5.   Lowcock testified that, as depicted below, Lowcock DX 2, display and social

                   media serve the same upper-funnel goals of creating awareness and interest or

                   consideration. 9/9/24 AM Tr. 90:1-91:12 (Lowcock) (volunteering without a

                   question pending that they are “imperfect substitutes,” but agreeing that they

                   serve the same goals). Lowcock agreed that native advertising is also an upper

                   funnel advertising tactic. Id. at 103:8-10 (Lowcock).




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            410.6.    Friedman testified that display, advanced TV, online video, and cross-device

                      display all can “support upper funnel goals” of awareness. 9/10/24 PM Tr.

                      12:14-22 (Friedman). He further testified that “there’s no channel that will sit

                      exclusively in one area of the funnel necessarily”; for example, “even

                      connected TV, which is traditionally viewed as upper funnel, can be used as

                      lower funnel, it just depends on the message and the application.” Id. at 132:5-

                      17 (Friedman).

            410.7.    Bumpers testified that advertisers “can use the different—different channels

                      to—at the top of the funnel and the bottom of the funnel.” 9/27/24 AM Tr.

                      35:9-16 (Bumpers).

        411.    In the recent Search trial, the United States relied heavily on the marketing funnel

 to establish that “search ads” are a distinct market because advertisers use search ads to accomplish

 different goals than non-search ads. United States v. Google LLC, 2024 WL 3647498, at *36–38

 (D.D.C. Aug. 5, 2024). In this case, Professor Lee did not refer to the funnel in his direct testimony

 or cite it in support of his market definition other than to distinguish display ads from search ads.

 On cross examination, Professor Lee admitted that his reports stated that marketing research and

 industry participants recognize the marketing funnel. 9/20/24 AM Tr. 52:8-16 (Lee). In his reports,

 he had even relied on—as evidence that “open-web display ads” are “distinct”—a chart from a

 Google document that placed display ads in a different part of the “funnel” (upper funnel) than

 search ads (bottom funnel). Lee DX 2; 9/20/24 AM Tr. 51:25-54:14 (Lee). Yet, at trial, Professor

 Lee refused to give an opinion on the standard representation of the funnel found in documents he

 cited, or to give an opinion on where display ads fall in the funnel. 9/20/24 AM Tr. 53:3-54:14

 (Lee) (“I’m not expressing an opinion generally on where display is.”).




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        412.    If anything, Professor Lee’s own analysis undermines his suggestion that “display

 ads” are distinguishable from other types of ads based on the funnel. A chart that Professor Lee

 prepared outlining the “differences” between ad formats and channels shows that web display,

 instream video, native content recommendation, native social, native sponsored listing, in-app

 display, and in-app instream video ads all have similar characteristics: they can all target users

 based on interests and demographics, and they can all be sold using a CPC cost model. Lee DX 3

 (Lee Figure 79: Summary of key differences between digital advertising types of advertisers);

 9/20/24 AM Tr. 54:23-55:21 (Lee).

        413.    With respect to “industry recognition,” Professor Lee agreed that industry

 recognition is relevant to how a market should be defined and considers evidence like Google

 documents, other industry documents, and public industry sources. 9/20/24 AM Tr. 57:25-58:3

 (Lee). As explained above, there is no industry recognition of “open-web display ads,” as defined

 by Plaintiffs or as identifying a market. Supra ¶ 398.

        D.      Economic Principles Require Examining Evidence of Substitution to Define
                Product Markets, But Plaintiffs’ Markets Ignore Real-World Substitution to
                Exclude the Most Significant Sources of Display Advertising Competition.

        414.    Plaintiffs’ market definitions are flawed for the additional reason that display ad

 spend is substituting away from tools used to transact “open-web display ads” to tools and

 functionalities that are excluded from Plaintiffs’ markets, including tools used to transact in ads

 appearing in apps, on social media, on Connected TV, and on owned-and-operated properties, as

 well as video ads (instream) and native ads.

        415.    To define a relevant product market, economists start from the product at issue—

 here, certain Google ad tech tools—and identify the key competitors that constrain the product’s

 pricing or other business strategies. 9/26/24 AM Tr. 45:23-47:8 (Israel). In order to define the

 universe of key competitors, economists ask: if the firm at issue tries to make its products not work


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 as well, or tries to exercise monopoly power more broadly, with what, if anything, would

 customers—here, advertisers and publishers—substitute. Id. at 47:9-48:4 (Israel).

        416.    The evidence, including real-world data and common sense, shows that advertisers

 and publishers shift their ad spending to follow user attention. 9/26/24 AM Tr. 49:23-50:6 (Israel).

 As explained below, the goal of advertisers is to reach their target users as efficiently as possible,

 and the goal of publishers is to effectively obtain and monetize user attention. Both of those goals

 result in ad spend shifting to where users spend their time consuming digital content.

        417.    The industry has seen user attention shift to the channels and formats excluded from

 Plaintiffs’ proposed markets, and away from the “open-web” and “open-web display ad” inventory.

            417.1.    The fraction of time that adult users spend viewing non-video content on the

                      open web has precipitously declined from 73 percent in 2010 to 23 percent in

                      2022, and the last time users spent more time on traditional non-video

                      websites than on other digital properties, such as mobile apps, social media,

                      or Connected TV, was in 2012. DTX-1833 (based on eMarketer data 13 );

                      9/26/24 AM Tr. 43:18-44:19 (Israel); DTX-629 at 36 (2018 Census strategy:

                      “One of the biggest content consumption trends is the increase in time spent

                      per day with digital video”); DTX-1343 at 46 (2022 Census deck stating video

                      consumption grew from 47% to 69.8% amongst Americans between 2010 and

                      2018).



 13
   eMarketer is a standard industry resource that tracks and publishes data on the industry. 9/26/24
 AM Tr. 44:5-10 (Israel); 9/20/24 AM Tr. 36:7-13 (Lee). All cites to Dr. Israel’s figures based on
 eMarketer data that refer to “display” use the eMarketer definition of display ads, which includes
 any banner, native, or video (instream and outstream) ads appearing on the web, on social media,
 on retail media, in apps, and on connected TV. 9/26/24 AM Tr. 96:1-4 (Israel); 9/26/24 PM Tr.
 57:13-19 (Israel); 9/20/24 AM Tr. 36:14-18 (Lee).


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            417.2.   Users are spending a significant amount of time on mobile apps rather than on

                     the web. Compared to 2010, when the amount of time users spent in their

                     mobile browsers was double the amount of time spent using apps, today, the

                     amount of time users spend in apps is nearly quadruple the amount of time

                     spent in mobile browsers. DTX-1869 (based on eMarketer data); 9/26/24 AM

                     Tr. 44:25-45:22 (Israel) (Time spent on the mobile web has been “pretty flat,”

                     “but the growth has been on apps. So, again, if you’re an advertiser thinking

                     about alternative places to make connections with users and impressions, apps

                     are a predominant place to find them”).

        418.    As users have shifted their time from the “open web” to mobile apps, social media,

 and video platforms, the industry has also seen significant shifts in display ad spend. 9/26/24 AM

 Tr. 46:5-47:8 (Israel). Accordingly, the functionality to transact in these other formats and

 channels is an important competitive constraint on tools that enable “open-web display advertising.”

 As a concrete example, in 2013, 81% of display ad spend was on “open web” advertising, 18% on

 in-app advertising, and 0% on Connected TV advertising. By 2022, at most 29% of display ad

 spend was on “open web” advertising, 55% was on in-app advertising, and 15% was on Connected

 TV advertising. DTX-1831; 9/26/24 AM Tr. 46:5-47:8 (Israel).

        419.    Industry participants agree that, as user attention has shifted, spending in the

 industry has also shifted away from “open-web” ads:

            419.1.   Google: A 2022 Google planning slide deck stated: “share in Non-Search ads

                     has gone to TikTok, Snap, Pinterest, and Twitter”—social media companies

                     that own apps and websites. DTX-1132N at 9; 9/25/24 PM Tr. 63:14-25

                     (Stewart).




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          419.2.   The Trade Desk: “Media consumption habits, particularly in television,

                   accelerated toward digital- and internet-connected streaming.” 9/12/24 AM

                   Tr. 168:13-20 (Dederick); see also 9/12/24 PM Tr. 6:4-16 (Dederick) (The

                   Trade Desk CEO told investors and analysts that “the massive shift over the

                   last four years in terms of where consumers are spending their digital time was

                   the global pandemic”).

          419.3.   Small business: Caldwell, owner of a small business, testified that she has

                   never chosen to target her advertising campaigns toward “users only using

                   computers” because “our users don’t hang out on computers all the time.”

                   9/25/24 PM Tr. 6:19-7:1 (Caldwell).

          419.4.   PubMatic: In a recent earnings presentation, PubMatic stated that, as viewers

                   move to mobile apps, “mobile app continues to drive revenue growth and

                   differentiation” in advertising. PubMatic’s mobile app revenue increased 20

                   percent year over year up to the second quarter of 2024. Goel DX 2; 9/12/24

                   PM Tr. 125:16-126:20 (Goel). Similarly, Goel agreed that advertising spend

                   had shifted to Connected TV advertising, so that PubMatic’s CTV revenue

                   was up 50 percent year over year. 9/12/24 PM Tr. 132:1-14, 133:18-134:8

                   (Goel). By the end of fiscal year 2021, mobile and video represented 67

                   percent—well over half—of PubMatic’s revenue. Id. (Goel).

          419.5.   Index Exchange: Casale testified that “one of the transformational events

                   impacting ad tech is the growth in video and streaming TV”: user attention in

                   that channel is growing, “and it’s evolving ad tech as a result.” 9/9/24 PM Tr.

                   21:2-22:9 (Casale). Connected TV spend had increased from 0 percent of




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                     Index Exchange’s revenue in 2021 to approximately 10 percent of the ads

                     transacted on index Exchange by 2023. Id. (Casale).

            419.6.   Brian Boland, formerly employed at Facebook, testified that “over the last ten

                     years, users increasingly have spent time accessing content on mobile devices.”

                     9/13/24 PM Tr. 143:18-24 (Boland). As a result, advertiser spend has shifted

                     to mobile app ads, and Facebook Audience Network saw growing demand for

                     mobile app ads. Id. at 143:21-144:21 (Boland).

            419.7.   Criteo (including BidSwitch): According to a 2023 forward planning

                     document, display advertising is experiencing “changing & emerging formats,”

                     with a “slow but steady decline in web display.” DTX-1544A at 7; see also

                     id. at 4 (“a gradual move from web display towards app and news formats”).

        420.    Professor Lee failed to analyze this shift in spend away from “open-web display

 ads” and the tools and functionality used to transact in them. 14 He therefore failed to consider the

 significant competitive constraints placed on Google’s ad tech tools by ad tech used to transact ads

 appearing on other channels and in other formats. 9/26/24 AM Tr. 48:5-17 (Israel). Professor Lee

 offered no principled reason for these significant exclusions other than—as demonstrated

 otherwise above, supra ¶¶ 406-411—his inaccurate claim that “open-web display ads” are

 recognized as “distinct.”




 14
   Plaintiffs may argue that because Google in some instances tracks these different formats and
 channels separately, it is proper to define markets based on functionality in “open-web display
 ads.” The relevant inquiry, however, is whether advertisers and publishers substitute between
 these other channels and formats, not whether Google tracks certain segments of ad inventory
 separately because they are an “emerging product area” or are served by “different products.”
 9/20/24 PM Tr. 106:14-108:13 (Sheffer).


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                 1.      Advertisers and Publishers Shift Spend Between Ad Tech Tools and
                         Their Functionalities to Serve Different Ad Channels and Formats.

         421.    As demonstrated in the next section, advertisers and publishers shift ad spend

 between different ad formats and channels. As they do, advertisers and publishers necessarily also

 shift their spend between ad tech tools and their functionalities. 9/26/24 AM Tr. 49:6-22 (Israel)

 (“So if the tech gets more expensive, then, as I said, we’re going to look for where people will

 substitute, and they’ll substitute to other places that have different tech.”).

         422.    Professor Lee agreed this conclusion was true by necessity. For example, if an

 advertiser switches ad spend away from “open-web display ads” to ads on social media sites such

 as Facebook that rely on proprietary ad tech, the advertiser must use different ad tech tools to serve

 the ads. 9/20/24 AM Tr. 34:6-35:15 (Lee). There was no dispute from Plaintiffs’ experts that

 display ads outside of the “open-web” are also purchased by advertisers, facilitated through

 auctions, and served using ad tech tools. 9/20/24 AM Tr. 32:9-33:11 (Lee).

                         a.      Advertisers

         423.    “Ultimately, advertisers are following eyeballs. They are trying to reach people

 wherever they are.”      9/23/24 PM 117:25-119:8 (Hardie); see also 9/9/24 PM Tr. 56:5-22

 (Lowcock); Deposition of Todd Parsons Tr. 93:14-22 (“We look at audiences because advertisers

 want to reach the right person with the right message at the right time.”).

         424.    Accordingly, as user attention shifts, the distribution of spend on display ads—and

 the tools to purchase those ads—also changes. Advertisers can be “agnostic” as to “the particular

 platform at any given time” because they seek to reach users at the right time, without attention to

 what platform is used to do it. 9/23/24 PM Tr. 118:15-119:21 (Hardie); see also 9/25/24 PM Tr.

 64:9-19 (Stewart) (advertisers and their chief marketing officers “are always looking for the most

 cost-effective and efficient platforms”); DTX-1132N at 10 (2021 Google slide deck stating chief



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 marketing officers “will prioritize high ROI tools and activities . . . to make the most of growing

 ad budgets”). For example, to run its advertising campaign the Census Bureau considered digital

 advertising as a whole—the method or specific ad format by which the ad was served “didn’t

 matter,” “as long as the audience was responding to the ad.” 9/23/24 PM Tr. 83:11-84:7, 85:3-17,

 85:24-86:8, 92:6-10 (Oliphant).

        425.    Plaintiffs’ witnesses agreed that advertisers shift spend in order to achieve their

 goals of reaching users:

            425.1.   Lowcock defined substitution as “a shift of budget from one ad format to

                     another based on the purpose you are trying to achieve.” 9/9/24 PM Tr. 93:1-

                     5 (Lowcock). While at Universal McCann, he trained employees to move

                     funds between channels to optimize for performance.             Id. at 93:10-21

                     (Lowcock) (the “goal” for advertisers is “to shift or substitute one ad type with

                     another in order to try to achieve the best possible ROI [return on

                     investment]”).

            425.2.   Friedman explained “all media is just media”: “All media must work toward

                     a marketer’s goal . . . each have different purposes and serve different purposes,

                     but from a marketer’s standpoint, they should not be biased toward one

                     medium or another based on the performance as long as performance is

                     considered.”     9/10/24 PM Tr. 6:11-7:7 (Friedman).         As an ad agency,

                     Friedman advises advertisers “to focus on the audience, the return on

                     investment, and not on price.” Id. at 8:2-14 (Friedman).

        426.    Even for advertisers that have “distinct budgets” dedicated to “particular ad formats

 or channels,” those budgets are not fixed. Advertisers still “make allocation changes” across




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 channels and formats based on measurements of return on investment. 9/25/24 PM Tr. 30:6-31:1

 (Stewart).

        427.     Over time, industry innovations have enabled advertisers to shift spend even more

 effectively than they did before.

              427.1.   For example, digital advertising has shifted to performance-based marketing.

                       DTX-371 at 2 (2017 Google strategy document).

              427.2.   Because of technological improvements in measurement capabilities,

                       advertisers are increasingly outcome-driven.        9/25/24 PM Tr. 28:6-22

                       (Stewart) (one of the most significant changes in digital advertising is the

                       ability to measure outcomes); id. at 30:18-31:1 (Stewart) (advertisers buy ads

                       based on where they get the highest return on investment).

        428.     Advertisers gather data about exactly what ads are providing better returns on their

 investment or ad spend, reaching the right audience, and achieving the desired goals of the ad

 campaign, so they make choices driven by returns and consumer engagement—not a particular

 type of ad format or channel. E.g., 9/27/24 AM Tr. 29:21-23 (Bumpers) (“Q. Does Zulily allocate

 ad spend between different intermediaries based on their performance? A. Yes.”).

              428.1.   Stewart, a buy-side executive at Google who works closely with customers,

                       testified that the rise of measurement forces companies to put forth their most

                       ROI-enhancing products. 9/25/24 PM Tr. 28:6-22, 29:13-30:1 (Stewart).

              428.2.   Criteo, which offers a buying tool, testified that it helps advertisers “measure

                       their return on investment” and “shift their investments” to achieve desired

                       outcomes). Deposition of Todd Parsons Tr. 108:10-209:24, 110:5-21.




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        429.     Advancements in measurement capabilities also enable advertisers to understand

 where to invest their ad dollars in order to maximize their returns. 9/25/24 PM Tr. 28:16-29:8

 (Stewart).

              429.1.   For example, ad analytics technology helps advertisers more nimbly and

                       seamlessly shift ad spend. E.g., DTX-439 at 107 (2017 Census Bureau

                       document explaining that “digital placements can be altered quickly, and

                       many will be continuously and automatically optimized for best performance

                       by ad platforms”); DTX-994 at 1 (USPS’s ad agency noting recommendation

                       in 2020 to “shift funds from Display into Social for Political Mail” campaign

                       “based on projected under spend”); DTX-1340 at 1-2 (USPS’s ad agency

                       recommending a campaign “optimization” in 2022—“shift some funds from

                       Social to Display”).

        430.     One measurement tool is “media mix modeling,” which refers to measuring return

 on ad spend across different channels such as “search, linear, television, and on” and adjusting ad

 spend decisions accordingly. 9/25/24 PM Tr. 29:1-12 (Stewart) (“Most of the customers I work

 with are using—we call them MMMs in their marketing.”); DTX-1214 at 17 (2022 Google deck

 partnering with Army explaining use of MMM).

              430.1.   Advertisers make decisions about how to allocate their spend “among

                       advertising channels or formats based on media mix modeling.” 9/25/24 PM

                       Tr. 30:2-5 (Stewart). As a result, ad tech providers “need[] to put forth the

                       best product they have” in order to “provide return on investment for their

                       customer” because it does not matter whether the provider is selling “display




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                   or video or whatever product you have.” Id. at 29:13-30:1 (Stewart). What

                   matters is the performance of a channel.

          430.2.   For example, the e-commerce company Zulily monitors the performance of

                   its email ads, mobile app ads, Connected TV ads, and online ads using metrics

                   such as “cost-per-million clicks,” “click-through rates,” “conversions,” the

                   amount of money customers spend on Zulily’s website, and the number of

                   customer sign-ups received.       9/27/24 AM Tr. 24:21-25:15, 29:14-20

                   (Bumpers). Each week, Zulily reviews its performance metrics and decides

                   whether to test out new ad channels or formats in order “to find the most

                   efficient way to spend our money” and “get a better return on investment.” Id.

                   at 25:18-27:7 (Bumpers). Following some weekly reviews, Zulily has shifted

                   money from Google to Facebook in order to try to obtain better return on

                   investment for its ad spend. Id. at 25:18-27:7 (Bumpers).

          430.3.   The Census Bureau and 2020 Census also rely on media mix modeling. The

                   Census needed to reach everyone in the United States to encourage completion

                   of the Census questionnaire.      9/23/24 Tr. PM 68:9-68:18, 68:24-69:5

                   (Oliphant). In order to achieve its goal, the Bureau used programmatic

                   advertising to purchase streaming video, rich media, and banner ads for the

                   2020 Census campaign. Id. at 81:12-19 (Oliphant). Google developed for the

                   Census a tool that evaluated consumption habits in different regions of the

                   country and assessed, among all ad channels, “how to allocate resources in

                   order to reach the audience” the Census needed to encourage completion of

                   the 2020 Census. 9/23/24 PM Tr. 120:9-131:10 (Stewart); DTX-1030 at 4




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                     (2020 Google slide deck prepared for Census Bureau). That tool allocated

                     resources across not just display ads, but digital out-of-home ads, radio ads,

                     TV ads, podcast ads, and more. 9/23/24 PM Tr. 120:9-131:10 (Stewart);

                     DTX-1030 at 4.

        431.   Artificial intelligence can now facilitate ad spend shift automatically—without the

 advertiser making any decisions about particular ad formats or channels.

            431.1.   Google Ads’ Performance Max tool, for example, utilizes AI to buy across

                     different ad formats and channels—including both “open-web display ads”

                     and ads that are excluded from that definition like “closed-web” ads on

                     Google’s owned-and-operated properties, in-app ads, and instream video

                     ads—based on the expected return on investment calculated by Google Ads’

                     AI-powered technology. DTX-1248N at 6-7, 20 (2022 Google Performance

                     Max presentation). The advertiser plays no manual role in deciding the

                     channels where ads will be placed, so when it bids through Performance Max

                     it does not purchase a particular ad format or channel. DTX-1248N at 6-7, 20

                     (“Limiting a channel will limit performance.”).

            431.2.   Facebook has developed a similar tool that automatically optimizes where to

                     place an ad on Facebook’s inventory—including websites and apps—based

                     on the advertiser’s goals. DTX-498 at 5 (2017 Meta document). According

                     to Facebook, campaign that optimized ad placement outperformed campaigns

                     targeting only one particular property or channel. DTX-498 at 6.

        432.   Aided by all these developments, buyers dynamically adjust their spending

 strategies depending on the audience they want to reach and where they can find them. Reflecting




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 that reality, every industry participant agreed that advertisers shift ad spend between different ad

 channels or formats in order to better maximize return on investment.

            432.1.   Advertising agency:       Lowcock testified that his ad agency uses an

                     “optimization engine” that recommends reallocating budget between channels

                     based on “business outcomes” and return on investment. 9/9/24 PM Tr.

                     94:10-19 (Lowcock). For example, Lowcock’s ad agency advised the United

                     States Postal Service, and the USPS agreed, to shift ad spend between “display”

                     and social media advertising based on performance. Id. at 97:5-8 (Lowcock);

                     see also DTX-994 at 1 (“Hi, USPS . . . . As you may recall, a few weeks ago

                     we made the recommendation to shift funds from Display into Social for

                     Political Mail.”); DTX-1340 at 1 (for another campaign, “Hi, Laura, let’s

                     make the shift into display”).

            432.2.   Criteo: A Criteo representative testified that, when “Criteo is dealing with

                     advertiser customers,” it has observed that advertisers “shift their spend across

                     inventory types” such as in-app, video, and Connected TV. Deposition of

                     Todd Parsons Tr. at 108:10-15; see also id. 109:21-24 (Parsons) (“We would

                     shift investment to help the advertiser measure return on investment as

                     perceive it.”).

            432.3.   Zulily: “At Zulily or any marketing, you’re trying to optimize your spend”

                     “because we have a constrained amount—a limited amount of resources.”

                     9/27/24 AM Tr. 31:7-19 (Bumpers). “I believe we—and we’ve reduced

                     spending and—at the Google ad network and we increased spending at . . . the

                     Facebook ad network. . . . We’ve had shifting priorities on the way we target




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                   our audiences since I have been there. So we have had a new CMO—

                   previously we had a different CMO—and he was focused on a different

                   population, and we went to Facebook to bring those people in.” Id. at 31:7-

                   19, 32:5-22 (Bumpers). Between 2016 and 2017, Zulily reduced its spending

                   on Google Ads between $25 and $30 million and simultaneously increased its

                   ad spending on Facebook and Instagram by $30 million. Id. at 31:4-6, 30:24-

                   31:6 (Bumpers). Since 2021, Zulily has continued to reduce its spend on

                   Google Ads and repurpose that spend on Facebook and Instagram. Id. at 32:5-

                   22 (Bumpers).

          432.4.   Omnicom: “Advertisers seek to target an audience through multiple channels”

                   and if “one channel is performing worse than another channel, Omnicom, on

                   behalf of [its] client, can shift spend to a better-performing channel.” 9/13/24

                   PM Tr. 47:19-48:4 (Lambert). Omnicom markets its ability to “fluidly

                   reallocate its clients’ budgets to the channels and tactics that are delivering.”

                   Id. at 49:16-22 (Lambert). Omnicom can and does “shift spend from a channel

                   that costs more, where there’s more spend” and not a lot of benefit “to a more

                   efficient channel.” Id. at 48:14-18 (Lambert); see also id. at 52:2-53:1

                   (Lambert) (recommending reducing Army’s digital display budget from

                   $16.2M to $5.2M and shifting spend to other channels like paid social based

                   on performance); DTX-1172 at 6 (2021 Army presentation).

          432.5.   United States Census Bureau: The U.S. Census Bureau optimized its media

                   spend during the 2020 Census Campaign to ensure the “best performance.”

                   9/23/24 PM Tr. 92:20-93:23 (Oliphant) (discussing DTX-439 at 107); see also




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                   DTX-1335 at 2 (Census Bureau’s ad agency would shift “money between

                   media types if opportunities became available”). For example, the Census

                   Bureau adjusted its digital media strategy across formats in response to the

                   COVID-19 pandemic. 9/23/24 PM Tr. 91:5-17 (Oliphant). The pandemic

                   caused a shift in “media consumption” as people began to consume “more

                   digital news, streaming audio, interacting on social networks, and using more

                   apps on their mobile devices.” DTX-929 at 4, 6. Oliphant testified that the

                   Census Bureau “adjusted its digital media mix” in response to these changed

                   consumption habits. 9/23/24 PM Tr. 91:13-17 (Oliphant). Census documents

                   indicate the same. DTX-929 at 4, 6 (“shifting programming and media

                   consumption patterns necessitated rapid adjustment in media planning and

                   tactics”); DTX-1403 at 2 (given “the speed with which this industry changes,”

                   the Census directed its advertising agency to optimize for performance). The

                   Census Bureau also shifted some of its display advertising towards Facebook

                   in response to Facebook ads’ better performance. 9/23/24 PM Tr. 96:10-13

                   (Oliphant) (“Q. And was it accurate that after testing these tactics, including

                   display, investment was shifted to job boards, Facebook, and keyword search

                   based on performance, correct? A. Correct.”); see also DTX-1074 at 40.

          432.6.   GSD&M: Bo Bradbury testified that there are “times on a given campaign

                   where it’s necessary for an advertiser to shift from one channel to another,” or

                   “within the channel,” “based on what they’re seeing in terms of campaign

                   success and key performance indicators.”          9/19/24 PM Tr. 11:17-22

                   (Bradbury).




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          432.7.   Buzzfeed: A Buzzfeed representative testified that advertisers optimize

                   “spending toward the environment providing the best rate of return.”

                   Deposition of Ken Blom Tr. 81:2-4, 81:6-11. As he explained, advertisers can

                   run ads on Buzzfeed’s desktop web ad inventory, mobile web ad inventory, or

                   in-app ad inventory. Id. at 80:8-23 (Blom). Buzzfeed helps advertisers

                   optimize across these channels because “some advertisers don’t care about

                   environment, they care about results.” Id. at 81:2-4, 81:6-11 (Blom). An

                   advertiser might, for example, “take budget from, you know, entirely mobile

                   and move it to desktop if they’re seeing that desktop click-out rates are

                   working more.” Id. at 84:5-23 (Blom). An advertiser might even shift spend

                   between ad channels or formats mid-campaign based on weekly campaign

                   reports about performance. Id. at 88:19-89:8 (Blom).

          432.8.   Kevel: Plaintiff witness Avery testified that if Kevel did not get a good return

                   on its investment from Google’s advertising tools, Kevel would shift its spend

                   to a different supplier of advertising. 9/9/24 PM Tr. 166:9-16 (Avery).

          432.9.   Small business owner advertiser: Caldwell, a small business owner who uses

                   Google Ads, testified that she shifted her advertising spend year to year

                   between Google Ads and tools excluded from Plaintiffs’ markets.             For

                   example, in 2022, her digital budget was allocated 70 percent to Google Ads,

                   which is in Plaintiffs’ markets, and 30 percent to Instagram, which is not. In

                   2023, she shifted to 65 percent on Google Ads and 35 percent on Instagram.

                   That decision was based on monitoring engagement and campaign

                   performance. 9/25/24 PM Tr. 9:9-10:11 (Caldwell).




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        433.    Plaintiffs’ only response to the reality that advertisers’ goals drive them to shift ad

 spend is that “open-web display ads” serve a “distinct” purpose in targeting users that cannot be

 accomplished with other ad formats and channels. 9/19/24 PM Tr. 52:12-19 (Lee). 15 As explained

 above, supra ¶¶ 406-411, evidence based on the very same marketing funnel relied on by the

 United States in the recent Search trial contradicts their argument here. Other ad formats and

 channels that are not “open-web display” can help advertisers achieve the same goals as “open-

 web display,” and advertisers will shift spend accordingly to reach their target audiences and

 achieve their desired results.

                        b.        Publishers

        434.    Digital content providers also adjust their monetization efforts to follow user

 attention and advertising spend.

        435.    Because ad tech tools match advertisers and publishers, substitution by one side of

 the matching transaction (advertisers) can cause substitution on the other side (publishers). For

 example, if advertisers using Google’s ad tech see their return on investment go down or prices go

 up, they may substitute away from Google Ads to Facebook or Amazon. If these advertisers shift,

 then publishers using DFP will make less money selling web ad space through Google’s ad tech

 tools to advertisers using Google Ads, leading publishers to shift to alternative ad tech tools or

 move their content to apps and use app-specific inventory management tools. 9/26/24 AM Tr.

 77:12-78:11 (Israel). Advertiser substitution therefore causes feedback effects: if advertisers



 15
    The only explanation that Professor Lee provided as to why there is “distinct” value for
 advertisers in “open-web display ads” is that they enable them “to advertise on open-web publisher
 sites, target users across a range of websites.” 9/19/24 PM Tr. 76:21-77:11 (Lee). Professor Lee
 did not otherwise explain how this type of ad is distinct from other types of ads he excludes,
 including display ads appearing in apps and on Connected TV and on social media and retail media
 properties run by publishers with in-house ad tech.


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 switch to Facebook, the alleged benefits Google provides as a result of what Plaintiffs have referred

 to as “unique demand” go away. Publishers perceive Google’s platform as less attractive and

 substitute to alternative ad tech, move their content off of the “open web,” or even change to a

 subscription model. Id. at 77:12-78:11 (Israel) (“Those two effects start feeding back on each

 other through these network effects.”).

            435.1.   As one example of publishers shifting spend from ad tech functionality for

                     serving “open-web display ads” to ad tech functionality for serving in-app ads,

                     the New York Times allows its “ads to deliver across both web, mobile web,

                     and desktop web and our apps equally as where there is supply.” 9/26/24 PM

                     Tr. 145:24-146:6 (Glogovsky). As a result, as the readers of the New York

                     Times shift from web to app, a “natural shift” in display advertising

                     impressions from web to app follows. Id. at 123:10-124:20, 145:24-146:6

                     (Glogovsky) (New York Times monetizes content “across our many surfaces,

                     both web and app base,” during its podcasts, and over email).

        436.    One primary way that publishers like the New York Times are shifting their ad tech

 spend is by focusing attention on developing in-app content. DTX-406 at 22 (2017 Google

 competitive analysis: “Mobile is critical for many publishers as desktop growth slows down.”).

 For example:

            436.1.   A representative of Gannett testified that “many” of the local newspapers in

                     the Gannett network have an app, as does USA Today. 9/9/24 AM Tr. 95:1-

                     6 (Wolfe).

            436.2.   The Daily Mail publishes its content on a number of social media offerings,

                     including on their apps. 9/18/24 AM Tr. 155:4-8 (Wheatland) (The Daily




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                    Mail claims that it “has become the biggest news publisher on TikTok”); id.

                    at 155:17-156:2 (noting The Daily Mail’s plan to publish “top” content to

                    social media sites like Facebook and Snapchat).

           436.3.   Buzzfeed sells in-app ad inventory and finds that “advertisers move their

                    spending toward the environment providing the best rate of return.”

                    Deposition of Ken Blom Tr. at 80:8-81:11. Thus, Buzzfeed as a publisher

                    may even optimize for the advertisers and spend on in-app advertising because

                    “some advertisers don’t care about environment, they care about results.” Id.

                    at 81:2-11 (Blom).

        437.   Publishers can even offer inventory that shifts between different ad formats for the

 same impression, depending on which format will make the publisher more revenue.

           437.1.   For example, a Mediavine Ad Capabilities page touts that Mediavine can run

                    a “super auction” that “allows multiple formats to compete within the same

                    ad slot.” DTX-1734 at 2.

           437.2.   A Mediavine representative explained that these multi-format slots provide

                    “increased yield. If a bidder is willing to pay more money for a banner ad

                    than a video ad, we will show the banner ad. The same concept with native

                    or video. Our sole goal is to increase yield.” 9/25/24 PM Tr. 181:8-17

                    (Hochberger); see also id. at 180:25-181:11, 181:21-182:2 (Hochberger) (“At

                    the time of auction, whatever the highest bid is what we take, whatever the

                    format.”).

        438.   Publishers particularly value ad tech tools that support serving multiple forms of

 inventory across devices and ad formats so that they can centrally manage their inventory using




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 one tool. As a former Product Manager Leader for AdX and DFP explained, “publishers were

 involved in a wide range of creating and sharing content across many different technology

 platforms. So the web, apps, video were all highly interchangeable, and publishers, in my view,

 were increasingly looking for solutions that could help them across all” formats. 9/19/24 AM Tr.

 126:24-127:9 (Bellack).

        439.    Ad tech providers, including Google, therefore build and market their sell-side

 functionalities based on the multiple advertising channels and formats they facilitate. For example,

 Google has lauded the abilities of DoubleClick to serve publishers across channels:

            439.1.   “We cemented [DFP’s] standing as the best cross-channel revenue platform

                     by adding a full suite of mobile and video capabilities.” DTX-101 at 2 (2012

                     Google email).

            439.2.   “Goal: Reduce complexity and increase transparency for pubs and Google . . .

                     Better cross-channel visibility and revenue transparency for publishers.”

                     DTX-213 at 17 (2014 Google slide deck).

            439.3.   “DoubleClick is the proven solution in market that can seamlessly support ad

                     serving and yield management across [apps] and desktop.” DTX-406 at 22

                     (2017 Google competitive analysis).

                2.      Ad Spend Has Shifted Away from the “Open Web” to Ads on “Closed”
                        Digital Properties that Use In-House Ad Tech Like Social Media and
                        Retail Media.

        440.    Shifting spend by both advertisers and publishers between “open-web display ads”

 and non-“open-web display ads” is concretely demonstrated by the significant shift over time in




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 ad spend from what Plaintiffs call “open” digital properties to what they call “closed” digital

 properties. 16

         441.     Industry data show that display ad spend has been shifting away—i.e.,

 substituting—from Google, and towards “closed” competitors with in-house tech like Meta,

 TikTok, and Amazon for the past decade. DTX-1874; DTX-1969; 9/26/24 AM Tr. 70:14-71:16

 (Israel).

         442.     Professor Lee did not dispute Dr. Israel’s data and agreed both that display ads on

 “closed” digital properties like Meta and Amazon “compete with display ads on the open web” “to

 some degree,” and that when advertisers shift their spend from buying “open-web display ads” to

 buying ads on Facebook and Amazon, they must also shift their spend to Facebook’s and

 Amazon’s tools. 17 9/20/24 AM Tr. 33:12-34:5 (Lee) (“for advertiser spending, there’s some

 degree of substitution”); id. at 34:13-19 (“Different tools are used to buy this walled-garden

 inventory.”).

         443.     Even though ad spend on the “open web” competes with ad spend on “closed”

 properties, Plaintiffs distinguish between “open” and “closed” digital properties in a way that leads

 to nonsensical results relating to the same publisher’s inventory.




 16
   Here, the terms “open” and “closed” are used as shorthand to distinguish between what Plaintiffs
 refer to as the “open web,” i.e., websites operated by publishers who use third party ad tech, and
 the non-“open web,” i.e., websites operated by publishers who use proprietary ad tech to sell their
 ad inventory. The use of Plaintiffs’ terms does not reflect agreement that these terms, or Plaintiffs’
 definitions, are recognized by the industry.
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   Amazon also offers tools, such as its very popular header bidding wrappers, supra ¶¶ 171, 208-
 209, that connect advertisers with non-Amazon publishers. Plaintiffs would consider ads
 facilitated by Amazon’s tools on non-Amazon properties to be “open-web” ads. For purposes of
 the discussion below, we refer to the “closed-web” ads that Amazon’s tools facilitate on its owned-
 and-operated properties, but Amazon’s “open-web” capabilities are an important part of the reason
 Google views Amazon as a serious competitive threat in display advertising. Supra ¶¶ 208, 345.


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        444.    First, because Plaintiffs define “open-web publisher” based on whether the

 publisher uses third-party ad tech tools to serve ads, transactions of ads appearing on the same

 exact digital properties move in and out of Plaintiffs’ markets—even though the ads are otherwise

 the same and serve the same needs of the same advertisers by reaching the same users—simply

 because they are being transacted by different tools.

            444.1.   For example, the New York Times previously used its own ad server, so its

                     proprietary ad server was not a “publisher ad server for open-web display

                     advertising” under Plaintiffs’ definition. But in 2015, it started using DFP.

                     9/26/24 PM Tr. 140:10-25 (Glogovsky). According to Plaintiffs, that means

                     ads served on the New York Times website used to be “closed-web display

                     ads” but are now “open-web display” ads (even though New York Times’

                     content has not changed and is generally not accessible unless the reader is a

                     paying subscriber who is logged in on its website or app).

            444.2.   Other publishers—including Amazon, Reddit, Disney, and Snapchat—have

                     gone the other way. They have switched from Google’s “publisher ad server

                     for open-web display advertising” to in-house proprietary ad servers excluded

                     from Plaintiffs’ definition. 9/26/24 AM Tr. 126:17-25 (Israel); 9/17/24 PM

                     Tr. 123:9-11 (Helfand).

        445.    Second, providers of owned-and-operated inventory sell their inventory using both

 proprietary ad tech and ad tech that transacts ads appearing on the “open web.” That makes it

 difficult to determine whether a particular impression is an “open-web display ad.”

        446.    For example, as of October 2023, Disney has created proprietary ad tech that it uses

 to serve ads on its owned-and-operated inventory, including an ad exchange and an ad server.




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 9/17/24 PM Tr. 115:25-116:12 (Helfand) (Disney invested in the creation of its own ad tech tools

 to be able to “deploy them into—into market with a sufficient amount of speed”); id. at 116:15-

 117:7 (tools Disney created include the Disney Ad Server, the Disney Real-Time Exchange, Hulu

 Ad Manager, Disney Ad Manager, and Disney XP, which is a cross-platform product across

 multiple inventory sources). Some of the impressions transacted by Disney’s proprietary ad server

 and ad exchange, however, are facilitated by third-party demand-side platforms, like The Trade

 Desk, so they are sold using a combination of both proprietary (“closed”) and third-party (“open”)

 ad tech. Id. at 125:16-23 (Helfand).

         447.    The experience of industry participants is that “open web” ads compete with ads on

 “owned-and-operated” properties, and that advertisers shift spend between both based on the rate

 of return.

              447.1.   The Trade Desk considers its buying tool, which purchases “open web” ads

                       as defined by Plaintiffs, to compete with tools that serve and transact ads that

                       appear on owned-and-operated properties. 9/11/24 PM Tr. 97:9-19, 98:8-99:7

                       (Dederick) (The Trade Desk is unable to secure the entirety of advertiser

                       budgets because it does not “have access to major pools of inventory that

                       advertisers really need to show up on” like YouTube, Google Search, and

                       Amazon).

              447.2.   A Buzzfeed representative testified that, “if the rate of return for advertising

                       on Facebook went down and open websites went up,” he would “expect

                       advertisers to move advertising toward open-web websites.” Deposition of

                       Ken Blom Tr. at 157:20-158:4.




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            447.3.   Google’s competitor, AppNexus, also explicitly described ad spend in “closed”

                     systems as competition to ad spend on “open web” ad tech when it analyzed

                     competition between Amazon and AppNexus’s third-party ad tech tools. “Q.

                     Why did AppNexus consider Amazon to be winning in 2017? A. Amazon has

                     the retail dollars and also launched sponsored ads. So Amazon has both retail

                     dollars, as well as buyers. And their advertising grew from, if I remember,

                     like, 1 billion to 3 billion to—you know, growing aggressively. And Amazon

                     was also taking the demand dollars that would go into the open web into the

                     closed Amazon ecosystem.” 9/20/24 PM Tr. 131:22-132:7 (John); see also id.

                     at 132:8-15 (John) (Facebook, Amazon, Apple all competitors to AppNexus

                     in 2017).

                       a.        Ad Spend Shifts to and from Social Media.

        448.    Social media sites, including Facebook, Instagram, and TikTok have attracted

 increasing amounts of user attention.

            448.1.   “Social media usage has increased dramatically across all audiences.” DTX-

                     629 at 34 (2018 Census Bureau presentation).

            448.2.   As a demonstration of social media’s growth, in 2010, Twitter had 14.3

                     million U.S. users. In 2020, Twitter was estimated to have 56.10 million U.S.

                     users. DTX-1343 at 57 (2022 Census presentation). In 2010, Instagram had .3

                     million U.S. users, and by 2020 was estimated to have 120.30 million U.S.

                     users. DTX-1343 at 57. In that same decade, new social media companies

                     emerged like Snapchat, Pinterest, Tumblr, and Tiktok. 9/23/24 PM Tr. 77:24-

                     78:16 (Oliphant).




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        449.    Annual display ad spending in the United States on ads, including those defined by

 Plaintiffs as “native ads,” appearing on social media properties like Facebook, Instagram, LinkedIn,

 Pinterest, Reddit, Snapchat, TikTok, and Twitter has increased from $1.2 billion a year (16% of

 U.S. display ad spend) in 2008 to at least $65.3 billion (48% of U.S. display ad spend) as of 2022.

 DTX-1915 (based on eMarketer data); 9/26/24 AM Tr. 50:12-51:14 (Israel).

        450.    Consistent with the dramatic increase in social media ad spend, buy-side witnesses

 testified that social media advertising is very important to advertisers.

            450.1.    Lowcock testified that while at Universal McCann, he had “no clients” that

                      did not purchase social ads. 9/9/24 PM Tr. 86:5-19 (Lowcock). He also

                      testified that “the vast majority of advertising on social media is display” and

                      that “advertising that is inserted on a social media page is similar to display

                      advertising.” Id. at 82:15-20, 84:23-85:14 (Lowcock).

            450.2.    Caldwell, owner of a small business, testified that she advertises on social

                      media such as Instagram and TikTok because “that’s where the eyeballs are.”

                      9/25/24 PM Tr. 7:5-10 9:12-18 (Caldwell).

        451.    As Dr. Israel explained, advertisers would substitute to ads on social media

 properties in response to an increase in the price of the ad tech used to transact “open-web display

 ads.” 9/26/24 AM Tr. 49:6-22 (Israel). When advertisers substitute social media ads for “open-

 web display ads,” they also substitute the ad tech used to run ads on social media for ad tech like

 Google’s that serves “open-web display ads.” Id. at 49:23-50:6 (Israel); 9/20/24 AM Tr. 34:6-

 35:15 (Lee).

        452.    Comparing annual spend on these social media properties to spend on non-social

 display ads demonstrates that there is substitution and active competition between the two ad




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 channels. DTX-1829 (Israel Figure 8: U.S. Display Ad Spending by Social vs. Non-Social

 Advertising, 2008-2022, based on eMarketer data); 9/26/24 AM Tr. 51:20-52:17 (Israel).

            452.1.    As further evidence of substitution between non-social media and social

                      media ad tech, data from Omnicom, a large advertising agency that helps

                      advertisers evaluate on a regular basis what formats and channels are

                      generating the best return on investment, show that between 2021 and 2022

                      their top advertiser clients moved dollars into social and out of other ad tech

                      tools. DTX-1972; 9/26/24 AM Tr. 52:23-54:17 (Israel).

            452.2.    The growth of ad spend through Meta’s ad tech, which includes spend on

                      social media sites Facebook and Instagram, further demonstrates the

                      significant shift in spend to social media. Annual spend on these properties

                      has grown from $0.2 billion (3% of U.S. display ad spend) in 2008 to $50

                      billion (37% of display ad spend) in 2022. DTX-1925; 9/26/24 AM Tr. 54:18-

                      55:15 (Israel).

        453.    Data from Google Ads and Meta show that in 2022              % of the advertisers that

 use Meta also uses Google Ads. DTX-1853. This multi-homing demonstrates that there would be

 little cost to advertisers already using both Google Ads and Meta to shift ad spend between the

 tools. DTX-1853; 9/26/24 AM Tr. 56:12-57:14 (Israel) (multi-homing is “an important indicator”

 of substitution because “if advertisers are actively using both,” they can “substitute because they’re

 there and they’re regularly evaluating how much to put into each”).

        454.    Meta has attracted significant user attention on its social media properties, and, as

 reflected in numerous internal business documents and testimony, Google viewed Meta as a




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 significant competitor for display advertising business. Supra ¶ 338; 9/26/24 AM Tr. 58:25-60:10

 (Israel).

         455.   In addition to viewing Meta as a competitor, Google has explicitly referred to

 Meta’s display ads business as part of the market opportunity available to Google.

             455.1.   A 2017 competitive analysis, for example, noted that 48% of Google’s

                      “untapped opportunity” in “display+video,” corresponding to $16 billion,

                      “reflects Facebook’s share.” DTX-486N at 5.

             455.2.   Another 2017 Google internal document stated that “Facebook and (to a lesser

                      extent) Amazon have diverted significant spend from 3rd party publishers to

                      their O&O inventory.” DTX-371 at 2.

             455.3.   Sheffer, a sell-side executive at Google for 18 years, explained that, from

                      Google’s perspective, proprietary ad tech, like Meta or Amazon competes

                      with Google because “advertising money that’s flowing through a Meta” is

                      “revenue that our publishers aren’t receiving.” 9/20/24 PM Tr. 82:16-83:3

                      (Sheffer) (“So I see that as a massive amount of dollars that we should be

                      competing for.”).

         456.   The reverse is true as well: Meta views itself as competing in the display advertising

 industry against all other competitors, like Google, that offers ad tech tools.

             456.1.   Meta wrote in its 2022 10-K that its display ads business competes with all

                      “companies that sell advertising to businesses looking to reach consumers

                      and/or develop tools and systems for managing and optimizing advertising

                      campaigns.” DTX-1480 at 26. Meta did not limit the companies it identified

                      as its competitors to display ads businesses that operate proprietary ad tech




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                     tools, or exclude as competitors display ad businesses that offer third-party

                     tools.

            456.2.   When asked who Meta competes with in display advertising, the Meta

                     corporate representative identified as competitors all providers that

                     consolidate “digital demand that advertisers will buy supply for online.”

                     9/26/24 PM Tr. 152:14-153:7 (Farber). The “scope of competition” was

                     anywhere that an advertiser would be willing to put its dollar, including

                     Meta’s tools, “all demand side platform, ad network, etc.” Id. at 152:14-153:7

                     (Farber).

        457.    TikTok is another social media site that is attracting significant ad spend in recent

 years. TikTok has grown from $173 million in display ad revenue (0.2% of U.S. display ad spend)

 in 2019 to over $5 billion (3.7% of U.S. display ad spend) in 2022, and is forecasted to continue

 growing rapidly. DTX-1927; 9/26/24 AM Tr. 60:16-61:7 (Israel).

        458.    Data show that Google Ads’ largest advertisers are spending significant amounts

 on TikTok ads, and that spend on TikTok is growing rapidly year-over-year. This data show that

 multi-homing advertisers can easily “move money back and forth in response to even small

 differences in performance.” DTX-1974 (Israel Table 5: Advertisers With At Least $1 Million in

 2022 TikTok Advertising Spending Among the Top 50 2022 U.S. Google Ads Advertisers);

 9/26/24 AM Tr. 62:2-63:11 (Israel).

        459.    Contrary to the data showing that advertisers shift spend between “open-web

 display ads” and social media ads, one of Plaintiffs’ witnesses testified that social media and

 display ads are not reasonable substitutes for advertisers because, among other reasons, “social

 media advertising is accessible to anyone . . . you can buy social media advertising with a credit




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 card.” 9/9/24 PM Tr. 67:25-68:11 (Lowcock). In contrast, according to Lowcock, “display

 advertising requires a little bit more sophistication because you need to both create display assets.

 You need to find a way to buy display advertising.” Id. (Lowcock).

        460.    Lowcock’s testimony is inconsistent with the data showing that there has been, for

 at least many advertisers, significant and growing substitution over many years between “display

 ads” and social media ads. Moreover, Stefaniu’s demonstration of Google Ads makes clear that

 the distinctions Lowcock described are overstated. Google Ads, like social media advertising, is

 accessible to any advertiser. Even if an advertiser does not have an ad creative prepared, Google

 Ads can make the display asset—whether for a static image, video, or native ad—for the advertiser

 in just a few clicks. 9/23/24 PM Tr. 33:2-6, 33:17-20, 34:8-15 (Stefaniu); Stefaniu DX 1 at 1.5.

        461.    Notwithstanding the increasing spend on social media ads and advertisers

 substituting between “open web” and social media ads, Professor Lee excludes social media ads

 from his markets on the ground that they are served by “closed” ad tech. In addition, Professor

 Lee also tried to distinguish social media ads from “open-web display ads” on the basis that social

 media ads are “native ads” (which he excludes from “display ads”). 9/20/24 AM Tr. 40:3-18 (Lee).

        462.    Again, Professor Lee’s distinctions are not responsive to the data on significant

 substitution that Dr. Israel presented.

        463.    In addition, the distinction between display ads and native ads drawn by Professor

 Lee does not make sense. Native ads are text and image ads that are intended to blend in with the

 digital content surrounding them, but they are otherwise the same as other text and image display

 ads. 9/9/24 PM Tr. at 127:23-128:19 (Avery) (an example of a native ad as an ad on Instagram

 that is “blended well into the experience of Instagram”); id. at 157:13-158:11 (Avery) (represents




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 to customers that “more and more advertisers are looking to innovative native display ads rather

 than standard banners”); Wolfe DX 2.

         464.   Industry participants do not distinguish between display ads and native ads, and

 Professor Lee offered no principled explanation for why they should nonetheless be treated as

 distinct.

             464.1.   eMarketer: eMarketer does not recognize the distinction, and many in the

                      industry find it difficult to even delineate the distinction. 9/20/24 AM Tr.

                      40:3-18 (Lee) (agreeing display ads are sometimes defined to include native

                      ads); 9/26/24 AM Tr. 82:3-21 (Israel). Rather, industry participants recognize

                      both banner and native ads to be “display” ads, with ad tech providers

                      marketing their ability to transact across both kinds of ads.

             464.2.   Criteo: In Criteo’s 2022 10-K securities filing, it defined “display” as

                      “including social and native,” and highlighted that “Criteo’s solutions work

                      seamlessly across” these ad formats. DTX-1420 at 13.

             464.3.   New York Times: The New York Times testified that native ads “would fall

                      within the display category.” 9/26/24 PM Tr. 130:12-1 (Glogovsky); see also

                      DTX-1824 at 3 (New York Times presentation identifying display as a

                      category and not distinguishing native).

             464.4.   Buzzfeed: Buzzfeed testified that individual advertisers on Buzzfeed “usually”

                      purchase multiple formats of ads, including standard display and native ads.

                      Deposition of Ken Blom Tr. 86:16-87:25, 88:5-9.




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                       b.      Ad Spend Has Shifted to Ads on Retail Sites.

        465.   Retail media is a fast-growing channel for display ads, with display ad spend on

 ecommerce sites growing from $3.3 billion (5% of U.S. display ad spend) in 2018 to $12.7 billion

 (9% of display ad spend) in 2022, moving away from “open-web display ads.” DTX-1916.

            465.1.   Criteo: As Criteo testified, “commerce media, retail media is becoming a very

                     popular way for brands to advertise to consumers.” Deposition of Todd

                     Parsons Tr. 70:11-23; see also DTX-1544A at 20 (2023 BidSwitch document

                     noting that retail media is a “key vertical of interest to Criteo”).

            465.2.   Kevel: Kevel, which offers a publisher ad server, agreed that retail media,

                     which involves major companies such as Amazon, Walmart, Instacart, eBay,

                     and Etsy, is an area of growth and the “next wave” in digital advertising.

                     9/9/24 PM Tr. 159:1-6, 159:19-160:19 (Avery).

            465.3.   Google: A 2021 Google competitive analysis observed that “eCommerce

                     remains a dynamic space with rapid growth and increased competition in

                     response to shifting consumer behavior.” DTX-1132N at 12. “Traditional

                     marketplaces,” such as Walmart, CVS, Target, and The Home Depot, are

                     “emerging as eCommerce destinations.” DTX-1132N at 12.

        466.   As an example of the recent explosion in growth of retail media ad spend, display

 ad spend on Amazon has grown from less than a billion dollars a year between 2008 and 2017

 (and less than 1% of U.S. display ad spend through 2016) to $8.3 billion in 2022 (6.1% of U.S.

 display ad spend)—900% growth in just five years. DTX-1926.

        467.   Internal Google documents confirm that, since as early as 2015, Google has tracked

 Amazon as a major competitor for display ad spend, including because of Amazon’s strength as a

 retail media property. Supra ¶ 345; 9/26/24 AM Tr. 67:6-68:22 (Israel). In addition, Amazon


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 offers an integrated ad tech stack and tools that connect advertisers not just to Amazon’s owned-

 and-operated properties, but also third-party publisher properties. Supra ¶¶ 341-343.

            467.1.   As just one example, a 2019 competitive analysis described Google’s

                     advertiser customers, including large advertisers such as Procter & Gamble

                     spending over $100 million, “shifting budgets” from Google to Amazon.

                     DTX-754 at 4; see also id. at 8 (Amazon “winning brand budgets otherwise

                     won by Google,” including from Coke, Unilever, and Whirlpool).

        468.    Notwithstanding the growth of ad spend on retail sites such as Amazon, Plaintiffs

 exclude this ad spend from their markets.

                3.     Ad Spend Has Shifted Away from Display Ads Appearing on the Web.

        469.    “Closed” web properties like Facebook.com and Amazon.com are not the only

 place online where ad spend is shifting significantly.      Consistent with advertisers’ goal to

 maximize return on investment and publishers’ goals to maximize revenue and reach users, ad

 spend is also shifting away from websites to other channels.

        470.    Users are moving away from viewing the web on computers, so ad dollars are

 following where the users are going, including to ads in mobile apps and on Connected TV.

 9/26/24 AM Tr. 69:25-70:8 (Israel) (“if you’re looking for places to make these matches and find

 users, many of the best substitutes are now going to be off the laptop and desktop and on mobile”).

 In 2013, display ad spend on desktop and laptop computers accounted for 71% of all U.S. display

 ad spend, but almost a decade later in 2022, it accounted for only 17%. DTX-1918.

        471.    User attention on desktop computers has become so insignificant that Google Ads

 specifically warns advertisers against running an ad campaign that targets only computers. If a

 user creates a campaign in Google Ads and tries to target computers only, “a universal warning

 sign for danger icon pops up,” with the language: “Targeting computers isn’t compatible with


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 advanced mobile and tablet targeting options.” 9/23/24 PM Tr. 24:24-25:11 (Stefaniu); Stefaniu

 DX 1.7.




        472.    As Stefaniu explained, Google provides that warning to advertisers because, with a

 computer-only campaign, the advertiser “may not be reaching the full breadth of users they can

 likely reach with this particular campaign if they were only targeting computers.” 9/23/24 PM Tr.

 24:24-25:11 (Stefaniu). In contrast, Google Ads does not provide the same warning for campaigns

 focused only on mobile phones or tablets because “most individuals today are using mobile phones

 and/or tablets to consume information online.” Id. at 25:12-20 (Stefaniu). In other words, in

 today’s world an advertiser who relies solely on the kinds of ads Plaintiffs are focused on is not

 acting efficiently from an economic standpoint and would be handicapping its own campaign.

        473.    Consistent with the significant shift in user attention and ad spend away from

 computers, in her entire time as an account manager for Google Ads, Stefaniu never encountered

 an advertiser seeking to run a campaign only on computers. 9/23/24 PM Tr. 25:25-26:4 (Stefaniu).

                       a.      Ad Spend Has Shifted to Ads in Apps.

        474.    Mobile has become “the preferred way for users to view digital content.” DTX-

 1343 at 54 (2018 Census “Paid Media Kickoff Media 101” presentation); see also id. at 41

 (showing share of time spent on digital mobile as 27.5% vs. desktop/laptop time spent as 22.1%

 in 2017). Internal Google documents confirm the same, noting that the shift to mobile comes at a


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 cost to the growth of web ads. DTX-801 at 4 (2019 Google product and business strategy

 document: “Time spent by users continues to shift away from desktop/tablet consumption to

 mobile.”); PTX-764 at -252 (2019 Google business finance metrics document: “We should expect

 to face headwinds as user preferences change (web to app).”).

        475.   “Within the mobile world, users are shifting more dramatically to apps over the

 mobile web.” DTX-801 at 4 (2019 Google strategy document).

            475.1.   Demonstrating substitution in ad spend, U.S. display ad spend on in-app ads

                     has increased from $3.4 billion in 2013 (18% of U.S. display ad spend) in

                     2013 to over $75 billion (55% of U.S. display ad spend) in 2022. DTX-1920

                     (based on eMarketer data); 9/26/24 AM Tr. 82:25-83:13 (Israel).

            475.2.   More than 50 percent of Google’s Display business profits from January 2020

                     to August 2023 were from in-app ads. 9/26/24 AM Tr. 19:3-11 (Mok); see

                     also DTX-1343 at 130 (2018 Census “Paid Media Kickoff Media 101”

                     presentation).

            475.3.   For one of Google’s competitors, PubMatic, its mobile app ad business has

                     grown year over year by more than 20%. 9/12/24 PM Tr. 125:20-126:6 (Goel).

            475.4.   A 2023 forward planning document created by BidSwitch (now part of Criteo)

                     observed that, since 2016, “app traffic has grown rapidly” with “more than 2X

                     growth over 5 years.” DTX-1544A at 4. “Web traffic, in comparison,” has

                     decreased.” DTX-1544A at 4; see also Deposition of Todd Parsons Tr.

                     148:14-23 (discussing DTX-1544A at 4).

        476.   As reflected in data from Google Ads, nearly 90% of Google Ads advertisers buy

 both in-app ads and web ads. Because they already purchase both ad formats using the same tool,




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 those advertisers can easily substitute between app ads and website ads. DTX-1855 (Israel Figure

 34: Distribution of Google Ads U.S. Non-Video Display Ad Spending by Advertiser Use of App

 and Web Advertising); 9/26/24 AM Tr. 83:17-84:6 (Israel).

        477.    Data from Google Ads provide direct evidence that advertisers have been

 substituting from web ads to in-app ads. Google Ads advertiser in-app ad spend has increased

 from 0% of ad spend in 2012 to 38% in 2022, with the percentage of spend on website ads

 decreasing during the same time period. DTX-1854; 9/26/24 AM Tr. 84:10-85:5 (Israel).

        478.    Notwithstanding the exponential growth of apps, Plaintiffs exclude all in-app ads

 from the definition of “open-web display ads.” Supra ¶ 377. As a result, they exclude ad tech

 used to transact in-app ads from the relevant markets and exclude all transactions of in-app ads by

 multi-functional ad tech tools from their market share calculations.

        479.    Professor Lee acknowledged that an advertiser could place the exact same ad using

 the exact same tool on the Washington Post website and in the Washington Post app, and the

 website ad would be included in his market share calculations but the app ad would not. 9/20/24

 AM Tr. 76:13-24 (Lee). He had no principled explanation for why this makes sense.

        480.    Plaintiffs’ witness Dederick testified that in-app advertising is distinct from web

 advertising because “the experience for a consumer seeing an in-app ad” is different from seeing

 an ad “on a desktop computer or a laptop.” 9/11/24 PM Tr. 124:4-12 (Dederick). This makes no

 sense because mobile web advertising is also viewed on a phone as opposed to a desktop computer

 or a laptop, and is excluded from Plaintiffs’ market. In any event, Dederick’s distinction between

 user experiences is not responsive to and does not undermine the data demonstrating significant

 substitution between display ads on websites and on apps.




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        481.    Even though the vast majority of large publishers have mobile apps, infra ¶ 601,

 and The Daily Mail is “one of the largest English language newspaper websites in the world,”

 9/18/24 AM Tr. 124:10-16, 125:13-18 (Wheatland), the representative of The Daily Mail claimed

 that The Daily Mail has difficulty directing its users to its mobile app because users have to take

 more steps to use an app than they do to visit a website. 9/27/24 AM Tr. 65:24-66:21, 87:23-88:1

 (Wheatland). Yet Wheatland admitted on cross examination that downloading The Daily Mail

 app requires the exact same number of steps—three—as visiting a website. Id. at 88:2-89:6

 (Wheatland). And once a user downloads the app, the app is on that user’s phone “permanently,”

 after which it would be “really easy” to simply open the app. Id. at 89:7-17 (Wheatland).

        482.    Plaintiffs’ exclusion of the technology used to place in-app display ads from their

 market is a “fundamental omission” because apps are “where a lot of the [action] is.” 9/26/24 AM

 Tr. 85:6-15 (Israel). Plaintiffs “are missing what is now the predominant place to make these

 connections.” Id. (Israel).

                          b.   Ad Spend Has Shifted to Video Ads, Including on Connected
                               TV.

        483.    Video advertising is an increasingly important form of display advertising. 9/23/24

 PM Tr. 144:20-24 (John); DTX-1045 at 46 (2021 GroupM presentation); DTX-1132N at 13 (2021

 Google presentation). According to internal documents from the Census Bureau, digital video

 consumption grew from 47% to 69.8% between 2010 and 2018. DTX-1343 at 46; see also DTX-

 629 at 36 (“One of the biggest content consumption trends is the increase in time spent per day

 with digital video.”).

        484.    Video advertising includes two formats: instream and outstream. Instream video

 ads are played on a website’s or app’s own video player before, during, or after the video that the

 user sought to watch. 9/10/24 AM Tr. 134:13-21 (Friedman). Outstream video ads are video ads



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 placed elsewhere on the website or app, including to the side of or next to the content the user is

 viewing, in ad slots that could also be filled by traditional banner ads. Id. (Friedman).

        485.    Both are types of video advertising, often placed using the same tools, including

 Google Ad Manager, and used to target the same users. The Daily Mail, for example, displays

 both instream and outstream videos on its website. 9/18/24 AM Tr. at 189:7-191:14 (Wheatland).

 The exact same video ad might be categorized as either instream video or outstream video

 depending on where it appears.

        486.    Plaintiffs define display ads to include outstream video ads but to exclude instream

 video ads. Plaintiffs have offered no principled reason to distinguish between the two types of

 video ads. Professor Lee admitted that, based on his demonstrative, Lee Demonstrative 4, a video

 ad run on a website in an “outstream” spot would be included in his market share calculations, but

 the very same video ad run on the same website using the same tools in an “instream” spot would

 be excluded. 9/20/24 AM Tr. 77:4-78:6 (Lee).




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        487.    Plaintiffs’ exclusion of instream ads ignores the commercial reality that advertisers

 have been shifting a greater percentage of their ad spend to video advertising, with most of that

 spend on instream video advertising. Based on eMarketer data, spend on video ads accounted for

 less than $1 billion and only 9% of U.S. display ad spend in 2008; by 2022, it accounted for $73.8

 billion and 54% of U.S. display ad spend. 18 DTX-1917. Between just 2015 and 2022, spend on

 video ads increased by 950%. DTX-1917. Today, “about 57 percent of video spending is instream.”

 DTX-1917; 9/26/24 AM Tr. 78:16-79:2 (Israel).

        488.    In addition to the eMarketer data, Google Ads data also demonstrate that advertisers

 have been substituting ad spend on other ad formats for instream video ads. In 2013, only 14% of

 Google Ads U.S. display ad spend was on instream video ads; by 2022 that percentage increased

 to 31%, as the proportion of ad spend on other display ads declined in parallel. DTX-1857; 9/26/24

 AM Tr. 81:15-82:2 (Israel) (Google Ads advertisers are increasingly substituting to instream video

 away from other display ad formats).

        489.    As reflected in data from Google Ads, just under two-thirds of Google Ads

 advertisers buy both “open-web display” ads and instream video ads. Because they already use

 the same tool to purchase both, these advertisers have easily substituted between the two ad formats.

 DTX-1858; 9/26/24 AM Tr. 80:21-81:11 (Israel).

        490.    In particular, advertisers have been shifting spend to video ads that appear on

 Connected TV. Connected TV (“CTV”) devices are smart devices that stream videos, such as

 Apple TV, Roku, and Amazon Fire TV. 19 9/27/24 AM Tr. 24:3-11 (Bumpers) (Zulily advertises


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   Prior to 2017, eMarketer’s video ad spending estimates did not include outstream video, and by
 2016, instream video ad spend alone had grown from less than $1 billion and only 9% of U.S.
 display ad spend in 2008 to nearly $10 billion and 28% of U.S. display ad spend. DTX-1917.
 19
   Ads appearing on Connected TV are excluded from Plaintiffs’ definition of “open-web display
 ads” on the basis that they are usually instream video ads appearing in Connected TV rather than

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 on various CTV services including Tubi, FuboTV, and Hulu); Deposition of Todd Parsons Tr.

 47:11-48:11.

            490.1.   CTV devices are a growing source of user attention that draws advertisers.

                     Deposition of Todd Parsons Tr. at 47:11-48:11; DTX-1045 at 47-48, 52, 54

                     (2021 GroupM presentation).

            490.2.   All major publishers “are available in a CTV environment.” 9/13/24 PM Tr.

                     45:19-24 (Lambert). The Census Bureau’s ad agency reported that between

                     2010 and 2018, Connected TV penetration in U.S. households increased by

                     208%. DTX-1343 at 45; DTX-629 at 36; see also 9/23/24 PM Tr. 77:4-6

                     (Oliphant) (CTV became “much more prominent” between 2010 and 2020).

        491.    CTV display ad spending in the United States has grown from $2.8 billion (6% of

 U.S. display ad spend) in 2017 to $20.4 billion (15% of U.S. display ad spend) in 2022. DTX-

 1922; 9/26/24 AM Tr. 79:3-19, 79:25-80:16 (Israel).

        492.    Industry participants have observed that Connected TV has driven growth in

 display ad spend on their properties.

            492.1.   For Index Exchange, CTV grew from 0 percent to 10 percent of ads in a span

                     of less than three years. 9/9/24 PM Tr. 22:5-9 (Casale); id. at 21:2-12 (Casale)

                     (growth in video and streaming TV is a transformational event impacting ad

                     tech).




 on websites. They are also often excluded for the reason that most CTV providers have in-house
 ad tech and are therefore “closed” publishers according to Plaintiffs.


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            492.2.   For PubMatic, CTV revenue increased by 50% in one year. It estimated that,

                     by 2023, CTV would become a $65 billion market. 9/12/24 PM Tr. 132:1-14,

                     133:18-25 (Goel).

        493.    Internal Google documents describe the buying tools that have sought a competitive

 advantage by building and investing in their ability to facilitate CTV ads, such as The Trade Desk,

 Roku, Amazon, and Verizon, as exerting significant pressure on Google’s buying tools. For

 example, one 2021 competitive analysis stated that “DV360 is significantly behind competitor”

 tools in the third-party CTV space. DTX-1053N at 3 (“In 2020, Google has already lost $510M

 to TTD, with another $1.4B at risk. Post 2020, there is         at risk.”).

        494.    The Trade Desk has had particular success competing against Google’s tools for

 advertiser business in video and Connected TV formats.

            494.1.   As it has said to investors and analysts, The Trade Desk’s success is due in

                     large part to the fact that over the last four years, there has been a massive

                     shift in terms of where consumers are spending their digital time towards

                     Connected TV and digital audio. 9/12/24 PM Tr. 5:6-6:20 (Dederick). The

                     Trade Desk’s CEO has further stated that Google’s reduced focus on the open

                     internet has created opportunities for The Trade Desk. Id. at 9:1-8 (Dederick).

            494.2.   According to the Chief Revenue Officer of The Trade Desk, it “sounds right”

                     that The Trade Desk told investors that The Trade Desk “will continue to

                     outpace the market in the years to come led by areas such as Connected TV”

                     given that “connected television has been a key growth driver for our

                     company.” 9/12/24 AM Tr. 163:11-165:22 (Dederick); id. at 165:23-166:9




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                     (Dederick) (investments in connected TV and digital audio are driving The

                     Trade Desk’s “top-line revenue growth”).

            494.3.   Plaintiffs’ market share analysis ignores all of The Trade Desk’s success in

                     instream video and CTV, thereby calculating a market share for Google’s buy-

                     side ad tech tools that does not take into account this competition.

                4.      Ad Spend Shifts Between Indirect Transactions and Direct
                        Transactions.

        495.    Direct transactions remain an important way to match advertisers and publishers

 for publishers’ most valuable inventory, and are used as substitutes for indirect transactions by

 both advertisers and publishers.

        496.    Since 2013, direct transactions have accounted for at least 70% of U.S. display ad

 spend. In 2022, direct transactions accounted for 77% of U.S. display ad spend. DTX-1923 (based

 on eMarketer data); 9/26/24 AM Tr. 85:20-86:11 (Israel); see also DTX-1544A at 9 (2023

 BidSwitch forward planning document stating “deals trading makes up a significant portion of

 total trading and is expected to grow”).

        497.    Professor Lee included direct transactions in his alleged publisher ad server market

 share calculations. For Plaintiffs’ alleged “advertiser ad network” and ad exchange markets,

 however, Professor Lee excluded direct transactions from his market share calculations. 9/26/24

 AM Tr. 88:24-89:12 (Israel); 9/19/24 PM Tr. 90:14-91:2 (Lee) (restricted ad exchange share

 calculations to “indirect open-web display transactions”); id. at 119:15-20 (Lee) (market shares

 for “advertiser ad networks” use “only indirect open-web display transactions). Professor Lee

 offered no principled basis for why direct deals are allegedly a competitive constraint in the

 publisher ad server market, but not in the ad exchange or “advertiser ad network” markets. See




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 9/19/24 AM Tr. 77:12-78:13 (Lee) (testifying only to his opinion that direct deals do not constrain

 the ad exchange market).

        498.    Plaintiffs make this exclusion even though direct and indirect transactions can use

 the same ad tech tools and the same ad creatives to reach the same users. For example, the Army

 bought ad space both directly from publishers and indirectly through buying tools like DV360 to

 reach “the same recruits with the same advertising.” 9/25/24 PM Tr. 48:15-50:12 (Stewart).

        499.    The exclusion of direct deals is significant because, as the percentage of U.S.

 display ad spend on direct deals has increased, the percentage of U.S. display ad spend on indirect

 deals has decreased. These data demonstrate substitution between the two types of transactions.

 Compare DTX-1923 (Israel Figure 110: U.S. Direct Display Ad Spending, 2013-2022, based on

 eMarketer data), with DTX-1924 (Israel Figure 111: U.S. Indirect Display Ad Spending, 2013-

 2022, based on eMarketer data); see also 9/26/24 AM Tr. 86:24-87:11 (Israel).

        500.    Advertisers shift spend between direct transactions and indirect transactions.

            500.1.



                                                                     9/26/24 AM Tr. 90:19-91:18

                     (Israel).

            500.2.   Facebook:     According to Boland, former Vice President at Facebook,

                     advertisers “substituted away from Google’s open auctions to programmatic

                     direct deals.” 9/13/24 PM Tr. 135:23-136:1 (Boland).

            500.3.   OpenX: According to a 2017 OpenX competitive intelligence deck,

                     “Programmatic Direct spend is growing at a faster pace in comparison with

                     RTB.” DTX-384 at 3.




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            500.4.   GroupM: Schiekofer, Chief Digital Investment Officer for an advertising

                     agency, testified that her agency (GroupM) shifts between open auction and

                     direct deals based on evaluation of return on investment. 9/17/24 PM Tr.

                     151:3-17 (Schiekofer).

            500.5.   Buzzfeed: A Buzzfeed representative testified that advertisers “switch their

                     budget” between various transaction types—such as manual direct deals,

                     programmatic guaranteed, private marketplaces, and open auction—based on

                     return on investment. Deposition of Ken Blom Tr. 91:7-20, 92:15-93:16,

                     93:18-19.

        501.    For publishers, direct transactions are an important source of revenue. “For most

 publishers, a rough rule of thumb is that 50 to 80 percent of their revenue comes from their direct

 sales efforts.” 9/20/24 PM Tr. 78:9-11 (Sheffer).

            501.1.   For example, the New York Times testified that the “majority of revenue

                     comes from direct sales.” 9/26/24 PM Tr. 129:15-17 (Glogovsky); see also

                     id. at 128:14-25 (Glogovsky) (New York Times’s “direct business creates a

                     larger share” of its display ads business); DTX-1824A at 6 (New York Times

                     presentation estimating New York Times quarterly display revenue from

                     “Direct Banners & PG” as $24.5 million and from “Programmatic -

                     Open/PMP” as $9.8 million).

            501.2.   The Daily Mail testified that it has “a preference to sell advertising directly

                     because we can get higher prices.” 9/18/24 PM Tr. 159:8-12 (Wheatland).

        502.    From the publisher perspective, direct transactions compete with other transactions.




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           502.1.   Gannett: Wolfe, Senior Vice President of revenue operations at Gannett,

                    testified that, on the USA Today network, direct sales fluctuate from 25% to

                    45% of ad sales each year. As direct sales go up, indirect sales go down.

                    9/9/24 AM Tr. 97:24-99:4 (Wolfe).

           502.2.   New York Times: “Programmatic bids that have been solicited” from

                    exchanges in an ad call “compete with [the New York Times’s] direct business

                    to elicit higher CPMs and drive incremental revenue.” 9/26/24 PM Tr.

                    135:25-136:14 (Glogovsky).

           502.3.   An advertising agency witness agreed that digital content providers can

                    strategically prioritize or deprioritize direct transactions for sales of certain

                    inventory. 9/10/24 PM Tr. 22:11-19 (Friedman) (“programmatic direct deals

                    and open auction deals” can be “mixed together,” with programmatic direct

                    deals offering “some priority over premium ad inventory in an open auction

                    before that ad inventory is offered publicly”).

           502.4.   As Dr. Israel explained, publishers have control over their substitution

                    between direct and indirect deals. To the extent indirect ad tech does not work

                    well or becomes more expensive, the publisher can invest more money in

                    making more direct deals. 9/26/24 AM Tr. 87:12-19 (Israel) (“So nobody’s

                    going 100 or zero, but if the tech doesn’t work as well, you substitute more

                    effort on getting the last five or ten direct deals. And, again, that means dollars

                    flow out of the ad tech provider’s pocket.”).

        503.   Demonstrating that direct and indirect transactions are direct substitutes, in 2014

 Google introduced a feature in DFP, Enhanced Dynamic Allocation, that dynamically optimizes




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 for publishers—in real time—whether to place an ad in a given impression from a guaranteed

 direct deal or an indirect transaction.

            503.1.    Before Enhanced Dynamic Allocation, guaranteed direct deals received the

                      highest priority above the waterfall. Ads purchased through guaranteed direct

                      deals were always served (without looking to other demand sources) if there

                      was a direct guaranteed ad available to fill an impression. Indirect demand

                      was only able to compete for the remnant impressions that remained after

                      sufficient impressions were set aside to satisfy the publisher’s guaranteed

                      direct deals. 9/24/24 AM Tr. 67:18-68:9 (Milgrom).

            503.2.    Because indirect demand could not compete for the ad slots dedicated to

                      guaranteed deals, publishers were missing out on the opportunity to make

                      extra revenue because they were “not delivering a high value ad from AdX

                      when it is available.” DTX-125 at 2 (2012 Google product design document).

            503.3.    Enhanced Dynamic Allocation put guaranteed direct deals in head-to-head

                      competition, in real-time, with indirect demand, which increased publishers’

                      revenue by allowing them to sell impressions to an advertiser who valued the

                      impression most while still fulfilling their direct deals. 9/24/24 AM Tr. 69:23-

                      70:25 (Milgrom).

            503.4.    Google launched Enhanced Dynamic Allocation to “expand competition

                      between ads among priorities,” and sellers benefited from increased revenues

                      as a result. DTX-125 at 2; see also DTX-371 at 2 (2017 Google strategy

                      document stating Enhanced Dynamic Allocation “optimizes competition on




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                     every impression”); DTX-1083A at 11 (2021 Xandr presentation describing

                     Microsoft Xandr’s feature similar to Enhanced Dynamic Allocation).

            503.5.   Before launch, Google found in experiments that Enhanced Dynamic

                     Allocation could increase publishers’ AdX revenue by up to 150%. DTX-125

                     at 2.

        504.    When Enhanced Dynamic Allocation is running, direct and indirect transactions are

 literally competing for each individual impression. 9/24/24 AM Tr. 72:21-73:3 (Milgrom) (with

 Enhanced Dynamic Allocation, programmatic auction-based buyers were competing with direct

 sales “on an impression-by-impression basis”).

            504.1.   Plaintiffs’ advertising agency witness agreed that EDA enabled real-time

                     bidding to “play in the same space” with direct deal buyers. 9/10/24 PM Tr.

                     42:11-18 (Friedman).

            504.2.   A 2017 Google document described Enhanced Dynamic Allocation as

                     pushing “the industry in the direction of allowing programmatic / auction-

                     based buyers to compete with direct sales.” DTX-405 at 3.

        505.    Disney has developed a functionality similar to Enhanced Dynamic Allocation that

 makes the same inventory available for “direct buys” available in auctions to bid on. 9/17/24 PM

 Tr. 126:18-127:9 (Helfand). According to Disney, that functionality benefits advertisers because

 advertisers are “buying both ways” and benefits Disney, the publisher, because it wants to

 “maximize fill of all of our available inventory.” Id. at 127:10-19 (Helfand).

        506.    According to DFP data, a majority of DFP publishers sell through both direct and

 indirect transactions. Those publishers can easily substitute between the two transaction types,

 including using Enhanced Dynamic Allocation. DTX-1865 (Israel Figure 45: Distribution of U.S.




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 DFP Impressions by Publisher Use of Direct and Indirect Sales, 2022); 9/26/24 AM Tr. 89:16-

 90:19 (Israel).

        507.       Professor Lee testified that direct deals and indirect deals are nonetheless

 insufficient substitutes because of differences in pricing of the underlying ads. 9/19/24 PM Tr.

 77:12-78:21 (Lee) (price difference between direct deals and indirect deals is “evidence that these

 are significantly differentiated products and publishers aren’t able to easily substitute”).

        508.       Differences in pricing of the underlying ad do not prevent substitution.         An

 advertiser’s goal is not solely to pay less for one underlying ad, but to get return on ad spend across

 ads; a publisher’s goal is not just to maximize the money made from an individual impression, but

 to strategically generate revenue across its properties. Supra ¶¶ 8, 423-425; e.g., 9/10/24 PM Tr.

 8:2-14 (Friedman) (advertising agency advises advertisers “to focus on the audience, the return on

 investment, and not on price”); 9/26/24 PM Tr. 135:25-136:14 (Glogovsky) (competition between

 direct and indirect transactions drives overall revenue for publishers). The evidence thus shows

 that advertisers and publishers shift between the two kinds of transactions in order to fulfill their

 goals. Supra ¶¶ 500, 502. Accordingly, industry participants describe ad spend as literally

 substituting between direct and indirect transactions:

            508.1.



            508.2.     A 2017 OpenX slide deck observed that “growth in programmatic direct may

                       threaten RTB revenue.” DTX-384 at 4. As the deck explained, “if buyers

                       dedicate a fixed programmatic budget, there would be an inverse relationship

                       between spend in RTB and spend in Programmatic Direct”—in other words,

                       advertisers substitute between direct and indirect spend. DTX-384 at 4.




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        509.    A witness for Plaintiffs testified that “programmatic” advertising is distinct from

 direct deals because direct deals are negotiated “direct with the publishers,” including price and

 number of impressions, whereas programmatic advertising is automated without direct negotiation.

 9/9/24 PM Tr. 62:11-63:2 (Lowcock). Another testified that direct deals require negotiation and

 sending “the advertising code back and forth,” whereas indirect deals can be “done in one place.”

 9/10/24 AM Tr. 147:12-148:3 (Friedman); see also id. at 146:21-147:11 (Friedman) (complaining

 that “labor and human energy” “has to be expended” to negotiate direct deals).

        510.    The distinction drawn by Plaintiffs’ witnesses is long outdated. As Stefaniu’s

 demonstration showed, incredibly popular programmatic direct features in a programmatic tool

 like DV360 allow advertisers to negotiate directly with a publisher and to contract what is

 effectively a direct deal without the support or assistance of any sales team. 9/23/24 PM Tr. 49:25-

 52:10 (Stefaniu); Stefaniu DX 1.31-1.33.

            510.1.   Programmatic Guaranteed deals on Google’s tools automate and simplify the

                     process of negotiating direct deals. DTX-428 at 4; supra ¶¶ 286-287.

            510.2.   Moreover, as Plaintiffs’ witness also admitted, programmatic indirect buying

                     also requires “a lot of parameters” “from a human perspective.” 9/10/24 AM

                     Tr. 136:3-17 (Friedman). Neither direct nor indirect transactions are devoid

                     of human input.

            510.3.   Programmatic direct advertising has become incredibly popular, which means

                     that advertisers and publishers are taking advantage of more automated tools

                     to facilitate direct transactions. According to a 2022 Microsoft blog post,

                     “over 85% of digital advertising is sold programmatically, and 67% of

                     programmatic advertising is direct.” DTX-1303 at 2; see also DTX-384 at 3




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                      (2017 OpenX competitive analysis observing that “Programmatic Direct

                      spend is growing at a faster pace in comparison with” real-time bidding, and

                      social media publishers like Instagram and Snapchat are selling through

                      Programmatic Direct).

        511.    That direct deals compete with indirect deals is also important because direct deals

 can bypass or combine the functions of the third-party “advertiser ad networks,” ad exchanges for

 “indirect” transactions, and publisher ad servers that are in Plaintiffs’ defined markets.

            511.1.    For example, Google offers automated direct deals through both its publisher

                      ad server for publishers, DFP, and its demand-side platform for advertisers,

                      DV360, that flow through the AdX pipes. Supra ¶ 286.

            511.2.    Even though advertisers interested in shifting spending from indirect to direct

                      deals might shift more spend to DV360 to take advantage of its programmatic

                      direct offerings, Plaintiffs exclude DV360 from the market that Google Ads

                      is in.

            511.3.    Plaintiffs also exclude any Programmatic Direct transactions from their

                      market share calculations for their alleged ad exchange market.

        512.    On the sell-side, Plaintiffs exclude in-house ad servers from their “publisher ad

 servers” market even though publishers can and do manage their direct deals (and other inventory)

 using in-house ad servers. That includes managing automated direct deals made with advertisers

 using third-party buy-side tools like DV360. E.g.,




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        E.      Real-World Data Show Substitution Between Tools Included in and Excluded
                from Plaintiffs’ Markets.

        513.    By excluding key areas of growth in display advertising (including ads appearing

 on owned-and-operated websites, in apps, and on Connected TV), Plaintiffs’ markets exclude

 transactions in the overwhelming majority of display ads across other channels and formats. In

 2022, in-app and Connected TV display ads alone accounted for 70 percent of display ads, while

 display ads on the “open web” accounted for only 29 percent, continuing a steep decline from 2013.

 DTX-1831; 9/26/24 AM Tr. 46:5-47:8 (Israel).

        514.    As spend has shifted among ad formats and channels, spending on ad tech tools has

 also shifted between ad tech tools that serve and transact “open-web display advertising” (included

 in Plaintiffs’ markets) and tools that do not (not included in Plaintiffs’ markets). 20 All ad tech

 tools compete for the same pool of display advertising spend. 9/26/24 PM Tr. 109:2-18 (Israel);

 9/27/24 AM Tr. 31:7-19 (Bumpers) (advertisers have “a limited amount of resources,” so if “you

 spend all your money in one place, you will not get the same return that you can by shifting money

 to another place”).

        515.    For example, Comcast is a major advertiser that shifts its advertising spend across

 ad tech tools from year to year.

             515.1.    Between 2015 and 2022, Comcast’s spending on display ads through DV360,

                       a tool Plaintiffs would consider to serve and transact “open-web display,”

                       varied from as low as 12% to as high as 30%; its spending through direct deals



 20
    Even for multi-functional tools that serve and transact “open-web display advertising” and
 therefore are included in Plaintiffs’ markets, ad spend has shifted from using those tools for their
 “open-web display ad” functionality, for which transactions are included in Plaintiffs’ market share
 calculations, to their other functionalities (i.e., ability to transact in-app and CTV ads), for which
 transactions are excluded from Plaintiffs’ market share calculations.


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                     varied between 4% and 9%; its share of spending on social media—which is

                     facilitated by tools that are excluded from Plaintiffs’ markets—varied between

                     7% and 20%; and its spend also changed across ad format, with share of

                     spending on video ads (including instream video ads) ranging between 16%

                     and 28%. DTX-1848; 9/26/24 AM Tr. 93:23-94:14 (Israel).

        516.    Google is also an advertiser. It purchases advertising to market its own products,

 and its spending patterns as an advertiser demonstrate the same substitution between tools.

            516.1.   One product Google advertises is Fitbit, a wearable fitness activity tracker. In

                     a year-and-a-half period, the share of display spending through Google Ads

                     to advertise Fitbit fluctuated between 1% and 21%; the share of spending

                     through direct deals fluctuated between 0% and 19%; and the share of

                     spending on social media fluctuated between 2% and 31%. DTX-1847;

                     9/26/24 AM Tr. 91:24-92:19 (Israel). In other words, in quarters in which

                     Google spent more to advertise on social media, it had substituted spend from

                     other channels, including Google Ads and DV360 purchasing. 9/26/24 AM

                     Tr. 91:24-92:19 (Israel) (discussing DTX-1847 and stating “what we see is if

                     you look across Google Ads, DV360, putting it on YouTube, putting it in

                     social media or direct buys, the dollars are just moving around a lot,” which

                     is consistent with “companies again evaluating the relative performance of

                     these different types of advertising and shifting money around”).

            516.2.   Similar trends apply to Google’s advertising of Pixel Phones and its Play Store.

                     For example, advertising on YouTube would not be accounted for in Plaintiffs’

                     market share calculations because YouTube is a Google owned-and-operated




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                     property and is not served by third-party ad tech tools.         But Google’s

                     advertising spend through YouTube to market the Play Store varied widely

                     between quarters—from 27% in the first quarter of 2022 to 83% in the second

                     quarter of 2022 and back to 25% in the third quarter of 2022. DTX-1932;

                     9/26/24 AM Tr. 93:14-21 (Israel). As to social media spend, between the

                     second and third quarters of 2022 Google’s advertising spend on social media

                     to market Pixel Phones declined from 44% to 8%. DTX-1931; 9/26/24 AM

                     Tr. 92:23-93:8 (Israel).

        517.    If advertisers and publishers did not substitute away from or toward tools that serve

 or facilitate “open-web display advertising,” the division of display ad spend between categories

 would remain relatively stable across time. Instead, these spending patterns demonstrate that

 advertisers (and, as a result, their transactions with publishers) substitute between tools that

 facilitate various ad channels, ad formats, and sales channels.

        518.    Because ad spend has shifted, providers of ad tech tools that are excluded from

 Plaintiffs’ markets have won display advertising spend from Google.

        519.    The percentage of U.S. display ad spending that accrues to various ad tech providers

 has consistently changed year-to-year between 2008 and 2022. DTX-1874 (Israel Figure 54: The

 Percentage of U.S. Display Ad Spend Accruing to Selected Industry Participants, 2008-2022); see

 also DTX-1969 (Israel Figure 156: U.S. Display Ad Revenue by Company, 2010-2022).

            519.1.   The percentage accruing to Google started at 5% in 2008, increased to 15%

                     around 2012 and 2013, and then has steadily decreased back to 10% from

                     2018 to 2022. DTX-1874.




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            519.2.    At the same time, the proportion of display ad dollars accruing to other

                      industry participants has changed dramatically. For example, Meta’s share

                      has grown from 3% in 2008 to 37% in 2022 (and 41% at its peak, in 2018 to

                      2020). DTX-1874. Amazon’s share grew from one percent in the mid-2010s

                      to 6% by 2022, and TikTok is up from almost nothing in 2018 to 4% in 2022.

                      DTX-1874.      The very same share that Google is losing is moving to

                      participants like Meta, Amazon, and TikTok. DTX-1874.

        520.    By defining their markets based on whether tools serve and transact “open-web

 display ads,” Plaintiffs have not accounted for any of this substitution. Plaintiffs’ expert Professor

 Lee responded to this real-world substitution data by citing the cellophane fallacy, arguing that

 substitution only exists because Google’s products are not priced competitively. 9/19/24 PM Tr.

 58:24-60:3 (Lee).

        521.    In some cases, the cellophane fallacy suggests that substitution away from one

 product to another may not be reflective of whether the two products are reasonable substitutes.

 For example, consumers may only be switching if prices are prohibitively high in one market.

 9/26/24 AM Tr. 71:17-72:19 (Israel).

        522.    To determine whether the cellophane fallacy applies, the appropriate question to

 ask is whether “we are only seeing substitution because Google’s prices are inflated, and therefore

 that’s the only thing driving substitution.” 9/26/24 AM Tr. 73:25-74:20 (Israel). In the eponymous

 example, if the price of cellophane is prohibitively high, people may wrap their sandwiches in

 newspapers even though newspapers are not reasonable substitutes for cellophane. 9/26/24 AM




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 Tr. 71:17-72:19 (Israel) (noting Professor Lee’s example that if the price of gas gets high enough,

 people will walk 21).

        523.    Here, the cellophane fallacy does not apply or, in any event, does not justify

 disregarding real-world evidence and data demonstrating substitution. Professor Lee only testified

 that Google’s prices are inflated in the alleged ad exchange market, not others, and Google’s AdX

 prices were not higher than some of its competitors’. Supra ¶ 405; infra ¶ 1160, 1162. And real-

 world data show substitution, not to inferior options such as newspaper wrappings in lieu of

 cellophane or walking in lieu of driving, but to “extremely strong competitors” with display ad

 offerings like Facebook, Amazon, and TikTok. 9/26/24 AM Tr. 71:17-73:11, 73:12-74:20 (Israel).

            523.1.       Not a single witness who testified about advertiser substitution between ad

                         formats and channels testified that advertisers are substituting away from

                         “open-web display” even though other ads are “inferior.” To the contrary,

                         industry participants consistently testified that advertisers shift spend in order

                         to maximize return on investment, supra ¶ 432—in other words, because the

                         ads they are shifting to offer superior performance.

            523.2.       Plaintiffs attempted to argue that ads on social media, apps, and CTV, and the

                         ad tech used to transact them, are inferior substitutes for “open-web display

                         ads” and the related ad tech by analogizing “open-web display ads” and other

                         ad channels and formats to stoves and to microwaves. 9/26/24 PM Tr. 33:11-

                         35:9 (Israel). The extensive data on substitution undermine the analogy that




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   Plaintiffs’ expert Professor Lee has declined to use the term “reasonable substitute,” instead
 agreeing only that he evaluated “close substitutes.” 9/20/24 AM Tr. 61:20-62:3 (Lee).


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                      display ads on social media, apps, Connected TV, and other channels are like

                      a microwave oven compared to an open-web display ad as a stove.

            523.3.    As Dr. Israel explained, the better analogy to different ad formats and channels

                      is “two stoves” with differentiated characteristics. “We see active ongoing

                      evaluation of these options against each other, and we see they can provide

                      exactly the same ad in exactly the same way.” 9/26/24 PM Tr. 113:15-114:1

                      (Israel).

        524.    More to the point, significant substitution to create a competitive constraint does

 not require that every single advertiser be willing to abandon “open-web display ads.” 9/26/24

 AM Tr. 74:21-75:17 (Israel); id. at 77:1-11 (Israel) (“So if the tech isn’t working as well or it’s too

 expensive, your return’s going to go down, you’re going to look for places with better tech.”).

 What matters is that customers “on the margin,” including every advertiser and advertising agency

 witness to testify in this case and the advertisers reflected in real-world substitution data, supra ¶¶

 432, 513-519, are actually “moving dollars back and forth” between different forms of advertising.

 9/26/24 AM Tr. 75:12-76:4 (Israel) (“We have all these buyers, for example, who use both Google

 Ads and Facebook and are moving dollars back and forth. We have agencies building models, the

 purpose of which is to help people move dollars back and forth. That’s the kind of marginal

 substitution that we look for.”); see, e.g., 9/10/24 PM Tr. 6:11-7:7, 8:2-14 (Friedman); 9/9/24 AM

 Tr. 94:10-19, 97:5-8 (Lowcock); 9/13/24 PM Tr. 47:19-48:4, 48:14-18 (Lambert); 9/23/24 PM Tr.

 91:13-17, 95:24-96:13 (Oliphant); 9/25/24 PM Tr. 9:9-10:11 (Caldwell); 9/27/24 AM Tr. 31:7-

 32:22 (Bumpers).




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          525.    When those advertisers shift between advertising, they also shift spend between ad

 tech tools, thus creating significant competitive constraints on the tools in Plaintiffs’ asserted

 markets. 9/20/24 AM Tr. 32:9-33:11, 34:6-35:15 (Lee); 9/26/24 AM Tr. 49:23-50:6 (Israel).

 IV.      Plaintiffs’ Component-Based Market Definitions Are Improper Because Ad Tech
          Should Be Analyzed as a Single Two-Sided Market.

          526.    Plaintiffs have defined markets for three components of an ad tech stack, but ad

 tech tools must be evaluated as a single, two-sided market. Slicing and dicing the tools used to

 achieve a match excludes significant competition from alternate pathways that accomplish the

 same match.

          A.      Economic Principles Require Ad Tech To Be Analyzed as a Single Two-Sided
                  Market.

          527.    The purpose of ad tech is to “facilitate matches” between advertisers and the

 individuals viewing advertising impressions on digital content. As explained by the witnesses at

 trial:

               527.1.   Dr. Israel: “The ad tech business sits there in the middle” between the

                        advertiser, the impression created when a user visits digital content, and the

                        digital content provider “trying to facilitate those connections.” 9/26/24 AM

                        Tr. 37:13-38:13 (Israel); id. at 40:20-41:7; 9/20/24 AM Tr. 62:25-63:10 (Lee)

                        (ad tech capable of transacting “open-web display ads” enables transactions

                        between advertisers and publishers).

               527.2.   Korula: “A large part of what Google does is to facilitate matches” between

                        publishers and advertisers; “we offer programmatic solutions that allow

                        effective matching so that we can serve the right ad to the right user.” 9/23/24

                        AM Tr. 10:11-11:5 (Korula).




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            527.3.   Scott Sheffer: The ad tech ecosystem “exists to connect advertisers or ad

                     buyers with publishers who are ad sellers in order to connect messaging and

                     advertisements with users.” 9/20/24 PM Tr. 47:24-48:2 (Sheffer).

            527.4.   Professor Chevalier:      “The crux of an ad transaction” is therefore “a

                     transaction between an advertiser and a publisher.” 9/25/24 AM Tr. 14:1-8

                     (Chevalier).

            527.5.   Professor Weintraub: The “quality of the match” is an important goal of ad

                     tech products. For example, “I would think that the match between the vegan

                     restaurant and the vegetarian recipe would be a high quality match because

                     the vegan restaurant will presumably reach the users it wants to reach. It

                     presumably would be a higher quality match than say a steakhouse in that

                     same vegetarian recipe page.” 9/16/24 PM Tr. 9:23-10:10 (Weintraub).

            527.6.   Professor Simcoe: Professor Simcoe testified that scale is an important feature

                     of ad tech tools because it “represents the ability of publishers to match to

                     advertisers and advertisers to match to publishers, which is the core

                     functionality of the product.” 9/19/24 AM Tr. 91:13-20 (Simcoe).

        528.    Any analysis of competition must therefore assess the match—that is, as a single

 two-sided market that connects advertisers on one side with impressions created when users visit

 digital properties on the other side. 9/26/24 AM Tr. 37:13-38:18 (Israel). Plaintiffs’ proposed

 markets view ad tech tools in isolation, even though all tools have as their purpose facilitating

 matches. 22 9/26/24 PM Tr. 45:11-46:22 (Israel). As a result, Plaintiffs leave out ad tech tools that



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     Plaintiffs may argue that the component parts of the ad tech stack are complements and
 therefore cannot be substitutes in the same market. That misses the mark: the component parts are
 inputs into forming a product that are complements for each other, but that does not mean that the

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 place significant competitive constraints on the tools they allege to be anticompetitive. 23 9/26/24

 AM Tr. 38:19-39:11, 41:8-42:10 (Israel).

        529.    Given that ad tech is “trying to connect two sides of the market,” the success of

 serving each side of the display advertising ecosystem is inextricably tied to the success of serving

 the other. 9/26/24 AM Tr. 41:8-42:10 (Israel). For example, when advertisers experience a strong

 return on investment, they buy more ads, which results in higher revenue for publishers. E.g.,

 DTX-37 at 2 (2009 Google email: “Despite strong economic headwinds, our ad network grew

 about 20% year over year overall. We delivered this performance by continuing to create strong

 ROI for advertisers and therefore good RPMs for publishers.”).

        530.    As Dr. Israel explained, the two-sided nature of ad tech is defined by network

 effects: “if there’s more publishers, the advertisers like that platform better, and vice versa. But it

 also goes the other way. If a platform starts to lose customers on either side,” “the other side isn’t

 as happy, doesn’t find as many matches, and the whole platform can start to unravel.” 9/26/24

 AM Tr. 41:8-42:10 (Israel).

        531.    Plaintiffs’ expert Professor Gabriel Weintraub agreed. He testified that the quality

 of ad tech tools depends on their ability to attract customers on both the buy side and the sell side.

 Professor Weintraub identified as an important characteristic of an ad tech platform “thickness,”

 which he defined as “a measure of the number and diversity of buyers on one side of the market

 and the number and diversity of the sellers on the other side of the market.” 9/16/24 PM Tr. 8:5-


 market is made up of complements; instead, it is made up of the paths for connecting impressions
 and advertisers, where each path is built up from inputs that complement each other. 9/26/24 PM
 Tr. 72:7-20 (Israel).
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   Dr. Israel did not define the outer boundaries of a single two-sided market. Doing so was not
 necessary in order to reach the opinion that Plaintiffs’ component-specific markets were inaccurate
 and too narrow as a result of excluding significant competitive constraints. 9/26/24 AM Tr. 42:17-
 43:11 (Israel).


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 12 (Weintraub). As the “thickness” of an ad tech tool on either the advertiser or the publisher side

 improves, “the quality of the match” also improves. Id. at 8:25-9:22 (Weintraub).

        532.    Because the thickness of ad tech tools is important, Professor Weintraub explained,

 ad tech tools exhibit indirect network effects. 9/16/24 PM Tr. 10:11-11:5 (Weintraub); see also

 9/12/24 PM Tr. 103:11-21 (Goel). Plaintiffs’ Demonstrative N, presented by Professor Weintraub,

 depicted these indirect network effects for ad tech platforms:




        533.    Another industry participant agreed that ad tech tools exhibit indirect network

 effects: “The more parties use a particular platform or system, the more value or utility all users

 get from that platform.” 9/12/24 PM Tr. 102:16-103:21 (Goel).

        534.    Another indication that the proper market to analyze is a single two-sided

 transaction market is that the price charged by the various component ad tech tools is borne by the

 parties on both sides of that single transaction: advertisers and publishers. 9/26/24 AM Tr. 41:8-

 42:10 (Israel); 9/19/24 PM Tr. 74:11-75:2 (Lee) (“When fees are actually taken out by these ad

 tech products, it’s actually borne by both advertisers and publishers.”).


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        535.   Prices are therefore most appropriately assessed across the entire transaction, on

 both the buy-side and the sell-side. 9/25/24 AM Tr. 14:2-8 (Chevalier).

            535.1.   Plaintiffs’ expert, Professor Simcoe, “calculated full stack revenue shares

                     because in his apportionment analysis, he acknowledged that it’s the full stack

                     revenue share that has to be apportioned and ultimately paid by the publisher

                     and the advertiser.” 9/25/24 AM Tr. 16:13-21 (Chevalier). Examining full-

                     stack prices is unlike “adding the price of apples and oranges sold by one fruit

                     producer” because each of the prices in a full-stack price are necessary steps

                     in a single transaction, whereas, as Professor Simcoe admitted on cross

                     examination, “you don’t need an apple to eat an orange.” 9/18/24 PM Tr.

                     44:22-45:7 (Simcoe).

            535.2.   Similarly, Google employees discussed revenue shares across the full stack,

                     recognizing that pricing changes to the buy-side and the sell-side are

                     necessarily intertwined.   PTX-904 at -569 (2019 Google slide deck: “You

                     cannot add sell-side to buy-side revenues given that you would be double

                     counting”); PTX-719 at -463 to -464 (2019 Google email discussing Google’s

                     “full take rate” of 32%); PTX-624 at -169 (2018 Google email: “I have a

                     reasonably strong perspective that we should not make any chances to the sell-

                     side pricing structure without evaluating changes to the buy-side.”).

        536.   Given these market realities, the ad tech industry is “quintessentially what

 economists call a two-sided market,” and it should be analyzed as a single two-sided market for

 ad tech that facilitates connections between advertisers and impressions on publishers’ pages or

 apps. 9/26/24 AM Tr. 41:8-42:16 (Israel). As Professor Weintraub explained, “all of the products




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 and solutions within the ad tech stack” are “intermediaries that facilitate advertisers and publishers

 in the buying and selling of online ads,” including products on the sell-side and the buy-side.

 9/16/24 PM Tr. 42:19-43:16 (Weintraub) (intermediaries include publisher ad servers, ad

 exchanges, demand-side platforms, and ad networks). All of these intermediaries compete with

 each other.

        B.        Evidence from Industry Participants Is Consistent with a Single Two-Sided
                  Market.

        537.      Industry participants, including Google, also understand ad tech tools as competing

 in a single two-sided market to facilitate transactions.

        538.      Google has always approached the display advertising ecosystem—and the

 development of its ad tech tools—as serving a single two-sided display ad market. 9/16/24 AM

 Tr. 64:23-65:17 (Mohan) (“display advertising ad tech by definition has two sides of the market”);

 id. at 66:8-17 (Mohan) (publishers can never succeed without advertisers, and advertisers can

 never succeed without publishers, and the industry has always referred to a buy-side and a sell-

 side); see also DTX-259 at 19 (2015 Google presentation: “We define TAM as total online display

 and video ad spend.”); DTX-758 at 27 (2019 Google presentation comparing Google and

 Facebook across the ad tech stack).

               538.1.   Mohan, who ran Google’s display ads business for multiple years and

                        previously worked at DoubleClick, testified that starting from when he was at

                        DoubleClick he never conceived of running a display ads business that did not

                        serve both advertisers and publishers. 9/16/24 AM Tr. 68:13-20 (Mohan);

                        PTX-14 at -255-75 (2007 DoubleClick materials showed DoubleClick’s pre-

                        acquisition tools included both a “sell side product suite,” a “buy side product

                        suite,” and an ad exchange).



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             538.2.   As Mohan explained, “display advertising, by definition, has two sides of it.

                      Advertisers’ demand needs to run on publishers’ inventory. Publishers cannot

                      monetize their inventory without advertiser demand.” 9/16/24 AM Tr. 22:15-

                      23:2 (Mohan); id. at 24:22-25:11 (Mohan).            “And so publishers and

                      advertisers, by definition, are two sides of the marketplace, otherwise display

                      advertising, just by definition, does not exist.” Id. at 64:23-65:17 (Mohan).

             538.3.   From early in Google’s display advertising business, Mohan viewed Google

                      as serving the interests of advertisers and publishers as an “important part” of

                      Google’s strategy. 9/16/24 AM Tr. 64:23-65:17 (Mohan); PTX-32 at -917

                      (2008 Google email: “Our positioning and value proposition to advertisers and

                      publishers” is “tied to our overall themes of reach, results, relevancy for

                      advertisers and yield and control for publishers”). “In order to provide higher

                      yield, meaning more revenue to our publisher customers . . . we also needed

                      to bring the best advertiser demand to those publishers, and the way that we

                      brought the best advertiser demand was to have a product that generated the

                      most ROI for advertisers. . . . And so, in that sense, having a strong advertiser

                      side benefited our publishers, and having a strong publisher side benefited our

                      advertisers.” 9/16/24 AM Tr. 28:23-29:15 (Mohan); see also id. at 19:19-

                      20:10 (Mohan).

         539.    As the Microsoft representative explained, investing in the buy-side has effects on

 the sell-side too.

             539.1.   “The advertising ecosystem starts with advertisers,” who want to reach their

                      audience, and “they’re the ones paying the money and paying the check.”




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                     Keeping the advertiser spend on the same platform benefits publishers by

                     making it “easier for publishers to see how their inventory gets accessed, and

                     they have the visibility end to end in a transparent way,” and “publishers make

                     more money.” 9/20/24 PM Tr. 138:7-140:17 (John).

            539.2.   Investment on the buy-side thus creates a flywheel effect by growing the sell-

                     side. Satisfied publisher customers then “helps advertisers” because the ad

                     tech provider is able to bring its publisher inventory to those advertisers with

                     “the same underlying platform and visibility and transparency.” 9/20/24 PM

                     Tr. 137:22-140:17 (John); DTX-939 at 1 (2020 Xandr presentation stating

                     “investment rationale” includes “demand channel for our supply,” “with 58%

                     of Invest [Xandr’s DSP] spend staying on Xandr’s supply side platform”).

        540.    Other industry participants likewise view their products as connecting advertisers

 and publishers in transactions—not just as particular components of the stack.

            540.1.   Meta:

                         540.1.1. Farber, lead Product Manager on Audience Network, testified

                                    that Meta’s “Audience Network is a two-sided marketplace,”

                                    because “it connects two businesses, one being publishers and

                                    the other one being advertisers, supply and demand.” 9/26/24

                                    PM Tr. 151:6-15 (Farber).

                         540.1.2. Farber also testified that Meta Audience Network exhibits

                                    indirect network effects. Meta Audience Network is attractive

                                    to its advertiser customers because “it increases the reach as it

                                    allows them to serve ads and fulfill marketing objectives across




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                                  more opportunities, across more impressions through serving

                                  those ads with more apps.” 9/26/24 PM Tr. 150:13-151:5

                                  (Farber).

                       540.1.3. Facebook documents describe the same indirect network

                                  effects, including for a sell-side product like DFP that is used

                                  only by publishers. DTX-642A at 3 (2018 Meta document:

                                  “We have a two-sided market”); PTX-1709 at -934 (2017

                                  Facebook document describing DFP: “Once enough publishers

                                  are on-board, advertisers are induced to buy in and adopt

                                  Google’s protocols and processes. As more advertisers buy in,

                                  additional publishers are induced to join.”).

          540.2.   Boland, former Vice President at Facebook, agreed that he viewed the

                   marketplace as containing “two sides.” Boland described the indirect network

                   effects that characterize ad tech platforms: “There were publishers; there were

                   advertisers. And as you acquire more advertisers, that is a way that you can

                   incentivize more publishers to join on to your product. As more publishers

                   are there, advertisers have to buy into that platform in order to have access to

                   that supply.” 9/13/24 PM Tr. 115:10-17 (Boland).

          540.3.   Microsoft (including AppNexus and Xandr):

                       540.3.1. An internal AppNexus document noted that it “depends on

                                  sellers of advertising inventory for our buy-side customers to

                                  buy through our platform” and “depends on advertising




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                                    inventory to allow our sell-side customers to sell through our

                                    platform.” DTX-358 at 4.

                         540.3.2. An internal Xandr document recognized the importance of

                                    investing in its buy side in order to create a “demand channel

                                    for our supply.” DTX-939 at 1.

        541.    Reflecting the reality that ad tech tools are two-sided, industry participants

 presented by both Google and Plaintiffs identify as competition other providers seeking to win

 display advertising spend. They do not limit their competitors to companies that provide the exact

 same components in the ad tech stack:

            541.1.   Google:

                         541.1.1. In a 2019 “sell-side FAQ” slide, Google explained that the sell-

                                    side and buy-side are two sides of the same transaction: “What

                                    is the sell-side? It is the inventory view of the buy-side.” PTX-

                                    904 at -569.

                         541.1.2. As Google explained in a 2020 internal presentation, “an

                                    evolving supply chain now has many buying doors,” including

                                    “direct buying,” “ad servers,” “ad networks,” “ad exchanges,”

                                    “header bidding,” and “Open Bidding.” DTX-1016 at 12.

                         541.1.3. A 2019 presentation listed Facebook, Amazon, and The Trade

                                    Desk as “serious important competitors,” even though they are

                                    all outside of the markets as Plaintiffs define them. DTX-733

                                    at 3, 18; 9/26/24 AM Tr. 58:25-60:10 (Israel).




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                       541.1.4. As a Google employee testified, when identifying competitors

                                  Google looks at “the entire ecosystem . . . including demand

                                  and supply and how that flowed within the digital marketplace.”

                                  Competitors include “the Facebooks of the world, the

                                  Amazons of the world; any large demand source or, you know,

                                  anyone else who is looking to buy or execute programmatic

                                  buying.” Deposition of Bryan Rowley Tr. 40:9-23, 41:10-16.

          541.2.   Meta: When asked what “broader market” ad servers are in, the Meta

                   representative replied “the ad tech market,” which includes “any and all

                   companies’ entities that take part in the process of serving digital ads online.”

                   9/26/24 PM Tr. 159:19-160:1 (Farber).

          541.3.   The Trade Desk: Although The Trade Desk services only one side of the

                   marketplace because it “explicitly sits on the buy side of the advertising

                   industry,” it recognizes that the industry in which it operates is two-sided.

                   9/11/24 PM Tr. 87:19-88:13 (Dederick) (“A lot like economics, the

                   conversation in our industry around the supply side and the demand side is the

                   same. Supply side relates to the ad inventory; demand side relates to the ad

                   buyers.”); id. at 93:7-94:2, 157:25-158:19 (Dederick) (“Q. There’s a buy side

                   and a sell side. I’m trying to figure out what they are the sides of? A. An

                   advertising industry. There are sellers of advertising and buyers of advertising.

                   It’s pretty clear.”).   As the industry has evolved, The Trade Desk has

                   developed a supply path optimization product called OpenPath that creates

                   direct relationships between The Trade Desk, a “buy-side” product, with the




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                   sell-side of the market. The Trade Desk believed OpenPath’s relationships

                   with the sell-side would “create a more efficient supply chain for advertisers,”

                   its buy-side customers. 9/11/24 PM Tr. 116:11-117:4 (Dederick); 9/12/24 PM

                   Tr. 45:11-17 (Dederick) (The Trade Desk has entered into contracts with

                   publishers that specify the terms and conditions of their use of OpenPath).

          541.4.   Criteo (including BidSwitch): A 2023 forward planning document created by

                   BidSwitch, which connects buy-side and sell-side tools, observed that even

                   purportedly one-sided businesses must be “two-sided marketplaces to avoid

                   being squeezed out.” DTX-1544A at 7. It listed as examples The Trade Desk

                   and Criteo, which offer buying tools but also integrate directly with publishers.

                   DTX-1544A at 7 (“emphasizes the importance of having direct owned Supply

                   AND Demand”).

          541.5.   Microsoft (including AppNexus and Xandr):

                       541.5.1. In a 2016 document identifying “risks related to our business

                                  and its industry,” AppNexus stated:          “We face intense

                                  competition in the marketplace. . . . We compete for digital

                                  advertising spending against a variety of competitors,

                                  including Google and Facebook, who, in some cases, are also

                                  buyers on our enterprise technology platform.          We also

                                  compete for supply of digital advertising inventory against a

                                  variety of competitors, including Google and Facebook.”

                                  DTX-358 at 2. Xandr identified as competitors both other




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                                                                                        DTX-1282 at

                                     43.

                          541.5.2. Microsoft’s representative testified that Xandr competes with

                                     both “companies that have buy and sell side integrated, as well

                                     as companies that just do the buy-side and just do the sell-side.”

                                     9/20/24 PM Tr. 139:12-15 (John).

            541.6.    Index Exchange: Casale testified that publisher ad servers can “also

                      effectively act[] as competitors to companies like Index” Exchange, even

                      though Index Exchange offers—by his own description—only an ad exchange.

                      9/9/24 AM Tr. 111:1-12, 120:12-25 (Casale). But Plaintiffs’ component-

                      based markets would not account at all for competitive pressure from

                      publisher ad servers in the ad exchange market.

        542.    As another indicator that Plaintiffs’ component markets are inconsistent with

 industry recognition, Plaintiffs presented Demonstrative A, which purports to depict ad tech

 products. Not only do Plaintiffs exclude from their relevant markets demand-side platforms, even

 though they are depicted in Plaintiffs’ own demonstrative as interconnected with tools in Plaintiffs’

 markets, but Plaintiffs’ witnesses contradicted Plaintiffs’ depiction.

            542.1.    Professor Weintraub’s depiction of the display advertising ecosystem in his

                      report, Weintraub DX 1, included products that Plaintiffs exclude from their

                      markets. For example, he included an advertiser ad server and a publisher ad

                      network—neither of which, as he testified, are accounted for by Plaintiffs’

                      markets. 9/16/24 PM Tr. 47:20-25, 48:16-49:1 (Weintraub).




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          542.2.   When asked whether the ad tech ecosystem included more tools than those

                   appearing on Plaintiffs’ Demonstrative A, the Chief Revenue Officer of The

                   Trade Desk conceded: “There’s a few major tools missing.” 9/11/24 PM Tr.

                   152:5-10 (Dederick).

          542.3.   An ad agency for the Census Bureau depicted the ecosystem differently than

                   Plaintiffs. It included “ad networks” as a two-sided platform that connects to

                   DSPs and SSPs, not a solely buy-side tool. DTX-1343 at 133.




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        C.      Numerous Tools, Including Header Bidding, Provide Alternate Paths to
                Match Advertisers and Publishers that Are Not Accounted for by Plaintiffs’
                Component-Based Markets.

        543.    The universe of ad tech tools that achieve the same purpose of matching advertisers

 and publishers is far greater than the pathway between the three components Plaintiffs identify:

 “advertiser ad network” to ad exchange to publisher ad server.

        544.    Plaintiffs’ experts concede that ad tech tools excluded from Plaintiffs’ markets can

 put competitive pressure on Plaintiffs’ markets. For example, Dr. Abrantes-Metz testified that

 traditional yield management technology was not an ad exchange and was not a publisher ad server,

 but was a competitive threat in both “the exchange market” and “the publisher ad server market

 for open-web display.” 9/18/24 AM Tr. 66:12-68:4 (Abrantes-Metz).

        545.    Yet Plaintiffs’ markets fail to account for the competitive pressures these and other

 pathways (including header bidding and supply side optimization) exert on “advertiser ad

 networks,” ad exchanges, and publisher ad servers.

        546.    These exclusions are significant because, as Google has recognized, component

 tools compete against alternative pathways.

             546.1.   For example, in March 2020, Google noted that “the average Publisher sold

                      ads through 21.6 different supply paths.” DTX-1016 at 14; id. at 15 (“Many


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                      paths can lead Buyers to the same inventory.”). Google Ad Manager needed

                      to “evolve to keep up with the demand” for different supply paths. DTX-1016

                      at 17.

             546.2.   As Dr. Israel explained, the “only way” to “see substitution on both sides and

                      the full effect of those shifts in the price is to look at things in combination

                      and ask the question what paths are competing with other paths,” and “if tech

                      is not working as well, how do people find their way around it. That involves

                      looking at choices on both sides and the full paths in combination, not piece

                      by piece.” 24 9/26/24 AM Tr. 99:13-100:8 (Israel).

                1.      Plaintiffs Exclude Header Bidding from Their Alleged Markets.

         547.   Header bidding is “among the most important facts” in demonstrating that the

 display advertising market has not been harmed by Google’s conduct. 9/26/24 AM Tr. 103:25-

 104:16 (Israel). Non-Google exchanges and buy-side tools are actively winning header bidding

 auctions, and publishers can sell their inventory through header bidding—including when using

 DFP—to the exclusion of AdX, thus creating immense competition with Google’s ad tech. Id.

 (Israel).

         548.   Professor Lee did not conduct any empirical or quantitative analysis to show

 Google’s conduct had any effect on the number of header bidding transactions. Not only did he

 not find any negative effect, but he acknowledged that from 2018 through the end of 2022, the

 percentage of indirect web impressions won by header bidding in DFP increased from a little over


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   Professor Lee implicitly acknowledged the interconnectedness of the different component parts
 of the ad tech stack by testifying that a “barrier to entry” for “advertiser ad networks” included the
 costs “of building or launching an ad exchange, obtaining the necessary data” and “overcoming
 the scale and network effects to expand an advertiser ad network.” 9/19/24 PM Tr. 118:12-21
 (Lee).


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 25% to close to 45%. 9/20/24 AM Tr. 18:23-20:16 (Lee) (discussing DTX-1898 25 (Israel Figure

 81: Percentage of DFP U.S. Indirect Web Impressions Won by Header Bidding, Jul 2018-Dec

 2022)).

           549.   Industry documents and testimony from Plaintiffs’ witnesses confirm that header

 bidding is “alive and well” and has continuously posed a significant competitive threat to Google’s

 ad tech, even making the competition among exchanges “hyper-competitive.” Supra ¶¶ 202-212.

 By early as 2015, as Professor Lee stated in his report, heading bidding had gone “viral.” 9/20/24

 AM Tr. 16:8-24 (Lee).

           550.   Google’s and Plaintiffs’ experts agree header bidding is “an extremely important

 competitor” because it “lets publishers sell to whoever they want” using exchanges other than AdX

 “even if they’re within DFP.” 9/26/24 AM Tr. 103:7-15 (Israel); 9/20/24 AM Tr. 15:24-16:9 (Lee)

 (agreeing that “header bidding allowed exchanges to compete against each other on the basis of

 real-time demand as opposed to being relegated to a waterfall” and “enabled publishers to

 circumvent” what he referred to as Google’s policy of “permitting only AdX to submit real-time

 bids within DFP”).

           551.   Demonstrating why header bidding is such an important competitive constraint on

 Google, Professor Lee included in his report a screenshot of a Google document that describes

 Google’s perceived “Nightmare scenario”: Amazon would develop a header bidding tag that

 publishers could add to their pages, which would allow Amazon to “develop the

 functionality/infrastructure to take control of ad selection and develop it into a DFP replacement.”

 Lee DX 1; 9/20/24 AM Tr. 13:11-14:9 (Lee).


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   In contrast to the data relied upon by Professor Lee to suggest that exchanges are unable to
 compete with AdX through header bidding, infra ¶ 648.1, the data used to create DTX-1898 does
 not rely upon the flawed GAM log-level data. 9/26/24 AM Tr. 102:1-103:6 (Israel).


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        552.    Professor Lee admitted the “nightmare scenario” had already come to pass and is

 widely adopted, at least with respect to Amazon’s cheap header bidding wrappers that market a

 competitive advantage stemming from Amazon’s “unique demand.” 9/20/24 AM Tr. 9:5-10:10

 (Lee); supra ¶¶ 208-209.

        553.    Publishers can use DFP to sell every one of their impressions to header bidding

 exchanges without giving any access to AdX. In other words, publishers “could use DFP just

 entirely to run header bidding auctions.” 9/26/24 AM Tr. 101:17-25 (Israel); 9/20/24 AM Tr.

 127:22-128:14 (Lee) (a publisher using DFP can make every impression available for bidding to

 any exchange, including through Amazon and Prebid header bidding).

        554.    For example, Plaintiffs’ first witness, Wolfe from Gannett, testified that by 2021

 every impression on the USA Today Network was offered in a unified auction of Amazon header

 bidding and Prebid header bidding, whereas only some were offered to Google’s Open Bidding.

 9/9/24 AM Tr. 80:2-22, 91:16-92:1 (Wolfe).

        555.    As Plaintiffs’ experts agree, header bidding competitively constrains Google in ad

 tech and each of Plaintiffs’ proposed markets.

            555.1.   Professor Lee acknowledged that header bidding does “facilitate real-time

                     competition among ad exchanges and demand sources” like Google Ads and

                     AdX and “could pose a threat to DFP’s market power.” 9/20/24 AM Tr.

                     25:25-27:15 (Lee); see also id. at 5:7-7:13 (Lee) (agreeing “header bidding

                     has increased competition” across Google’s ad tech stack).

            555.2.   Professor Lee also acknowledged that, by 2015, header bidding had gained so

                     much traction that Google was incentivized to innovate in response to header




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                      bidding’s popularity, including by developing Open Bidding. 9/20/24 AM Tr.

                      16:25-17:14 (Lee).

            555.3.    Plaintiffs’ expert Dr. Abrantes-Metz similarly testified that header bidding

                      “had exploded by 2015, was adopted by 70% of publishers by 2016, and was

                      adopted by nearly 80% of top publishers by 2019. 9/18/24 AM Tr. 98:1-20

                      (Abrantes-Metz).

            555.4.    Professor Ravi agreed that header bidding is a “competitive threat” to

                      Google’s ad server and ad exchange. 9/11/24 PM Tr. 44:2-9 (Ravi).

        556.     Taking each of Plaintiffs’ alleged markets in turn, as to the publisher ad server

 market, Professor Lee agrees that header bidding could pose a threat to DFP’s market power,

 9/20/24 AM Tr. 27:1-6 (Lee), by providing “existing competitors or new entrants the potential

 ability to compete more effectively in the publisher ad server market,” id. at 5:21-6:14 (Lee), and

 threatening “Google’s strategy of locking up access to publisher inventory toward DFP,” id. at

 6:5-18 (Lee).

            556.1.    Professor Lee also agreed that header bidding could reduce the impact of

                      DFP’s advantageous access to AdX. 9/20/24 AM Tr. 7:10-13 (Lee).

            556.2.    In addition, “header bidding technology could develop to manage both

                      guaranteed and remnant inventory, which would reduce publisher reliance on

                      DFP and reduce a source of Google’s market power.” 9/20/24 AM Tr. 14:25-

                      15:7 (Lee); 9/20/24 PM Tr. 19:2-20:1 (Lee) (header bidding solutions may

                      start to “replicate some of the features of the publisher ad servers”).




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           556.3.   A 2018 Google email identified this very threat: “There was an existential

                    threat to demand leaving the ad server” posed by header bidding. PTX-590 at

                    -751.

           556.4.   Tom Kershaw, the founder of Prebid, testified that Prebid header bidding

                    functionality competes with publisher ad servers like DFP because Prebid

                    exercises “control over the auction process that previously had been

                    determined by what was called the ad server.” 9/12/24 PM Tr. 164:2-9

                    (Kershaw).

           556.5.   Header bidding competition can increase competition among publisher ad

                    servers because publishers can use header bidding wrappers to sell and serve

                    impressions without any publisher ad server at all.

                        556.5.1. Prebid’s website explains how a publisher can use Prebid to

                                   run a header bidding auction and display the winning ad

                                   without using a publisher ad server. 9/13/24 AM Tr. 15:16-

                                   16:3 (Kershaw).

                        556.5.2. Similarly, Eric Hochberger of Mediavine testified that

                                   Mediavine could “render to page” ads sold through header

                                   bidding without using a publisher ad server. 9/25/25 PM Tr.

                                   170:18-171:5 (Hochberger).

        557.   As to other tools, “ad exchanges and advertiser ad networks working with header

 bidding tools” could “grow themselves.” 9/20/24 AM Tr. 5:21-6:14 (Lee).

        558.   In particular, header bidding intensified competition among ad exchanges by

 making it easier for publishers to multi-home across exchanges. 9/20/24 AM Tr. 10:20-11:13




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 (Lee). Professor Lee agreed header bidding has increased competition among ad exchanges. Id.

 at 10:20-24, 11:9-13 (Lee). Further, Plaintiffs’ expert Professor Weintraub calculated that since

 2015 AdX’s win rate has declined from around 47% to just over 15%, demonstrating quantitatively

 that header bidding has exerted pressure on AdX. PTX-1315.

        559.    Header bidding could even “facilitate other potential competitors to DFP other than

 ad exchanges and advertiser ad networks.” 9/20/24 AM Tr. 5:21-6:14 (Lee). For example, header

 bidding could enable other ad tech tools to attract publishers, triggering indirect network effects

 that threaten Google’s market power. Id. at 6:25-7:9 (Lee).

        560.    Beyond the concessions of their own experts, as discussed above voluminous

 evidence was presented at trial—much of it presented by Plaintiffs—relating to the competitive

 threat posed by header bidding to the tools in Plaintiffs’ markets. Supra ¶¶ 173, 187, 206-207,

 212; see also 9/13/24 PM Tr. 107:7-9 (“we’ve heard a lot about header” bidding). Plaintiffs

 presented a long list of Google documents that described header bidding as a “competitive threat”

 to Google’s display ads business, and Google created a new technological solution to compete

 with that threat. Supra ¶¶ 187-189. The testimony of Plaintiffs’ other industry participants

 witnesses showed that they, too, viewed header bidding both as a source of competition and an

 opportunity to take advantage of the functionality to compete more successfully. Supra ¶¶ 173,

 205, 207. The result is that, according to witnesses presented by Plaintiffs such as the founder of

 Prebid, Google and its rivals have all continued innovating on header bidding technology as header

 bidding continues to gain popularity and win impressions. Supra ¶¶ 207, 209-212, 214.

        561.    Despite all of this evidence that header bidding has been a serious source of

 competitive pressure to the products in their markets—much of which Plaintiffs themselves chose

 to put on—Plaintiffs nonetheless excluded header bidding from any of the relevant product




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 markets, and Professor Lee refused to testify that header bidding constrained AdX’s or DFP’s

 power. 9/20/24 AM Tr. 27:16-24 (Lee).

                2.         Plaintiffs Exclude Supply Path Optimization from Their Alleged
                           Markets.

        562.    Advertisers and publishers are seeking to capitalize on the benefits of integration

 by reducing the number of intermediaries necessary to connect. This trend is called supply path

 optimization. 9/26/24 AM Tr. 104:18-25 (Israel) (advertisers and publishers are “jumping over

 some of the steps in the ad tech path”).

        563.    Supply path optimization demonstrates why it is necessary to “look at path-on-path

 competition,” as opposed to competition within component-specific markets. “Components are

 going to miss supply chain optimization. If a buy-side tool bids directly and doesn’t go through

 an exchange, that’s a perfectly valid path, but it’s not captured by the components.” 9/26/24 AM

 Tr. 105:1-8 (Israel).

        564.    New ad tech tools that make the pathways connecting advertisers and publishers

 more efficient have exerted competitive pressure on third-party buying tools, ad exchanges, and

 publisher ad servers like Google’s.

        565.    First, multiple industry participants now offer products that eliminate the need for

 a third-party ad exchange, exerting competitive pressure that Plaintiffs’ component-based markets

 do not take into account. 9/26/24 AM Tr. 105:9-107:13 (Israel) (referring to Facebook, The Trade

 Desk, Criteo, and Yahoo).

            565.1.       In 2022, The Trade Desk, which has historically operated a demand-side

                         platform that serves advertisers, launched its OpenPath product. OpenPath

                         disintermediates exchanges, as well as solutions like Open Bidding that

                         compare bids from exchanges, by connecting directly to publishers’ inventory



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                   without an ad exchange, and sometimes without a third-party ad

                   server. 9/11/24 PM Tr. 116:14-117:4 (Dederick); 9/12/24 PM Tr. 40:4-9,

                   41:6-13, 43:9-44:6 (Dederick); 9/26/24 AM Tr. 105:9-21 (Israel). Publishers

                   can use OpenPath to sell their inventory directly to advertisers that are using

                   The Trade Desk’s demand-side platform. OpenPath’s publisher customers

                   include major digital content providers such as Reuters, The Washington Post,

                   Gannett, U.S.A. Today, Conde Nast, BuzzFeed, the Los Angeles Times, and

                   Forbes. 9/12/24 PM Tr. 45:18-24 (Dederick).

          565.2.   In 2017, Criteo launched its Direct Bidder product, which performs the same

                   function as The Trade Desk’s OpenPath product. 9/26/24 AM Tr. 105:9-23

                   (Israel). As a Criteo representative described it, the product integrates “to a

                   publisher so that we’re not using an intermediary SSP to access the inventories

                   of that publisher.” Deposition of Todd Parsons Tr. 38:14-38:23.

          565.3.   Within the last year, Yahoo launched a similar product that offers advertisers

                   ways to bypass ad exchanges in accessing publishers’ inventory. 9/26/24 AM

                   Tr. 105:9-21 (Israel).

          565.4.   Mediavine, a publisher that both sells its owned-and-operated inventory and

                   assists other small publishers in monetizing their inventory, has also created

                   proprietary ad tech that bypasses exchanges by directly connecting its

                   publisher inventory with demand-side partners. 9/25/24 PM Tr. 178:1-10

                   (Hochberger); see also id. at 165:16-20 (Hochberger).




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        566.   Professor Lee testified that supply path optimization does not impose a “significant

 enough” constraint on Google based solely on his unsupported statement that “many of these

 products aren’t for open-web display.” 9/19/24 PM Tr. 79:7-19 (Lee).

           566.1.   Consistent with the lack of any industry documents that reference “open-web

                    display advertising,” industry documents describing supply path optimization

                    do not limit the competitive threat posed by supply path optimization to

                    “open-web display advertising.”      For example, a 2021 Xandr document

                    analyzed supply path optimization with respect to “each demand partner that

                    a publisher works with,” which may “have unique access to creative formats

                    (i.e. display, native, video), devices (i.e. desktop, mobile, connected tv),

                    creative sizes, traffic from particular geographic locations, and so on.” DTX-

                    1091 at 6; see also, e.g., PTX-759 at -751 (2019 Google analysis identifying

                    supply path optimization as a “business risk” without limitation to any kind of

                    ad);



           566.2.   Moreover, when confronted with The Trade Desk’s OpenPath supply path

                    optimization product, which does transact “open-web display,” Professor Lee

                    complained that OpenPath is “limited in the publishers it works with” and The

                    Trade Desk testified at a deposition that OpenPath was not meant to be a

                    competitor for exchanges. 9/19/24 PM Tr. 79:7-19 (Lee). At trial, however,

                    The Trade Desk representative testified that OpenPath enables advertisers and

                    publishers to “bypass” exchanges. 9/11/24 PM Tr. 152:5-21 (Dederick).




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        567.   Second, other tools offered by exchanges—like Magnite and PubMatic—can

 eliminate the need for third-party buying tools. 9/26/24 AM Tr. 107:10-13 (Israel); DTX-1544A

 at 15 (BidSwitch forward planning document listing “the most notable” SPO solutions, including

 “marketplaces” offered by Magnite, OpenX, PubMatic, and Index Exchange).

           567.1.   PubMatic’s product, called Activate, provides a “single technology layer”

                    connecting publishers and advertisers and has seen significant growth and

                    success. 9/12/24 PM Tr. 142:20-144:19 (Goel) (from Q1 2023 to Q1 2024,

                    “SPO as a percentage of PubMatic’s activity on platform went from 35 percent

                    to 50 percent”). Over the next several years, PubMatic anticipates that SPO

                    could account for up to 75% of its total buyer activity. Id. at 145:13-16 (Goel).

                    PubMatic’s own depiction of Activate, Goel DX 3, shows how an SPO

                    product can directly supplant the products, such as supply-side platforms, that

                    are included in Plaintiffs’ markets. 9/12/24 PM Tr. 144:4-10 (Goel).




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        568.     Third, some ad tech tools bypass third-party buying tools, exchanges, and publisher

 ad servers by connecting advertisers to publishers directly. Such tools are sometimes referred to

 in the industry as “ad networks” because they aggregate publisher inventory for advertisers to buy

 and connect those publishers to advertiser demand. Infra ¶ 688.

              568.1.   Many—including some of the largest—digital content providers now offer

                       self-service platforms that allow buyers to purchase owned-and-operated

                       inventory directly from the publisher. 9/26/24 AM Tr. 105:9-21 (Israel)

                       (“Any sort of in-house ad tech, like a Facebook, is basically supply path

                       optimization because it’s doing everything in-house in one form of tech.”).

              568.2.   Transactions run through self-service platforms (also referred to as integrated

                       buying tools) can elide any third-party ad tech intermediaries entirely but still

                       involve the use of publisher ad server functionality, auction functionality, and

                       bidding tool functionality. 9/20/24 AM Tr. 32:8-33:11 (Lee); 9/26/24 AM Tr.

                       105:24-106:20 (Israel).

        569.     Plaintiffs’ market definitions simply ignore supply path optimization because

 “these are paths that don’t fit into the buckets”—the component-specific markets—as Plaintiffs

 define them. 9/26/24 AM Tr. 106:21-107:8 (Israel). Industry participants like BidSwitch (now

 part of Criteo), however, recognize that supply path optimization directly exerts competitive

 pressure on the components in Plaintiffs’ markets. For example, demand-side platforms “are

 building publisher-direct integrations that bypass exchanges.” DTX-1544A at 7 (2023 forward

 planning).    And supply-side platforms “are building value-add targeting and ad delivery

 capabilities that marginalize the role of” demand-side platforms. DTX-1544A at 7.




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        570.    To summarize, as industry participants recognize, all tools that facilitate the

 matching of advertisers with publishers’ impressions compete with each other. Alternate pathways

 such as header bidding and supply path optimization are marketed as competitive alternatives and

 exert significant competitive pressure on other component tools.

        D.      Google Does Not Have Monopoly Power in a Single Two-Sided Market for Ad
                Tech.

        571.    While the amount of revenue Google has generated from its display ads business

 has increased since 2008, Google’s share of U.S. display ad spend has decreased since 2012 from

 15% to 10% in 2022. (In addition, approximately half of that revenue is generated from ads placed

 on YouTube, which are outside of Plaintiffs’ alleged markets because they are instream video ads.)

 DTX-1928 (based on eMarketer data); 9/26/24 AM Tr. 94:18-96:8 (Israel).

        572.    That Google’s revenue from display ads has gone up significantly as its percentage

 of U.S. display ad spending has gone down shows that industry output—the total amount

 advertisers are spending on display ads—is exploding, but Google is getting a smaller portion of

 it. 9/26/24 AM Tr. 96:9-97:1 (Israel).

        573.    These trends are inconsistent with Google monopolizing the industry. As Dr. Israel

 explained: “If I look for high-level evidence of monopolization, a company that somehow has its

 thumb on the industry and controls everything, if that’s true, I would look for it taking in a very

 large percentage of the revenue because it’s got something the industry can’t live without. When

 I see Google at 10 percent of the total and declining, to me, Google is certainly taking a piece, but

 it’s not like Google is taking the majority. The industry is actually growing much faster than

 Google’s piece.” 9/26/24 AM Tr. 96:9-97:1 (Israel).

        574.    In June 2018, a Google internal analysis concluded that it was growing at a slower

 pace than other ad tech providers in a single two-sided market. The document stated: “Display +



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 Video market is dominated by FB spend,” “market share of Amazon is expected to increase at both

 Facebook’s and Google’s expenses,” and “Google expected to grow at 16% CAGR (versus market

 of 21%).” DTX-571 at 13, 15, 18.

        575.    To calculate Google’s share in a single two-sided market for connecting advertisers

 and publishers transacting display advertising, Dr. Israel calculated the amount of ad spend that

 has been facilitated by Google’s tools. He summed Google’s ad tech revenue with any publisher

 payout for display ads (using eMarketer’s definition of display ads, which includes spend on

 banner, native, and video ads (instream and outstream) that appear on websites, social media

 properties, retail media properties, in apps, and on CTV) that has been facilitated by any of

 Google’s ad tech tools. 9/26/24 AM Tr. 98:13-99:12 (Israel) (“we take any money that went to

 the publisher, and we associate it with the ad tech provider who facilitated that transaction”). Dr.

 Israel then divided that sum by U.S. display ad spend.

        576.    Based on Dr. Israel’s analysis, during the 2008-2022 period, Google’s market share

 was never higher than 46%. Since 2013, Google’s share has been on a steady decline, with a 25%

 market share in 2022. DTX-1875; 9/26/24 AM Tr. 98:5-99:12 (Israel).

 V.     Even Within Their Component-Based Markets, Plaintiffs’ Market Definitions
        Exclude Competitive Alternatives and Overstate Market Share.

        577.    Even if Plaintiffs were correct that some components of the ad tech stack comprise

 individual markets (they are not), Plaintiffs failed to meet their burden to prove their component-

 based markets are relevant product markets. Each of their markets, and their assessments of market

 power within those markets, suffers from multiple flaws.

        578.    As explained in each section below, even Plaintiffs’ component-based markets

 exclude an enormous amount of competition from ad tech tools that—as shown by real-world data

 and testimony—customers consider reasonable alternatives to the tools that Plaintiffs do include



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 in their markets. Of the full universe of competitive alternatives depicted below, Plaintiffs exclude

 all the ad tech tools and publishers that appear on a gray background—even though those are some

 of the most significant sources of display advertising spend. Israel DX 7; 9/26/24 PM Tr. 111:10-

 112:17 (Israel).




        579.    As an initial matter—even setting aside that defining markets based on individual

 components cannot hope to account for all competitive pressures without accounting for the entire

 two-sided market in facilitating display ad matches—Plaintiffs’ “advertiser ad network” and

 publisher ad server markets also fail for a second reason. Plaintiffs have not assessed these

 individual markets as two-sided markets. 26 Each individual component of an ad tech stack is

 necessarily facilitating a match between advertiser demand and an impression on a publisher



 26
   Professor Lee has claimed that “although indirect network effects exist for ad exchanges, they
 don’t constrain the market power of a hypothetical monopolist.” 9/19/24 PM Tr. 75:15-76:2 (Lee).
 For the reasons explained herein, Professor Lee is incorrect that these network effects are
 insufficient to constrain Google’s alleged market power.


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 property, so any analysis of the alleged component markets must still account for competitive

 pressure on both sides of the transaction. 9/26/24 AM Tr. 115:5-11 (Israel); 9/20/24 AM Tr. 93:15-

 94:1 (Lee) (agreeing the ad tech products in his three markets “have features common with what

 economists call two-sided markets”).

        A.      Professor Lee Did Not Perform a Hypothetical Monopolist Test.

        580.    Professor Lee also failed to conduct a valid hypothetical monopolist test (“HMT”)

 for each of the alleged markets. 9/26/24 AM Tr. 115:12-15, 131:17-19, 140:2-4 (Israel).

        581.    For each of the alleged component-specific markets, Professor Lee claimed that he

 conducted a hypothetical monopolist test. 9/19/24 PM Tr. 50:7-12 (Lee). He did not perform any

 quantitative analysis to analyze substitution, such as a quantitative SSNIP (small but significant

 non-transitory increase in price) test “that directly uses information and customer substitution

 patterns.” 9/20/24 AM Tr. 95:4-96:6 (Lee). Professor Lee asserted that “there were issues with

 relying on that”—referring to substitution data—“in monopolization cases” because a quantitative

 analysis was not appropriate “where there’s concern that there’s already been an exercise of

 significant power.” Id. at 95:5-9, 96:7-19 (Lee). Instead of performing a quantitative analysis,

 Professor Lee relied on his qualitative discussion of product differences. Supra ¶¶ 406-407.

        582.    A “real-world HMT” can be conducted to assess whether a firm is charging

 competitive prices by comparing prices in the alleged monopolized market to prices in a market

 where there is no alleged monopolization. 9/26/24 AM Tr. 116:1-117:12 (Israel). Professor Lee

 is not providing an opinion as to whether Google possessed market power in any relevant market

 before 2015, and he was unable to provide a precise date in or after 2015 on which Google acquired

 market power. 9/20/24 AM Tr. 90:6-92:3 (Lee). Professor Lee did not perform any real-world

 HMT that compares Google’s pricing pre-2015 and post-2015. 9/26/24 AM Tr. 117:13-14 (Israel).




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        583.    In support of his opinion that each of the alleged markets would pass the HMT,

 Professor Lee relied on: (1) evidence that the products in the relevant market offer distinct features

 not available from alternatives; and (2) direct evidence of market power, including that Google is

 able to “deviate significantly away from competitive behavior” by “charging prices that are

 significantly above competitive levels or failing to maintain quality at competitive levels.” 9/19/24

 AM Tr. 60:4-61:5 (Lee).

        584.    With respect to the first category of evidence, Professor Lee has failed to collect or

 analyze any customer substitution data that would show which products might impose competitive

 constraints on the products in his alleged markets—even though that is the relevant question that

 must be answered for market definition. 9/20/24 AM Tr. 94:18-95:9 (Lee).

        585.    With respect to the second category of evidence, Professor Lee also failed to offer

 direct evidence establishing that Google has market power in his claimed markets. Professor Lee

 defines market power as the ability to profitably charge prices significantly above competitive

 levels, or the failure to maintain quality, product variety, or innovation at competitive levels.

 9/19/24 PM Tr. 49:8-21 (Lee); id. at 50:23-51:4 (Lee) (substantial and sustained market power

 means the “ability to profitably charge prices significantly above competitive levels” “long enough

 to meaningfully affect competition”).

        586.    Each category of direct evidence of market power is discussed below. Infra ¶¶

 590-597, 625-631, 696-702. As a threshold matter, Professor Lee acknowledged that by presenting

 direct evidence of market power, he is trying to avoid defining a market in the first instance.

 9/19/24 Tr. 60:4-61:5 (Lee) (“direct evidence of market power doesn’t rely on having already

 defined a relevant market, nor does it rely on market share calculations”). Professor Lee also

 admitted he has not defined any specific but-for world, so he cannot establish whether Google




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 charged supracompetitive prices or decreased quality relative to what the competitive level should

 have been in a but-for world. 9/20/24 AM Tr. 146:4-147:25 (Lee) (“I’m not putting forward a

 specific but-for world” for any of the alleged conduct).

        B.      Plaintiffs’ Market Based on “Publisher Ad Servers for Open-Web Display
                Advertising” Excludes Competitive Alternatives and Overstates Google’s
                Market Power.

        587.    Plaintiffs allege that “publisher ad servers for open-web display advertising” is a

 relevant product market, and that DFP competes in that market. 9/19/24 PM Tr. 54:23-55:9 (Lee).

        588.    In support of his claim that the alleged market passes the HMT, Professor Lee relied

 upon on what he characterized as (1) direct evidence of Google’s alleged market power, that

 Google has failed to maintain quality at competitive levels; and (2) indirect evidence, (a) that

 publisher ad servers for “open-web display advertising” offer distinct features valued by customers

 not provided by alternatives, and (b) that Google has a high market share. 9/19/24 PM 60:4-61:5,

 70:2-71:16 (Lee). In analyzing direct evidence of market power, Professor Lee did not discuss

 the price of DFP. Id. (Lee).

        589.    Professor Lee’s evidence is insufficient to support his claim that “publisher ad

 servers for open-web display advertising” pass the HMT. 9/26/24 AM Tr. 115:12-15 (Israel).

                1.     Plaintiffs Failed to Offer Direct Evidence Showing Their Publisher Ad
                       Server Market Passes the HMT or Google Has Market Power in that
                       Market.

        590.    For “direct” evidence supporting his publisher ad server market, Professor Lee

 identified two of Google’s product design decisions that allegedly “provided quality below

 competitive levels or failed to maintain quality at competitive levels”: Google’s implementation

 of the Unified Pricing Rules and restriction of AdX real-time bid amounts to DFP, which are two

 of the five acts that Lee claims to be anticompetitive in this case, infra ¶ 715. 9/19/24 PM Tr.

 66:7-67:11 (Lee).


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        591.      Put another way, as Professor Lee agreed, the direct evidence of market power “is

 the conduct” at issue in this case. 9/20/24 AM Tr. 129:3-23 (Lee). Applying this reasoning, to

 define a market and find market power, all an expert witness like Professor Lee needs to do is

 make a determination that Google engaged in anticompetitive conduct—here, conduct that was

 allegedly anticompetitive because Google was not giving its rivals access to its customers. Id. at

 136:13-137:10 (Lee).

        592.      Professor Lee cannot show that Google has market power because he has not

 identified what DFP’s quality would have been (or how it would be measured) in a competitive

 but-for world.     There is therefore no way to evaluate whether Google’s alleged quality

 degradations rendered DFP’s quality below the “competitive level.” 9/26/24 AM Tr. 117:15-118:1

 (Israel); 9/20/24 AM Tr. 146:4-147:25 (Lee).

        593.      Professor Lee opined for the first time on re-direct examination that DFP’s fees are

 evidence of market power because DFP charges “positive” fees and Google realizes “benefits”

 from use of DFP. 9/19/24 PM Tr. 66:7-67:6 (Lee); 9/20/24 PM Tr. 28:4-29:2 (Lee). But he did

 not actually conduct any pricing analysis, or explain why DFP’s fees are supracompetitive except

 to argue that DFP’s prices are high given that Google “degraded” quality by engaging in the

 conduct he identified as anticompetitive in this case. 9/19/24 PM Tr. 66:7-67:6 (Lee).

        594.      In contrast to Professor Lee, Dr. Israel did analyze the price of DFP. His analysis

 demonstrated that Google’s very low DFP ad server fees suggest that the publisher ad server

 market is improperly defined and that Google does not have market power. Despite the allegation

 that “DFP shares were quite high,” “DFP prices are very low and falling” for publishers who pay




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 fees. 27 And more than 85% of publishers who use DFP do not pay any fee at all. 9/26/24 AM Tr.

 118:2-121:16 (Israel); DTX-1954; DTX-1912 (within each volume tier prices are declining over

 time); DTX-1977 (DFP fees per thousand impressions have dropped from $0.033 on average in

 2014 (1.7% based on a $2 CPM impression) to $0.027 on average in 2022 (just 1.3% based on a

 $2 CPM impression), even without adjusting for inflation).

         595.    Conducting a “real-world” HMT entails comparing Google’s DFP prices in the

 allegedly monopolized market after 2015 (including after some competitors have exited the market)

 to prices in the allegedly non-monopolized market before 2015. Google’s prices have fallen after

 2015, so the alleged market fails the HMT. 9/26/24 AM Tr. 121:4-122:9 (Israel).

         596.    In addition to falling DFP prices, Google has continued to make “business

 concessions,” such as agreements about pricing, service level, or building new technical features,

 in order to win publisher business to DFP. 28 9/20/24 PM Tr. 96:3-97:13 (Sheffer). For example,

 when Google responds to RFPs issued by publishers, publishers request a variety of technical

 features such as “reliability and uptime, latency, the accuracy of your ability to both forecast and

 deliver ads, your ability to deliver specific technical requirements,” and more. Id. at 93:2-95:1

 (Sheffer). Publishers also ask Google to create new technological features that do not already exist

 on Google Ad Manager “all the time.” Id. at 95:2-11 (Sheffer).


 27
   To the extent that Plaintiffs suggest that Google has acted anticompetitively by charging very
 low fees for its ad server in order to attract business for its other tools, that conduct is not consistent
 with how a monopolist would behave. 9/26/24 PM Tr. 112:18-113:14 (Israel) (“aggressive price
 cutting on certain products to attract business is what you need to do when you compete”).
 28
    Plaintiffs rely heavily on a January 2009 email, forwarded by Brad Bender, to argue that
 publisher ad servers find it difficult to compete for publisher business. The email contained the
 statement of David Rosenblatt: “Switching platforms is a nightmare. Takes an act of God to do
 it.” PTX-1814 at 4. Rosenblatt worked at Google for less than a year after the DoubleClick
 acquisition, was never in an operational role, had no team, and was not responsible for any
 decision-making. 9/11/24 AM Tr. 15:14-15, 73:2-14 (Bender). When presented with Rosenblatt’s
 statement, Bender reacted: “It seems like an overstatement.” Id. at 19:14-24 (Bender).


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        597.    Far from dominating a market so that publishers must use its sell-side products,

 Google loses publisher business to other ad tech providers. 9/20/24 PM Tr. 98:7-9, 98:21-99:23

 (Sheffer). For example, in 2023 Google and Microsoft competed to partner with Netflix, a major

 streaming platform, in ad serving technology and selling their inventory. Id. at 98:21-99:23

 (Sheffer). Google lost the deal to Microsoft—even though Google offered concessions such as

 specific development work and a “financial guarantee”—because Microsoft was able to offer

 better terms. Id. at 99:1-100:20 (Sheffer). Microsoft winning the Netflix deal has since had a

 “halo effect” for Microsoft’s display ads business, which continues to garner customer business as

 a result. Supra ¶ 322.

                2.        Plaintiffs Failed to Offer Valid Indirect Evidence to Support Their
                          Publisher Ad Server Market or Google’s Market Power.

        598.    Turning to the indirect evidence, Professor Lee argued that “publisher ad servers

 for open web display ads” are a distinct market because they offer distinct features not provided

 by other ad tech tools. His analysis ignores the reasonable substitutes available to publishers that

 impose competitive restraints on DFP and therefore overstates DFP’s market share. Israel DX 6;

 Israel DX 7; 9/26/24 PM Tr. 111:10-112:17 (Israel).

        599.    Those substitutes include: (a) managing and selling inventory other than “open-web

 display,” including in-app content; and (b) alternative products sellers can use to manage and sell

 their “open web display” inventory, including developing their own ad server. These competitive

 pressures can and do attract customer spend from DFP.




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                        a.      Plaintiffs Exclude Transactions in Formats Other than Banner
                                Ads on the “Open Web” and Display Ad Tools that Do Not Sell
                                “Open-Web Display” Inventory.

        600.    First, although Plaintiffs purport to define markets for tools, their market share

 calculations exclude non-“open web display” transactions that take place on those tools, thereby

 omitting an important portion of the functionality of many publisher ad servers.

        601.    This omission is significant given a majority of large web publishers also operate

 apps. 9/26/24 AM Tr. 122:14-25, 123:13-16 (Israel) (the “vast majority” of web publishers have

 apps); 9/26/24 PM Tr. 109:21-110:6 (Israel) (“of the 100 largest web publishers, according to

 Comscore data, only three do not have apps”). Those publishers often shift their content to apps

 and encourage users to use their apps rather than their websites. 9/26/24 AM Tr. 122:14-123:12

 (Israel) (providing examples of publishers including PayPal and Chick-fil-A that have offered

 incentives to encourage users to go to their apps).

        602.    Impressions are only generated if users visit a publisher’s digital property, so when

 a publisher drives users to an app instead of a website, the amount of web inventory available for

 sale decreases while the amount of app inventory available for sale increases. 9/26/24 PM Tr.

 56:4-15 (Israel) (there is no such thing as web “inventory sitting on the shelf” if no users visit the

 website because the publisher will only “get impressions when a user comes”).

        603.    If Google is decreasing the quality or increasing the price of DFP, publishers can

 substitute app impressions for web impressions and, if they choose, substitute ad tech used to serve

 in-app ads for DFP. 9/26/24 AM Tr. 123:17-124:7 (Israel).

        604.    One of Plaintiffs’ witnesses, Brian Boland, former Vice President at Facebook,

 testified on direct that Facebook’s publisher ad server products for the web, including the web

 version of Facebook Audience Network and LiveRail, failed because it was difficult to compete

 in the publisher ad server market for web impressions that Google had monopolized. 9/13/24 PM


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 Tr. 109:17-110:5, 129:14-21 (Boland). Boland admitted on cross examination, however, that

 Facebook shifted the attention of Facebook Audience Network to in-app ads as part of a “strategic”

 move in reaction to ad demand shifting to apps. Supra ¶ 332. Boland also had to concede that

 LiveRail failed for a number of reasons unrelated to Google, including “a number of challenges”

 with integration into Facebook; the “sales pipeline”; “culture clash” between LiveRail and

 Facebook employees and failure to relocate employees; a discovery “that the vast majority of

 LiveRail inventory was not quality supply”’ and, ultimately nothing that “directly” related to

 Google. 9/13/24 PM Tr. 141:7-16, 143:2-5, 143:11-24, 143:25-144:2, 144:10-18 (Boland).

        605.    Ultimately, Boland agreed that Meta Audience Network has still managed to attain

 “a lot of scale” in serving third-party app publishers. 9/13/24 PM Tr. 145:15-17 (Boland).

                       b.      Plaintiffs Exclude Competition from In-House Publisher Ad
                               Servers, as Well as Other Pathways to Connect that Do Not
                               Require Third-Party Publisher Ad Servers.

        606.    Plaintiffs do not include in-house publisher ad servers (i.e., those owned and run by

 the publisher) in their market for publisher ad servers for open-web display advertising or their

 market share calculations. 9/26/24 AM Tr. 126:5-11 (Israel).

        607.    An in-house ad server is a direct substitute for a third-party publisher ad server

 because a publisher with an in-house ad server does not need to use a third-party publisher ad

 server to serve the exact same ads. 9/12/24 PM Tr. 43:23-44:6 (Dederick). In-house and third-

 party ad servers compete to facilitate ad spend. 9/20/24 AM Tr. 35:11-15 (Lee) (agreeing that if

 an “advertiser moves $1 from open-web display ads to Amazon or Facebook, the ads will be served

 by the proprietary ad servers of those companies and not DFP or some other publisher ad server

 on the open web”).

        608.    Meta (Facebook and Instagram), TikTok, Amazon, Reddit, Snapchat, Pinterest,

 eBay, and LinkedIn are examples of companies that have built in-house ad servers. 9/26/24 AM


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 Tr. 126:12-25 (Israel); 9/26/24 PM Tr. 110:7-17 (Israel); DTX-1872; see also 9/12/24 PM Tr.

 44:7-22 (Dederick) (industry participant “understood and heard about interest” in in-house ad

 servers “across the industry”). These sellers include some of the largest publishers today, which

 account for a significant portion of digital ad spend and had the resources and capacity to build

 successful in-house servers. 29 DTX-1969 (Israel Figure 156: U.S. Display Ad Revenue by

 Company, 2010-2022).

        609.    Plaintiffs argue that in-house ad servers should not be included in the same market

 as third-party ad servers because a publisher cannot use another publisher’s in-house servers to

 sell inventory. 9/19/24 PM Tr. 62:1-12 (Lee). For example, a blog owner cannot use Facebook’s

 in-house ad server to sell her own inventory.

        610.    That argument elides the obvious fact that publishers who build in-house servers

 literally substitute in-house ad servers (which are not in Plaintiffs’ market) for third-party ad

 servers (which are). “Many publisher partners” “consider on a regular basis whether to take ad

 serving in-house and develop their proprietary customized technology.” 9/20/24 PM Tr. 71:10-

 72:20 (Sheffer). For example, Amazon, Reddit, Disney, and Snapchat previously used Google’s

 ad server, DFP, before they built their own ad servers. 9/26/24 AM Tr. 126:17-25 (Israel); 9/20/24

 AM Tr. 73:15-74:3 (Lee); 9/17/24 PM Tr. 123:9-11 (Helfand). Plaintiffs’ market definitions lead

 to the absurd result that transactions for the same inventory are in the relevant market before the

 switch but are excluded after. 9/26/24 AM Tr. 127:1-7 (Israel).



 29
   Professor Lee testified that he saw documents indicating that Facebook would have difficulty
 building a publisher ad server that could serve third-party publishers, but clarified on cross that he
 was “referring to building a successful publisher ad server, gaining traction with open web
 publisher customers.” Compare 9/20/24 AM Tr. 74:19-75:1 (Lee), with PTX-580, and 9/20/24
 PM Tr. 23:21-25:18 (Lee) (Facebook is “already able to sell advertising,” so “it already does have
 some advantage over firms who may not be in the business of selling advertising.”).


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        611.    Some publishers substitute in the other direction. They substitute DFP for their in-

 house ad server, in which case Plaintiffs would exclude transactions for the same inventory from

 the relevant market before the switch but include those transactions after. 9/19/24 PM Tr. 65:4-

 20 (Lee) (acknowledging the New York Times had its own internal ad server but switched to DFP);

 9/20/24 AM Tr. 78:8-79:1 (Lee); 9/26/24 PM Tr. 55:2-8 (Israel) (The New York Times switching

 from its in-house ad server to DFP is evidence of substitution).

        612.    In-house ad servers are a significant competitive constraint on Google’s alleged

 market power because they replace Google’s publisher ad servers. Publisher customers choose

 “on a regular basis” whether to switch between third-party or proprietary ad servers. 9/20/24 PM

 Tr. 71:10-72:20 (Sheffer); see also 9/12/24 PM Tr. 44:12-18 (Dederick) (The Trade Desk

 representative had heard “interest across the industry” in building proprietary ad servers).

        613.    In-house ad servers are an especially strong constraint because many of the largest

 publishers, whose business Google is most concerned about losing, have built in-house ad servers.

 9/26/24 AM Tr. 127:8-128:2 (Israel).

            613.1.   A 2017 Google competitive analysis document comparing Amazon’s product

                     presence to Google’s compared Amazon’s “proprietary ad server” to DFP and

                     identified the Amazon server as a “strong existing product.” DTX-406 at 6.

            613.2.   As another example, Disney moved some of its instream video inventory from

                     Google Ad Manager to its in-house ad server, again literally substituting an

                     in-house ad solution for a third-party one. 9/17/24 PM Tr. 123:9-11, 132:7-

                     11 (Helfand) (Disney continues to use both Google Ad Manager and its own

                     in-house ad server to sell inventory today); 9/13/24 AM Tr. 89:8-17 (LaSala)




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                      (noting Disney switched away from Google’s publisher ad server and “built

                      their own”).

        614.    The publishers that can substitute away from DFP by building in-house ad servers

 are far from only the largest, most well-resourced ones that make up a significant amount of ad

 tech spend. Smaller publishers with more limited resources have tools to build their own servers—

 for as little as $80,000 and in a matter of weeks.

            614.1.    Kevel provides infrastructure necessary for a seller to build a publisher ad

                      server in a couple of weeks to a couple of months and at a fraction of the

                      cost—as low as $80,000—associated with building an ad server from scratch.

                      9/9/24 Tr. at 151:12-25, 154:17-155:18, 155:19-157:1 (Avery).         Kevel’s

                      clients that have built in-house servers include Ticketmaster, Bed Bath &

                      Beyond, and Yelp. Id. (Avery); 9/26/24 PM Tr. 110:18-24 (Israel).

            614.2.    Over 200 brands, including Ticketmaster, Bed, Bath & Beyond, and Yelp have

                      launched in-house ad servers with Kevel, serving all kinds of ad formats

                      including banner, mobile, and video ads. 9/9/24 Tr. at 155:19-157:1 (Avery).

        615.    Considering just the subset of sellers with in-house ad servers who produced data

 in this case (Meta (Facebook and Instagram), Pinterest, Snapchat, and TikTok), Google’s share in

 the ad server market was never higher than 45% for the 2019 to 2022 period, and has decreased

 from 45% to 38% between 2019 and 2022. DTX-1872; 9/26/24 AM Tr. 128:9-129:16 (Israel)

 (even just a subset of publishers with in-house ad servers “can discipline Google greatly”).

        616.    Google considers itself to compete in this larger market for “ad monetization” that

 includes ads served by in-house ad servers, such as on Facebook and Amazon. Supra ¶¶ 300, 541;

 PTX-657 at -350 (2018 Google sell-side strategy deck).       Google competes for business from




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 publishers that have their own in-house ad servers, including Twitter, Pinterest, eBay, and

 LinkedIn. PTX-657 at -366-67, -369-70; 9/20/24 PM Tr. 76:14-77:19 (Sheffer) (Google was

 trying to get Twitter’s business “for a number of years”).

        617.    Google sometimes successfully competes to win the business of ad serving on

 publisher properties that were previously served by in-house ad tech tools.

            617.1.   For example, DFP recently started serving content on Internet Movie Database

                     (IMDb, owned by Amazon). IMDb is owned by Amazon and, for a number

                     of years, managed inventory using Amazon’s proprietary internal ad server.

                     IMDb now serves their web and app inventory using Google Ad Manager.

                     9/20/24 PM Tr. 68:8-18, 70:10-17 (Sheffer); DTX-1511 at 1 (2023 Google

                     email announcement: “We’ve fully executed a deal and technical architecture

                     which will allow Ad Manager to manage all of IMDb’s indirect demand

                     sources and allow AdX and [Open Bidding] to participate in their auction”).

                     Today, AdX and Open Bidding bidders can bid for IMDb inventory. 9/20/24

                     PM Tr. 70:10-24 (Sheffer).

            617.2.   At the same time, IMDb still uses Amazon’s in-house ad server to manage its

                     direct deals and has a “direct connection to the Amazon DSP.” DTX-1511 at

                     1; 9/20/24 PM Tr. 70:1-9 (Sheffer).

            617.3.   Similarly, Discord weighed whether to build a proprietary ad server or use

                     Google’s, and it requested that Google compete for its business by building

                     new technical features that did not already exist in Google Ad Manager to win

                     its business. 9/20/24 PM Tr. 95:12-96:2 (Sheffer).




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        618.    Plaintiffs’ market definition also excludes the competitive pressure exerted by the

 option to sell inventory without any publisher ad server at all, third-party or in-house. Ad networks

 such as Google’s AdSense and AdMob and Meta Audience Network connect publishers to

 advertisers. Supra ¶¶ 47, 56, 331. Among the millions of publishers, supra ¶¶ 52, 102, that use

 Google’s AdSense for Content ad network, it is “very common” for publishers to take advantage

 of the option, shown below, DTX-173 at 17 (2013 Google presentation), to use AdSense to sell

 inventory without any publisher ad server. 9/23/24 AM Tr. 15:12-14 (Korula).




        619.    AdSense for Content is not the only inventory management option for smaller

 publishers that allows them to monetize without any publisher ad server. For example, publishers

 can sell all of their inventory through hundreds of exchanges and buying tools using Prebid’s

 header bidding solution without any ad server. Supra ¶ 169.

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        620.    Taking into account the above competitor options for publisher ad serving, the

 percentage of total U.S. display ad spending accounted for by tools Google offers to manage


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 inventory (DFP, AdSense and AdMob) and by display ad spending on Google’s properties such

 as YouTube was never higher than 38% for the 2019 to 2022 period. Google’s share in 2022 was

 30%. DTX-1873; 9/26/24 AM Tr. 129:21-131:1 (Israel) (of all spending on display ads served in

 the U.S. (using eMarketer’s definition of display ads), the percentage running through any Google

 ad serving tool, including DFP, AdSense, AdMob, and Google’s O&O, is only 30%).

        621.    Google is serving less than a third of the total display market, so it does not have

 monopoly power in any market for managing or selling inventory. 9/26/24 AM Tr. 131:2-14

 (Israel) (“The threat from going to apps, plus the threat from going in-house, plus the two-sided

 threat that if the ad server doesn’t work well, advertisers might find that an unattractive place to

 buy impressions. All of those things lead to Google actually facing substantial competition from

 those various options, as reflected in these low shares.”).

        C.      Plaintiffs’ Market Based on “Ad Exchanges for Indirect Open-Web Display
                Advertising” Excludes Competitive Alternatives and Overstates Google’s
                Market Share.

        622.    Plaintiffs allege that “ad exchanges for indirect open-web display advertising” is a

 relevant product market, and that AdX competes in that market. 9/19/24 PM Tr. 98:12-21 (Lee).

        623.    In support of his claim that the alleged market passes the HMT, Professor Lee relied

 upon what he characterized as (1) direct evidence of Google’s alleged market power, Google’s

 allegedly supracompetitive prices for AdX open auction transactions; and (2) indirect evidence.

        624.    As explained below, Professor Lee’s evidence is insufficient to support his claim

 that his market for “ad exchanges for indirect open-web display advertising” passes the HMT.

 9/26/24 AM Tr. 133:16-134:8 (Israel). And Plaintiffs otherwise failed to conduct a valid HMT in

 order to establish their alleged market for ad exchanges for “indirect open-web display advertising.”

 Id. at 131:15-19 (Israel).




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                 1.     Plaintiffs Failed to Offer Valid Evidence Showing Their Ad Exchange
                        Market Passes the HMT.

          625.   Professor Lee identified the 20% fee Google charges for AdX open auction

 transactions as direct evidence that Google possesses sufficient market power in his alleged ad

 exchange market for the alleged market to pass an HMT. 9/19/24 PM Tr. 81:20-82:14, 85:1-7

 (Lee).

          626.   Professor Lee’s analysis fails, however, to define a but-for world in which Google

 lacks an alleged monopoly or to perform any price comparison against such a but-for world.

 Professor Lee is therefore unable to establish that Google charged significantly higher prices or

 decreased quality relative to what the competitive level should have been in a but-for world,

 rendering his analyses invalid. 9/20/24 AM Tr. 146:4-147:25 (Lee) (“I’m not putting forward a

 specific but-for world” for any of the alleged conduct); 9/26/24 AM Tr. 131:20-132:10 (Israel).

          627.   As discussed infra ¶¶ 1147-1152, Professor Lee’s comparison of ad exchanges’

 prices only examined nominal prices, not quality-adjusted prices. Plaintiffs have not submitted

 evidence that other exchanges provide comparable quality to AdX. Professor Lee’s pricing

 comparison also shows only that some exchanges charge less than AdX does, and others more.

 Infra ¶¶ 1160-1163.

          628.   Plaintiffs’ other expert, Professor Simcoe, attempted to calculate a but-for AdX

 take rate. His calculation based on U.S. data returned just 17.8%, which is only 2% lower than his

 calculation of AdX’s actual average take rate, 19.8%.        9/19/24 AM Tr. 99:2-8 (Simcoe).

 Confronted with this data, which demonstrated a very small delta between his but-for world and

 the as-is world and that his analysis was not very robust, Professor Simcoe tried to maintain that

 the 2% difference in take rate was still a meaningful price difference because it represents a 15%




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 overcharge percentage. Id. (Simcoe). But on cross-examination, Professor Simcoe had to admit

 that a 15% percentage difference is not necessarily an overcharge. Id. at 112:7-12 (Simcoe).

        629.    At any rate, AdX’s 20% open auction fee originated with DoubleClick, and Google

 has not increased that revenue share since it acquired DoubleClick in 2008. 9/26/24 PM Tr. 67:18-

 68:2 (Israel). The 20% revenue share thus originates from long before Google is alleged to have

 monopoly power. Supra ¶ 582 (at the earliest, 2015); DTX-76 at 1 (2011 Google email: “In early

 2008, ‘Google’ and ‘display ads’ were not often uttered in the same sentence.”). It has remained

 the same since after the acquisition despite the improvements Google has made to AdX, such as

 expanding the base of advertiser demand. Supra ¶¶ 125-130. The fee is still 20% today—when

 Google is alleged to be a monopolist. Accordingly, the alleged market for “ad exchanges for

 indirect open-web display advertising” fails the real-world HMT, and Google does not have market

 power in any such market. 9/26/24 AM Tr. 133:16-134:8 (Israel); 9/26/24 PM Tr. 67:18-68:2

 (Israel) (“there’s an allegation the market has [since] been monopolized and we don’t see a higher

 price”); see also 9/20/24 AM Tr. 97:1-23 (Lee) (“I did not examine DoubleClick’s take rate for its

 earlier ad exchange product”).

        630.    In addition, Google’s AdX fee for all transaction types, which includes

 programmatic direct transactions run through AdX, dropped from 20% in July 2014 to around 16%

 in July 2022. DTX-1977 (Open Auction fee has been 20% since 2009); DTX-1888; 9/26/24 AM

 Tr. 132:15-133:14 (Israel). Notably, the overall average fee has dropped because programmatic

 direct spend on AdX is increasing, yet Plaintiffs exclude any programmatic direct transactions (for

 all exchanges) from their market share calculations on the basis that they are not “indirect”

 transactions. 9/26/24 AM Tr. 132:15-133:9 (Israel); see also PTX-549 at -079 (average revenue




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 share for programmatic direct deals (PG or Programmatic Guaranteed) lower than for open auction

 (OA)).

          631.   Professor Lee also argued that a document from 2014 that examined Google’s

 prices for its ad tech products showed low publisher price elasticity for ad exchanges that is

 consistent with a “strong indicator that AdX possesses substantial market power.” 9/19/24 PM Tr.

 82:15-84:16 (Lee) (discussing PTX-188).

             631.1.   However, that 2014 document—as well as any claim that the 20% take rate

                      that existed prior to 2015 was supracompetitive—is irrelevant given that

                      Professor Lee does not opine that Google had market power at that time.

                      9/19/24 PM Tr. 45:24-46:5 (Lee); 9/20/24 AM Tr. 92:9-14 (Lee). If anything,

                      the comparison to 2014 demonstrates that Google’s take rate has stayed the

                      same before and after Plaintiffs allege that Google had market power.

                      Moreover, since 2014, competitive conditions are not the same because

                      display advertising has been transformed by the rise of ads and the ad tech to

                      serve those ads on social media, apps, CTV, and other channels. Supra ¶¶

                      417-419.

             631.2.   Professor Lee also could not reconcile statements he relied upon in the

                      document suggesting that price elasticity for small publishers was low with

                      statements in the same document stating price was a “key factor” for small

                      publishers. PTX-188 at -982. Nor could Professor Lee explain how the price

                      elasticity calculations in the document were performed. 9/20/24 PM Tr. 4:7-

                      6:1 (Lee).




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                2.      Plaintiffs’ Alleged Exchange Market Overstates Google’s Market
                        Share by Excluding Reasonable Alternatives to “Ad Exchanges for
                        Indirect Open-Web Display Advertising.”

        632.    Plaintiffs’ market for “ad exchanges for indirect open-web display advertising”

 excludes reasonable alternatives that compete to serve the same function that ad exchanges do of

 connecting advertisers and publishers.

        633.    Advertisers and publishers can connect by bypassing third-party ad exchanges

 entirely, and the tools that facilitate those transactions compete with AdX.

            633.1.   For example, an advertiser can purchase inventory directly from a publisher

                     using a publisher’s proprietary integrated ad tech tools that connect without a

                     third-party exchange.     9/20/24 AM Tr. 35:6-10 (Lee) (agreeing “if an

                     advertiser switches spend from open-web display to Amazon, the advertiser

                     is then participating in auctions on Amazon and not on ad exchanges”).

            633.2.   Providers can rely on both third-party tools and on in-house ad tech tools, and

                     have created in-house versions of ad exchanges. For example, Disney has

                     created an in-house ad exchange that makes Disney inventory available to

                     advertisers and compares different demand sources. 9/17/24 PM Tr. 124:14-

                     125:13 (Helfand).

            633.3.   Advertisers and publishers can also use third-party tools like AdSense or

                     supply path optimization tools, which connect advertisers to publisher

                     inventory without passing through an exchange. Supra ¶¶ 50, 565.

        634.    In addition, as explained above, direct transactions compete directly with indirect

 transactions for ad spend, but Plaintiffs’ market share calculations for their alleged ad exchange

 market exclude all direct transactions. Supra ¶¶ 495-506.




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        635.    Transactions in other ad channels and formats such as social media, instream video,

 and in-app advertising also compete with AdX transactions in “open-web display ads.” Supra ¶¶

 513-519. AdX and other exchanges facilitate auctions in more than just traditional website banner

 ads, including instream video, native ads, in-app ads, and Connected TV ads. 9/11/24 PM Tr.

 148:15-149:3, 149:21-150:4, 150:11-17 (Dederick); supra ¶ 394.

        636.    Accounting for other transaction types, other ad formats, and other ad channels,

 Google’s share among ad exchanges for total U.S. display ad spending was only 17% to 18%

 during the 2019 to 2022 period. DTX-1868; 9/26/24 AM Tr. 137:11-138:15 (Israel) (exchanges

 include “any ad tech that runs an auction or facilitates a direct sale” including for social, retail,

 apps, and Connected TV because “somewhere in the ad tech, it has to facilitate the auction or direct

 sale”); 9/20/24 AM Tr. 48:5-51:23 (Lee).

        637.    In comparison, applying those same calculations, in 2022          accounted for 38%

 of display ad spend through exchanges, other social media exchanges for 11%, and                 for

 6%. DTX-1949; 9/26/24 AM Tr. 139:9-20 (Israel).

        638.    “Google is actually quite small once we consider all of these options,” along with

 the constraints imposed by direct sales—which is inconsistent with Google having monopoly

 power. 9/26/24 AM Tr. 138:16-139:4, 139:21-24 (Israel).

                3.      Plaintiffs Failed to Offer Valid Evidence that Google Has Monopoly
                        Power in Their Alleged Ad Exchange Market.

        639.    Even assuming Professor Lee properly defined a market limited to “ad exchanges

 for open-web display advertising,” according to his own market share calculations Google’s

 market share is not consistent with monopoly power.

        640.    Google’s share based on ad spend in Plaintiffs’ United States market for ad

 exchanges has never been higher than 50% and is steadily declining. It has dropped significantly



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 since April 2020 from around 47% to below 35%. PTX-1266A; 9/20/24 AM Tr. 47:11-17 (Lee);

 id. at 113:18-22 (Lee) (“on a spend basis, the market share is 34 percent” for AdX in 2022); DTX-

 1863 (Israel Figure 42: Prof. Lee’s Exchange Share Estimates Indicate Significant Competition);

 9/26/24 AM Tr. 134:12-135:14 (Israel).

        641.    Similarly, a chart prepared by Professor Lee showed that monthly U.S. net revenues

 earned by AdX between 2018 and 2022 increased from $30 million to $45 million, while the

 monthly net revenues earned by AdX and competing exchanges that produced data in this case

 combined grew from $42 million to $100 to $120 million in that same period. PTX-1262A; PTX-

 1239A; 9/20/24 AM Tr. 124:25-125:13 (Lee).

        642.    Professor Lee attempted to inflate Google’s market share by calculating share based

 on metrics other than ad spend facilitated, such as share of impressions and share of ad tech fees. 30

 9/20/24 AM Tr. 44:20-45:4 (Lee); compare PTX-1265A (Lee Figure 95, showing AdX share of

 worldwide spend ranging from around 37% to around 51% during the relevant period), with PTX-

 1237A (Lee Figure 47, showing AdX share of worldwide impressions ranging from around 50%

 to around 68% during the relevant period); PTX-1258 (Lee Figure 88: showing AdX share of

 worldwide fees ranging from 56% to 66% during the relevant period).

        643.    To summarize, even when Google’s share of the ad exchange market is calculated

 using Plaintiffs’ metrics, Google’s annualized average share has never been higher than 60% in

 the United States or 66% worldwide, with those shares significantly lower today. PTX-1384;

 9/20/24 AM Tr. 113:5-22 (Lee).




 30
    Professor Lee also suggested that Google’s share should be higher by pointing to Google’s share
 in the market from AdSense. 9/20/24 AM Tr. 43:22-44:5 (Lee). But AdSense is not in any of the
 relevant markets that Lee defined. 9/20/24 AM Tr. 44:18-19 (Lee).


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            643.1.    According to Professor Lee’s worldwide calculations, AdX’s baseline share

                      based on impressions ranged from 54% to 65%, and based on fees from 43%

                      to 51%. PTX-1258.

            643.2.    According to Professor Lee’s U.S. calculations, AdX’s baseline share based

                      on impressions ranged from 46% to 56%, and based on fees from 36% to 45%.

                      PTX-1259; 9/19/24 PM Tr. 90:7-93:19 (Lee).

            643.3.    According to Professor Lee’s U.S. calculations, AdX’s share of impressions

                      decreased from 60% in April 2020 to around 45% in December 2022. PTX-

                      1260A; 9/20/24 AM Tr. 46:23-47:5 (Lee).

        644.   According to Professor Lee’s calculations, Google’s share in Plaintiffs’ alleged ad

 exchange market based on fees is 37% in the US and 44% worldwide. PTX-1384; 9/20/24 AM

 Tr. 114:3-8 (Lee).

        645.   In the face of Google’s low market shares, Professor Lee suggested instead that

 market power is shown by AdX’s scale advantages over its competitors—even though Plaintiffs’

 experts also agree that AdX’s scale can have procompetitive benefits, 9/16/24 PM Tr. 11:20-12:4,

 18:11-21 (Weintraub); 9/20/24 AM Tr. 112:5-10 (Lee) (“Scale is important for the competitiveness

 of an ad tech product and can help improve quality.”). 9/19/24 PM Tr. 94:8-95:13, 95:23-96:11,

 96:23-97:1 (Lee); 9/20/24 AM Tr. 44:20-24 (Lee) (suggesting that he relies on market shares based

 on impressions in order to demonstrate scale and volume).

        646.   That the remaining, sizable share of Plaintiffs’ alleged ad exchange market belongs

 to many smaller competitors does not change that Google does not have monopoly power.

 “Competition economics generally finds markets with lots of small competitors to be quite

 competitive markets” as “it indicates small players can continue to compete” and are “not




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 somehow unable to because they’re too small.” 9/26/24 AM Tr. 135:15-136:4 (Israel) (“I would

 call that a situation with vibrant competition” as “they can bid into header bidding, and AdX faces

 all of that competition”). The record evidence indicates Google’s ad exchange rivals are intensely

 competitive.

            646.1.   Today, numerous successful ad exchange competitors—including the

                     participants at this trial such as PubMatic, Magnite, Index Exchange, OpenX,

                     and Xandr (owned by Microsoft)—compete with AdX for ad spend. PTX-

                     1317 (Weintraub Figure 9: Monthly Advertiser Spend for AdX and Rival

                     Exchanges); Deposition of Todd Parsons Tr. at 39:12-15, 39:16-40:10 (“There

                     are a whole group of exchanges that are matching-making between buyers and

                     sellers that we are a buyer—are a buyer on.”); 9/9/24 AM Tr. 155:23-156:9

                     (Wolfe).

            646.2.   Plaintiffs’ expert, Professor Weintraub, prepared a chart that shows AdX’s

                     win rate has declined from around 47% in 2015 to just over 15% in 2022, at

                     which point just two rival exchanges combined had a comparable win rate of

                     10%. PTX-1315A.

            646.3.   According to Plaintiffs’ own rival exchange witness, the exchanges market is

                     “hypercompetitive.” 9/9/24 PM Tr. 23:3-15 (Casale); see also 9/12/24 PM Tr.

                     134:17-135:12 (Goel) (PubMatic describes the “digital advertising ecosystem”

                     it competes in as experiencing “intense competition in the marketplace”).

            646.4.   Publishers multi-home across exchanges. 9/26/24 AM Tr. 136:22-137:10

                     (Israel). According to Google data as shown below, DTX-1904, 67% of U.S.

                     DFP impressions are accounted for by publishers that use 4 or more exchanges,




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                     85% by publishers that use 3 or more exchanges, and 94% by publishers that

                     use 2 or more exchanges. 9/26/24 AM Tr. 136:13-137:10 (Israel) (noting that

                     the data does not quite capture all of the exchanges used by DFP publishers

                     so “multi-homing is probably slightly larger than is reflected here”).




        647.   Professor Lee also claimed that AdX has market power because “customers of AdX

 have very limited price responsiveness to its fees.” 9/19/24 PM Tr. 81:24-82:9 (Lee).

            647.1.   Professor Lee’s own analysis demonstrates, however, that AdX has lost

                     market share as AdX’s competitors reduced their fees. PTX-1279; 9/20/24

                     AM Tr. 114:9-115:19 (Lee).

            647.2.   During his redirect testimony, Professor Lee also relied upon a document that

                     suggested that advertisers were responsive to AdX’s fee, contradicting his

                     own prior testimony regarding the document. Compare PTX-639 at -965

                     (“AdX is losing third-party demand at a rapid clip. MediaMath, Turn, TTD,

                     etc are growing but not spending on AdX. We’re not noticing it because our

                     own demand is growing so fast, but there is clear weakness in the AdX buyer


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                    segment and continued adoption of header bidding. This points pretty clearly

                    to a pricing problem IMHO.”), with 9/20/24 PM Tr. 16:16-18:3 (Lee) (“This

                    indicates that AdX market power had not been significantly eroded, at least to

                    an extent that it did not reduce its 20 percent fee.”).

        648.   Professor Lee presented charts that he claimed demonstrate that AdX has various

 advantages, such as the ability to win more auctions, over competitor exchanges. PTX-1393A

 (Lee Figure 26: Number of worldwide auctions won by top 10 exchanges in GAM, with and

 without competition, June 28, 2023); PTX-1395A (Lee Figure 28: Percent decrease in worldwide

 publisher payout if exchange was removed); 9/19/24 PM Tr. 85:16-86:25, 88:2-89:12 (Lee).

           648.1.   Professor Lee’s charts are unreliable because they consistently understate the

                    number of auctions each of AdX’s competitors won. They are based on GAM

                    log-level data, which does not reliably report whether header bidding won an

                    auction, or, if header bidding won, which exchange participating in header

                    bidding won. 9/20/24 AM Tr. 117:7-118:13 (Lee) (“Q. You don’t know, from

                    this data set that you used, how much header bidding you’re leaving out; do

                    you? A. I do not know definitively.”); id. at 119:9-123:1 (Lee) (discussing

                    footnote from Professor’s Lee’s report that explains “information on the

                    winning advertiser is not reliable for all auctions in the GAM log-level data”

                    so charts relying on GAM log-level data include only some remnant demand

                    sources (i.e., header bidding demand sources) but exclude others); 9/26/24

                    AM Tr. 102:14-103:6 (Israel) (Google GAM log-level data can identify

                    header bidding only in a few cases).




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             648.2.   In addition, Plaintiffs’ own chart shows that a significant number of the

                      auctions AdX is winning are auctions in which it is not competing with any

                      other exchange. In other words, AdX is bidding on impressions that no other

                      exchange wants rather than taking share from rival exchanges. PTX-1393A;

                      9/20/24 AM Tr. 118:14-119:8 (Lee).

        649.    Professor Lee also testified that AdX’s scale advantage enables Google to improve

 AdX’s quality, which, if anything, undermines any claim that Google has behaved like a

 monopolist by degrading the quality of AdX below competitive levels or setting a

 supracompetitive quality-adjusted price. 9/19/24 PM Tr. 111:22-112:10 (Lee) (“Scale is important

 for the competitiveness of an ad tech product and can improve quality.”); 9/20/24 AM Tr. 100:19-

 103:12 (Lee) (although he did not calculate a single quality-adjusted price, Professor Lee purported

 to take into account quality of each tool when comparing nominal fees and prices); id. at 104:1-

 105:16 (Lee) (Google’s conduct drove more revenue for its customers relative to competitors).

        D.      Plaintiffs’ Market Based on “Advertiser Ad Networks for Open-Web Display
                Advertising” Excludes Competitive Alternatives and Overstates Google’s
                Market Share.

        650.    Plaintiffs contend that their market for “advertiser ad networks for open-web

 display advertising” is a relevant product market and that Google Ads competes in this market.

 9/19/24 PM Tr. 120:19-121:2 (Lee). Their alleged market currently contains only two competitors,

 Google Ads and Criteo, and included Facebook Audience Network (FAN) before FAN

 transitioned to transacting in-app ads. 31 9/20/24 AM Tr. 139:9-14 (Lee); PTX-1281.



 31
    Today, Meta Audience Network enables advertisers to buy ads on third-party apps, and
 previously enabled them to buy ads on third-party websites. Plaintiffs included the ad network in
 the relevant market only up to the point it stopped buying ads on third-party websites in 2020, at
 which time they claim it was no longer a competitive constraint on Google’s ad tech. 9/19/24 PM
 Tr. 79:20-80:6 (Lee). Contrary to Plaintiffs’ suggestion that Facebook does not have the “ability”

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            651.   In support of his claim that the alleged market passes the HMT, Professor Lee relied

 primarily on what he characterized as direct evidence of Google’s alleged market power: Google

 Ads’ ability to increase prices, as well as Google’s alleged degradation of Google Ads below the

 competitive level.

            652.   As explained below, Professor Lee’s evidence is insufficient to support his claim

 that his market for “advertiser ad networks for open-web display advertising” passes the HMT.

 9/26/24 AM Tr. 139:25-140:25 (Israel). Plaintiffs did not otherwise conduct a valid hypothetical

 monopolist test in order to establish their alleged market for “advertiser ad networks for open-web

 display advertising.” Id. at 139:25-140:25 (Israel).

                   1.     Plaintiffs’ “Advertiser Ad Network” Market Is Inconsistent with
                          Commercial Reality and Overstates Google’s Market Share by
                          Excluding Reasonable Alternatives.

            653.   Plaintiffs’ alleged “advertiser ad network” market is inconsistent with commercial

 reality.

            654.   As a threshold matter, the term “advertiser ad network” is not a term commonly

 used in the industry. 9/20/24 AM Tr. 137:12-15 (Lee) (“I did not recall hearing those three words

 in that order prior to this case”); 9/20/24 PM Tr. 54:4-6 (Sheffer) (Google executive with 18 years

 of industry experience testified he has “not really” heard of the term). Professor Lee’s artificially

 defined term enabled him to exclude competition from dozens of ad networks that do continue to

 compete across all of the types of inventory that exist today, as well as the other buying tools that

 are available for advertisers to purchase ad space. E.g., 9/20/24 PM Tr. 54:7-13 (Sheffer).




 to buy ads on third-party websites, Facebook’s tools are clearly capable of that functionality
 because they previously did exactly that. 9/26/24 PM Tr. 53:21-54:7 (Israel).


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        655.    Plaintiffs’ fact witnesses did not present definitions of “advertiser ad network”

 consistent with how Plaintiffs define the term. In fact, when asked to define “ad networks” they

 all highlighted the fact that ad networks fundamentally serve both publishers and advertisers; there

 is no such thing as a one-sided “advertiser ad network.”

            655.1.   Dederick testified on behalf of The Trade Desk that an ad network “is typically

                     a combination of websites that’s put together to create more ad liquidity or

                     more supply. It’s typically not programmatic.” 9/11/24 PM Tr. 102:24-

                     103:13 (Dederick). Contrary to Plaintiffs’ claim that “advertiser ad networks”

                     are buy-side tools, Dederick testified that “They are thought of as, you know,

                     typically sitting on the supply side. I mean, those ad networks are not buy-

                     side tools or technology, typically.” 9/11/24 PM Tr. 104:1-21, 105:21-106:15

                     (Dederick); id. at 156:21-157:24 (disagreeing with Plaintiffs’ Demonstrative

                     A and stating “we think of an ad network as something that exists on the

                     supply side. . . . I talk to advertisers and marketers all day—they think of ad

                     networks typically as more akin to working with a publisher than they do a

                     demand-side platform.”).

            655.2.   Another industry witness presented by Plaintiffs, Friedman representing an

                     advertising agency, testified that he has heard the term “advertiser ad network”

                     used to refer to a provider that “puts together a group of websites and bundles

                     that and sells that as a group.”            9/10/24 AM Tr. 139:21-140:6

                     (Friedman). When asked to elaborate on how ad networks work, he described

                     the function served by ad networks as analogous to exchanges because both

                     “aggregate ad impression inventory.” 9/10/24 PM Tr. 28:8-21, 29:5-7




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                     (Friedman); see also id. at 29:1-4 (Friedman) (there “might be overlap” in the

                     features offered by ad exchanges and ad networks), 31:16-25 (Friedman)

                     (advising advertisers in 2016 that “ad networks’ business models and practices

                     may include features similar to those offered by ad exchanges”).

            655.3.   Plaintiffs’ own expert, Professor Weintraub, depicted the “ad network” as a

                     fundamentally two-sided product that serves both advertiser and publishers,

                     even though Plaintiffs define a market in only the advertiser side. 9/16/24 PM

                     Tr. 47:15-25 (Weintraub).

            655.4.   Plaintiffs’ witness, Casale of Index Exchange, testified on direct examination

                     that an ad network “typically represents both the interests of the publisher or

                     media, as well as the marketer or the advertisers. So you can kind of look at

                     it as both buying and selling media simultaneously.” 9/9/24 AM Tr. 109:22-

                     110:8 (Casale). He further admitted on cross examination that there is a “real

                     lack of formality” in the industry on defining an “ad network.” 9/9/24 PM

                     Tr. 7:22-8:7 (Casale).

        656.    In reality, the traditional conception of “ad networks” on which Plaintiffs appear to

 base their definition of “advertiser ad networks”—tools that aggregate third-party publisher

 inventory and offer it to advertisers—is largely obsolete.

            656.1.   When a Disney representative was asked if he could identify “an example of

                     an ad network that’s in existence,” he replied: “I can’t. Largely because most

                     of the market has moved more towards programmatic versus kind of a—a

                     more simple transactional network model.” 9/17/24 PM Tr. 126:13-17

                     (Helfand).




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            656.2.     Friedman of Goodway Group wrote in 2016 that “ad networks had been

                       obsolete since 2012.” 9/10/24 PM Tr. 33:14-34:14 (Friedman).

        657.   As explained below, see infra ¶ 688, today “ad networks” more commonly refer to

 proprietary ad tech tools like Facebook, Amazon, and TikTok that enable advertisers to purchase

 both on owned-and-operated inventory and some third-party inventory. But those tools are

 excluded from Plaintiffs’ market.

        658.   To the extent that Plaintiffs’ “advertiser ad network” market instead refers to a

 market in buying tools, their market definition excludes numerous buying tool alternatives that

 buyers can choose from, particularly “demand-side platforms” such as Google’s DV360. 9/26/24

 AM Tr. 144:1-11 (Israel); 9/19/24 PM Tr. 100:12-21 (Lee).

        659.   Demonstrating the artificial nature of Plaintiffs’ market definition, no Google

 competitive analysis for Google Ads limited Google Ads’ competitors to Criteo and, for some time,

 Facebook Audience Network. They all directly compared Google Ads to excluded buying tools,

 including demand-side platforms (like The Trade Desk) and integrated buying tools (like Facebook

 and Amazon). As a leader from the Google advertising sales team testified about how Google

 views its competitors for selling Google Ads: “We sell against the broad choices that marketers

 have to where they would place their media. So that would be inclusive of companies like Amazon,

 Meta, Snapchat, NBC Universal, and increasingly, companies like Walmart” 9/25/24 PM Tr.

 54:18-23 (Stewart).

            659.1.     In a 2015 Google slide deck analyzing the “programmatic competitive

                       landscape,” Google identified multiple competitors to Google Ads (referred

                       to as Google Display Network), including Facebook, Amazon, Yahoo, Twitter,




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                   Verizon, AOL, and Apple, as well as generally “DSPs & Walled Gardens.”

                   DTX-259 at 4, 6, 15; 9/11/24 AM Tr. 58:10-23 (Bender).

          659.2.   An internal Google presentation from 2017 listed as an “Objective” to

                   “understand relative performance of AW [Google Ads] vs. FB [Facebook] ad

                   campaigns for SMBs [small and medium businesses]” and “evaluate

                   campaign setup, measurement and advertiser engagement across AW [Google

                   Ads] vs. FB.” DTX-399 at 3. According to the document, Google was

                   “thinking about how users are evaluating” Google Ads versus Facebook.

                   DTX-399 at 3, 6-20, 30, 34. As Dr. Israel explained, Google’s “discussion of

                   Facebook being” the “easiest interface” demonstrated that Google was “seeing

                   that as creating risk that it’s going to lose the small advertisers.” 9/26/24 AM

                   Tr. 58:3-19 (Israel).

          659.3.   In another 2017 competitive analysis, Google identified Amazon’s “mobile ad

                   network” and “desktop display network” as competing with Google Ads.

                   DTX-406 at 6; see also DTX-423 at 2 (2017 Google competitive analysis);

                   9/26/24 AM Tr. 155:25-156:19 (Israel) (DTX-423 “clearly says that Google

                   perceived such a competitive threat” and “Amazon is another model similar

                   to Google Ads in the sense that you can buy ads on Amazon, but you can also

                   buy ads on third-party sites, and Google sees that buying tool from Amazon

                   as a threat.”).

          659.4.   In a 2017 competitive analysis, Google compared Amazon’s advertiser

                   platform offering against both Google Ads and DV360 along metrics such as

                   inventory, targeting, measurement, bidding and automation, and reach. DTX-




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                   435 at 9, 12. According to Google, Amazon was now in third place after

                   Facebook in first and Google in second. DTX-435 at 7. Amazon’s header

                   bidding wrapper created an “‘Amazon Prime’ for Publishers.” DTX-435 at

                   17.

          659.5.   A 2017 document discussing Google Ads identified “significant competition,

                   primarily from Facebook, Criteo, Amazon.” DTX-486N at 4; see also 9/25/24

                   PM Tr. 41:20-42:6 (Stewart). Google observed: “Facebook has taken the

                   leadership position from Google over the last four years, capturing a

                   significant share of display market growth.” DTX-486N at 6. The document

                   contains a graph comparing the year-over-year growth of Facebook against

                   that of Google Ads (and DV360).        “Google has fallen from 106% of

                   Facebook’s display+video revenue in 2013 to 43% in 2017.” DTX-486N at

                   6.

          659.6.   In 2017, Google conducted a case study of how two advertisers, Hubble

                   Contact Lenses and Helix Sleep (an online mattress seller), spent their

                   advertising dollars that directly compared Google (including Google Ads) and

                   Facebook. DTX-494N at 4, 6, 8, 10. Following the study, Google planned to

                   engage in “ongoing efforts to address gaps” between Google Ads and

                   Facebook, including “head-to-head tests,” “measurement efforts,” and “front-

                   end/simplicity.” DTX-494N at 12; see also id. at 17 (direct comparison of

                   advertiser user interfaces for Facebook and Google Ads).

          659.7.   In 2018, Google analyzed Google Ads’ market share as compared to the

                   market shares of Facebook, Amazon, and Criteo. DTX-549 at 24. A chart




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                   showed Google’s share as lower than Facebook’s and sloping down while

                   Facebook’s increased. DTX-549 at 24; see also 9/11/24 AM Tr. 55:6-56:7

                   (Bender).

          659.8.   A 2019 document directly compared Google Ads revenue to both Facebook

                   and The Trade Desk (a demand-side platform). Google expressed concern

                   that Google is “losing share in US Display market overall to key competitors

                   (FB & TTD), primarily driven by GDA [Google Ads].” DTX-733 at 3; see

                   also 9/25/24 PM Tr. 61:2-23 (Stewart). The document directly compared the

                   features available on Google Ads to those available on Facebook and Amazon,

                   and contained strategic plans about how Google Ads would change to compete

                   with those other tools. DTX-733 at 16-17.

          659.9.   In a 2019 competitive analysis deck, Google conducted a “controlled survey

                   to large AdWords [Google Ads] advertisers” to evaluate what “display buying

                   platforms” they were currently using in addition to Google Ads and were

                   considering in the future. DTX-754 at 7. Google included in the survey

                   Facebook, DV360, Amazon, The Trade Desk, and Criteo. DTX-754 at 7. The

                   deck explicitly compared the Amazon ad network, described as a “competitive

                   offering” to both Google Ads and DV360 across inventory, target,

                   measurement, bidding and automation, and reach, and concluded that Amazon

                   already offered “similar reach and targeting to GDN [Google Ads] / DBM

                   [DV360].” DTX-754 at 9.

          659.10. In a Google slide deck that evaluated the market position of Google Ads and

                   compared market shares, Google directly compared Facebook Ads’ market




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                     share against Google Ads’. DTX-1132N at 9. The document also noted:

                     “Share in Non-Search Ads has gone to TikTok, Snap, Pinterest, and

                     Twitter.” DTX-1132N at 9.




        660.    A Microsoft competitive analysis similarly compared Google Ads to a wide range

 of other buying tools. In a slide deck depicting the “buy-side competitive landscape,” Microsoft

 listed Google, whose “share is being threatened by” Amazon, The Trade Desk, Freewheel (a

 publisher ad server owned by NBCUniversal that is a “commonly used ad server” for video ads,

 9/9/24 AM Tr. 117:23-118:12 (Casale); 9/10/24 PM Tr. 148:9-18 (Friedman)), Roku (a Connected

 TV platform), and more. DTX-1282 at 47; see also id. at 43 (



        661.    Plaintiffs’ market definition is thus unsupported by any industry reality.      As

 explained below, according to their market definition, Google Ads is distinguished from demand-

 side platforms because it is an “advertiser ad network” that sells vetted inventory on a cost-per-

 click basis and has an easy-to-use interface. At the same time, Plaintiffs contend that Google Ads


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 should purchase more on third-party exchanges, just like demand-side platforms do. Infra ¶¶ 795-

 797. And they contend that other “ad networks” that advertisers can use (such as Facebook,

 Amazon, and TikTok) do not compete with Google Ads because they do not transact “open-web

 display ads.” Plaintiffs are seeking to distinguish Google Ads from competitor buying tools based

 on the very same conduct that they allege is anticompetitive, while also trying to exclude from the

 market the tools that are most similar to Google Ads on the basis that they sell vetted (mostly

 owned-and-operated) inventory. These artificial distinctions are unsustainable, and lead Plaintiffs

 to overstate Google’s market share.

                         a.     Plaintiffs’ Market Definition Excludes Demand-Side Platforms.

        662.      Plaintiffs’ “advertiser ad network” market excludes demand-side platforms even

 though they are a buying tool used by many advertisers to buy ads, including “open-web display

 ads,” across multiple inventory sources. 9/26/24 AM Tr. 144:1-11 (Israel); 9/11/24 PM Tr. 95:12-

 14 (Dederick).

        663.      In general, advertisers often multi-home by using multiple buying tools

 simultaneously, including by using “advertiser ad networks” and demand-side platforms at the

 same time. DTX-1970 (Israel Table 1: AdX Spending Patterns for Selected Advertisers, 2019-

 2022); 9/26/24 AM Tr. 146:11-22, 152:9-153:1 (Israel) (DTX-1902 shows “most of the spend” on

 AdX is made by “advertisers who are using multiple tools,” and DTX-1970 shows advertisers

 multi-homing on Google Ads and on third-party buying tools including demand-side platforms

 like The Trade Desk, Verizon Media DSP, and Amazon); 9/11/24 PM Tr. 96:16-97:1 (Dederick);

 9/27/24 AM Tr. 27:8-29:13 (Bumpers) (retail company advertises using more than ten different

 buying tools, including Google Ads, Yahoo, Taboola, The Trade Desk, Criteo, and Meta Ad

 Manager). The figure below, DTX-1902, depicts the small percentage of spend on AdX that is

 accounted for by advertisers that single-home as compared to the much larger percentage


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 accounted for by advertisers that multi-home. Because advertisers already multi-home between

 the two kinds of products, it is easy for them to substitute spend between “advertiser ad networks”

 and demand-side platforms.




        664.    The spending patterns of advertisers that use buying tools to bid on AdX are

 consistent with substitution between Google Ads and demand-side platforms. From 2019 to 2022,

 there was a large decrease in AdX spending by advertisers via Google Ads and a simultaneous

 large increase in AdX spending via third-party buying tools that include demand-side

 platforms. DTX-1970; 9/26/24 AM Tr. 146:11-147:16 (Israel) (“These are selected examples, but

 just to show situations where . . . buyers who are buying through AdX are— between Year 1 and

 Year 2 are greatly reducing the amount they buy via Google Ads, and greatly increasing the amount

 they buy through a third-party tool,” including demand side platforms).

        665.    Demand-side platforms also compete with Google Ads head-to-head at the

 individual impression level by participating in the same auctions as Google Ads. DTX-1837

 (Israel Figure 16: Competition with Google Ads in Google Ad Manager Auction Data); 9/26/24



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 AM Tr. 147:20-149:2 (Israel); 9/20/24 AM Tr. 144:7-22 (Lee) (agreeing Google Ads competes in

 auctions with bidders using other tools including demand side platforms); 9/16/24 PM Tr. 45:13-

 21 (Weintraub) (Plaintiffs’ expert agreeing that both ad networks and DSPs “compete for

 impressions on the advertisers’ behalf”); 9/11/24 PM Tr. 147:5-148:14 (Dederick) (when The

 Trade Desk bids into AdX auctions, it competes with Google Ads).

        666.    Because Google Ads competes in auctions against demand-side platforms and even

 with exchanges, Google Ads is constrained by those other ad tech tools. 9/26/24 AM Tr. 149:3-

 16 (Israel). Consistent with this reality, Plaintiffs’ expert, Professor Lee, even presented a

 document during his testimony that refers to Google Ads as a DSP and shows it competing with

 non-Google DSPs. PTX-904 at -544 (discussed at 9/19/24 PM Tr. 122:22-124:22 (Lee)).

        667.    Industry recognition is more consistent with “advertiser ad networks” and demand-

 side platforms competing as substitutes rather than as distinct products.

        668.    For example, Plaintiffs would categorize Criteo as an “advertiser ad network” that

 does not compete with demand-side platforms.

            668.1.   By contrast, Criteo describes itself as a demand-side platform that competes

                     with other demand-side platforms, including Amazon, Facebook, Google,

                     Microsoft,    The    Trade    Desk,    and   various    smaller   demand-side

                     platforms. DTX-1420 at 12, 29 (2022 Criteo 10-K); DTX-1257 at 32 (2022

                     Criteo investor presentation); Deposition of Todd Parsons Tr. 60:20-24,

                     71:24:72:4, 73:10-74:11, 75:11-15, 163:23-164:2 (Criteo targets the same

                     types of advertisers as DV360 does).




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           668.2.   Similarly, Google’s competitive analysis compared both Google Ads and

                    DV360 (Google’s demand-side platform) against Criteo. DTX-961 at 12-13

                    (2020 Google competitive training on Criteo).

           668.3.   Even Professor Lee acknowledged that Criteo shares characteristics with

                    DSPs, including allowing its advertiser customers to input their data to help

                    facilitate their display ads purchasing. 9/20/24 AM Tr. 29:12-31:15 (Lee)

                    (discussing DTX-1420 at 12).

        669.   The Trade Desk offers a demand-side platform, yet views its product as competing

 with all programmatic buying tools, including Google Ads. 9/12/24 PM Tr. 14:7-24 (Dederick)

 (The Trade Desk internal document titled “Competitive Intel Framework” discussed various

 attributes of Google Ads); DTX-1484 at 5 (2022 The Trade Desk 10-K described itself as

 competing in “the market for programmatic buying for advertising campaigns”); see also 9/10/24

 PM Tr. 34:20-22 (Friedman) (The Trade Desk competes with Google).

           669.1.   As The Trade Desk’s Chief Revenue Officer testified, its demand-side

                    platform bids into AdX auctions alongside both Google Ads, DV360, and the

                    multitude of other buying tools that participate in the AdX auction and

                    competes for impressions in those auctions. 9/11/24 PM Tr. 147:5-148:14

                    (Dederick).

           669.2.   A retail company advertiser testified that it would consider the demand-side

                    platform offerings of The Trade Desk and Yahoo to be “ad networks”

                    “because they’re going out to the marketplace” on behalf of advertisers.

                    9/27/24 AM Tr. 28:6-29:8 (Bumpers).




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        670.   Plaintiffs exclude DV360 from their “advertiser ad network” market because it is a

 demand-side platform, but internal Google documents show that Google considers DV360 and

 Google Ads to be competitor tools in the same market.

           670.1.   Google treats both Google Ads and DV360 as differentiated products—often

                    referring to them as “buying doors”—that compete with each other for the

                    same customer needs. DTX-695 at 3, 7 (2018 Google slide deck including

                    both DV360 and Google Ads as “buying doors” in competition with Facebook

                    and Amazon); DTX-549 at 10 (2018 Google slide deck treating both as

                    “buying doors” to compare revenue); DTX-733 at 15 (2019 Google deck:

                    “Outdated narratives required for two buying doors,” referring to Google Ads

                    and DV360); DTX-1514 at 43 (2023 Google slide deck: “Why would

                    someone use [Google Ads or DV360] or the other? Both? Like so many

                    situations, it totally depends on a variety of factors, including client

                    preference.”).

           670.2.   Just like any other two products that serve the same purpose for the same

                    universe of customers, Google Ads and DV360 offer customers choice by

                    prioritizing different qualities. Google Ads provides advertisers with the

                    ability to “deploy a more turnkey optimized campaign.” 9/11/24 AM Tr.

                    47:12-48:5 (Bender). DV360 enables customers to optimize “for broad reach”

                    if they want to “manage those campaigns themselves and run in a multi-

                    exchange environment.” Id. at 47:12-48:12 (Bender). DV360 can also offer

                    “more controls and options” to drive advertising campaigns. 9/10/24 AM Tr.

                    140:11-141:13 (Friedman).




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             670.3.   When Google sells its buying tools to advertisers, it proposes strategies to help

                      customers meet their unique advertising goals, which may include either

                      tool—or both tools—precisely because these tools serve the same function

                      with different strengths and weaknesses. 9/11/24 AM Tr. 47:12-23 (Bender)

                      (“But what we wanted to do was help point customers appropriately to

                      basically the best what we call front door for their goals.”). “There’s no set

                      formula for whether a client would use Google Ads, DV360, or both.” 9/25/24

                      PM Tr. 96:10-12 (Stewart). Some customers even “find there’s value in both”

                      products and multi-home. 9/11/24 AM Tr. 47:12-48:12 (Bender).

         671.    Ignoring this commercial reality, Plaintiffs try to distinguish demand-side platforms

 from “advertiser ad networks” on two bases: (1) that “advertiser ad networks” have a “simplified

 user interface that is useful to smaller advertisers with less complex advertising needs,” whereas

 demand-side platforms are used only by more sophisticated advertisers; and (2) that “advertiser ad

 networks” allow buyers to bid on a cost-per-click basis. 9/19/24 PM Tr. 99:6-14 (Lee). These

 distinctions do not overcome the data demonstrating actual substitution between the two types of

 tools. In addition, neither distinction is accurate as a factual matter. 32

         672.    First, large, sophisticated advertisers account for a predominant portion of the

 spend on both types of buying tools. Data from Google Ads and DV360 reflect that in 2022, the

 vast majority of advertiser spend for both platforms came from very large advertisers. DTX-1971

 (nearly 89% of Google Ads spending was from advertisers who spent more than $100,000, and

 nearly 99% of DV360 spend from advertisers who spent more than $100,000); 9/26/24 AM Tr.


 32
   Taken on its own terms, Plaintiffs’ argument also means that Plaintiffs’ case with respect to
 advertisers is that Google denies its rivals of scale by monopolizing small advertiser customers,
 not large customers.


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 144:16-145:15 (Israel). Some of the very large advertisers that use Google Ads include, for

 example, Amazon, Booking.com, Penguin Random House, HarperCollins, New York Times, and

 Wall Street Journal. 9/23/24 PM Tr. 12:10-13:10 (Stefaniu).

        673.   Although Google Ads has more small advertiser customers, those advertisers make

 up a very small portion of the spend on Google Ads. In 2022, more than 75% of the spend on

 Google Ads in 2022 was accounted for by only the top 1,748 advertisers, all of whom spent more

 than $1 million. DTX-1971; 9/26/24 AM Tr. 145:3-15 (Israel).

        674.   The charts Professor Lee presented as purporting to show that different advertisers

 use Google Ads and DV360 are misleading.

           674.1.   One was intended to show that many advertisers only use Google Ads, but the

                    chart only showed the number of advertisers, not the amount of spend. PTX-

                    1231; 9/19/24 PM Tr. 101:4-22 (Lee); 9/26/24 AM Tr. 145:16-146:7 (Israel)

                    (“the money Google makes, which is what drives Google, is based on a

                    percentage of the spend,” not the number of advertisers that use the platform).

           674.2.   Another chart was intended to show that the advertisers that only use Google

                    Ads spend double the amount spent by those that use both Google Ads and

                    DV360. But the chart did not actually show spend per advertiser. Instead, it

                    showed total spend for all advertisers on each tool. PTX-1232; 9/19/24 PM

                    Tr. 101:23-103:4 (Lee).

           674.3.   When those two charts are put together, the 4 million advertisers who use only

                    Google Ads spend about $2,000 per advertiser on average, and even that small

                    average spend does not account for the wide variability of spend among

                    Google Ads advertisers attributable to lack of a minimum spend requirement




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                     on Google Ads. 9/20/24 AM Tr. 150:9-152:6 (Lee). Within that group of 4

                     million could be a large number of advertisers that spend $1 and only a few

                     that spend over $1 million and drive up the average. In contrast, the 22,700

                     advertisers that use both Google Ads and DV360 spend about $175,000 on

                     average. Id. (Lee).

            674.4.   Professor Lee’s charts are therefore consistent with the fact that the majority

                     of spend on Google Ads comes from advertisers that spend a significant

                     amount on display ads and are capable of shifting that spend to demand-side

                     platforms like DV360.

        675.    Demand-side platforms are therefore a “large constraint” on Google Ads because

 the very large advertisers that make up “the vast, vast majority of Google Ads revenue” can easily

 substitute to demand-side platforms. 9/26/24 AM Tr. 145:16-146:7 (Israel).

        676.    Moreover, even smaller advertisers are able to substitute between what Plaintiffs

 call “advertiser ad networks” and demand-side platforms.

            676.1.   For example, smaller advertisers like regional automotive dealers and local

                     franchisees of quick-serve restaurants use DV360. 9/25/24 PM Tr. 45:5-23

                     (Stewart).

            676.2.   Many smaller advertisers rely on ad agencies or other consultants that make

                     purchases on their behalf using demand-side platforms. For example, through

                     Goodway Group’s certified partnership with The Trade Desk, small- and

                     medium-sized businesses can use The Trade Desk’s demand-side

                     platform. 9/10/24 PM Tr. 36:8-20, 37:13-18 (Friedman).




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            676.3.   Smaller advertisers can use both Google Ads and demand-side platforms to

                     purchase local advertising. For example, advertisers use DSPs like DV360 to

                     purchase ad space in local newspapers. 9/25/24 PM Tr. 53:19-54:7 (Stewart)

                     (“The Army is utilizing DV360 in order to buy local advertising,” including

                     local newspapers); DTX-1429N at 10, 21 (2023 Google presentation

                     partnering with Army to use DV360 for programmatic local advertising);

                     9/23/24 PM Tr. 132:8-14 (Hardie) (the Census bought local advertising space

                     through DV360).

        677.    Contrary to Plaintiffs’ suggestion, the user interface of DV360 is not inhibiting

 small advertisers from using DV360. Google’s demonstrations of the Google Ads user interface

 and the DV360 user interface show that they are actually quite similar, and that advertisers take

 similar steps to set up their campaigns in both interfaces. Supra ¶¶ 145-151; 9/23/24 PM Tr. 40:3-

 48:2, 49:5-8 (Stefaniu). Plaintiffs did not present evidence showing any other buying tool interface

 to demonstrate that other interfaces of demand-side platforms are significantly more complex than

 Google Ads.

        678.    Nor are DV360 and Google Ads differentiated across customers on the basis of

 advertisers’ bidding strategies. Google Ads offers more sophisticated advertisers control over

 “manual settings” and “the ability to manually input what the bidding strategy and the bidding

 terms should be,” and DV360 offers less sophisticated advertisers the ability to automate bidding

 and budgeting strategies. 9/23/24 PM Tr. 29:4-8, 49:5-12 (Stefaniu); see also Stefaniu DX 1.

 Google has affirmatively taken steps to ensure feature parity between Google Ads and DV360,

 including giving more sophisticated Google Ads advertisers more control even over automated

 campaigns. Supra ¶ 152; DTX-101 at 2 (2012 Google email stating that Google Ads had “dual




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 goals of simplification for the masses and power for sophisticated advertisers”); DTX-733 at 16

 (2019 Google presentation).

        679.      Second, Google Ads cannot be distinguished from demand-side platforms on the

 basis that it offers advertisers cost-per-click (CPC) pricing instead of cost-per-mille (CPM) pricing.

 Google Ads, like other buying tools, converts any CPC bids made within its platform to CPM prior

 to submitting them to AdX. 9/26/24 AM Tr. 149:17-150:2 (Israel); 9/20/24 AM Tr. 56:5-9 (Lee)

 (advertiser ad networks can convert bids submitted on a CPC basis to CPM).

        680.      Like Google Ads, some demand-side platforms, including Amazon and DV360,

 offer advertisers the option to pay on a CPC basis. 9/26/24 AM Tr. 150:3-18 (Israel); 9/19/24 PM

 Tr. 106:9-21 (Lee). The advertiser states the objective it cares about, which can include cost per

 click, and then artificial intelligence figures out how to bid optimally based on that objective.

 9/26/24 AM Tr. 150:3-18 (Israel); 9/11/24 PM Tr. 95:18-96:7 (Dederick) (“These are all variables

 we use to value how much with think it’s worth for an advertiser” to bid on a given impression,

 and “we’re also having to build a lot of technology to constantly assess the marketplace and add a

 level of artificial intelligence to, you know, automate” and “help figure out what an advertiser

 should bid.”).

        681.      Plaintiffs relied on their Demonstrative S to allegedly demonstrate that DSPs do

 not offer CPC pricing, but their presentation is misleading. In Plaintiffs’ Demonstrative S,

 Professor Lee relied on AdX data to show that all third-party buying tools transact on a CPM basis

 whereas Google Ads transacts on a CPC basis. Plaintiffs’ Demonstrative S; 9/19/24 PM Tr.

 104:23-106:21 (Lee).

            681.1.     AdX data is not informative of how buying tools are charging their customers

                       because Google has no way of knowing whether buying tools are charging




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                     their advertisers on a non-CPM basis before converting the bids to CPM for

                     submission to AdX. The fact that AdX data reflect only CPM bids from

                     demand-side platforms demonstrates only that buying tools are required to

                     submit their bids on a CPM basis in order to compete within AdX. 9/23/24

                     AM Tr. 34:4-18 (Korula) (“All we see are the bids that come into the

                     auction.”); 9/20/14 AM Tr. 56:5-9 (Lee) (advertiser ad networks can convert

                     bids submitted on a CPC basis to CPM).

        682.    Google Ads data show that Plaintiffs’ distinction is particularly artificial because,

 today, most advertisers are not even manually bidding based on either a CPC or CPM basis.

 Instead, most are using objective-based bidding to either target a specific return on ad spend or

 maximize conversions or conversion value. DTX-1882 (percentage of spending on Google Ads

 based on manual CPC or CPM bids has declined from nearly 100% in 2005 to about 10% in 2022);

 9/26/24 AM Tr. 150:22-152:3 (Israel). “This whole idea that there’s a difference between tools

 based on whether you can bid in CPC or CPM has really gone away, because every tool has most

 of the buyers bidding” by letting “the machine figure out how to optimize” for the advertiser’s

 objectives. 9/26/24 AM Tr. 150:22-152:1 (Israel).

        683.    Plaintiffs’ unjustified exclusion of demand-side platforms from their market

 definition for buying tools conveniently excludes DV360 from their buy-side market—even

 though Google has connected DV360 to over 100 exchanges in direct contradiction of Plaintiffs’

 theory that Google is excluding its competitors from accessing Google’s advertiser demand.

 Stefaniu DX 1 at 1.25; supra ¶ 144; 9/23/24 PM Tr. 43:5-7, 44:21-24, (Stefaniu); 9/11/24 PM Tr.

 65:3-9 (Ravi) (agreeing that DV360 “has historically been one of the major bidders into third-party

 exchanges” and “into third-party ad networks”).




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        684.   Plaintiffs’ own presentation of evidence at trial relating to Google’s conduct

 undermined their exclusion of DSPs from the market that Google Ads competes in.

            684.1.   Plaintiffs repeatedly introduced evidence treating DV360 as if it were within

                     their relevant product markets when describing Google’s conduct, while

                     excluding DV360 from their market definition for purposes of market share

                     calculations. Plaintiffs elicited extensive testimony from their witnesses about

                     Project Poirot, a bid-shading tool that was launched only on DV360 and not

                     Google Ads. E.g., 9/17/24 PM Tr. 27:10-34:22 (Jarayam).

            684.2.   Plaintiffs also presented testimony at trial relating to Google’s “unique

                     demand” that actually referred to advertiser demand from both DV360 and

                     Google Ads. Infra ¶ 857.

        685.   Based on Google data and that of its competitors, when demand-side platforms are

 included in the buying tools market, Google Ads’ share was no higher than 20% of U.S. indirect

 “open-web display” (non-video) ad spending from 2019 to 2022. DTX-1839; 9/26/24 AM Tr.

 154:23-155:20 (Israel).

        686.   The combined Google Ads and DV360 share was less than 50% in every year and

 declining, at 40% in 2022. DTX-1839A; 9/26/24 AM Tr. 154:23-155:20 (Israel); PTX-1435A;

 9/20/24 AM Tr. 145:8-146:2 (Lee) (Google Ads share on AdX combined with Google Ads share

 on non-AdX, which is mostly AdSense and is excluded from Lee’s market, is about 20% of all

 “open-web display” ad spend through all ad buying tools 33).


 33
   Plaintiffs’ expert, Professor Lee, tried to inflate these shares by presenting a chart showing
 Google Ads’ and DV360’s shares inclusive of their spend on AdSense. PTX-1389A; 9/19/24 PM
 Tr. 129:4-130:2 (Lee). Including spend on AdSense contradicts their own case, however, because
 Plaintiffs have excluded AdSense from any of their alleged markets. 9/20/24 AM Tr. 152:9-153:6
 (Lee).


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                       b.      Plaintiffs’ Market Definition Excludes Integrated Ad Buying
                               Tools Like Those of Meta and Amazon.

        687.    Advertisers that use Google Ads can and do shift spend from “open-web display

 ads” to other ad formats and channels, including those accessible through integrated buying tools.

 Supra ¶¶ 440-468. Those integrating advertising tools can enable advertisers to reach the same

 users that can be reached through Google Ads, and they compete with Google Ads for ad spend.

 Plaintiffs nevertheless exclude integrated advertising tools from their “advertiser ad network for

 open-web display advertising” market because they are proprietary (or “closed”) tools. 34

            687.1.   As Bender testified: “Q. And so if a Google Ads’ advertiser feels like it is not

                     reaching its campaign goal or objective using Google Ads, are they free to

                     choose to switch their spend to any of the other ad-buying tools out there,

                     including Facebook and Amazon? A. Oh, yeah. Absolutely. Q. And in the

                     time that you were at Google, how often would you see that phenomenon? A.

                     I would say fairly frequently. It’s a very competitive ecosystem. The players

                     would have evolved over my tenure. But certainly, yeah, advertisers can move

                     their money elsewhere if they want.” 9/11/24 AM Tr. 53:6-17 (Bender).

            687.2.   Plaintiffs’ advertising agency witness, Friedman, testified that “social media

                     platforms like Facebook have a very wide” or “large audience.” 9/10/24 PM

                     Tr. 10:7-11:8 (Friedman); see also id. at 56:7-14 (Friedman) (when asked if

                     there are “audiences that are less available on social media platforms than

                     others,” Friedman answered: “I don’t know exactly what they would be”).



 34
   Professor Lee agrees that Google Ads can be used to buy ads on Google’s owned-and-operated
 properties, so Google Ads competes with Meta and Facebook Ads with respect to the sale of ads
 on their respective owned-and-operated properties. 9/20/24 AM Tr. 141:20-142:3 (Lee).


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            687.3.   As Stefaniu testified based on her experience working closely with Google

                     Ads customers, “a lot of my advertisers” were trying to “shift budgets between

                     the other options” they used, including Facebook, TikTok, and “other social

                     platforms.” 9/23/24 PM Tr. 62:17-63:3 (Stefaniu).

            687.4.   Similarly, Bumpers, Marketing Analytics Manager for an e-commerce

                     company, testified that advertisers can use social media to reach “similar”

                     audiences as they do with traditional banner ads. 9/27/24 AM Tr. 37:2-4

                     (Bumpers).

        688.    Even though these integrated buying tools are excluded from Plaintiffs’ “advertiser

 ad network” market, industry participants actually refer to the integrated tools as “ad networks.”

            688.1.   One buyer explicitly testified that Facebook’s, Amazon’s, and TikTok’s

                     integrated buying tools are “ad networks.” 9/27/24 AM Tr. 28:6-11 (Bumpers)

                     (“Q. Can you provide any examples of ad networks? A. I think there’s

                     Google’s ad network, right, and then there’s—I think you mentioned

                     Facebook’s ad network, and then you mentioned TikTok’s, and then you

                     mentioned Amazon’s. So those are probably the larger ones, I think.”).

            688.2.   Vox Media, a digital media company that operates 18 editorial brands across

                     various platforms, described one of the proprietary ad tech tools it created as

                     a “network.” According to Ryan Pauley, the first tool Vox launched in its

                     suite of ad tech tools referred to as Concert was a network because it was “a

                     collection of inventory” that consists of both “Vox-owned inventory, as well

                     as third-party inventory.” 9/27/24 AM Tr. 9:2-13, 18:21-23 (Pauley).




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            688.3.   A 2019 Google competitive analysis of Amazon explicitly described

                     Amazon’s ad network as similar to Google Ads (referred to as AdWords)

                     because Amazon also offers “O&O Search and Display (on O&O and

                     Network) through a single platform.” DTX-754 at 5 (Amazon ad network

                     “growing faster than overall network”).

        689.    Advertisers shift spend between Google Ads and integrated buying tools like those

 used to buy ads appearing on social media and retail media. Supra ¶¶ 440-468. A long-time

 Google buy-side executive confirmed that he saw advertisers, including smaller advertisers, switch

 spend from Google Ads to Facebook and Amazon “fairly frequently” in the “very competitive

 ecosystem.” 9/11/24 AM Tr. 53:6-21 (Bender).

        690.    Internal Google business documents have explicitly compared integrated ad buying

 tools, such as Facebook’s and Amazon’s, to Google Ads as competitors and described losing

 advertiser business to integrated buying tools. Supra ¶¶ 338, 345, 659.

        691.    Similarly, Google’s competitors view integrated buying tools as competing with

 Google Ads.

            691.1.   Microsoft (including AppNexus):

                         691.1.1. John testified on behalf of Microsoft that advertisers “use

                                    multiple platforms,” including Microsoft Advertising, Google

                                    Ads, Facebook Ads, Amazon, The Trade Desk, and Yahoo!.

                                    9/20/24 PM Tr. 124:20-125:16 (John).

                         691.1.2. A 2016 AppNexus memo described Google Ads as declining

                                    because of “the shift to mobile, where Facebook shines” and

                                    “the evolution of header bidding.” DTX-352 at 2.




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            691.2.   Meta:

                            691.2.1. In 2017, Meta performed a survey of advertisers that

                                     demonstrates that advertisers compare Google Ads and

                                     Facebook when deciding where to spend their advertising

                                     dollars. DTX-481 at 7.

                            691.2.2. According to data produced by Meta,        of the ad spend on

                                     Facebook and Instagram is accounted for by advertisers who

                                     are also purchasing on Google Ads. DTX-1853 at 1.

            691.3.   Layser, who is now Global Head of Publisher Ad Tech Solutions at Amazon,

                     testified that Amazon’s buying tools compete with the buying tools of Google.

                     9/10/24 AM Tr. 64:21-5 (Layser).

                       c.       Plaintiffs’ Market Definition Excludes Tools that Transact in
                                Other Ad Formats and Channels.

        692.   Google Ads facilitates ad purchases in a variety of other ad formats and channels

 beyond “open-web display,” supra ¶ 386.1, and it competes with buying tools that facilitate those

 other ad formats and channels.

        693.   Plaintiffs’ definition of “display ads” excludes native ads, and therefore excludes

 Microsoft’s ad network on the basis that it primarily serves native ads. But Google Ads bears

 many resemblances to and competes with Microsoft’s ad network.

            693.1.   Microsoft’s ad network is like Google Ads in that it enables advertisers to buy

                     ads both on Microsoft’s owned-and-operated properties as well as on third-

                     party inventory. 9/26/24 AM Tr. 154:1-12 (Israel) (“it’s basically exactly like

                     Google Ads. Really a replica of Google Ads”); supra ¶ 311.




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            693.2.   Given how similar Microsoft’s ad network is to Google Ads, Plaintiffs have

                     failed to offer any legitimate basis to exclude it from the alleged advertiser ad

                     network market. 9/26/24 AM Tr. 154:13-18 (Israel). Plaintiffs’ own fact

                     witness admitted that advertisers substitute between native ads and banner ads,

                     so the fact that Microsoft’s ad network is focused on native ads is not a

                     sufficient distinction. 9/9/24 PM Tr. at 157:13-158:11 (Avery) (more and

                     more advertisers are looking to advertise through native display ads instead of

                     standard banner ads, hoping to capitalize on higher engagement rates). And

                     Microsoft itself recognizes Google Ads as a competitor to Microsoft Audience

                     Network. 9/20/24 PM Tr. 124:20-23 (John).

        694.    Google Ads also competes with buying tools that facilitate in-app and Connected

 TV advertising.

        695.    Advertisers use multi-functional buying tools to purchase both in-app advertising

 and website advertising. Almost 90% of Google Ads advertisers use Google Ads to purchase both

 website ads and in-app ads. DTX-1855; 9/26/24 AM Tr. 83:17-84:6 (Israel). Those advertisers

 can easily shift spend between website and app ads by using the same tools they are already using.

                2.     Plaintiffs Failed to Offer Valid Evidence Showing Their “Advertiser
                       Ad Network” Market Passes the HMT.

        696.    Plaintiffs failed to conduct a valid hypothetical monopolist test in order to establish

 their alleged market for “advertiser ad networks for open-web display advertising.” 9/26/24 AM

 Tr. 139:25-140:4 (Israel).

        697.    Professor Lee did not testify about prices in his “advertiser ad network” market.

 Supra ¶ 405. When those prices are examined, the price of Google Ads is one-third and one-half

 of the two competitors that Professor Lee included in his proposed market. 9/20/24 AM Tr. 140:9-



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 141:13 (Lee); PTX-1281A (Lee Figure 111: Summary of worldwide open-web indirect display

 margins among ad networks).

        698.    Rather than analyze prices, Professor Lee presented two Google experiments, one

 from 2014 and one from 2018, that tested whether Google could increase its Google Ads margin

 from 14% to 15%. PTX-1808 (March 2014 experiment examining whether Google could increase

 the Google Ads margin from 14% to 15%); PTX-858 (May 2018 experiment examining demand

 elasticity on AdX web publishers); 9/19/24 PM Tr. 108:13-109:25 (Lee) (discussing PTX-1808);

 id. at 110:1-111:18 (Lee) (discussing PTX-858).

            698.1.    Professor Lee claimed the 2014 and 2018 experiments demonstrated that

                      Google could raise its price profitably and were therefore sufficient to satisfy

                      the hypothetical monopolist test or show market power. 9/26/24 AM Tr.

                      139:25-140:25 (Israel).

            698.2.    The 2014 experiment is irrelevant because Professor Lee has not even opined

                      that Google had market power in 2014. 9/19/24 PM Tr. 45:24-46:5 (Lee);

                      9/20/24 AM Tr. 92:15-19 (Lee). In addition, the 2014 experiment reported

                      only short-term effects. 9/20/24 AM Tr. 142:11-143:6 (Lee).

        699.    Moreover, both experiments support the opposite conclusion from the conclusion

 that Professor Lee reaches. Google did not actually raise its price: “if the experiment based just

 on Google Ads said Google could raise the price, but Google chose not to, something else

 constrained Google from thinking it was optimal.” 9/26/24 AM Tr. 139:25-140:25 (Israel) (“That

 other constraint that led Google to leave the price unchanged could be a two-sided concern, but in

 any case, it’s the sort of thing . . . that’s left out when you look at these markets one by one.”).




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          699.1.   As Google witnesses explained, Google tests hypotheses or ideas for product

                   changes incrementally.      Google starts with “a lot of” small control

                   experiments that it examines “every day, multiple times a day.” 9/23/24 AM

                   Tr. 52:22-53:11 (Korula). Because the industry “changes a lot,” however,

                   Google cannot simply rely on initial experimental result. Id. (Korula). If early

                   results are promising, Google validates those results by continuing to run

                   longer-term experiments—even after product launch—to ensure that the

                   product is “continuing to make money for the publishers in the way that we

                   thought it would” or otherwise working as it should. Id. (Korula); see also

                   9/17/24 AM Tr. 137:8-23 (Jayaram). Plaintiffs’ expert agreed that the “short-

                   run” experiments run by Google did not necessarily inform Google about the

                   effects in the “long run,” and that he saw no evidence that Google would

                   extrapolate the results of short-run experiments over years. 9/16/24 PM Tr.

                   92:2-9, 92:18-24 (Weintraub).

          699.2.   Because of this extended, multi-step process to test new product changes,

                   Google does not implement in real life every hypothesis or change that it tests

                   with an experiment. 9/17/24 AM Tr. 110:20-111:7 (Jayaram); 9/17/24 PM Tr.

                   7:6-9 (Jayaram). In other words, the results and ideas reflected in short-run

                   experiments do not guarantee that the results would be accurate over the long

                   term or that the idea was ever executed.

          699.3.   Consistent with that practice, there is no evidence here that Google actually

                   increased its Google Ads average margin take rate after running just two short-

                   run experiments. 9/20/24 AM Tr. 143:7-20 (Lee) (discussing PTX-858). The




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                    evidence and testimony demonstrate that Google never increased its market

                    share on a sustained basis. And since the second experiment, six years ago,

                    there remains no evidence of a price increase despite measurable increases in

                    the quality of Google Ads. Infra ¶¶ 1139-1140.

           699.4.   Between August 2015 and December 2022, the Google Ads revenue share

                    hovered around 14%, and in recent years has fallen below 14%. 35 DTX-1889

                    (Israel Figure 72: Google Ads Fee Trends, Aug 2015-Dec. 2022); PTX-1401

                    (Lee Figure 34: US Google Ads and DV360 fees (Jul. 2014-Dec. 2022));

                    9/26/24 AM Tr. 141:4-142:19 (Israel).

           699.5.   That average annual fee has never been higher than 14%, and in some years

                    (including after the experiments that Plaintiffs rely on) was as low as 10% to

                    12%. DTX-1977; 9/26/24 AM Tr. 141:17-19, 142:20-143:15 (Israel) (Google

                    Ads data does not begin until mid-2015 and fees in DTX-1977 for prior years

                    were taken from other sources 36).

           699.6.   Professor Lee’s own data, which show average margins for individual months

                    in each year, show that Google never raised Google Ads pricing. According

                    to his data, Google Ads’ fee on AdX was between 12% and 14% for four out

                    of five years between 2018 and 2022, with the sole exception 15% in January

                    2021. Importantly, at all those times, Google Ads’ fee was a fraction of

                    competitors’ fees.    PTX-1281A (Lee Report Figure 111: Summary of



 35
  That fee fluctuates slightly because Google Ads does not charge a per transaction fee. 9/20/24
 AM Tr. 92:3-8 (Lee) (Google Ads charges a variable take rate).
 36
   Included in DTX-1977 is a 15% fee for 2014 that was taken from PTX-1808. Dr. Israel was not
 aware when creating DTX-1977 that PTX-1808 reflected only an experiment.


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                     worldwide open-web indirect display margins among ad networks); 9/20/24

                     AM Tr. 139:15-141:13 (Lee); supra ¶ 697.

        700.    Another piece of evidence Professor Lee identifies as consistent with market power

 in the alleged “advertiser ad network” market is his claim that Google reduced the quality of

 Google Ads by restricting its access to non-Google exchanges. 9/19/24 PM Tr. 112:11-23 (Lee).

            700.1.   Professor Lee again conceded that this “evidence” is also one of the five acts

                     he alleged to be anticompetitive in this case, so again Plaintiffs’ case collapses

                     into one argument: expert testimony about an anticompetitive act that

                     according to Professor Lee also defines a market and establishes market power.

                     9/20/24 AM Tr. 134:12-135:1 (Lee).

            700.2.   In addition, Professor Lee’s characterization that Google restricted access to

                     other exchanges is inaccurate.     Google offers a buying tool to advertisers,

                     DV360, that bids across third-party exchanges, and Google launched the

                     AwBid program, which has been growing rapidly since 2015, to enable

                     Google Ads advertisers to bid on non-Google exchanges. Infra ¶¶ 795, 797.

        701.    Professor Lee also points to Google Ads’ “unique demand” as evidence of Google

 Ads’ alleged market power. 9/19/24 PM Tr. 117:22-118:11 (Lee). For the reasons explained

 below, see infra ¶¶ 843-861, the record does not support that Google Ads has “unique demand”

 sufficient to exercise market power.

                                                ***

        702.    When accounting for all the buying tools that are competitive alternatives to Google

 Ads, Google’s buying tools (Google Ads and DV360) account for 19% of U.S. display ad spend

 from 2019 to 2022. DTX-1860; 9/26/24 AM Tr. 156:24-157:10 (Israel). That low number—

 which reflects the numerous significant competitive constraints on Google Ads like demand-side


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 platforms and integrated buying tools—is not consistent with Google having monopoly power.

 9/26/24 AM Tr. 157:11-20 (Israel).

 VI.    The Relevant Geographic Market Is the United States.

        703.    Plaintiffs define the relevant geographic market for all of their product markets as

 the United States, with a worldwide geographic market in the alternative. 9/19/24 PM Tr. 121:6-

 122:5 (Lee). The relevant geographic market is the United States, and Plaintiffs did not meet their

 burden of establishing an alternative worldwide market. 9/26/24 AM Tr. 109:23-25 (Israel).

        704.    The Court need not look further than Professor Lee’s testimony to find that his

 alternative worldwide market is inappropriate. Professor Lee testified that it would be appropriate

 to consider the narrower geographic market of only the United States as a geographic market.

 9/19/24 PM Tr. 125:17-126:24 (Lee). And he admitted that defining a market broadly to “include

 distant substitutes when competition is truly local can lead to potentially misleading shares.”

 9/20/24 AM Tr. 97:24-98:5 (Lee). Based on the “smallest relevant market principle,” the inclusion

 of more distant substitutes in a market “could lead to mistaken inferences of market power.”

 9/20/24 AM Tr. 98:15-99:6 (Lee).

        705.    Beyond Professor Lee’s own testimony about economic principles of defining a

 market, record evidence demonstrates that a worldwide market is not a proper geographic market.

        706.    First, Professor Lee presented only two documents to support his opinion that a

 worldwide market is proper, but neither document provides sufficient support for his opinion.

        707.    According to Professor Lee, one Google document shows that customers of ad tech

 products interact across country and regional boundaries. 9/19/24 PM Tr. 122:22-124:11 (Lee)

 (discussing PTX-904 at -553). But this document, which was prepared by the EMEA Business

 Finance team, reflects both that Google has separate teams for different regions, and that the vast

 majority of U.S. sell-side revenue comes from U.S. advertisers. PTX-904 at -535, -553 (72% of


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 US sell-side revenue comes from US advertisers). Testimony from Google’s expert, Professor

 Chevalier, confirmed based on data produced by Google and relied upon by Plaintiffs’ expert

 Professor Simcoe that “over 90 percent of the spend . . . by U.S. advertisers is spent on U.S.

 consumers. And over 90 percent of the spend on U.S. consumers is spent by U.S. advertisers.”

 9/25/24 AM Tr. 19:23-20:18 (Chevalier). Accordingly, advertising spend by U.S. advertisers is

 directed at U.S. customers—not customers in other geographies.

         708.   Professor Lee also argued that another Google business document is consistent with

 a worldwide market because it reported one metric for web display sizing for “Global ex China.”

 9/19/24 PM Tr. 124:23-125:13 (Lee) (discussing PTX-657 at -351). But in the very same

 document, Google evaluated its ad tech business by region. PTX-657 at -328-30, -336, -342, -353,

 -358.

         709.   Evidence from market participants confirms that they do not view the relevant

 geographic market as worldwide. The internal documents of ad tech providers reflect country-

 specific and regional—as opposed to worldwide—analyses in assessing competitive conditions.

 E.g., DTX-399 at 3 (2017 Google competitive analysis of Facebook that considered the “US

 market”); DTX-733 at 3 (2019 Google competitive analysis focusing on “US Display market”);

 DTX-758 at 82 (2019 Google competitive analysis of Facebook advertising revenue split into

 “Asia,” “Europe,” and “US + Canada”); DTX-1132N at 4 (2021 Google sales planning deck

 showing revenue growth by “market,” split out into U.S., Canada, and Brazil); DTX-1257 at 24-

 25 (2022 Criteo investor presentation describing separately Criteo’s “Retail Media Footprint in the

 Americas” and its “Retail Media Footprint in EMEA”).

         710.   Second, Google’s shares for Google Ads and AdX are lower in the United States

 than in the rest of the world, which suggests that competitive conditions for display advertising




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 vary by geography. DTX-1877; 9/26/24 AM Tr. 108:6-109:22 (Israel) (“We see higher shares in

 the rest of the world,” which “means the rest of the world is different. We’re trying to analyze

 competition in the U.S., we should analyze competition in the U.S. and use shares in the U.S.” and

 have “separate geographic markets” for “the U.S. versus the rest of the world because the

 competitive conditions are different, and we’ll get a better analysis if we focus on U.S.-specific

 data.”).

            711.   Third, the alternative worldwide market further fails to account for other conditions

 for ad tech tools differ across geographies, such as the number of different languages spoken across

 countries and the number of speakers of each language. 9/26/24 AM Tr. 110:1-18 (Israel); 9/20/24

 AM Tr. 99:7-17 (Lee).

            712.   Competitive conditions also vary as a result of regulatory regimes that vary between

 geographies, including those relating to the use of data by ad tech providers. 9/26/24 AM Tr.

 110:1-18 (Israel) (for example, the General Data Protection Regulation—GDPR—governs in

 Europe); 9/20/24 AM Tr. 99:18-24 (Lee); 9/25/24 AM Tr. 19:23-20:18 (Chevalier) (“there are

 many transactions that begin and end in the U.S.”; “we would expect, due to perhaps regulation

 and other factors, that the U.S. is distinct from the rest of the world.”).

            713.   AppNexus (now owned by Microsoft) recognized the significant differences in

 competitive conditions across geographies when it was considering expanding its ad tech business

 outside of the United States in 2016. As AppNexus wrote, expanding internationally “is subject

 to the particular challenges of supporting a rapidly growing business in an environment of multiple

 cultures, customs, legal systems, alternative dispute systems, regulatory systems, and commercial

 infrastructures.” DTX-358 at 10. Expansion would require a number of “risks,” including

 “providing services among different cultures, including potentially modifying our platform and




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 features to ensure that we comply with local business standards and legal requirements;

 competition from local companies or competitors that are more established in a particular region”;

 “longer sales or collection cycles in some countries”; and “currency exchange rate fluctuations,

 which may affect the demand for our products or our operating expenses in a particular region.”

 DTX-358 at 10-11.

        714.    Fourth, Plaintiffs initially filed this suit seeking damages on behalf of federal

 agency advertiser ad tech customers located within the United States. The federal agency

 advertisers’ advertising goals are likely directed toward users in the United States. 9/25/24 AM

 Tr. 19:23-20:18 (Chevalier) (“Over 99 percent of the FAA ad purchases were for U.S. users.”).




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 VII.   Plaintiffs Challenge Five Product Design Decisions by Google Because Google Did
        Not Immediately Provide Rivals “Comparable” Access to Google’s Innovations,
        Infrastructure, and Customers.

        A.      The Challenged Acts All Involve Dealing With and Aiding Rivals.

        715.    Plaintiffs’ experts now argue that only five forms of conduct were themselves

 anticompetitive. The five forms of conduct, as described by Plaintiffs’ experts, are:

             715.1.   “Providing unrestricted access to Google’s advertiser demand exclusively to

                      its AdX ad exchange, and denying comparable access to rival ad exchanges.”

                      9/20/24 AM Tr. 79:10-80:16, 89:3-16 (Lee).

             715.2.   Providing DFP “access to real-time bids from AdX,” and not providing

                      “comparable access to rival publisher ad servers.” 9/20/24 AM Tr. 82:13-18,

                      89:3-16 (Lee).

             715.3.   For the period 2009 to 2019, providing access to a feature known as “Dynamic

                      Allocation” exclusively to AdX within DFP, and thereby granting AdX “first

                      look” 37 and “last look” advantages over rival ad exchanges. 9/20/24 AM Tr.

                      85:10-15 (Lee).

             715.4.   Following the acquisition of Admeld in 2011, failing to build on its ad tech

                      stack an Admeld feature that shared real-time bid information from the

                      Admeld exchange with non-Admeld publisher ad servers. Plaintiffs’ experts’

                      complaint here is about the “same issue” as the second challenged form of




 37
   Google separately created a feature that is called “DoubleClick First Look,” but that feature is
 not related to what Plaintiffs call “first look.” 9/23/24 AM Tr. 59:3-19 (Korula). “DoubleClick
 First Look” enabled publishers to allow certain AdX buyers to compete with guaranteed line items
 when they otherwise could not have. Id. (Korula).


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                     conduct. 9/18/24 AM Tr. 47:3-12, 76:21-77:6 (Abrantes-Metz); 9/20/24 AM

                     Tr. 87:8-12 (Lee).

            715.5.   By implementing the Unified Pricing Rules, impairing “the ability of its

                     customers to work with competitor ad exchanges” within DFP. 9/20/24 AM

                     Tr. 86:10-20 (Lee).

        716.    As a threshold matter:

            716.1.   To the extent the Court accepts Plaintiffs’ description of any of the five acts,

                     all five are protected refusals to deal with rivals. Infra ¶¶ 785, 862, 900, 1012,

                     1018.

            716.2.   Nevertheless, Google has facilitated extraordinary interoperability between its

                     tools and rivals’ tools. Supra ¶¶ 144, 184, 199-201, 214, 297; infra ¶¶ 795,

                     871, 877-878.

            716.3.   Furthermore, customers multi-home significantly on both the buy and the sell

                     sides. Supra ¶¶ 214, 646.4; infra ¶ 875.

        717.    Despite the freedom of choice offered to customers and the many ways Google has

 facilitated interoperability with third-party tools, Plaintiffs demand that Google provide rivals

 access to Google’s customers and technology comparable to Google’s own access and adopt

 pricing rules that would permit customers to favor rivals even when using Google’s own

 technological infrastructure.

        718.    As described below, in addition to being contrary to governing law, see infra

 Proposed Conclusions of Law § IV.B.3, Plaintiffs’ demands would prevent Google from offering

 ad tech tools that differentiate themselves on quality through integration on the same ad tech stack.

 Plaintiffs would also require Google to expend significant time and resources redesigning its




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 products. Each of Plaintiffs’ claims—and the relief that they seek—would undermine firms’

 ability to make their own product design choices and in turn undermine their incentives to invest,

 which is what powers innovation. 9/26/24 PM Tr. 4:6-5:20, 6:9-7:9 (Israel) (“if you have an

 integrated operation, you know you’ll capture the return, so you have an incentive to invest. If

 you have to share that with rivals in ways that you don’t want, then that goes away”).

        719.    This, in turn, would also reduce the incentives of Google’s rivals to invest because

 they would be able to free ride and take advantage of Google’s investments without investing in

 their own competing ad tech. 9/26/24 PM Tr. 5:21-6:8 (Israel).

                1.     Strikingly, Plaintiffs’ Witnesses—Most of Whom Were Rivals—
                       Candidly Admitted They Are Asking the Court to Force Google to
                       Make Its Technology “Community Property.”

        720.    Plaintiffs’ witnesses—many of whom were rivals—admitted that they believe the

 real-time bid amounts submitted by Google Ads customers and facilitated by Google’s technology,

 as well as the technology Google created to compare bids, should be “collectively” owned

 “community property.”

            720.1.   Kershaw, former Chief Technology Officer at Magnite and former Chairman

                     of the Board of Prebid, testified that the “wrong approach” to ad tech is for

                     companies to develop “super secret” software that “is amazingly different than

                     everyone else’s.” 9/13/24 AM Tr. 28:3-7 (Kershaw). Instead, companies

                     should “contribute our software and our thinking and our better ideas to the

                     industry and own that collectively”—“community property.” 9/13/24 AM Tr.

                     28:1-11 (Kershaw). According to Kershaw, Prebid added value to the ad tech

                     ecosystem because Prebid addressed “the problem” of “competitors wasting

                     resources trying to integrate with one another.” 9/13/24 AM Tr. 30:14-21

                     (Kershaw).


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          720.2.   Layser, former Vice President at News Corp and current Global Head of

                   Publisher Ad Tech Solutions at Amazon Web Services, testified that parts of

                   ad tech, including Google’s real-time bidding innovation, “should be

                   community assets”—in other words, shared with rivals. 9/10/24 AM Tr.

                   102:13-18, 104:2-21 (Layser). As Layser advocated in a 2019 article, Google

                   should “contribute AdX to prebid.org, the industry-regulated header bidding

                   solution and first-price auction.” Id. at 102:5-9 (Layser); see also id. at

                   100:14-21 (Layser) (“I would like them to bid into the open source solution

                   Prebid.”). Ultimately, Layser previously stated, “I think there is a general—

                   there is a general problem with community assets . . . being run by companies

                   that are for-profit companies.” Id. at 103:1-25 (Layser). The conduct being

                   complained of, then, is that Google runs parts of its display ads business for

                   profit.

          720.3.   Wheatland, Chief Digital Officer of The Daily Mail, testified that one reason

                   The Daily Mail uses DFP instead of an in-house ad server is because building

                   an ad server is “a lot of risk.” 9/27/24 AM Tr. 67:21-68:13 (Wheatland). In

                   essence, Layser’s request that the software that compares exchanges against

                   each other (which would include, for example, the Unified First Price Auction

                   software in DFP) be an “open source” “community asset,” 9/10/24 AM Tr.

                   104:4-21 (Layser), is a request that Google’s technology become a

                   “community asset” after Google already took on the “risk” to build, operate,

                   and improve on Google Ad Manager to the benefit of its publisher customers.




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       721.   Rivals made clear at trial that, absent access through “community property,” their

 complaint boiled down to a desire to dictate the terms and conditions by which they access

 Google’s customers and technology.

           721.1.   Avery, CEO and founder of Kevel, a competitor provider, testified that he

                    wants “Google to integrate AdX with Kevel’s publisher ad server in the same

                    way that Google integrates AdX with Google’s publisher ad server.” 9/9/24

                    PM Tr. 163:9-13 (Avery). Specifically, he requested “that Kevel have the

                    same access to real-time bids from AdX that DFP has.” Id. at 163:14-16

                    (Avery). Avery acknowledged that he did not know Google’s “internal tech”

                    so had no idea how technically challenging it would be for Google to build

                    this integration. Id. at 163:20-164:24 (Avery).

           721.2.   Goel, CEO and co-founder of another competitor exchange, PubMatic,

                    complained that PubMatic requested integration with Google’s DFP product

                    beginning in January 2009—before PubMatic even adopted real-time

                    bidding—and then “a half dozen” more times, but was never granted access

                    by Google. 9/12/24 PM Tr. 91:1-15 (Goel). Goel conceded that building the

                    integration “would require work by Google.” Id. at 114:22-115:7 (Goel).

           721.3.   Cadogan, founder and former CEO of OpenX, complained that the ability of

                    OpenX’s publisher ad server to compete with DFP was impaired because

                    OpenX wanted “real-time access to AdX.”           9/17/24 PM Tr. 51:18-52:6

                    (Cadogan). OpenX reached out to Google to request “real-time bids to

                    publishers using OpenX’s ad server,” but OpenX never got such access. Id.

                    at 52:13-20 (Cadogan).




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          721.4.   Equativ, a competitor, complained that it is difficult to compete with DFP

                   because it does not have “access to the Google demand” and because of AdX’s

                   “non interoperability with a rival ad server.” 9/13/24 PM Tr. 68:20-25

                   (Creput).

          721.5.   A representative of The Trade Desk, which offers a competitor buying tool,

                   complained that, without using DFP, publishers do not have “access to the

                   greatest source of demand in the history of advertising, which is Google

                   Search advertisers”—in other words, Google’s advertiser customers who use

                   Google Ads to purchase search ads.            9/11/24 PM Tr. 152:12-153:19

                   (Dederick).

       722.   Plaintiffs’ experts espoused the same view.

          722.1.   Professor Simcoe acknowledged, consistent with demanding a duty to deal,

                   that when he testified about the “near exclusivity of Google Ads demand to

                   AdX,” he was talking about “giving rivals more access to Google customers”

                   and “the technical work for Google to undertake that would make its products

                   interoperable with its rivals.” 9/19/24 AM Tr. 33:2-34:8 (Simcoe). Professor

                   Simcoe admitted he had no idea how much that would cost, nor had he even

                   tried to analyze it:

                         Q. Okay. And when you say that AdX advertisers would be

                         able to submit more real-time bids into third-party

                         competitor publisher ad servers, you understand that that

                         would require Google to build additional technical

                         functionality; are you aware of that?




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                         A. Yes.

                         Q. Yes. Okay. And you’re not offering an opinion on what

                         additional   functionality    or    how   much     additional

                         functionality would be required of Google to make this

                         happen; right?

                         A. The costs of that are not something I’m an expert in.

                         Q. Right. And you didn’t look at that at all; correct?

                         A. The costs, no, that's correct.

                   9/19/24 AM Tr. 30:13-25 (Simcoe).

          722.2.   Plaintiffs’ expert Dr. Abrantes-Metz attempted to reframe the conduct she

                   evaluated as “exclusionary” on the basis that the conduct allegedly restricted

                   the choices of Google’s customers, but clarified that she was referring to

                   “limiting the ability of competitors to compete for the choices of those

                   customers.” 9/16/24 PM Tr. 116:23-117:19, 118:6-13 (Abrantes-Metz). As

                   explained for each act below, Dr. Abrantes-Metz’s testimony made clear that

                   the “restriction of choice” she identified is just another way of saying that

                   Google did not provide its rivals with comparable access to Google’s own

                   tools and customers. Infra ¶¶ 786, 863, 927, 979, 1011, 1018. Dr. Abrantes-

                   Metz conceded that remedying the “restriction of choice” would require

                   Google to build new integrations to provide its rivals access to Google’s

                   systems and customers. 9/18/24 AM Tr. 74:21-76:13, 76:21-77:6, 77:13-78:4,

                   79:20-25, 80:17-81:13 (Abrantes-Metz). Her attempts to reframe refusals to

                   deal are thus merely semantic, and they parrot similar arguments that have




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                      been rejected by other courts as attempts to reframe refusals to deal as

                      anticompetitive. Infra Proposed Conclusions of Law § IV.B.4.

                2.      Forcing Companies to Interoperate with Rivals Would Eliminate the
                        Benefits of Using Ad Tech Products in an Integrated Stack.

        723.    For each of the challenged forms of conduct, Plaintiffs and their witnesses demand

 that Google build new ways for rivals to access Google’s customers and technology so that rivals

 can benefit from what Google has built. In other words, Plaintiffs ask Google to connect its

 integrated ad tech platform to rivals even more than Google already has. In doing so, Plaintiffs

 ignore that forced dealing with rivals would stifle the benefits of integration.

        724.    Integration is a competitive differentiator in the market that many ad tech providers,

 including Google, have adopted. Infra ¶ 730. Google, for example, offers buy-side tools (Google

 Ads and DV360) and sell-side tools (AdSense, AdX, DFP, and AdMob). Supra ¶ 297. An

 advertiser and publisher can, if they choose, connect for a display advertising transaction using

 only Google tools.

        725.    There are unique benefits to advertisers and publishers when the ad tech tools that

 facilitate a transaction end-to-end are part of the same integrated stack. 9/20/24 PM Tr. 49:11-14,

 52:2-13 (Sheffer) (in an integrated stack the ad tech provider has a relationship with the advertiser

 and the publisher and can vet both); DTX-939 at 2 (2020 Xandr document describing benefits of

 an end-to-end platform such as value for customers, tech efficiencies, and improved safety and

 security); 9/26/24 AM Tr. 159:12-160:20 (Israel) (integrated ad tech stack leads to three primary

 economic benefits: lower pricing across the ad tech stack, greater incentives to invest, and

 increased efficiencies).

        726.    As detailed in the next section, since Google launched its display advertising tools,

 advertisers and publishers that have chosen to use Google’s integrated stack have benefited from



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 stronger ads safety enforcement, stronger ad traffic quality measures, stronger user privacy

 protections, lower prices, greater investment in product quality, and lower latency. As a 2017

 Google document stated, an external study “demonstrated the advantages of the full stack vs.

 separate components (speed, reliability, simplicity).” DTX-371 at 2 (“DoubleClick has been a

 leader in bringing this value proposition to market and innovating.”).

        727.    It is not just Google that recognizes the benefits of end-to-end integration. For

 example, AppNexus, and both AT&T and Microsoft after they each acquired AppNexus, have

 repeatedly acknowledged the benefits of an integrated stack.

            727.1.   Prior to its acquisition, AppNexus pursued a supply path optimization project

                     that took advantage of the fact that AppNexus owned both buy-side and sell-

                     side products.   AppNexus limited the number of exchanges into which

                     AppNexus’s demand-side platform bid. As a result, the AppNexus demand-

                     side platform purchased more from AppNexus’s own exchange than it

                     otherwise would have. Deposition of Brian O’Kelley Tr. 275:13-18, 275:20-

                     24.   As O’Kelley, founder of AppNexus, explained: “The point was to

                     eliminate redundant and low-value supply paths. So if we’re doing a good job,

                     regardless of who we purchased from in the auction, it would be good for our

                     clients and, hopefully, good for us.” Id. at 276:1-18 (O’Kelley).

            727.2.   As “AT&T sought to launch its advertising business” by acquiring AppNexus,

                     AT&T viewed “the acquisition of an ad tech platform” as “central to the

                     strategy, with AppNexus selected in part due to having both buy-side and sell-

                     side capabilities.” DTX-939 at 1 (2020 Xandr document).




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          727.3.   Xandr (when it was owned by AT&T) stated in a 2020 document that its

                   integrated, end-to-end platform enabled it to “increase value for customers,”

                   create “tech efficiencies,” and “ensure its high-value data stays within its

                   platform.” DTX-939 at 1-2 (“Why our DSP and SSP together offer greater

                   advantages”: “Increased value for customers” in the form of “visibility into

                   path of spend”; “Tech efficiencies / access: The combination of Invest

                   [Xandr’s DSP] and Monetize [Xandr’s SSP] offers unique value for agencies

                   and advertisers, with more direct supply access, a 100% match rate and 0%

                   discrepancy between platforms”; and “Brand safety / data compliance: Xandr

                   can ensure its high-value data stays within its platform”).

          727.4.   When the Microsoft Board was considering the acquisition of AppNexus, it

                   was told that                                                 would “



                               ”   DTX-1203 at 4 (2021 Microsoft presentation).            A 2023

                   Microsoft deck identified further “benefits of an end-to-end solution” such as

                   “more value from media spend,” “seamless deals troubleshooting,” and

                   “streamlined transactions.” DTX-1524 at 16.

          727.5.   Microsoft testified: “When you run a marketplace, connecting the buyers and

                   sellers through the underlying same platform, will yield better results for

                   advertisers and that—and avoid errors; and those are the efficiencies when

                   you run a marketplace both buy and sell in the same ecosystem.” 9/20/24 PM

                   Tr. 137:3-9 (John). The “linkages between buy and sell side” (1) facilitate

                   better matches because the underlying data is in the same infrastructure; (2)




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                     reduce errors; and (3) enable advertisers to have more visibility into the

                     publisher inventory available. 9/20/24 PM Tr. 137:3-21 (John).

        728.    Equativ also owns an integrated ad tech stack that consists of a demand-side

 platform, a supply-side platform, and a publisher ad server. As depicted below, Equativ advertises

 the capability of its integrated stack to deliver “on a shared interest business approach” across

 formats, channels, and transaction types. PTX-1674 at -015 (2023 Equativ slide deck); see also

 id. at -008 (the “tightly integrated SSP” and ad server “means no switching between platforms”).

 According to Equativ’s corporate representative, Equativ’s integrated stack offers the benefits of

 reduced costs, increased transparency, and “direct access.” 9/13/24 PM Tr. 87:3-9 (Creput).




        729.    Instead of acknowledging the benefits of an integrated system, Plaintiffs argue the

 opposite—that owning buy-side and sell-side tools is inherently a “conflict of interest” that harms

 customers. 9/19/24 AM Tr. 152:17-153:4 (Bellack) (question posed by Plaintiffs to Bellack). No




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 witness other than a single-sided rival agreed that Google has a “conflict of interest.” 38 Id.

 (Bellack); 9/16/24 AM Tr. 28:17-29:15 (Mohan) (“Having a strong advertiser side benefited our

 publishers, and having a strong publisher side benefited our advertisers.”); 9/20/24 PM Tr. 137:3-

 9 (John) (Microsoft representative agreeing to the benefits of integration).

        730.    Of course, an ad tech provider can choose to adopt as its “business strategy” or as

 a “pretty clear distinction” only serving clients on the buy-side or the sell-side. E.g., 9/11/24 PM

 Tr. 93:7-94:2 (Dederick). But, because ad tech tools exhibit indirect network effects, even a

 company that is focused only on one side of the ecosystem still has some interest in balancing the

 interests of the other side. For example, to attract advertiser customers, a buying tool must also

 attract publisher inventory. 9/26/24 PM Tr. 71:7-14 (Israel); e.g., 9/12/24 PM Tr. 45:11-24

 (Dederick) (The Trade Desk, which offers a demand-side platform, has entered direct agreements

 with publishers); DTX-1257 at 3-4 (2022 Criteo investor presentation stating that Criteo’s buying

 tool integrates directly with publishers, touting access to “thousands of publishers”). A 2023

 BidSwitch (now part of Criteo) forward planning document observed that even “formerly one-



 38
    One rival—Dederick of The Trade Desk—testified that he views Amazon to have a “conflict of
 interest,” but when pressed the only “conflict” he identified was that Amazon, like Google, is a
 content owner “trying to introduce a demand-side platform.” 9/12/24 PM Tr. 10:13-24 (Dederick);
 see also 9/11/24 PM Tr. 93:7-94:2 (Dederick). As explained above, supra ¶¶ 305, 329, 341, 347,
 several of Google’s competitors, including Microsoft, Facebook, and Amazon, offer content and
 ad tech tools at the same time that they serve their ad tech customers.
 In addition, Plaintiffs may rely on a September 2016 email from Bellack in which he wrote: “is
 there a deeper issue with us owning the platform, the exchange, and a huge network?” PTX-367
 at -464. Those sentences were part of a larger email thread Bellack described at the time as “late
 night jetlag ramblings”; “in active ideation mode”; and “my opinion, laid out here to be argued
 against and not a foregone conclusion nor decision.” PTX-367 at -461, -463. At trial, Bellack
 reiterated that “these late night jetlag ramblings were my exploration of why header bidding is
 doing well, why are people using it,” and “speculating” about the opinions of “other very large
 media companies” competing with Google. He was not expressing a personal concern about
 Google’s business structure. 9/19/24 AM Tr. 155:10-156:25 (Bellack); see also PTX-367 at -461
 to -462 (remainder of thread discusses competitive threat posed by header bidding tools).

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 sided businesses are forced to become two-sided marketplaces to avoid being squeezed out,”

 forming direct relationships with tools that serve the other side of the transaction. DTX-1544A at

 7.

        731.    Relationships on both sides of a two-sided market are not a conflict of interest but

 an inherent feature of the display advertising business. The upshot of Plaintiffs’ approach is that

 many of Google’s key competitors —including Microsoft, Meta, Amazon, TikTok, Criteo, Equativ,

 Freewheel, and Yahoo—would likewise have a conflict of interest because they also offer

 integrated ad tech stacks. Supra ¶¶ 330, 341, 349; DTX-1282 at 42-43




                                                                                             DTX-

 1420 at 12 (2022 Criteo 10-K stating Criteo offers an integrated stack); Deposition of Todd Parsons

 Tr. 60:20-24; 9/13/24 PM Tr. 87:3-9 (Creput) (Equativ’s integrated stack); 9/25/24 PM Tr. 174:8-

 21 (Yahoo offered a publisher ad server, ad exchange, and demand-side platform).

        732.    An integrated company can choose to interoperate with rivals, as Google does, but

 what Plaintiffs are demanding is forced interoperability with rivals. The benefits to customers

 from Google’s end-to-end integration—which could be eliminated by forced interoperability)—

 are described further below. 9/26/24 PM Tr. 73:13-18, 74:21-75:4 (Israel).

                       a.      Integration Across the Ad Tech Stack Improves Ads Safety.

        733.    Integration across the ad tech stack enables Google, and others who are on both

 sides, to more effectively police ads safety. 9/23/24 PM Tr. 141:4-6 (John) (“Q. And would you

 agree that having an end-to-end platform helps prevent fraud? A. Yes.”); DTX-939 at 2 (2020

 Xandr document recognizing benefits of integration to security and safety).




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         734.    Ads safety encompasses all “aspects of safety, which includes the ad itself and the

 content that the ad is placed next to, involving safety for the user, the advertiser, and the publisher.”

 9/25/24 PM Tr. 102:12-21 (Borgia). Ads safety is a significant quality differentiator because

 safety is important to both advertisers and publishers. 9/25/24 PM Tr. 103:1-104:17 (Borgia) (“if

 an ad harms a user, they will not interact with ads in the future,” hurting advertisers’ return on

 investment and publishers’ ability to monetize); DTX-1343 at 58 (2022 Census Bureau media

 strategy deck: “With all the capabilities digital has in today’s media landscape, brand safety and

 viewability have become critical.”); PTX-1674 at -043, -048 (Equativ deck advertising the ability

 for publishers to mark inventory as brand safe and protections for ad quality).

         735.    There are two primary components to ads safety: managing the quality of the match

 between an advertiser and publisher (including ensuring brand safety) and protection from unsafe

 ads or content. 9/25/24 PM Tr. 104:6-17 (Borgia).

         736.    With respect to match quality, advertisers “really care about protecting the sanctity

 of their brands, what their brands represent. And they don’t want to have ads that run alongside,

 you know, shady inventory or low quality inventory.” 9/16/24 AM Tr. 74:23-75:25 (Mohan);

 9/19/24 PM Tr. 111:22-112:10 (Lee) (from “the advertiser’s perspective, an important attribute of

 quality is the publisher inventory that’s available to the advertiser to bid upon”).

         737.    Google’s ads safety policies thus protect advertisers from serving ads on harmful

 or unsafe content, including inventory with illegal or misrepresentative content or malicious and

 unwanted software. 9/25/24 PM Tr. 104:6-17 (Borgia); see also 9/27/24 AM Tr. at 100:13-24

 (Wheatland) (Google blocked The Daily Mail content for violating Google’s policy on

 inappropriate sexual content).




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        738.    From the publisher perspective, match quality is important because publishers care

 about the nature of the ads placed beside their content. 9/25/24 PM Tr. 104:6-17 (Borgia). As an

 example of why brand safety matters, “imagine you were looking at an article reporting on a plane

 crash and you were to see an ad from an airline next to that article. That would be an unpleasant

 experience for the user” and “an unrewarding experience for the advertiser and the publisher.”

 9/25/24 PM Tr. 104:6-17 (Borgia).

        739.    In addition, publishers want to be protected from unsafe ads.       They want to be

 “assured that they are working with high-quality advertisers or high-quality intermediaries that

 might be representing advertisers” so that they are not running “low-quality ads” or “scammy ads”

 on their content. 9/16/24 AM Tr. 76:16-77:13 (Mohan) (“having visibility into the advertisers”

 and “whether they were living up to their certification criteria was really, really, important” to

 Google’s publishers).

        740.    Google’s ads safety policies thus protect publishers from harmful ads containing

 prohibited content, such as ads for adult content, counterfeit goods, dangerous products or services,

 and inappropriate content, as well as ads that contain misrepresentations or otherwise encourage

 dishonest behavior. 9/25/24 PM Tr. 104:18-105:7 (Borgia).

        741.    These policies also protect publishers from malvertising, which refers to ads that

 contain harmful content (“malware”). When an ad with malware is served to a user, the user may

 be harmed by being exposed to malware software or redirected to a malicious website if the user

 clicks on the ad. 9/25/24 PM Tr. 104:18-105:7 (Borgia) (explaining malvertising involves bad

 actors installing “malicious software on your machine” to steal sensitive information like “banking

 log-ins”).




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        742.    Ultimately, ads safety also matters to advertisers and publishers because it promotes

 user trust in the ads ecosystem. DTX-1186 at 2 (2022 Google Ads Safety Report presentation).

            742.1.   From the advertiser perspective, if “the ads ecosystem is unsafe, if users are

                     unwilling to click on their ads, then advertisers are unable to reach the users

                     that they wish to reach, and their ROI goes down.” 9/25/24 PM Tr. 103:16-

                     23 (Borgia).

            742.2.   And from the publisher perspective, if a user comes to a publisher’s digital

                     property and becomes the victim of an unsafe ad such as a malvertising ad,

                     the user will not want to return to that publisher’s property. 9/25/24 PM Tr.

                     103:2-15 (Borgia) (“It would be the equivalent of walking into a grocery store

                     and being mugged on the way. You’re not going to want to go back to that

                     store.”).

            742.3.   Publishers additionally care about brand safety because publishers can only

                     monetize successfully if advertisers are receiving return on investment and

                     continue to spend on display ads. 9/25/24 PM Tr. 103:24-104:5 (Borgia).

        743.    When a match between an advertiser and publisher is facilitated by one provider,

 that provider can more effectively enforce ads safety policies. 9/25/24 PM Tr. 106:8-12 (Borgia)

 (Google’s “integrated end-to-end stack” “makes it a lot easier for us to deliver the safety that’s

 required to keep the ecosystem safe”). Google has been committed to using its integrated stack to

 improve the safety and security of its tools since the early days of its display ads business. A 2009

 internal presentation to Google’s founders, Larry Page and Sergey Brin, after the DoubleClick

 acquisition highlighted the protections that could be provided as a result of integrating Google’s

 ad tech offerings. DTX-47 at 25, 41, 46; see also 9/16/24 AM Tr. 74:12-19 (Mohan).




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        744.    In an end-to-end integrated transaction, the ad tech provider has a relationship with

 both the advertiser and the publisher. It can vet both parties before allowing them to use its tools,

 require that both comply with safety policies, and monitor their compliance. 9/20/24 PM Tr.

 49:11-14, 52:2-13 (Sheffer). When a single match passes through multiple providers, each

 individual provider has less visibility into and control over the security and safety standards of

 other providers. DTX-1016 at 8, 43 (2020 Google presentation). Similarly, a third-party safety

 vendor is not as effective as an integrated ad tech provider at enforcing ads safety policies because

 a third party has less visibility into both sides of the transaction. 9/25/24 PM Tr. 114:24-115:5

 (Borgia) (Google has “a unique point of visibility on both the ad and the content to be able to, at

 the time of serving the ad, deliver safety”).

        745.    Google’s integrated ad tech stack enhances Google’s ability to enforce its ads safety

 policies at scale. 9/25/24 PM Tr. 105:18-106:12 (Borgia). Those safety policies are enforced for

 both advertisers and publishers on all of Google’s products because advertisers and publishers are

 “two sides of the same coin.” 9/25/24 PM Tr. 105:18-106:3 (Borgia).

        746.    Part of Google’s ads safety enforcement is vetting customers in order to screen out

 potential bad actors before they can use any of Google’s advertising tools. 9/25/24 PM Tr. 106:13-

 107:5 (Borgia); infra ¶¶ 763-764 (describing publisher vetting process).

        747.    The vetting process for advertisers includes an identity verification program that

 helps Google better understand the identity of the advertiser. DTX-1490 at 7 (2022 Google Ads

 Safety Report Training). This vetting process has applied to advertisers that purchase on AdX

 since AdX was launched. DTX-47 at 25, 46 (2009 Google presentation). In this process, Google

 blocks millions of advertisers with malicious intent from using its buying tools. 9/25/24 PM Tr.

 107:6-11 (Borgia).




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        748.    In the vetting process, Google also verifies that both publishers and advertisers have

 agreed to comply with Google’s over 300 ads safety policies. 9/25/24 PM Tr. 106:13-107:11,

 108:12-109:2, 134:16-20 (Borgia). For example AdX advertisers have always been required to

 agree to Google’s policies before being able to purchase inventory from AdX, including

 confirming that the advertiser will not try to serve malvertising or ads that do not comply with

 safety policies. DTX-47 at 41, 46 (2009 Google presentation). Google’s ads safety policies are

 updated around 30 times a year to incorporate what Google learns about the evolution of bad actors

 in the digital ecosystem. DTX-1186 at 6 (Google’s 2022 Ads Safety Report presentation); 9/25/24

 PM Tr. 109:3-7 (Borgia).

        749.    A Google advertiser can only benefit from publisher vetting when it purchases

 inventory from a publisher that is using Google’s tools. 9/16/24 AM Tr. 76:1-15 (Mohan) (“By

 operating the publisher-side solutions, we were able to do checks on the inventory.”). From

 Google’s perspective, “it was really important to have that visibility into that” publisher “inventory

 to apply those controls, otherwise, we wouldn’t have been able to give this type of a guarantee to”

 Google’s advertisers. Id. (Mohan).

        750.    After advertisers and publishers are let into Google’s systems, an integrated ad tech

 stack also provides Google greater visibility into the particular ad and the content it is served

 against. 9/25/24 PM Tr. 119:22-120:3 (Borgia). For example, since Google launched AdX it has

 reviewed the ads themselves for malware or viruses as well as content and policy compliance.

 DTX-47 at 46 (2009 Google presentation); 9/16/24 AM Tr. 77:25-78:7 (Mohan). When a Google

 publisher serves an ad that was purchased through a third-party exchange, Google does not know

 where the ad comes from and has less ability to enforce its ads safety policies. 9/25/24 PM Tr.

 119:11-21 (Borgia).




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        751.    Google uses its visibility into ads and content to enforce its ads safety policies

 through a combination of automated and human review. DTX-1186 at 10 (2022 Google Ads

 Safety Report presentation). Google relies on proprietary machine learning technology that

 screens the trillions of ads served through Google’s systems, 9/25/24 PM Tr. 112:20-113:4

 (Borgia); DTX-1490 at 7 (2022 Google Ads Safety Report training); general purpose AI tools,

 9/25/24 PM Tr. 144:20-145:24 (Borgia); a team that trains Google’s automated tools and drafts its

 safety policies, id. at 110:12-23 (Borgia); and the integration of new threats into its detection

 systems, id. at 113:14-114:6 (Borgia).

        752.    As to brand safety, Google offers advertisers controls over “where their ads appear”

 and publishers controls over “which ads appear on their sites.” 9/25/24 PM Tr. 111:12-19 (Borgia).

 These controls “protect their brand identity above and beyond the checks that are related to policy.”

 Id. (Borgia)

        753.    Enforcing brand safety controls requires properly classifying publisher content and

 advertiser creatives. DTX-1186 at 11 (2022 Google Ads Safety Report presentation explaining

 that advertiser ads get classified so that publishers can execute blocks and publisher content gets

 classified so that advertisers can execute exclusions). When an ad transaction is facilitated by

 Google end-to-end, Google can pre-screen and classify both the ad and the content it is served

 against. 9/25/24 PM Tr. 111:12-112:19 (Borgia).

            753.1.   Before an ad is served, the advertiser uploads its ad creatives (the content,

                     such as words and images, that make up an ad) to Google’s servers and ad

                     systems. At that point, Google conducts rigorous policy checks that ensure

                     the advertiser’s ads comply with Google’s safety policies and classify the




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                        creatives before they are even served. DTX-1186 at 10-11; 9/25/24 PM Tr.

                        110:12-111:11 (Borgia).

            753.2.      The same process occurs when a publisher uses a Google tool to initiate a bid

                        request. Google performs a policy check on the publisher’s content to make

                        sure it is safe and classifies the content. DTX-1186 at 11; 9/25/24 PM Tr.

                        112:7-19 (Borgia).

        754.    Google cannot conduct the same pre-screening and filtering processes if, for

 example, a publisher’s bid request is not initiated using a Google tool but instead using a third-

 party publisher ad server. 9/25/24 PM Tr. 106:8-12 (Borgia).

        755.    The value of Google’s various ads safety enforcement efforts is concretely

 demonstrated by the billions of ads or inventory that Google enforces its safety policies against

 every year. Without end-to-end integration across the ad tech stack, Google’s enforcement would

 not be as effective.

            755.1.      Each year, Google issues Ads Safety reports that describe Google’s efforts at

                        addressing ads safety and quality issues. 9/25/24 PM Tr. 107:24-108:5;

                        115:13-19 (Borgia).

            755.2.      In 2022 Google blocked or removed 5.2 billion ads run through its tools—

                        almost twice as many ads as were blocked in 2021 and 2020. DTX-1182 at 2

                        (2022 Google Ads Safety Report); 9/25/24 PM Tr. 116:10-21, 121:10-17

                        (Borgia); Borgia DX 1.3. Google also suspended 6.7 million advertiser

                        accounts, up by more than 1 million from 2021 and more than triple the

                        number of accounts suspended in 2020. DTX-1182 at 2; DTX-1490 at 7, 11

                        (2022 Ads Safety Report training).




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            755.3.   In 2022, Google stopped ads from being served on 1.57 billion publisher pages

                     because of policy violations and demonetized 143,000 publisher properties. 39

                     DTX-1182 at 4; DTX-1490 at 7; 9/25/24 PM Tr. 118:13-25 (Borgia).

        756.    Google’s ads safety enforcement work has always been important, but has become

 even more pressing than ever because bad actors are “always evolving.” 9/25/24 PM Tr. 109:3-7

 (Borgia). The number of ads Google blocks has increased considerably from 2020 to 2022, and

 into 2023, because automation has made it even easier for bad actors to make money from their

 fraudulent tools at scale. Id. at 121:18-122:2 (Borgia).

                        b.      Integration Across the Ad Tech Stack Improves Ability to Fight
                                Invalid Ad Traffic and Ad Fraud.

        757.    Ad traffic quality refers to fighting “invalid traffic” (or “spam”), defined as “any

 ad clicks and impressions that are not representative of a genuine user interaction or intent.”

 9/24/24 PM Tr. 48:10-22 (Bjorke).

        758.    Ad fraud is a subset of invalid traffic, and refers to “invalid traffic generated for

 malicious purposes, typically, for making money” for “illegitimate reasons.” 9/24/24 PM Tr.

 48:23-49:4 (Bjorke). For example, if a bad actor creates software (“click bots”) that visits

 webpages and clicks on links as if it were a real user, the advertiser ends up paying for clicks that

 did not correspond to an actual person viewing the ad. 9/24/24 PM Tr. 48:8-22, 66:21-67:5, 68:22-

 70:9 (Bjorke) (describing tactics used in the “3ve” ad fraud operation).

        759.    Protections against invalid traffic are a competitive advantage. PTX-1674 at -048

 (2023 Equativ deck advertising that it offers invalid traffic protections); DTX-476 at 3 (2017



 39
   Google’s enforcement starts on the page level rather than the site level, but Google blocks ads
 on a publisher’s entire property when a publisher commits an egregious or repeated violation.
 9/25/24 PM Tr. 119:1-10 (Borgia); see also DTX-1490 at 11.


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 Google strategy deck expressing concern that “lack of trust in DCLK [DoubleClick] spam defenses

 may divert spend to competitors”). By 2015, Google described ad fraud as “one of online’s

 advertising’s biggest challenges. . . . Internally, we typically catch . . . low double-digit percentages

 on AdSense and AdX. In poorly protected products, ad fraud can quickly grow and overtake

 organic traffic.” DTX-214 at 1.

             759.1.   Invalid traffic is a problem for advertisers because they do not want to pay for

                      clicks or ads that are “not representative of a genuine user interaction or intent.”

             759.2.   Invalid traffic also harms legitimate publishers because “for every dollar that

                      goes to a bad actor, that’s a dollar that good publishers are not receiving.”

                      9/24/24 PM Tr. 48:8-22, 49:5-14 (Bjorke); see also DTX-476 at 3 (“Fear of

                      ad fraud is limiting display and video online programmatic spend”).

         760.    Google has an AdSpam team that is dedicated to protecting Google’s ad network

 and the broader ad tech ecosystem from invalid traffic, including ad fraud, with the goal of

 preserving “the long-term sustainability of Google Ads’ business.” 9/24/24 PM Tr. 51:1-9

 (Bjorke).

         761.    End-to-end integration enables Google’s AdSpam team to better monitor ad traffic

 quality for a number of reasons.

         762.    First, in an integrated transaction, Google can vet publishers and stop bad actors

 seeking to take advantage of display advertising before they even enter Google’s network. In other

 words, “the better lock you have on your front door, the better you are protected.” 9/24/24 PM Tr.

 54:13-19 (Bjorke); see also supra ¶¶ 744, 746.

         763.    Google thoroughly screens publishers before they can use its sell-side tools and

 accepts only a small minority of those who apply.            9/24/24 PM Tr. 51:18-54:12 (Bjorke)




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 (describing multiple steps in vetting process); Bjorke DX 1.3; see also DTX-47 at 47 (2009 Google

 presentation).

        764.      When a Google advertiser does not buy from Google’s tools, Google has not vetted

 the publisher at the other end of the transaction. 9/24/24 PM Tr. 58:1-59:3 (Bjorke). That

 advertiser may be exposed to invalid traffic, particularly because non-Google exchanges do not

 invest as much as Google does to vet publishers and keep bad actors out of their networks. Id. at

 59:9-19 (Bjorke).

        765.      After its extensive vetting process, Google’s ad traffic quality work continues.

 Google monitors “publisher activity and looks for signs of bad activity.” For example, Google

 checks whether publishers are changing their address. If Google flags suspicious activity, it

 engages in additional verifications or reviews as needed. 9/24/24 PM Tr. 53:20-54:3 (Bjorke); see

 also id. at 54:20-55:19 (Bjorke); Bjorke DX 1.3.

            765.1.     Google’s monitoring efforts rely on a combination of human and automated

                       review, including Google’s own computer-automated technology that scans

                       trillions of events every day through sophisticated filters, 9/24/24 PM Tr.

                       49:15-50:6, 55:2-9 (Bjorke), and continuous updates of those filters by

                       Google’s employees to reflect new invalid traffic activity and tactics that have

                       been identified, id. at 55:2-9 (Bjorke).   The computing power of Google’s

                       automated scanning technology equates to roughly a hundred thousand

                       computers running around the clock to process data. Id. at 49:15-50:6, 55:2-

                       4 (Bjorke).

        766.      Google has better signal detection capabilities when Google Ads advertisers

 purchase from Google tools. 9/24/24 PM Tr. 59:20-60:20, 72:17-73:4 (Bjorke).




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            766.1.    Signals are details about an impression and the clicks it receives that can be

                      used to detect irregular activity, such as a user “always clicking on the same

                      spot in” an ad. 9/24/24 PM Tr. 60:21-61:10 (Bjorke). “Signal collection is

                      the foundation” for invalid traffic detection. Id. (Bjorke).

            766.2.    When a transaction is not integrated, Google cannot “ensure the integrity of

                      signal collection” the same way because it does not have a “secure

                      environment that” it “can control to prevent tampering and misrepresentations”

                      of signals. 9/24/24 PM Tr. 58:1-59:3, 59:20-61:10 (Bjorke).

        767.    Finally, integration also enhances Google’s enforcement systems for invalid traffic.

 9/24/24 PM Tr. 55:20-56:17 (Bjorke). In an integrated transaction, if an advertiser places an ad

 and Google detects it was not clicked on by a real user, Google can prevent payment to a publisher

 for that invalid traffic, and essentially ensure the advertiser is “not charged” or is “refunded.” Id.

 at 55:20-56:5, 61:11-62:3 (Bjorke). When the transaction is not integrated, Google has limited

 ability to block payment to the publisher for fake clicks. Id. at 58:1-59:3, 61:11-62:3 (Bjorke).

        768.    Although Google works with third-party vendors to augment its ad traffic quality

 defenses, Google would not be able to rely solely on a third-party vendor to monitor traffic quality.

 A third-party vendor “would not be as effective” as Google because “an outside vendor will not

 have access to all of the data we have,” which “is, for business and commercial and contractual

 reasons, confidential.” 9/24/24 PM Tr. 56:18-57:9 (Bjorke).

                        c.      Integration Across the Ad Tech Stack Increases User Privacy.

        769.    Integration across the ad tech stack also better protects user privacy, which matters

 to advertisers and publishers because “user information is important for presenting users with

 relevant ads.” 9/25/24 PM Tr. 125:25-126:11 (Borgia).         Increased user privacy enhances user




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 trust in the ads ecosystem, which in turn benefits advertisers by increasing advertiser return on

 investment from users viewing ads and publishers by increasing ad spend. Id. at 128:8-11 (Borgia).

        770.    When a publisher issues a bid request, it sends to the ad exchange a packet of user

 information about the user who will view the impression. 9/25/24 PM Tr. 125:25-127:3 (Borgia).

 That information, which helps advertisers assess their interest in a particular impression, can

 include sensitive information about the user such as the user’s location, language, demographic

 information, machine identifiers, IP address, and even viewing history. Id. (Borgia). “All of that

 information can be used for positive or negative purposes.” Id. (Borgia).

        771.    Within its integrated stack, Google enforces strict limits on the types of user

 information publishers soliciting bids can send to Google’s tools, including AdX, and imposes

 strict timeframes to delete user data. 9/25/24 PM Tr. 127:4-12 (Borgia). Google also allows users

 to “turn off” ads personalization entirely, or control the types of information being used to serve

 them ads through My Ad Center. Id. at 128:23-129:10 (Borgia); see infra ¶¶ 1117.

        772.    In contrast, if a publisher makes a bid request to a third-party exchange, Google

 does not know what user information the publisher has shared with that exchange, and has no

 control over that information. 9/25/24 PM Tr. 127:13-23 (Borgia). In other words, introducing

 third-party ad tech providers into Google’s ecosystem increases the risk that sensitive user

 information is leaked. Id. (Borgia).

                       d.      Integration Across the Ad Tech Stack Decreases Prices.

        773.    Economics shows that, when one firm provides functionality across the stack, lower

 prices generally result because there is only one profit margin. If multiple firms along the stack

 facilitate one transaction, each gets a bite at the apple to charge a fee or revenue share, which

 causes “double marginalization” because each firm tries to add profit margin to the same




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 transaction. 9/26/24 AM Tr. 159:12-160:20 (Israel). As a result, an integrated ad tech stack lowers

 prices while offering improvements in quality.

        774.    Integration reduces costs in part because it is easier to develop integrations between

 pieces of the stack that are offered by the same firm. 9/26/24 AM Tr. 159:12-160:20 (Israel). The

 software tools of different providers are not automatically interoperable. Connecting tools from

 different providers always requires writing new code to make the connection work in a reliable

 way. 9/20/24 PM Tr. 67:7-15 (Sheffer) (“A significant amount of technical work has to be done

 to make all of these connections,” referring to the connections drawn in the “spaghetti football,”

 Sheffer DX 1); 9/13/24 AM Tr. 25:18-26:1 (Kershaw). With integration, the resources that would

 be expended on that additional work are saved.

        775.    Demonstrating the economic value of an integrated stack, Google’s prices are lower

 than its competitors’ prices when viewed across the stack. As Professor Chevalier explained, it is

 important to compare prices across the full stack because “the crux of an ad transaction is the

 transaction between an advertiser and a publisher.” 9/25/24 AM Tr. 14:2-8 (Chevalier). “The

 buy-side fee” and “the sell-side take rate both need to be paid. So both of these take rates are part

 of—an important part of completing the overall transaction.” Id. (Chevalier); see also 9/18/24 PM

 Tr. 34:4-18, 36:14-19 (Simcoe) (Plaintiffs’ witness explaining that his apportionment analysis

 apportioned revenue share between the buyer and the seller because “both sides” are affected by

 an ad tech fee).

        776.    Across Google Ads, AdX, and DFP, the average revenue share on an impression

 has totalled slightly over 30% from 2014 to 2022, DTX-1977, as compared to average fees of 42%

 to 46% charged by different combinations of buy-side and sell-side competitors in the same time

 period. DTX-1886; see also infra ¶¶ 1153-1154.




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                        e.      Integration Across the Ad Tech Stack Promotes Investment.

        777.    Integration across the ad tech stack creates a greater incentive to invest. One

 problem with investing in better products in an industry like ad tech is that it is difficult to

 determine whether the benefits of an investment on one side of the stack will be experienced on

 that side or the opposite side. If a firm is not on both sides of the stack, it cannot be sure that it

 will capture return on its investment on one side. In contrast, an integrated firm can be sure that it

 will capture the return on its investment. 9/26/24 AM Tr. 159:12-160:20 (Israel).

        778.    Google’s expenditures reflect that Google has incentives to invest consistent with

 the incentives of owning an integrated product. Google’s display engineering expenditures for the

 period 2017 to 2022 totalled $7.6 billion, or over $1 billion each year. DTX-1881; 9/26/24 AM

 Tr. 162:15-163:5 (Israel) (display engineering expenditures do not capture additional expenditures

 such as servers and computer hardware); see also DTX-1883 (Israel Figure 66: Google Display

 Product Launches from Ariane Launch Calendars); 9/26/24 PM Tr. 75:18-76:5 (Israel) (over 1,500

 display product launches each year since 2016). Google’s investments in safety and security alone

 totalled $604 million from 2017 to 2022. DTX-1827; 9/24/24 PM Tr. 50:17-51:9 (Bjorke); 9/25/24

 PM Tr. 130:21-131:8 (Borgia).

        779.    As another example, Xandr (now owned by Microsoft) was incentivized to invest

 in its buy side because it also owned a sell-side platform and ad server and wanted to grow by

 scaling the overall marketplace for advertising. 9/20/24 PM Tr. 137:22-138:21 (John). As a 2020

 strategy document stated, Xandr considered investing in a demand-side platform to be “the most

 profitable and efficient way to grow digital media spend and scale the marketplace, with 58% of

 Invest spend staying on Xandr’s supply side platform.” DTX-939 at 1. Because publishers like

 to access inventory for which “they have the visibility end to end in a transparent way,” investing

 in one side of Xandr’s stack would benefit the other. 9/20/24 PM Tr. 137:22-139:11 (John).


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                        f.      Integration Across the Ad Tech Stack Decreases Latency.

        780.    Latency refers to the period of time between when the user reaches the digital

 content and an ad is selected and loaded on the digital content. 9/9/24 PM Tr. 75:12-20 (Lowcock);

 9/11/24 PM Tr. 138:14-16 (Dederick).

        781.    Display ads must load in fractions of a second, so latency is critical. 9/9/24 AM Tr.

 69:17-25 (Wolfe).     As Plaintiffs’ witness Kershaw testified, “latency frames every decision,

 technically, that we made in the industry.” Id. at 23:13-24 (Kershaw). “You literally paid for

 things with milliseconds . . . because if you run out of time, you literally don’t get a chance to be

 on the page.” Id. (Kershaw). Ultimately, if latency is too high, the ad may never serve. 9/10/24

 AM Tr. 16:14-19 (Layser).

        782.    Increased latency hurts all the stakeholders in display advertising: advertisers,

 publishers, and viewers of digital content.

            782.1.   From the advertiser perspective, when an ad loads slowly it is likely a user

                     might have clicked away from the content or scrolled down by the time the ad

                     loads—without actually viewing the ad. 9/9/24 PM Tr. 75:12-76:5 (Lowcock)

                     (“The lower the latency, the more likely the ad will be viewable and, therefore,

                     the advertiser will achieve their business outcomes.”).

            782.2.   From the publisher perspective, latency has direct negative impacts on the

                     publisher’s revenue because “any slowdown” in the “process around loading

                     the content and the ads” has “negative impacts to the number of ads that we

                     serve.” 9/26/24 PM Tr. 139:1-15 (Glogovsky).

            782.3.   For users, it is annoying when content loads slowly. 9/26/24 PM Tr. 139:1-

                     15 (Glogovsky).




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        783.    Latency is lower when the ad tech tools facilitating a match are part of an integrated

 ad tech stack. Time is lost each time an additional provider’s ad tech platform is called. DTX-

 371 at 2 (2017 Google strategy document); cf. 9/10/24 AM Tr. 16:20-17:1 (Layser) (latency is

 increased when two publisher ad servers are used because “you would have to do some ad

 decisioning in the ad server and then you would have to push it over into a secondary ad server”);

 9/12/24 PM Tr. 61:13-62:14 (Goel) (when latency is too high from “going from one ad network to

 the next to the next, that could take time and cause loss of ad inventory”).

        784.    All of these benefits of using Google’s integrated ad tech stack—safety, security,

 user privacy, lower prices, quality, efficiency, and product differentiation—are put at risk by

 forced interoperability with rivals.

        B.      Allegation that Google Provides AdX Near-Exclusive Access to Google Ads
                Demand, Denying Comparable Access to Rival Ad Exchanges 40

        785.    “Google Ads demand” is just another way of describing Google’s advertiser

 customer base. 9/23/24 AM Tr. 14:11-15 (Korula) (“Google Ads demand” refers to “all of the

 customers of Google Ads, the advertisers who use the product.”); 9/19/24 AM Tr. 33:2-34:8

 (Simcoe) (“near exclusivity of Google Ads demand to AdX” refers to “Google customers”). In

 other words, what Plaintiffs seek is unrestricted access to Google’s advertiser customers for its

 rivals. Further, they insist that this access by rivals must be “comparable” to Google’s own access

 to its customers. 9/20/24 AM Tr. 79:10-80:16, 89:3-16 (Lee).

        786.    Plaintiffs’ lead expert concedes that this would require Google Ads to bid into rival

 exchanges on the very same terms that it bids into AdX. 9/20/24 AM Tr. 89:3-16 (Lee). Similarly,



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   9/19/24 PM Tr. 127:11-24 (Lee) (“The five pieces of conduct that I evaluated and examined to
 be anticompetitive” include “the conditioning of unrestricted access to Google Ads to the use of
 AdX. This is referred to sometimes as the near-exclusive relationship between the two products.”).


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 with regard to Google Ads bidding on AdX, Dr. Abrantes-Metz agreed that remedying her

 “restriction in choice” would require enabling advertisers “to use Google Ads to bid into AdX and

 into rival ad exchanges,” which she conceded would require “technical connections and

 integrations to the other exchanges.” 9/18/24 AM Tr. 80:17-81:13 (Abrantes-Metz).

        787.    Putting aside for the moment that it is completely antithetical to U.S. antitrust law

 to compel access to a rival company’s customer base, infra Proposed Conclusions of Law § IV.B.1,

 as explained below Plaintiffs ignore the significant benefits created when Google Ads customers

 buy on Google tools, and how those benefits make Google Ads a distinctly valuable product.

        788.    In short, Plaintiffs are seeking that the Court order Google to turn Google Ads into

 DV360, which Google already offers to advertisers who prefer a buying tool that purchases broadly

 across exchanges. Doing so would require Google to undertake the significant work required, as

 demonstrated by the development of AwBid, to build more connections between Google Ads and

 rival exchanges—a functionality that Google Ads, unlike DV360, was not designed to handle. It

 would also take away from Google’s customers the attributes of Google Ads that distinguish it

 from DV360, such as Google Ads’ curated inventory and the safety and security enhancements

 that come from end-to-end integration.

        789.    Even setting aside that Google is not required to take on enormous amounts of work

 to turn Google Ads into a product with the same functionality as a tool it already offers, Google is

 not required to share with its rivals the customers it has attracted, maintained, and supported

 through significant product investments, as well as thousands of Google Ads customer account

 representatives and tech support. To the extent Plaintiffs’ challenge ultimately rests on the

 unsupported claim that publishers must use AdX in order to access Google Ads’ purported “unique




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 demand,” that claim has no basis in reality because Google Ads demand is not exclusive to AdX,

 and is largely available through many other pathways.

                1.     The Integration of Google Ads and AdX Offers Benefits When They
                       Are Used Together.

        790.    When Google Ads was first created in 2000, its value proposition for advertisers

 was to connect to a high-quality, curated set of publisher inventory that was aggregated in one

 place. Supra ¶¶ 31-33, 140; 9/11/24 AM Tr. 50:3-51:4, 51:25-52:17 (Bender).           Google Ads

 initially bid only into Google owned-and-operated properties and third-party publisher properties

 that joined the Google Display Network by using AdSense, Google Ad Manager, or AdMob.

 9/20/24 PM Tr. 52:22-53:5, 57:15-20 (Sheffer); 9/11/24 AM Tr. 9:18-21, 24:25-25:16, 41:3-10

 (Bender).

        791.    The relationship between Google AdX and the Google Display Network enables

 Google to better protect Google Ads advertisers from invalid traffic by vetting publishers,

 monitoring signals for invalid traffic, and enforcing policies by not paying publishers for invalid

 traffic. Supra ¶¶ 743-744, 762, 765-766, 767. Even with all of Google’s efforts to continuously

 combat invalid traffic, an end-to-end transaction facilitated through Google Ads and AdX is still

 better protected from invalid traffic threats than purchasing on Google Ads through a third-party

 exchange. 9/24/24 PM Tr. 81:11-16 (Bjorke).

        792.    As explained above, an end-to-end integrated transaction also lowers prices across

 the ad tech stack. Supra ¶¶ 773-776.

        793.    As Professor Chevalier demonstrated in the chart below, DTX-2071A, between

 2019 and March 2023 using Google Ads and AdX together to complete a transaction cost less

 (29.6%) than the average cost to use a competitor buying tool and exchange together (36.1%).

 9/25/24 AM Tr. 15:12-25 (Chevalier).



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        794.   The combined fee for Google Ads and AdX is significantly lower—among the ten

 least expensive—when compared to the combined fees of a wide swath of other buying tools and

 exchanges paired together. DTX-1893A (Israel Figure 76: Combined Advertiser Buying Tool and

 Exchange Fees, 2020-2022); 9/26/24 AM Tr. 173:23-175:5 (Israel).




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                2.     Google Is Not Required to Make Its Differentiated Buying Tools,
                       Google Ads and DV360, the Same Tool.

        795.    Notwithstanding the benefits to advertisers when they bid on Google Ads into AdX,

 Plaintiffs demand that Google expand Google Ads bidding to all inventory available on all

 exchanges. Plaintiffs acknowledge that Google has already built a feature, AwBid, that provides

 Google Ads advertisers with a way to bid into third-party exchanges. 9/19/24 PM Tr. 133:17-

 134:3 (Lee). As explained below, infra ¶¶ 805-838, Google has invested considerable resources

 into overcoming the challenges of building AwBid so that its Google Ads customers can have

 expanded access to inventory while maintaining Google Ads’ value proposition of high-quality

 inventory.

        796.    Plaintiffs complain that Google has not invested even more into building AwBid as

 quickly and on the same terms as Plaintiffs would like. They take issue with the fact that AwBid

 does not enable Google Ads advertisers to “bid on all impressions” and “represents a small share

 of Google Ads’ impressions transacted.” Plaintiffs’ Demonstrative Q; 9/19/24 PM Tr. 133:17-

 135:2 (Lee); 9/16/24 PM Tr. 132:20-133:16 (Abrantes-Metz). They argue that, rather than offering

 Google Ads customers curated publisher inventory, Google should have offered customers access

 to all inventory available on all exchanges. 9/19/24 PM Tr. 132:16-133:15 (Lee).

        797.    Plaintiffs’ argument fails because Google already offers a buying tool that does

 exactly what Plaintiffs request—DV360, a demand-side platform that Plaintiffs exclude from all

 of their alleged product markets. Unlike Google Ads, the competitive advantage of DV360 is that

 it gives access to broader inventory that is not curated like the Google Ads inventory. 9/11/24 AM

 Tr. 27:10-18, 51:25-52:17 (Bender); supra ¶ 144 (DV360 connects to over 100 rival exchanges).

 Advertisers can use DV360 to connect to non-Google exchanges, as well as to AdMob, AdX, and




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 AdSense. 9/18/24 AM Tr. 88:2-4 (Abrantes-Metz) (DV360 makes all of its advertiser demand

 available to rival third-party exchanges).

        798.    DV360 is already a “major bidder” into rival exchanges. 9/11/24 PM Tr. 65:3-21

 (Ravi). According to the calculations of Plaintiffs’ expert Professor Weintraub, the share of

 DV360 impressions purchased on rival exchanges rose between 2017 and 2022 from 29.7 percent

 to 48.7 percent. 9/16/24 PM Tr. 61:15-23 (Weintraub). During that time period, DV360

 contributed 3.6 trillion impressions and $8.3 billion of ad spend to third-party exchanges. Id. at

 62:11-64:21 (Weintraub).

        799.    Though DV360 offers access to more inventory across exchanges, DV360 has

 always been unable to assure quality to the degree that Google Ads can because, for many

 purchases on DV360, the seller is not using Google tools. There was “an understanding there that

 if something fraudulent or spammy happens” when using DV360, “the onus would be on the

 advertiser.” 9/11/24 AM Tr. 27:10-18 (Bender).

        800.    The 3ve and Methbot ad fraud schemes that operated in 2016 and 2017 demonstrate

 the differentiation between Google Ads and DV360. Both schemes primarily infiltrated Google’s

 network through third-party exchanges integrated with DV360, not Google Ads, because Google

 cannot control inventory quality in the same way on DV360. 9/24/24 PM Tr. 71:25-72:16 (Bjorke);

 9/11/24 AM Tr. 27:10-18 (Bender).

            800.1.   The 3ve scheme infected home computers with malware that directed botnets

                     (large, sophisticated networks of bots) to fake websites, generating fraudulent

                     ad impressions and revenue through invalid traffic (referred to as “domain

                     misrepresentation”). DTX-635 at 3-4 (2018 “Google Security Blog” post);

                     9/24/24 PM Tr. 68:21-67:5, 77:20-78:7 (Bjorke). 3ve compromised roughly




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                    one million IPs through its activity and faked selling ad space on over 10,000

                    legitimate websites. DTX-635 at 2-3 (2018 “Google Security Blog” post);

                    9/24/24 PM Tr. 69:7-70:9 (Bjorke). At its peak, 3ve generated more than 3

                    billion fake ad bid requests per day. DTX-635 at 3; 9/24/24 PM Tr. 68:22-

                    69:6 (Bjorke).

           800.2.   Google independently detected 3ve and brought 3ve to law enforcement’s

                    attention. DTX-635 at 2 (2018 “Google Security Blog” post); 9/24/24 PM Tr.

                    67:6-12 (Bjorke). While working to contain the fraud in its own systems,

                    9/24/24 PM Tr. 71:5-14 (Bjorke), Google cooperated with law enforcement

                    and other industry actors to investigate, take down, and eventually prosecute

                    3ve. DTX-635 at 4-6.

           800.3.   3ve cost Google’s advertisers roughly $20 to $30 million that Google refunded

                    to them at its own expense. 9/24/24 PM Tr. 70:10-21 (Bjorke). Other industry

                    actors were also likely impacted by the scheme, which operated across over

                    60,000 sellers in the ecosystem. Id. at 70:22-71:4 (Bjorke).

           800.4.   In 2017, a similar ad fraud scheme known as “Methbot” also occurred and

                    impacted Google’s systems. 9/24/24 PM Tr. 71:15-24 (Bjorke).

           800.5.   In both schemes, a majority of the fraudulent traffic was infiltrating the third-

                    party exchanges integrated with DV360—not through AdX. 9/24/24 PM Tr.

                    71:25-72:16 (Bjorke).

        801.   Google Ads customers are free to “conduct as much of their business as they want

 using other buying tools.” 9/10/24 PM Tr. 25:2-8 (Friedman). Google places no restrictions on

 what Google Ads or DV360 customers use to buy advertising, so Google’s advertiser customers




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 are free to choose whether to use Google Ads, DV360, neither, or a combination of both depending

 on the product features they want. 9/25/24 PM Tr. 39:8-13 (Stewart).

        802.    Google’s advertiser customers also can and do multi-home between Google’s

 buying tools, including Google Ads, and non-Google tools, and they shift spend based on return.

 9/19/24 AM Tr. 80:18-81:5 (Simcoe); 9/9/24 PM Tr. 166:11-16 (Avery). Numerous advertisers,

 like the Census,

        spend significant amounts of money on both Google and non-Google buying tools. 9/23/24

 PM Tr. 125:20-22 (Hardie); 9/25/24 PM Tr. 39:5-7 (Stewart); DTX-1970 (Israel Table 1: AdX

 U.S. Spending Patterns for Selected Advertisers, 2019-2022); 9/19/24 AM Tr. 22:22-24:18

 (Simcoe) (acknowledging that “large companies that buy ads” multi-home). For example, Criteo

 shares “many customers with Google and with Facebook or Meta.” Deposition of Todd Parsons

 Tr. 115:24-116:5.

        803.    Google’s advertiser customers are also “free to submit bids into other exchanges”

 in addition to AdX or not into AdX at all. 9/10/24 PM Tr. 25:12-14 (Friedman). Advertisers buy

 through numerous exchanges that are not AdX. 9/17/24 PM Tr. 141:13-142:6 (Schiekofer)

 (“There’s just a ton of exchanges. There’s a lot of people who have built exchanges.”); 9/19/24

 AM Tr. 81:11-17 (Simcoe). They can choose which exchange to use based on performance and

 shift spend accordingly. 9/17/24 PM Tr. 141:13-18, 143:7-17 (Schiekofer).

        804.    In sum, advertiser customers have many options to access inventory on third-party

 exchanges, including using a Google buying tool. It is not anticompetitive for Google to offer

 advertisers two differentiated products. 9/26/24 PM Tr. 9:23-10:7 (Israel). When asked how

 Google could avoid being anticompetitive while still offering one product with curated inventory

 and another with broader but uncurated inventory, Plaintiffs’ lead expert, Professor Lee, could not




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 provide an answer. 9/20/24 AM Tr. 80:17-81:19 (Lee) (“I’m not opining on what Google should

 have to do or should have done.”).

                  3.     In Order to Make Google Ads Interoperable with Rival Exchanges,
                         Google Would Have to Undertake Significant Technical Work, as
                         Demonstrated by the Challenges Google Overcame to Build AwBid.

        805.      The significant work and trade-offs that would be required to build connections

 between Google Ads and rival exchanges are not just theoretical, but demonstrated in reality by

 the history of Google’s development of AwBid, a feature that connects Google Ads to certain

 third-party exchanges. 9/20/24 PM Tr. 63:1-6 (Sheffer).

        806.      Since AwBid was first conceived in 2011, one of the critical challenges to building

 and launching a feature like AwBid was that integrating Google Ads with third-party exchanges

 raised multiple quality and security concerns. 9/10/24 PM Tr. 82:3-84:5 (Lipkovitz); DTX-189 at

 3 (2014 email describing initial AwBid integrations); DTX-129 at 1.

        807.      An advertiser purchasing through AwBid might end up purchasing an impression

 on a website that would not have been approved to join AdX or AdSense. 9/24/24 PM Tr. 58:1-

 59:3 (Bjorke).

        808.      As explained, supra ¶¶ 749, 764, 766, for inventory bought through third-party

 exchanges, Google has reduced ability to vet the publisher’s inventory, monitor it, and reimburse

 the advertiser for invalid traffic. 9/11/24 AM Tr. 63:20-64:9 (Bender); 9/24/24 PM Tr. 58:5-59:3

 (Bjorke); DTX-129 at 3 (2012 Google document describing the need to “protect GDN from low

 quality or unsafe content” on non-Google exchanges). As a Google buy-side executive explained,

 ensuring AwBid would have “that same kind of level of safety and quality” available on AdX and

 AdSense and would require “an incremental engineering build.” 9/11/24 AM Tr. 62:21-64:9

 (Bender).




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        809.    Even those at Google who were strong proponents of AwBid, such as Bender,

 acknowledged an evolution in Google’s approach as it grew to understand the challenges of

 Google Ads integrating with third-party exchanges while “protecting the network buyers from

 spam and fraudulent inventory.” 9/11/24 AM Tr. 37:6-16 (Bender). In order to roll out AwBid,

 “building up those defenses was paramount.” Id. (Bender).

        810.    As Bender explained, expanding AwBid required balancing incremental inventory

 against security and safety: “When you’re operating a buy-side network, there’s a naive idea that

 incremental inventory is a good thing. And I would say that’s true, but not true if that inventory

 is spammy or fraudulent or, you know, nefarious in some way. . . . Part of my education as we

 were pursuing this pilot was . . . to understand the work that we were required in order to try to

 run incremental inventory sources that potentially had those types of issues.” 9/11/24 AM Tr.

 61:18-62:5 (Bender).

        811.    Recognizing these trade-offs, Google developed AwBid “in a way where we could

 continue to protect our advertisers to the level they expected from having used [Google Ads] in

 the past” while expanding access to third-party exchanges at the same time. 9/24/24 PM Tr. 59:4-

 8 (Bjorke); see also 9/11/24 AM Tr. 65:11-25 (Bender); DTX-85 at 3 (2011 Google email stating

 the need for “a plan on how to handle Google publisher policy and AdSpam” for AwBid).

        812.    In 2011, when Google first conceived of AwBid, it planned to start by building

 connections to buy owned-and-operated inventory on Yahoo (Right Media Exchange) and

 Microsoft (AppNexus). DTX-129 at 1 (2012 Google document detailing the “AWBid Pilot” and

 “original AWBID concept”); 9/24/24 PM Tr. 57:19-22 (Bjorke). Connecting to owned-and-

 operated inventory from Yahoo and Microsoft was safer than buying unknown inventory on third-




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 party exchanges because, when Google is aware of who the publisher is, it can better vet the quality

 and safety of the inventory. Cf. 9/16/24 AM Tr. 116:2-24 (Mohan).

        813.    The first version of AwBid fell through because Google was unable to reach deals

 with Yahoo and Microsoft (at the time, AppNexus was the exchange through which Microsoft sold

 its owned-and-operated inventory). DTX-129 at 2 (2012 Google document: “The product did not

 go live due to deals with key third party exchange partners falling through.”).

        814.    In the second version of AwBid, Google considered what forms of targeting would

 balance both the benefit from access to inventory outside the Google Display Network and security.

 It decided to start with remarketing (also referred to as “retargeting”). 9/17/24 AM Tr. 116:9-

 117:1 (Jayaram). Remarketing refers to showing ads to users who had previously interacted with

 an advertiser’s website or ad. For example, a clothing store like Macy’s might seek to remarket to

 a user who had already clicked on clothes on Macy’s website and added them to his cart without

 purchasing. 9/11/24 AM Tr. 39:11-40:1 (Bender).

        815.    The benefit from access to non-Google inventory is particularly great in the context

 of remarketing. Access to more inventory is important to remarketing because “users tend to lose

 interest quickly, and so the sooner we were able to show a product to the user, the higher chance

 that they would purchase it. And by having access to more inventory, the hope was that we would

 be able to get the product across the user sooner.” 9/17/24 AM Tr. 116:9-117:1 (Jayaram).

 Because of advertiser demand for remarketing, Google Ads was “hurting in a very competitive

 remarketing field,” and a feature like AwBid would help to “close competitive gap” on remarketing.

 DTX-129 at 1-2.

        816.    Google also decided to start with remarketing because securely launching AwBid

 for other types of targeting would be more difficult from an engineering standpoint, as other types




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 of targeting are based on the context of the surrounding digital content or the viewer’s interests

 and therefore require “building complex models around the user, around the page, and being able

 to on the fly retrieve this information about the user and the page to figure out which ads should

 be” eligible. 9/17/24 PM Tr. 14:21-15:11 (Jayaram).

        817.    Google began work on a version of AwBid limited to remarketing inventory in late

 2012. DTX-277 at 3 (2015 Google presentation detailing “Awbid Timeline”). In 2013, after

 extensive engineering work and contract negotiations and review, DTX-129 at 1-4, Google began

 an extended launch of AwBid that culminated in an official launch in 2015. 9/17/24 AM Tr.

 123:18-124:23 (Jayaram); DTX-277 at 3.

        818.    Building and launching AwBid was “a really large-scale effort” with “lots of

 challenges.” 9/17/24 AM Tr. 119:9-120:4 (Jayaram).

        819.    Before AwBid could even be tested, Google had to “align with exchanges on

 policies” and “signals that will be shared,” and “build the pipes to integrate with exchanges,” which

 was “a significant engineering effort.” 9/17/24 AM Tr. 119:9-120:4 (Jayaram). For example,

 incoming ad query calls needed to be “translated into a format similar to the existing AdSense/AdX

 calls.” DTX-129 at 2.

        820.    In addition, one of the requirements for launching AwBid was a “brand safe list of

 domains and publishers to protect GDN [from] low quality or unsafe content.” DTX-129 at 3; see

 also 9/11/24 AM Tr. 62:10-20 (Bender).

        821.    After those initial steps, Google was able to build integrations with 6 exchanges in

 2013 and 2014. DTX-277 at 3 (2015 Google presentation detailing “Awbid Timeline”); 9/17/24

 AM Tr. 124:3-23 (Jayaram).




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        822.   Once Google had built the integrations with the first exchanges, Google conducted

 tests on portions of traffic to evaluate advertiser performance. DTX-277 at 3. These tests

 demonstrated to Google that there were additional challenges, such as latency, spam, fraud,

 advertiser performance problems, and brand safety problems, that would require “new engineering

 solutions” before the full launch. 9/17/24 AM Tr. 119:9-120:4 (Jayaram).

        823.   After the launch of AwBid began, Google also had to “work with exchanges to

 figure out how to deal with what we called billing discrepancies,” which occurred when Google

 and the exchange arrived at different estimates of “how many impressions were served and how

 much payment needs to be made.” 9/17/24 AM Tr. 120:5-15 (Jayaram). Those discrepancies

 were “a continuous area of discussion.” Id. (Jayaram).

        824.   Contemporaneous documents and testimony demonstrate that AwBid, as first built,

 experienced a significant uptick in invalid traffic and spam from non-Google exchanges.

            824.1.   Bjorke, Director of Product Management for the AdSpam team, observed

                     “exceptionally high level[s] of invalid traffic” during Google’s first AwBid

                     experiments. 9/24/24 PM Tr. 59:9-14 (Bjorke).

            824.2.   According to 2014 internal Google documents, based on manual review

                     Google detected a rate of 100% for invalid traffic on one third-party exchange

                     and over 30% on another. PTX-199 at -241; 9/24/24 PM Tr. 97:19-98:6

                     (Bjorke) (these numbers likely undercount the actual amount because

                     Google’s automated detection systems had not yet been updated and a couple

                     of exchanges did not yet have enough traffic to assess ad fraud levels).




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          824.3.   Google conducted another investigation of AwBid traffic quality in December

                   2014. DTX-230 at 1. The results listed a number of challenges specific to

                   AwBid that did not exist when Google Ads purchased on AdX or AdSense:

                       824.3.1. Although Google had “not noticed a great volume of malicious

                                 traffic on” the “three now serving exchanges,” one exchange,

                                 PubMatic, “had some issues.”      DTX-230 at 2 (finding in

                                 manual review that 52% of clicks were spam); see also DTX-

                                 277 at 23 (2015 AwBid update finding 70% of clicks from

                                 PubMatic were spam); 9/17/24 AM Tr. 125:6-127:18

                                 (Jayaram).

                       824.3.2. For PulsePoint, an exchange, “there were traffic issues so

                                 severe” that Google “eventually had to stop bidding on the

                                 exchange altogether (95% of click and impression traffic was

                                 deemed as invalid). This highlights the need to carefully

                                 evaluate any new exchanges that [Google] may consider

                                 bidding on in the future.” DTX-230 at 2; see also DTX-277 at

                                 23 (98% of clicks from PulsePoint were spam).

                       824.3.3. “Compared to AdX/AdSense,” AwBid is “missing some

                                 significant signals and entities that [Google] would use to

                                 isolate and evaluate traffic.” DTX-230 at 3.

                       824.3.4. Google also continued to “see challenges with” low quality

                                 content “that we wouldn’t allow on AdSense Publishers,”




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                                     particularly for “very sensitive / ‘brand aware’ advertisers.”

                                     DTX-230 at 4.

        825.    Google also found that advertisers bidding through AwBid were exposed to

 “troubling content and behavioural violations,” such as illegal file sharing, deceptive ads and sites,

 pedophilia, or explicit content. DTX-230 at 5.

        826.    An added concern following the initial build of AwBid was that publishers who had

 been disabled from Google’s tools—including because they were reported by Google Ads

 customers—could still be connected to Google Ads buyers through AwBid. 9/24/24 PM Tr. 58:5-

 59:3 (Bjorke). As Google wrote in 2014: “It is possible that AdWords advertisers that opt into

 AwBid will be disappointed to see their ads shown on pages that they have reported to us and were

 told that we have disabled all bad publishers.” DTX-230 at 2.

        827.    These challenges were attributable in part to third-party exchanges’ failure to

 properly vet publishers using their tools. 9/24/24 PM Tr. 59:9-19 (Bjorke). To manage these

 concerns, Google’s invalid traffic team worked diligently to minimize the ad traffic quality

 concerns raised by AwBid. 9/24/24 PM Tr. 59:4-8 (Bjorke).

            827.1.    Google undertook significant efforts to enhance its invalid traffic detection

                      and enforcement tools on third-party exchanges. DTX-277 at 23 (2015

                      AwBid update). Google developed a system to check invalid traffic levels for

                      each exchange before it ramped up buying on an exchange. DTX-277 at 23;

                      9/9/24 PM Tr. 62:20-63:3 (Bjorke). In addition, Google developed a technical

                      mechanism to encrypt its signal collection techniques to prevent bad actors

                      from reverse engineering them. DTX-277 at 23; 9/9/24 PM Tr. 63:4-17




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                     (Bjorke). Google also implemented real-time spam filtration capabilities.

                     DTX-277 at 23; 9/9/24 PM Tr. 64:18-64:7 (Bjorke).

            827.2.   Google also negotiated contractual refund rights with each third-party

                     exchange participating in AwBid so that it could claw back money paid to the

                     exchanges for invalid traffic, refund advertisers, and avoid paying bad actors.

                     DTX-277; 9/24/24 PM Tr. 64:8-19 (Bjorke).

            827.3.   Demonstrating the results of Google’s technical protections, in 2015 Google

                     blocked “25-30%” of publishers on Rubicon’s exchange based on its

                     monitoring of inventory quality. DTX-277 at 21.

            827.4.   This additional work was not as simple as replicating what Google had done

                     for invalid detection in DV360. The two tools were built on entirely different

                     software and required different solutions. 9/9/24 PM Tr. 65:3-11 (Bjorke).

        828.   After reviewing the results of its initial integrations and testing and working to

 address its concerns, Google was “happy with the performance for advertisers,” and officially

 launched AwBid in 2015. 9/17/24 AM Tr. 119:9-120:4, 124:1-23 (Jayaram). AwBid formally

 launched its first integration with a third-party exchange in June 2015, followed by launches of

 integrations with three additional exchanges in September 2015. DTX-277 at 3 (Rubicon in June

 2015, and OpenX, CCI, and Casale Media (now Index Exchange) in September 2015).

        829.   Since AwBid’s launch, non-Google exchanges have continued to struggle with

 spam and traffic quality. 9/17/24 AM Tr. 124:24-125:24 (Jayaram) (“When AdWords started

 buying on PulsePoint, if we got 100 clicks through PulsePoint, 98 percent of them were marked

 as spam in manual review.”). In 2015, for example, the CEO of AppNexus acknowledged that as

 much as 65 percent of the inventory being offered on AppNexus was fraudulent. Deposition of




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 Brian O’Kelley Tr. at 322:15-323:3. In 2019, Google again observed that “AwBid challenges”

 included “Spam: it’s a wild world out there” and “publisher quality.” PTX-791 at -224; 9/9/24

 PM Tr. 65:18-66:2 (Bjorke).

        830.    Google continued to engage in technical work and innovative solutions to address

 the security challenges associated with buying on third-party ad exchanges. 9/17/24 AM Tr.

 129:3-18 (Jayaram). For example, Google temporarily halted bidding on one exchange on which

 it detected invalid traffic and built a filtering detection system to detect invalid traffic on other

 exchanges. DTX-277 at 23 (2015 AwBid update). Google’s efforts to detect and combat invalid

 traffic on third-party exchanges continues today. 9/9/24 PM Tr. 66:3-8 (Bjorke).

        831.    Another challenge AwBid has continued to face is latency. High latency results in

 “timeouts,” which means that a bid is “thrown away” by the exchange if the buying tool does not

 respond with a bid within the time limit set by the exchange. 9/17/24 AM Tr. 128:1-129:2

 (Jayaram). An October 2015 slide titled “Challenge: Latency” indicated that between 32% and

 80% of ad requests through AwBid (depending on the third-party exchange and the type of ad

 delivery infrastructure) resulted in timeouts. DTX-277 at 17. Google has continued to invest

 resources in addressing latency challenges so that AwBid bids can successfully be delivered.

 9/17/24 AM Tr. 129:12-18 (Jayaram).

        832.    Persevering through the constant work required to build integrations and to address

 these challenges, Google has steadily expanded AwBid to connect now to nearly 50 third-party

 exchanges. 9/17/24 AM Tr. 129:6-24 (Jayaram).

        833.    Since AwBid’s initial launch, Google has also expanded AwBid beyond

 remarketing to more challenging targeting types such as contextual keyword targeting and

 contextual interest targeting. 9/17/24 PM Tr. 14:17-15:11 (Jayaram) (explaining that these other




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 forms of targeting are “much harder in practice compared to” retargeting); PTX-791 at -212 (2019

 presentation describing the “expansion” of AwBid into “other targeting types”).

        834.   Building and maintaining support for each additional exchange and for additional

 inventory has been expensive.

            834.1.   Every ad request processed by Google Ads requires “machine resources,”

                     which refers to “the computers that run these algorithms to value the bids,

                     value the ads and come up with the right ad candidate.” 9/17/24 AM Tr.

                     122:2-6 (Jayaram). Google has “several thousands” of clusters of computers

                     for “processing ad requests,” and “physical space limits” mean that when

                     Google wants to expand the ad requests processed, it “cannot just buy more

                     machines and put them somewhere.” 9/17/24 AM Tr. 122:7-123:8 (Jayaram).

            834.2.   Purchasing through AwBid costs more machine resources because buying

                     through multiple exchanges means that Google Ads will get “duplicate calls

                     for the same ad opportunity.” 9/17/24 AM Tr. 122:12-123:8 (Jayaram).

                     “What this means is even though there is only one ad opportunity, we have to

                     keep processing every independent request, and it consumes our machines” in

                     a “very wasteful way” because “we are processing the same thing so many

                     times.” Id. (Jayaram).

        835.   Google now has to charge a higher revenue share for bidding through AwBid than

 for bidding through AdX because maintaining AwBid is more costly, including to cover “billing

 discrepancies,” “machine costs,” “spam refunds,” and “original costs to integration and building

 all of these systems to be able to ramp up AwBid.” 9/17/24 PM Tr. 16:19-17:10 (Jayaram).

 Similarly, the revenue share for non-retargeting inventory requires covering additional costs of




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 building complex user and page models to support more complex forms of targeting and “high

 machine costs.” Id. at 15:12-16:10 (Jayaram).

        836.   Despite AwBid’s inherent limitations, use of AwBid has grown, with spending on

 third-party exchanges increasing from $11 million in 2015 (1% of Google Ads spend on ad

 exchanges) to in excess of $295 million (13% of Google Ads spend on ad exchanges) by 2022—

 a twenty-fold increase in just 7 years. DTX-1907; 9/26/24 PM Tr. 18:6-19:13 (Israel); see also

 9/16/24 PM Tr. 60:15-19, 61:15-18 (Weintraub) (Plaintiffs’ expert agreeing Google Ads spend

 attributable to spending in third-party exchanges through AwBid increased by his calculations

 from 6.6 percent to 11 percent between 2017 and 2022).

        837.   The challenges of integrating with third-party exchanges are not unique to Google

 Ads.

           837.1.   The Trade Desk has to do “technical work in order to bid into an ad exchange,”

                    including “integration work, ongoing support, technical support of integration,

                    partnership support,” and “importantly we need to license data centers and we

                    need to support all of the data that comes in through the ad requests that we’re

                    getting from SSPs.” 9/11/24 PM Tr. 112:13-2 (Dederick).

           837.2.   As an Index Exchange representative testified, “DSPs also have to make an

                    investment in every exchange by way of the technical integration to integrate

                    with an exchange, which is also a very onerous process, they’re very selective.

                    Some DSPs we’ve literally waited five years to integrate into Index.” 9/9/24

                    AM Tr. 144:3-145:1 (Casale).

        838.   Nor is integrating Google Ads with third-party exchanges as straightforward as

 integrating DV360 with third-party exchanges. Historically, DV360 operated “more or less as a




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 pipe for advertisers’ bids to be sent to the exchanges.” 9/17/24 AM Tr. 120:16-121:17 (Jayaram).

 “Google didn’t do any optimization for them,” and advertisers took responsibility for their own

 “spam issues and brand safety issues.” Id. (Jayaram). Google Ads, on the other hand, “focused

 on optimization” and was “relied on by advertisers to manage all the issues, including performance,

 fraud, brand safety.” Id. (Jayaram). As a result, integrating Google Ads with third-party exchanges

 requires “completely new systems” and redoing “a vast majority of the engineering” as opposed

 to simply using the integrations that exist from DV360. Id. (Jayaram).

                4.     Google Is Not Required to Share the Google Ads Customer Base It Has
                       Worked Hard to Develop.

        839.    With forced integration, Plaintiffs seek to require Google to share the benefits of

 its considerable investments in building a robust Google Ads customer base.

        840.    In addition to the high-quality inventory and pricing benefits that Google Ads

 provides based on Google’s investments in the product, supra ¶¶ 790-794, Google Ads also attracts

 customers because Google invests enormously in supporting its Google Ads customers.

        841.    Google invests in thousands of employees to support the advertisers (large and

 small) that buy on Google Ads. 9/23/24 PM Tr. 8:5-15 (Stefaniu). That team is called the Google

 Customer Solutions Team and consists of both the large customer sales group (LCS) and a group

 dedicated to supporting small and medium businesses (SMB). Id. at 7:12-8:15 (Stefaniu). In

 addition, another team of thousands of employees, gTech, provides on-demand support for all

 Google Ads customers with immediate troubleshooting or reporting questions. Id. at 8:16-9:22

 (Stefaniu).

        842.    Caldwell, a small business owner, testified to the benefits that Google Ads offers

 to small to medium-sized businesses like hers that are seeking to advertise:




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            842.1.   The flexible and usable Google Ads platform provides Caldwell with

                     reporting and data that helps her save time and money on designing her ad

                     campaigns. 9/25/24 PM Tr. 10:12-11:18 (Caldwell).

            842.2.   In connection with Caldwell’s use of Google Ads, Google employees have

                     reached out and offered to assist in optimizing campaigns and re-crafting ad

                     designs. 9/25/24 PM Tr. 11:19-12:22 (Caldwell). The advice Caldwell has

                     received from Google employees has helped her improve her advertising

                     using non-Google advertising tools as well. Id.

                5.     Publishers Do Not Need to Use AdX to Access Google Ads Demand, and
                       Plaintiffs Have Not Shown that Google Ads Demand Is “Unique.”

        843.    Plaintiffs allege that the Google Ads customer base is so “unique” that publishers

 must use DFP and AdX in order to access Google Ads customers, which in turn forecloses

 competition in the ad exchange market. 9/20/24 PM Tr. 8:11-9:2 (Lee); 9/16/24 PM Tr. 128:21-

 129:5 (Abrantes-Metz) (“If the publisher values access to Google Ads because it is a large and

 unique demand source, the publisher has to transact on AdX.”).

        844.    As an initial matter, Plaintiffs’ characterization of their claim does not change the

 fact that what they are demanding is that Google share its customers (Google Ads advertisers) with

 Google’s rivals (other ad exchanges).

        845.    Plaintiffs also have not carried their burden to establish the factual bases for their

 complaint. Plaintiffs allege that the source of Google Ads’ market power is advertising demand.

 9/20/24 PM 8:23-9:2 (Lee). But, as Plaintiffs’ expert admitted, he has not defined “a relevant

 market where the products are the underlying advertisements.” Id. (Lee). In other words, Plaintiffs

 have not defined a market in—much less evaluated market share in—what they claim is the source




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 of Google’s market power. For that reason alone, Plaintiffs’ assertion that Google has market

 power in some undefined market of advertising demand fails.

        846.    If anything, the evidence that was presented at trial shows the opposite of what

 Plaintiffs claim.

        847.    First, Plaintiffs ignore that publishers can access Google Ads demand without using

 AdX.

            847.1.   Millions of publishers use AdSense for Content, which gets “effectively all of

                     the Google Ads’ demand” and is used without AdX. 9/20/24 PM Tr. 73:1-25

                     (Sheffer); 9/23/24 AM Tr. 14:5-15:14 (Korula) (“access to the same demand”);

                     9/16/24 AM Tr. 93:18-21 (Mohan). In particular, a website publisher seeking

                     to sell inventory indirectly to Google Ads can do so using only AdSense.

                     9/20/24 PM Tr. 113:16-114:17 (Sheffer) (“The Court. You’re saying that a

                     website that wants to sell indirectly can use AdSense?         The Witness.

                     Absolutely, yes.”). But AdSense is not included in any of Plaintiffs’ markets,

                     presumably because doing so undermines their argument that publishers must

                     use AdX in order to access Google Ads’ “unique” demand.

            847.2.   As explained above, Google Ads advertisers can buy on third-party exchanges

                     for certain kinds of inventory through AwBid. Supra ¶¶ 832, 836.

            847.3.   Google has also developed a tool, Google Ad Connector, that directly

                     integrates Google Ads with publishers, but the tool has not been widely

                     adopted because large publishers are “not necessarily willing to share”

                     information needed to evaluate brand safety and content. 9/17/24 AM Tr.

                     131:22-133:4 (Jayaram).




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          848.   Second, advertisers using Google Ads do not constitute such “unique” demand that

 rival exchanges are foreclosed from competing without access to those Google advertiser

 customers.

          849.   Most advertisers multi-home on Google Ads and other buying tools. Supra ¶ 663;

 DTX-1970A (Israel Table 1: AdX U.S. Spending Patterns for Selected Advertisers, 2019-2022);

 see also 9/10/24 PM Tr. 32:1-13 (Friedman) (Plaintiffs’ advertising agency witness testifying that

 “there are not unique advertisers available” on any “ad network”); DTX-298 at 2 (2016 Google

 email stating “mostly the same buyers exist in every exchange”); 9/25/24 PM Tr. 173:25-174:7

 (Hochberger) (when asked about “the largest buy-side source [of] demand,” Mediavine responded

 “DV360 or The Trade Desk,” not Google Ads).

          850.   The overwhelming majority of ad spend comes from advertisers that multi-home.

 In 2022, 85 percent of AdX spend came from advertisers who used more than one buying tool.

 DTX-1902; 9/26/24 AM Tr. 152:11-153:1 (Israel); 9/26/24 PM Tr. 18:6-19:13 (Israel). These

 multi-homing advertisers are by definition accessible through paths other than Google Ads buying

 through AdX, so they are not “unique” to Google Ads. Those advertisers can also use buying tools

 to bid into other exchanges, so they also are not “unique” to AdX.

          851.   Plaintiffs respond that Google Ads has “unique” demand because there may be

 small advertiser customers that do not multi-home and use only Google Ads. PTX-1444A;

 Plaintiffs’ Demonstrative Pa (both based on GAM log-level data 41); 9/19/24 PM Tr. 113:11-117:21

 (Lee).



 41
    Because these charts are based on GAM log-level data, they are unreliable for the reasons stated
 supra ¶ 648.1. Further, Plaintiffs’ Demonstrative Pa purportedly shows that 58% of advertiser-
 publisher connections are only through Google Ads, but that calculation is based on one day of
 data. That means that if the same publisher-advertiser connection was made through another buy-
 side tool the prior day or the following day, it would not be reflected in the chart. 9/20/24 AM Tr.

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        852.   The problem for Plaintiffs is that they have not actually presented any analysis of

 the full universe of advertising demand and what proportion comes from advertisers that use only

 Google Ads.

        853.   The available data that were presented by Dr. Israel show the opposite of what

 Plaintiffs argue. To the extent there are small advertisers that use only Google Ads as a buying

 tool, those advertisers account for a vanishingly small amount of ad spend, and their existence

 does not establish that Google Ads demand is “unique.”

            853.1.   Large advertisers account for the vast majority of ad spend. In 2022, the top

                     0.1 percent of advertisers (who each spent more than $1.7 million during the

                     year) accounted for 72 percent of total spending; the top one percent for 90

                     percent of total spending; and the top quarter for 99 percent of total spending.

                     DTX-1978; 9/26/24 PM Tr. 10:10-11:19 (Israel); see also DTX-486N at 7

                     (2017 Google slide deck finding that the top 10% of Google Ads customers

                     accounted for 71% of revenue).

            853.2.   Consistent with that pattern, when Professor Lee’s analysis is corrected to

                     account for the fact that large advertisers are very likely multi-homing, the

                     allegedly “unique” advertisers that only use Google Ads account for less than

                     5% of ad spend transacted through exchanges. DTX-1900; 9/26/24 PM Tr.

                     11:20-13:12 (Israel) (“to the extent any demand here was unique, it would be

                     the smaller advertisers,” who “make up a very small percentage of

                     impressions”).




 148:1-149:9 (Lee). The chart therefore overstates the extent to which publishers connect with
 advertisers only through Google Ads.


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          854.   Instead of analyzing the revenue contributed by any advertisers that are actually

 “unique” to Google Ads, Professor Lee conducted an analysis of how much publisher payout

 across all demand sources would decrease from removing all Google Ads demand as a demand

 source. PTX-1444A (based on GAM log-level data); 9/19/24 PM Tr. 113:11-114:22, 130:3-131:6

 (Lee).

          855.   Professor Lee’s analysis still does not salvage Plaintiffs’ claim.    Fixing the

 problems in Professor Lee’s analysis, 42 publishers would lose at most 2.6% without access to any

 “unique” Google Ads advertisers—that is, small advertisers who do not multi-home. DTX-1986

 (Israel Table 19: Estimates of Publisher Revenue Effects from Losing Access to Google Ads

 Advertisers); 9/26/24 PM Tr. 14:13-17:17 (Israel).

             855.1.   A study performed by News Corp of display ad revenues in 2016 made the

                      same analytical error because, as Layser admitted, News Corp analyzed the

                      amount of revenue that comes from all Google Ads advertisers—not just

                      revenue from advertisers unique to Google Ads. 9/10/24 AM Tr. 76:2-77:21

                      (Layser). Notably, even News Corp’s overinclusive number was relatively

                      small. All Google Ads demand accounted for just 17 percent of News

                      Australia’s and 13 percent of News UK’s total indirect revenue—excluding

                      revenue from direct deals, which are generally more lucrative, supra ¶ 507.

                      Id. at 78:2-79:1 (Layser).




 42
   To correct Professor Lee’s analysis, Dr. Israel looked only at the United States; removed only
 advertisers that buy less than 500,000 impressions a year as a proxy for advertisers likely to be
 “unique” (conservatively, removing 99.9% of advertisers); and accounted for both direct and
 indirect deals. 9/26/24 PM Tr. 14:13-17:16 (Israel).


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           855.2.   Similarly, The Daily Mail ran an analysis purporting to calculate “unique

                    demand” from AdX. But when pressed about what “unique demand” meant,

                    Wheatland explained that The Daily Mail defined “unique demand” by

                    looking at whether, for a given impression, any non-Google exchange

                    submitted a bid or only submitted a lower bid than the AdX auction price.

                    9/18/24 AM Tr. 165:1-10 (Wheatland). In other words, the calculation did

                    not differentiate between any of the demand sources that bid into AdX,

                    including Google Ads, DV360, or non-Google buying tools. And it certainly

                    did not analyze whether the advertisers submitting bids were available only

                    through Google Ads. Even then, The Daily Mail’s overinclusive number was

                    relatively small. Out of all indirect revenue—not including direct revenue, id.

                    at 164:20-21 (Wheatland)—so-called “unique” AdX demand accounted for

                    only between 18% and 22% of The Daily Mail’s revenue. PTX-1717 at -644.

        856.   Plaintiffs argued that small, independent publishers are particularly harmed by

 Google Ads bidding into AdX because small publishers are particularly dependent on “unique”

 Google Ads advertisers. 9/20/24 PM Tr. 31:18-32:2 (Lee). What Plaintiffs do not mention is that

 thousands of smaller publishers use DFP Small Business for free, 9/26/24 PM Tr. 114:20-115:3

 (Israel); DTX-76 at 3 (2011 Google email), and millions access Google Ads advertisers using

 AdSense, a product particularly suited for supporting small publishers. Supra ¶ 46. Small

 publishers can and do connect with large buying tools other than Google Ads by partnering with

 companies like Mediavine, which offers “ad management” services such as “full monetization” of

 small publishers’ inventory. DTX-1733 at 1, 2-7 (Mediavine list of supply-side and demand-side




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 platform partners that buy from its publisher customers); see also 9/25/24 PM Tr. 161:8-24

 (Hochberger).

        857.     Nor does the testimony of Plaintiffs’ witnesses at trial demonstrate that Google Ads

 demand is “unique” demand. Instead, Plaintiffs’ witnesses consistently revealed that when they

 complained about Google’s “unique demand,” they were actually referring to advertiser demand

 from both Google Ads and DV360. Of course, DV360 demand is hardly exclusive to AdX.

 DV360 already buys from third-party exchanges at significant scale. Supra ¶¶ 797-798. Plaintiffs

 excluded DV360 from their alleged markets, so they have conducted no analysis of any market

 share or market power as to DV360, and Plaintiffs have not alleged that Google’s conduct with

 respect to DV360 was anticompetitive.

            857.1.    Gannett: When asked about his testimony that “50 percent” of Gannett’s

                      “programmatic revenue comes from Google,” Wolfe admitted he was

                      referring to demand in AdX, which includes DV360. 9/9/24 AM Tr. 105:4-

                      10 (Wolfe).

            857.2.    Kevel: Avery testified that Google’s “unique demand” comes from AdX

                      demand, which includes both DV360 and Google Ads demand. 9/9/2024 PM

                      Tr. 123:13-23, 165:24-166:6 (Avery). As Avery himself wrote, DV360

                      “definitely bids across lots of different exchanges.” Id. at 164:25-165:23

                      (Avery).

            857.3.    The Daily Mail: Wheatland admitted that, “when someone’s referring to

                      unique AdX demand, typically they’re referring to Google revenue and maybe,

                      to a lesser extent, DV360 revenue.” 9/18/24 Tr. AM at 165:1-10 (Wheatland).




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            857.4.   Layser (formerly News Corp): Layser complained to Google that “AdX is

                     currently tied to DFP functionality leaving me forced into using the ad server

                     should I want full access to AdWords, GDN and DV360 demand on a real-

                     time basis.” 9/10/24 AM Tr. 55:6-16 (Layser). As Layser explained, she felt

                     concerned that “switching away from DFP could cause News Corp to lose

                     revenue from DV360” specifically. Id. at 112:11-13 (Layser).

            857.5.   Professor Ravi: Professor Ravi testified that Google’s advertiser demand

                     includes Google Ads and DV360, but also acknowledged that DV360 “has

                     historically been one of the major bidders into third-party exchanges” and

                     “third-party ad networks.” 9/11/24 PM Tr. 64:25-65:9 (Ravi).

            857.6.   Similarly, Bellack wrote in an email and testified that Google Ads is just “half

                     of AdX” demand, with the “other half” coming from DV360 and “other DSPs,

                     networks, etc.” PTX-403 at -511; 9/19/24 AM Tr. 150:6-152:7 (Bellack).

        858.   Despite this clear factual record established at trial, Plaintiffs will undoubtedly

 point to Google documents that refer to and market its “unique demand” as an advantage. 43 Trial

 testimony and evidence showed, however, that many of Google’s rivals also claim to have “unique

 demand.” Israel DX 3 (public statements from Adform, Amazon, Criteo, Facebook, Magnite,

 Media.net, Microsoft, PubMatic, and The Trade Desk touting “unique demand” or similar

 language); Deposition of Ken Blom Tr. 122:09-11, 122:14, 122:16-21, 122:24-25 (Buzzfeed



 43
    Some of these documents did not use the term “unique demand” to refer to unique advertisers
 inaccessible through other channels. Instead, “unique demand” referred to the value added by
 Google’s technology in Google Ads, such as data about user interests, “Google’s proprietary
 contextual targeting technology,” PTX-453 at -191, and “Google policy restrictions,” DTX-298 at
 2. Any claims based on those qualities of “unique demand” are also a demand that Google share
 its technology with rivals.


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 representative agreeing that “many SSPs” market themselves “as having access to unique

 demand”); 9/26/24 PM Tr. 17:17-18:5 (Israel). As just a few examples:

            858.1.   Xandr (acquired by Microsoft): Xandr advertised its products as “Driving

                     Unique Demand for Your Inventory.” DTX-1524 at 15 (2023 Microsoft

                     Advertising presentation).

            858.2.   AppNexus (acquired by Microsoft): AppNexus represented that “We are the

                     only independent ad server with our own unique advertiser demand.” DTX-

                     1487 at 40 (“AppNexus Publisher Adserver” deck); Deposition of Brian

                     O’Kelley Tr. at 270:16-271:14, 271:17-18.

            858.3.   PubMatic: PubMatic has made “multiple statements and representations” to

                     the investing public “about PubMatic’s access to unique demand.”          In

                     particular, it has stated that its SPO offering “creates a growing moat and

                     flywheel to attract new customers, new publishers, who want to access the

                     unique demand only available on PubMatic.” 9/12/24 PM Tr. 145:17-24

                     (Goel).

            858.4.   Amazon: As Layser, current Global Head of Publisher Ad Tech Solutions at

                     Amazon Web Services acknowledged, Amazon advertises that it has “unique

                     demand” and that its header bidding wrapper solutions, TAM and UAM, can

                     access “unique demand” from Amazon. 9/10/24 AM Tr. 86:12-20 (Layser);

                     see also 9/20/24 PM Tr. 83:4-84:1 (Sheffer).

        859.   That one tool touts “unique demand” does not establish that other tools cannot

 compete on the basis of their own pools of advertiser demand. Plaintiffs have not presented any

 evidence that, of all the ad tech providers that represent that they have “unique demand,” Google




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 Ads demand is actually “unique.” As Google has noted in internal documents, rivals can—and

 successfully do—compete by providing access to a different set of “unique” advertiser demand

 than Google Ads.

           859.1.   A 2016 Google email sent by Bellack stated that Rubicon has “true unique

                    demand due to buy-side sales efforts,” as well as “leads on deals” with buyers

                    Google cannot access. DTX-298 at 2. As Bellack observed, when competing

                    with rivals with “true unique demand,” “we’ll never win everything every

                    time.” DTX-298 at 2.

           859.2.   A 2017 Google competitive document expressed concern that Facebook and

                    Amazon have “robust and unique demand to rival AdWords [Google Ads].”

                    DTX-463 at 4.

           859.3.   A 2018 Google competitive analysis noted a “key differentiator” for Amazon

                    was that it “provides unique demand.” DTX-879 at 10.

        860.   Plaintiffs also allege that Google’s market power in advertising comes from

 demand for advertising on Google’s owned-and-operated properties, particularly Google Search.

 As Professor Lee claimed, “a key part of Google Ads’ market power” (in the undefined market of

 advertising demand) “comes from the search advertisers [that] used its product and are then

 available for purchasing display advertising.” 9/19/24 PM Tr. 99:18-22 (Lee); see also 9/11/24

 PM Tr. 98:15-99:7, 153:13-154:20 (Dederick).

        861.   But Google Ads is just one of many buying tools that enables advertisers to run

 display ad campaigns on both owned-and-operated properties and third-party properties. 9/26/24

 PM Tr. 86:17-87:1 (Israel). Facebook, Amazon, Yahoo, and Microsoft operate some of the most

 popular web properties in the United States—including search engines—and compete using that




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 same strategy, but Plaintiffs conveniently exclude those integrated buying tools from their alleged

 markets. DTX-1901 (Figure 84: Most-Visited Web Properties in the United States); 9/26/24 PM

 Tr. 13:13-14:12 (Israel).

        C.      Allegation that Google Provides DFP Exclusive Access to Real-Time Bids from
                AdX, Denying Comparable Access to Rival Publisher Ad Servers 44

        862.    Plaintiffs demand that Google provide rival publisher ad servers access to AdX that

 is “comparable” to Google’s own access, another clear demand that Google deal with its

 competitors. 9/20/24 AM Tr. 82:13-18 (Lee); id. at 89:3-16 (comparable access would require

 Google to give rivals comparable access to real-time bids).

        863.    Dr. Abrantes-Metz conceded that what she has identified as a “restriction on

 customer choice” would require Google to “integrate technically with that other ad server,” so that

 a customer could use a rival publisher ad server to connect “directly in a way that they could get

 real-time bids” from AdX. 9/18/24 AM Tr. 74:20-76:13 (Abrantes-Metz). As she acknowledged,

 publisher customers of AdX remain free to use rival publisher ad servers. Id. at 75:23-76:2

 (Abrantes-Metz). Google does not restrict publishers using AdX from calling non-Google ad

 servers. 9/10/24 AM Tr. 99:19-21 (Layser).

        864.    Plaintiffs claim rival ad servers are unable to compete absent this “comparable

 access” because the “unique demand” of Google Ads advertisers is available only through AdX.

 9/16/24 PM Tr. 128:21-129:5 (Abrantes-Metz) (“if the publisher wants to get the real-time price

 from AdX” for “unique demand” from Google Ads, “then the publisher must use DFP”); 9/19/24

 PM Tr. 137:17-138:13 (Lee). According to Plaintiffs, rival publisher ad servers are foreclosed

 from competing effectively because Google does not give rivals the ability to compare real-time


 44
   9/19/24 PM Tr. 127:11-24 (Lee) (“The five pieces of conduct that I evaluated and examined to
 be anticompetitive” include the “conditioning of access of real-time bids from AdX to DFP.”).


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 AdX bid amounts, submitted by Google Ads advertisers, in the same way that Google’s own

 publisher ad server, DFP, does.    9/16/24 PM Tr. 128:21-129:5 (Abrantes-Metz); 9/19/24 PM Tr.

 137:17-138:13 (Lee).

        865.    In other words, Plaintiffs are asserting this claim based on the same “unique

 demand” theory that afflicts their Google Ads and AdX claim. They argue that publishers must

 use DFP in order to access “unique” customer demand only available on Google Ads, but they

 have not demonstrated that Google Ads has “unique” demand. Supra ¶¶ 843-861.

                1.      The Integration of AdX and DFP Offers Benefits When They Are Used
                        Together.

        866.    The use of AdX and DFP together benefits advertisers and publishers because

 integration enables Google to offer a higher quality product at a lower cost. Supra ¶¶ 733-784

 (explaining benefits of end-to-end integration).

        867.    The integration benefits advertisers buying on AdX because Google has vetted

 publishers that are using DFP, so it can more effectively protect advertisers from invalid traffic

 and enforce ad safety standards. Supra ¶¶ 744, 762, 765-767. As Mohan explained, the integration

 of AdX and DFP gives Google “insight and visibility into the quality of the inventory on the

 publisher’s side.” 9/16/24 AM Tr. 116:2-24 (Mohan). Without the ability to maintain “spam and

 policy controls” against publishers who are using DFP, “your entire premise on the advertiser side

 in terms of the quality of the inventory you’re representing starts to fall apart.” Id. at 118:17-119:9

 (Mohan).

        868.    The integration has also benefited publishers because using DFP and AdX together

 creates additional synergistic benefits for publishers above using either one alone. 9/18/24 AM

 Tr. 18:-17-24 (Spencer); DTX-47 at 5 (2009 Google email stating integration “eliminates

 discrepancies and simplifies reporting”); DTX-150 at 3 (2013 Google email describing “more



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 proof points of DFP/AdX integration beyond just dynamic allocation,” such as “stuff like revenue

 consultants, the opportunity report, unified buyer reporting, DFP ad units in the AdX rules engine,

 Live CPM etc.”). For example, when publishers used DFP and AdX, the combination of real-time

 bidding with Dynamic Allocation (and later Enhanced Dynamic Allocation) increased publisher

 revenue. Infra ¶¶ 910-912. Plaintiffs’ witness Avery, who runs a competitor publisher ad server,

 acknowledged that the integration between AdX and DFP makes publishers more money. 9/9/24

 PM Tr. 161:23-162:9 (Avery) (publishers make more money from using GAM due to connection

 between DFP and AdX).

        869.    In addition, the combination of DFP and AdX into a single interface, Google Ad

 Manager, benefits publishers above and beyond simply combining the separate functionalities.

            869.1.   Google Ad Manager allows publishers to “get better and more unified

                     information” about the money they are making from each part of their

                     inventory because publishers can access unified reporting about profits from

                     their direct and indirect sales. 9/23/24 AM Tr. 17:8-18:16 (Korula).

            869.2.   By unifying information about direct and indirect deals, Google Ad Manager

                     also helps publishers better forecast how future decisions will affect their

                     monetization. For example, if a publisher is contemplating signing another

                     direct deal with an advertiser, the GAM forecasting tool can tell the publisher

                     how that deal would impact both direct and indirect revenue. 9/23/24 AM Tr.

                     17:8-18:16 (Korula).

            869.3.   Google Ad Manager also “offers new functionality” that “would be hard to do

                     in a product that didn’t actually unify the two,” such as Programmatic

                     Guaranteed deals. 9/23/24 AM Tr. 17:8-18:16 (Korula).




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                2.      Plaintiffs Are Not Asserting a Tying Claim; They Are Challenging a
                        Refusal to Deal with Rival Publisher Ad Servers.

        870.    Plaintiffs are not actually asserting a tying claim between AdX and DFP. Each of

 the two functionalities can be used without the other, and, as explained below, Plaintiffs are not

 challenging the combination of the two functionalities together in a unified interface. Instead,

 Plaintiffs are challenging refusal to deal—that AdX does not provide real-time bid amount

 information (“comparable access”) to rival publisher ad servers.

                        a.      Publishers Can Access AdX Without Using DFP.

        871.    Publishers can access AdX without DFP by using AdX Direct tags, which integrate

 AdX demand “into a publisher’s ad serving infrastructure.” 9/20/24 PM Tr. 61:9-19 (Sheffer);

 9/23/24 AM Tr. 44:12-22 (Korula). An AdX Direct tag is “a small snippet of code” that the

 publisher can copy and paste on its digital properties. 9/23/24 AM Tr. 44:23-45:5 (Korula). When

 an impression is formed and the AdX Direct tag is called, the tag sends an ad request to AdX with

 a publisher-set floor price. Id. (Korula). AdX runs a real-time auction and, if an ad beats the floor

 price, returns the winning ad. Id. at 45:9-13 (Korula). Using the AdX Direct tag, publishers can

 therefore access all of the demand that is bidding into AdX. Id. at 44:23-45:13 (Korula).

        872.    AdX Direct tags provide rival publisher ad servers with the same access to AdX as

 DFP. Since its launch, AdX has returned a winning ad, not a bid amount, to DFP. Supra ¶ 112.

        873.    Google has not deprecated AdX Direct tags because “there were still many

 publishers using AdX Direct and they were deriving value from the product.” 9/23/24 AM Tr.

 48:5-12 (Korula).

        874.    Plaintiffs do not dispute that AdX Direct provides access to real-time AdX demand

 without using DFP. See, e.g., 9/16/24 PM Tr. 127:7-128:4 (Abrantes-Metz) (relying on PTX-758

 to explain that AdX Direct “lets the publisher know whether it is going to serve the ad or not, but



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 it does not return a price”); PTX-758 at -945 (2019 email from Kevel noting that publishers using

 AdX Direct “can set a floor price”); DTX-404 at 11 (2017 News Corp document acknowledging

 that using AppNexus ad server would allow it to “retain some access to AdWords demand”). In

 fact, a rival ad tech provider, Equativ, advertises that its publisher ad server can access “Google

 AdX demand,” which “is part of our full holistic yield.” PTX-1674 at -013 (2023 Equativ deck).

        875.    Publishers can also rely on a dual publisher ad server set-up to access AdX demand

 without using DFP as their primary ad server. 9/20/24 PM Tr. 72:21-73:8 (Sheffer). For example,

 one publisher that uses such a dual publisher ad server set-up is Axel Springer, a “very large

 international publisher” that owns Business Inside and Politico. Id. at 67:19-68:7 (Sheffer); see

 also 9/18/24 AM Tr. at 180:21-181:1 (Wheatland). Politico is “moving off of just GAM as an ad

 server and is adopting Microsoft Monetize as their primary ad server.” 9/20/24 PM Tr. 67:19-68:7

 (Sheffer). A publisher can do the same with an in-house ad server. Id. at 72:21-73:8 (Sheffer).

                       b.      Publishers Can Use DFP Without AdX.

        876.    Publishers can use DFP and choose not to sell through AdX. DFP publisher

 customers do not have any contracts with Google that prevent them from working with other

 exchanges or header bidding tools, including using rival tools for every single impression sold.

 See 9/9/24 AM Tr. 80:2-22, 81:12-15 (Wolfe).

        877.    In fact, the “vast majority” of publishers using the DFP ad server functionality in

 Google Ad Manager do not use AdX. 9/23/24 AM Tr. 41:15-42:1 (Korula).

            877.1.   By default, publishers that sign up for Google Ad Manager do not have access

                     to AdX. 9/23/24 AM Tr. 41:15-42:1 (Korula). Only a small minority of

                     Google Ad Manager publisher customers are given access to AdX. Id. at

                     20:23-21:8 (Korula).




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            877.2.   In order to gain access to AdX, publishers must take affirmative action to

                     access the exchange, including undergoing a vetting process with multiple

                     steps. 9/23/24 AM Tr. 41:10-42:9 (Korula); supra ¶ 763.

            877.3.   Even for those Google Ad Manager customers who are given access to AdX,

                     publishers can choose whether they want to enable AdX for only part of their

                     inventory or all of it. 9/23/24 AM Tr. 42:10-43:2 (Korula).

            877.4.   Finally, even if a publisher gets access to AdX and makes it eligible for

                     inventory, the publisher can still configure Google Ad Manager to turn off

                     AdX using the inventory exclusion protection functionality demonstrated

                     below. Korula DX 1.17; 9/23/24 AM Tr. 43:12-24 (Korula).




        878.   Publishers thus have multiple ways to use DFP without calling AdX. 9/10/24 AM

 Tr. 99:5-7 (Layser). Sheffer had personal knowledge of “several hundred” publishers that use the

 DFP functionality in GAM but do not use AdX, including Harvard Business Review, Nordstrom,



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 Walgreens, CVS, and the Public Broadcasting System. 9/20/24 PM Tr. 80:16-81:2 (Sheffer); see

 also DTX-213 at 17 (2014 Google presentation observing that “65% of DFP imp[ression]s are not

 made available to AdX”).

                       c.      Plaintiffs Are Not Challenging the Combination of AdX and
                               DFP into a Single Unified Interface, Google Ad Manager.

        879.    Google combined the AdX and DFP functionalities into one unified tool, Google

 Ad Manager, in response to publisher feedback. Supra ¶¶ 120-121. That unified tool provides

 publishers who choose to use AdX and DFP together additional benefits they could not access by

 using only one at a time. Supra ¶ 869.

        880.    Plaintiffs have not identified the combination of DFP and AdX into one interface

 as an allegedly anticompetitive act. 9/19/24 PM Tr. 127:11-128:2 (Lee); 9/16/24 PM 116:14-22

 (Abrantes-Metz). Nor have they presented evidence that the combination had any adverse effect

 on competition. 9/26/24 PM Tr. 19:14-20:9, 115:4-24 (Israel).

        881.    Plaintiffs’ witness Casale of Index Exchange testified the opposite—that separating

 DFP and AdX, rather than enhancing competition, would possibly accelerate consolidation in the

 ad exchange market. 9/9/24 PM Tr. 42:5-14 (Casale).

        882.    Instead, what Plaintiffs are really complaining about is a refusal to deal by denying

 rival publisher ad servers access to the amount of AdX real-time bids. 9/18/24 AM Tr. 97:17-25

 (Abrantes-Metz) (“It’s the conditioning of access to real-time bids to AdX to DFP, not that the

 AdX and DFP cannot be bought separately.”). Plaintiffs’ expert admitted that selling DFP and

 AdX separately would not “solve that problem” they are complaining of. 9/18/24 AM Tr. 97:10-

 25 (Abrantes-Metz) (agreeing that removal of Google Ad Manager in Abrantes-Metz DX 2 would

 not fix Plaintiffs’ complaint); see also 9/26/24 PM Tr. 20:1-9 (Israel) (as an economist, access to

 real-time bids is “separate from how they sell their own products”).



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        883.    According to Plaintiffs, the refusal to deal matters because Google should give rival

 publisher ad servers the same ability DFP has to put real-time bid amounts from AdX in head-to-

 head competition with bid amounts from other exchanges. 9/18/24 AM Tr. 96:21-97:4 (Abrantes-

 Metz); see also 9/16/24 PM Tr. 123:5-124:17 (Abrantes-Metz) (AdX Direct is inadequate because

 rival publisher ad servers want to know the price AdX is willing to pay “in time . . . to be able to

 make a comparison with other sources”); 9/19/24 PM Tr. 139:17-21 (Lee) (complaining that AdX

 Direct “doesn’t allow a rival publisher ad server to get those real-time bids from AdX and run real-

 time auctions between AdX and other exchanges”).

                3.      In Order to Enable AdX to Share Real-Time Bid Amounts with Rival
                        Publisher Ad Servers, Google Would Have to Undertake Significant
                        Technical Work.

        884.    Achieving what Plaintiffs seek—enabling rival publisher ad servers to compare

 real-time bid amounts from AdX to other exchanges’ real-time bids—would require a complete

 redesign of how AdX has worked since it was first built by DoubleClick. AdX has never shared

 bid amount information with any publisher ad server in real time, including DFP.

            884.1.   Since AdX was first built by DoubleClick—before it was even acquired by

                     Google—AdX returns only the winning ad if a bid beats the floor price, and

                     nothing if it does not. AdX does not output in real time the winning bid

                     amount. 9/23/24 AM Tr. 46:24-47:6 (Korula). That design was consistent

                     with how exchanges in the “waterfall” worked at the time that AdX was built.

                     As explained above, supra ¶ 70.2, they returned a “yes” or “no,” not a bid

                     amount. At that time, “the understanding was that if you called an exchange

                     and you had a floor price and [if] the exchange beat that price, the exchange

                     would win and that ad would serve.” Exchanges did not need to submit real-

                     time bids anywhere. 9/23/24 AM Tr. 46:23-47:6 (Korula).


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             884.2.   AdX’s design does not distinguish between DFP and third-party publisher ad

                      servers. 9/18/24 AM Tr. 18:25-19:12 (Spencer); 9/23/24 AM Tr. 45:14-17

                      (Korula) (Q. “Will AdX return a real-time bid to the third-party ad server? A.

                      It will not but it also doesn’t return real-time bids to Google Ad Manager or

                      DFP.”).

             884.3.   Google Ad Manager’s Partner Guidelines reflect the way that AdX has always

                      worked: because AdX provides as its real-time output the winning ad and not

                      the bid amount, publishers have no way to put the AdX winning bid “in

                      competition with other bids based on price.” 9/23/24 AM Tr. 45:7-46:6

                      (Korula); DTX-1771 at 5 (Google Ad Manager Partner Guidelines).

        885.    Changing the design of AdX to enable what Plaintiffs demand would require “a

 substantial amount of work.” 9/23/24 AM Tr. 47:12-48:4 (Korula); see also 9/20/24 AM Tr. 85:4-

 9 (Lee) (admitting that at least “some change would be necessary for AdX to submit real-time bids

 to rival publisher ad servers, as it’s not doing that currently”). Google would have to change

 AdX’s “core code in many places, and it would take a team of engineers years to actually undo”

 the fact that AdX does not submit real-time bids “or make that no longer true.” 9/23/24 AM Tr.

 47:12-48:4 (Korula). The resources required to execute the change would take away from “other

 projects that could increase publisher monetization or improve the product in other ways.” Id.

 (Korula).

        886.    Google has already invested in making it possible for publishers to compare real-

 time bid amounts from AdX against real-time bid amounts from rival exchanges without needing

 to completely redesign AdX’s “core code.” 9/23/24 AM Tr. 47:12-48:4 (Korula). The Unified

 First Price Auction, run within Google Ad Manager, now enables an “auction of auctions” that




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 compares real-time bid amounts from AdX and many non-Google exchanges. Supra ¶ 261.

 Plaintiffs’ complaint is that Google has not redesigned AdX to make this possible using non-

 Google ad server functionality. 9/18/24 AM Tr. 97:17-25 (Abrantes-Metz).

        887.    Even were Google to invest years to redesign AdX to provide real-time bid amounts

 to any publisher ad server, building the integrations to third-party publisher ad servers would still

 require additional engineering work. DTX-150 at 2 (2013 Google email: “I haven’t heard any

 stories of easy integrations with ad servers.”). For each additional integration, new code would

 need to be written. For example, when Kevel integrated its publisher ad server with Index

 Exchange and PubMatic, engineering work was required. 9/9/24 PM Tr. 141:4-14 (Avery).

        888.    Google would also have to engineer additional tools, including to control for spam

 and the quality of inventory sold through third-party ad servers. DTX-150 at 2 (2013 Google email

 reflecting that integrating AdX into third-party ad servers would be a “new challenge with every

 customer”; “we still have remaining spam and policy work to bring this to life”).

        889.    Early on, Google explored the possibility of integrating AdX with third-party ad

 servers. In a 2013 email, a Google product manager on AdX expressed that he was “happy to align

 with any pubs who own ad servers and want to do this integration, or who can convince their 3rd

 party ad servers to do the work.” DTX-150 at 2.

        890.    Before building any such integrations, Google wanted to ensure that it wasn’t

 “losing insight and visibility into the quality of the inventory on the publisher’s side.” 9/16/24

 AM Tr. 116:2-24 (Mohan) (concerns about quality on the publisher side related to the fact that

 display ads are a “two-sided marketplace” that also servers advertisers). In exploring integrating

 with third-party ad servers, Google considered “starting with in-house ad servers,” given that it

 was “a safer way to go in terms of inventory quality, because you know who that publisher is.” Id.




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 (Mohan). Clients with in-house ad servers, however, were reluctant to do the work that integration

 would require. For example, Google had a publisher using an in-house ad server “lined up” to

 work on building an integration, but according to contemporaneous documents, “that client quickly

 backed away from the required work for server-side integration, once [Google] explained the

 integration steps.” DTX-150 at 2-3; 9/16/24 AM Tr. 117:15-119:9 (Mohan).

        891.    Google’s initial efforts with respect to third-party ad servers were also stalled by

 “engineering concerns associated with spam detection and inventory quality controls.” 9/16/24

 AM Tr. 117:4-14 (Mohan); DTX-150 at 4 (2013 Google email). Without spam and policy controls,

 the “entire premise on the advertiser side in terms of the quality of the inventory you’re

 representing starts to fall apart. And once that starts to erode, it starts to implicate the quality of

 the entire Google Display Network in that sense,” which is why Google wanted to make “sure that

 anything that we did would not compromise the publisher quality standards we needed to make

 sure because that would have a serious impact on the advertiser side of the business.” 9/16/24 AM

 Tr. 118:17-119:9 (Mohan).

        892.    Third-party ad servers were also unwilling to engage in the technical work without

 being paid. They showed “a continued reluctance to do the integration coding required without

 rev share.” DTX-150 at 2 (2013 Google email).

        893.    On top of everything, as the Google team learned from the Admeld co-founder and

 chief technology officer who joined Google in connection with the Admeld acquisition (Brian

 Adams), Admeld’s past experiences with similar features (integrating real-time bids from an ad

 exchange with third-party publisher ad servers) were “plagued with ongoing issues,” and

 integrations with publisher-owned ad servers presented “a new challenge with every customer.”

 DTX-150 at 2; 9/16/24 AM Tr. 119:10-121:6 (Mohan); see also PTX-159 (2014 Google analysis




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 following the Admeld acquisition of challenges to Admeld’s feature providing real-time bids to

 rival publisher ad servers).

          894.   Given these challenges, Google ultimately concluded that there was no business

 case for integrating AdX with third-party ad servers. 9/18/24 AM Tr. 17:14-18:3 (Spencer)

 (extending Dynamic Allocation to third party ad servers “requires integration on the actual primary

 ad server to make it work. I don’t think we ever had anybody [third party ad servers] who was ever

 willing to do that work.”).

                 4.     Publishers Do Not Need to Use DFP to Access Google Ads Demand, and
                        Plaintiffs Have Not Shown that Google Ads Demand Is “Unique.”

          895.   Plaintiffs seek forced interoperability because, according to them, publishers want

 access to real-time bid amounts from “unique” Google Ads demand and to put them in competition

 with real-time bids from other sources. 9/16/24 PM Tr. 128:21-129:5 (Abrantes-Metz) (“if the

 publisher wants to get the real-time price from AdX” for “unique demand” from Google Ads, “then

 the publisher must use DFP”). Google has already made it possible for publishers to compare real-

 time bid amounts from AdX bidders, including Google Ads customers, against other real-time bid

 amounts—first, against partner third-party exchanges through Open Bidding, and now against all

 other sources of demand through the Unified First Price Auction. Supra ¶¶ 190, 261. What

 Plaintiffs demand is that rival publisher ad servers be able to do the same comparison on the same

 terms.

          896.   Plaintiffs’ argument is therefore that rival publisher ad servers are unable to

 compete because publishers need access to real-time bids from “unique” Google Ads demand and

 are therefore forced to use DFP. Plaintiffs’ claim fails for the same reasons their claim about the

 Google Ads and AdX integration does. As their lead market definition expert admitted, he did not

 define any market or calculate market share in the advertising demand on Google Ads that is



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 allegedly the source of Google’s market power. Supra ¶ 845. Plaintiffs have no way to show—

 and have not shown—that Google Ads demand is so “unique” that rival publisher ad servers are

 foreclosed from competing without access to Google Ads customers.

        897.    In addition, the evidence presented at trial contradicts Plaintiffs’ assertion.

 Publishers do not need to use DFP to access AdX demand because they can use AdX Direct tags.

 Supra ¶¶ 871-874. And publishers can also access Google Ads demand without using either AdX

 or DFP at all, such as by using AdSense for Content with no publisher ad server or with a third-

 party or in-house publisher ad server. Supra ¶ 847.

        898.    And, for the same reasons explained above, other sell-side products can and do

 compete with DFP based on their own advertiser demand. Supra ¶¶ 848-861. The data about

 revenue derived from any advertisers that use only Google Ads do not demonstrate that Google

 Ads demand is “unique.” 45 Supra ¶¶ 853-855. Even when News Corp set up DFP to deprioritize

 all AdX demand—not just “unique” demand from Google Ads—and allow AdX advertisers to bid

 only on certain, less popular impressions, News Corp found “no noticeable revenue loss” from

 diversifying revenues away from AdX. DTX-655 at 3-4 (2019 News Corp document); 9/10/24

 AM Tr. 91:21-24 (Layser).




 45
   Professor Lee presented a chart and testimony purporting to show that losing access to AdX
 would decrease publisher payout by 27.9%. PTX-1395A (Lim Rebuttal Figure 28: Percent
 decrease in worldwide publisher payout if exchange was removed); 9/19/24 PM Tr. 138:14-139:2
 (Lee). That chart is based on GAM log-level data, and is therefore unreliable for the reasons stated
 above. Supra ¶ 648.1.


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        D.      Limitation of Dynamic Allocation to AdX 46

        899.    Plaintiffs’ experts opine that Google should have extended the functionality of

 Dynamic Allocation, a product innovation first built by DoubleClick, to rival exchanges or done

 so earlier. Plaintiffs assert that through this conduct Google used its alleged market power in the

 ad server market to diminish the competitiveness of rivals in the ad exchange market. 9/20/24 PM

 Tr. 7:1-8 (Lee).

        900.    More specifically, Plaintiffs claim that Dynamic Allocation gave AdX what they

 call a “first look” and “last look” over other exchanges. Plaintiffs’ experts maintain that Google

 should have built comparable access to Dynamic Allocation for rival ad exchanges so that rivals

 could have had a “first look” or “last look,” or, alternatively, “designed” Dynamic Allocation to

 allow rival exchanges to submit real-time bids for head-to-head competition. 9/20/24 AM Tr.

 85:16-86:9 (Lee); 9/18/24 AM Tr. 77:12-78:4 (Abrantes-Metz) (complaining that publishers could

 not use Google’s publisher ad server to offer a “first look” or “last look” to exchanges other than

 AdX). Again, this is another demand for a duty to deal.

        901.    In reality, as explained in the next section, what Plaintiffs call “first look” describes

 how publishers could set up Dynamic Allocation with the waterfall before header bidding emerged.

 What Plaintiffs call “last look” describes how publishers could set up Dynamic Allocation after

 header bidding emerged. When publishers chose to use these set-ups, they retained complete

 control over whether to give AdX bidders a “first look” or “last look” and, if they did, over the

 floor prices they set for AdX auctions. Publishers chose to use these set-ups in order to maximize

 revenue, not to advantage AdX to the disadvantage of its rivals. The possibility that publishers


 46
   9/19/24 PM Tr. 127:11-24 (Lee) (“The five pieces of conduct that I evaluated and examined to
 be anticompetitive” include “exclusive advantages within DFP provided to AdX. This relates to
 these first and last look advantages.”).


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 could give AdX bidders a “first look” or “last look” also made Google’s exchange, AdX, more

 attractive to advertisers. 9/11/24 PM Tr. 27:18-29:1, 38:4-8 (Ravi). What Plaintiffs’ experts

 really complain about is that Google did not invent new technology earlier that would interoperate

 with rivals.

        902.    Both “first look” and “last look” no longer exist.       “First look” ended when

 publishers started to use header bidding, infra ¶ 934, and “last look” was deprecated when Google

 shifted to the Unified First Price Auction in 2019, infra ¶ 982.

                1.      Dynamic Allocation with the Waterfall (“First Look”)

                        a.     Dynamic Allocation Was an Innovation on the Existing
                               Waterfall System Introduced by DoubleClick in 2007.

        903.    From before DFP and AdX existed, publishers used a “waterfall” process to

 establish the order in which they offered a particular impression to various demand sources.

 9/24/24 AM Tr. 36:3-11 (Milgrom).

        904.    In the “waterfall,” publishers could choose to order demand sources based on the

 average historical value received from that source, an amount pre-negotiated with that source, or

 some other value that the publisher chose. 9/24/24 AM Tr. 37:7-18 (Milgrom); 9/11/24 PM Tr.

 33:12-25 (Ravi); 9/23/24 AM Tr. 107:3-24 (Korula).

        905.    For unsold remnant impressions, the publisher would offer the impression to the

 first demand source in the waterfall, and the demand source would respond “yes, I’ll take that one”

 or “no, I won’t.” If the answer was yes, the demand source’s ad would be served. If not, the

 impression was “passed back” to the publisher, who could offer it to the next demand source in

 the waterfall. 9/24/24 AM Tr. 33:24-35:3 (Milgrom).

        906.    The “waterfall” process had inherent inefficiencies. For each individual impression,

 a demand source might have an advertiser that valued the impression more than the previously



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 agreed-upon price or the historical price. Supra ¶ 68. As a result, the “waterfall” sometimes

 resulted in a buyer winning an impression even though a buyer lower in the waterfall would have

 valued the impression more. 9/24/24 AM Tr. 38:2-39:25 (Milgrom).

        907.    Dynamic Allocation was a product innovation introduced in 2007 by

 DoubleClick—before it was acquired by Google, 9/23/24 AM Tr. 58:12-16 (Korula)—to improve

 on the waterfall. Dynamic Allocation, which ran on DoubleClick’s publisher ad server, called

 DoubleClick’s ad exchange to inquire whether a buyer on the exchange was willing to pay more

 than the highest value in the waterfall. DoubleClick’s ad exchange would run an auction using the

 highest value in the waterfall as the floor price. If no buyer on the DoubleClick exchange could

 match or beat that floor price, the impression would be offered to the top demand source in the

 waterfall. If that demand source did not fill the impression, the Dynamic Allocation process would

 repeat at every step down the waterfall. Supra ¶¶ 76-77. When the publisher set the values in the

 waterfall at the amount the publisher expected to receive from each demand source, a DoubleClick

 ad exchange buyer would only win if it would pay at least what the publisher expected to make

 from the next highest demand source. DTX-117 at 117 (2010 white paper on Dynamic Allocation

 commissioned by Google stating that, with this setting, “publishers essentially have a risk-free

 way to get the highest yield”); 9/24/24 AM Tr. 40:23-41:9 (Milgrom); 9/23/24 AM Tr. 107:3-24,

 123:9-21 (Korula).

        908.    As Professor Milgrom explained, at the time Dynamic Allocation was invented,

 putting the auction “in first position”—before the remainder of the waterfall—was “very natural”

 and essential to the value of Dynamic Allocation because the auction created competitive pressure

 that could increase the price paid above the price floor. 9/24/24 AM Tr. 40:1-16 (Milgrom).




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        909.      As a 2010 study conducted by Google determined, the first-generation version of

 DoubleClick’s Dynamic Allocation resulted in “an average CPM lift of 136%” for publishers.

 DTX-117 at 118; see also 9/24/24 AM Tr. 51:24-52:5, 57:14-23, 59:4-60:7 (Milgrom). In this

 study, Dynamic Allocation resulted in a revenue lift even when run with an auction based on static

 bids. 9/24/24 AM Tr. 51:7-23 (Milgrom); see also 9/11/24 PM Tr. 24:15-21 (Ravi). At the time,

 “there was no notion of real-time bidding.” 9/12/24 PM Tr. 64:11-65:9 (Goel).

                         b.     Plaintiffs Use “First Look” to Describe How Dynamic Allocation
                                Worked When Paired with AdX.

        910.      After acquiring DoubleClick, Google continued offering the Dynamic Allocation

 feature on DFP. In addition, Google rebuilt the nascent DoubleClick ad exchange on its own ad

 tech stack with real-time bidding, which allowed buyers to submit bids based on real-time

 information about the impression for sale as opposed to static bids. 9/16/24 AM Tr. 69:13-70:6

 (Mohan).      The real-time bidding auction benefited both advertisers and publishers because

 advertisers could decide how much they valued an impression based on improved information and

 bid more if they valued an impression. 9/24/24 AM Tr. 62:13-63:5 (Milgrom); 9/11/24 PM Tr.

 38:4-8 (Ravi).

        911.      Plaintiffs use the term “first look” to refer to how the same Dynamic Allocation

 feature that DoubleClick designed in 2007 worked when paired with the AdX auction. 9/16/24

 PM Tr. 135:16-136:20 (Abrantes-Metz). Publishers could, before offering impressions via the

 waterfall, give AdX bidders a “first look” by first running an AdX auction using the highest

 predicted value from the waterfall as the price floor to see if any AdX bidders were willing to pay

 more. 9/11/24 AM Tr. 96:9-14 (Ravi).

        912.      When publishers chose to grant AdX bidders a “first look” after AdX was re-

 launched with real-time bidding, publisher revenue increased even more than using Dynamic



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 Allocation with an ad exchange using static bids. DTX-80 at 2 (2010 Google study finding the

 combination led to a 188% increase in revenue, on average, when AdX won the auction); 9/24/24

 AM Tr. 61:15-62:5 (Milgrom); 9/23/24 AM Tr. 63:22-23 (Korula).

        913.       Plaintiffs ignore historical context in order to argue that “first look” harmed

 publishers and advertisers. As Professor Milgrom explained, Plaintiffs’ experts failed to consider

 what was “already available in the market and the capabilities and processes of the existing

 participants.” 9/24/24 AM Tr. 27:1-7 (Milgrom); see also Israel DX 4; 9/26/24 PM Tr. 20:10-

 23:22 (Israel).

        914.       For example, Plaintiffs argue that “first look” reduced publisher revenue and match

 quality because, if AdX was called first and won, an advertiser later in the waterfall—after AdX—

 might have been willing to pay more for an impression but never had the opportunity to bid.

 9/11/24 AM Tr. 96:20-97:2 (Ravi); see also 9/16/2024 PM Tr. 137:13-23 (Abrantes-Metz);

 9/12/24 PM Tr. 86:7-16 (Goel). Plaintiffs are taking issue with an inefficiency that always existed

 in the “waterfall” system, predating both Google’s acquisition of DoubleClick and DoubleClick’s

 design of Dynamic Allocation. 9/11/24 PM Tr. 24:9-14 (Ravi); 9/12/24 PM Tr. 61:6-62:14 (Goel).

 That inefficiency was not created by either Dynamic Allocation or “first look.”

        915.       As illustrated below, Milgrom DX 1.3 (contrasted with Professor Ravi’s Plaintiffs’

 Demonstrative AB), because the waterfall system was sequential there was always a possibility

 that an advertiser on a later demand source valued the impression more, but was never called.

 Dynamic Allocation did not change the sequential nature of the waterfall. 9/24/24 AM 36:3-11,

 40.1-16 (Milgrom); 9/23/24 AM Tr. 57:23-24 (Korula) (Google did not invent the waterfall).




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        916.    Plaintiffs conflate the innovation of real-time bidding with the development of

 Dynamic Allocation, even though the two were separate innovations by different companies at

 different times. Plaintiffs’ experts complained that, when AdX received a “first look,” AdX

 competed with real-time bids against a price floor that was based on static values. 9/18/24 AM Tr.

 120:20-121:1 (Abrantes-Metz); 9/11/24 AM 98:14-20, 99:7-23 (Ravi). That was simply a function

 of the fact that Google had innovated real-time bidding on AdX, so AdX could compete with real-

 time bids, and was not related to the design of Dynamic Allocation.

                       c.      Publishers Chose Whether to Give AdX Bidders a “First Look.”

        917.    With Dynamic Allocation, publishers retained complete control over their DFP set-

 up. Publishers were free to place third-party, non-Google demand sources, including exchanges

 and ad networks, at higher priority levels than AdX within DFP so that AdX would not receive a

 “first look.” DTX-376 at 7 (2017 Google deck stating that certain priority levels for other

 exchanges “prevent AdX from competing in DA”), 25 (showing priority levels). As Plaintiffs’




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 witness from a rival exchange confirmed, whether “AdX was first in line” was “entirely dependent

 on each individual publisher and their own strategies.” 9/9/24 PM Tr. 44:13-24 (Casale).

        918.   Plaintiffs’ experts Professor Ravi and Dr. Abrantes-Metz agree that publishers

 could configure DFP to call other exchanges before AdX. 9/11/24 AM Tr. 105:25-106:9 (Ravi)

 (“I did find some ways that exchanges could be placed ahead of AdX.”); 9/11/24 PM Tr. 30:9-14

 (Ravi) (using “configurable priorities,” publishers could put exchanges “in any order”); 9/18/24

 AM Tr. 35:3-36:21 (Abrantes-Metz). They complain, however, that publishers may not have used

 this “workaround” very much. 9/11/24 AM Tr. 110:3-111:6 (Ravi); 9/18/24 AM Tr. 35:3-36:21

 (Abrantes-Metz).

        919.   Neither Professor Ravi nor Dr. Abrantes-Metz explained why publishers would

 want to work around a feature that made them more money. Nor did either expert base their

 speculation on an actual analysis of the degree to which publishers prioritized other exchanges.

 Testifying under cross-examination, Professor Ravi conceded that there were “maybe thousands”

 of publishers and that he did not “know what they were doing” as to whether they put other

 exchanges before AdX. 9/11/24 PM Tr. 30:15-23 (Ravi). Dr. Abrantes-Metz’s testimony was

 limited to the degree to which publishers “potentially” prioritized other exchanges. 9/18/24 AM

 Tr. 35:3-36:21 (Abrantes-Metz).

                       d.     Publishers that Chose to Give AdX Bidders a “First Look” Set
                              the AdX Floor Price and Made More Revenue.

        920.   Publishers that chose to give AdX a “first look” never made less money than they

 expected to make in the waterfall, and usually made more.

            920.1.   AdX would only win the impression if an AdX bidder bid as high as or higher

                     than the price floor.   9/24/24 AM Tr. 54:18-55:10 (Milgrom); see also

                     Milgrom DX 1.7. Since Dynamic Allocation set the at the highest static price



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                   that the publisher assigned to a demand source in the waterfall (also referred

                   to as a “value CPM”), the publisher could not make less from AdX than the

                   highest value CPM in the waterfall. 9/24/24 AM Tr. 40:23-41:17 (Milgrom).

          920.2.   A publisher would always make more than the highest value CPM if multiple

                   bids on AdX exceeded the price floor. As shown below, Milgrom DX 1.5, for

                   example, a publisher could set the floor price for AdX at $1.06 and make 14

                   cents more, $1.20, if two AdX bidders bid above the price floor. 9/24/24 AM

                   Tr. 40:23-41:17 (Milgrom).




          920.3.   It was not just possible that publishers would make more from giving AdX a

                   “first look,” but “quite common” that they would. 9/24/24 AM Tr. 77:25-

                   78:19 (Milgrom). In the AdX auction, it is “more frequent” that there are

                   multiple AdX bids higher than the price floor than just one bid higher than the

                   price floor. Id. at 76:10-77:1 (Milgrom). When there are multiple that exceed



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                     the price floor, the AdX winning bidder pays the second-highest bid, which is

                     higher than the price floor. Id. at 76:10-77:1, 77:25-78:19 (Milgrom).

        921.    Publishers could increase their revenues even more using “first look” by making

 AdX bidders beat a higher price floor than the highest value they expected to receive from a

 demand source in the waterfall. As Professor Milgrom explained, publishers were incentivized to

 do so because, when you are setting the floor price for an auction, “you always want to set the

 floor price to be at least as high—higher than, actually, the—your outside option.” 9/24/24 AM

 Tr. 52:24-53:10 (Milgrom); 9/11/24 PM 32:16-18 (Ravi) (the publisher had the choice to set the

 price floor as high as they wanted); see also id. at 34:5-14 (Ravi). Publishers wanted to “hold out

 for a higher price,” so they set floor prices for the AdX auction that “typically were much higher

 than the prices that would be quoted to the ad networks further down the waterfall.” 9/24/24 AM

 Tr. 63:14-64:23 (Milgrom).

        922.    If a publisher set the floor price higher, then it would receive more than the

 publisher expected to receive in the waterfall even if only one AdX bidder was higher than that

 floor price. 9/24/24 AM Tr. 53:11-21 (Milgrom). For example, as demonstrated below, a

 publisher could set the price floor for the AdX auction at $1.25, higher than the value CPMs in the

 remainder of the waterfall. As long as one AdX bid exceeded $1.25, the publisher would make

 extra money. Milgrom DX 1.6.




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        923.   Dr. Abrantes-Metz disagreed with Professor Milgrom’s demonstration of how

 second-price auctions worked with “first look” to increase publisher revenue. Dr. Abrantes-Metz

 claimed that Professor’s Milgrom’s numbers demonstrated that publishers were actually harmed

 by “first look.” 9/16/24 PM Tr. 137:24-139:1 (Abrantes-Metz). On cross-examination, however,

 she admitted that the numbers she referenced were her “calculation of his own simulations,” not

 Professor Milgrom’s numbers. 9/18/24 AM Tr. 103:16-19 (Abrantes-Metz).

           923.1.   Professor Milgrom is one of the founders of the field of market design, and he

                    received a Nobel Prize in economics for improvements to auction theory and

                    invention of new auction methods in 2020. 9/24/24 AM Tr. 18:17-19:2, 20:7-

                    13 (Milgrom); DTX-2536 (Milgrom CV). His work has been cited over a

                    hundred thousand times, including by Plaintiffs’ experts Professors Ravi and

                    Weintraub. 9/24/24 AM Tr. 19:11-23 (Milgrom). He has worked with

                    numerous companies in display advertising, as well as advised public sector




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                    clients (including US federal agencies) on auctions.         Id. at 21:24-23:7

                    (Milgrom).

           923.2.   Dr. Abrantes-Metz is not an expert in digital advertising. 9/18/24 AM Tr.

                    68:5-7 (Abrantes-Metz). Nor is she an expert in the subfield of market design.

                    9/24/24 AM Tr. 19:24-20:3 (Milgrom) (“I have not encountered her in the

                    subfield of market design at all.”). Moreover, Dr. Abrantes-Metz’s testimony

                    revealed that she had no understanding of how “first look” worked as a

                    technical matter.    See 9/18/24 AM Tr. 117:12-118:12 (Abrantes-Metz)

                    (suggesting that “first look” could have been extended to other exchanges by

                    just making “a change in the order”).

        924.   Because publishers were incentivized to set higher floor prices for AdX, granting

 AdX a “first look” both advantaged and disadvantaged AdX bidders.

           924.1.   To their advantage, “if you are in first position, you get to look at all of the

                    inventory, and that’s an advantage, you get to select the inventory that’s of

                    most interest to you.” 9/24/24 AM Tr. 63:14-64:14 (Milgrom). As Plaintiffs’

                    expert Professor Ravi agreed, “first look” made AdX attractive advertisers.

                    9/11/24 PM Tr. 37:14-38:6 (Ravi) (“That’s a fact.”).

           924.2.   At the same time, however, “the prices that you’re facing tend to be higher.”

                    9/24/24 AM Tr. 63:14-64:23 (Milgrom); see also id. at 66:17-67:11

                    (discussing an academic paper by Professor Ravi that explains how an

                    exchange in the first position might face such a high floor price that its

                    advertisers are disadvantaged). An internal 2017 Google email that Plaintiffs

                    rely on stated the same, explaining that AdX buyers “enjoy a competitive




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                   advantage from dynamic allocation because they receive first look,” but this

                   “first look” also results in AdX buyers paying “higher CPMs.” PTX-551 at -

                   048.

          924.3.   An example is illustrated below. Korula DX 1.21. A publisher could choose

                   to set a general price floor of $1.01 and set the “price” of PubMatic, the first

                   exchange in the waterfall, at $1.10. If the publisher chose to use “first look”

                   to run an AdX real-time auction, AdX bidders would need to beat the highest

                   “price” in the waterfall, or $1.10. But other demand sources would face only

                   the lower price floor of $1.01. That means an AdX advertiser might bid $1.07

                   and not win the impression, so AdX would “pass back” the impression to the

                   first source in the waterfall. A PubMatic advertiser could bid only $1.03 and

                   win—despite offering a lower bid than the AdX advertiser. 9/23/24 AM Tr.

                   61:12-19 (Korula). In other words, the AdX advertiser became “a victim of

                   the inefficiency of the waterfall” and lost an impression despite bidding more.

                   Id. (Korula). In this example, the AdX advertiser is disadvantaged, not

                   advantaged, as a result of a publisher’s choice to use “first look.” Id. (Korula).




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        925.    Nor could “first look” unfairly advantage AdX bidders by allowing them to “peek”

 at competing bids. Bidders in a second-price auction do not benefit from seeing the amounts of

 the other bids because it is always in their interest to bid their maximum value for the impression

 regardless of what the other bids are. 9/24/24 AM Tr. 49:24-50:20 (Milgrom) (“There’s no

 advantage at all in the second-price auction to learning what the other bids will be.”); see also

 9/11/24 AM Tr. 124:25-125:22 (Ravi) (“In a second-price auction, it doesn’t make sense” to bid

 lower because bidding lower “doesn’t affect how much you pay.”).

        926.    Professor Milgrom empirically studied whether “first look” resulted in buyers later

 in the waterfall getting lower-quality inventory and “found no evidence that that was taking

 place.” 47 9/24/24 PM Tr. 28:16-24 (Milgrom). As he explained, display advertising is “a matching




 47
    None of Plaintiffs’ experts provided any empirical support for Professor Ravi’s claim that rivals
 were disadvantaged by “first look” because they only saw lower-quality inventory. 9/11/24 AM
 102:10-103:12 (Ravi). Instead, Professor Ravi showed a few lines from a single email, with no
 discussion of the basis for the statements, who the writer was, or how the email is informative or
 relevant given that it is from 2017—three years after header bidding rendered the waterfall and

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 market” in which an impression’s value is different for different advertisers. Id. at 27:17-28:10

 (Milgrom). For example, an impression where the user has shown interest in buying shoes will be

 very valuable to a shoe store advertiser, but comparatively less valuable to a restaurant advertiser.

 9/24/24 AM Tr. 70:2-16 (Milgrom). In such a market, “what’s good for me and what’s best for

 me and what’s best for you might be different. And the one with first look is able to select the

 ones that are best for the first buyer,” which is unrelated to what is best for the next buyers. 9/24/24

 PM Tr. 27:17-28:10 (Milgrom).

                        e.      Plaintiffs’ Experts’ Complaint About “First Look” Is that
                                Google Did Not Build Integrations with Rivals or Invent Header
                                Bidding Sooner.

        927.    Plaintiffs complain that, in 2009, Google should have built in DFP new technology

 enabling publishers to give rival exchanges a “first look”—in other words, for DFP to send third-

 party exchanges a price floor based on other line items in DFP and solicit real-time bids from those

 third-party exchanges. 9/18/24 AM Tr. 117:13-118:12 (Abrantes-Metz) (“all that would have to

 be done would be for DFP to call that exchange first rather than calling second,” “it was just a

 change in order”). Yet from the time that Dynamic Allocation was invented—which was before

 any real-time bidding even existed—until Google created Open Bidding, no such technology

 existed. 9/12/24 AM Tr. 14:10-17 (Srinivasan) (“The technology did not exist” for DFP “to solicit

 bids from other competing exchanges.”). In other words, Google “did not have the technical

 capability” to “extend Dynamic Allocation to other demand sources besides AdX.” 9/19/24 AM

 Tr. 139:16-23 (Bellack).




 “first look” obsolete, infra ¶¶ 933-934. 9/11/24 AM 104:3-105:24 (Ravi) (discussing PTX-551);
 PTX-551.


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        928.    Plaintiffs’ experts admitted they did not know what technical work Google would

 have to undertake in order to create this new technology, much less what work would have been

 required in the time period that publishers used “first look” set-ups.

            928.1.    For example, Professor Ravi testified: “Q. Do you know whether first look

                      was something that was in place due to the technology from DoubleClick for

                      Publishers and whether Google, in order to get rid of that, would have had to

                      redesign the system? Do you know? A. I don’t, but the waterfall is—there is

                      no technology that locks in that first position in any way. The waterfall is just

                      an ordering. So I don’t understand what technology you’d be referring to.”

                      9/11/24 PM 27:18-25 (Ravi); see also id. at 43:22-44:1 (Ravi) (“Q. Do you

                      know how much technological work went into building unified first price

                      auction—A. No, I don’t. Q. You know it was a lot, don’t you? A. No, I don’t

                      know how much it was. Yeah.”)

            928.2.    Dr. Abrantes-Metz conceded she did not know whether and what technical

                      work would have been required to create the ability to give a “first look” to

                      bidders on rival exchanges, but claimed the issue was “more or less” irrelevant

                      to her opinion. 9/18/24 AM Tr. 78:15-79:7 (Abrantes-Metz).

        929.    At the time that publishers used “first look,” AdX was the only ad exchange

 integrated with DFP closely enough that price floors for AdX auctions could be set by line item

 values from DFP. 9/18/24 AM Tr. 17:23-18:3 (Spencer). That integration was precisely what

 guaranteed that “first look” was a “risk free” way for publishers to increase revenue, as a publisher

 using “first look” would never receive less from AdX than the highest expected value from the

 waterfall (which corresponded to a DFP line item). DTX-117 at 117 (2010 white paper on




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 Dynamic Allocation commissioned by Google); see also DTX-45 at 2 (2009 Google email noting

 no Dynamic Allocation is possible without integration into ad servers). In order to extend the same

 “first look” set-up to rival exchanges and protect publishers’ interests, Google would have had to

 build similar integrations between third-party exchanges and DFP as between AdX and DFP.

 9/19/24 PM Tr. 25:23-26:11 (Levitte) (technical integrations between DFP and other real-time

 exchanges “is fairly onerous and didn’t exist prior to” Open Bidding).

        930.    Even today, long after Dynamic Allocation was first created and “first look” was

 used by publishers, building such an integration between a rival exchange and DFP would require

 significant work. 9/19/24 PM Tr. 26:4-11 (Levitte) (integration is “very effort intensive,” “there

 are a lot of things that can break,” and integration “entails a significant investment of time and

 effort”). As PubMatic, a competitor exchange, testified, integrating PubMatic’s exchange to

 Google’s ad server would require Google to build an API, write the documentation, and test and

 scale the new code. PubMatic’s integrations with third-party publisher ad servers have taken three

 to six months. 9/12/24 PM Tr. 93:7-16, 115:1-7 (Goel).

        931.    Similarly, as explained above, supra ¶¶ 884-894, technical work would be required

 to build integrations that allowed non-Google publisher ad servers to run Dynamic Allocation

 using real-time bids from AdX. 9/18/24 AM Tr. 17:14-18:16 (Spencer) (Dynamic Allocation

 “requires integration on the actual primary ad server to make it work”).

        932.    Plaintiffs’ other complaint about “first look” is that Google did not create new

 technology in DFP to allow both AdX and other exchanges to compete head-to-head using real-

 time bids from each exchange, not static line items in the waterfall. 48 9/20/24 AM Tr. 86:2-9 (Lee);




 48
   Professor Ravi also complained that “first look,” “last look,” and UPR were not “an optimal way
 to sell these impressions on behalf of Google’s customers.” 9/11/24 AM Tr. 94:2-9 (Ravi). In

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 9/11/24 AM 97:6-99:23 (Ravi) (criticizing “first look” for enabling AdX to bid in real-time while

 other exchanges used static bids); 9/16/24 PM Tr. 24:2-15 (Weintraub) (comparing publisher

 revenues under first look to publisher revenues under a “head-to-head” scenario).

        933.    On cross-examination, Plaintiffs’ experts admitted that this critique is ahistorical.

 The technology to compare real-time bids from exchanges against each other would not exist until

 header bidding was invented in or around 2014. 9/11/24 AM 111:8-11 (Ravi); 9/16/24 PM Tr.

 84:20-24 (Weintraub) (“when first look first appeared around 2009, head-to-head didn’t exist”);

 9/25/24 PM Tr. 170:6-8 (Hochberger) (header bidding changed the waterfall dynamic by allowing

 “all networks to submit a real-time bid to compete in real-time”). At that time, rival exchanges

 had not yet invested in the technology to submit real-time bids into other publisher ad servers, like

 DFP, so there was nothing DFP could do unilaterally that would enable it to compare real-time bid

 amounts from multiple exchanges at once. 9/23/24 AM Tr. 62:23-63:10, 64:3-13 (Korula).

        934.    Professor Ravi and other witnesses agree that, once publishers adopted header

 bidding, “first look” no longer existed. 9/11/24 AM 111:12-112:18 (Ravi); see also 9/18/24 AM

 Tr. at 140:4-11 (Wheatland) (“So the adoption of client-side header bidding allowed for essentially

 the removal of first look for AdX within the ad server, and it allowed for non-Google exchanges

 to compete in a unified auction inside of Google Ad Manager.”); 9/24/24 PM Tr. 38:8-16 (Milgrom)

 (once header bidding is dominant, first look “becomes essentially just last look”); 9/23/24 AM Tr.

 68:12-19 (Korula) (Once header bidding took hold, “we didn’t have a first look at all. In fact,

 publishers would call their header bidding partners even prior to Ad Manager getting any call or




 other words, Professor Ravi complained that Google did not create an even more efficient
 innovation than the one it launched.


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 Ad Manager knowing that an ad request existed.”). Plaintiffs are therefore complaining that

 Google did not invent header bidding, or a similar technology like Open Bidding, sooner.

        935.     By Plaintiffs’ lights, Google should have simply innovated faster, even though all

 innovation builds on what came before and the other parallel developments in the industry.

 Plaintiffs’ demand would be harmful to competition because customers would be deprived of

 incremental innovation. In addition, firms would be disincentivized from innovating for the risk

 of being deemed anticompetitive for failing to launch innovations fast enough. 9/26/24 PM Tr.

 21:9-22:8 (Israel) (“It’s all really just other versions of the requirement to deal. If you tell firms

 they have to do things in a certain way, it’s going to make it harder to invest.”); see also id. at

 6:19-24 (Israel).

                 2.     Dynamic Allocation with Header Bidding (“Last Look”)

        936.     For the time period after header bidding emerged until the Unified First Price

 Auction, Plaintiffs complain about a different configuration of Dynamic Allocation in DFP.

 Before header bidding, with Dynamic Allocation, AdX floors were based on the static values

 (“value CPMs”) publishers assigned to other exchanges in the waterfall. 9/12/24 AM Tr. 14:10-

 17, 28:20-29:11 (Srinivasan). After header bidding emerged, those same value CPMs became

 informed by real-time bids from other exchanges competing in header bidding. Id. at 28:20-29:11

 (Srinivasan).

        937.     “Last look” refers to one way that publishers could configure DFP to use Dynamic

 Allocation with header bidding bids. 9/12/24 AM Tr. 28:20-25 (Srinivasan) (“last look was an

 industry terminology that came about”); 9/11/24 AM Tr. 111:12-16 (Ravi); 9/25/24 PM Tr.

 171:23-172:11 (Hochberger).

        938.     Neither DoubleClick nor Google could have foreseen header bidding when

 Dynamic Allocation was first invented and continued on Google’s version of DFP. 9/12/24 AM


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 Tr. 14:10-17 (Srinivasan) (The “technology did not exist to solicit bids from other competing

 exchanges”); 9/23/24 AM Tr. 62:23-63:10 (Korula). They could not have designed Dynamic

 Allocation to grant a “last look.” 9/23/24 AM Tr. 70:5-11 (Korula) (“I don’t think it’s accurate to

 say that we designed this last-look advantage at all.”).

                        a.      Publishers Chose Whether to Give AdX Bidders a “Last Look.”

        939.    Publishers who ran header bidding auctions chose what to do with the winning

 header bid. 9/24/24 AM Tr. 74:18-75:5 (Milgrom); see also 9/23/24 AM Tr. 34:23-37:23 (Korula)

 (testifying that publishers determine the mechanism and price by which header bidding bids are

 reflected within Google Ad Manager); 9/11/24 PM Tr. 39:22-40:1 (Ravi). One option was to not

 call AdX at all and “just take the highest header bidding bid and serve its ad for that impression.”

 9/24/24 AM Tr. 74:18-25 (Milgrom).

        940.    If a publisher wanted to use the header bidding bid to generate more competition

 for the impression, it could also use the header bid “to determine a line item in DFP.” 9/24/24 AM

 Tr. 74:18-25 (Milgrom); see also 9/11/24 PM Tr. 39:15-40:6 (Ravi). Dynamic Allocation would

 then trigger an AdX auction using the header bid line item as the price floor. 9/24/24 AM Tr.

 74:18-25 (Milgrom). According to Plaintiffs, AdX bidders would thus receive a “last look.”

 9/16/24 PM Tr. 24:16-25:1 (Weintraub); see also 9/23/24 AM Tr. 68:20-69:8 (Korula).

        941.    Publishers had full control over whether to give AdX bidders a “last look.” 9/11/24

 PM Tr. 39:15-40:6 (Ravi); 9/25/24 PM Tr. 172:7-23 (Hochberger) (“last look” was something

 Mediavine “set up on purpose as a publisher” to “increase revenue”). Plaintiffs’ own publisher

 witnesses agreed that publishers could “turn off” last look by not giving impressions to AdX.

 9/27/24 AM Tr. 92:16-23 (Wheatland) (The Daily Mail “could always turn last look off”); 9/10/24

 AM Tr. 88:19-23, 89:22-90:2 (Layser) (NewsCorp could take “the last look functionality out of

 Google”).


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        942.     Even among the publishers that testified at trial, at least one acknowledged using

 DFP to deny AdX bidders the opportunity to bid on certain impressions at all. A former employee

 of News Corp testified that News Corp ran a 2019 study that adjusted its DFP set-up so that other

 exchanges were called “ahead of AdX in DFP.” 9/10/24 AM Tr. 89:20-21 (Layser). In that set-

 up, News Corp could set up DFP so that AdX bidders could only submit bids if other demand

 sources, such as Prebid and Amazon TAM, were not interested in a particular impression. 9/10/24

 AM Tr. 89:22-91:1 (Layser); DTX-655 at 2 (“Google could not compete if other SSPs bid but

 could provide backfill in the absence of any bids.”). The results of the study showed that News

 Corp’s revenue from AdX decreased, while News Corp’s revenue from Amazon TAM increased

 by 94%, Facebook Audience Network by 75%, AppNexus by 115%, and Index Exchange by 82%.

 DTX-655 at 3.

                        b.     Publishers that Chose to Give AdX Bidders a “Last Look” Set
                               the AdX Floor Price and Made More Revenue.

        943.     Publishers who chose to grant AdX bidders a “last look” also set the AdX floor

 price by choosing the value of the header bid line item that would be used as the floor. 9/24/24

 AM Tr. 78:20-79:5 (Milgrom); 9/23/24 AM Tr. 34:23-37:23 (Korula).

        944.     One option for publishers was to simply set that price floor amount at the amount

 of the winning header bid. 9/24/24 AM Tr. 78:20-79:5, 141:23-25 (Milgrom). According to

 Plaintiffs, this particular “last look” set-up granted an “advantage” to AdX because an AdX bidder

 would win as long as it was at least as high as the header bid. 9/16/24 PM Tr. 24:16-25:1

 (Weintraub). It was, however, always the publisher’s choice—not any choice AdX or DFP

 made—whether to implement “last look” “in a way that gave AdX an advantage.” 9/24/24 AM

 Tr. 141:23-142:4 (Milgrom); see also 9/24/24 PM Tr. at 27:3-9 (Milgrom).




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        945.    As Mediavine, a publisher, testified when asked if “last look” was “unfair”: “Yield

 is all that matters” to a publisher. 9/25/24 PM Tr. 172:12-19 (Hochberger). Ultimately, “last look”

 was “the setup we set up on purpose as a publisher.” Id. at 172:20-23 (Hochberger).

        946.    Even in the version of “last look” that Plaintiffs characterize as giving AdX an

 “advantage,” publishers using the “last look” set up never made less than they expected to receive

 from header bidding and often made more. E.g., 9/25/24 PM Tr. 172:12-23 (Hochberger) (“the

 reason I would put Google into that mix would be to increase revenue”); 9/11/24 PM Tr. 83:11-

 84:2 (Ravi). As with “first look,” supra ¶ 920, because AdX ran a second-price auction, publishers

 who used “last look” received more money for their inventory whenever more than one bid in the

 AdX auction exceeded the floor price. 9/24/24 AM Tr. 76:10-77:1 (Milgrom) (testifying that

 auction prices were higher as a result). As shown below, if a publisher set the AdX floor price at

 $1.00 to match the winning header bid, it would make more than $1.00 (here, $1.05) if two AdX

 bidders bid higher than $1.00. Milgrom DX 1.9. As Professor Milgrom explained, the existence

 of two bids above the price floor is “quite common.” 9/24/24 AM Tr. 77:25-78:19 (Milgrom).




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        947.    Publishers could make even more money by setting the AdX price floor higher than

 the winning header bid.

        948.    One way to do this was by inflating the value CPM of the header bid line item,

 which would be used as the AdX price floor. 9/24/24 AM Tr. 75:1-15, 79:18-80:14 (Milgrom);

 9/11/24 PM Tr. 40:16-24 (Ravi). A publisher could set the header bid value CPM at the same as

 the highest header bid, lower, or higher. 9/24/24 AM Tr. 78:20-79:5 (Milgrom) (“The Court. And,

 again, this price floor we’re talking about results from header bidding that’s already occurred. A.

 True. But it’s chosen by the publisher, and the publisher can choose the level of the price floor.

 The Court. So the publisher could choose the highest bid that came in through header bidding or a

 lower number; correct? A. Or a higher number. The Court. Or higher number.”). In other words,

 publishers could decide “that the bid from AdX or Open Bidding needs to be twice as high as the

 header bidding bid in order to win.” 9/23/24 AM Tr. 14:11-15:14, 37:2-19 (Korula). There was

 no limit on how high the header bidding line item could be set. Id. at 37:20-23 (Korula).




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         949.   A publisher could also achieve the same goal by simply setting a separate, higher

 price floor for the AdX auction. E.g., DTX-578 at 1 (2018 Google document: “AdX Pricing rules

 allows publishers to set reserve prices on AdX bids”); 9/24/24 AM Tr. 139:24-140:16 (Milgrom).

         950.   As with “first look,” publishers not only could set higher price floors on AdX, but

 were incentivized to make the AdX floor price higher than what they were guaranteed to get from

 header bidding. 9/24/24 AM Tr. 75:1-15, 80:2-14 (Milgrom); see also id. at 78:1-11 (Milgrom)

 (Any “time you run an auction, you always want to set the floor price higher than your best outside

 option, and when header bidding has taken place, that header bid is an outside option. So you’d

 want to set a price floor higher than that, not lower.”); id. at 80:2-14 (Milgrom) (“The worst that

 happens is that you set the floor price too high and you get your outside option of $1 anyway.”).

         951.   When publishers inflated the value CPM of the header bid line item or otherwise

 set a higher floor for AdX, they would make even more money from “last look” because they

 would receive a higher price every time even a single bid in the AdX auction exceeded the floor

 price. 9/24/24 AM Tr. 80:2-14 (Milgrom). As shown below, a publisher could choose to set the

 AdX floor price at $1.08, 8 cents higher than the header bid. With just one AdX bidder willing to

 pay $1.10, the publisher would make 8 cents more than it would have without AdX. Milgrom DX

 1.10.




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       952.   The evidence shows that publishers did use last look and did set higher floor prices

 for AdX. 9/24/24 AM Tr. 80:18-24 (Milgrom).

           952.1.   A 2018 Google document noted that some publishers were inflating value

                    CPMs of header bids. “We’ve anecdotally heard from some publishers that

                    they inflate the value CPM of remnant line items to try and extract more value

                    from AdX (since the remnant line item can set the reserve price for AdX 2P

                    bids) to make it ‘work harder.’” DTX-578 at 2; see also PTX-1035 at -370-

                    71 (noting that “last look” “incentivizes pubs to inflate (‘boost’) the floor sent

                    to AdX” by “inflating HB bid results”); 9/24/24 AM Tr. 87:5-88:4 (Milgrom)

                    (“We don’t have third-party data, so I don’t get to see what actually happens

                    to header bids and whether they’re actually inflated.” “So all I have available

                    is the descriptions of others who observed evidence. . . . I had determined

                    before I saw” DTX-578 “that I worked out as an economist what the incentives




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                    were for all the parties. . . . I expected to find this evidence, and I found this.

                    So this was intended to confirm my belief that there would be inflation of the

                    header bids.”).

           952.2.   The same Google document calculated that, out of the 54% of auctions that

                    header bidding won when publishers put header bidding in competition with

                    AdX, the price floor for AdX was higher than the header bid line item in 42%

                    of those auctions. DTX-578 at 2 (“tree diagram”); see also 9/24/24 AM Tr.

                    88:11-90:8 (Milgrom) (“those header bidding line items may already be

                    inflated, but even after they have been inflated, this says 42 percent of the time

                    the floor price” for AdX was “even higher than the header bidding line item

                    price”); 9/12/24 AM Tr. 39:10-40:7 (Srinivasan).

           952.3.   Publishers even had access to tools that specifically assisted in inflating the

                    value CPMs of header bids so that AdX would have to beat a higher floor.

                    Prebid, a popular header bidding tool, offers a Bid Adjustments feature (which

                    consists of open-source code that can be easily inserted by the publisher) that

                    automatically inflates the value CPM of header bids before entering them as

                    line items in DFP. 9/24/24 AM Tr. 81:20-82:4, 82:13-83:17 (Milgrom).

           952.4.   Nitish Korula, an engineering director responsible for DFP and AdX, testified

                    that his “understanding at the time was that it was quite common” for

                    publishers to boost the value CPM associated with a header bidding bid.

                    9/23/24 AM Tr. 153:18-154:9 (Korula).

       953.   As Plaintiffs’ experts agree, the publishers who chose to give AdX a “last look”

 made more money. According to a 2019 Google experiment that Professor Weintraub relied on




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 to calculate the effects of “last look,” the removal of “last look” would cause publisher payouts

 from AdX to decrease by 10.64 percent. 9/16/24 PM Tr. 73:20-24 (Weintraub); PTX-1035 at -

 359. Professor Ravi testified that “last look” made more money for publishers, even if “not as

 much as a unified first-price auction that came later.” 9/11/24 PM Tr. 41:10-23 (Ravi); see also

 id. at 42:18-43:3 (Ravi); 9/23/24 AM Tr. 70:1-4 (Korula) (not sharing “last look” information

 “would have resulted in reduced revenue for publishers”).

        954.    Plaintiffs complain that, when publishers gave AdX a “last look,” AdX could “see

 the competitor’s price” and bid “just the minimum price it had to pay to win the transaction.”

 9/18/24 AM 38:2-20 (Abrantes-Metz). The publisher would make less money, they claim, while

 bidders on AdX took the impression from bidders on header bidding exchanges. 9/18/24 AM

 38:2-20 (Abrantes-Metz); see also 9/11/24 AM 120:23-211:8 (Ravi).

        955.    Plaintiffs’ complaint misunderstands how AdX works, misunderstands the

 motivations of AdX bidders in a second-price auction, misunderstands publishers’ incentives to

 set up “last look,” and ultimately is based on no actual analysis of whether AdX was ever bidding

 “just the minimum price it had to pay to win.”

        956.    First, Plaintiffs’ complaint ascribes bidding strategy to AdX when AdX does not

 and cannot have any such strategy. AdX does not bid; it is a mechanism for conveying the bids of

 its advertiser customers and facilitating transactions. See, e.g., 9/18/24 PM Tr. 99:4-18 (Abrantes-

 Metz) (conceding “AdX doesn’t do any bidding itself” and that, instead, the bids come from

 “buyers in an AdX auction who all bid for that impression” “based on the value that they perceive

 from that impression”); 9/23/24 AM Tr. 70:12-71:4 (Korula) (“First of all, AdX is not bidding.

 Right. It’s AdX’s buyers who are bidding. So AdX is not bidding 1 penny more. But secondly,




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 these buyers are not just competing with that floor price, they’re competing with each other, and

 we have hundreds of Authorized Buyers.”).

        957.     Second, Plaintiffs’ assertion that, when publishers used “last look,” AdX bidders

 were systematically incentivized to submit bids that exceeded the floor price of AdX by just a

 penny is mistaken. As Professor Milgrom, a Nobel Laureate in auction theory, explained, the

 optimal strategy for all bidders in second-price auctions (including those bidding through AdX) is

 to bid their maximum value for an impression. “There’s no advantage at all” “to learning what the

 other bids will be.” 9/24/24 AM Tr. 49:21-50:20 (Milgrom); see also 9/18/24 AM Tr. 99:12-18

 (Abrantes-Metz) (admitting that advertisers “bid based on the value that they perceive from that

 impression”).

        958.     If anything, AdX bidders are disincentivized from bidding just one penny more than

 the floor price because they must compete with other AdX bidders, too. 9/23/24 AM Tr. 70:12-

 71:4 (Korula). An AdX bidder that bid just one more penny more would be at risk of being outbid

 by a competing bidder. Id. at 73:12-20 (Korula).

        959.     Plaintiffs’ own expert Professor Ravi agreed, stating that the “logical rational thing

 to do in second-price auctions” is to bid the true value of the impression to the advertiser, not to

 reduce bids in order to win with the lowest bid possible. 9/11/24 AM Tr. 124:25-125:22 (Ravi).

 As he explained: “Let’s say you value something at $5 and the next highest bidder is at $3. Let’s

 say you bid shade to $4, you still win, but your bid shading has no consequence on what price you

 won that impression for. You still pay the same $3. So bid shading doesn’t affect how much you

 pay.” 9/11/24 AM Tr. 124:25-125:22 (Ravi).

        960.     Third, as explained above, supra ¶¶ 939-942, publishers chose whether to give AdX

 bidders a “last look,” and they also chose whether to take advantage of the multiple ways they




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 could make AdX bidders bid higher than the header bid in order to win an impression. Publishers

 were actually incentivized to boost header bids or set the AdX floor price higher. Supra ¶ 950.

 When they did, AdX bidders could not win an impression by simply bidding one cent more than

 the header bid.

        961.       Finally, Plaintiffs did not support their allegation with any systematic empirical

 analysis of how often AdX bidders won impressions in a “last look” set-up by bidding just one

 penny more than the header bidding bid. See 9/16/24 PM Tr. 24:16-25:15, 68:24-69:15 (Weintraub)

 (Professor Weintraub’s calculation of the effects of “last look” did not examine how much AdX

 won by). To the contrary, documents and testimony suggest that publishers often set up “last look”

 so that AdX bidders could not be “advantaged” at all. Supra ¶ 952. In addition, by the admission

 of Plaintiffs’ own expert, header bidding remains immensely popular today and continued growing

 after “last look,” which is inconsistent with Plaintiffs’ theory that “last look” consistently impeded

 competition from rival exchanges participating in header bidding. 9/18/24 AM Tr. 98:1-20

 (Abrantes-Metz) (header bidding grew and remained immensely popular from 2015 to 2019, the

 time period “last look” was in effect).

                          c.     Plaintiffs Have Not Shown that Rival Exchanges Were
                                 Disadvantaged by Any Interaction Between “Last Look” and
                                 Sell-Side Dynamic Revenue Sharing, Which Was a Feature
                                 Designed to Facilitate Matches that Would Otherwise Not Be
                                 Possible.

        962.       Sell-side Dynamic Revenue Sharing (“sell-side DRS”) was a Google feature that

 dynamically adjusted AdX’s revenue share to enable AdX bidders to win auctions that might not

 otherwise have had a winner. 9/11/24 PM Tr. 78:2-9 (Ravi); see also id. at 48:12-49:4 (Ravi)

 (agreeing that the primary purpose and effect of sell-side DRS was expanding the number of

 matches).




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            962.1.   No Plaintiffs’ expert opined that sell-side DRS was anticompetitive. 9/19/24

                     PM Tr. 127:11-24 (Lee).

            962.2.   But, according to Plaintiffs’ experts, the combination of “last look” and sell-

                     side DRS advantaged AdX because AdX could “see” the competing header

                     bid and dynamically adjust its revenue share just enough to beat the competing

                     header bid by one penny. 9/11/24 AM Tr. 114:21-115:6 (Ravi); 9/18/24 AM

                     Tr. 38:21-39:3 (Abrantes-Metz); see also 9/11/24 PM Tr. 70:20-71:3 (Ravi)

                     (complaining that, in this set-up, the publisher gets “the exact same amount of

                     money” but the winner is shifted to AdX).

        963.    Plaintiffs’ imagined “advantage” for AdX bidders could, however, only arise if for

 a given impression: (1) the publisher chose to give AdX a “last look,” (2) the publisher chose not

 to inflate the header bidding bid or set a higher floor price for AdX, (3) only one AdX bidder bid

 higher than the price floor so the winner paid the price floor, and (4) sell-side DRS operated to

 reduce Google’s revenue share on that particular auction. 9/24/24 PM 25:9-27:9 (Milgrom).

        964.    Plaintiffs’ experts have made no effort to quantify how often—if at all—that

 theoretical “advantage” arose, much less to quantify the effects of sell-side DRS and “last look”

 together on rivals. 9/11/24 PM Tr. 47:21-48:4 (Ravi); 9/16/24 PM Tr. 75:19-76:6 (Weintraub)

 (conceding he had only calculated effects of sell-side DRS in total, not to the extent that it

 “enhanced” last look despite that aspect being his “focus”).

        965.    As explained below, Google launched sell-side DRS in order to facilitate additional

 matches for impressions that would otherwise have gone unsold, which would benefit advertisers

 and publishers and increase Google’s revenue. DTX-212 at 1 (2014 Google sell-side DRS product

 design document); 9/11/24 PM Tr. 48:12-49:4, 78:2-9 (Ravi). Plaintiffs presented no evidence, in




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 documents or in testimony, to support the speculation of their expert witnesses that the launch of

 sell-side DRS had any relation or connection to “last look.” Cf. 9/23/24 AM Tr. 128:22-129:3

 (Korula) (asking Google sell-side engineering director, with no reference to any document,

 whether “last look and Dynamic Revenue Share also allowed Google to win a transaction that

 otherwise would have been won by another exchange” in theory, to which Korula responded: “That

 is correct, though as I said, that was not the common case.”).

        966.    Before launching sell-side DRS in 2015, Google had already launched a buy-side

 version of dynamic revenue sharing in 2013 that achieved a similar purpose. Google observed that

 buy-side DRS (which later was innovated and became Project Bernanke) improved outcomes for

 advertisers and publishers and increased Google’s revenue.

            966.1.   Prior to the launch of Project Bernanke, Google observed that “a large fraction

                     of ad requests were going unfilled” on AdX. 9/17/24 AM Tr. 134:20-135:4

                     (Jayaram); see also id. at 135:10-15 (Jayaram) (the unmatched rate was

                     “around 50 percent at the time”). Google viewed this as “a missed opportunity”

                     because those ads were “going completely unmatched.” 9/17/24 AM Tr.

                     134:20-135:4 (Jayaram).

            966.2.   Google launched Project Bernanke in 2013. DTX-172 at 1 (2013 Google

                     launch presentation). Project Bernanke varied Google Ads’ revenue share so

                     that, instead of taking a fixed revenue share of 14% on every bid request,

                     Google sometimes lowered its own revenue share to increase the number of

                     auctions that had winners. 9/17/24 AM Tr. 137:24-138:19 (Jayaram).

            966.3.   Project Bernanke increased the number of matches between advertisers and

                     publishers. DTX-172 at 5, 6 (experiments showing 11.8% and 8% increase in




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                     matched queries); 9/11/24 PM Tr. 63:12-24 (Ravi) (experimental documents

                     from Google show that buy-side DRS increased matches). Advertisers spent

                     more on ads, and publishers received more revenue. 9/17/24 AM Tr. 138:25-

                     139:8 (Jayaram); DTX-172 at 5, 6 (experiments over short and intermediate

                     periods showing 9.2% and 7.4% increase in advertiser spend, and 8% and 6.4%

                     increase in publisher revenue).

            966.4.   Although buy-side DRS maintained the same revenue share of 14% on

                     average, Google’s profit also increased by 12% due to the increase in auctions

                     that resulted in matches. 9/17/24 AM Tr. 139:9-20 (Jayaram).

        967.    In 2015, after seeing Project Bernanke’s success in increasing matches, Google

 introduced sell-side DRS “in order to get more auctions with winners (and increased revenue).”

 DTX-212 at 1 (2014 sell-side DRS product design document); see also 9/23/24 AM Tr. 80:3-5

 (Korula) (sell-side DRS launched in 2015).

        968.    Sell-side DRS was directed at auctions that did not have a winner because no

 advertiser bid higher than the publisher’s minimum floor price. 9/23/24 AM Tr. 77:15-78:2

 (Korula). Google identified this problem when engineers from the quality team looked “closely

 at the records of many, many auctions,” identifying that there were auctions that were not clearing

 because of Google’s 20% revenue share. 9/23/24 AM Tr. 79:8-15 (Korula). As the sell-side

 engineering director testified, the intent of sell-side DRS was to “have more transactions occur

 overall.” Id. at 80:10-17 (Korula); see also DTX-212 at 1 (purpose of sell-side DRS is “to get

 more auctions with winners (and increased revenue)”).

        969.    The first version of sell-side DRS lowered the revenue share taken by AdX. 9/23/24

 AM Tr. 81:8-82:1 (Korula). Reducing AdX’s revenue share effectively increases a buyer’s bid.




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 Id. at 78:3-79:7 (Korula). If, for example, the buyer’s bid was $1.20, with AdX taking a 20%

 revenue share the seller would only see a 96-cent bid. Id. at 78:3-79:7 (Korula). If, instead, AdX’s

 revenue share was 17% for that particular bid, the seller would see a $1 bid. Id. (Korula). If the

 seller’s floor price was set at $1, changing AdX’s revenue share could thus enable a match to be

 made that would not have otherwise been possible. Id. (Korula)..

        970.      In a second, later version of sell-side DRS, Google adjusted AdX’s revenue share

 in both directions—sometimes increasing the revenue share and other times decreasing the revenue

 share—while maintaining an average revenue share of 20 percent. 9/23/24 AM Tr. 81:8-82:1

 (Korula). “This made the product more sustainable because” Google “had seen that otherwise

 publishers could raise floors and buyers could lower bids such that DRS would no longer

 sustainably work.” Id. at 81:8-82:1 (Korula).

        971.      The third, and last, version of sell-side DRS was called “truthful DRS.” 9/23/24

 AM Tr. 81:8-82:1 (Korula). “Rather than receiving bids and then determining” its “revenue share

 for each auction,” Google “would determine the revenue share prior to calling buyers.” Id. at 81:8-

 82:1 (Korula). Google believed this change made it easier for buyers to bid consistent with their

 incentives (“incentive compatible”) because the revenue share variation was made before the bids

 were received. Id. at 82:7-82:13 (Korula) (“This is not using truthful in the commonly understood

 sense but in the technical auction sense where perhaps the more accurate phrase would be incentive

 compatible.”).

        972.      Publishers could choose to opt out of the second and third versions of sell-side DRS.

 9/23/24 AM Tr. 82:14-17 (Korula). For example, Mediavine testified that AdX’s “variable take

 rate” was “an optional feature” that Mediavine enabled in order to “make AdX more competitive.”

 9/25/24 PM Tr. 165:25-166:20 (Hochberger).




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        973.    Post-launch documents confirm that sell-side DRS successfully increased seller

 revenues and the number of transactions that cleared. DTX-313 at 3 (2016 Google presentation).

 For example, according to an experiment relied on by Plaintiffs’ expert to calculate the effects of

 sell-side DRS, version 2 of sell-side DRS consistently made publishers more money through AdX

 and lifted publisher revenue through AdX by 4.17 percent and overall revenue by 2.8 percent

 (including both AdX and other sources of demand). 9/16/24 PM Tr. 78:3-19 (Weintraub); 9/23/24

 AM Tr. 82:23-83:17 (Korula).

        974.    The “considerable majority” of transactions that were made possible by sell-side

 DRS were transactions “that wouldn’t have otherwise closed, not transactions that would have

 closed on other exchanges.” 9/23/24 AM Tr. 80:18-24 (Korula). Plaintiffs’ expert Professor Ravi

 agrees that sell-side DRS increased matches between advertisers and publishers in auctions that

 “would have gone unsold.” 9/11/24 PM Tr. 48:12-16 (Ravi).

        975.    Google did not charge anything for sell-side Dynamic Revenue Sharing. 9/23/24

 AM Tr. 83:18-21 (Korula).

        976.    Plaintiffs’ expert Professor Ravi testified that “dynamic revenue sharing at auction

 by any of the participants is good for the ecosystem.” 9/11/24 PM 50:11-15 (Ravi). Other ad tech

 companies (including Xandr and           also have features similar to sell-side DRS. 9/11/24 PM

 Tr. 48:5-11 (Ravi); see also




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        977.    Google discontinued sell-side DRS following the launch of the Unified First Price

 Auction in September and October 2019. 9/23/24 AM Tr. 83:22-84:2 (Korula); DTX-829 at 1

 (2019 Google email: “We have completed the migration . . . to a unified first-price auction.”).

 Google decided to discontinue sell-side DRS with the shift to the Unified First Price Auction

 because “the nature of floor prices is different in a first-price auction.” 9/23/24 AM Tr. 84:3-16

 (Korula). In addition, Google was committed to the Unified First Price Auction being “a consistent

 auction with consistent rules in which generally speaking all the buyers were competing in the

 same way.” Id. at 84:3-16 (Korula).

                       d.      Plaintiffs’ Experts’ Complaint About “Last Look” Is that
                               Google Did Not Build Integrations with Rivals or Invent an
                               “Auction of Auctions” Sooner.

        978.    In sum, what Plaintiffs call “last look” refers to how publishers could choose to set

 up Dynamic Allocation to work with header bidding bids after 2014.

        979.    Plaintiffs’ complaint boils down to an assertion that, after header bidding emerged,

 Google should have built in DFP new technology enabling publishers to give rival exchanges’

 bidders a comparable “last look.” 9/18/24 AM Tr. 39:15-40:1 (Abrantes-Metz).

        980.    Just as with “first look,” until Google created Open Bidding, no such technology—

 to solicit real-time bids from third-party exchanges based on price floors in DFP—existed in DFP.

 Supra ¶ 929. When Google did build that technology and launched Open Bidding, Google made

 “last look” information available to the other exchanges that were integrated with DFP through

 Open Bidding. 9/23/24 AM Tr. 69:19-25 (Korula) (“It’s the same” principle, “for all of the buyers

 who were integrated with us, we were providing as much information as possible to make it easy

 for them to bid effectively.”). In other words, once what Plaintiffs seek was technologically

 possible, “last look” was extended to the bidders on rival exchanges integrated with DFP via Open

 Bidding.


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        981.    Plaintiffs also complain that, after header bidding emerged, Google should have

 invented a way for AdX real-time bids to compete simultaneously with the real-time bids of other

 exchanges, instead of calling the real-time AdX auction after the header bidding auction. 9/18/24

 AM Tr. 39:15-40:1 (Abrantes-Metz); 9/20/24 AM Tr. 85:16-86:9 (Lee).

        982.    At the time that header bidding first emerged, Google had no such technology.

 9/12/24 AM Tr. 14:10-17 (Srinivasan) (The “technology did not exist to solicit bids from other

 competing exchanges.”); 9/19/2024 AM Tr. 139:16-23 (Bellack); 9/23/24 AM Tr. 62:23-63:10

 (Korula). Google created that technology for DFP in 2019 when it rolled out the Unified First

 Price Auction, an “auction of auctions” that finally compared bids from all sources simultaneously.

 9/23/24 AM Tr. 93:24-94:12 (Korula); 9/24/24 AM Tr. 124:18-125:25 (Milgrom). At the same

 time as that rollout, Google removed the option for any “last look” set-up. 9/23/24 AM Tr. 73:1-

 3 (Korula); 9/12/24 AM Tr. 113:20-115:9 (Srinivasan). Here, too, once what Plaintiffs seek was

 technologically possible, “last look” was removed.

        983.    Of Plaintiffs’ experts, only Dr. Abrantes-Metz complained about a provision in

 publishers’ contracts with Google Ad Manager that she characterized as contractual “last look.”

 This provision limited publishers from “contact[ing] AdX and then contact[ing] somebody else

 after AdX.” 9/16/24 PM Tr. 125:14-126:12 (Abrantes-Metz).

        984.    Despite what Dr. Abrantes-Metz calls it, this provision bears no relation to the DFP

 Dynamic Allocation and header bidding set-up that is referred to as “last look.” Nor does the

 contractual provision require publishers to call AdX for any particular impression. 9/18/24 AM

 Tr. 95:3-6 (Abrantes-Metz). The provision applies only on an impression-by-impression basis and

 is triggered only if the publisher chooses to call AdX for a particular impression. Id. (Abrantes-

 Metz). Nothing in the provision—or anywhere else in the contract—requires Google exclusivity




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 for any period of time or for any number of impressions. See DTX-1771 (Google Ad Manager

 Partner Guidelines).

        985.    The contractual provision is, as explained above, simply a function of how AdX

 works. AdX does not return a real-time bid amount that can be compared to other real-time bids

 simultaneously.   Supra ¶ 884.     To the extent that Dr. Abrantes-Metz is complaining that

 comparison can only be done today using DFP, she is complaining again that Google has not

 invested the significant engineering work required to make AdX real-time bid amounts available

 to rival publisher ad servers. Supra ¶¶ 879-894.

        E.      Alleged Conduct Following the Acquisition of Admeld 49

        986.    Plaintiffs’ experts complain that Google’s 2011 acquisition of Admeld had

 anticompetitive effects in the publisher ad server and ad exchange markets for two reasons: (1)

 Google eliminated Admeld’s yield management business because it was a competitive threat to

 DFP in Plaintiffs’ asserted publisher ad server market, 9/18/24 AM Tr. 46:4-47:2 (Abrantes-Metz);

 and (2) Google did not build in AdX an Admeld feature that provided real-time bid amounts from

 Admeld’s exchange to third-party ad servers, 9/20/24 AM Tr. 87:8-12 (Lee); 9/18/24 AM Tr. 47:3-

 12, 61:8-17 (Abrantes-Metz) (agreeing the API functionality referenced in PTX-141 at -448 is the

 real-time bidding technology at issue); see also id. at 74:21-76:13 (Abrantes-Metz) (admitting her

 complaint is not that AdX did not implement real-time bidding but that publisher customers could

 not use rival ad servers to “get the real-time bid from AdX”).

        987.    Prior to the acquisition, Admeld had built integrations for a “small handful” of

 publishers that provided real-time bid amounts from Admeld’s ad exchange to non-Admeld



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   9/19/24 PM Tr. 127:11-24 (Lee) (“The five pieces of conduct that I evaluated and examined to
 be anticompetitive” include “the acquisition of Admeld.”).


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 publisher ad servers. PTX-141 at -448 (2013 Google document). According to Plaintiffs, Google

 should have built that functionality for AdX when it integrated Admeld’s other functionalities so

 that AdX would send its own real-time bid amount information to other publisher ad servers.

        988.   Plaintiffs’ experts have not opined that Google had substantial market power before

 2015, which was four years after the Admeld acquisition. 9/19/24 PM Tr. 45:24-46:5 (Lee).

               1.      Google Acquired AdMeld and Incorporated Its Traditional Network
                       Yield Management Functionality Because Google, Which Had Focused
                       on Real-Time Bidding, Lacked Network Yield Management
                       Functionality.

        989.   As discussed above, supra ¶¶ 109-111, Google was among the first companies to

 innovate real-time bidding when it re-launched the DoubleClick ad exchange as AdX in 2009.

            989.1.   After Google had acquired the DoubleClick publisher ad server and ad

                     exchange, it took significant time and engineering—not just a simple “cut-

                     and-paste”—for Google to successfully rebuild those products on Google’s ad

                     tech stack. 9/16/24 AM Tr. 59:14-60:9 (Mohan).

            989.2.   Because rebuilding DoubleClick’s products, and particularly adding real-time

                     bidding to the ad exchange took so long, Google continued offering the core

                     functionality it had acquired at the same time that it was writing new code to

                     rebuild those products on Google’s stack. 9/16/24 AM Tr. 60:10-23 (Mohan)

                     (“you don’t want to just be standing still in the market” for “years”); DTX-37

                     at 3 (2009 Google email stating that Google “continued to grow the 1.0

                     version of the business” while rebuilding AdX). For both DFP and AdX,

                     Google operated DoubleClick’s products and rebuilt those products for

                     Google’s stack at the same time: “changing the engines on a plane while

                     continuing to fly it.” 9/16/24 AM Tr. 62:9-63:17, 70:11-71:4 (Mohan).



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        990.   At around the same time that Google launched AdX, Google first began to evaluate

 the distinction between the recently rebuilt AdX and another category of tools on the market

 referred to as traditional yield managers or network yield managers (sometimes referred to at the

 time as “supply-side platforms”).    9/16/24 AM Tr. 97:4-14, 97:25-99:9 (Mohan).         Google

 considered whether it should invest in developing a network yield management solution. DTX-45

 (2009 Google email); 9/16/24 AM Tr. 101:4-20 (Mohan).

        991.   The primary yield managers in the market at the time were Admeld, Rubicon

 Project (now Magnite), and PubMatic. 9/12/24 PM Tr. 67:7-16 (Goel). These three yield

 managers were all significant players in the industry. PTX-112 at -975, -978, -986 (2011 Google

 document analyzing traditional yield managers).

        992.   Network yield managers helped publishers optimize their yield from ad networks

 in the traditional waterfall framework, which ordered networks based on static historical prices.

 DTX-45 at 1-2 (2009 Google email). As one example of how these yield managers improved on

 the traditional waterfall, in fall of 2007 PubMatic created “multiple waterfalls” for publishers,

 “organize[d] waterfalls,” and enabled publishers to “change the sequencing of the waterfall on an

 hourly basis.” 9/12/24 PM Tr. 64:11-65:9 (Goel). PubMatic’s network yield management

 technology automatically pulled pricing data from ad networks hourly so that the waterfall would

 contain relatively up-to-date information. Id. (Goel). At that time, PubMatic’s network yield

 manager was an improvement on the existing system because publishers usually used only one

 waterfall and refreshed the waterfall ordering only weekly or monthly. Id. (Goel). “There was no




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 notion of real-time bidding back then,” so even pulling pricing data every hour and reordering the

 waterfall every hour improved publishers’ information about ad network pricing. 50 Id. (Goel)

        993.      From Google’s perspective in 2009, after it had innovated real-time bidding,

 network yield management had “some key differences” from real-time bidding that were a “huge

 limitation” for yield managers and caused a “big loss of potential revenue across millions of

 impressions.” DTX-45 at 1-2 (2009 Google email). Network yield managers were still ordering

 the waterfall based on static, historical data, and none “run a real time auction.” DTX-45 at 2

 (making decisions based on historical data is “like trying to manage yield with imperfect

 information”).

        994.      In contrast, Google’s AdX auction combined with Dynamic Allocation enabled

 advertisers to bid based on real-time information about an impression and filled publisher

 inventory based on those real-time bids. 9/16/24 AM Tr. 97:4-99:9 (Mohan) (Dynamic Allocation

 improved on “static evaluation process that was existing before”); PTX-44 at -913 (2009 Google

 email listing limitations of Admeld, Rubicon, and PubMatic such as “No true dynamic allocation,”

 “No integration with buy-side platform,” “No Real-time Bidder”, “No Ad Quality controls,” and

 “No Inventory Quality controls”); PTX-22 at 5 51 (2008 Google presentation noting “yield mgmt.

 solutions” are a “problem since those solutions allocate based on averages and adsense has much


 50
   In January 2009, when PubMatic offered only this yield management functionality and
 PubMatic had not yet innovated real-time bidding, one of PubMatic’s founders reached out to
 Google to ask that PubMatic’s yield manager be integrated with DFP. PTX-36 at -305; 9/12/24
 PM Tr. 112:3-113:1 (Goel). Google never provided that API integration. 9/12/24 PM Tr. 113:2-
 114:8 (Goel).
 51
   At trial, Plaintiffs highlighted selected language from a 2008 email: “Larry gave a cautionary
 green light to proceed on developing the business case. He did not 100% agree to a fully open
 network—suggested Google set some baseline controls about which exchanges to let in,
 competitors to restrict, and operating policy.” PTX-22 at -725. This language does not show
 anticompetitive conduct, but instead Google’s decision about whether to exercise its freedom to
 deal or not deal with competitors. 9/26/24 PM Tr. 115:25-116:17 (Israel).


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 higher CPMs on highly focused pages,” which is “suboptimal for users, advertisers, publishers and

 google”). In other words, real-time information is better than historical information.

        995.    Accordingly, Google believed that its real-time bidding auction was a superior

 solution to network yield managers. 9/16/24 AM Tr. 99:19-101:3 (Mohan). Google also believed

 that real-time bidding was where “the industry was going”; “yield management capability was

 almost like solving yesterday’s problem.” Id. at 101:4-20 (Mohan) (“like going from CDs to

 streaming”). Google thus determined that it should not develop a traditional yield management

 solution in 2009. Id. (Mohan).

        996.    It took longer than Google expected, however, for many industry participants to

 transition to real-time bidding. “Despite [their] limitations,” network yield managers were still

 “getting traction and positioning themselves as an alternative to exchanges.” DTX-45 at 2 (2009

 Google email). At a time when the waterfall set-up was relatively familiar but real-time bidding

 with Dynamic Allocation was very new, it was “a big leap of faith” for publishers to adopt

 Google’s novel solution. 9/16/24 AM Tr. 99:19-101:3 (Mohan). “Cautious” publishers were

 particularly reluctant to “give up those network relationships they had,” which were still managed

 in the waterfall and optimized using traditional network yield managers. Id. (Mohan). Even

 though Google shared with publishers its excitement about the significant potential to increase

 yield using Google’s innovations, not all publishers were ready to give up yield managers. Id.

 (Mohan).

        997.    By 2011, Google recognized that traditional network yield management remained

 “a pressing need for publisher” customers who still sought to manage their non-real time bidding

 ad networks. PTX-112 at -976, -979 (2011 Google presentation); 9/16/24 AM Tr. 105:2-25

 (Mohan) (“It was becoming clear at the time that while we felt that we had the solution that was




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 the way forward,” publishers “wanted to get there maybe in baby steps and wanted to hold onto

 this older type of technology”); DTX-76 at 5 (2011 Google email noting that yield management

 of “fixed network relationships” “is still a critical need for most large publishers and has been a

 weakness in our offering”).

        998.    At that point, however, Google did not have any network yield management

 technology. 9/16/24 AM Tr. 105:2-25 (Mohan). Google had been focused on innovating on its

 real-time bidding exchange, which Google considered to be the way of the future. For example,

 in 2010 Google had launched nearly 100 product launches on AdX, including “numerous RTB

 enhancements.” DTX-76 at 1, 3 (2011 Google email).

        999.    To fill the gap in its functionality, instead of building the functionality from scratch,

 Google considered acquiring either Admeld or PubMatic, two of the major network yield managers

 on the market at the time. PTX-112 at -975, -976 (2011 Google document analyzing network yield

 managers). Google did not have time to build its own network yield management solution. And

 even if it did build the feature, Google’s offering may still have been weaker than Admeld’s. PTX-

 112 at -979 (“strategic rationale” for the acquisition included improving “time-to-market for key

 functionality”); 9/16/24 AM Tr. 107:7-24 (Mohan). Google thus decided that it needed to acquire

 an existing network yield manager in order to “deliver a complete yield manager to the market

 quickly,” PTX-112 at -975, -979, and “close that gap as quickly as possible,” 9/16/24 AM Tr.

 107:7-24 (Mohan); see also id. at 44:13-20 (“We were missing a certain functionality, this indirect

 yield management – static yield management capability was not a feature that AdX offered, and

 so we had a choice there to try to build it ourselves or acquire it.”).

        1000. Google concluded that Admeld had a “stronger product offering” than PubMatic.

 PTX-112 at -981. And in 2011, Google acquired Admeld. 9/16/24 AM Tr. 46:24-47:1 (Mohan).




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        1001. Contemporaneous Google documents and testimony from Google witness Neal

 Mohan explain the legitimate business reasons and strategy guiding the acquisition: Admeld’s

 fully-formed yield management services and valuable relationships with publishers would

 “complement” the existing products that Google already offered.

           1001.1. The “Strategic Rationale” was to satisfy “a pressing need for publishers - ad

                    network management (+ other features).” PTX-112 at -976 (2011 Google

                    document). Google also described the yield management functionality as “a

                    pressing need for publishers,” “looking for ad network management for non-

                    RTB [real-time bidding] deals.” PTX-112 at -979.

           1001.2. Admeld would enable Google to “deliver a complete Yield Manager to the

                    market quickly: closes product and service gaps in today’s AdX+DFP

                    offerings; Improves time-to market for key functionality.” PTX-112 at -979;

                    see also DTX-101 at 3 (2012 Google email: “Strategically, Admeld brings

                    industry leading yield management capabilities enabling Google to provide

                    publishers with the most comprehensive solution in the market.”); DTX-126

                    at 11 (2012 Google document: “We’re committed to helping you meet your

                    long-term goals as a publisher. That’s why we bought Admeld, and it’s why

                    we’re so excited about the future of this new platform.”).

           1001.3. Admeld’s business would “complement” “existing AdX growth.” PTX-112

                    at -979. As Neal Mohan explained, yield managers did “something adjacent

                    to but different than what AdX did.” 9/16/24 AM Tr. 107:25-108:22 (Mohan).

           1001.4. Google also sought to “acquire” Admeld’s “talented engineering, service, and

                    sales team.” PTX-112 at -979. After the acquisition, Google kept “a lot” of




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                      the engineers, service, and sales teams from Admeld. 9/16/24 AM Tr. 108:5-

                      17 (Mohan). The Admeld team members understood the network yield

                      management business—which Google had relatively little experience with—

                      and could “augment the Google and DoubleClick teams that were already

                      speaking with these publishers.” Id. at 108:23-109:23 (Mohan).

        1002. After the acquisition, Google integrated key Admeld features into AdX, particularly

 Admeld’s network yield management functionality. DTX-126 at 10, 13 (2012 Google document);

 9/16/24 AM Tr. 112:25-113:24 (Mohan); DTX-101 at 5 (2012 Google email listing a “goal” “to

 offer an integrated platform to maximize our publishers’ advertising revenue” included building

 “a complete yield management solution by integrating Admeld and further improving AdX”);

 9/20/24 AM Tr. 87:3-7 (Lee); PTX-141 at -444-445 (2013 Google document describing “feature

 parity” as “an absolute requirement for the product migration”); see also 9/18/24 AM Tr. 62:9-15

 (Abrantes-Metz) (agreeing she did not know of any Admeld technology that was not integrated

 into Google other than the integration of the functionality that provided real-time bid amounts to

 other publisher ad servers). Google integrated Admeld’s traditional ad network optimization

 feature, as well as mobile ad network optimization support and a private exchange functionality.

 DTX-126 at 10, 13.

        1003. Integration of Admeld features was no small task. Google had to rebuild Admeld

 features on the Google stack, set and renegotiate pricing, and migrate customers. PTX-112 at -

 980.

        1004. Neal Mohan was heavily involved in both the DoubleClick and Admeld

 acquisitions. He was the former senior vice president of strategy and product management at

 DoubleClick before it was acquired, and became director of Display Ads product management at




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 Google after the DoubleClick acquisition. 9/16/24 AM Tr. 6:24-7:25 (Mohan). At the time of the

 Admeld acquisition, Mohan was a Google executive responsible for DFP, AdX, and the Google

 Display Network. 9/16/24 AM Tr. 7:8-8:7 (Mohan).

        1005. Mohan testified that, to manage the daunting task of integrating Admeld’s

 functionality, Google adopted the same approach that it used to successfully rebuild DoubleClick’s

 products for the Google stack. “It’s the exact same theme that we’ve talked about before, which

 is the necessity to keep flying the plane while changing the engines.” 9/16/24 AM Tr. 110:3-23

 (Mohan).

            1005.1. As Mohan explained, after the Admeld acquisition Google needed to do two

                     things at once: (1) in the short term, “continue to offer” key Admeld

                     functionality “to our publisher customers” so there was no disruption in

                     service; and (2) “in the long term, really rebuild the rest of the Admeld features

                     onto the Google stack so that we could drive innovation further forward.”

                     9/16/24 AM Tr. 109:23-110:23 (Mohan). Rebuilding on the Google stack was

                     a particularly important part of the integration because, on Google’s stack,

                     Admeld “connects seamlessly with DFP” so that publishers could “make

                     smarter, more holistic decisions” across their inventory. DTX-126 at 12 (2012

                     Google document).

            1005.2. Google thus continued to offer Admeld functionality in the short term while,

                     at the same time, rebuilding Admeld’s key functionality on Google’s own

                     stack for the long term. This required a phased approach over time to rebuild

                     and integrate key Admeld features. PTX-112 at -976, -980; PTX-141 at -442-

                     43; 9/16/24 AM Tr. 111:12-20 (Mohan).




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            1005.3. Had Google not continued to offer Admeld “in the marketplace while” Google

                     “rebuilt it” in a more long-term way “on the Google stack,” Google “would

                     have fallen further behind, defeating the purpose of the acquisition in the first

                     place.” 9/16/24 AM Tr. 46:3-47:24 (Mohan).

            1005.4. As shorthand for Google’s strategy following the DoubleClick and Admeld

                     acquisitions to combine short-term planning and long-term planning, Mohan

                     used the term “parking” to refer to “continuing to offer it in the marketplace

                     while we rebuilt it on the Google stack.” 9/16/24 AM Tr. 47:2-24 (Mohan)

                     (discussing PTX-58, 2010 Google email). In other words, “parking”

                     described Google’s short-term plan to continue to offer Admeld as it existed,

                     while the rebuilding process took place in parallel. Id. (Mohan).

        1006. Consistent with its acquisition strategy, Google only discontinued Admeld’s

 products after it had completely rebuilt and integrated the key Admeld network yield management

 features into Google’s product. DTX-126 at 10 (2012 Google update on Admeld integration:

 “Because Admeld’s key features will be available on the new platform when it launches (or soon

 thereafter), we’re planning to discontinue Admeld later in 2013.”).

        1007. As demonstrated by Google’s strategy and actual actions after the Admeld

 acquisition, Google did not acquire Admeld in order to “immobilize the leading yield manager

 while Google had a chance to catch up.” 9/16/24 AM Tr. 46:14-23 (Mohan) (responding to a

 question whether this was Google’s strategy: “Absolutely not.”); see also id. at 111:12-20 (Mohan)

 (Google had no intent to acquire Admeld in order to put a competitor out of business). Google did

 the opposite: it needed network yield management functionality because it had invested in real-

 time bidding but publishers were not yet willing to give up network yield management, so Google




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 continued to maintain and offer that functionality after the acquisition until it had rebuilt that

 functionality into AdX.

        1008. Nor did the Admeld acquisition eliminate competition in the traditional network

 yield management marketplace or cause competitor network yield managers to shut down. 9/26/24

 PM Tr. 27:1-10 (Israel).

            1008.1. After the acquisition, Google continued to compete with the two other major

                     network yield managers at the time, Rubicon and PubMatic, to offer

                     traditional network yield management. Israel DX 5; 9/26/24 PM Tr. 26:19-

                     27:10 (Israel).

            1008.2. Both Rubicon (now known as Magnite) and PubMatic still exist today, were

                     founders or early members of Prebid, and had representatives who testified at

                     this trial. 9/13/24 AM Tr. 28:17-22 (Kershaw). (Rubicon was founder of

                     Prebid and PubMatic was “an early member”); 9/12/24 PM Tr. 56:8-16 (Goel)

                     (PubMatic cofounder and CEO). Today, both now offer real-time bidding

                     exchanges, demonstrating that, over time, real-time bidding did eventually

                     gain traction over the static network yield management tools originally offered

                     by these companies. 9/12/24 PM Tr. 56:24-2, 69:6-22 (Goel) (testifying that

                     real-time bidding was “innovative”); id. at 160:1-13 (Goel) (Rubicon offers

                     an “independent advertising exchange”); 9/13/24 AM Tr. 5:13-18 (Kershaw).

                     None of the competitors that testified at trial described their products as

                     offering traditional network yield management services.




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                2.     Plaintiffs’ Complaint that Google Did Not Rebuild and Integrate
                       Certain Admeld Functionality Is the Same as Their Complaint that
                       Google Denied Rival Publisher Ad Servers Real-Time Bids from AdX.

        1009. Plaintiffs’ experts identified only one functionality of Admeld that Google did not

 rebuild for its own ad tech stack: the ability to provide real-time bids from Admeld’s ad exchange

 to third-party ad servers. 9/18/24 AM Tr. 59:2-6 (Abrantes-Metz). They complain that Google

 did not rebuild this functionality for AdX. 9/20/24 AM Tr. 87:8-12 (Lee); 9/18/24 AM Tr. 47:3-

 12, 74:21-76:13, 76:21-77:6 (Abrantes-Metz); see also 9/18/24 AM Tr. 60:1-5 (Abrantes-Metz)

 (conceding that Google incorporated yield management functionality).

        1010. Neither Plaintiffs nor their experts identified at trial a single document establishing

 that Google considered Admeld’s ability to provide real-time bids from its ad exchange to third-

 party ad servers to be a competitive threat or a single document establishing that Google chose not

 to rebuild that functionality in order to extinguish a competitive threat. 9/18/2024 AM Tr. 59:17-

 25 (Abrantes-Metz) (every document Plaintiffs’ expert “cited about a competitive threat from

 Admeld technology was referring to yield management technology”).

        1011. Plaintiffs’ own expert, Dr. Abrantes-Metz, admitted instead that Plaintiffs’

 complaint that Google did not rebuild this Admeld functionality into AdX is the same as Plaintiffs’

 complaint that Google does not provide third-party publisher ad servers with comparable access

 to real-time bid amounts from AdX.        9/18/24 AM Tr. 47:3-12, 75:6-77:6 (Abrantes-Metz)

 (deprecation of certain Admeld functionality is the “same issue” she claims is anticompetitive with

 respect to AdX’s provision of real-time bid amounts only to DFP); 52 see also 9/26/24 PM Tr.




 52
   Nor did Google shut down any “real-time bidding” functionality. At the time Admeld was
 acquired, in 2011, Google had already innovated real-time bidding and incorporated it into AdX.
 9/26/2024 PM Tr. 27:11-22 (Israel) (Google was pursuing real-time bidding “anyway” and “the
 Admeld transaction really” didn’t “change that”); 9/16/2024 AM Tr. 101:4-20 (Mohan) (testifying

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 27:11-28:9 (Israel) (“the conduct we’ve talked about” regarding “Google’s policies towards real-

 time bidding to DFP and other ad servers” is “the same thing we’re talking about with Admeld”).

        1012. Plaintiffs’ second complaint about Admeld therefore fails for the same reasons that

 their complaint about comparable access to real-time bid amounts from AdX does. Supra ¶¶ 862-

 898. Plaintiffs are complaining about a refusal to deal. The integration of AdX and DFP offered

 advertiser and publisher customers benefits unique to integration. 9/20/24 PM Tr. 49:11-14, 52:2-

 13 (Sheffer) (in an integrated stack the ad tech provider has a relationship with the advertiser and

 the publisher and can vet both); DTX-939 at 2 (Xandr document describing benefits of an end-to-

 end platform including value for customers, tech efficiencies, and improved safety and security);

 9/26/24 AM Tr. 159:12-160:20 (Israel) (integrated ad tech stack leads to three primary economic

 benefits: lower pricing across the ad tech stack, greater incentives to invest, and increased

 efficiencies). Forcing Google not to offer that integrated product and provide AdX real-time bid

 amounts to rival publisher ad servers would have required significant technical work to redesign

 AdX. 9/16/24 AM Tr. 120:19-121:6 (Mohan) (each integration was different because each ad

 server was “custom built”); 9/9/24 PM Tr. 141:4-14 (Avery) (engineering work was required when

 Kevel integrated its publisher ad server with Index Exchange and PubMatic).

        1013. Admeld’s own challenges with integrations between its exchange and third-party

 ad servers before it was acquired by Google further demonstrate the technical challenges and

 quality concerns introduced by forced interoperability. DTX-150 at 2 (2013 Google email with

 Admeld founder and CEO); 9/16/2024 AM Tr. 119:10-121:6 (Mohan).




 one reason he was not as interested in developing a traditional yield management solution was
 because Google “had invented this real-time bidding RTB capability”).


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        1014. Google considered whether rebuilding and integrating the Admeld functionality

 that provided real-time bids to third-party ad servers could be “truly economically viable.” PTX-

 159 at -003 (2014 Google document). When it investigated the possibility, Google found multiple

 business reasons not to proceed with rebuilding and integrating the functionality.

        1015. First, building this functionality would have required technical work to not only

 redesign AdX to output real-time bid amounts, but also build and maintain a connection to each

 additional non-Google publisher ad server that was connected. 9/16/24 AM Tr. 120:19-121:6

 (Mohan) (each integration was different because each ad server was “custom built”); PTX-159 at

 -003-004 (2014 Google document). As the co-founder of Admeld, Brian Adams, explained to the

 Google team, integrating real-time bids from an ad exchange into other publisher ad servers “is a

 new challenge with every customer.” DTX-150 at 2 (2013 Google email with Brian Adams);

 9/16/24 AM Tr. 118:3-121:6 (Mohan).

        1016. At the time there was not much demand for the functionality, including because

 publishers could access Google Ads advertisers through AdSense. DTX-150 at 2 (Brian Adams

 noting that “Adsense was the 3rd largest demand source for Admeld over the years and we

 generated a lot of revenue from that so I’m not surprised that the 3P ad servers aren’t interested”).

        1017. Integration of real-time bids from AdX with third-party ad servers also raised

 “engineering concerns associated with spam detection and inventory quality controls.” DTX-150

 at 4; PTX-159 at -004 (“Account managers and the spam team will have a new type of spam to

 manage.”). According to Brian Adams, co-founder of Admeld, Admeld’s previous integrations

 with third-party publisher ad servers such as Criteo had been “plagued with ongoing issues.” DTX-

 150 at 2. Rebuilding an integration that would cause Google to lose spam and quality controls

 risked creating “a serious impact on the advertiser side of our business.” 9/16/24 AM Tr. 118:3-




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 119:9 (Mohan). In sum, Google determined that for these reasons “the business case does not

 justify the development.” PTX-159 at -0004.

        F.      Unified Pricing Rules 53

        1018. Plaintiffs’ experts opine that Google’s adoption of the Unified Pricing Rules was

 anticompetitive because Google should not have eliminated publishers’ ability to set, on DFP,

 variable price floors by demand source. 9/20/24 AM Tr. 86:10-20 (Lee) (“It’s referring to removal

 of a feature that was present within DFP.”). Plaintiffs maintain that requiring uniform floor prices

 across demand sources on DFP impaired rival ad exchanges in Plaintiffs’ alleged market for ad

 exchanges. 9/20/24 AM Tr. 86:10-20 (Lee).

             1018.1. Dr. Abrantes-Metz agreed that the “restriction in choice” she identified was

                     that publishers cannot use Google’s publisher ad server to “discriminate

                     against Google by setting higher price floors for Google AdX than its rivals.”

                     9/18/24 AM Tr. 79:8-25 (Abrantes-Metz).

        1019. There is no evidence that rival ad exchanges were impaired. By the calculations of

 Plaintiffs’ own expert, the market share of Google’s own ad exchange has declined from 2019 to

 2022, the years after UPR was adopted. PTX-1384. Also by Prof. Lee’s own calculations, non-

 Google exchanges have earned increased revenue since then. PTX-1262A; PTX-1266A; see also

 9/18/24 AM Tr. 102:3-9 (Abrantes-Metz).

        1020. As explained in the next section, Google adopted the Unified Pricing Rules together

 with the shift to the Unified First Price Auction in order to create a safer and simpler auction on

 AdX. According to Plaintiffs, Google should have designed its shift to the Unified First Price



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   9/19/24 PM Tr. 127:11-24 (Lee) (“The five pieces of conduct that I evaluated and examined to
 be anticompetitive” include “Unified Pricing Rules.”).


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 Auction without adopting the Unified Pricing Rules even though Google considered UPR “integral”

 to the Unified First Price Auction because, under the UFPA, exchange-specific floors no longer

 serve the same purpose they did before. In other words, Plaintiffs complain that Google did not

 change its approach to the UFPA so that publishers could retain their ability to use Google’s own

 publisher ad server to discriminate against bidders on Google’s ad exchange. E.g., 9/12/24 AM

 Tr. 33:14-17 (Srinivasan) (variable floor prices could be used to make AdX bidders “work harder”);

 PTX-609 at -146 (2018 Google email describing exchange-specific price floors).

        1021. Requiring Google to redesign the Unified First Price Auction to enable publishers

 to use price floors to discriminate against AdX would reduce its incentive to innovate. 9/26/24

 PM Tr. 6:25-7:9 (Israel).

                1.     UPR Were Implemented to Establish a Safer and Simpler Auction for
                       Advertisers and Publishers.

        1022. Google implemented the Unified First Price Auction (“UFPA”) and UPR in order

 to address an increasingly complex advertising ecosystem by making the auction more “safe and

 simple for the bidders.” 9/24/24 AM Tr. 134:8-21 (Milgrom).

        1023. In the time period between the rise of header bidding and Google’s implementation

 of the UFPA and UPR, publishers were running sequential auctions with many different exchanges

 and demand sources, each of which had different auction rules (such as first-price or second-price)

 and parameters. 9/23/2024 AM Tr. 93:24-94:9 (Korula). As depicted on the left side of the Google

 visual below, the auction at the time was “relative chaos” from the advertiser’s perspective. DTX-

 705 at 7 (2019 Google presentation); 9/24/24 AM Tr. 124:4-17 (Milgrom); supra ¶¶ 250-257.




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        1024. The “chaos” began with the rise of header bidding. As Plaintiffs’ expert Professor

 Ravi wrote in an academic paper, header bidding caused ad exchanges to transition from second-

 price to first-price auctions. 9/11/24 PM Tr. 67:8-18 (Ravi); see also 9/24/24 AM Tr. 90:18-91:13

 (Milgrom).

        1025. As ad exchanges started to experiment with the first-price auction format, some

 also experimented with auction rules that made it less transparent whether an auction was first-

 price or second-price. 9/24/24 AM Tr. 108:22-109:23 (Milgrom); see also 9/12/24 PM Tr. 119:8-

 16 (Goel) (PubMatic noted at the time it transitioned to a first-price auction that there was

 “inconsistency across auctions and a lack of transparency into how each auction operates where

 that’s created an environment where buyers don't have visibility into whether the auctions are

 being closed at first price or second price”); 9/19/24 AM Tr. 137:14-138:5 (Bellack) (“other

 exchanges in the industry were playing games with their auction logic”).




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        1026. As a result, the combination of auctions with different pricing rules—some of them

 not transparent—“was extremely confusing for buyers.” 9/23/24 AM Tr. 93:24-94:9, 94:24-96:16

 (Korula); 9/17/24 AM Tr. 158:18-159:7 (Jayaram).             As Plaintiffs’ expert Professor Ravi

 summarized in an academic paper: “In the past few years, the selling mechanism in RTB market

 has dramatically changed. First, publishers moved from waterfalling to header bidding, and then

 exchanges moved from second-price to first-price auctions. This leaves advertisers uncertain

 about how to adjust their bidding strategies under the new mechanism.” 9/24/24 AM Tr.

 99:22-100:15 (Milgrom) (agreeing with Professor Ravi’s writing).

        1027. Some publishers took advantage of the complex and confusing auction to mislead

 advertisers into paying more for an impression by “price-fishing” or “multi-calling.” 9/24/2024

 AM Tr. 128:18-130:2 (Milgrom). Price-fishing refers to a tactic by which some sellers called the

 same buyers on different exchanges for the same impression using different price floors. PTX-

 784 at -969 (May 2019 email from Srinivasan expressing concern about publishers using variable

 price floors “to effectively fish for the highest price”); 9/12/24 AM Tr. 148:7-149:3 (Srinivasan);

 9/17/24 AM Tr. 142:22-143:16, 159:8-20 (Jayaram).              As shown in Professor Milgrom’s

 demonstrative below, for example, a publisher might “mislead” the advertiser by showing three

 different floor prices, $3, $2, and $1, in order to convince the advertiser to bid $2.25 when it really

 could have acquired the impression for $1.10. 9/24/24 AM Tr. 126:21-127:14 (Milgrom).

 Milgrom DX 1.14.




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        1028. Price-fishing was “harmful” to advertisers. 9/24/24 AM Tr. 127:15-19 (Milgrom).

 In the example above, for example, the advertiser “is confused” and “unable to optimize its

 bid ”because, if it understood the full picture that the same impression was being offered with

 different floor prices, it would not have bid through Exchange B. Id. at 127:15-128:3 (Milgrom).

 Not all buyers had the ability to de-duplicate these requests and figure out that they were being

 made for the same impression. 9/12/24 AM Tr. 148:7-149:3 (Srinivasan).

        1029. As Professor Milgrom explained, evidence in the record demonstrates that prior to

 the implementation of UFPA and UPR, publishers were using a tactic, multi-calling, that similarly

 fishes for higher prices from advertisers. DTX-298 at 1 (2016 Google email); 9/24/24 AM Tr.

 128:18-130:2 (Milgrom); DTX-372 at 16 (2017 Google presentation showing results of Google’s

 efforts to combat publisher multi-calling).

        1030. When a representative from an advertising agency was asked whether he liked “that

 publishers set variable price floors,” he replied: “of course not.” 9/10/24 PM Tr. 38:13-24



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 (Friedman). “As a buyer, we want everything as low priced as possible. And so the fact that there

 were certain buying paths that might have cost more money was not desirable. On the flip side,

 there were some paths that cost less money, and it just took a lot of effort to figure that out. And

 that was beneficial. But, yeah, as a buyer, we prefer less games.” Id.. at 39:2-9 (Friedman).

        1031. Amidst the complex and confusing landscape, Google introduced a group of

 changes to Google Ad Manager in order to “establish a level playing field” and make the auction

 “simpler for Buyers and Sellers.” DTX-1016 at 20 (2020 Google presentation). Those changes

 included: (1) the adoption of the Unified First Price Auction; (2) the adoption of Unified Pricing

 Rules; (3) the removal of “last look”; and (4) “increased transparency into the auction” 9/12/24

 AM Tr. 113:20-115:9 (Srinivasan).

        1032. As depicted below, the UFPA, combined with UPR and removing “last look,” were

 “key changes” to make the auction “ordered & predictable.” DTX-705 at 10 (May 2019 Google

 presentation). The Unified First Price Auction compared all bids for an impression, including

 from AdX, Open Bidding, and header bidding exchanges, “in the same auction with the same

 mechanics” in a first-price auction. 9/23/24 AM Tr. 96:25-97:6 (Korula); supra ¶ 261.




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        1033. UPR was a way to “deal with the issue of price fishing.” 9/24/24 AM Tr. 126:6-14

 (Milgrom). Under UPR, publishers could use Google Ad Manager to set the same price floor for

 all exchanges. 9/25/24 PM Tr. 173:2-7 (Hochberger) (UPR allows a publisher to “set the floor

 across the board” in Google Ad Manager); 9/23/24 AM Tr. 140:6-141:2 (Korula) (prior to UPR,

 publishers could use GAM to set floor prices for only AdX; floor prices for other exchanges had

 to be set within those exchanges). What they could not do was use Google Ad Manager to set a

 price floor for any exchange—including AdX—higher or lower than for other exchanges. 9/24/24

 PM Tr. 19:18-22, 33:1-9 (Milgrom); 9/11/24 AM Tr. 131:2-7 (Ravi) (“UPR refers to DFP not

 letting the publishers set different floor prices for different exchanges and buyers with the advent

 of this Unified First Price Auction.”). In other words, under UPR, a publisher cannot use DFP to

 discriminate against non-Google exchanges or buying tools in favor of AdX; nor can they use DFP

 to discriminate against AdX in favor of non-Google exchanges or buying tools. 54 9/23/24 AM Tr.



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   Plaintiffs’ expert Dr. Abrantes-Metz incorrectly described UPR as enabling publishers to set
 price floors for AdX that were lower than other exchanges, but not higher. See 9/18/24 AM Tr.

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 101:8-102.9, 113:1-11 (Korula); DTX-701 at 26 (2019 Google presentation explaining UFPA and

 UPR).

         1034. In addition to protecting advertisers from price-fishing, according to Plaintiffs’

 expert UPR also benefited advertisers by simplifying their bidding and reducing bidding errors

 because UPR created a single floor a buyer had to beat no matter what exchange it bid on. 9/11/24

 PM 19:7-16 (Ravi).

         1035. In parallel, UPR also provided benefits to publishers by simplifying the incredibly

 complex system for setting pricing floors that previously existed. 9/24/24 AM Tr. 126:6-14

 (Milgrom).

              1035.1. Before UPR, some publishers found it difficult to understand and optimize

                      price floors across the many different auctions that could be subject to

                      different—and    inconsistent—rules.    9/12/24    AM     Tr.   118:18-119:2

                      (Srinivasan). Google “regularly got feedback” from publishers complaining

                      about the complexity of the old pricing rules. 9/23/24 AM Tr. 104:4-15

                      (Korula).   For example, publishers would “misconfigure” rules and ask

                      Google why they were getting paid less than the floor price they attempted to

                      set. Id. UPR, in tandem with UFPA, simplified pricing rules and how they

                      applied so that sellers could be sure how the price floor would work.

              1035.2. Before 2019, publishers could configure pricing rules along “upwards of five

                      dimensions,” leading to up to “multiple thousands of rules” for some

                      publishers. 9/12/24 AM Tr. 118:18-119:17 (Srinivasan). Publishers might




 122:20-23 (Abrantes-Metz) (“My understanding of UPR is that it forbids publishers from flooring
 AdX higher within DFP, not to floor AdX lower.”).


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                     end up with “legacy rules that have been built up over multiple years that they

                     don’t know or understand how they operate.” Id. at 119:18-120:6 (Srinivasan).

                     Some publishers had set so many pricing rules across different dimensions

                     that the application of the overlapping rules could cause technical problems.

                     9/23/24 AM Tr. 101:8-102:9 (Korula). In addition, publishers sometimes lost

                     revenue from filtering bids that would otherwise have provided revenue.

                     9/12/24 AM Tr. 118:18-119:17 (Srinivasan).           The morass of pricing rules

                     could make it difficult to “reason through” which “pricing rule applied to any

                     given single auction,” so that bids that would have resulted in higher revenue

                     might inadvertently be filtered. Id. (Srinivasan).

        1036. By simplifying the dimensions along which publishers could set variable pricing

 rules and limiting the number of pricing rules a publisher could configure, UPR simplified the old

 system of pricing rules for publishers. 9/12/24 AM Tr. 119:18-120:6 (Srinivasan); DTX-705 at

 32 (2019 Google presentation: “Our new unified pricing rules will help publishers more easily

 manage floor prices across all non-guaranteed partners.”).

        1037. Creating a simpler and safer auction for advertisers also benefited publishers

 because increased advertiser participation “increases the amount of value that’s created by the

 auction and benefits both sides.” 9/24/24 AM Tr. 134:8-21 (Milgrom). Price fishing was not good

 “for either advertisers or publishers” because it “depress[ed] participation.” Id. at 134:14-21

 (Milgrom).

        1038. For example, at a meeting with publishers Google explained that one existing

 inefficiency in the auction was that “different floor prices for different sources of demand” could

 “compromise publisher revenue.” 9/12/24 AM Tr. 122:1-14 (Srinivasan). A higher bid may be




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 subject to a higher floor price and get filtered out of participating in the auction, so the variable

 price floors would hurt the publisher, too. Id. (Srinivasan). The publisher would lose out on the

 additional revenue it could have won. Id. (Srinivasan); see also DTX-701 at 16 (2019 Google

 presentation to publishers showing the effects of differing floor prices).

        1039. Unified Pricing Rules are now viewed as an industry best practice.

            1039.1. Brian O’Kelley was the founder of AppNexus, a major full stack competitor

                      to Google that has since been acquired by Microsoft. Deposition of Brian

                      O’Kelley Tr. 64:09-11, 210:21-24, 211:4-9, 211:13. O’Kelley has previously

                      complained that Google has used its “leadership position in ways that made it

                      very difficult for others compete.” Id. at 182:18-19, 182:22-183:2. Even so,

                      O’Kelley agreed with the principles behind the Unified Pricing Rules. In a

                      2017 blog post, O’Kelley wrote: “Rule 3: Publishers should set uniform hard

                      floors to create scarcity and maximize yield.” Id. at 281:17-282:04, 282:15-

                      16, 283:10-13. When asked to explain the sentence, he stated: “It means that

                      it shouldn’t matter which SSP you buy through.           The floor should be

                      consistent for a given advertiser.” Id. at 285:18-24.

            1039.2. Meta’s code of conduct requires that floor prices be equal for all bidders.

                      9/26/24 PM Tr. 158:16-159:3 (Farber).

            1039.3.




            1039.4. Xandr “recommend[s] floors to be equal across exchanges.” 9/18/24 AM Tr.

                      42:12-43:7 (Abrantes-Metz).




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            1039.5. Plaintiffs’ expert Professor Ravi conceded that, at the time he formed his

                     opinions in this case, he was not aware of whether other companies had similar

                     rules about uniform price floors. 9/11/24 PM 19:17-20 (Ravi); see also id. at

                     21:3-10 (Ravi) (“So whether it was appropriate, I don’t have that comparative

                     analysis with the other exchanges of what they were doing.”).

                2.      The Unified First Price Auction and UPR Were Always Going To Be
                        Implemented Together.

        1040. Google launched the Unified First Price Auction and Unified Pricing Rules at the

 same time because the two changes are necessarily linked to each other.

        1041. Plaintiffs presented no evidence at trial that Google ever considered actually

 launching the move to a Unified First Price Auction by itself or launching Unified Pricing Rules

 by themselves. See 9/24/24 AM Tr. 130:5-10 (Milgrom) (“My understanding is this happened at

 the same time. It was a package.”). Instead, the testimony and exhibits showed UFPA and UPR

 were always considered together: As the Google product manager responsible for the 2019 roll-

 out of the Unified First Price Auction and UPR testified, “we had always discussed Unified Pricing

 Rules in the context of also moving to a first-price auction.” 9/12/24 AM Tr. 61:16-23 (Srinivasan).

 A contemporaneous email sent by an engineering director during the 2019 roll-out stated:

 “removing floor-pricing options . . . has been perceived as an integral part of 1st-price migration.”

 PTX-762 at -291 (May 2019 Google email).

        1042. Google viewed the two changes as linked because the Unified Pricing Rules are

 part of the move to “a simpler and more consistent auction,” 9/12/24 AM Tr. 113:18-115:9

 (Srinivasan), and because, in the Unified First Price Auction, exchange-specific floors no longer

 serve the same purposes that they did in the old auction, id. at 115:11-116:8 (Srinivasan);

 9/24/2024 AM Tr. 130:11-132:1 (Milgrom). Price floors do not work the same way (1) in a



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 simultaneous auction as they do in a sequential process, and (2) in a first-price auction as they do

 in a second-price auction. As a result, in the UFPA publishers had less need for exchange-specific

 floors to drive revenue.

        1043. First, in a simultaneous auction publishers do not have the same incentive to set

 exchange-specific price floors. 9/24/2024 AM Tr. 131:12-132:1 (Milgrom). In a sequential

 process, it is “appropriate to have different floor prices” when the publisher offers an impression

 to one demand source while knowing that it has other potential buyers available. Id. at 130:11-

 131:9 (Milgrom). As Professor Milgrom explained, when publishers set price floors in a sequential

 process in which there is an alternative option that can be called, publishers “always want to set

 the floor price to be at least as high—higher than, actually, the—your outside option.” Id. at 52:24-

 53:10 (Milgrom). In the Unified First Price Auction, all exchanges competed simultaneously. No

 exchange was an “outside option” because bids were compared at the same time. The publisher’s

 incentive to set exchange-specific floors thus no longer existed. Id. at 130:11-131:9 (Milgrom);

 see also 9/11/24 PM 76:21-25 (Ravi) (publishers will get more revenue in the Unified First Price

 Auction than they would using “last look plus bid inflation”).

        1044. Second, “in a first-price world” exchange-specific floor prices are “unnecessary” to

 increase price pressure. 9/12/24 AM Tr. 113:20-115:9 (Srinivasan); 9/23/24 AM Tr. 101:2-7

 (Korula) (“it was an appropriate time for us to change how pricing rules worked to be relevant to

 the new auction type that we had”); see also PTX-699 at -260 (January 2019 Google email noting

 “less need for” price floors that vary by exchange “in the first-price world”); PTX-715 at -001

 (January 2019 Google email noting certain benefits to publishers from setting variable floors for

 different buyers are “reduced through the move to a 1P auction”).




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          1044.1. In a second-price auction, “the reserve price that publishers configure can add

                   price pressure in determining the final price that the bidder pays.” 9/12/24

                   AM Tr. 115:11-116:8 (Srinivasan).

          1044.2. In contrast, in a first-price world, “the floor price does nothing to determine

                   what the winning price of the impression” is. 9/12/24 AM Tr. 115:11-116:8

                   (Srinivasan). The winning bid must be higher than the floor price, but the

                   floor price does not otherwise influence the amount paid by the winner. “The

                   need to specify floor prices for different buyers” therefore “reduces

                   meaningfully in a first-price world.” Id. (Srinivasan); 9/24/24 AM 131:12-

                   132:1 (Milgrom) (“Floor prices play different roles in a first-price auction and

                   a second-price auction” because “in a second-price auction, if you raise the

                   floor price and there is only one bidder above the floor price, then you raise

                   the price that the bidder pays,” while in a first-price auction, the floor price

                   “has no effect on the price that’s paid.”); 9/18/24 AM Tr. 106:10-20

                   (Abrantes-Metz) (agreeing that “a rationale for differential flooring, e.g.,

                   across first price and second-price exchange auctions was eliminated with

                   Google’s move to UFPA”).

          1044.3. That distinction between how floor prices apply in a first-price world and a

                   second-price world is depicted below. Korula DX 1.31. In the second-price

                   auction, the amount the publisher receives varies based on floor price; in the

                   first-price auction, the amount the publisher receives remains the same.

                   9/23/24 AM Tr. 102:10-103:18 (Korula) (explaining Korula DX 1.31).




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        1045. Because price floors work differently in the UFPA, Plaintiffs cannot rely on

 documents that assess the impact of UPR without considering how UPR would work in the Unified

 First Price Auction.

            1045.1. Professor Ravi claimed that a Google document showed that removing

                        exchange-specific price floors would cause AdX bidders to win 16% more

                        impressions. 9/11/24 AM 132:14-133:23 (Ravi) (relying on PTX-705 at -085,

                        a January 2019 Google presentation). But that document is a presentation

                        from before UFPA was introduced, when AdX still ran a second-price auction,

                        and when different demand sources still competed sequentially.




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            1045.2. Similarly, Professor Ravi agreed that the two documents he cited to support

                    his opinion about the effects of UPR on rivals both dated from August 2019—

                    before UFPA actually launched. 55 9/11/24 PM Tr. 21:11-23:2 (Ravi).

            1045.3. As Professor Milgrom explained using a variation of the same “tree diagram”

                    that Professor Ravi did, 56 see DTX-578 at 2, in a pre-UFPA world one would

                    expect that exchange-specific price floors might be more impactful. In what

                    Plaintiffs call a “last look” set-up, an exchange-specific floor can set the price

                    that a winning bid in AdX’s second-price auction would pay, so setting a

                    higher AdX floor would drive publisher revenue even higher than what it

                    expected to receive from header bidding. 9/24/24 AM 86:1-90:8 (Milgrom).

                    As explained above, in a post-UFPA world, exchange-specific floors do not

                    have the same effect because the UFPA is a unified and first-price auction.

                    Supra ¶ 1044.

            1045.4. Professor Weintraub’s calculation of the effects of the Unified Pricing Rules

                    was based on a Google experiment that evaluated the effects of UPR operating



 55
    Of those two documents, one is an email thread between Google employees discussing data
 from Rubicon that Professor Ravi conceded he had no way to evaluate, 9/11/24 PM Tr. 22:8-25
 (Ravi), in which a Google employee expressly noted that “there are a ton of experiments going
 on” and only “a couple” were “potential end-state candidates.” DTX-774 at 3. The other is a
 discussion of experiments on the potential impact of UPR, one which resulted in “a slight (1-3%)
 decrease in impressions and revenue” for third-party exchanges and another that was “measured
 in the true second-price world.” DTX-768 at 1-2.
 56
   The two diagrams are slightly different. The diagram in PTX-705 at -085 breaks down “100%
 Eligible Queries” (defined as “Queries where any header bidding line items submitted an eligible
 bid, even if the top competing line item with the auction was not HB”), whereas the diagram in
 DTX-578 at 2 breaks down “100% Competing Queries” (defined as “Queries where a header
 bidding line item was the top competing line item from DFP”). “Competing queries” is a subset
 of “eligible queries.” The two lower categories descending from the “HB won” branch are the
 same.


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                     under a second-price auction.        9/16/24 PM Tr. 79:9-81:6 (Weintraub)

                     (discussing experiment run on September 3, 2019, before the unified first-

                     price auction fully launched). He did not analyze the effect of UPR in the

                     context of a first-price auction, which is what actually occurred and would not

                     yield the same result.

        1046. One publisher has suggested that publishers still need exchange-specific floors in

 the UFPA in order to compare the payout a publisher expects to receive from each demand source

 on an equal basis. PTX-1854 at 53:21-54:22 (transcript of April 2019 meeting between Google

 and publisher customers); 9/12/24 AM Tr. 76:2-7 (Srinivasan). That complaint fundamentally

 misunderstands how bids are compared. When bids are compared against each other in the UFPA,

 they are compared based on expected payout—meaning that the bids are already compared based

 on how much the publisher would receive after revenue shares were taken by ad tech tools. 9/12/24

 AM Tr. 76:2-20 (Srinivasan); see also PTX-1854 at 55:13-56:6.

                3.      Google Implemented UPR After Extensive Feedback and Engagement
                        with Publisher Customers.

        1047. Google announced its bundle of changes, including UPR, in the spring of 2019, but

 it did not launch those changes until September 2019. 9/12/24 AM Tr. 113:20-115:9, 130:14-23

 (Srinivasan). It implemented the changes in an incremental fashion, gathering feedback at the

 same time and making product changes in response. Id. at 83:20-24, 130:24-131:17 (Srinivasan).

 For example, the Unified Pricing Rules were first launched in alpha and open beta, and only small

 percentages of traffic were shifted to a first-price auction at a time. DTX-701 at 23, 49 (April 2019

 Google presentation); DTX-2530 at 1 (The Daily Mail participation in alpha testing of UPR).

        1048. Plaintiffs argue that publishers were dissatisfied that Google was removing

 exchange-specific floors, primarily relying on excerpts of an audio recording of an April 2019



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 meeting Google held to explain the bundle of UFPA and UPR changes to publishers and get their

 feedback. 9/12/24 AM Tr. 72:16-19, 75:14-18 (Srinivasan) (“some set of local publishers” “were

 frustrated that this was control that Google was wresting away from them”). At that meeting, some

 of the same publishers who have been involved in this trial expressed frustration with the

 announced changes, such as Stephanie Layser, who then worked at News Corp, id. at 72:6-19

 (Srinivasan), and Felix Zeng of Weather.com, who was included on Plaintiffs’ witness list and

 cited in their pre-trial Proposed Findings of Fact but not called, id. at 76:8-22 (Srinivasan). Of the

 “probably between 30 and 40” publisher customers in the room, id. at 67:16-21 (Srinivasan),

 Plaintiffs presented only the voices of a few who complained, not the views of any other publishers

 who did not speak up to complain, id. at 153:15-19 (Srinivasan).

        1049. Even more importantly, focusing on one video of a meeting with 30 to 40 publishers

 months before the full launch discounts Google’s extensive publisher outreach efforts after the

 meeting. Publisher feedback is a “critical part” of how Google operates its sell-side business and

 how it “develops all of” its tools. 9/20/24 PM Tr. 84:24-85:10 (Sheffer). Throughout the process

 of launching the UFPA and UPR, Google held conversations with publishers about the changes,

 incorporated publisher feedback into new auction functionalities, and received positive feedback

 from other publishers about the changes. 9/12/24 AM Tr. 130:24-131:17, 136:6-137:17, 138:1-

 139:16, 140:6-141:7 (Srinivasan).

        1050. In the months between the meeting with publishers in April 2019 and the full launch,

 Google held “multiple conversations one-on-one with a lot of” its “top” publisher partners in order

 to hear “their concerns in more detail in depth.” 9/12/24 AM Tr. 131:7-17 (Srinivasan). Through

 that “continued dialogue,” Google was able to get “to the root of a lot of the concerns that

 publishers had” and proposed changes to address those concerns. Id. (Srinivasan). This process




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 was consistent with Google’s practice of doing major rollouts in a “staggered manner” in order to

 “evaluate the impact on all of [its] customers” before completely rolling out changes. Id. at 133:6-

 18 (Srinivasan).

        1051. Responding to the initial “negative press” around Google’s announcement to

 publishers, Google’s publisher outreach before the full launch took multiple forms. PTX-1035 at

 -380 (September 2019 Google slide deck).

            1051.1. Google engaged in “extensive partner education through individual, more than

                     20 one-on-one [Product Manager] and pub meetings and group engagements,”

                     as well as “user groups around the benefits of the upcoming changes reaching

                     more than 400 pubs.” PTX-819 at -322 (August 2019 email); see also PTX-

                     1035 at -380.

            1051.2. Google “shared some aggregated experiment data with a very small set of

                     strategic partners to give them some visibility into experiment performance.”

                     PTX-819 at -323. Those results were “mostly neutral to mildly positive.” Id.

            1051.3. In total, Google participated in “hundreds of 1:1 meetings with top sell-side

                     and buy-side partners.” DTX-829 at 2 (November 2019 email).

        1052. The changes that Google adopted in response to publisher feedback included:

            1052.1. Google increased limits on the number of pricing rules a publisher can set.

                     9/12/24 AM Tr. 136:6-18 (Srinivasan). Now, publishers can have up to

                     50,000 advertisers named in pricing rules. 9/23/24 AM Tr. 109:5-111:2

                     (Korula).

            1052.2. Google extended pricing rules functionality to permit publishers to block

                     certain segments of inventory. 9/12/24 AM Tr. 136:6-18 (Srinivasan). This




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                    enabled publishers to leverage floor prices in order to “block certain segments

                    of demand that they deemed were undesirable.” Id. at 137:3-11 (Srinivasan);

                    see also id. at 137:12-17 (Srinivasan) (idea was “accelerated” in response to

                    “publisher feedback”).

           1052.3. Google extended pricing rules functionality to enable variable price floors for

                    specific advertisers. 9/12/24 AM Tr. 138:1-17 (Srinivasan); 9/23/24 AM Tr.

                    11:3-19 (Korula). This permitted publishers to prioritize their relationships

                    with certain advertisers by setting lower floors for those advertisers. 9/12/24

                    AM Tr. 138:1-17 (Srinivasan); see also id. at 138:19-25 (Srinivasan) (helped

                    publishers achieve one of the reasons they set differential price floors).

           1052.4. Google extended pricing rules functionality to enable variable price floors

                    based on ad format. 9/12/24 AM Tr. 139:1-14 (Srinivasan). Publishers

                    explained that they wanted the “flexibility and granularity” to “specify rules

                    differently for different formats of inventory.” Id. (Srinivasan).

        1053. By June 2019, following these discussions with sellers and proposed changes, a

 contemporaneous Google launch update described “positive feedback received from a variety of

 publishers, including the Washington Post, Vice Media, NYT, MailOnline, etc.” PTX-819 at -322

 (August 2019 email).

           1053.1. MailOnline, the online version of the Daily Mail: “Google’s move to first-

                    price auctions and unified pricing is an opportunity to improve transparency

                    throughout the ecosystem, including improved visibility of their own actions

                    and practices, which I believe should benefit everyone.” PTX-819 at -322;

                    see also PTX-1633 at -124 (2020 internal MailOnline email: “And the test




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                      result shows Google is doing a honest 1PA after UPR, which helped our rev.”);

                      DTX-2530 at 1 (Daily Mail participated in alpha testing for UPR).

            1053.2. Vice Media: “We welcome Google’s move to first-price auctions and Unified

                      Pricing Rules. These changes will help us simplify how we implement our

                      most advanced pricing strategies between our header bidding partners, Ad

                      Manager and exchange bidders. We believe this will help create a level

                      playing field for non-guaranteed transactions and help us review the

                      performance of our demand partners.” PTX-819 at -322.

        1054. By July 2019, there were only “a few unhappy publishers (including NewsCorp and

 the Guardian) who we continue to engage.” PTX-1035 at -380; see also 9/20/24 AM Tr. 131:9-

 133:13 (Lee) (Professor Lee relied on PTX-1035 to support his claims that publishers reacted

 negatively to UPR, but did not recall any specific documents post-dating July 2019 reflecting

 publisher dissatisfaction).

        1055. A Google experiment run before the full launch showed an “aggregate publisher

 indirect revenue impact of +1.4%,” with “positive impact on indirect revenue” for 76 of the top

 100 publishers and a “neutral-positive overall revenue impact” on the publishers with the highest

 impact from the change. PTX-1035 at -364-365 (September 2019 Google presentation).

        1056. The number of publishers that experienced negative impacts was limited—only

 approximately 5 in the top 100 experienced a greater than 5% revenue decline. PTX-1035 at -377;

 9/24/24 AM Tr. 135:16-24 (Milgrom).

        1057. Immediately after the full launch, in November 2019, Google observed that most

 sellers were either positively impacted or experienced no change. As one employee noted, “to




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 land everything in the neutral-to-positive arena for publishers and our advertisers is an amazing

 achievement.” DTX-829 at 1 (November 2019 Google email).

            1057.1. Google’s “top 500 publishers saw a median increase of 2.7% in auction

                      revenue.” DTX-829 at 2 (“Overall, publishers experienced a neutral to

                      positive impact in revenue.”). After the bundle of changes, Google Ads and

                      DV360 were “near neutral in revenue and CPD impact” and publishers made

                      more money. 9/23/24 AM Tr. 114:4-25 (Korula); DTX-829 at 2.

            1057.2. Publishers also saw increased revenue from header bidding as a result of these

                      changes, as header bidding competed more effectively with AdX in certain

                      segments of inventory following the shift to a first-price auction and the

                      deprecation of last look. 9/12/24 AM Tr. 144:12-23 (Srinivasan). After the

                      changes in 2019, publishers continued to use header bidding to drive yield.

                      9/12/24 AM Tr. 145:19-146:4 (Srinivasan).

        1058. One of the publishers that testified at trial explicitly testified that it was “in favor”

 of the change to UPR. Deposition of Ken Blom Tr. 73:5-6, 8 (“Q. But are you in favor of the UPR

 functionality? . . . A. Yes, we are.”). As the Chief Product Officer at Buzzfeed explained, his “ad

 op team and programmatic technical account managers like using” UPR because “changing bids

 all the time is a pretty laborious task.” Id. at 72:4-20 (Blom).

        1059. None of Plaintiffs’ experts examined evidence relating to the effects of UPR on

 publishers after the full launch of UPR with the UFPA. 9/11/24 PM Tr. 23:24-24:2 (Ravi) (“Q.

 You have no other information after August 2019 of any effect on rivals from the uniform pricing

 rules, right? A. Yes, I do not have any more. Yeah.”); 9/20/24 AM Tr. 131:15-134:2 (Lee);




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 9/16/24 PM Tr. 79:25-81:2 (Weintraub) (analyzing UPR experiment run before the shift to a first-

 price auction).

        1060. The ultimate impact of the Unified Pricing Rules on publishers was dynamic and

 unpredictable even to Google because publishers have full control of how they set their floor prices,

 which in turn dictates their revenues. 9/12/24 AM Tr. 133:19-134:10 (Srinivasan); see also

 9/27/24 AM Tr. at 97:6-8 (Wheatland) (“Q. It’s The Daily Mail that always chooses the amount

 of the price floor; yes or no? A. Yes.”).

        1061. Plaintiffs have not demonstrated that Google publisher customers were actually

 harmed by the Unified Pricing Rules. Nor have they even demonstrated that many Google

 publisher customers disliked the Unified Pricing Rules as they were finally officially launched in

 late 2019.

                   4.   After UPR, Publishers Could Still Use DFP to Favor Non-Google
                        Exchanges and Demand Sources.

        1062. Despite Plaintiffs’ suggestions otherwise, UPR did not completely take away

 publishers’ ability to discriminate between ad exchanges. To the extent publishers still sought to

 set exchange-specific price floors for their own reasons, they still could.

        1063. UPR only applied on Google Ad Manager, so publishers could still use non-Google

 tools to set different price floors for different exchanges. 9/24/2024 PM Tr. 19:35-20:5 (Milgrom).

 UPR had no effect on the flooring functions in other ad tech tools or what publishers did using

 those other, non-Google tools. Id. (Milgrom). Publishers can continue to set different price floors

 for different ad exchanges using the tools made available by other ad exchanges. Id. (Milgrom).

 The other, non-Google ad exchanges can apply those price floors prior to submitting bids into the

 Unified First Price Auction, after which the other ad exchanges are also subject to the price floors

 set by the seller in Google Ad Manager. Id. at 19:23-20:10 (Milgrom); id. at 33:13-21 (Milgrom).



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        1064. In addition, both before and after the Unified Pricing Rules, publishers could still

 use DFP to preference or discriminate against a particular exchange, including AdX -- they just

 could not do so through price floors.

            1064.1. Publishers had multiple ways to “give a preference to header bidding to allow

                     header bidding to win more” than AdX within DFP. 9/23/24 AM Tr. 111:22-

                     112:4 (Korula). Publishers retained the ability to artificially inflate—or

                     “boost”—header bidding bids within DFP. Supra ¶ 948. Google even

                     informed publishers seeking to advantage header bidding that they could do

                     this.   9/23/24 AM Tr. 111:22-112:23 (Korula).     For example, a publisher

                     could choose to enter a $3 winning bid from the header bidding auction as a

                     $4 bid in the UFPA. In effect, publishers could force AdX to beat a higher

                     price floor. 9/12/24 AM Tr. 134:19-135:11 (Srinivasan); see also PTX-819 at

                     -319 (August 2019 Google email: “In practice, for many publishers,” “they

                     apply a boost to header bidding bids.”). Though Google did not recommend

                     this strategy because it might result in publishers receiving “lesser revenue

                     than they otherwise would,” Google “did not do anything to prevent those

                     setups.” 9/12/24 AM Tr. 134:11-135:21 (Srinivasan).

            1064.2. Publishers could also choose to exclude an exchange from an auction entirely.

                     9/24/24 AM Tr. 132:7-133:3 (Milgrom). That included the ability to exclude

                     AdX. Supra ¶ 877.

            1064.3. Publishers could also offer post-auction discounts, which would favor a

                     chosen demand source by encouraging them to bid higher. 9/24/24 AM Tr.

                     132:7-133:3 (Milgrom).




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        1065. Publishers were aware of these options after UPR.       Of just the publishers that

 testified at trial, a former News Corp employee testified that a publisher could boost bids from

 header bidding or Prebid when inputted into DFP. 9/10/24 AM Tr. 96:25-97:8 (Layser). As she

 confirmed, publishers could insert “whatever value they wanted” in order to boost the header

 bidding bid. Id. at 97:23-98:6 (Layser).




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 VIII. When All the Reasonable Alternatives that Exist Are Considered, the Competition to
       Facilitate Display Advertising Matches Keeps Growing, Creating Dynamic and
       Rigorous Competition.

        1066. By any metric, the marketplace for ad tech tools has, with the benefit of such intense

 competition, experienced dramatic growth and innovation in the exact time period Plaintiffs allege

 monopolization, all while new entrants and technologies have constantly entered the marketplace.

 9/26/2024 AM Tr. 38:19-40:19 (Israel).

        1067. The display advertising industry exhibits all the qualities of a healthy, competitive

 market. Numerous ad tech providers, large and small, have successfully competed against Google.

 Although Google has transacted more transactions and spend, it has continued to lose market share.

 9/20/2024 AM Tr. 115:16-19 (Lee); 9/26/2024 AM Tr. 70:16-71:4, 96:9-97:1 (Israel). Pricing

 across the industry and of Google’s tools has been flat or declining, and Google’s prices have

 remained low despite increases in quality. 9/26/2024 AM Tr. 120:20-121:9, 157:21-158:18,

 165:24-168:1 (Israel).    Plaintiffs have not demonstrated that Google’s conduct caused

 anticompetitive effects in the display advertising industry, or even significant effects that have

 prevented rivals from competing successfully.

        A.      Ad Tech Providers—No Matter Their Size or Whether They Are New or
                Established Entrants—Can Successfully Compete Against Google.

        1068. As explained in the next section, throughout the history of display advertising,

 numerous competitors—both big and small—have been able to break into the display advertising

 market and attain sufficient scale to win market share from Google and others. 9/26/24 PM Tr.

 7:22-8:11 (Israel) (“There’s lots of small competitors who are continuing to compete at a smaller

 scale.”); 9/20/24 PM Tr. 84:2-8 (Sheffer) (“There are dozens, if not hundreds, of companies and

 pieces of technology that they can use across that entire ads ecosystem.”); DTX-1544A at 4 (2023




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 BidSwitch forward planning document describing “a much stronger reliance on trading” from very

 large demand-side platforms on much smaller “longer tail” supply side platforms).

        1069. Google’s conduct has not prevented rivals from competing effectively, and the

 attempts of their expert Professor Weintraub to demonstrate otherwise fail.

                1.      Numerous Ad Tech Providers Have Attained Sufficient Scale to
                        Compete Successfully Against Google.

        1070. According to Plaintiffs, Google’s conduct has “denied rivals scale” and created

 barriers to enter the display advertising market. 9/19/24 PM Tr. 46:6-16, 89:16-90:2 (Lee). But

 the evidence presented at trial shows that numerous rivals have been able to grow quickly and

 attain sufficient scale to successfully compete for ad spend.

            1070.1. For example, TikTok’s advertising business started from nothing in 2019 and

                     has experienced 50% annual growth since. DTX-1874. In 2022, 4% of total

                     display advertising dollars spent in the United States accrued to TikTok (as

                     compared to 10% to Google). DTX-1874.

            1070.2. As another example, not only has Amazon experienced 900% growth in just

                     five years, supra ¶ 466, but it also has immense potential to continue that

                     growth trajectory and attain even greater scale in display advertising. As a

                     2020 Google competitive analysis presentation noted, Amazon has “all the

                     building blocks to compete at Google/Facebook scale” with access to

                     personalized data from over 90 million Amazon Prime subscribers and over

                     300 million active customers that can be applied to its “quickly growing” ads

                     business. DTX-879 at 19. One external research group projected Amazon’s

                     ad business will grow to $50.6 billion by 2028. DTX-879 at 23.




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        1071. The ad tech providers that testified at trial all confirmed that they have been able to

 attain sufficient scale to compete effectively in display advertising.

        1072. Microsoft:

            1072.1. A 2023 Microsoft slide deck described Microsoft’s Xandr publisher ad server

                      as “an open and flexible platform with global scale trusted by the world’s most

                      sophisticated publishers across all channels and ad formats.” DTX-1524 at

                      14.

            1072.2. Microsoft has described its new combined offering post-Xandr acquisition as

                      “one of the world’s largest marketplaces,” with an “expansive” advertising

                      ecosystem that reaches over one billion users “across different audiences and

                      different formats.” DTX-1756 at 2 (Microsoft website landing page); see also

                      DTX-1384 at 2 (2022 Xandr in Microsoft Product Synergy outline); 9/23/24

                      PM Tr. 140:16-143:3 (John).

        1073. Index Exchange: Index Exchange can handle today “400 times more auctions than

 it could . . . ten years ago,” has “five to ten times” more publishers using its product, has seen a

 “five to ten times growth in revenue,” and employs over 550 employees. 9/9/24 PM Tr. 37:5-18

 (Casale). As Casale agreed, Index Exchange has “massive scale.” Id. at 39:4-8 (Casale).

        1074. The Trade Desk:

            1074.1. The Trade Desk has in recent quarters reported increases in revenue that

                      outpaced the rest of the digital marketing industry, just as it has every quarter

                      for the last few years. 9/12/24 AM Tr. 163:11-164:7, 164:8-165:22, 165:23-

                      166:9 (Dederick) (investments in connected TV and digital audio are driving

                      The Trade Desk’s top-line revenue growth).




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          1074.2. As it has stated to investors and analysts, The Trade Desk’s success is due in

                   large part to the fact that over the last four years, there has been a massive

                   shift in terms of where consumers are spending their digital time towards

                   Connected TV and digital audio. 9/12/24 AM Tr. 166:10-167:21 (Dederick);

                   9/12/24 PM Tr. 5:6-6:20 (Dederick).

          1074.3. When pitching to potential customers since as early as 2016, The Trade Desk

                   emphasized the scale of its company. DTX-319 at 11 (“Our ability to buy

                   inventory across all channels at scale, and all over the globe positions us as a

                   leader in the space, and an ideal DSP for large global brands.”); 9/12/24 PM

                   Tr. 21:24-22:9 (Dederick). The Trade Desk has grown “quite substantially”

                   since then. Id. at 24:24-25:5 (Dederick).

       1075. Criteo:

          1075.1. Criteo offers both buy-side products, such as a demand-side platform, and sell-

                   side products, such as a publisher ad server and a supply-side platform. DTX-

                   1420 at 12 (Criteo 2022 10-K).           Criteo grew from a company that

                   predominantly offered a buy-side tool to a full ad tech stack. Supra ¶ 359.

          1075.2. Criteo markets as a competitive advantage its access to proprietary commerce

                   data about users. Criteo’s access to this proprietary data gives it “exposure to

                   over $1 trillion in online sales” in 2022, reflecting approximately “$2.7 billion

                   worth of transactions per day on average” and delivering 1.8 trillion ads in

                   2022. DTX-1420 at 13 (2022 Criteo 10-K). Criteo has used these datasets to

                   develop AI tools that improve user targeting. DTX-1179 at 2 (2022 Criteo

                   presentation describing its “AI-built audiences” as a competitive advantage).




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            1075.3. Criteo’s direct integrations with publishers give it access to “~60% of web

                    [Daily Active Users] addressable through” the “thousands of publishers” in its

                    publisher network. DTX-1257 at 3-4 (2022 Criteo investor presentation);

                    Deposition of Todd Parsons Tr. 91:9-92:3.

        1076. OpenX: OpenX launched its ad exchange in September 2008, doubled its size

 within a few months, and experienced “encouraging growth” even in the “very early days.”

 9/17/24 PM Tr. 85:7-86:10 (Cadogan). By 2013, OpenX described itself as having “massively

 scalable architecture.” Id. at 86:15-22 (Cadogan). By 2017, OpenX had thousands of publisher

 and advertiser customers. Id. at 87:8-16 (Cadogan). Also by 2017, OpenX described itself as

 having a “massive scale global operation.” Id. at 87:17-88:14 (Cadogan).




            1076.1. Former CEO of OpenX, Tim Cadogan, complained that, despite OpenX’s

                    success in the exchange market, OpenX’s publisher ad server was not able to

                    successfully compete with DFP because OpenX lacked access to real-time

                    bids from AdX. 9/17/24 PM Tr. 46:4-48:16, 48:17-49:3, 50:12-52:20, 54:18-

                    55:19 (Cadogan).

            1076.2. That post hoc complaint is belied by Cadogan’s own testimony and OpenX

                    contemporaneous business documents documenting the numerous reasons

                    OpenX’s publisher ad server did not succeed that are unrelated to Google. As

                    Cadogan agreed, “there were a couple of areas” where OpenX was “probably

                    not quite so good” as DFP. 9/17/24 Tr. 48:17-20 (Cadogan). For example,




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                     OpenX’s ad server had “low levels of sales focus and marketing support”;

                     “video ad serving not supported properly”; “significant discrepancies

                     encountered”; “lack of support for flexible ad sizes”; and various other reasons

                     for product churn. Id. at 74:5-12, 77:4-15, 77:19-79:17 (Cadogan). At the

                     time, OpenX did not list as a reason for its lack of success in the publisher ad

                     server market the inability to access real-time AdX bid amounts. Id. at 79:18-

                     20 (Cadogan); see also DTX-181 at 2 (2013 OpenX internal email stating

                     OpenX would “reduce” its “investment in and exposure” to the ad server

                     business because “ad serving has lost its luster strategically and is more

                     commoditized competitively”).

        1077. Meta Audience Network: Brian Boland, a former Vice President at Facebook,

 testified that Meta Audience Network “was incredibly successful at attracting app publishers to its

 platform” and at “selling mobile app ads to advertisers.” 9/13/24 PM Tr. 145:12-17 (Boland).

 Meta Audience Network became “one of the fastest growing businesses at Facebook,” eventually

 serving ads to 1 billion people each month and attaining “a lot of scale.” Id. at 144: 13-21, 145:15-

 17 (Boland).

        1078. PubMatic: PubMatic represents to “investors, potential investors, and analysts” that

 it is “global-scaled and profitable.” 9/12/24 PM Tr. 136:12-15 (Goel). It has also represented that

 PubMatic has “grown roughly at twice the rate of growth in the market.” Id. at 135:20-24 (Goel).

        1079. Equativ: Equativ offers an SSP and a publisher ad server, and its sales revenue has

        over the last 3 years. Deposition of Arnaud Creput Tr. 81:8-11 (sealed testimony referenced

 at 9/13/24 PM Tr. 87:25-88:3 (Creput)). Today, Equativ’s SSP conducts approximately

 auctions a day. Id. at 81:22-24 (Creput) (sealed testimony referenced at 9/13/24 PM Tr. 88:9-11




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 (Creput)). In 2022, Equativ reported a net recurring revenue of 92 million euros, a “record” for

 the company. 9/13/24 PM Tr. 88:5-8 (Creput). And in 2022, Equativ increased its employee count

 by “a little over 100.” Id. at 88:13-18 (Creput). Equativ now connects to “55% of the top 1,000

 biggest websites worldwide.” PTX-1674A at -009 (2023 Equativ deck describing its products).

        1080. Vox Media: Vox Media, a publisher, launched a suite of proprietary ad tech tools

 called Concert that connect advertisers to “premium inventory” on Vox’s own properties and third-

 party publisher properties. 9/27/24 AM Tr. 10:16-25 (Pauley).

            1080.1. Concert has unlocked access to inventory from a “scaled” set of “known

                     publishers,” including NBCUniversal, Penske Media, Conde Nast, and others.

                     9/27/24 AM Tr. 10:16-25 (Pauley). By connecting to these publishers, the

                     Concert ad tech tools enable advertisers to “get more scale” “for their

                     advertising investment.” Id. at 11:9-18 (Pauley). These tools have provided

                     “continued business growth opportunity for Vox,” which has “the ability to

                     build more scale with Concert.” Id. at 11:5 -8, 11:19-21 (Pauley).

            1080.2. In the first six months of 2021, Concert revenue more than doubled, exceeding

                     the expected growth rate. 9/27/24 AM Tr. 17:12-17. 18:6-12 (Pauley); see

                     also DTX-1813 at 1 (2021 Vox document indicating Concert was “in pursuit

                     of exceeding $50mm in net revenue”). Concert has won business from Google,

                     including setting up a private marketplace in the Concert SSP due to

                     dissatisfaction with AdX and moving a Hulu deal over to Concert from AdX.

                     9/27/24 AM Tr. 16:17-17:11 (Pauley); DTX-1496 at 9, 12 (2022 Vox

                     document reporting Vox’s success in winning competition from AdX).

                     Ultimately, Vox has viewed Concert as a “success” with an “upward trajectory




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                      of growth via revenue.” 9/27/24 AM Tr. 19:9-14 (Pauley); see also DTX-

                      1813 at 2 (2021 Vox document stating Concert has also helped Vox Media

                      “expand its advertiser base with new and smaller advertisers”).

        1081. Professor Weintraub testified that Google’s scale is significantly larger than that of

 its competitors, but his analysis overstated Google’s scale relative to its competitors’ in two

 important ways:

            1081.1. First, Professor Weintraub excluded some of the largest rivals that compete

                      significantly with Google, including Meta and Amazon. 9/16/24 PM Tr.

                      49:13-15 (Weintraub).

            1081.2. Second, Professor Weintraub confined his analysis to “open-web display”

                      transactions, excluding the other channels and formats that even the

                      competitors he considered transact in. 9/16/24 PM Tr. 49:16-25 (Weintraub).

        1082. Moreover, even if Google has more scale, Plaintiffs overemphasize the importance

 of scale to compete for ad spend. As Plaintiffs’ own witness Lowcock, who has extensive

 experience with advertising agencies, explained, advertisers should not be focused solely on “scale”

 because “the more inventory you add to the pool, the more sites you add and the less actual

 diligence that occurs in adding sites to that pool.” 9/9/24 AM Tr. 110:8-111:13 (Lowcock). In

 other words, ad tech tools can distinguish themselves by offering not just a wide set of inventory,

 but also a high-quality set of inventory.

        1083. This long history of competition and shifting market shares in the display

 advertising industry is not consistent with a market so dominated by one competitor that rivals are

 unable to attain the requisite scale to effectively compete. Google’s share of ad tech tool spending

 has been on a steady decline. Supra ¶ 576. Even as the amount of ad spend and volume of queries




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 on AdX have increased between 2015 and 2022, AdX’s win rate during this same time period has

 decreased from almost 50% to under 20%. 9/16/24 PM Tr. 52:3-9 (Weintraub); see also PTX-

 1315 (Weintraub Figure 7: Share of Impressions Won Among Bids Submitted (Win Rate) For

 AdX and Rival Exchanges); PTX-1316 (Weintraub Figure 8: Number of Queries Where the

 Exchange Submitted at Least One Bid); PTX-1317 (Weintraub Figure 9: Monthly Advertiser

 Spend for AdX and Rival Exchanges).

               2.      Plaintiffs Have Not Demonstrated that Google’s Conduct Prevented
                       Rivals from Attaining Sufficient Scale to Compete.

        1084. Plaintiffs’ expert Professor Weintraub failed to show that—despite the evidence of

 significant successful competition from rivals—Google’s conduct has deprived rivals of the scale

 they need in order to compete.

        1085. As an initial matter, merely analyzing the impact of Google’s conduct on rivals

 does not demonstrate harm to competition. Plaintiffs must demonstrate that Google’s conduct had

 some effect that made it “so other firms . . . can’t compete” or otherwise “undermine[d] the

 competitive process.” 9/26/24 PM Tr. 7:10-21 (Israel) (“Competition by its very nature is rivals

 competing with each other. Some win; some lose. So harm to rivals is an inherent part of the

 competitive process”).   As Dr. Abrantes-Metz agreed, “providing a better product is pro-

 competitive” and “doesn’t harm competition” even if it “harms the other rivals.” 9/16/24 PM Tr.

 117:20-118:5 (Abrantes-Metz).

        1086. Professor Weintraub did not evaluate the effects of Google’s conduct on

 competition. 9/16/24 PM Tr. 41:13-17 (Weintraub). Nor did he account for the effects of Google’s

 conduct on the quality of its products. Id. at 42:4-12 (Weintraub). Instead, Professor Weintraub

 opined only that certain of Google’s conduct “decreased rival scale and, therefore, diminished

 rivals’ ability to compete.”     Id. at 21:11-16, 41:13-17 (Weintraub).   Professor Weintraub



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 exaggerated “the scale needed to achieve certain benefits” and gave unreliable calculations of the

 effects of Google’s conduct on rivals’ scale. 9/24/24 AM Tr. 32:8-13 (Milgrom) (“Economies of

 scale are real, but they’re not unlimited.”).

        1087. First, Professor Weintraub opined that Google’s rivals cannot effectively compete

 because they do not have sufficient access to data at scale. 9/16/24 PM Tr. 11:15-12:4 (Weintraub).

 But the evidence, including evidence cited in Professor Weintraub’s own report, shows that

 Google’s rivals are able to access sufficient data to attain scale.

        1088. There are two forms of data that are important to ad tech providers: targeting data

 and transaction data. Targeting data refers to the data that facilitates advertisers’ purchasing of

 display advertising by describing the particular user who will be viewing an impression. 9/20/24

 AM Tr. 29:12-30:7 (Lee); 9/12/24 PM Tr. 72:24-73:12 (Goel).

        1089. The ability to amass scale in targeting data is far from unique to Google. For

 example, a recent trend in ad tech is the increasing use of first-party data—that is, information that

 a company collects directly from its own users or website visitors—to improve targeting. 9/27/24

 AM Tr. 12:11-18 (Pauley). Many companies have access to valuable first-party data collected

 from users in their ordinary course of business. Ad tech providers market as a competitive

 advantage their ability to leverage first-party data.

            1089.1. Vox’s “unique” first-party audience data is gathered across a broad portfolio

                      of content and is there “a part of the proposition” of the value of its ad tech

                      tools. 9/27/24 AM Tr. 12:4-24 (Pauley).

            1089.2. Quad, a media agency, owns a data stack that represents 89% of United States

                      households for purposes of targeting. 9/9/24 AM Tr. 109:3-6 (Lowcock).




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          1089.3. Following Microsoft’s acquisition of Xandr, Microsoft recognized that it had

                  “Unique Data,” and began “working on a project to unify Microsoft’s first-

                  party data and Xandr’s third-party data” in order “to join the data to scale the

                  audience.”    9/23/24 PM Tr. 139:7-140:15 (John); DTX-1376 at 2-4

                  (November 2022 “Xandr in Microsoft – Product Synergies” deck).

          1089.4. The Microsoft Audience Network advertises: “There are many advantages to

                  partnering with an industry-trusted partner like Microsoft Advertising. Still,

                  none are more significant than access to our first-party proprietary data—

                  which nobody else can claim.” DTX-1303 at 2 (2022 Microsoft blog post

                  titled “10 reasons why Microsoft Audience Network is a must-buy”).

                  Microsoft’s first-party data includes user information from properties such as

                  Outlook.com, Microsoft Edge, and LinkedIn. Id.

          1089.5. Retailers with digital presences have access to valuable first-party data

                  collected from customers, such as customers’ purchase history. Retailers’

                  first-party data have provided them a competitive advantage in advertising, as

                  they can implement data-driven ad tech solutions that are based on this first-

                  party data. 9/25/24 PM Tr. 55:1-20 (Stewart); DTX-1132N at 12 (2021

                  Google presentation stating online retailers like Home Depot, Target, CVS,

                  and Wal-Mart are significant competitors in ad revenue growth); 9/25/24 AM

                  Tr. 54:24-55:8 (Stewart) (Wal-Mart competes with Google Ads and DV360).

                  One former Google employee noted that Amazon has “the best data for detail

                  on their O and O.” Deposition of Eisar Lipkovitz Tr. (Litigation) at 211:13-




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                     212:02; see also DTX-754 at 11 (2019 Google competitive analysis of

                     Amazon).

        1090. An ad tech provider like Criteo can also successfully amass targeting data without

 itself operating digital properties. Internal Criteo documents describe Criteo’s targeting ability

 as a competitive advantage, or “How Criteo Wins” against Meta, Google Ads, and other

 competitors. DTX-1179 at 2-5 (2022 Criteo deck assessing audience competition).

        1091. Ad tech providers also rely on transaction data, i.e., data about historical

 transactions, to improve the performance of their tools, including by training algorithms to better

 predict bids, performing experiments to develop and test new innovations, and making a firm more

 cost efficient. 9/16/24 PM Tr. 13:2-13 (Weintraub).

        1092. Both large and small ad tech providers are able to use transaction data to run

 experiments and improve their products. Even smaller ad tech providers can still achieve the

 necessary sample size to run experiments by operating with different percentages of a company’s

 daily data or over a longer period of time. 9/24/24 AM Tr. 138:2-12 (Milgrom).

        1093. Google’s competitors have stated that they have accumulated significant amounts

 of transaction data. E.g., 9/9/24 PM Tr. 39:9-40:11 (Casale) (Index Exchange had 4.5 petabytes

 of bid data in 2016);



        1094. In the face of evidence that numerous competitors have sufficient data to attain

 scale, Professor Weintraub presented only his simulation purporting to calculate that smaller

 exchanges would take 15 days or 30 days to run the kinds of experiments that Google can run in 1

 day. 9/16/24 PM Tr. 14:12-15:12 (Weintraub).

        1095. As the Court observed, Professor Weintraub’s “scale” analysis was not reliable:




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          1095.1. First, Professor Weintraub’s opinion was not based on a single real experiment

                  run by Google or a competitor. 9/16/24 PM Tr. 57:19-58:13 (Weintraub); see

                  also id. at 108:12-15 (Weintraub) (“The Court. Well, the problem is that it’s

                  not based on a specific experiment that was done; it’s a conglomerate of them.

                  And I think that gives it less reliability. Move on to something else.”).

          1095.2. Second, as Google’s expert Professor Milgrom explained, Professor

                  Weintraub’s analysis “exaggerated the importance of scale economies.”

                  9/24/24 AM Tr. 138:2-12 (Milgrom). The smaller an effect is, the longer it

                  takes to detect. Id. at 136:24-137:7 (Milgrom). To arrive at his conclusion

                  that other exchanges would require 15 days or 30 days to run an experiment,

                  Professor Weintraub arbitrarily required that the experiment be able to detect

                  an “imaginary,” very small effect size of 0.05%. In reality, of all of the actual

                  tests and experiments considered by Professor Weintraub, the smallest effect

                  size was 1.09%. Id. at 136:21-137:11 (Milgrom). As Professor Milgrom

                  calculated and shown below, Milgrom DX 1.15, a smaller exchange would

                  take only 44 minutes (OpenX) or 90 minutes (Sovrn) to run that experiment

                  and achieve the same effect size of 1.09%—not, as Professor Weintraub

                  suggested, 15 days or 30 days. Id. at 137:12-138:1 (Milgrom); Milgrom DX

                  1.15 (contrasted with Plaintiffs’ Demonstrative N).




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               1095.3. Professor Milgrom concluded that Plaintiffs “had exaggerated the importance

                       of scale economies because, at this scale of OpenX or Sovrn, it doesn’t take

                       very long to run these experiments. It takes even less time for Google, but

                       this is not an economically-significant disadvantage.” 9/24/24 AM Tr. 138:2-

                       12 (Milgrom).

        1096. Professor Weintraub also presented calculations of the amount that certain forms

 of Google’s conduct allegedly reduced rivals’ scale, but those calculations have virtually no

 probative value.

        1097. For one, the assumptions underlying Professor Weintraub’s calculations are

 unreliable.

               1097.1. Professor Weintraub attempted to extrapolate annual effects on rivals based

                       on short-run experiment results conducted over days or weeks. 9/16/24 PM

                       Tr. 91:17-92:9, 92:18-24 (Weintraub).




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          1097.2. Professor Weintraub calculated the effects of the Unified Pricing Rules based

                  on a Google experiment that evaluated UPR under a second-price auction.

                  9/16/24 PM Tr. 79:25-81:2 (Weintraub). But UPR was launched at the same

                  time as Google’s shift to a first-price auction, and the effect of UPR would be

                  different in a first-price auction than in a second-price auction. Supra ¶¶ 1042-

                  1045.

          1097.3. For all of his calculations based on Google experiments, except for Project

                  Poirot, Professor Weintraub performed two calculations based on different

                  assumptions, but he could not even express an opinion in his report as to

                  whether the larger or the smaller set of numbers was correct. 9/16/24 PM Tr.

                  69:20-70:5 (Weintraub).       For the analysis returning larger numbers

                  (“substitution from rival exchanges” analysis), Professor Weintraub assumed

                  that every impression won by Google as a result of a product improvement

                  was at the expense of a rival exchange. Id. at 26:20-27:6, 65:6-14 (Weintraub).

                  His alternative calculation (“GAM June 2023” analysis) was based on a month

                  of real Google Ad Manager auction data and assumed that the only

                  impressions gained at the expense of a rival were those in which AdX won

                  but the second-highest bid was actually from a non-AdX exchange. Id. at

                  30:21-31:15, 65:15-19, 66:5-9 (Weintraub).

          1097.4. The two sets of calculations differ significantly: the smaller calculation

                  showed effects on rivals that are only 14% to 19% of the results of the other

                  calculation. 9/16/24 PM Tr. 25:2-15, 28:9-20, 29:18-25, 31:10-15, 68:4-8,




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                      71:3-6, 71:21-23 (Weintraub). Compare PTX-1326; PTX-1328; PTX-1331,

                      with PTX-1327; PTX-1329; PTX-1332.

        1098. Even setting aside the flaws in Professor Weintraub’s calculations, the numbers he

 arrived at have little significance because of the limited scope of Professor Weintraub’s assignment.

 Professor Weintraub did not actually opine on the minimum viable scale of an exchange, or “the

 scale sufficient for a firm to operate profitably in a medium to long term.” 9/16/24 PM Tr. 52:14-

 25 (Weintraub). In other words, he had nothing to say about whether the purported effects on

 rivals he calculated are even significant enough to affect a rival’s ability to compete.

        1099. If anything, the evidence suggests that even the largest effects Professor Weintraub

 calculated—on the order of millions of dollars and billions of impressions annually, PTX-1333

 (Weintraub Table 8: Effects of Google’s Conduct on Impressions of Rival Exchanges); PTX-1334

 (Weintraub Table 9: Effects of Google’s Conduct on Advertiser Spend of Rival Exchanges)—are

 relatively insignificant. Sources cited and quoted by Professor Weintraub in his report state that

 Google’s rivals operate on many times that scale. 9/16/24 PM Tr. 54:10-23 (Weintraub).




            1099.3. As another example of the relatively large size of the display advertising

                      market, The Trade Desk refers to the total addressable global display




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                      advertising market to be “approaching a trillion-dollar advertising market.”

                      9/12/24 PM Tr. 17:18-23 (Dederick).

        1100. Moreover, Professor Weintraub did not account for the effects of Google conduct

 that have increased rivals’ scale. Professor Weintraub did not provide any opinion as to whether

 Google’s conduct net benefited or hurt the scale of rival exchanges.

            1100.1. For example, by Professor Weintraub’s own calculations DV360 has

                      contributed 3.6 trillion impressions and $8.3 billion of ad spend to rival

                      exchanges from 2017 to 2022 alone. 9/16/24 PM Tr. 62:15-64:21 (Weintraub).

                      As of 2018, 78% of spend by DV360 and AwBid on third-party exchanges

                      was on inventory that Google already had a relationship with. PTX-625 at -

                      410 (2018 Google document comments). In other words, a significant amount

                      of the spend Google’s buying tools contributed to third-party exchanges was

                      for inventory already available to Google through its own tools.

            1100.2. As another example, according to a document relied on by Professor

                      Weintraub, 9/16/24 PM Tr. 93:5-8 (Weintraub), Project Poirot actually

                      increased revenues for a rival exchange, AppNexus, by 32.7% for inventory

                      sold through a “true second price auction.” PTX-860 at -685 (2018 Google

                      design document).

        1101. To summarize, Professor Weintraub’s limited opinions regarding the effects of

 Google’s conduct on rivals’ scale are inconsistent with the weight of evidence presented at trial,

 rest on flawed calculations, and ultimately have little to nothing to say about the effects of Google’s

 conduct on competition.




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        B.      All of the Metrics for a Competitive Market—Expanding Output, Improved
                Quality, Flat or Declining Prices, and Google’s Declining Market Shares—
                Demonstrate that the Ad Tech Marketplace Remains Competitive.

        1102. Examining the metrics that are relevant to competition, output has been expanding

 while prices have been declining and quality has been increasing—all indicative of an industry

 that is thriving. 9/26/24 AM Tr. 157:21-158:18 (Israel) (“I don’t see any evidence of a market that

 has been subject to the exercise of monopoly power or been harmed.”). Google has continued to

 invest in and improve the quality of its products, while keeping its prices flat or declining at the

 same time that quality is improving.

        1103. Given this evidence, the only way to demonstrate harm would be to compare the

 existing conditions to a but-for world to show that but-for Google’s conduct, market conditions

 would have been even better. 9/26/20 AM Tr. 158:19-159:11 (Israel). Plaintiffs, however, failed

 to put forward any specific but-for world. Id.; 9/20/24 AM Tr. 146:4-147:25 (Lee) (“I’m not

 putting forward a specific but-for world” for any of the alleged conduct).

                1.      Output Is Expanding, Including as a Result of Google’s Innovations,
                        While Google’s Market Share Is Declining.

        1104. The output of digital display advertising facilitated by ad tech has increased

 eighteen-fold from 2008-2022, with spending growing from $7.6 billion in 2008 to $136.7 billion

 in 2022—an average annual growth rate of 22.9 percent. DTX-1828 (based on eMarketer data);

 PTX-1249 (Lee Figure 78: Growth in US display, native, and video ad spending (web and app),

 2008-2022); 9/26/24 AM Tr. 168:10-169:5 (Israel) (“this kind of explosion” of “output” is an

 indicator of “a very healthy industry” and “to show harm, you have to show that it should have

 been higher”); cf. 9/12/24 PM Tr. 16:11-18:2 (Dederick) (The Trade Desk’s Chief Revenue Officer

 testified that The Trade Desk looks at a nearly trillion-dollar Total Addressable Market for all

 advertising, including “video, display, social, and digital out-of-home”).



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        1105. Not only has output been expanding exponentially, it has been beating industry

 projections. DTX-1884; 9/26/24 AM Tr. 169:24-170:25 (Israel) (if “Google did something that

 hindered the industry, I would expect to see output fall below projections. But output has

 consistently been above projections”).

        1106. Output has increased even within Plaintiffs’ artificially defined markets.

            1106.1. For example, by the calculations of Plaintiffs’ own expert, revenues of ad

                     exchanges from “indirect open-web display advertising” in the United States

                     have doubled from $50 million a month in January 2018 to over $100 million

                     a month by the end of 2022. PTX-1262A; see also PTX-1239A; 9/20/24 AM

                     Tr. 124:9-126:4 (Lee).

            1106.2. Similarly, by Plaintiffs’ expert’s own calculations, the number of “open-web

                     display impressions” served monthly by publisher ad servers in the United

                     States has risen from around 450 billion in January 2018 to almost 600 billion

                     by the end of 2022.       PTX-1277A; see also PTX-1236A (worldwide

                     impressions served by publisher ad servers have increased from

                     approximately 1.3 trillion impressions a month in January 2018 to over 1.6

                     trillion impressions a month by the end of 2022); 9/20/24 AM Tr. 126:11-

                     127:16 (Lee).

        1107. As Plaintiffs’ own expert Dr. Abrantes-Metz testified, output expansion is

 procompetitive. 9/18/24 AM Tr. 51:23-52:11 (Abrantes-Metz). While Professor Simcoe testified

 that one would expect to see “reductions in output” “when prices are higher than they would be in

 a competitive market,” 9/18/24 PM Tr. 9:17-10:17 (Simcoe), on cross examination, he




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 acknowledged that there has been a net output increase in “open-web display advertising”

 impressions, 9/19/24 AM Tr. 71:11-14 (Simcoe).

        1108. Google has contributed to the output expansion in the display advertising market.

 For example, innovations in real-time bidding increased spending on display advertising because

 real-time bidding promoted competition among advertisers for a particular impression. Supra ¶¶

 111. Other product innovations such as the Unified Pricing Rules and sell-side Dynamic Revenue

 Sharing have enabled matches that otherwise would not have happened. Supra ¶¶ 965, 974;

 9/16/24 PM Tr. 72:24-73:10 (Weintraub) (agreeing that UPR may have expanded output).

        1109. Google has also contributed to output expansion in the ad tech ecosystem by

 investing in initiatives that promote trust across the ecosystem, which in turn increases display

 advertising to the benefit of all participants. In the aftermath of the 3ve ad fraud scheme, which

 represented an “existential” threat to Google’s ads business and the display advertising ecosystem,

 Google made a conscious effort to “grow the pie” for all participants in the ecosystem. 9/24/24

 PM Tr. 73:17-74:6 (Bjorke); DTX-476 at 5 (2017 Google slide deck proposing long-term strategy

 to address ad fraud). Google would “address ad fraud across the entire ecosystem” rather than just

 “grow the slice” for Google by addressing ad fraud in its “own tools alone,” DTX-476 at 5—even

 though building safety and security for the entire ecosystem would be “clearly more work for

 Google,” 9/24/24 PM Tr. 75:21-25 (Bjorke).

        1110. Google has decided to build the ecosystem, not just the quality of its own tools, for

 multiple reasons.

            1110.1. First, any ad tech business depends on user trust and confidence in the entire

                     ecosystem. Otherwise, advertisers would not want to invest and would not

                     shift their budgets to display advertising from more traditional forms of




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                     advertising like cable television   9/24/24 PM Tr. 73:17-74:6, 74:19-75:20

                     (Bjorke); DTX-476 at 6 (“Hypothesis: Cleaning up Ecosystem far better than

                     just improving [Google’s products].”).

            1110.2. Second, in order to keep Google’s own systems safe, it needs to “cut off

                     funding for the bad guys,” which in turn requires addressing ad safety and

                     security across the ecosystem. So long as bad actors continue to make money,

                     they continue to innovate and evade detection, making it even harder for

                     Google to protect its own network. 9/24/24 PM Tr. 74:19-75:20 (Bjorke); see

                     also id. at 73:17-74:6 (Bjorke).

            1110.3. Third, Google’s pursuit of this strategy benefits Google’s own customers, who

                     can connect to non-Google products. As Bjorke explained: “if we couldn’t

                     help clean up the whole ecosystem, there would be so much fraud in that third-

                     party ecosystem.    Even if we were able to keep our closed ecosystem

                     reasonably clean, we would be exposed when” Google advertisers “bought

                     from third-party exchanges.” 9/24/24 PM Tr. 76:1-8 (Bjorke).

        1111. One way that Google has contributed to the safety and health of the entire

 ecosystem, not just its own tools, is the development of Ads.txt (“Authorized Digital Sellers”), a

 tool to fight fraud that Google shared with the entire display advertising ecosystem. 9/19/24 PM

 Tr. 19:15-20:13 (Levitte).

            1111.1. Ads.txt is a simple text file that publishers can upload to publicly list the ad

                     tech providers that are actually authorized to sell their inventory. Advertisers

                     can reference the file to ensure that they are buying a publisher’s inventory




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                      only from the publisher’s authorized partners. 9/24/24 PM Tr. 77:7-19

                      (Bjorke).

            1111.2. To view a publisher’s ads.txt file, anyone can go to a publisher’s website and

                      type in “/ads.txt” after the web address. For instance, to check the authorized

                      sellers     for   the   Staunton   News    Leader,    a   user   can    go   to

                      “www.newsleader.com/ads.txt.” 9/24/24 PM Tr. 78:8-25 (Bjorke); Bjorke

                      DX 1.5; Bjorke DX 1.6, Bjorke DX 1.7; Bjorke DX 1.8. The Staunton News

                      Leader’s ads.txt page lists several authorized sellers and resellers of the News

                      Leader’s ad inventory, including Google and many of its competitors:

                      Facebook, Rubicon, Yahoo, AppNexus, Taboola, PubMatic, Criteo, and Index

                      Exchange. 9/24/24 PM Tr. 79:7-12 (Bjorke); Bjorke DX 1.5; Bjorke DX 1.6,

                      Bjorke DX 1.7; Bjorke DX 1.8.

        1112. Google developed the ads.txt standard and helped to drive its adoption across the

 industry, including engaging with many publishers, such as the Financial Times, to explain and

 test the standard with them. 9/24/24 PM Tr. 77:3-6, 79:13-80:8, 84:12-17, 86:2-11 (Bjorke).

        1113. Later, Google also identified the need for and co-authored app-ads.txt, the app

 version of ads.txt that performs the same function but for apps. DTX-1016 at 36 (2020 Google

 slide deck discussing ads.txt).

        1114. Ads.txt has had a significant effect on the display advertising ecosystem,

 eliminating “a $50 billion fraud opportunity.” 9/24/24 PM Tr. 80:9-14 (Bjorke). Ads.txt helped

 eliminate domain misrepresentation, which bad actors 3ve and Methbot used to impersonate

 legitimate publishers. Id. at 77:20-78:7 (Bjorke). As explained by Bjorke, “this little simple text

 file has basically closed the door on this type of fraud. Domain misrepresentation as a fraud vector




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 no longer exists in this space.” Id. at 80:9-14 (Bjorke). After the implementation of Ads.txt, it

 would have been impossible for 3ve and Methbot to operate the way they did. Id. at 80:15-19

 (Bjorke).

        1115. Google has also expanded output by launching user privacy initiatives that enhance

 trust in the ads ecosystem, which in turn increases display ad spending. 9/25/24 PM Tr. 128:8-11

 (Borgia); see also DTX-1132N at 15 (2021 Google slide deck stating users expect privacy and

 have concerns about “risks of data collection” may block ads).

        1116. Since the earliest years of its display ads business, Google has prioritized the

 privacy of digital content viewers. DTX-101 at 5 (2012 Google email: “Lead the industry in terms

 of user-privacy innovations. Most importantly, users should remain firmly in control, for example,

 with the ability to easily block unwanted ads.”).

        1117. Following that principle, in 2023 Google launched My Ad Center, a user tool to

 control the types of ads they see and limit the information Google’s ad tech tools can use to serve

 ads to them. DTX-1182 at 2 (2022 Google Ads Safety Report); 9/25/24 PM Tr. 127:4-12, 130:6-

 13 (Borgia).

             1117.1. Through My Ad Center, a user can turn off ads personalization entirely.

                     9/25/24 PM Tr. 127:24-128:7 (Borgia). If a user turns personalization off,

                     Google does not rely on any information about the user in order to deliver an

                     ad. 9/25/24 PM Tr. 128:23-129:10 (Borgia).

             1117.2. If a user turns personalization on, the user can tailor their ad experience by

                     preferencing certain ad topics or excluding others. For example, a user can

                     elect not to receive ads relating to certain brands or sensitive topics like

                     alcohol or gambling. 9/25/24 PM Tr. 128:23-130:5 (Borgia).




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            1117.3. By enabling users to indicate their ad preferences, My Ad Center helps

                      advertisers maximize return on their investment by reaching the right users,

                      and not wasting their money on the wrong ones. Increased advertiser return

                      on investment in turn increases spending on publisher inventory. 9/25/24 PM

                      Tr. 128:11-22 (Borgia).

        1118. In 2023, Google also launched the Ads Transparency Center, a searchable hub for

 verified advertiser’s ads.

            1118.1. The Ads Transparency Center permits users, researchers, and other

                      stakeholders to access information about the ads run on Google’s platforms.

                      DTX-1182 at 2 (2022 Google Ads Safety Report); 9/25/24 PM Tr. 122:15-20

                      (Borgia).

            1118.2. Through the Ads Transparency Center, any user served an ad through

                      Google’s tools can report the ad as inappropriate or learn more about the

                      advertiser that bought the ad. 9/25/24 PM Tr. 122:15-20, 123:11-124:24

                      (Borgia).

            1118.3. The Ads Transparency Center also promotes trust, and by extension ad

                      spending, in the ad tech ecosystem by enabling users to learn about the

                      advertisers that served ads to them. 9/25/24 PM Tr. 122:21-123:7 (Borgia);

                      DTX-1186 at 10. Advertisers, particularly lesser known brands, can more

                      easily establish legitimacy and trust with users, and publishers benefit from

                      increased ad spend when advertisers’ return on ad spend improves. 9/25/24

                      PM Tr. 125:2-12 (Borgia).




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        1119. Even though Google has engaged in many acts that expand output, Plaintiffs’

 experts did not put forth any opinion about the proportion of scale Google achieved through output

 expansion as opposed to through allegedly anticompetitive conduct. For example, Professor

 Simcoe’s model of a but-for world does not differentiate between impressions AdX won as the

 result of procompetitive output expansion and impressions won at the expense of rivals. 9/19/24

 AM Tr. 72:12-25 (Simcoe).

        1120. Resisting the undeniable evidence of output expansion in display advertising,

 Plaintiffs argue that output expansion can still be consistent with monopoly power, citing examples

 of monopolized industries that exhibited increased output. Plaintiffs’ Demonstrative AG. The

 critical distinction between Plaintiffs’ examples and this case is that, here, only 10% of the

 increased display advertising industry is going to Google. DTX-1928. And even that amount is

 overstated because 50% of Google’s increased display advertising revenue is attributable to ad

 spend on YouTube, which is outside of Plaintiffs’ alleged market. Accordingly, no more than 5%

 of increased industry output accrues to the portion of Google’s business Plaintiffs’ allege to be

 anticompetitive. 9/26/24 PM Tr. 94:20-97:1 (Israel).

        1121. At the same time that industry output has increased, Google’s share of U.S. display

 ad spend has decreased over the last decade. DTX-1928. That is not consistent with an industry

 dominated by a monopoly. As one publisher representative testified when asked if Google’s ad

 tech is “dominant”: “I think they’re a large player. I don’t know if dominance in the advertising

 space or display advertising space is necessarily something I’d say about anything these days.”

 Deposition of Ken Blom Tr. 39:25-40:2, 40:4-8.




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                 2.     Google’s Products Are Quality Differentiated and Improving in
                        Quality.

        1122. Throughout the period of time Plaintiffs allege that Google has monopolized the

 alleged markets, Google has continuously invested in improving and differentiating the quality of

 its products along multiple dimensions. Those investments in quality are not consistent with the

 conduct of a monopolist dominating a market without competition. 9/26/24 AM Tr. 157:22-158:18

 (Israel); 9/26/24 PM Tr. 65:4-7 (Israel) (“competition can be a force that means that firms are

 incentivized to improve product quality in order to capture sales and increase profits”). As a result

 of Google’s investments, the quality of Google’s products has steadily improved over the same

 period of time that Plaintiffs claim Google has been a monopolist.

        1123. Advertiser Demand: Google has invested in the quality of AdX by expanding the

 advertiser demand available through AdX. 9/19/24 AM Tr. 31:19-32:9 (Simcoe) (agreeing that “a

 key dimension of quality for ad exchanges is the installed base of buyers and sellers to which they

 connect”).

              1123.1. Google’s 39-person exchange platforms team is devoted to convincing major

                      demand-side platforms to purchase on AdX. 9/20/24 PM Tr. 81:3-82:1

                      (Sheffer). To convince these buying tools to purchase on AdX, Google

                      presents the publisher inventory it has to offer, “the quality of it, the reach of

                      it,” and “the different types of formats.” Id. at 82:2-15 (Sheffer). The buying

                      tools that the team has successfully brought in include The Trade Desk,

                      Amazon, Yahoo!, Liftoff, and Baidu, a “very large Chinese company.” Id. at

                      81:3-23 (Sheffer). These tools are all competitors to Google, but Google

                      encourages them to bid into AdX and compete against Google’s own buying

                      tools to benefit its advertisers. Id. at 82:16-83:3 (Sheffer).



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            1123.2. Today, publishers selling through AdX can reach not only Google Ads and

                    DV360, but also hundreds of non-Google buying tools that are referred to as

                    Authorized Buyers. 9/23/24 AM Tr. 32:2-33:11 (Korula) (examples including

                    Criteo, AppNexus, The Trade Desk, MediaMath, and others). Authorized

                    Buyers “go through a vetting process” in order to “get access to all of the AdX

                    inventory” made available by publishers. In other words, they receive the

                    same access to AdX inventory that Google Ads or DV360 do. Id. at 33:3-11

                    (Korula).

        1124. Similarly, Google has repeatedly expanded the number of exchanges—in particular,

 rival exchanges—that publishers can connect to using DFP so that they can access more advertiser

 demand than what is available through Google’s own AdX. 9/23/24 AM Tr. 32:2-41:9 (Korula)

 (publishers using Google Ad Manager are free to sell to non-Google sources of demand).

            1124.1. When Google built Open Bidding, it connected DFP directly to real-time bids

                    from more than 25 ad exchanges, including exchanges that testified at trial

                    (Index Exchange, OpenX, Magnite, and PubMatic). 9/23/24 AM Tr. 39:17-

                    22 (Korula). A publisher can choose to connect to all these other exchanges

                    without calling AdX at all. 9/10/24 AM Tr. 99:8-11 (Layser).

            1124.2. Not only does Google make it possible to connect to competitors, but Google

                    affirmatively helps publishers connect to rival exchanges. Google helps

                    publishers enter into contracts with the exchanges that participate in Open

                    Bidding because it wants to “better address[] publishers’ needs.” 9/23/24 AM

                    Tr. 40:13-41:9 (Korula) (“Publishers want to work with these exchanges. And




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                     we thought we would design this product in a way that made it as easy as

                     possible for them to do so effectively.”).

            1124.3. In addition to Open Bidding, publishers can also use DFP to sell to header

                     bidding tools that access bids from over 100 other ad exchanges. There is no

                     limit on the number of competitor exchanges publishers can connect to using

                     DFP. 9/23/24 AM Tr. 34:19-38:16 (Korula).

        1125. The testimony of publishers at trial demonstrated that one of the benefits publishers

 derive from DFP is their ability to sell through many exchanges from one tool.

            1125.1. NewsCorp, a DFP user, receives bids from Index Exchange, PreBid, Rubicon,

                     OpenX, Media.net, PubMatic, Criteo, TripleLift, and Amazon DSP. 9/10/24

                     AM Tr. 79:17-80:18 (Layser).

            1125.2. The Daily Mail, which sells all of its inventory using DFP, receives bids from

                     PubMatic, Xandr, Index Exchange, Magnite, and Triple Lift. 9/18/24 PM Tr.

                     133:17-19 (Wheatland).

            1125.3. Gannett, which also uses DFP, receives bids from more than 20 demand

                     sources, including Xandr, Criteo, Index Exchange, OpenX, PubMatic, and

                     Magnite. 9/9/24 AM Tr. 75:6-10, 82:15-83:10 (Wolfe).

            1125.4. Buzzfeed, which uses DFP, receives bids from 20 to 30 exchanges, including

                     Magnite, PubMatic, Index Exchange, OpenX, and Amazon. Deposition of

                     Ken Blom Tr. at 114:24-116:11, 116:13-117:14; see also DTX-1616

                     (Buzzfeed ads.txt file).

            1125.5. Mediavine, which uses DFP,




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                                                                Deposition of Eric Hochberger Tr.

                     22:4-6, 22:10-17, 22:19-22 (sealed testimony referenced at 9/25/24 PM Tr.

                     161:3-6 (Hochberger)); see also id. at 175:16-179:25 (Hochberger); DTX-

                     1733 (identifying Mediavine partners including Amazon Publisher Services,

                     Index Exchange, Kargo, Magnite, OpenX, PubMatic, Xandr, Yieldmo, Criteo,

                     and The Trade Desk’s OpenPath, among others).

        1126. Fighting Invalid Traffic: Google has dedicated significant resources to improving

 the safety and security of Google’s tools. DTX-371 at 2 (2017 Google document highlighting that

 Google’s “historical value proposition relies on an integrated solution” that includes “security and

 anti-spam protection.”); supra ¶¶ 733-768.

            1126.1. Google has numerous teams dedicated to ad safety and security that total

                     thousands of employees. One of those teams, the Ads Privacy and Safety team

                     (“APAS”), sits within Google’s ads business and handles all aspects of work

                     related to privacy, safety, and ads integrity. 9/24/24 PM Tr. 45:22-24 (Bjorke);

                     Bjorke DX 1.1; Bjorke 1.2. The APAS team alone represents over 700 Google

                     employees. Id. at 47:20-22 (Bjorke).

            1126.2. Beyond APAS, Google also has teams that work across the entire organization

                     on safety and who are embedded within various substantive teams, such as

                     Trust and Safety. 9/24/24 PM Tr. 45:7-21, 46:10-16 (Bjorke); see also Bjorke

                     DX1.2.

        1127. Within APAS is an Ad Traffic Quality (informally known as “AdSpam”) team with

 hundreds of Google employees who detect and combat invalid traffic. 9/24/24 PM Tr. 47:3-22

 (Bjorke); DTX-214 at 1 (2015 AdSpam strategy document). In 2022 alone, Google invested




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 between $100 to $150 million in the AdSpam team, 9/24/24 PM Tr. 50:17-25 (Bjorke), even

 though the AdSpam team does not generate revenue directly for Google, id. at 51:1-9 (Bjorke).

 Google continues to invest in the team because it “protects the integrity of the ads products and

 protects the long-term sustainability of Google’s ads business.” Id. at 51:1-9 (Bjorke).

        1128. Monitoring and stopping invalid traffic has significant benefits for advertisers and

 publishers.

               1128.1. Invalid traffic harms advertisers by wasting their money on ads that are not

                        seen or clicked on by real or intentional users. 9/24/24 PM Tr. 48:10-22

                        (Bjorke). If ad tech tools do not monitor inventory quality, advertisers or their

                        advertising agencies end up expending resources “to identify problematic

                        inventory.” 9/9/24 AM Tr. 110:21-111:13 (Lowcock) (advertising agency

                        witness spent “half of [his] time” identifying invalid inventory).

               1128.2. Invalid traffic harms publishers by diverting advertisers’ budgets away to bad

                        actors. 9/24/24 PM Tr. 49:5-14 (Bjorke).

               1128.3. In the long-term, invalid traffic also hurts all participants in the advertising

                        ecosystem by causing mistrust. DTX-476 at 3 (2017 Google deck indicating

                        “Fear of ad fraud is limiting display and video online programmatic spend.”);

                        DTX-214 at 1 (2015 AdSpam Strategy document); 9/27/24 AM Tr. 20:18-25

                        (Pauley) (Vox Media believes that “marketers and advertisers are spending

                        too much of their digital marketing dollars in places . . . and in channels that

                        expose them to fraud, poor performance or brand unsafe environments”).




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        1129. Google’s investments in invalid traffic detection include a sophisticated automated

 review system that is continuously updating, as well as dedicated data scientists and domain

 experts who manually review ad traffic. Supra ¶¶ 760, 765.

        1130. As Bjorke, AdSpam’s Director of Product Management explained, these

 investments are baked into Google’s pricing. “We look at fighting fraud as an integral part of our

 product. It’s a key part of what you get when you advertise with Google.” 9/24/24 PM Tr. 56:6-

 17 (Bjorke). Google, by its own policy, does not benefit from transactions that involve invalid

 traffic. Id. (Bjorke). If Google discovers invalid traffic, it will refund the advertiser and does not

 charge a revenue share. Id. at 55:20-56:5 (Bjorke).

        1131. Ads Safety and Brand Safety: Ads safety, which includes brand safety, is another

 key quality differentiator for all three key stakeholders in the ad tech transaction.

            1131.1. Users: If a user is harmed in some way by a display ad, they will not want to

                      interact with that ad in the future. 9/25/24 PM Tr. 103:1-15 (Borgia).

            1131.2. Advertisers: By extension, safety is also critical for advertisers. If “the ads

                      ecosystem is unsafe, if users are unwilling to click on their ads, then

                      advertisers are unable to reach the users that they wish to reach, and their ROI

                      goes down.” 9/25/24 PM Tr. 103:16-23 (Borgia). A publisher representative

                      confirmed that “brand safety is table stakes” for advertisers because “the

                      audience that they’re reaching is usually the most important” objective.

                      Deposition of Ken Blom Tr. 81:12-82:3.

            1131.3. Publishers: Ad safety is critical for publishers because, if ad safety impacts an

                      advertiser’s ROI, then a publisher will not be able to monetize its content

                      successfully, and in turn may not be able to continue making content at all.




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                     9/25/24 PM Tr. 103:24-104:5 (Borgia). In addition, ad safety policies protect

                     publishers from harmful or inappropriate ads that do not suit the publisher’s

                     content. Id. at 103:24-104:5 (Borgia).

        1132. As with invalid traffic, Google does not charge an extra fee specific to its significant

 ads safety investments, which include manual and automatic filtering as well as enforcement of

 policies. Supra ¶¶ 745-753. Instead, the billions of dollars Google has invested in ad and brand

 safety are baked into the price of Google’s products. 9/25/24 PM Tr. 120:4-7 (Borgia).

        1133. Support and Service: As explained above, Google has invested in considerable

 support personnel and services for both large and small customers on the buy side and the sell side.

 That support includes troubleshooting, advice on improving outcomes, and collection of customer

 feedback. Supra ¶ 17; see also DTX-1429N at 5 (2023 Google deck stating “Strategic Value Adds”

 include “Google services”).

        1134. As a representative of Buzzfeed testified, after Buzzfeed arrived “late” to display

 ads, Buzzfeed found AdX to be “a natural best way to start getting into programmatic” not just

 because of the demand available, but also because AdX “can get us up to speed as fast as humanly

 possible.”   Deposition of Ken Blom Tr. 110:5-24.           AdX was “successful” in delivering

 “incremental growth” and assisting Buzzfeed in hitting revenue goals. Id. at 111:3-112:89 (Blom).

        1135. A 2017 News Corp comparison of the service and support offered by Google

 against AppNexus concluded that Google offered better support for DFP. Google had “proven to

 be one of the best partners to work with and have a highly responsive account team.” DTX-404

 at 8. News Corp concluded that “the scale and reach of Google allows them to be a major value-

 added strategic partner, with a major support presence in all markets.” DTX-404 at 8.




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        1136. Scale: One result of Google’s investments in quality differentiation is that, as

 Google’s products attract more customers, the scale it obtains improves the quality of its products

 even more. For example, greater scale improves publisher monetization and advertiser return on

 ad spend because customers are connected to more “liquidity and growth.” 9/20/24 PM Tr.

 159:13-21 (John).

        1137. Further, Plaintiffs’ own expert opined that Google’s significant transaction volume

 improves the quality of its products. 9/16/24 PM Tr. 11:15-12:4, 18:11-21 (Weintraub); see also

 9/20/24 AM Tr. 112:5-10 (Lee) (“Scale is important for the competitiveness of an ad tech product

 and can help improve quality.”). According to Professor Weintraub, Google’s transaction volume

 enables it to run experiments to increase win rate, build and train “critical” algorithms, and “have

 more resources to innovate and invest in things like product quality.” 9/16/24 PM Tr. 16:8-17:6,

 17:15-18:10 (Weintraub); see also 9/12/24 PM Tr. 102:16-23 (Goel).

        1138. Customer Outcomes: Google’s investments are working. Over time, Google’s

 customers are deriving more value from the same Google tools.

        1139. For advertisers using Google Ads, the cost per click—or amount of money spent

 for each user engagement—has declined from about $0.55 in 2014 to about $0.25 in 2022. DTX-

 1897; 9/26/24 AM Tr. 166:18-167:3 (Israel) (“there’s a pretty dramatic decline over time in what

 advertisers are paying per click”). Even Professor Lee’s chart reflecting Google Ads cost-per-

 click, which purports to correct for issues he perceived in Dr. Israel’s chart, shows that cost-per-

 click has gone down from about $0.37 in 2012 to about $0.25 in 2022. PTX-1461 (excluding

 mobile app ads and controlling for changes in the composition of impressions across device types

 over time); 9/20/24 AM Tr. 108:19-109:9 (Lee).




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        1140. In addition, click-through rates for Google Ads advertisers have increased

 significantly from ~0.2% in 2014 to ~1.2% in 2022, which means that Google Ads is more

 effectively placing ads in front of the right target audience because users are more willing to click

 on the ads they are shown. DTX-1896; 9/26/24 AM Tr. 165:22-166:14 (Israel) (“the click-through

 rate means I bid on and place an ad on an impression, what’s the percentage of the time that the

 person clicks on it,” and is “a pretty standard industry metric of quality”). Even Professor Lee’s

 chart reflecting Google Ads click-through rates, which purports to correct for issues he perceived

 in Dr. Israel’s chart, shows that click-through rates have tripled between 2012 and 2022. PTX-

 1459 (excluding mobile app ads and controlling for changes in the composition of impressions

 across device types over time); 9/20/24 AM Tr. 107:14-108:7 (Lee).

        1141. For publishers using AdX, the average monthly revenue per thousand impressions

 has increased steadily over time from 2014 to 2022. DTX-1895; 9/26/24 AM Tr. 164:16-165:18

 (Israel) (“this is a measure of the quality” and “one indicator of things working well, publishers

 are making more and more money when they work with AdX”).

        1142. Individual new features on Google’s sell-side products have demonstrably

 increased revenue for publishers, including Dynamic Allocation paired with real-time bidding, see

 supra ¶ 119; sell-side Dynamic Revenue Sharing, supra ¶ 973; and Enhanced Dynamic Allocation.

 After launch, Enhanced Dynamic Allocation increased publisher revenue by “~950K / day,” or

 “nearly $1M / day in incremental revenue.” DTX-405 at 3 (2017 Google overview of Enhanced

 Dynamic Allocation); see also 9/27/24 AM Tr. 21:24-22:16 (Pauley) (Vox Media “made more

 money as a result of Dynamic Allocation”); DTX-244 at 5 (2015 Google business overview for

 Vox Media: “Queries and revenue are highly correlated, with a large uptick in Q4 due to DFP

 launch with dynamic allocation”).




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        1143. Google’s ad tech products are thus working particularly well for its advertiser and

 publisher customers. 9/26/24 AM Tr. 167:4-19 (Israel); 9/20/24 AM Tr. 109:10-110:6 (Lee)

 (decreasing cost-per-click and increasing click-through rates “are considerations, for sure” when

 evaluating whether quality has increased).

        1144. Though one of Plaintiffs’ advertising agency witnesses testified that he has not

 observed “huge” differences in quality among ad tech tools, 9/10/24 AM Tr. 153:2-154:16

 (Friedman), competitors to Google acknowledged that Google’s products are popular because they

 are high quality:

            1144.1. Boland, former Vice President at Facebook, agreed that the ways Google

                     achieved a strong market position, as stated in a Facebook document, were

                     that Google has “offered a best in class product”; “continually invest[ed] in

                     product improvements”; “invested heavily in servicing their customers”; and

                     “aggressively priced this tool,” including by making it free for small and

                     medium businesses.       PTX-1709 at -933 to -934 (2017 Meta strategy

                     document); 9/13/24 PM Tr. 134:6-135:9 (Boland). He further agreed that the

                     reason Google’s market share continued to grow was that Google was “the

                     only company still investing heavily in both technology and services. They

                     have the most compelling feature-rich products for every segment of the

                     market.” 9/13/24 PM Tr. 136:13-24 (Boland).

            1144.2. OpenX lost publisher ad server business to Google because DFP was a “good

                     product” with a better “workflow” and “migration tools” than OpenX’s ad

                     server. 9/17/24 PM Tr. 48:9-16, 80:13-20 (Cadogan).




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            1144.3. A Disney representative testified that Disney ultimately selected Google Ad

                     Manager in an RFP process and views “Google’s ad server as a high-quality

                     ad server.” 9/17/24 PM Tr. 129:3-15 (Helfand).

                3.      Google’s Pricing Is Flat or Declining as Quality Improves, and Is in
                        Line with Industry Prices.

        1145. In the same time period that output has exploded and the quality of Google’s

 products have improved, industry fees have been flat or declining. Industry source eMarketer

 estimates that between 2014 and 2022, average fees paid to ad tech providers as a percentage of

 display advertising spend declined from 45.8 percent in 2014 to 42.3 percent in 2022. DTX-1886;

 9/26/24 AM Tr. 176:5-16 (Israel) (the all-in estimate of the industry average fee taken out across

 the stack is about 42% today, fallen from 46%).

        1146. Google’s fees, in particular, have similarly been flat or declining over the 2014 to

 2022 period. DTX-1977 (Israel Table 8: DFP, AdX, and Google Ads Average Prices Over Time);

 9/26/24 AM Tr. 175:7-176:1 (Israel) (the total cost of using Google’s ad tech tools across the stack

 has declined from around 33-34% to 31% in 2022). Comparing the industry average full-stack

 revenue share to Google’s full-stack revenue share, “Google is substantially below that eMarketer

 industry estimate.” 9/26/24 AM Tr. 176:2-23 (Israel).

                        a.     Plaintiffs’ Analyses of Pricing           Fail   to   Account     for
                               Differentiators in Product Quality.

        1147. Plaintiffs have conducted no analysis of quality-adjusted pricing, which means they

 have not accounted for any ways that Google’s product quality affects pricing. Plaintiffs’ failure

 to analyze quality-adjusted pricing is fatal to their analyses because, as their own witnesses

 acknowledge, there are significant quality differentiators between ad tech tools. E.g., 9/27/24 AM

 Tr. 106:3-5 (Wheatland) (price is “just one of the many factors” that differentiates one ad exchange

 from another); 9/13/24 AM Tr. 26:12-27:3 (Kershaw) (features that enable ad exchanges to


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 optimize bids are competitive advantages for exchanges); see also Deposition of Ken Blom Tr.

 26:4-19 (Buzzfeed values Google Ad Manager because it is easy to use and contains tools and

 features Google has spent “a lot of time” building for publishers).

        1148. One publisher testified explicitly that quality differentiators affect the price it is

 willing to pay. Mediavine agrees to higher revenue shares with some exchanges because “if

 someone is going to take a higher take rate but still bid more money for that impression, Mediavine

 will—ultimately, will make more money.” 9/25/24 PM Tr. 167:22-168:8 (Hochberger).

        1149. Professor Simcoe, Plaintiffs’ price analysis expert, agreed that quality

 differentiation matters for a pricing analysis. 9/19/24 AM Tr. 10:25-12:16 (Simcoe). Merely

 charging higher prices does not mean that a firm offering a differentiated product is imposing an

 overcharge on customers. Id. at 112:7-12 (Simcoe) (admitting “a 15 percent increase in price in

 abstract need not necessarily be an overcharge.”).

            1149.1. Professor Simcoe identified some quality differentiators for an ad exchange,

                     including “detecting and filtering spam, malware, and fraud”; “data collection

                     and privacy management”; “billing and payments infrastructure”; and

                     “matching publisher inventory to advertiser demand”—all features of ad tech

                     tools that can benefit publishers and advertisers. 9/19/24 AM Tr. 11:24-12:16

                     (Simcoe); see also 9/27/24 AM Tr. 101:8-14; 103:24-106:2 (Wheatland) (ad

                     exchanges differ in the speed with which they “return ad impressions,” extent

                     to which “they return higher prices” and “beat” other exchanges, “the rev

                     share” they charge, their “reporting functionality,” whether they have “direct

                     DSP integration,” and their “ad quality due to superior curation policies”);

                     Wheatland DX 2.




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            1149.2. According to Professor Simcoe, the price charged by an ad exchange,

                      including Google’s, must “reflect relative performance along these

                      dimensions.” 9/19/24 AM Tr. 12:17-24 (Simcoe). When asked “if one

                      exchange had superior level of these features, that would be priced in in the

                      real world; correct?,” Professor Simcoe answered “yes,” adding that “in a

                      market, demand for differentiated products reflects the characteristics of the

                      products, and demand affects pricing.” Id. at 13:11-20 (Simcoe). In other

                      words, Professor Simcoe agreed that a company with quality-differentiated

                      products can charge higher prices than its competitors. Id. at 111:12-18

                      (Simcoe) (“Q. Okay. You were asked at your deposition: ‘Is quality a reason

                      that some firms can charge higher prices than other firms?’             And you

                      responded: ‘In economics and in differentiated product markets, relative

                      quality is almost definitionally something that can affect prices’; do you recall

                      that? A. Yes.”).

        1150. Another of Plaintiffs’ experts, Professor Lee, also acknowledged that an analysis

 of price must consider quality. He nonetheless testified that he has considered “quality in all” of

 his supracompetitive pricing analyses because “market power can be exercised both via an increase

 in price above competitive levels, as well as reduction in quality below competitive levels.”

 9/20/24 AM Tr. 100:19-103:12 (Lee).

        1151. While recognizing the importance that quality differentiators have on price,

 Plaintiffs’ experts failed to actually account for quality differences in their pricing analyses. E.g.,

 9/19/24 AM Tr. 37:24-38:6 (Simcoe) (“Q. Did you evaluate any of the quality factors we talked

 about earlier, like detecting and filtering spam and malware and fraud? Did you look at any of




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 that? A. I did consider them, yes. Q. Okay. But they’re not reflected in your weighted average;

 right? A. I explained on direct that the—well, what I’ll say is no. It’s not in the weighted

 average.”); 9/20/24 AM Tr. 100:19-103:12 (Lee) (“there’s no such thing as a single quality-

 adjusted price”); id. at 105:4-16 (Professor Lee compared only nominal prices and fees).

        1152. As explained above, supra ¶¶ 1122-1144, Google has invested in a number of

 quality differentiators in its products—including the same features identified by Professor Simcoe

 as quality differentiators—that have borne results.     9/19/24 AM Tr. 11:24-12:16 (Simcoe).

 Advertisers and publishers using Google’s products are experiencing improved outcomes. Supra

 ¶¶ 1138-1143. Yet none of that is accounted for by Plaintiffs’ analyses, so Plaintiffs cannot meet

 their burden of demonstrating that Google’s prices are supracompetitive.

                       b.      Pricing Across the Ad Tech Stack

        1153. Even in an absolute comparison, without any consideration of quality, Google’s

 prices are lower than its competitors’ when viewed across the integrated stack. As Google’s expert

 Professor Chevalier explained, using Google tools to complete a transaction end-to-end costs less

 than using third party-to-third party tools. 9/25/24 AM Tr. 15:12-25 (Chevalier). As shown in

 Professor Chevalier’s calculations, Google’s full-stack revenue shares are considerably lower than

 the average full-stack revenue share across competitors. DTX-2071A; supra ¶¶ 793-794.

        1154. Similarly, across Google Ads, AdX, and DFP, the average revenue share on an

 impression from end to end has been lower than the average fees charged by different combinations

 of Google buy-side and sell-side competitors in the same time period. DTX-1886 (industry

 average fee was 42.3 percent in 2022); DTX-1977 (Israel Table 8: DFP, AdX, and Google Ads

 Average Prices Over Time); 9/26/24 AM Tr. 175:7-176:1 (Israel) (the total cost of using Google’s

 ad tech tools across the stack has declined from around 33% to 34% to 31% in 2022); DTX-1893A;




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 9/26/24 AM Tr. 173:23-175:5 (Israel) (prices for Google buying tools used with Google’s

 exchange are lower than using most combinations of different third-party tools).

                        c.     Publisher Ad Servers

        1155. Taken by component, Google’s fees are also low even without quality adjustment.

        1156. DFP’s ad serving fees are approximately two to three cents per thousand

 impressions, and have declined over time. DTX-1977; see also DTX-1887 (Israel Figure 70: DFP

 Fee Trends, Feb 2014-Dec 2022); 9/18/24 AM Tr. 71:5-72:16 (Abrantes-Metz) (agreeing that from

 2013 to 2020, the low end of DFP’s ad serving fees decreased from 2.6 cents per thousand

 impressions to 2.1 cents per thousand impressions). Calculated as a percentage fee per impression,

 that number is lower than a 2% revenue share and has dropped from 1.7% to 1.3% between 2014

 and 2022. DTX-1977; 9/26/24 AM Tr. 120:18-121:16 (Israel).

        1157. Moreover, DFP charges no ad serving fees for publishers that transact below a

 certain number of impressions per month. In 2022, that meant 86 percent of DFP sellers in the

 United States paid zero ad serving fees. DTX-1954; 9/26/24 AM Tr. 119:1-16 (Israel).

        1158. Even for sellers that are charged ad serving fees, Google often offers significant

 discounts in order to entice seller business. 9/13/24 AM Tr. 41:17-21 (LaSala) (“We offered

 discounts quite a bit for our partners.”); 9/20/24 PM Tr. 96:3-16 (Sheffer).

            1158.1. For example, during a contract renewal negotiation with the publisher Hearst

                     in January 2017, Google offered Hearst a 26% discount on current DFP rates.

                     PTX-453 at -190. In total, Google estimated that the discounts it offered

                     Hearst across both DFP and AdX amounted to $1.24 million in annual cost

                     saving. PTX-453 at -190; 9/19/24 AM Tr. 149:10-22 (Bellack) (“the Hearst

                     contract was up for renewal, and we wanted to win the renewal”).




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           1158.2. Due to these discounts, Google determined that from 2015 to 2018, average

                    ad serving fees on DFP had “trended downward, even as platform value

                    proposition has improved.” PTX-611 at -797 (2018 Google strategy review).

                    Average “serving fees declined 20-25%” due to “volume based discounts,”

                    increased volume of DFP small business publishers, and “increased platform

                    fee waivers (~$2.7M / month).” PTX-611 at -797. At the same time,

                    “platform value” offered to publishers increased,” including through features

                    like “yield optimizations,” forecasting, “budget and pacing improvements,”

                    unified reporting, and troubleshooting. PTX-611 at -797.

                      d.       Ad Exchanges

        1159. As to AdX, the predecessor ad exchange owned by DoubleClick charged a 20%

 revenue share when it was acquired by Google. Google has not changed that revenue share since.

 9/26/24 AM Tr. 133:16-134:8 (Israel); 9/26/24 PM Tr. 67:18-68:2 (Israel); 9/20/24 AM Tr. 97:1-

 23 (Lee); supra ¶¶ 123-130.

                               (1)   Google’s AdX Revenue Share Is In Line with, or Lower
                                     than, the Shares Charged by Competitors.

        1160. As shown below, DTX-2069A, the revenue share that Google charges for AdX is

 similar to, or lower than, the revenue shares charged by competitor ad exchanges. DTX-1892A;

 9/26/24 AM Tr. 171:6-24 (Israel) (“AdX is in the middle of the distribution”); PTX-1280A (Lee

 Figure 110: Summary of worldwide open-web indirect display take rates among ad exchanges);

 PTX-1281A (Lee Figure 111: Summary of worldwide open-web indirect display margins among

 ad networks);

                     see also 9/17/24 PM Tr. 97:23-98:10 (Cadogan).




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        1161. Analyses performed by Plaintiffs’ own experts demonstrate that Google’s revenue

 share is in line with other exchanges.

        1162. As shown below, PTX-1199, four of seven other exchanges analyzed by Professor

 Simcoe (                                         all have had average revenue shares above AdX’s

 for significant portions of the relevant time period. 9/18/24 PM Tr. 55:1-5 (Simcoe); PTX-1199A.

 Some of these exchanges, such as           and           have had an average take rate well above

 AdX, charging 25% to 30%. PTX-1199. And, as Professor Simcoe acknowledged at trial, Figure




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 4 from his report demonstrates that            average revenue share has never been below AdX

 and has ranged from 25% to close to 40%. 9/18/24 PM Tr. 54:15-22 (Simcoe).




        1163. Of the eight exchanges Professor Simcoe analyzed, Google never had the highest

 price. 9/18/24 PM Tr. 55:19-24 (Simcoe). Yet Plaintiffs are not claiming that the other exchanges

 charging revenue shares 50% to nearly 100% higher than AdX are charging supracompetitive

 prices. Id. at 55:6-13 (Simcoe).

        1164. In order to avoid the fact that AdX’s revenue share is in line with competitors’,

 Plaintiffs argued that the AdX revenue share is supracompetitive by comparing that revenue share

 to a weighted average revenue share of Google’s competitors. 9/25/24 AM Tr. 17:1-12, 18:11-14

 (Chevalier). They omitted, however, that the weighted average is driven by a single outlier with a

 notably low revenue share. DTX-2066A; 9/25/24 AM Tr. 23:16-24:22 (Chevalier). When the

 other individual ad exchanges’ revenue shares are compared to AdX’s, AdX’s share is lower than




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 some competitors’ and generally comparable to the shares of most competitors. PTX-1280A (Lee

 Figure 110: Summary of worldwide open-web indirect display take rates among ad exchanges);

 9/20/24 AM Tr. 110:10-111:9 (Lee) (agreeing that in 2018 four of six firms had equal or higher

 revenue shares than AdX; in 2019 five of ten firms; in 2020 three firms; and in 2021 and 2022 two

 firms); DTX-2069A; 9/25/24 AM Tr. 22:9-23:6 (Chevalier).

          1165. The New York Times, a publisher customer, agreed that Google’s revenue share is

 comparable to that of its competitors: “



                         ”   Deposition of James Glogovsky Tr. 184:14-25 (sealed testimony

 referenced at 9/26/24 PM Tr. 143:10-15 (Glogovsky)). Similarly, Mediavine, another publisher

 customer, testified that the revenue shares of its other exchange partners are both higher and lower

 than AdX’s. 9/25/24 PM Tr. 166:21-168:1 (Hochberger).

          1166. Dr. Abrantes-Metz opined that Google’s revenue share for AdX is

 supracompetitive based on internal Google document discussing the AdX revenue share and based

 on the fact that AdX’s revenue share has remained 20%. 9/16/24 PM Tr. 130:3-131:20 (Abrantes-

 Metz). Beyond reading those documents, Dr. Abrantes-Metz made no attempt to quantify the

 extent to which 20% is actually supracompetitive. 9/18/24 AM Tr. 71:2-4 (Abrantes-Metz). In

 other words, Dr. Abrantes-Metz has done no work to rebut the evidence presented by Plaintiffs’

 and Google’s experts demonstrating that Google’s AdX revenue share for AdX is comparable to

 its competitors’ and has remained consistent before and after Google allegedly obtained market

 power.

          1167. As explained above, supra ¶¶ 1147-1152, any analysis of AdX’s revenue share

 must also consider whether it is justified by its quality and the value the ad exchange provides




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 advertisers and publishers. 9/12/24 AM Tr. 10:21-11:3 (Srinivasan) (“Through conversations with

 publishers, it became clear that we did add a lot of value that justified the 20 percent take rate.”).

 As LaSala testified, for the 20% revenue share AdX provides value from “comparing two bids,”

 but also much more—AdX aggregates demand, including both Google and “other third-party

 demand”; runs “a fair, clean auction against all of those demand sources”; “does sorting and

 analytics for our customers”; and “provides protections around fraud, malware, around brand

 protections.” 9/13/24 AM Tr. 150:10-151:13 (LaSala).

        1168. Moreover, even though Google’s revenue share for AdX has remained constant,

 Google has offered discounted rates to many customers so does not charge every publisher a 20

 percent revenue share. 9/18/24 PM Tr. 51:15-22 (Simcoe). Hearst, News Corp, Weather Channel,

 ESPN, Orange, Fox News, and CBS are just some examples of major publishers that have been

 able to negotiate a discount on AdX’s revenue share and pay less than 20% on open auction

 impressions. 9/10/24 AM Tr. 74:2-14 (Layser); PTX-453 at -190 (2017 Google email to Hearst);

 PTX-549 at -086 (2017 Google slide deck about pricing).

                                (2)     Plaintiffs’ Expert Professor Simcoe Has Not Reliably
                                        Estimated the Amount AdX Purportedly Overcharged.

        1169. Plaintiffs’ expert, Professor Simcoe, purported to estimate the amount that AdX

 overcharged because of Google’s anticompetitive conduct using two analyses: a Comparables

 Analysis and an Event Study Analysis. Both are flawed and not capable of reliably estimating

 AdX’s but-for revenue shares.

        1170. According to Professor Simcoe, both analyses yielded an overlapping but-for AdX

 revenue share of 16.2%. Plaintiffs’ Demonstrative T; 9/18/24 PM Tr. 32:16-20 (Simcoe).

        1171. Comparables Analysis: The Comparables Analysis compared AdX’s revenue share

 to the weighted average revenue share of seven competitor ad exchanges. 9/19/24 AM Tr. 35:6-



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 16, 36:25-37:6 (Simcoe). Professor Simcoe did not include Amazon in his comparables analysis

 even though his report identified Amazon as operating an ad exchange. Id. at 35:10-24 (Simcoe).

 Professor Simcoe also excluded many other exchanges from his analysis. Id. at 35:6-16, 36:25-

 37:6 (Simcoe) (excluded exchanges included Yahoo, Taboola, MediaNet, Freewheel, Kargo, and

 others).

        1172. Although AdX charges the same 20% revenue share across ad formats and channels,

 and although Professor Simcoe had data from exchanges for non-“open-web display ads,” he did

 not include them in his analysis. 9/19/24 AM Tr. 39:11-40:2 (Simcoe). Professor Simcoe also did

 no analysis to understand why in-app ads, which are not the subject of any allegations of

 exclusionary conduct, yield the same as-is revenue share as “open-web display ads,” which are the

 subject of Plaintiffs’ allegations. Id. at 41:13-42:10 (Simcoe). In other words, when looking for

 a comparator for “open-web display advertising” revenue share, Professor Simcoe never

 considered that a relevant comparator for the AdX revenue share for “open-web display ads” might

 be the AdX revenue share for in-app ads.

        1173. The Comparables Analysis is also flawed and unreliable because the weighted

 average obscures the wide variation in revenue shares among individual exchanges over time.

 9/25/24 AM Tr. 17:21-18:8 (Chevalier). Professor Chevalier compared the AdX revenue share to

 individual competing exchanges’ revenue shares and concluded that AdX’s revenue share is

 “within the ranges of the other exchanges” and “not an outlier relative to other exchanges.” Id. at

 22:16-21 (Chevalier); id. at 22:22-23:6 (same conclusion for worldwide and U.S. transactions);

 see also DTX-2069A (Chevalier Figure 13: U.S. Monthly Average Revenue Shares by Exchange

 (Jan. 2016 – Mar. 2023)).




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        1174. During trial, PTX-1199B, Google placed a black line representing the 16.2% but-

 for take rate on top of Professor Simcoe’s Comparables Analysis to demonstrate clearly that six of

 the seven ad exchanges included in Professor Simcoe’s analysis—by Professor Simcoe’s own

 calculation—charge, or have charged during portions of the relevant time period, revenue shares

 above Professor Simcoe’s but-for revenue share for AdX. 9/18/24 PM Tr. 56:14-57:21 (Simcoe);

 9/25/24 AM Tr. 23:16-24:22 (Chevalier); see also DTX-2066A.




        1175. Although these other exchanges charge or charged prices above his but-for revenue

 share, Professor Simcoe did not opine that those other exchanges were charging supracompetitive

 prices. 9/19/24 AM Tr. 46:5-9 (Simcoe) (“Q. I’m just wanting to be clear for the record that for

 the six of seven exchanges that you see here that have take rates above 16.2 percent, you are not

 opining that any of those six are charging super competitive prices; right? A. No, I’m not.”).

 Professor Simcoe attributed the difference between AdX’s revenue share and his but-for revenue



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 share to certain allegedly anticompetitive practices, but did not explain why other exchanges can

 charge above the benchmark without having engaged in anticompetitive conduct. 9/25/24 AM Tr.

 24:1-22 (Chevalier).

        1176. Professor Simcoe’s Comparables Analysis also did not account for quality

 differences between exchanges, 9/19/24 AM Tr. 37:24-38:14 (Simcoe), such as any benefits of

 scale that were obtained through procompetitive conduct, id. at 51:23-52:14 (Simcoe); see also

 9/25/24 AM Tr. 24:23-25:13 (Chevalier).

        1177. Professor Simcoe also acknowledged that the AdX revenue share has remained

 consistent both before and after Google allegedly obtained market power in the asserted ad

 exchange market, and consistent with the revenue shared charged by DoubleClick when Google

 acquired it. 9/26/24 AM Tr. 133:16-134:8 (Israel). Professor Simcoe agreed that his analysis does

 not show Google increasing prices after it allegedly obtained market power. 9/18/24 PM Tr. 52:13-

 53:13 (Simcoe) (“Google’s price in the ad exchange market is constant over time. That’s true.”).

        1178. Professor Simcoe’s Comparables Analysis is also flawed because it is sensitive to

 reasonable adjustments. 9/25/24 AM Tr. 25:16-26:16 (Chevalier).

            1178.1. For example, the difference between the AdX revenue share and the but-for

                     revenue share produced is cut in half when the analysis is conducted with U.S.

                     transactions instead of worldwide transactions. 9/25/24 AM Tr. 27:11-18

                     (Chevalier). Professor Simcoe’s own “robustness” check showed a but-for

                     revenue share of 17.8%—only two percentage points lower than AdX’s “as-

                     is” average revenue share of 19.8%. 9/19/24 AM Tr. 47:22-48:11 (Simcoe).

                     Professor Simcoe was forced to admit that this “robustness” check showed a




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                     “real difference” between the results of his comparables study and robustness

                     check. Id. at 50:13-21 (Simcoe).

            1178.2. Adjusting Professor Simcoe’s Comparables Analysis to compare full stack

                     revenue shares eliminates the estimated overcharge entirely. 9/25/24 AM Tr.

                     29:6-16 (Chevalier).

        1179. Event Study Analysis: Professor Simcoe’s Event Study Analysis, which purported

 to analyze the number of impressions won by AdX before and after the shift in 2019 to a Unified

 First Price Auction, 9/18/24 PM Tr. 12:7-13:13 (Simcoe), is also flawed and does not reliably

 estimate but-for revenue shares for AdX.

        1180. Professor Simcoe’s Event Study was based on the unsupported assumption that

 AdX won more impressions after the 2019 launch—without lowering revenue share—only

 because of Google’s alleged anticompetitive conduct. 9/25/24 AM Tr. 31:13-32:2 (Chevalier); id.

 at 32:25-33:7 (Chevalier) (Professor Simcoe did not conduct an empirical analysis to attempt to

 link the alleged tying conduct to the increase in AdX impressions).

            1180.1. The Event Study did not account for the possibility that AdX won more

                     impressions due to any other reason, such as AdX’s quality advantages,

                     advertiser or publisher benefits associated with UPR, or Google’s

                     simultaneous introduction of the Unified First Price Auction. 9/25/24 AM Tr.

                     32:6-19, 33:10-39:1 (Chevalier). Because Professor Simcoe’s model ignored

                     these important factors that might have caused an increase in AdX impressions

                     won after UPR and UFPA, his Event Study Analysis overestimates the impact

                     of the alleged anticompetitive conduct on AdX’s revenue share.




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            1180.2. Nor does the model account for the possibility that UPR and UFPA expanded

                     output instead of winning impressions at the expense of rivals. 9/19/24 AM

                     Tr. 72:19-25 (Simcoe); see also 9/25/24 AM Tr. 39:2-14 (Chevalier).

                     Professor Chevalier adjusted the Event Study to separately analyze the growth

                     of AdX impressions and of impressions on rival exchanges. The increase in

                     AdX impressions did not coincide with an offsetting decrease in impressions

                     on competing exchanges. Instead, the data were consistent with output

                     expansion. 9/25/24 AM Tr. 39:10-23 (Chevalier); see also 9/19/24 AM Tr.

                     70:2-6 (Simcoe) (acknowledging the market experienced a net output

                     expansion following UPR and UFPA). Professor Simcoe’s failure to account

                     for the procompetitive output expansion that followed the launch of UPR and

                     UFPA led him to incorrectly attribute the increase in AdX’s impressions after

                     UPR solely to the alleged anticompetitive conduct. 9/25/24 AM Tr. 39:24-

                     40:5 (Chevalier).

        1181. Professor Simcoe’s Event Study Analysis relied on another erroneous assumption

 that, out of the changes Google made simultaneously in 2019—UFPA, UPR, and deprecation of

 “last look”—the “only one under which we would expect to see or predict to see an increase in the

 number of impressions won on AdX” was UPR. 9/18/24 PM Tr. 16:10-22 (Simcoe). Professor

 Simcoe offered only three pieces of evidence in support, none of which actually justified his

 assumption. 9/19/24 AM Tr. 55:10-63:9, 108:5-109:9 (Simcoe).

            1181.1. First, Professor Simcoe claimed that the removal of “last look” decreased the

                     number of impressions won by AdX, but he did not independently analyze

                     whether this was true. 9/19/24 AM Tr. 54:7-55:3 (Simcoe).          The data




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                   Professor Simcoe relied on for this assumption were based on removing “last

                   look” in a “second-price auction” and did not measure the impact in a first-

                   price auction, but “last look” was deprecated in a first-price auction. PTX-

                   1035 at -359 (September 2019 Google slide deck on auction changes: “This

                   impact is measured in a 2P auction state comparing performance with and

                   without last look”); 9/19/24 AM Tr. 56:9-24 (Simcoe).

          1181.2. Second, Professor Simcoe cited the revenue equivalence theorem as evidence

                   that impressions won would not change between a first-price and second-price

                   auction. 9/19/24 AM Tr. 58:25-59:19 (Simcoe). Professor Simcoe was forced

                   to admit that the theorem only applies to revenue, not impressions, so is not

                   actually relevant to his assumption about the number of impressions won.

                   9/19/24 AM Tr. 60:9-11, 101:17-102:5 (Simcoe).

          1181.3. The final piece of evidence Professor Simcoe relied on was a Google internal

                   analysis he characterized as concluding, in September 2019 contemporaneous

                   to the UPR launch, that UPR would result in increased impressions for AdX.

                   9/19/24 AM Tr. 77:5-25 (Simcoe). Professor Simcoe misdated the email,

                   which is from September 2018 and therefore is not a contemporaneous

                   analysis of UPR but a prediction predating the launch by a year. Id. at 108:8-

                   25 (Simcoe).

          1181.4. Professor Simcoe also failed to reconcile statements in his cited materials that

                   contradict his assumption. For example, Google anticipated that the move to

                   a first-price auction—not just UPR—would increase in the number of

                   impressions won by AdX. 9/19/24 AM Tr. 63:15-66:1 (Simcoe); PTX-1035




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                     at -358 (“GDA/DV3/Auth. Buyers get direct access to final 1P auction,

                     improving competitiveness against external 1P demand”), -361 (change to

                     first-price auction expected to result in “+43% impressions” for AdX Buyers).

        1182. Professor Simcoe’s Event Study failed to account for a number of additional facts:

 the beta stage of UPR that happened before the full rollout, 9/19/24 AM Tr. 69:17-70:2 (Simcoe);

 how UPR affected output for in-app, native or CTV ads that are transacted on AdX, id. at 70:3-6

 (Simcoe); and how the characteristics of various exchanges could vary across time and therefore

 also affect impressions won, id. at 73:2-6, 73:23-74:2 (Simcoe) (for example, his model cannot

 control for a competitor going public during the event study period).

        1183. When Professor Simcoe’s Event Study is adjusted to examine revenue growth

 instead of impressions, AdX did not experience a statistically significant change in revenue

 following UPR at all. 9/25/24 AM Tr. 42:21-45:6 (Chevalier). By Professor Simcoe’s own terms,

 that suggests AdX does not charge a supracompetitive price.

                       e.      Buying Tools

        1184. Looking only at the tools within Plaintiffs’ alleged “advertiser ad network” market,

 Google’s fee is substantially lower than its competitors’. Plaintiffs’ alleged market currently

 contains only Google Ads and Criteo, which charges more than double Google Ads’ revenue share.

 Israel DX 2; 9/26/24 AM Tr. 171:25-172:15 (Israel). Plaintiffs’ alleged market also previously

 included Facebook Audience Network when it sold third-party website ads, and Facebook

 Audience Network similarly charged a significantly higher revenue share. PTX-580 at -815 (2018

 Meta email: Meta Audience Network “is a different business model to” Facebook/Instagram

 “because we share revenue with the publisher.          Whilst we take 100% of revenue on”

 Facebook/Instagram, “we operate at a 31% margin on” Audience Network.); 9/26/24 PM Tr.




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 118:5-120:17 (Israel) (Facebook’s buy-side tool Facebook Audience Network charges

 substantially more than Google Ads).

        1185. Looking at both of Google’s buy-side tools, DTX-1891A, the average fees for

 Google Ads and DV360 are systematically lower than for many of Google’s buying tool

 competitors. 9/26/24 AM Tr. 173:12-17 (Israel) (“DV360 is at the bottom of the distribution,” and

 “Google Ads is also toward the bottom”).




            1185.1. For example, The Trade Desk, a significant buying tool competitor, charges

                     higher all-in fees than Google’s buying tools. The Trade Desk charged a 20%

                     revenue share in 2019, with additional fees for audience data, fraud and brand

                     safety, contextual targeting, onboarding, bid shading, cross-device targeting,

                     and more. DTX-1053N at 9 (2021 Google competitive analysis of The Trade

                     Desk); 9/25/24 PM Tr. 69:12-70:16 (Stewart) (The Trade Desk’s “all-in” fees

                     are higher than Google’s fees).




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            1185.2. In 2015, Jay Friedman of Goodway Group told advertisers that “Google and

                      its channel partners’ rates are very competitive for a full-stack product with

                      an integrated DSP.” 9/10/24 PM Tr. 27:7-24 (Friedman).

                4.      Google’s “Open-Web Display Advertising” Business Does Not Show
                        Any Signs of Monopoly Profits.

        1186. Google’s DVAA—or display, video, apps, and analytics—business is the part of

 Google’s business, split out for financial tracking purposes, that is focused on “ad monetization of

 third-party publisher and exchange inventory,” which is the subject of Plaintiffs’ allegations in this

 case. 9/26/24 AM Tr. 8:21-24 (Mok). That business does not show signs of monopoly profits.

        1187. For purposes of tracking profits and losses (“P&Ls”) between 2017 and 2023, the

 DVAA business included both ad tech tools included in Plaintiffs’ markets, such as Google Ad

 Manager and Google Ads, and tools Plaintiffs have excluded from their markets, including AdMob,

 AdSense, DV360, and Campaign Manager 360. 9/26/24 AM Tr. 11:5-11 (Mok); see also DTX-

 1508 at 8 (November 2022 Google P&L presentation).

            1187.1. While the DVAA business started tracking its P&Ls at an aggregate level, by

                      2021 the P&Ls were broken out by product and recast back to 2020. Breaking

                      the P&Ls into products was “not at all” a reflection of how the products

                      competed in the overall ad tech ecosystem, but was instead done “to try and

                      drive more insight and tie it better to how we were internally organized where

                      there was a clear business leader.” 9/26/24 AM Tr. 12:2-8 (Mok).

        1188. For the years 2015, 2016, and 2017, Google’s DVAA business was not profitable.

 DTX-510 (2018 Google Ads P&L); Mok DX 1.

            1188.1. In 2015, the business had an operating loss of $126 million. Mok DX 1;

                      9/26/24 AM Tr. 14:7-9 (Mok).



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            1188.2. In 2016, the business had an operating loss of $784 million. Mok DX 1;

                     9/26/24 AM Tr. 14:10-11 (Mok).

            1188.3. In 2017, the business had an operating loss of $67 million. Mok DX 1; 9/26/24

                     AM Tr. 14:12-13 (Mok).

        1189. Even these operating loss numbers are likely conservative.

            1189.1. The unrebutted testimony of Mok, former Finance Director of the display ads

                     business, was that these losses were likely understated because the costs in the

                     P&Ls were not “fully cost loaded”—in other words, not fully represented—at

                     the time. 9/26/24 AM Tr. 16:11-17:5 (Mok).

            1189.2. Because Google’s P&Ls reflect accounting profits rather than economic

                     profits, economic profits would reflect even greater losses. 9/26/24 AM Tr.

                     110:19-113:17 (Israel) (“For those years, 2015 through 2017 where we saw

                     where the operating return was negative, then we have a conclusion we can

                     reach that the economic profit would be even more negative.”).

        1190. The losses sustained by Google’s display ads business in these years are

 inconsistent with Plaintiffs’ allegations that Google had monopoly power. 9/26/24 AM Tr. 112:2-

 25, 114:4-19 (Israel) (“Those years when they’re negative, it stands out to me that they’re negative

 and the economic profits would be even lower. That’s not what I would see generally in a situation

 where there’s allegations of monopoly.”).

        1191. For 2018 and 2019, the DVAA business turned a small profit. DTX-856 (2020

 Google Ads P&L); Mok DX 1.




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            1191.1. In 2018, the business had an operating profit of $649 million, a 3.9% operating

                     profit percentage (profit divided by booked revenue). Mok DX 1; 9/26/24

                     AM Tr. 15:4-8 (Mok).

            1191.2. In 2019, the business had an operating profit of $1.2 billion, a 6.6% operating

                     profit percentage. Mok DX 1; 9/26/24 AM Tr. 15:12-24 (Mok).

        1192. The profit numbers for 2018 and 2019 are likely overstated because they reflect

 accounting profits, not economic profits. 9/26/24 AM Tr. 110:19-113:17 (Israel).

        1193. Mok’s unrebutted testimony was that the increase in profits in the DVAA business

 in 2018 and 2019 was driven by an increase in revenue from serving app ads, which are excluded

 from the alleged markets and conduct allegations in this case. 9/26/24 AM Tr. 15:15-18 (Mok).

 In other words, Google’s increase in profits did not derive from serving “open-web display ads.”

        1194. By 2020, the DVAA business had broken out its P&Ls on a product-by-product

 basis. Consistent with the 2018 and 2019 figures, as depicted below, Mok DX 2, the 2020 through

 2023 numbers show small profits on a product-level and aggregate basis. DTX-512N (2018

 Google P&L).




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        1195. In these years, the majority of the DVAA business’s profits were attributable to

 products excluded from Plaintiffs’ alleged markets.

            1195.1. At least fifty percent of the DVAA business’s profits came from AdMob,

                     which serves in-app ads. 9/26/24 AM Tr. 19:8-20 (Mok); see also PTX-939

                     at -009 (showing “apps” as an emerging business line in 2018 with “high

                     revenue growth potential”; in contrast to “web” which is “established” ad has

                     “relatively low growth potential”). Again, that means at least 50 percent of

                     Google’s revenue was driven by a tool that is not even within Plaintiffs’

                     alleged markets.

            1195.2. Another 15 percent of DVAA profits in these years was driven by AdSense, a

                     Google sell-side product that supports indirect sales to, among others, Google

                     Ads advertisers but is excluded from Plaintiffs’ markets. 9/26/24 AM Tr.

                     19:21-23 (Mok).




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                5.      Plaintiffs Cannot Demonstrate Harm Resulting from Google’s
                        Conduct.

                        a.     Plaintiffs’ Expert Professor Lee Has Not Demonstrated Harm
                               to Competition from Google’s Conduct.

        1196. Plaintiffs’ expert Professor Lee asserted that Google’s conduct harmed “open-web”

 publishers and advertisers in three ways: by sustaining higher prices, by degrading quality, and by

 reducing innovation. 9/19/24 PM Tr. 142:1-25 (Lee). But Professor Lee did not quantify any

 harm to advertisers or publishers. 9/20/24 PM Tr. 12:1-15 (Lee).

        1197. Plaintiffs’ only evidence of harm in the form of higher prices is an experiment from

 2014, prior to the time that Plaintiffs allege Google had market power. 9/20/24 PM Tr. 9:3-10:24

 (Lee) (“Q. Other than that experiment a decade ago, did you rely on—did you rely on any

 quantitative information or do your own quantitative analysis to show that higher take rates would

 cause higher advertising prices? A. That’s the one I recall sitting here today.”).

        1198. Aside from the fact that Plaintiffs have not demonstrated that Google’s fees have

 gone up (if anything, as explained above, evidence suggests they have gone down, supra ¶ 1146),

 Professor Lee’s testimony is limited to opining that the harm to publishers in the form of higher

 fees resulted from fees that were “materially higher,” where he defined “materially higher” as “not

 de minimis.” 9/20/24 PM Tr. 11:14-25 (Lee).

        1199. As to quality, Google’s products have improved in quality. For example, advertiser

 click-through rates have gone up while cost-per-click has gone down, and publisher revenue has

 increased. Supra ¶¶ 1138-1141.

        1200. Finally, Professor Lee did not analyze the rate of innovation in any of the three

 alleged markets. 9/20/24 PM Tr. 12:16-13:15 (Lee).




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                       b.      Plaintiffs’ Expert Professor Simcoe Has Not Demonstrated
                               Harm to Competition from Google’s Conduct.

        1201. Professor Simcoe claimed to have modeled the effects of three of the allegedly

 anticompetitive acts (Google Ads-AdX exclusivity, AdX-DFP exclusivity, and UPR). 9/19/24

 AM Tr. 14:5-18 (Simcoe).

        1202. Professor Simcoe did not—and insists he could not—quantify the effects of each

 separate piece of anticompetitive conduct. 9/19/24 AM Tr. 15:5-16:1 (Simcoe). Thus, if the Court

 declines to find that any one of the three alleged acts are anticompetitive, Professor Simcoe’s

 analyses cannot aid the Court in evaluating anticompetitive effects because Professor Simcoe’s

 model would be measuring lawful, competitive effects. Id. at 16:5-17:2 (Simcoe). As Professor

 Simcoe acknowledged, there is only one legal tying claim in the case. Id. at 17:3-6 (Simcoe).

 Even if the Court only declined to find unlawful the one “tie” alleged by Plaintiffs, Professor

 Simcoe’s analysis would be of no utility to the Court.

        1203. One of the core assumptions of Professor Simcoe’s but-for world was not only

 unsupported, but contradicted by the other data presented at trial. Professor Simcoe assumed that,

 in a but-for world, there would be no “tie” between Google Ads and AdX so advertisers on Google

 Ads would be able to use a single buying tool to multi-home among exchanges—implying that, in

 the current world, advertisers are unable to multi-home across exchanges if they use Google Ads.

 9/19/24 AM Tr. 18:6-13 (Simcoe).

            1203.1. When pressed on this assumption, Professor Simcoe first insisted that, by and

                     large, advertisers do not multi-home “when they’re using Google Ads.”

                     9/19/24 AM Tr. 20:12-13 (Simcoe). It became clear, however, that not only

                     had Professor Simcoe never used Google Ads, id. at 18:22-25 (Simcoe), he

                     had absolutely no idea whether and to what extent Google Ads users multi-



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                      home—even though the evidence demonstrates multi-homing, supra ¶ 663.

                      9/19/24 AM Tr. 19:1-6 (Simcoe) (Q. Okay. And you’ve not done any study

                      of how advertisers actually multi-home; correct? A. Well, I’ve seen evidence

                      that advertisers, not necessarily on Google Ads, use different exchanges. So

                      I’m not sure what you mean by study. I haven’t tried to measure the extent of

                      multi-homing by various advertisers.”).

             1203.2. Professor Simcoe eventually acknowledged that Google Ads advertisers can

                      bid on multiple exchanges via Google Ads and that he had not tried to measure

                      the number of bids made through Awbid. 9/19/24 AM Tr. 20:25-21:20

                      (Simcoe). When shown tables from other expert reports in the case that he

                      had reviewed, Professor Simcoe further acknowledged that Google Ads

                      advertisers, including large, well-known companies and the FAAs, already

                      multi-home across buying tools. Id. at 24:5-18, 26:12-21 (Simcoe) (“I would

                      agree that those advertisers bid using different tools.”); DTX-2532A (Respess

                      Figure 16: AdX Revenues and AdX Actual Take for FAA Pathways January

                      25, 2019 - January 24, 2023); DTX-2533A (Israel Table 1: AdX Spending

                      Patterns for Selected Advertisers, 2019-2022).

         1204. A second core assumption of Professor Simcoe’s but-for world was that AdX

 “would be able to submit real-time bids into third-party publisher ad servers, making alternatives

 to DFP more attractive.” 9/19/24 AM Tr. 28:21-29:5 (Simcoe) (“alternatives to DFP” refers to

 rival ad servers).

             1204.1. Professor    Simcoe     acknowledged,      consistent   with    every    witness’s

                      characterization of the conduct in this case as refusals to deal with rivals, that




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                     when he talks about the “near exclusivity of Google Ads demand to AdX,” he

                     is considering a but-for world in which Google gives “rivals more access to

                     Google customers” and takes on “the technical work . . . that would make its

                     products interoperable with its rivals.” 9/19/24 AM Tr. 33:2-34:8 (Simcoe).

            1204.2. Professor Simcoe admitted he has no idea how much the technical work to

                     build interoperability would cost; nor has he even tried to analyze it. 9/19/24

                     AM Tr. 30:13-25 (Simcoe). In other words, in his but-for world Google would

                     need to do some undetermined amount of technical work at an undetermined

                     cost in order to share its customers with its rivals.

        1205. Professor Simcoe’s analysis also failed to even attempt to analyze what proportion

 of Google’s scale is due to procompetitive conduct.

            1205.1. As he admitted, Professor Simcoe’s Comparables Analysis does “nothing to

                     disaggregate any pro-competitive benefits of scale.” 9/19/24 AM Tr. 51:23-

                     52:1 (Simcoe).

            1205.2. Similarly, for his Event Study, Professor Simcoe identified an ad exchange’s

                     customer base as a “dimension of quality.” 9/19/24 AM Tr. 31:22-32:9

                     (Simcoe).    But he admitted he cannot “disentangle” this dimension of

                     quality—i.e., growth of a customer base—from the “alleged exclusionary

                     conduct.” Id. at 32:10-19 (Simcoe). In other words, he did not quantify what

                     portion of Google’s scale came from procompetitive conduct to grow

                     Google’s customer base and improve the quality of its tools as opposed to the

                     allegedly exclusionary conduct.




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             1205.3. Without analysis of Google’s procompetitive conduct or benefits, Professor

                     Simcoe’s but-for world envisions Google giving rivals more access to Google

                     customers, which could in turn eliminate the benefits of Google’s integrated

                     ad tech stack. 9/19/24 AM Tr. 33:2-9 (Simcoe); supra ¶¶ 732-784.

        C.      The Display Advertising Industry Is Constantly Evolving, and No One Can
                Predict How the Tools Will Change in the Future.

        1206. Plaintiffs’ markets and claims ignore both the long, fiercely competitive history of

 display advertising, which has “evolved a lot in the last 18 years,” and the “rapidly changing”

 future of display advertising. As witnesses explained:

             1206.1. Korula: “It’s a rapidly changing business. It’s evolved very considerably over

                     the last decade. We are constantly trying to find ways to make the product

                     better.” 9/23/24 AM Tr. 48:13-49:1 (Korula).

             1206.2. Stewart: In 20 years of working in advertising, “digital advertising has

                     advanced so much.” “The data—the capabilities of digital advertising are far

                     beyond what they were certainly back then.”         9/25/24 PM Tr. 28:6-15

                     (Stewart).

             1206.3. Sheffer: “A lot of the companies that are operating across this entire

                     ecosystem have changed and morphed their offerings and have shown up in

                     multiple different places across this ecosystem. So this is a snapshot. It’s a

                     representative snapshot of an industry that has evolved a lot in the last 18

                     years.” 9/20/24 PM Tr. 62:9-17 (Sheffer).

             1206.4. Goel (PubMatic): PubMatic is “confronted by rapidly changing technology,

                     evolving industry standards, and consumer preferences.” 9/12/24 PM Tr.

                     134:9-135:12 (Goel).



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            1206.5. Creput (Equativ): “The ad server manages all the complexity of digital

                      advertising, the differences in format, in operating systems, in terms of

                      devices which are constantly evolving.” 9/13/24 PM Tr. 82:6-18 (Creput).

            1206.6. Oliphant (U.S. Census Bureau): Oliphant testified that digital had changed

                      very much between the 2010 Census and 2020 Census. 9/23/24 PM Tr. 74:1-

                      3 (Oliphant); see also DTX-1343 at 38 (2018 Census presentation listing the

                      “changing video landscape,” “emergence of social platforms,” and “shift in

                      digital buying process and technology” as trends for the Census to consider

                      for the 2020 Census as compared to the 2010 Census).

        1207. Witnesses in the industry likewise testified that, in light of the dynamic history of

 display advertising, it is impossible to predict how the industry will evolve in the future.

            1207.1. Dederick (The Trade Desk): “Q. Are you able to predict what is going to

                      happen competitively to The Trade Desk within the next five years? A. No.

                      Q. How about in the next two years? A. No. Q. Ten? A. No.” 9/12/24 PM

                      Tr. 30:13-19 (Dederick).

            1207.2. Casale (Index Exchange): “Q. It’s your general view, even this year, that the

                      world of programmatic ad tech is dynamic and unpredictable? A. Yes. Q.

                      And that it continues to encounter numerous transformational events that

                      impact ad tech? A. I would agree with that statement.” 9/9/24 PM Tr. 21:2-

                      7 (Casale).

            1207.3. Friedman (Goodway Group): “The programmatic and social evolution is not

                      even 15 years old,” and “we’re only in the beginning innovative phases for




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                    digital advertising with a lot more to come.” 9/10/24 PM Tr. 48:18-49:2

                    (Friedman).

           1207.4. Goel (PubMatic): “Q. And now certainly, Mr. Goel, are you able to predict

                    what’s next in this digital ecosystem, what’s going to happen in the next five

                    years? A. Not accurately.” 9/12/24 PM Tr. 150:7-10 (Goel).

        1208. This Court should reject Plaintiffs’ misrepresentations and misunderstandings of

 the past as a basis to dictate the future, especially when the evidence actually showed a

 healthy, dynamic, and competitive market.




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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF VIRGINIA
                              ALEXANDRIA DIVISION



 UNITED STATES, et al.,

                           Plaintiffs,

             v.                                 No. 1:23-cv-00108-LMB-JFA

 GOOGLE LLC,

                           Defendant.




                  GOOGLE LLC’S PROPOSED FINDINGS OF FACT
                      RELATING TO TRIAL WITNESSES




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         PROPOSED FINDINGS OF FACT RELATING TO TRIAL WITNESSES1

        1.      At trial, witnesses from the following categories testified either live or through

 deposition video or read-in2: current Google employees, former Google employees, advertisers,

 advertising agencies, publishers, competitors to Google, expert witnesses on behalf of Google, and

 expert witnesses on behalf of Plaintiffs.

        2.      No witness called by Plaintiffs demonstrated how the Google products at issue in

 this case actually worked. Only witnesses called by Google did.

        3.      Google presented the majority of the witnesses who testified at trial as corporate

 representatives of publishers: Facebook, Microsoft, The New York Times, Vox, Buzzfeed, and

 MediaVine.

        4.      Plaintiffs called only three publisher witnesses live, all represented by the same

 outside counsel: Stephanie Layser, formerly employed at The Daily Mail and News Corp; Matthew

 Wheatland, a representative of The Daily Mail; and Tim Wolfe, a representative of Gannett. The

 Daily Mail and Gannett have filed suit against Google in the Southern District of New York

 asserting allegations that relate to Google’s display ads business. 9/9/24 AM Tr. 55:24-56:11,

 99:5-100:2 (Wolfe); 9/18/24 AM Tr. 150:1-3 (Wheatland). The same attorney, John Thorne,

 represents both The Daily Mail and Gannett in their lawsuit against Google in the Southern District

 of New York. E.g., ECF No. 138, No. 1:21-md-3010 (S.D.N.Y.) (on behalf of Associated



 1
  Paragraphs in this document are cited to in the Proposed Conclusions of Law as “Witnesses
 FOF.”
 2
   For witnesses who testified through deposition video, citations to their testimony are to the
 deposition transcript that was provided to the Court. For witnesses who testified through
 deposition read-in, but sealed portions of the deposition were not read in court, citations to their
 sealed testimony are to the deposition transcript that was provided to the Court. In all other
 instances, citations to the testimony of witnesses who testified through deposition are to the trial
 transcript.


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 Newspapers, a subsidiary of The Daily Mail); ECF No. 589, No. 1:21-md-3010 (S.D.N.Y.) (on

 behalf of Gannett). In this case, John Thorne also represented Matthew Wheatland and The Daily

 Mail, Tim Wolfe and Gannett, and News Corp. Dkt. 407 (notice of appearance on behalf of News

 Corp); 9/27/24 AM Tr. 80:3-23 (Wheatland).

          5.    Plaintiffs did not call corporate representatives from some of the most significant

 household names offering integrated display advertising tools that support both the buy-side and

 the sell-side: Amazon, Microsoft, or Facebook. In addition, Google, not Plaintiffs, called a

 representative of Criteo, another significant display ad competitor that offers an integrated ad tech

 stack.

          6.    Most of Google’s competitors called as live witnesses by Plaintiffs—OpenX, Index

 Exchange, The Trade Desk, PubMatic, and Magnite (formerly known as Rubicon Project)—have

 representatives that sit on the board of Prebid, a key Google competitor. 9/17/24 PM Tr. 96:12-

 97:13 (Cadogan). Prebid is an organization of ad tech companies that “collectively and community

 own[s]” the header bidding technology they developed (also called Prebid). 9/12/24 PM Tr. 164:2-

 24 (Kershaw); see also 9/13/24 AM Tr. 27:19-28:11 (Kershaw). As Kershaw, Prebid’s founder,

 testified, Prebid directly competes with Google’s sell-side offerings, including Open Bidding.

 9/13/24 AM Tr. 10:19-11:8, 31:16-21 (Kershaw). In addition, Stephanie Layser, who testified

 about her experiences as a former employee of News Corp, personally sat on the board of Prebid

 when she was at News Corp. 9/10/24 AM Tr. 8:10-14 (Layser). Another of Plaintiffs’ witnesses,

 Tom Kershaw, was the founder and former Chairman of the Board of Prebid. 9/12/24 PM Tr.

 163:16-23 (Kershaw).

          7.    In some instances, Plaintiffs expressly avoided calling the witnesses they had

 deposed as corporate representatives of third parties pursuant to Federal Rule of Civil Procedure




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 30(b)(6). Instead, Plaintiffs opted to call former employees who had never been deposed in this

 case: Stephanie Layser, formerly at News Corp; Brian Boland, formerly at Facebook; Tim

 Cadogan, formerly at OpenX; and Tom Kershaw, formerly at Rubicon Project.

        8.       Plaintiffs called no advertiser witnesses, live or through deposition, to testify about

 the extent to which advertisers substitute across advertising channels and formats, or the benefits

 they receive from Google’s integrated platforms. The only advertisers that the Court heard from—

 Brian Bumpers (Zulily), Courtney Caldwell (ShearShare), and Kendall Oliphant (U.S. Census

 Bureau)—were called by Google.

        9.       Of the three advertising agency representatives that Plaintiffs called live, Joshua

 Lowcock has testified twice within one year on behalf of the Department of Justice Antitrust

 Division in antitrust lawsuits against Google relating to digital advertising. 9/9/24 AM Tr. 80:6-8

 (Lowcock). At this trial, he gave sworn testimony that contradicted his sworn testimony at the

 previous trial. Id. at 84:23-85:14 (Lowcock). At each trial, Lowcock’s testimony conveniently

 supported Plaintiffs’ allegations in the respective case. Another agency representative, Jay

 Friedman, met with the Department of Justice’s attorneys and offered: “If there are any specific

 parts of the case that you’d like me to know well, please let me know” and suggested that he “keep

 to what’s legally relevant and beneficial.” 9/10/24 PM Tr. 47:7-17 (Friedman). Friedman’s

 advertising agency has partnered with two of Google’s competitors that also had representatives

 testify at this trial, The Trade Desk and PubMatic. 9/10/24 AM Tr. 139:15-20 (Friedman); 9/10/24

 PM Tr. 44:12-45:10 (Friedman).

        10.      Plaintiffs called five expert witnesses on their behalf.

              10.1.   Professors Rosa Abrantes-Metz and Ramamoorthi Ravi performed little to no

                      quantitative analysis of their own and based their opinions largely on




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                  reviewing Google documents, even though Professor Abrantes-Metz claimed

                  no “additional expertise as an economist in reviewing documents accurately.”

                  9/18/24 AM Tr. 68:18-69:1, 73:11-14, 73:24-74:3, 113:4-8 (Abrantes-Metz);

                  9/11/24 PM Tr. 19:2-6 (Ravi).

          10.2.   Professor Timothy Simcoe reviewed just 53 of the over 6 million documents

                  produced in this case and performed an apportionment analysis based on only

                  “6 millionths of 1 percent” of the data he had available. 9/18/24 PM Tr. 40:17-

                  42:22 (Simcoe); 9/19/24 AM Tr. 83:23-84:19 (Simcoe).

          10.3.   Professor Gabriel Weintraub performed an analysis that the Court correctly

                  described as having “less reliability” because it was not based on any

                  particular experiment. 9/16/24 PM Tr. 108:12-15 (Weintraub).

          10.4.   Plaintiffs’ lead market definition expert, Professor Robin Lee, defined three

                  markets based on tools that transact “open-web display advertising” despite

                  testifying he did not “recall hearing those four words in that order” prior to his

                  work on this case. 9/19/24 PM Tr. 51:22-52:2 (Lee). In defining the alleged

                  product markets, Professor Lee did not perform any quantitative analysis of

                  substitution between ad tech for “open-web display ads” and other ad tech.

                  9/20/24 AM Tr. 94:18-95:9 (Lee). Professor Lee emphasized that he defined

                  markets for tools, not transactions. 9/19/24 PM Tr. 52:3-11 (Lee); 9/20/24

                  AM Tr. 31:16-32:7 (Lee). All the tools in his markets transact in other ad

                  channels and formats, yet Professor Lee proceeded to calculate market shares

                  for these tools based solely on a subset of transactions the tools can facilitate—




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                      those in “open-web display ads.” 9/19/24 PM Tr. 71:17-25, 90:14-91:2,

                      119:15-20 (Lee).

        11.      Google called three expert witnesses on its behalf.

              11.1.   Professor Judith Chevalier, Professor of Economics and Finance at Yale

                      University, testified about her opinions regarding Professor Simcoe’s

                      conclusions relating to AdX’s revenue share. 9/25/24 AM Tr. 11:12-23, 12:9-

                      14, 12:18-13:3 (Chevalier).

              11.2.   Dr. Mark Israel, presently President of Compass Lexecon, has been engaged

                      over 100 times as a consulting expert in the areas of economics or competition

                      economics, including on behalf of the Federal Trade Commission, 9/26/24

                      AM Tr. 35:15-18, 36:2-11 (Israel). He testified about his conclusions relating

                      to market definition, market power, and Google’s conduct and its effects on

                      competition, id. at 37:13-38:18, 157:21-158:18 (Israel).

              11.3.   Professor Paul Milgrom, Professor of Economics at Stanford University, a

                      founder of the field of market design, and a Nobel Laureate in the auction

                      theory and invention of new auction methods, 9/24/24 AM Tr. 16:25-20:19

                      (Milgrom), testified about his conclusions regarding the economic effects of

                      Google’s display advertising auction practices, id. at 23:8-13 (Milgrom).

        12.      Plaintiffs did not call a single expert witness to rebut the testimony of Google’s

 experts.

        13.      The next section provides an overview of the relevant experiences of the witnesses

 who testified at trial, as well as any particularly salient testimony going to the credibility of the

 witnesses.




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 I.     Current Google Employees

        14.      Per Bjorke (live): Per Bjorke has worked for Google’s AdSpam team for eleven

 years and is currently the Director of Product Management of the AdSpam team. 9/23/24 PM Tr.

 43:12-20 (Bjorke). The AdSpam team, which is part of Google’s larger Ads Privacy and Safety

 team, works to ensure that “the impressions and the clicks that the advertisers are paying for are

 valid.” Id. at 44:23-45:2, 47:23-48:7 (Bjorke). Prior to joining Google, Bjorke worked at Yahoo,

 where he worked on data processing and analytics for the metrics that Yahoo’s ads business used

 to measure traffic on its digital content. Id. at 43:24-44:4 (Bjorke).

        15.      Alejandro Borgia (live): Alejandro Borgia has been Director of Product

 Management for the Ad Safety team at Google for over four years. 9/25/24 PM Tr. 101:16-22

 (Borgia). Google’s Ad Safety team, which sits within its larger Ads Privacy and Safety Team,

 serves both advertisers and publishers to protect them from safety threats and improve the quality

 of the match between an advertiser and a publisher. Id. at 102:1-3, 104:6-17, 105:8-17 (Borgia).

 Borgia oversees the development and enforcement of Google’s ad safety policies across Google’s

 ad tech tools, including brand safety control measures and user safety and transparency initiatives.

 Id. at 104:6-17, 122:12-20, 127:24-128:7 (Borgia).

        16.      Marco Hardie (live): Marco Hardie has worked on the buy-side of Google’s display

 ads business for over seven years. He is currently Head of Industry within the Government and

 Advocacy Group, leading a sales team that sells Google’s advertising products to government and

 advocacy clients. 9/23/24 PM Tr. 108:7-16 (Hardie). Hardie oversees Google’s partnerships with

 government agencies including the Census, Department of Veterans Affairs, Department of Health

 and Human Services, United States Postal Service, and advocacy groups working on issues such

 as smoking cessation. Hardie’s team supports these agencies to help achieve their advertising and




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 business goals using Google’s advertising tools. 9/23/24 PM Tr. 112:6-14, 113:17-22 (Hardie).

 In Hardie’s role, he works and speaks directly with Google’s advertiser customers and with their

 ad agencies. 9/23/24 PM Tr. 112:19-24 (Hardie).

        17.     Nirmal Jayaram (live): Nirmal Jayaram has over 12 years of experience as an

 engineer and manager in the buy-side of Google’s display advertising business. 9/17/24 AM Tr.

 7:12-20, 106:1-6 (Jayaram). Jayaram is presently a Director of Engineering leading the buy-side

 engineering team. Id. at 105:14-106:6 (Jayaram). He has worked as an engineer on Google’s buy-

 side products, including Google Ads and DV360, since he started at Google as a data scientist,

 before he advanced to manager and eventually director. Id. at 7:12-20, 106:1-6, 106:17-21

 (Jayaram). Over the course of his time at Google, Jayaram has been personally involved in

 approximately 200 to 250 product optimizations or features on Google’s buy-side tools. Id. at

 109:11-15 (Jayaram). Those features include AwBid, buy-side Dynamic Revenue Sharing, and

 Project Poirot. Id. at 115:15-18, 137:4-10, 146:1-12 (Jayaram).

        18.     Woojin Kim (deposition read-in): Woojin Kim was previously Director of Product

 Management for Google Ads until February 2017, when he left the Google display ads team.

 9/19/24 PM Tr. 29:18-30:1 (Kim).

        19.     Nitish Korula (live): Nitish Korula has over 10 years of experience as an engineer

 and manager in the sell-side of Google's display advertising business. 9/23/24 AM Tr. 8:9-9:20

 (Korula). He started at Google in the research department, where he collaborated closely with the

 display ads team. Id. at 8:9-13 (Korula). From 2016 to December 2021, Korula formally joined

 the display ads business, where he was eventually promoted to Engineering Director for Ad

 Serving and Sell-Side Ad Quality. Id. at 8:8-18 (Korula). The Sell-Side Ad Quality team is

 responsible for “continuously optimizing” “everything that happens in real time from when a user




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 visits a publisher’s website or a mobile app and an ad request is sent to Google which looks at all

 of the direct sold ads the publisher might have, decides whether to run a programmatic auction,

 sends bid requests to buyers, receives the bids, runs the auction, applies various optimizations, and

 then ultimately returns the ad to the user’s device.” Id. at 9:6-17 (Korula). Korula personally

 worked on the Dynamic Allocation and Enhanced Dynamic Allocation features on Google’s tools;

 led the teams that developed sell-side Dynamic Revenue Sharing; and led the migration to the

 Unified First Price Auction and Uniform Pricing Rules. Id. at 53:16-54:2, 77:11-14, 84:25-85:3,

 100:23-101:1 (Korula).

        20.      George Levitte (deposition read-in): George Levitte previously served as Product

 Manager for the “AdX buy-side, which provide[d] functionality and tools for third-party demand

 sources” integrated with AdX. 9/19/24 PM Tr. 18:25-19:5 (Levitte). In that role, he worked on a

 number of projects, including ads.txt and Open Bidding. Id. at 19:9-14 (Levitte).

        21.      Neal Mohan (live): Neal Mohan worked at DoubleClick before its acquisition by

 Google, after which he worked in Google’s display advertising business in multiple leadership

 roles. 9/16/24 AM Tr. 5:24-6:12 (Mohan). Prior to Google’s acquisition of DoubleClick, Mohan’s

 last position at DoubleClick was Senior Vice President of Strategy and Product Management. Id.

 at 6:24-7:2 (Mohan). Once he moved over to Google, Mohan became the Director of Display Ads

 Product Management in charge of DFP, AdX, and the Google Display Network. Id. at 7:8-25

 (Mohan).     He subsequently was promoted to Vice President of the display and video ads

 organization. Id. at 8:1-7 (Mohan). Mohan departed Google’s display ads business in 2015 for

 YouTube, and he is presently the CEO of YouTube. Id. at 5:24-25, 8:8-10 (Mohan).

        22.      Jessica Mok (live): Jessica Mok served in various finance roles for Google’s

 display advertising business from January 2017 to August 2023. 9/26/24 AM Tr. 8:10-24 (Mok).




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 Her roles included Finance Manager, Senior Finance Manager, and eventually Finance Director of

 the entire display ads business. Id. at 9:6-11 (Mok). In connection with her roles, Mok served as

 a financial strategic advisor for the display ads business and prepared the business’s profit and loss

 statements. Id. at 9:12-25 (Mok).

        23.      Aparna Pappu (deposition read-in): Aparna Pappu previously worked at

 DoubleClick and joined Google after the DoubleClick acquisition in 2008. 9/18/24 AM Tr. at

 200:20-201:9 (Pappu). Pappu eventually led the engineering teams responsible for AdX, DFP,

 and AdSense before she left Google’s display ads team in 2018. Id. at 201:10-202:16 (Pappu).

        24.      Scott Sheffer (live): Scott Sheffer has worked over 18 years at Google in various

 leadership roles in the sell-side of the display advertising business. 9/20/24 PM Tr. 45:23-46:4

 (Sheffer). He started as a manager in the AdSense online sales and operations team, was promoted

 to leading the global AdSense online sales team in 2010, and was promoted to Vice President in

 2013. Id. at 47:5-11 (Sheffer). Currently, Sheffer is the Vice President for Global Partnerships

 Sell-Side Monetization at Google. In that role, he leads the team that works with Google's

 “publisher, developer, and other partners to implement and utilize” Google’s “sell-side

 monetization tools.” Id. at 44:25-45:15 (Sheffer). His customers include “publishers, developers,

 broadcasters of all sizes around the world, from folks who do weekend blogging all the way

 through large app developers, large brand-name publishers.” Id. at 45:16-22 (Sheffer). Sheffer is

 personally in “regular contact” with those publishers to discuss topics such as “business

 opportunities” and “technical plans for the future.” 9/20/24 PM Tr. 71:10-24 (Sheffer); see also

 id. at 72:7-11 (Sheffer) (the Court permitting Sheffer to testify to “his understanding” of “the trend

 in the relevant industries”).




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        25.      Sarah Stefaniu (live): Sarah Stefaniu is a Global Products Solution Lead for

 Privacy and Regulations with the Google Marketing Platform. 9/23/24 PM Tr. 4:14-22 (Stefaniu).

 Presently, Stefaniu works on privacy initiatives relating to Google’s buy-side products, DV360

 and Campaign Manager 360 (an ad serving and measurement platform).             Id. at 4:23-5:14

 (Stefaniu). Stefaniu first started at Google in February 2018 as an account manager for Google

 Ads supporting the Large Customer Sales group, where she worked with clients such as Amazon,

 Conde Nast, Penguin Random House, HarperCollins, The New York Times, Wall Street Journal,

 and the Social Security Administration.      Id. at 7:4-19, 11:2-4, 13:5-10, 14:3-10, 14:14-17

 (Stefaniu). In connection with her roles at Google, Stefaniu has personally used the Google Ads

 and DV360 interfaces. Id. at 6:2-4, 10:4-9 (Stefaniu).

        26.      Adam Stewart (live): Adam Stewart has 33 years of advertising experience, with

 14 years at the Discovery Channel and 18 years at Google. 9/25/24 PM Tr. 27:7-14 (Stewart). In

 his 33 years of experience, Stewart has personally observed the evolution of display advertising

 over time. Id. at 28:6-15 (Stewart). Stewart is currently a Vice President at Google and is

 responsible for Google’s advertising partnerships with large customers in the automotive, home

 and personal care, food and beverage, consumer technology, media and entertainment, and

 government and advocacy businesses. Id. at 26:16-21, 27:21-28:5 (Stewart). In connection with

 his role, Stewart speaks directly with Google's customers seeking to market themselves on a

 weekly and sometimes daily basis.       Id. at 26:24-27:3 (Stewart).   Stewart also supervises

 approximately 500 Google employees, who all speak directly with Google’s advertiser customers.

 Id. at 27:4-6 (Stewart).




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 II.    Former Google Employees

        27.     Jonathan Bellack (live): Jonathan Bellack worked at DoubleClick before it was

 acquired by Google and, from 2008 to 2018, as a manager on the sell-side of Google’s ad tech

 business. 9/19/24 AM Tr. 117:7-10, 119:1-24 (Bellack). Bellack first joined DoubleClick as a

 product manager on DFP in 2004. Id. at 117:22-118:3 (Bellack). After Google acquired

 DoubleClick in 2008, Bellack became a Product Manager Leader at Google responsible for DFP

 and AdX. Id. at 119:5-16 (Bellack). In that role, Bellack “supported” and oversaw the building

 and release of Open Bidding, Google’s competitive response to header bidding. Id. at 143:8-23

 (Bellack).   Plaintiffs elicited during their examination that Google’s culture generally was

 characterized by robust discussion; Bellack explained that other Google employees might not

 agree with his statements, including one exhibit Plaintiffs heavily rely upon, which contained what

 he described as “late night jetlag ramblings.” Id. at 155:10-165:12 (Bellack); see PTX-367 at -463

 (2017 internal Google email chain). Plaintiffs elicited, for example, that “there were a wide range

 of opinions about header bidding” and Bellack’s acknowledgement that “others” disagreed with

 his opinions about header bidding. 9/19/24 AM Tr. 135:14-20 (Bellack).

        28.     Brad Bender (live): Brad Bender worked in the ad tech industry for many years,

 including as an executive in Google’s ad tech business for over a decade. Prior to joining Google

 in 2008, Bender worked for DoubleClick before it was acquired by Google. 9/11/24 AM. Tr. 9:8-

 10 (Bender). After joining Google, Bender was responsible for the Google Display Network,

 which is now known as Google Ads. Id. at 9:11-10:5, 43:3-9 (Bender). From 2008 to 2019, his

 area of responsibilities grew to include other buying tools, including what is now known as DV360,

 and, by 2018, Google’s entire display ads business. Id. at 9:11-11:18 (Bender). Bender left the

 Google display advertising business in November 2019. Id. at 12:3-7 (Bender).




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          29.   Sam Cox (deposition read-in): Sam Cox was a Group Project manager at Google

 for four-and-a-half years, when he was responsible for DFP and AdX. 9/19/24 PM Tr. 15:5-20

 (Cox).

          30.   Chris LaSala (live): Chris LaSala is currently a member of the faculty at Columbia

 Business School, where he teaches a course on product management. 9/13/24 AM Tr. 140:13-24

 (LaSala). From 2009 to 2022, LaSala worked in Google’s ad tech business in various roles,

 predominantly on the sell-side of the business. Id. at 37:2-4, 38:4-10 (LaSala). From 2013 to

 2022, LaSala was Managing Director for Global Commercialization with a focus on Google’s AdX

 and DFP products. Id. at 38:11-22 (LaSala). In this role, LaSala and his team were responsible

 for sharing information and product feedback about AdX and DFP between Google’s sales,

 product management, and engineering teams. Id. at 38:23-39:6 (LaSala). While working at

 Google, LaSala also served as an adjunct professor at Duke University’s Fuqua School of Business

 teaching a course on digital platforms. Id. at 141:6-14 (LaSala). During their examination,

 Plaintiffs elicited testimony from LaSala that he advocated for Google’s ad tech stack to become

 a more “closed network model,” including Google Ads and DV360 buying more exclusively from

 Google’s sell-side tools, but LaSala testified that his views were “strongly rejected” as Google

 continued to build interoperability with third-party tools. Id. at 82:19-84:11 (LaSala); see also,

 e.g., PTX-864 at -223; PTX-624 at -169 (examples of documents introduced by Plaintiffs stating

 LaSala’s position).

          31.   Eisar Lipkovitz (deposition read-in and deposition video): Eisar Lipkovitz was

 Vice President for Engineering for Google’s display ads business from 2014 to 2018. Deposition

 of Eisar Lipkovitz (Litigation) Tr. 22:8-14.




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        32.      Bryan Rowley (deposition video): Bryan Rowley worked at Google from 2011 to

 2019 in various client-facing sales roles on the sell side. He started at Google in 2011 as Strategic

 Partner Lead, selling ad tech products largely to news publishers. Deposition of Bryan Rowley

 Tr. 19:14-19, 20:7-21:02.        Rowley eventually became Head of Global Strategy and

 Commercialization, Programmatic Indirect and Ad Serving, and then Head of Global Strategy and

 Commercialization, Ad Manager and Authorized Buyer. Id. at 26:25-27:12, 31:10-14 (Rowley).

        33.      Scott Spencer (live): Scott Spencer worked on the sell-side of Google’s display

 advertising business and left Google in the beginning of 2023. 9/18/23 AM Tr. 6:19-21, 7:18-8:7

 (Spencer). Before working at Google, Spencer worked as a product manager and in various

 product management roles at DoubleClick. Id. at 7:16-23 (Spencer). He joined Google after the

 DoubleClick acquisition. Id. at 8:8-11 (Spencer).

        34.      Bonita Stewart (deposition read-in): At the time of her deposition, Bonita Stewart

 had been Vice President of Global Partnerships at Google since 2012. 9/19/24 PM Tr. 17:2-11 (B.

 Stewart).

        35.      Rahul Srinivasan (live): Rahul Srinivasan joined Google in the summer of 2016 as

 a product manager on AdX. 9/12/24 AM Tr. 7:12-19 (Srinivasan). His product management role

 eventually extended to DFP and AdX. Id. at 7:20-8:6 (Srinivasan). Srinivasan was the product

 manager in charge of Google’s rollout of the Unified First Price Auction, Unified Pricing Rules,

 and related changes in 2019. Id. at 19:19-23, 113:20-115:9 (Srinivasan). In that role, Srinivasan

 led a meeting in April 2019 with Google’s publisher partners to discuss Google’s changes. Id. at

 66:25-67:7 (Srinivasan). Srinivasan left the Google Ad Manager team “shortly after” the changes

 were rolled out. Id. at 75:5-8 (Srinivasan). Because he worked on the sell-side, Srinivasan was




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 not familiar with the buy-side’s decisions and the reasons for those decisions. Id. at 17:24-18:4,

 49:14-18 (Srinivasan).

 III.   Advertisers:

        36.     Brian Bumpers (deposition read-in): Brian Bumpers is Marketing Analytics

 Manager at Zulily, an e-commerce company that sells retail products primarily to moms and

 children. 9/27/24 AM Tr. 22:22-23:8 (Bumpers). Bumpers is responsible for managing “all the

 analytics” for the marketing department of Zulily, including “outbound, paid ads, customer

 experience, analytics.” Id. at 22:24-23:3 (Bumpers). In 2022, Zulily’s ad spend budget was $58

 million. Id. at 23:12-14 (Bumpers). Zulily advertises its services on channels such as Google and

 Facebook, the Instagram app, Connected TV, TikTok, Pinterest, Amazon, Snapchat, and Twitter.

 Id. at 23:15-24:20, 27:21-28:5 (Bumpers).

        37.     Courtney Caldwell (live): Courtney Caldwell is the founder of a small- or medium-

 sized business called ShearShare, a beauty tech start-up that has won awards for its pioneering

 service in the industry. 9/25/24 AM Tr. 111:10-18, 115:8-21 (Caldwell). Before she founded

 ShearShare, Caldwell led digital demand generation and innovation at Oracle. Id. at 112:19-113:1

 (Caldwell). Caldwell has used Google Ads to advertise ShearShare since 2017, and has used

 Google Ads in connection with her previous roles since as early as 2001. 9/25/24 PM Tr. 4:9-5:3

 (Caldwell).   In addition to using Google Ads to advertise, ShearShare also has purchased

 advertising on Facebook, Instagram, LinkedIn, and TikTok. Id. at 7:5-10 (Caldwell).

        38.     Kendall Oliphant (live): Kendall Oliphant has over seventeen years of experience

 working for the United States Census Bureau in communications and publicity, with “expertise

 in” “communications programming, campaign development, and implementation.” 9/23/24 PM

 Tr. 65:9-11, 105:7-11 (Oliphant). For the 2010 Census, Oliphant served as Chief of the Contract




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 Management Branch for the 2010 Census Publicity Office and managed the Census

 communications contract covering paid media, partnerships, website development, and more. Id.

 at 66:2-8, 66:15-67:5 (Oliphant). For the 2020 Census, Oliphant also served as the Chief of the

 Integrated Communications Contract Program for the 2020 Census Management Office. She

 oversaw “everything related to the contract” including “communications, the management,” and

 “the budget.” Id. at 65:15-66:8 (Oliphant). Within that role, Oliphant led the paid media

 purchasing for the 2020 Census campaign, id. at 65:19-66:8 (Oliphant), which included purchasing

 of digital media advertising, id. at 67:6-21 (Oliphant). For the 2020 Census, the Census Bureau

 spent $360 million on paid media, which included purchasing banner ads, rich media ads,

 streaming video ads, Connected TV ads, and digital out-of-home ads. Id. at 81:16-82:4, 82:24-

 83:4, 86:17-87:10 (Oliphant).

 IV.    Advertising Agencies:

        39.       Bo Bradbury (deposition read-in): Bo Bradbury is Senior Vice President,

 Managing Director at GSD&M, an advertising agency. 9/18/24 AM Tr. 193:12-18 (Bradbury).

        40.       Jay Friedman (live): Jay Friedman is CEO of the Goodway Group, a marketing

 services firm that provides traditional advertising, agency services, and marketing consulting.

 9/10/24 AM Tr. 129:3-15 (Friedman).

              40.1.   After Plaintiffs’ lawsuit was filed, Friedman met with the Department of

                      Justice’s attorneys and offered: “I’m fairly well versed in the suit.” “If there

                      are any specific parts of the case that you’d like me to know well, please let

                      me know.” Friedman also offered to “keep to what’s legally relevant and

                      beneficial.” 9/10/24 PM Tr. 47:7-17 (Friedman).




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              40.2.   Friedman testified that he typically uses demand-side platforms and not ad

                      networks, 9/10/24 AM Tr. 140:7-10 (Friedman), but admitted: “You’ll have

                      to forgive me in terms of the fact that I don’t log into the interface and select

                      ads and I haven’t for a while,” id. at 140:19-23 (Friedman); 9/10/24 PM Tr.

                      23:8-13 (Friedman).

              40.3.   Goodway Group has partnered with two of Google’s competitors, The Trade

                      Desk and PubMatic—both of whom had representatives testify at this trial.

                      9/10/24 AM Tr. 139:15-20 (Friedman); 9/10/24 PM Tr. 44:12-45:10

                      (Friedman).

        41.       Luke Lambert (live): Luke Lambert is the Chief Innovation and Product Solutions

 Office for OMD USA, a marketing and advertising firm. 9/13/24 PM. Tr. 25:1-7 (Lambert).

              41.1.   Lambert testified that the term “open-web display advertising” has been used

                      since the “dawn” of “interactive advertising” in 2008. 9/13/24 PM Tr. 57:8-

                      13 (Lambert). On cross-examination, Lambert was presented with an ordinary

                      course of business presentation his firm prepared for advertisers that listed

                      forms of advertising, but did not contain anywhere the term “open-web

                      display advertising.” Id. at 55:19-21 (Lambert); see also DTX-1151A at 8, 10

                      (October 25, 2021 presentation titled “FY22 Paid National Media Tactical

                      Recommendation”). On re-direct examination, Lambert attempted to explain

                      that “display” may have meant the same thing as “open-web display,” 9/13/24

                      PM Tr. at 56:24-57:2 (Lambert), but he had previously testified that the word

                      “display” referred to not just banner ads, but also native ads, rich media ads,

                      YouTube ads, Amazon ads, and social media ads, id. at 55:4-18 (Lambert).




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        42.       Joshua Lowcock (live): Joshua Lowcock is President of Media at Quad, a

 marketing experience company that provides advertising agency services, creative agency

 services, and print production services. 9/9/24 AM Tr. 52:10-20 (Lowcock). Prior to working at

 Quad, Lowcock worked for Universal McCann, an advertising agency, for eight years in a number

 of positions. Id. at 52:25-53:17, 54:10-24 (Lowcock).

              42.1.   Lowcock is a two-time government witness who testified for the Department

                      of Justice Antitrust Division in antitrust lawsuits against Google relating to

                      digital advertising twice within one year. 9/9/24 AM Tr. 80:6-8 (Lowcock).

              42.2.   Lowcock’s testimony at trial contradicted his sworn testimony at the Search

                      antitrust trial. At trial, during cross examination, Lowcock was asked whether

                      the vast majority of advertising on social media is display, and he answered

                      “no.” Under oath at the Search trial, he had testified the opposite: “so the vast

                      majority of advertising on social media is display.” 9/9/24 AM Tr. 84:23-

                      85:14 (Lowcock).

        43.       Susan Schiekofer (deposition read-in): Susan Schiekofer is Chief Digital

 Investment Officer at GroupM, an advertising agency. 9/17/24 PM Tr. at 137:3-6 (Schiekofer).

 Schiekofer’s team at GroupM “works with the client teams to figure out what are the partners that

 we want to do business with” in order to generate return on investment for advertiser clients. Id.

 at 137:7-16 (Schiekofer).

 V.     Publishers:

        44.       Ken Blom (deposition video): Ken Blom is the Executive Vice President of

 Strategy and Operations at Buzzfeed, Inc. Deposition of Ken Blom Tr. 8:12-19. Buzzfeed, Inc.

 owns and operates several publisher properties that include desktop web, mobile web, and mobile




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 apps: Huffington Post, Buzzfeed.com, Tasty.Co and Complex.com. Id. at 78:24-79:09, 80:8-16

 (Blom). Before working at Buzzfeed, Blom worked at an ad agency called Reprise Media for three

 to four years. Id. at 9:18-24 (Blom). Since joining Buzzfeed in 2012, Blom has led the social

 discovery team, ad operations team, and eventually the business development and creative branded

 content teams. Id. at 13:16-17 (Blom).

        45.     James Glogovsky (deposition read-in): James Glogovsky is the current Vice

 President of Revenue Operations and Analytics at the New York Times. He oversees the New

 York Times’s direct and programmatic digital ads business, print ads business, ad operations,

 custom pricing, and sales planning. 9/26/24 PM Tr. 122:22-123:6 (Glogovsky). He explained that

 the “majority” of the New York Times’s revenue on display ads comes from direct sales. Id. at

 129:15-17 (Glogovsky). In 2017, he first joined the New York Times as the Director of Yield

 responsible for pricing and inventory of the New York Times’s direct sales ads business. Id. at

 122:16-21 (Glogovsky). The New York Times’s digital ads business runs ads across its website;

 apps, which include individual apps for games, cooking, and athletics; podcasts; email; and custom

 or branded content studio. Id. at 123:19-124:20 (Glogovsky).

        46.     Jeremy Helfand (deposition read-in): At the time of Jeremy Helfand’s deposition

 testimony, he was the Executive Vice President of Advertising and Data Platforms for the Walt

 Disney Company. 9/17/24 PM Tr. 114:15-18 (Helfand). In his role, he led “the portion of the

 organization responsible for the development of products and technologies for Disney’s

 advertising business.” Id. at 114:19-23 (Helfand). Prior to joining Disney, Helfand worked at

 Hulu, a streaming TV company, from 2018 to 2020 before Hulu was acquired by Disney. Id. at

 114:24-115:3 (Helfand).




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        47.       Eric Hochberger (deposition read-in): Eric Hochberger is the founder and CEO of

 Mediavine, a 200-person company that assists independent publishers in monetizing their websites

 through advertising and owns and operates its own publisher properties. 9/25/24 PM Tr. 160:15-

 161:2 (Hochberger). Mediavine’s customers are primarily “smaller publishers,” “such as blogs,”

 that create content independently. Id. at 161:8-18 (Hochberger). Mediavine offers a variety of

 tools for publishers, including website management tools, code that can manage auctions and serve

 ads, and technology that runs auctions and integrates directly with demand-side platforms. Id. at

 161:25-162:22, 163:16-20 (Hochberger).

        48.       Stephanie Layser (live): Stephanie Layser currently works at Amazon Web

 Services as a “subject matter expert [on] publisher ad tech.” 9/10/24 AM Tr. 9:9-11 (Layser).

 Layser has only worked on the publisher side of the ad tech ecosystem, not the advertiser side. Id.

 at 104:24-105:5, 105:10-12 (Layser). She previously worked at The Daily Mail from 2013 to

 2014, id. at 6:13-14, and for News Corp from 2017 to 2022, id. at 8:15-17 (Layser).

              48.1.   One of Layser’s previous employers, The Daily Mail, is a plaintiff in a related

                      case against Google in the Southern District of New York. Infra ¶ 50. Both

                      of Layser’s previous employers, The Daily Mail and News Corp, are

                      represented in this case by John Thorne. Infra ¶ 50.2.

              48.2.   During her direct examination, Layser testified only about her experiences at

                      The Daily Mail and News Corp, not Amazon. E.g., 9/10/24 AM Tr. 42:22-

                      43:4, 10:18-21 (Layser).

              48.3.   For years, Layser has been an outspoken critic of the fact that Google operates

                      some of its ad tech tools for profit. In July 2019, Layser wrote an article in

                      AdExchanger advocating that Google should “contribute AdX to prebid.org,




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                      the industry-regulated header bidding solution and first-price auction.”

                      9/10/24 AM Tr. 102:5-9 (Layser). In a podcast, Layser expressed: “I think

                      there is a general—there is a general problem with community assets . . . being

                      run by companies that are for-profit companies.” Id. at 103:1-25 (Layser). As

                      she conceded, Layser believes “parts of ad tech,” including real-time bidding

                      and the technology for exchanges to compete against each other, “should be

                      community assets.” Id. at 102:10-18, 104:2-21 (Layser).

              48.4.   Layser personally sat on the board of Prebid when she was at News Corp.

                      9/10/24 AM Tr. 8:10-14 (Layser).

              48.5.   Layser testified that the goals of her former employer, News Corp, “will never

                      align with Google” because both own “a media business.” 9/10/24 AM Tr.

                      63:25-64:2, 70:9-20 (Layser); see also DTX-404 at 2.

              48.6.   On direct examination, Layser testified that Google Ads is “the largest source

                      of unique demand within programmatic display.” 9/10/24 AM Tr. 13:13-15

                      (Layser). On cross examination, however, she admitted that News Corp had

                      never analyzed the revenue “that came from advertisers that used Google Ads

                      and not any other buying tool.” 9/10/24 AM Tr. 77:13-21 (Layser) (“I don’t

                      even think that would be in the logs.”).

        49.       Ryan Pauley (deposition read-in): Ryan Pauley has at least 10 years of experience

 in display advertising and is currently the President of Revenue and Growth at Vox. 9/27/24 AM

 Tr. 6:1-4, 6:10-14 (Pauley). Vox is a digital media company that owns and operates around 18

 publisher brands that produce content and sell ads on websites, podcasts, videos, and more. Id. at

 9:19-10:2 (Pauley). In Pauley’s role, he oversees “all the commercial operations” across Vox’s




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 “advertising, subscription, commercial business,” as well as “marketing communications” and

 “events.” Id. at 6:5-9 (Pauley). Vox has also created Concert, a collection of ad tech tools launched

 in 2016 that serve “other premium publishers” and sell their inventory to advertisers. Id. at 9:2-8,

 14:21-15:6 (Pauley).        Today, Concert partners with 70 to 80 other publishers, including

 NBCUniversal, Penske Media, and Conde Nast. Id. at 10:16-11:4 (Pauley). On the advertiser

 side, Concert serves large-scale Fortune 500 brands. Id. at 11:22-12:3 (Pauley).

        50.       Matthew Wheatland (live): Matthew Wheatland is the Chief Digital Officer at The

 Daily Mail, a news publisher based in the United Kingdom. 9/18/24 AM Tr. 124:6-16 (Wheatland).

 The Daily Mail has both a website and an app. Id. at 133:4-14 (Wheatland). It also makes its

 content available on social media such as X (formerly Twitter), Facebook, Instagram, Snapchat,

 and TikTok, where it has become the biggest news publisher on the platform. Id. at 154:5-7, 155:4-

 156:2 (Wheatland). Wheatland was called in Plaintiffs’ case-in- chief and also served as Plaintiffs’

 sole witness in rebuttal.

              50.1.   The Daily Mail has filed a lawsuit against Google relating to DFP and AdX.

                      9/18/24 AM Tr. 150:1-3 (Wheatland).          In preparation for the lawsuit,

                      Wheatland spoke with The Daily Mail’s counsel about “the functionality of

                      ad tech.” Id. at 183:9-13 (Wheatland). When presented with The Daily Mail’s

                      complaint, which contradicts Plaintiffs’ allegations in this case by describing

                      Google Ads and DV360 as demand-side platforms, Wheatland responded that

                      he did not “100 percent agree” with The Daily Mail’s own complaint. Id. at

                      184:16-185:5 (Wheatland).

              50.2.   Wheatland was represented at trial by John Thorne, who also represented Tom

                      Wolfe of Gannett and News Corp, the former employer of Stephanie Layser.




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                  Dkt. 407 (notice of appearance on behalf of News Corp); 9/27/24 AM Tr.

                  80:3-23 (Wheatland). Thorne also represents The Daily Mail and Gannett in

                  connection with their related lawsuit against Google in the Southern District

                  of New York. 9/27/24 AM Tr. 80:3-25 (Wheatland).

          50.3.   During cross examination in Plaintiffs’ rebuttal case, Wheatland was shown a

                  joint Google and Daily Mail business plan that stated: “Savvy publishers have

                  responded by building smart responsive websites and new app interaction

                  models. . . . Publishers need to evolve their advertising as well from boxy

                  banners to flexible and contextually relevant native ads at scale.” 9/27/24 AM

                  Tr. 83:24-84:8 (Wheatland). When asked if he agreed that “The Daily Mail

                  is a savvy publisher,” Wheatland replied: “I don’t know.” Id. at 84:11-13

                  (Wheatland). In contrast, during Plaintiffs’ case-in-chief, Wheatland had

                  testified that The Daily Mail is “one of the most widely-read newspapers in

                  the UK” and “one of the largest English language newspaper websites in the

                  world,” with “roughly 17 million users in the U.S. across our website

                  possessing one of the top ten largest U.S. new websites.” 9/18/24 AM Tr.

                  124:10-16, 125:13-18 (Wheatland). Moreover, Wheatland had agreed on

                  direct examination that he is “aware of a trend in the industry of users spending

                  more time on apps than they do on desktop or mobile web” and that “some

                  apps are very popular.” 9/27/24 AM Tr. 64:11-14 (Wheatland).

          50.4.   On direct examination, Wheatland testified that it is “hugely difficult” to

                  convert web users into app users because using an app requires taking three

                  steps. Id. at 65:24-66:10 (Wheatland). On cross examination, when asked to




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                      walk through what extra steps would be required to use an app, Wheatland

                      agreed that three steps are all that is needed either to download an app or visit

                      a website. Id. at 87:23-89:6 (Wheatland). He nonetheless insisted that

                      “there’s many ways to access our content” but refused to explain whether

                      those other ways to access require more than three steps. Id. at 87:23-91:14

                      (Wheatland) (“I don’t think I can give a yes or no in response to that.”).

        51.       Tim Wolfe (live): Tim Wolfe is the Senior Vice President of Revenue Operations

 at Gannett, a publishing company that operates “about 340 total digital media and news” brands,

 including USA Today. 9/9/24 AM Tr. 49:8-51:3 (Wolfe). One of those brands is a Virginia

 newspaper, the Staunton News Leader, which has both a mobile app and a website. Id. at 52:13-

 17, 64:7-14 (Wolfe).

              51.1.   Gannett is a plaintiff in a “related case” against Google in the Southern District

                      of New York. Wolfe claimed that—despite being the head of all digital

                      revenue at Gannett—he had not read Gannett’s complaint, did not know how

                      similar the allegations are to the allegations in this case, and did not know

                      whether Gannett stands to gain financially from its related lawsuit against

                      Google. 9/9/24 AM Tr. 55:24-56:11, 99:5-100:2 (Wolfe).

              51.2.   Wolfe was represented at trial by John Thorne, who also represented Matthew

                      Wheatland of The Daily Mail and News Corp, the former employer of

                      Stephanie Layser. Dkt. 407; 9/27/24 AM Tr. 80:3-23 (Wheatland). Thorne

                      also represents The Daily Mail and Gannett in connection with their related

                      lawsuit against Google in the Southern District of New York. Supra ¶ 50.2.




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              51.3.   On direct examination, Wolfe testified about Gannett’s use of ad tech tools,

                      including the process for “how an ad space on a website actually gets filled

                      with an ad,” and Gannett’s experience switching its publisher ad server to

                      DFP.       9/9/24 AM Tr. 67:24-70:13, 70:24-71:25 (Wolfe).            On cross

                      examination, when asked to explain the basic matter of what “user or

                      consumer information” is shared with ad tech tools in order to serve an ad,

                      Wolfe replied: “I don’t know specifically.” 9/9/24 AM Tr. 92:4-92:20

                      (Wolfe).

 VI.    Google’s Competitors:

        52.       James Avery (live): James Avery is CEO and founder of Kevel, an ad tech

 company that helps “publishers and retailers” serve “advertising across the internet.” 9/9/24 PM

 Tr. 115:11-14, 116:19-23, 119:6-9 (Avery). Avery founded Kevel in 2007, and Kevel first

 launched its publisher ad server in 2010. Id. at 120:9-10 (Avery). Kevel sells APIs that enable

 companies to build custom in-house ad servers at a fraction of the cost (as low as $80,000) and

 time (as short as “a couple of weeks”) it would otherwise take them to build their own. Id. at

 151:12-15, 154:17-155:9 (Avery). Kevel’s customers include companies like Ticketmaster, Bed

 Bath & Beyond, Klarna, and Yelp. Id. at 155:22-156:4 (Avery).

              52.1.   Avery admitted that his company, Kevel, could benefit from the relief

                      Plaintiffs seek: if Google is forced to “open up Adx,” “it could be good for

                      Kevel.” 9/9/24 PM Tr. 166:17-167:24 (Avery).

              52.2.   Avery met with the Department of Justice at least twice during its

                      investigation of Google and at least once after Plaintiffs filed their complaint,




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                      after which Avery told others that he had “a good, long couple of calls with

                      the Department of Justice.” 9/9/24 PM Tr. 167:4-12 (Avery).

              52.3.   When presented with language on Kevel’s website, Avery called his

                      company’s representations on its own website “wishful thinking” and “largely

                      marketing.” 9/9/24 PM Tr. 153:10-154:16 (Avery).

              52.4.   On direct examination, Avery testified that he attributes the fact that DFP is

                      the “dominant publisher ad server” to “the tight connection to AdX that other

                      ad servers can’t offer.”   9/9/24 AM Tr. 150:12-17 (Avery).         On cross

                      examination, he admitted that his company, Kevel, “represents to customers

                      that one of the reasons brands use Google’s ad server is because it’s free to

                      anyone with under 90 million monthly impressions and no other vendor offers

                      such a deal,” as well as because “it’s reliable both from an infrastructure

                      perspective and a business one.” Id. at 161:7-11, 162:12-16 (Avery).

        53.       Brian Boland (live): Brian Boland was formerly Vice President of Advertising

 Technology and Vice President of Publisher Solutions at Facebook (now called) Meta. Boland

 left Facebook in November 2020. 9/13/24 PM Tr. 96:23-97:9, 95:23-24 (Boland). Boland spent

 the “majority” of his 11-year tenure at Facebook “working on advertising,” but at some point

 transitioned to “products and engineering” in Facebook’s partnerships organization. Id. at 95:9-

 22 (Boland).

              53.1.   On direct examination, Boland testified that Facebook was “unsuccessful” in

                      building and deploying the publisher ad server it acquired, LiveRail, because

                      Facebook found it “unfeasible” to compete with Google. 9/13/24 PM Tr.

                      129:14-21 (Boland). On cross examination, however, when presented with an




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                      email he sent in the ordinary course of business, Boland admitted that a

                      number of other reasons unrelated to Google contributed to LiveRail’s failure:

                      “a number of challenges” with integration into Facebook; the “sales pipeline”;

                      “culture clash” between LiveRail and Facebook employees and failure to

                      relocate employees from Romania; and a discovery “that the vast majority of

                      LiveRail inventory was not quality supply.” 9/13/24 PM Tr. 140:7-16, 142:3-

                      5, 142:14-23, 143:10-17 (Boland).

        54.       Tim Cadogan (live): Tim Cadogan is the co-founder and, from 2008 to 2020,

 former CEO of OpenX. He is presently the Chairman of the OpenX Board. 9/17/24 PM Tr. 45:9-

 14 (Cadogan). OpenX launched an ad exchange and a publisher ad server in 2008. Id. at 45:25-

 46:8, 46:25-47:2 (Cadogan).

              54.1.   OpenX has a representative on the board of directors for Prebid, a collection

                      of ad tech companies that “collectively and community” owns and funds the

                      development of a header bidding technology, also called Prebid. 9/17/24 PM

                      Tr. 96:12-19 (Cadogan); 9/12/24 PM Tr. 164:10-15 (Kershaw). OpenX

                      participated in Prebid and worked with Google on its competitor header

                      bidding product, Open Bidding, at the same time. 9/17/24 PM Tr. 95:24-96:5

                      (Cadogan).

              54.2.   On cross examination, Cadogan repeatedly inserted his own commentary with

                      no question pending. For example, after Cadogan answered a question about

                      an OpenX ordinary course of business document stating that it had “massive

                      scale global operation in 2017,” he interjected:   “Q. Okay. We can—you

                      can—I think we are done with that document. A. You know this is a pitch




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                  deck, right, a pitch deck. You know that people tend to do a little chest

                  pumping in pitch decks, right? Q. Can we go to— A. Maybe you don’t.” Id.

                  at 88:8-13 (Cadogan).

          54.3.   On direct examination, Cadogan testified that OpenX’s publisher ad server

                  could not successfully compete against DFP because OpenX could not access

                  real-time bids from AdX. 9/17/24 PM Tr. 51:18-52:12 (Cadogan). Cadogan

                  admitted, however, that “DFP was a good product” with better “workflow”

                  and “migration tools” than OpenX. Id. at 48:9-12, 48:17-22 (Cadogan). On

                  cross examination, Cadogan further admitted that OpenX’s ordinary course of

                  business documents listed many weaknesses of OpenX’s ad server that had

                  nothing to do with access to AdX: “significant discrepancies”; “video ad

                  serving not supported properly”; “lack of support for flexible ad sizes”; and

                  more. Id. at 78:11-79:11 (Cadogan). With no question pending, Cadogan

                  attempted to cabin his testimony: “Q. Okay. A. It’s like finding a needle in a

                  haystack. Q. I’m sorry, sir? The Court. There’s no question, no comments.

                  Let’s go.” Id. at 79:21-25 (Cadogan).

          54.4.   On direct examination, Cadogan testified that Google’s DV360’s buying on

                  OpenX’s exchange “dropped very, very significantly” in the second half of

                  2018, which resulted in significant layoffs. 9/17/24 PM Tr. 66:9-22, 70:4-11

                  (Cadogan). On cross examination, Cadogan was shown an OpenX board

                  meeting deck from 2019 and admitted that DV360’s spending on OpenX

                  “actually increased from 2017 to 2018.” Id. at 71:25-74:4 (Cadogan); see

                  DTX-843 at 49.




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              54.5.   On cross examination, Cadogan repeatedly denied that he remembered details

                      of OpenX’s business, including on topics that he had testified about. E.g.,

                      9/17/24 PM Tr. 77:4-15 (Cadogan) (testifying about OpenX’s inability to

                      compete in the ad server market in 2013, but responding to whether he recalled

                      an analysis of customer churn in ad servers in 2013: “No, of course I don’t.

                      It’s 11 years ago.”), 85:14-17 (“I can’t remember”), 90:21-23 (about an

                      OpenX feature, “I don’t remember what we called it.”), 93:19-24 (about

                      another OpenX feature, “I don’t actually remember specifically what that

                      meant at that point.”) (Cadogan).       Cadogan also testified on redirect

                      examination that he did not “recall” receiving any response from Google to a

                      question he asked about DV360 spending on OpenX. Id. at 103:16-19

                      (Cadogan). Google’s review showed that Google did meet with Cadogan

                      regarding his question. Id. at 151:21-152:13 (Cadogan).

        55.       Andrew Casale (live): Andrew Casale is the CEO and co-founder of Index

 Exchange—a Google competitor. 9/9/24 AM Tr. 106:16-24 (Casale). Founded in 2003 as Casale

 Media, Index Exchange started as an ad network before becoming an ad exchange in 2011. Id. at

 109:17-21 (Casale); 9/9/24 PM Tr. 35:1-16 (Casale). Today, Index Exchange has “massive scale”

 and 550 employees. 9/9/24 PM Tr. 37:5-18, 39:4-8 (Casale).

              55.1.   Index Exchange has a representative on the board of directors for Prebid.

                      9/17/24 PM Tr. 97:8-10 (Cadogan); 9/12/24 PM Tr. 164:10-15 (Kershaw).

              55.2.   During his direct examination, Casale testified that he would characterize

                      Google Ads as “a very large source of demand” with a “unique” “makeup” of

                      advertisers. 9/9/24 AM Tr. 129:18-130:13 (Casale). On cross examination,




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                  Casale was confronted with his deposition testimony that he did not “know

                  much” about Google’s advertiser customers and that “there’s a lot of mystery”

                  about the Google Ads customers that are placing bids on Index Exchange.

                  Casale conceded both that he has “absolutely no knowledge of” the Google

                  Ads advertiser customers that bid on Index Exchange “beyond the actual bids

                  that are being placed,” and that he does not have “a broader understanding of

                  each individual campaign that is run as part of GDN or Google Ads.” 9/9/24

                  PM Tr. 11:19-12:25 (Casale).

          55.3.   On direct examination, Casale testified about disadvantages of the “waterfall

                  system” with reference to Plaintiffs’ Demonstrative G, which depicted

                  Google’s AdX as always sitting at the top of the waterfall. 9/9/24 AM Tr.

                  148:3-15, 150:25-151:6 (Casale). On cross examination, he clarified that he

                  was only “commenting based on the chart” that he was shown by Plaintiffs.

                  In reality, AdX was “absolutely not” always “first in line” because the order

                  of exchanges in the waterfall was “entirely dependent on each individual

                  publisher and their own strategies.” 9/9/24 PM Tr. 44:8-24 (Casale). Casale

                  affirmed that the “sequence of the waterfall is set by the publisher,” not by

                  Google or anyone else as is implied by Plaintiffs’ Demonstrative G. Id. at

                  44:13-18, 44:22-45:4 (Casale).

          55.4.   On direct examination, Casale testified extensively to the “differences” he

                  perceives between “open-web display ads” and other kinds of ads. 9/9/24 AM

                  Tr. 113:13-118:22 (Casale). During Casale’s cross examination, the Court

                  asked him whether, a year ago, he was aware of what the “four-word phrase




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                      ‘open web display advertising’” meant. Casale admitted that he was not

                      familiar with the phrase prior to the lawsuit: “That was not a well-understood

                      defined category. It’s usually ‘open web,’ and then ‘display is separate. So

                      putting them together is just not a common way we speak in ad tech.” 9/9/24

                      PM Tr. 13:18-14:1 (Casale).

        56.       Arnaud Creput (deposition read-in): Arnaud Creput is a representative of Equativ,

 a company that launched a publisher ad server in 2005 and now operates a publisher ad server, a

 supply-side platform, and a demand-side platform. 9/13/24 PM Tr. at 63:8-14, 86:25-87:1

 (Creput). In 2022, Equativ reported a record net recurring revenue of 92 million euros, a “record”

 for the company. Id. at 88:5-8 (Creput).

              56.1.   Equativ has “invested a lot of resources . . . to convince publishers to move

                      from Google to Equativ.” 9/13/24 PM Tr. 66:19-21 (Creput). Creput testified

                      that he “wanted” “the antitrust authorities [to] look into the functioning of this

                      market.” Id. at 86:6-10 (Creput).

        57.       Jed Dederick (live): Jed Dederick is Chief Revenue Officer at The Trade Desk, a

 demand-side platform that enables advertisers to buy and place advertising. 9/11/24 PM Tr. 87:21-

 88:6, 90:1-3 (Dederick). The Trade Desk competes in AdX auctions against advertisers using

 Google Ads. Id. at 107:13-15, 146:22-148:14 (Dederick).             Dederick is the only industry

 representative from the buy-side that Plaintiffs called to testify, even though none of their markets

 as alleged includes The Trade Desk.

              57.1.   The Trade Desk has a representative on the board of directors for Prebid.

                      9/17/24 PM Tr. 97:5-7 (Cadogan); 9/12/24 PM Tr. 164:10-15 (Kershaw).




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          57.2.   Dederick testified easily on direct examination but became a very combative

                  witness on cross examination. E.g., 9/12/24 PM Tr. 14:7-12 (Dederick) (“Q.

                  Okay. If you look at the top of the document where it says ‘Competitive Intel

                  Framework,’ do you see that? A. I think there’s a misunderstanding here. I

                  mean— The Court. No. The question that’s on the floor is do you see that

                  heading? And the answer is yes or no. The Witness. Yes.”).

          57.3.   Dederick testified that The Trade Desk does not compete with Google Ads.

                  He even refused to agree that Google Ads and The Trade Desk compete within

                  an auction when they bid on the same auction in the same ad exchange.

                  9/11/24 PM Tr. 146:16-148:14 (Dederick); see also 9/12/24 PM Tr. 13:11-14

                  (Dederick). In the ordinary course of business, however, The Trade Desk

                  analyzed the Google Display Network (referring to Google Ads) in a

                  “competitive intel framework.”      9/12/24 PM Tr. 14:3-24 (Dederick).

                  Similarly, The Trade Desk wrote in an SEC filing that it competes in “the

                  market for programmatic buying for advertising campaigns”—not a market

                  for only demand-side platforms—which is “intensely competitive.”       Id. at

                  26:4-27:10 (Dederick); see also DTX-1484 (The Trade Desk FY2022 10-K).

                  When presented with the statement made in an SEC filing, Dederick attempted

                  to cabin the words his company had written under penalty of perjury as being

                  materially accurate: “I see those words. Significant context.” 9/12/24 PM

                  Tr. 26:4-9 (Dederick).

          57.4.   Dederick refused to agree to the basic proposition that “advertiser spend

                  follows consumer eyeballs.” 9/12/24 AM Tr. 168:24-169:14 (Dederick). He




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                  also testified on direct examination that The Trade Desk invested in channels

                  other than “open-web display” because it could not compete with Google.

                  9/11/24 PM Tr. 100:6-22 (Dederick). During cross-examination, however,

                  Dederick had to admit that The Trade Desk had told investors that it was

                  investing in non-“open-web display” areas, such as Connected TV and digital

                  audio, because of a shift in “where consumers are spending their digital time.”

                  9/12/24 AM Tr. 164:19-166:7, 168:13-23 (Dederick); 9/12/24 PM Tr. 6:4-12

                  (Dederick).

          57.5.   Dederick testified on direct examination that Google’s Open Bidding product

                  “decimated header bidding.” 9/11/24 PM Tr. 143:3-6 (Dederick). On cross

                  examination, Dederick was presented with statistics demonstrating dramatic

                  growth in header bidding since the launch of Open Bidding. Id. at 46:15-25

                  (Dederick); see DTX-1898. In response, Dederick claimed that when he

                  previously used the term “header bidding,” he referred only to “a very specific

                  header bidding implementation that was popularized in 2016 and 2017”—a

                  distinction that no other witness, from either side, testified to at this trial.

                  9/12/24 PM Tr. 46:15-47:23 (Dederick). Dederick’s testimony is contradicted

                  by the repeated testimony of other witnesses, including Plaintiffs’ own fact

                  and expert witnesses, that header bidding is “alive and well today.” 9/13/24

                  AM Tr. 32:4-5 (Kershaw); see also 9/18/24 AM Tr. 98:1-20 (Abrantes-Metz)

                  (header bidding adopted by 80% of top publishers by 2019); 9/9/24 AM Tr.

                  155:23-156:9; 9/9/24 PM Tr. 23:3-15 (Casale) (header bidding made

                  exchange market “hypercompetitive”).




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              57.6.   Dederick testified that The Trade Desk “explicitly sits on the buy side of the

                      advertising industry.” 9/11/24 PM Tr. 87:23-26, 93:7-94:2 (Dederick). On

                      cross-examination, he admitted that The Trade Desk has contracts directly

                      with the sell-side—namely, with publishers that utilize its supply path

                      optimization offering, OpenPath. Id. at Tr. 45:11-24 (Dederick).

              57.7.   Dederick testified that, in conversations with Google, The Trade Desk has

                      “raised concerns” about the terms of AdX auctions. 9/11/24 PM Tr. 109:2-18

                      (Dederick). When pressed, however, he did not “recall” when the meetings

                      were, with who, or what concerns were discussed at what times. 9/12/24 PM

                      Tr. 34:22-36:22 (Dederick).

        58.       Omri Farber (deposition read-in): Omri Farber is Lead Product Manager for Meta

 Audience Network. 9/26/24 PM Tr. 146:20-22 (Farber). He runs the “day-to-day performance

 reporting end-to-end business of Audience Network from a product and engineering perspective.”

 Id. at 146:23-147:3 (Farber). Meta launched Meta Audience Network in 2014 as “a network that

 connects publishers, i.e., app developers in our case with advertisers and users.” Id. at 147:15-

 148:2 (Farber). Meta Audience Network serves between 14,000 and 16,000 publisher customers

 that monetize their content using Meta Audience Network, and “millions” of advertiser customers.

 Id. at 149:1-13 (Farber).

        59.       Rajeev Goel (live): Rajeev Goel is the CEO and co-founder of PubMatic. 9/12/24

 PM Tr. 56:8-16 (Goel). PubMatic launched publicly in the fall of 2007. Id. at 56:22-23, 66:10-11

 (Goel). Today, PubMatic’s offerings include an ad exchange, a supply path optimization product

 known as “Activate,” and a header bidding solution called “OpenWrap” that compete with

 Google’s products.     Id. at 56:24-57:2, 143:6-19, 77:22-78:12, 139:12-15 (Goel).       In 2023,




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 PubMatic represented to investors that it is “global scaled, and profitable” and growing at roughly

 twice the rate of growth in the market. Id. at 135:20-24, 136:12-15 (Goel).

              59.1.   PubMatic has a representative on the board of Prebid. 9/12/24 PM Tr. 139:16-

                      22 (Goel); 9/12/24 PM Tr. 164:10-15 (Kershaw). PubMatic’s OpenWrap

                      solution is built on Prebid technology. 9/12/24 PM Tr. 139:16-22 (Goel).

              59.2.   On direct examination, Goel testified that “based on [his] experience in the

                      industry,” he believes that Google’s ad exchange take rate is “higher than

                      PubMatic’s.” 9/12/24 PM Tr. 81:25-82:5 (Goel). He acknowledged that he

                      does not know Google’s take rate with certainty but believes it to be 20

                      percent. Id. at 127:4-10, 131:20-25 (Goel). On cross examination, when

                      presented with a PubMatic board meeting presentation, Goel confirmed that

                      PubMatic’s take rate for the fiscal year ending in 2018 was actually higher

                      than AdX’s, at       . Id. at 131:15-25; see DTX-665 at 39.

        60.       Tom Kershaw (live): Tom Kershaw currently works at Broadcast Music Inc. as

 Chief Technology Officer. 9/12/24 PM Tr. 159:4-7, 19-21 (Kershaw). From October 2016 to

 around 2021, Kershaw worked in display advertising at Rubicon Project (now called Magnite). Id.

 at 159:4-7, 160:2-19 (Kershaw). Kershaw has not worked in the ad tech industry for over three

 years, and he acknowledged that his testimony reflected his personal views, not those of Rubicon

 Project or Prebid. 9/13/24 AM Tr. 21:20-22 (Kershaw).

              60.1.   While he was at Rubicon Project, Kershaw helped co-found Prebid together

                      with AppNexus. 9/12/24 PM Tr. 164:25-166:1 (Kershaw). Kershaw was

                      Chairman of the Board of Prebid. Id. at 163:16-23 (Kershaw).




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              60.2.   Kershaw agreed that Google’s Open Bidding product was a “competing

                      solution” that competed against Prebid, and that Rubicon Project was a

                      competitor to Google’s display ads business. 9/13/24 AM Tr. 13:2-7, 31:10-

                      21 (Kershaw).

        61.       Ben John (deposition read-in): Ben John is Vice President of Engineering at

 Microsoft. 9/20/24 PM Tr. 120:8-9 (John). John began his career in advertising at AppNexus in

 January 2013, where he started as Head of Engineering for Web Services, was promoted to Senior

 Vice President of Engineering for Buy-Side Systems, and eventually became the Chief Technology

 Officer. Id. at 120:12-121:1 (John). After AT&T acquired AppNexus, John moved to AT&T,

 where AppNexus’s offerings became known as Xandr. Id. at 120:14-16 (John). At AT&T, John

 was the Chief Technology Officer of Xandr, and he maintained that role at Microsoft after

 Microsoft acquired Xandr before he was eventually promoted to Vice President of Engineering.

 Id. at 120:8-18, 9-11 (John).

        62.       Brian O’Kelley (deposition video): Brian O’Kelley founded AppNexus, which

 first offered an ad exchange, in 2007. Deposition of Brian O’Kelley Tr. 57:22-23, 64:9-11, 64:15-

 65:06. Since then, AppNexus has built tools that serve both the buy-side, such as a demand-side

 platform, and the sell-side. Id. at 194:5-14, 252:21-253:7 (O’Kelley). For example, around 2014,

 AppNexus bought a publisher ad server that still exists today and has achieved “a good amount of

 success.” Id. at 76:09-77:08, 189:7-16, 260:17-19 (O’Kelley).

              62.1.   From as early as 2010, Microsoft invested $42 million into AppNexus and

                      was AppNexus’s “largest client by revenue,” paying more than $50 million as

                      a client. Deposition of Brian O’Kelley Tr. 195:14-23, 196:2-5, 196:4-10,

                      205:5-8, 205:11.   O’Kelley had an ownership stake in AppNexus that




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                     benefited from AppNexus’s partnership with Microsoft. Id. at 205:13-15,

                     206:15-17, 206:21-23, 207:1-2, 207:5 (O’Kelly). AppNexus’s end-to-end ad

                     tech stack has since been acquired by Microsoft. Id. at 210:21-24, 211:4-5

                     (O’Kelly).

        63.     Todd Parsons (deposition video): Todd Parsons has been the Chief Product Officer

 of Criteo since August 2020. Deposition of Todd Parsons Tr. 9:11-19. Criteo offers both buy-

 and sell-side products, including a publisher ad server, supply-side platform, and demand-side

 platform. Id. at 9:11-19, 60:20-24 (Parsons); DTX-1420 at 12 (Criteo FY2022 Form 10-K). Criteo

 describes as one of its “competitive advantages” the fact that Criteo has “the largest commerce

 data set on the open Internet.” Id. at 91:9-17, 92:2-3 (Parsons). Before he worked at Criteo, from

 August 2018 to July 2020, Parsons was the Chief Product Officer at OpenX, where he was

 “responsible for modernizing OpenX’s scale programmatic marketplaces.” Id. at 9:16-10:6

 (Parsons). Before that, Parsons was Chief Product Officer at Social Code, a company that “advised

 Fortune 500 companies and others on advertising and marketing.” Id. at 10:7-15 (Parsons).

        64.     Michael Shaughnessy (deposition read-in): Michael Shaughnessy is Chief

 Operating Officer of Kargo, which offers a supply-side platform and “transforms standard

 creatives and creates bespoke experiences for the largest advertisers, as well as the best

 publishers.” 9/19/24 PM Tr. 38:23-39:1, 39:15-17 (Shaughnessy).

 VII.   Google’s Expert Witnesses:

        65.     Professor Judith Chevalier (live): Professor Judith Chevalier, William S. Beinecke,

 Professor of Economics and Finance at Yale University, testified on behalf of Google as an expert

 in econometrics and industrial organization, with a particular interest in “the economic effects of

 new technologies.” 9/25/24 AM Tr. 11:12-23, 12:9-14 (Chevalier). Professor Chevalier was




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 previously an assistant professor in the Harvard University Department of Economics and a

 professor at the University of Chicago Graduate School of Business. DTX-2535. Professor

 Chevalier is also a Research Associate at the National Bureau of Economic Research. DTX-2535.

 Professor Chevalier testified about her opinions regarding “Professor Simcoe’s conclusion that

 there was an overcharge in AdX due to Google’s anticompetitive conduct.” 9/25/24 AM Tr. 12:18-

 13:3 (Chevalier).

        66.      Dr. Mark Israel (live): Dr. Mark Israel is currently President of Compass Lexecon,

 where he has been doing various forms of competition economics antitrust work since 2008.

 9/26/24 AM Tr. 34:24-35:14 (Israel). Dr. Israel testified on behalf of Google as an expert in

 economics and industrial organization, id. at 36:12-21 (Israel), and testified about his conclusions

 relating to market definition, market power, and Google’s conduct and its effects on competition,

 id. at 37:13-38:18, 157:21-158:18 (Israel). Dr. Israel received his Ph.D. in economics from

 Stanford University, as well as his masters and undergraduate degrees in economics. Id. at 34:24-

 35:14 (Israel). After receiving his Ph.D., Dr. Israel taught economics and business strategy at the

 Kellogg School of Management at Northwestern University for eight years. Id. at 34:24-35:14

 (Israel). While there, he gained experience doing applied competition antitrust work. Id. at 34:24-

 35:14 (Israel). Dr. Israel has been engaged as a consulting expert in the areas of economics or

 competition economics over 100 times, including on behalf of the Federal Trade Commission. Id.

 at 35:15-18, 36:2-11 (Israel); DTX-2537. He has published over 25 publications in academic

 journals, primarily in competition economics. 9/26/24 AM Tr. 35:19-36:1 (Israel); DTX-2537.

        67.      Professor Paul Milgrom (live): Professor Paul Milgrom, Professor of Economics

 at Stanford University and Nobel Laureate, testified on behalf of Google as an expert in economic

 theory, auctions, and market design.      9/24/24 AM Tr. 16:25-20:19 (Milgrom); DTX-2536.




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 Professor Milgrom presented his conclusions regarding “the economic effects of Google’s online

 display advertising auction practices.” 9/24/24 AM Tr. 23:8-13 (Milgrom).

           67.1.    Professor Milgrom is one of the founders of the field of market design.

                    9/24/24 AM Tr. 18:17-19:2 (Milgrom). In 2020, he received a Nobel Prize in

                    economics for improvements to auction theory and invention of new auction

                    methods. Id. at 20:7-13 (Milgrom). His work has been cited over a hundred

                    thousand times, including by Plaintiffs’ expert witnesses Professors Ravi and

                    Weintraub. Id. at 19:11-23 (Milgrom).

           67.2.    In addition to his academic work, Professor Milgrom also founded

                    Auctionomics, a company that provides consulting and software in connection

                    with high-stakes auctions. 9/24/24 AM Tr. 21:11-17 (Milgrom). Through

                    Auctionomics, Professor Milgrom has advised Google’s display advertising

                    competitors, including Yahoo and OpenX, about market design relating to

                    display advertising.    Professor Milgrom co-invented OpenX’s patented

                    auction design. Id. at 21:24-22:12 (Milgrom). Professor Milgrom has also

                    provided advice on market design and auction theory to public sector clients

                    across the world.      From 2011 to 2016, the Federal Communications

                    Commission hired Professor Milgrom to lead the design work on “the most

                    complicated auction project in history”—facilitating $30 billion of

                    transactions to buy television broadcast rights, reorganize them into a smaller

                    number of channels, and sell the cleared spectrum to mobile broadband

                    companies. Id. at 22:13-23:7 (Milgrom).




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 VIII. Plaintiffs’ Expert Witnesses:

        68.       Dr. Rosa Abrantes-Metz (live): Dr. Abrantes-Metz, managing director at Berkeley

 Research Group, testified on behalf of Plaintiffs as an expert in industrial organization. 9/16/24

 PM Tr. 114:3-115:6; PTX-1781. She conceded that she is not an expert in digital advertising.

 9/18/24 AM Tr. 68:6-8 (Abrantes-Metz). Dr. Abrantes-Metz testified to her opinions regarding

 the effects of Google’s conduct on competition. 9/16/24 PM Tr. 115:14-21 (Abrantes-Metz).

              68.1.   Methodology: Dr. Abrantes-Metz’s methodology to reach her opinions was to

                      review documents, including “other evidence” that she “read outside of the

                      discovery record.” 9/18/24 AM Tr. 68:18-69:1 (Abrantes-Metz). As she

                      admitted, she is not claiming any “additional expertise as an economist in

                      reviewing documents accurately.” Id. at 113:4-8 (Abrantes-Metz).

              68.2.   “With a few exceptions,” Dr. Abrantes-Metz did not conduct any independent

                      quantitative analysis. In particular, she made no attempt to quantify any

                      adverse effects on advertisers or publishers. 9/16/24 PM Tr. 118:14-25

                      (Abrantes-Metz); 9/18/24 AM Tr. 73:11-14 (Abrantes-Metz); id. at 73:24-

                      74:3 (Abrantes-Metz). Dr. Abrantes-Metz justified her failure to conduct an

                      independent analysis on the basis that “there’s plenty of evidence.” Id. at

                      73:15-20 (Abrantes-Metz). But, even when reviewing other evidence, Dr.

                      Abrantes-Metz did not conduct any inquiry into the analyses or the bases for

                      others’ results. For example, she cited results of what was referred to as

                      “Goodman’s model” in an email and called them a “forecast” of effects of

                      Google’s conduct, but on cross examination Dr. Abrantes-Metz admitted she

                      did not know what “Goodman’s model” was. 9/18/24 AM Tr. 111:20-113:8;




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                      see DTX-85.      As Dr. Abrantes-Metz herself volunteered:         “I take the

                      documents as they are.” 9/18/24 AM Tr. 113:4-8 (Abrantes-Metz).

              68.3.   How Products Work: Dr. Abrantes-Metz misunderstood how the technologies

                      at issue in this case work, but she nevertheless opined on their effects on

                      competition. For example, Plaintiffs’ own computer science expert, and other

                      witnesses and documents at trial, all established that the Unified Pricing Rules

                      required the same floor to be set for all exchanges, including AdX. 9/11/24

                      AM Tr. 131:2-7 (Ravi); 9/24/24 PM Tr. 19:18-22 (Milgrom); 9/23/24 AM Tr.

                      102:2-4, 113:1-11 (Korula); DTX-701 at 26 (Presentation on “The Unified

                      Auction” at a Google Top Partners event, April 18th, 2019). Only Dr.

                      Abrantes-Metz testified that, based on her review of “documents,” she

                      understood the Unified Pricing Rules to permit publishers to set lower price

                      floors only for AdX. 9/18/24 AM Tr. 122:20-123:2 (Abrantes-Metz) (“My

                      understanding of UPR is that it forbids publishers from flooring AdX higher

                      within DFP, not to floor AdX lower.”).

        69.       Professor Robin Lee (live): Professor Lee, professor of economics at Harvard

 University, testified on behalf of Plaintiffs as an expert in economics and industrial organization.

 9/19/24 PM Tr. 43:7-15 (Lee). Professor Lee’s CV does not show any prior experience analyzing

 competition within the display advertising industry. PTX-1778. Professor Lee testified to his

 opinions regarding the markets alleged by Plaintiffs, “the extent of Google’s market power in these

 markets,” and harm to competition. 9/19/24 PM Tr. at 44:22-45:9 (Lee).

              69.1.   Market Definition: Professor Lee concluded that three markets for ad tech

                      tools for “open-web display advertising” are proper markets, but he admitted




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                  he did not “recall hearing those four words in that order” prior to his work on

                  this case. 9/19/24 PM Tr. 51:22-52:2 (Lee). Nor does Professor Lee recall

                  seeing any Google or third-party documents that analyze market shares based

                  on those four words in that order.        9/20/24 AM Tr. 69:15-70:9 (Lee).

                  Similarly, although Professor Lee concluded that a market for “advertiser ad

                  networks” is a proper market, he does “not recall hearing those three words in

                  that order prior to this case.” Id. at 137:12-15 (Lee).

          69.2.   Omission of Header Bidding from Market Definition: Professor Lee testified

                  that header bidding has “made it easier to multi-home across exchanges,”

                  which can in turn “intensify competition” “among exchanges participating in

                  header bidding.” 9/20/24 AM Tr. 10:25-11:13 (Lee). He also agreed that

                  Google’s “nightmare scenario”—that publishers could use header bidding to

                  connect large demand sources like Amazon—had already come to pass. Id.

                  at 8:25-10:14, 13:11-20 (Lee).       Yet, just minutes after this testimony,

                  Professor Lee refused to “agree that header bidding has caused vibrant

                  competition amongst ad exchanges.” Id. at 12:11-13 (Lee).

          69.3.   Professor Lee also acknowledged that header bidding impacts competition

                  among “advertiser ad networks,” ad exchanges, and publisher ad servers,

                  testifying that header bidding is “used to facilitate real-time competition

                  among ad exchanges and demand sources” and “could pose a threat to DFP’s

                  market power.” 9/20/24 AM Tr. 25:25-27:15 (Lee). Again, minutes later, he

                  nonetheless refused to agree that header bidding is “a competitive threat” in

                  the ad exchange or publisher ad server market. Id. at 27:10-24 (Lee).




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          69.4.   Market Power: Professor Lee testified on direct examination that Google has

                  possessed “substantial” market power “likely since at least 2015.” 9/19/24

                  PM Tr. 45:24-46:5 (Lee). On cross examination, he clarified that he is not

                  providing an opinion as to whether Google possessed market power in any

                  relevant market before 2015. In fact, he was unable to “draw a line” as to a

                  precise date in or after 2015 when Google did acquire market power. 9/20/24

                  AM Tr. 90:6-92:3 (Lee).      Despite these admissions, in Professor Lee’s

                  presentation to the Court, he relied upon pre-2015 documents as direct

                  evidence of Google’s market power.           E.g., PTX-188 (2014 Google

                  presentation titled “Ads Platform Pricing Review”); 9/19/24 PM Tr. 82:15-

                  84:16 (Lee) (discussing PTX-188); PTX-1808A (2014 Google document

                  regarding Google Ads margin); 9/19/24 PM Tr. 108:13-109:25 (Lee)

                  (discussing PTX-1808A).

          69.5.   Market Share: Professor Lee testified that he has defined markets for tools,

                  not markets for the underlying transactions. 9/19/24 PM Tr. 52:3-11 (Lee);

                  9/20/24 AM Tr. 31:16-32:7 (Lee). As he agrees, the tools in his markets

                  transact both “open-web display ads” and non-“open-web display ads.”

                  9/19/24 PM Tr. 62:20-24 (Lee); 9/20/24 AM Tr. 63:11-66:5 (Lee). However,

                  when Professor Lee calculated market shares for Google’s tools, his

                  calculations included only a subset of the transactions, “open-web display ad”

                  transactions, facilitated by each tool. 9/19/24 PM Tr. 71:17-25, 90:14-91:2,

                  119:15-20 (Lee).




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          69.6.   Professor Lee attempted to explain this inconsistency using an analogy to gas

                  stations: according to Professor Lee, to measure a gas station’s market share,

                  an economist would not include revenues generated from sales of chips.

                  9/19/24 PM Tr. 63:22-64:3, 72:1-17 (Lee). But “open-web display ads” and

                  other ads are not the same as chips and gas. Chips are not reasonable

                  substitutes for gas. By even Professor Lee’s own admission, “open-web

                  display ads” have “some degree of substitution” and “competition for

                  advertiser spending” with non-“open-web display ads.” 9/20/24 AM Tr.

                  33:12-34:5 (Lee). None of Plaintiffs’ expert witnesses, including Professor

                  Lee, performed any quantitative analysis of substitution between ad tech for

                  “open-web display ads” and other ad tech. 9/20/24 AM Tr. 94:18-95:9 (Lee).

          69.7.   Barriers to Entry: Professor Lee testified that even Meta and Amazon face

                  “significant entry barriers if they want to build a publisher ad server.” 9/20/24

                  AM Tr. 14:10-16 (Lee); 9/20/24 PM Tr. 22:5-15 (Lee). Demonstrating the

                  absurdity of Professor Lee’s statement, Meta made $50 billion in display

                  advertising revenue in the United States in 2022, and Amazon $8.3 billion.

                  DTX-1925 (Lee Figure 112: U.S. Meta Display Ad Revenue, 2008-2022);

                  DTX-1926 (Lee Figure 113: U.S. Amazon Display Ad Revenue, 2008-2022).

          69.8.   Supracompetitive Pricing: Defending his use of the term “quality-adjusted

                  prices” throughout his expert report, Professor Lee testified that he is

                  “considering quality in all” of his pricing analyses. 9/20/24 AM Tr. 100:23-

                  103:12 (Lee). But he conducted no quality-adjusted pricing analyses. All of

                  his price comparisons are based only on nominal fees. Id. at 100:19-103:12




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                      (Lee) (“there’s no such thing as a quality-adjusted price”); see also id. at

                      105:4-16 (Lee).

              69.9.   Charts About Exchange Win Rates: Professor Lee was aware that charts he

                      presented to the Court understate the number of auctions won by AdX’s

                      competitor exchanges. As Professor Lee acknowledged on cross examination,

                      some of his charts rely on Google Ad Manager data that does not reliably

                      report whether a header bidding exchange won an auction and, if one did,

                      which header bidding exchange won. 9/20/24 AM Tr. 117:7-118:13 (Lee).

                      Professor Lee excluded auctions with uncertain information from his analysis,

                      thereby excluding auctions that header bidding exchanges won. Id. at 119:9-

                      123:1 (Lee).

        70.       Professor Ramamoorthi Ravi (live): Professor Ravi is a professor of operations

 research and computer science at Carnegie Mellon University. He testified for Plaintiffs as an

 expert in the field of discrete optimization, which is an area of computer science relating to

 “optimal allocation” of a discrete number of resources. 9/11/24 AM Tr. 91:10-92:12 (Ravi); PTX-

 1780. Professor Ravi also has expertise in aspects of digital advertising. He has “designed and

 taught courses that involve aspects of digital advertising and marketing to graduate students for

 over a decade”; “written or co-written many papers that talk about” his “research in digital

 advertising”; and consulted for competitors to Google like Microsoft and InMobi. 9/11/24 PM Tr.

 4:16-5:14 (Ravi); PTX-1780. Professor Ravi concluded that “first look,” “last look,” Project

 Poirot, and the Unified Pricing Rules “were not implemented in an optimal way to sell these

 impressions on behalf of Google’s customers” and “disadvantaged” Google’s competitors.

 9/11/24 AM Tr. 93:18-94:9 (Ravi).




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              70.1.   Professor Ravi opined on the effects of the conduct at issue, but he conceded

                      that there were “a lot of changes going on” in Google’s products, and that he

                      had not looked at all of them. 9/11/24 PM Tr. 59:3-10 (Ravi). Instead of

                      starting from Google’s system and determining what practices to analyze,

                      Professor Ravi started by examining Plaintiffs’ complaint and selected the

                      practices to analyze only from what was identified in the complaint. Id. at

                      60:9-16 (Ravi).

              70.2.   In assessing the effects of Google’s conduct, Professor Ravi did not perform

                      any quantitative work. 9/11/24 PM Tr. 19:3-6 (Ravi).

              70.3.   Professor Ravi also acknowledged during his cross examination—for the first

                      time—that he agreed that Google’s acts had effects that helped Google’s

                      advertiser customers, publisher customers, and the display advertising

                      ecosystem. E.g., 9/11/24 PM Tr. 41:10-23, 50:11-15, 53:17-20, 84:20-23

                      (Ravi).

        71.       Professor Timothy Simcoe (live): Professor Timothy Simcoe, professor at the

 Boston University Questrom School of Business, testified as Plaintiffs’ expert in econometrics and

 industrial organization. 9/18/24 PM Tr. 4:24-6:9 (Simcoe). Professor Simcoe did not purport to

 be an expert in display advertising, nor does his CV demonstrate any notable industry, academic,

 or consulting experience in display advertising. PTX-1782. Professor Simcoe testified to his

 opinion that Google “overcharged its customers for AdX.” 9/18/24 PM Tr. 7:13-21 (Simcoe).

              71.1.   Methodology: Professor Simcoe’s opinions are based on review of only 53

                      Google-produced documents—out of the more than 6 million produced in this




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                  case—that were selected by Plaintiffs’ counsel. 9/18/24 PM Tr. 40:17-42:22

                  (Simcoe) (“The way I think of it is these are sufficient.”).

          71.2.   Professor Simcoe conducted his apportionment analysis based on “6

                  millionths of 1 percent” of available data. According to Professor Simcoe, “6

                  millionths of 1 percent was sufficient.”        9/19/24 AM Tr. 83:23-84:19

                  (Simcoe).

          71.3.   Professor Simcoe performed two different studies to evaluate AdX’s take rate:

                  an event study analysis and a comparables analysis. On direct examination,

                  he testified that he performed “a comparables analysis in this case after” he

                  had already performed his event study analysis. 9/18/24 PM Tr. 28:24-29:13

                  (Simcoe). But on cross examination, he first testified that he ran both analyses

                  “simultaneously,” before finally admitting, when pressed: “I think I knew the

                  weighted averages for the comparables before I had the final results of the

                  event study.” 9/19/24 AM Tr. 52:20-53:5 (Simcoe). In other words, contrary

                  to his testimony on direct examination, Professor Simcoe admitted he already

                  knew the results of his comparison of AdX’s pricing to its competitors’ before

                  he finalized the results of his event study analysis.

          71.4.   Incorrect Citations to Evidence: In his report, Professor Simcoe cited an

                  internal Google email exchange to support his opinion that the shift to a first-

                  price auction would have little impact on Google’s impressions won. See

                  PTX-695. In his report, Professor Simcoe described the email as dated

                  September 2019 and thus a contemporaneous report of what Google believed

                  to be the effects of its shift to the Unified First Price Auction. In reality, as




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                  Professor Simcoe was forced to acknowledge on cross examination, the email

                  is dated September 2018—at least a year before Google implemented the

                  Unified First Price Auction and therefore not contemporaneous with the

                  September 2019 changes. 9/19/24 AM Tr. 61:9-63:9, 108:19-25 (Simcoe);

                  see PTX-695.

          71.5.   Professor Simcoe cited a Google document as evidence that the removal of

                  “last look” “led to a lower win rate for AdX.” 9/19/24 AM Tr. 55:15-56:8

                  (Simcoe). As Professor Simcoe admitted, “last look” was removed at the

                  same time that Google transitioned to a first-price auction. Id. at 53:22-25,

                  56:21-24 (Simcoe). On cross examination, Professor Simcoe was directed to

                  an asterisked note at the bottom of the cited document stating that the

                  document estimated only the impact of removing “last look” in a second-price

                  auction. 9/19/24 AM Tr. 56:9-20 (Simcoe); see PTX-1035 at -359 (2019

                  Google Presentation titled “Changes to AdManager, AdMob auction”).

          71.6.   Elsewhere in his report, Professor Simcoe also cited a document as evidence

                  that the Unified Pricing Rules led to an increase in AdX impressions of 6.48

                  percent and total revenue of 4.25 percent. When presented with the cited

                  document, Professor Simcoe could not find numbers supporting this claim.

                  9/19/24 AM Tr. 77:17-78:21 (Simcoe).

          71.7.   Adjustment for Quality: According to Professor Simcoe, his research “sits at

                  the intersection of innovation and economics and industrial organization,” so

                  he studies “how economic policy affects the way that firms compete,

                  including through innovation.” 9/18/24 PM Tr. 5:14-20 (Simcoe). Despite




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                   his own professional focus on innovation, Professor Simcoe’s comparables

                   study comparing AdX’s prices to other exchanges’ did not evaluate any of the

                   quality factors that affect exchanges. 9/19/24 AM Tr. 37:24-38:14 (Simcoe).

          71.8.    Definition of “Display Ads”: Professor Simcoe’s definition of “display ads”

                   in his report was at odds with the definition that Plaintiffs’ lead market

                   definition expert, Professor Lee, presented. In a section titled “Display

                   Advertising Basics,” Professor Simcoe defined “display ads” to include ads

                   that appear on “websites, mobile apps, and social media” in formats including

                   native and video. 9/18/24 PM Tr. 47:10-49:14 (Simcoe). Notwithstanding

                   his own definition of “display ads,” Professor Simcoe’s analyses were based

                   on “open-web display impressions” only, which by his own admission “does

                   exclude many of the types of ads that you read.” Id. at 50:1-51:5 (Simcoe)

                   (agreeing that he excluded “some of the formats that you described from the

                   basic section of my report”).

          71.9.    Similarly, Professor Simcoe listed Amazon as an example of an ad exchange

                   in his report, but excluded Amazon from his comparisons of ad exchange

                   pricing. 9/19/24 AM Tr. 35:10-36:5 (Simcoe); see also id. at 36:25-37:6

                   (Simcoe) (admitting that he also listed TripleLift, Kargo, GumGum,

                   MediaNet, Sonobi, BidSwitch, Taboola, SpotX, EMX, and Freewheel as

                   examples of exchanges, but excluded them from his comparables analysis).

          71.10.   Pricing Across the Full Stack: In arriving at his conclusion that Google’s price

                   was too high, Professor Simcoe testified that he would not analyze the price

                   across the full ad tech stack—even though that is the cost that is borne by




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                   publishers and advertisers to facilitate an ad. 9/18/24 PM Tr. 43:23-44:9

                   (Simcoe). Yet, when Professor Simcoe presented to the Court an analysis of

                   the “apportionment of the harm” of AdX’s overcharge, he did analyze the full

                   stack, recognizing that AdX’s price is divided “between AdX’s customers,

                   publishers and advertisers.” 9/18/24 PM Tr. 10:8-12 (Simcoe).

          71.11.   Professor Simcoe claimed that analyzing the price across the entire ad tech

                   stack was like “adding the price of apples and oranges sold by one fruit

                   producer and comparing that sum to the combined price of apples and oranges

                   from another fruit producer.” 9/18/24 PM Tr. 44:22-45:7 (Simcoe). On cross

                   examination, Professor Simcoe admitted that combining the prices of two

                   unrelated products is not a good analogy for analyzing prices across the

                   integrated stack because prices charged across an integrated stack make up

                   one single transaction, whereas “you don’t need an apple to eat an orange.”

                   Id. at 45:5-7 (Simcoe).

          71.12.   Google Ads Customers Multi-Homing: Professor Simcoe presented an

                   analysis of a but-for world in which there “is no exclusivity between Google

                   Ads” and AdX, concluding that without this “tie” advertisers on Google Ads

                   could “multi-home.” 9/18/24 PM Tr. 8:4-14 (Simcoe); 9/19/24 AM Tr. 18:6-

                   13 (Simcoe). As Professor Simcoe acknowledged, his analysis assumed that

                   Google Ads advertisers do not multi-home “with some very minor

                   exceptions.” 9/19/24 AM Tr. 20:2-11 (Simcoe). On cross examination,

                   Professor Simcoe admitted that his assumption is not based on “any study of

                   how advertisers actually multi-home.” Professor Simcoe had not even “tried




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                   to measure the extent of multi-homing by various advertisers.” Id. at 19:1-6

                   (Simcoe). Nor had he ever personally used Google Ads. Id. at 18:21-25

                   (Simcoe).

          71.13.   When pressed on his assumption, Professor Simcoe continued to maintain that

                   Google Ads advertisers “can’t multi-home” “when they’re using Google

                   Ads.”    9/19/24 AM Tr. at 20:12-22 (Simcoe).           Professor Simcoe was

                   confronted with data demonstrating that large companies that purchase

                   advertising do in fact multi-home on Google Ads and other third-party buying

                   tools. DTX-1970A. Though he resisted acknowledging data that contradicted

                   his assumption, Professor Simcoe finally agreed that “large companies that

                   buy ads” using Google Ads can and do multi-home. 9/19/24 AM Tr. 23:15-

                   24:18 (Simcoe) (“Q. So to the extent there’s multi-homing between Google

                   Ads’ advertisers and third-party buying tools, it’s not limited just to very small

                   companies; correct? A. So what I was trying to explain is that— The Court.

                   No. Wait. I’m sorry. That question is very direct. It’s not—the question is

                   whether or not the buying that you’re seeing here is coming from large

                   companies. All right. It’s either yes or no that the companies are large or

                   they’re not large in your view. The Witness: Yes. These are large companies

                   that buy ads.”).

          71.14.   Strategic Complementarity: Professor Simcoe testified on direct examination

                   that his estimates of Google’s overcharge are conservative because of the

                   theory of “strategic complementarity”: “when one firm raises its price, so do

                   the others.” 9/18/24 PM Tr. 31:12-32:4 (Simcoe). On cross examination,




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                      Professor Simcoe admitted he had done no quantitative analysis of strategic

                      complementarity and had not tried to “measure the strength of the strategic

                      complementarities.” 9/19/24 AM Tr. 112:16-113:3 (Simcoe). If anything,

                      Professor Simcoe’s own analyses contradict his theory that other ad tech

                      providers would raise their prices because Google’s price is purportedly high.

                      According to a graph he created, one “particularly large” non-AdX exchange

                      with “many, many more impressions” than others has continued to charge a

                      price “well below” Google’s. Id. at 93:5-16 (Simcoe).

        72.       Professor Gabriel Weintraub: Professor Gabriel Weintraub, professor at the

 Stanford Graduate School of Business, testified on behalf of Plaintiffs as an expert in operations,

 data science, and market design with a focus on digital platforms. 9/16/24 PM Tr. 6:5-11

 (Weintraub); PTX-1779. Professor Weintraub was chief economist to AppNexus, an ad tech

 company, for two years, and has taught courses on online marketplaces for the Stanford Graduate

 School of Business and Columbia Business School. 9/16/24 PM Tr. 5:12-24 (Weintraub); PTX-

 1779 at 5. Professor Weintraub testified to his opinions relating to “the impact of Google’s

 conducts, if any, on market participants with a particular emphasis on estimating, quantifying the

 impact on rival scale.” 9/16/24 PM Tr. 6:13-18 (Weintraub).

              72.1.   Effects of Scale: On direct examination, Professor Weintraub presented an

                      analysis he performed regarding the time required for different ad exchanges

                      to run experiments. 9/16/24 PM Tr. 14:7-15:16 (Weintraub). The data he

                      presented were not based on “an experiment that Google actually ran.” Id. at

                      58:4-9 (Weintraub). The Court stated regarding this analysis: “The problem

                      is that it’s not based on a specific experiment that was done; it’s a




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                  conglomerate of them. And I think that gives it less reliability.” Id. at 108:12-

                  15 (Weintraub).

          72.2.   Effects of Google’s Conduct: To calculate the effects of Google’s conduct on

                  rival exchanges, Professor Weintraub performed two different analyses based

                  on different assumptions. 9/16/24 PM Tr. 30:8-20 (Weintraub). On cross

                  examination, Professor Weintraub admitted that he had presented only the

                  analysis that returned larger numbers for the effects of Google’s conduct, and

                  had not shown in his demonstratives or testified about the other analysis at all.

                  Id. at 66:10-20 (Weintraub). The two analyses returned significantly different

                  numbers—for effects of “last look,” for example, 14.25 percent as opposed to

                  2.25 percent. Id. at 68:4-8 (Weintraub).

          72.3.   Professor Weintraub attempted to harmonize the disparate results returned by

                  his two analyses by testifying that, in his expert report, he had stated that 14.25

                  percent, not 2.25 percent, was the “right” estimate of the effects of “last look.”

                  9/16/24 PM Tr. 68:16-21 (Weintraub). However, his report actually stated

                  that there are reasons to believe any gains to AdX from “last look” “primarily”

                  come at the expense of rival exchanges, not that 14.25 percent is correct. Id.

                  at 69:20-70:2.

          72.4.   Display Advertising Ecosystem: During cross-examination, Professor

                  Weintraub was presented with a figure from his expert report, which he had

                  described in his report as follows: “I provide a simplified illustration of the

                  buy-side and sell-side of the ad tech ecosystem in Figure 1 that follows.”

                  9/16/24 PM Tr. 110:21-24 (Weintraub); see Weintraub DX 1. When asked if




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                     he “created” this chart, Professor Weintraub testified that he did not

                     “personally” create it and did not remember “the details of the entire process

                     on how” the chart came to be included in his report. Id. at 111:12-112:3

                     (Weintraub).

 IX.    Google Witness Testimony Concerning Plaintiffs’ Motion for Adverse Inference

        73.     Before trial, Plaintiffs filed a motion seeking an adverse inference that they

 characterized as seeking relief on the basis of allegedly “spoliated chats.” ECF No. 1116 at 3. The

 next section describes testimony relevant to the allegations in Plaintiffs’ motion, which

 encompassed multiple topics in addition to allegedly “spoliated chats.”

        74.     Beginning in November 2019, Google issued legal holds to employees following

 its receipt of a Civil Investigative Demand from the United States Department of Justice. ECF

 No. 1169, Appendix A. When Google employees received legal holds in connection with this

 matter, they were instructed to save all substantive conversations relating to the topic of the legal

 hold. 9/11/24 AM Tr. 89:14-17 (Bender). Google produced in camera to the Court the legal holds

 issued to the current and former Google employees that testified in this case. The Court observed

 after reviewing the legal holds: “I do agree that the amount of detail that’s in those holds—first

 of all, I can assure the government, they were very thorough. They said everything, everything,

 everything needs to be turned over.” 9/12/24 PM Tr. 174:25-175: 15.

        75.     One form of communication that some Google employees used for their work was

 a Google Chat tool. 9/18/24 AM Tr. 25:13-18 (Spencer). Chat conversations could be either

 “history on” or “history off.” Id. at 25:20-25 (Spencer). If the Chat setting was “history on,” the

 conversation would be preserved for 30 days. ECF No. 1203-8, 1203-9. If the Chat setting was

 “history off,” the Chat would be deleted after 24 hours. 9/18/24 AM Tr. 26:1-3 (Spencer); see also




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 ECF No. 1203-8, 1203-9. When Google employees received legal holds in connection with this

 litigation, they were instructed to save all substantive Chat conversations by making “sure the

 settings preserve the messages,” such as “switching to history on for chat.” 9/13/24 AM Tr.

 120:16-21 (LaSala); see also 9/11/24 AM Tr. 89:14-17 (Bender) (litigation hold “said if you

 engage in substantive conversation, then you should save” the chat).

        76.      As established by the testimony of multiple Google witnesses at trial, most Google

 employees did not use Chat conversations for substantive discussion.

              76.1.   Bender: “In general, I wasn’t engaging in substantive conversations over chat.

                      And so the way I would use chat, because we were geographically dispersed,

                      it’s more like bumping into someone in the hall and saying, hey, we should

                      talk.” 9/11/24 AM Tr. 89:2-13 (Bender).

              76.2.   LaSala: “I used chat more for hallway-like conversations. Like, I used it as

                      an environment where—an environment where we would sort of exchange

                      ideas, and you know, shoot the, you know, so-to-speak.” 9/13/24 AM Tr.

                      129:185-130:21 (LaSala). “Chat was, like, mostly quick hit sort of things.”

                      Id. at 130:5-17 (LaSala).

              76.3.   Jayaram: Acknowledging that there may have been “some substantive chats,”

                      Jayaram testified that his “regular use of chats was for logistical purposes,”

                      such as “coordinating with the teams and so on and so forth.” 9/17/24 AM

                      Tr. 102:16-103:9 (Jayaram).

              76.4.   Spencer: “My general practice was not to use chats for substantive

                      conversations.” 9/18/24 AM Tr. 26:23-27:5 (Spencer).




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              76.5.   Pappu: “Chat was more chitchat,” and “ad hoc chats . . . are informal kind of

                      not super relevant in some sense.” 9/18/24 AM 204:13-205:16 (Pappu).

        77.      To the extent that Google employees did regularly use Chat conversations to

 discuss substantive topics, they tried in good faith to follow Google’s instructions to turn history

 on for substantive conversations.

              77.1.   Korula: “Q. And this chat includes discussion of substantive issues, not merely

                      something like scheduling a meeting; correct? A. That’s right. Q. You

                      actually turned history on; is that right? A. In this chat? Q. In general. A.

                      Oh. Generally speaking, I have done, particularly after receiving a litigation

                      hold notice.” 9/23/24 AM Tr. 136:6-14 (Korula).

              77.2.   LaSala: “I tried my hardest” to turn history on for substantive Chat

                      conversations after receiving a legal hold. 9/13/24 AM Tr. 139:20-140:4

                      (LaSala).

        78.      Google witnesses confirmed that, consistent with Google’s legal hold instructions

 to preserve all documents, they did not act with intent to deprive Plaintiffs, or anyone else, of

 substantive information.

              78.1.   Bender: When asked about a 2016 Chat conversation that long predated any

                      legal hold or obligation to preserve in this case, Bender testified that he had

                      no intent “to keep the subject of the chat away from regulatory scrutiny or

                      investigative discovery.” 9/11/24 AM Tr. 70:23-71:2 (Bender).

              78.2.   Srinivasan: Srinivasan testified that “the intent behind” him reminding other

                      Google employees about Google’s Communicate With Care policy was to




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                      “make sure we frame our intent accurately.”3 9/12/24 AM Tr. 152:2-8

                      (Srinivasan). Internal Google documents about the Communicate with Care

                      policy state the same goal. E.g., PTX-850 at -663 (“To help ensure that what

                      we write accurately reflects our intent, here are a few quick guidelines.”);

                      PTX-1777 at -850 (“This is not about ‘hiding stuff’ or not pointing out

                      something that may need fixing. Speaking up is a core company value.”).

              78.3.   LaSala: LaSala admitted that, in “unusual” instances, he may have made a

                      mistake and not turned history on for a substantive Chat conversation after

                      receiving a legal hold because he was trying to “do things in a way that were

                      different than how I had done them for a decade.” 9/13/24 AM Tr. 138:2-

                      140:4 (LaSala). But he “tried [his] hardest not to” make any mistakes: “To

                      the extent I made a mistake a couple times, it was not intentional. It was not

                      to hide anything. It was to—everything was written down everywhere.” Id.

                      at 139:10-19 (LaSala).

        79.      To the extent that any Google employees made a mistake and did not comply with

 legal hold instructions to turn history on for a substantive Chat conversation, the substance of that

 Chat conversation would very likely have been memorialized in a different document or

 communication that would have been preserved.




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   Plaintiffs asked two witnesses whether they were ever told that disciplinary action could be taken
 if they did not follow Communicate with Care guidelines. Both repeatedly testified they could not
 recall receiving such an instruction. 9/12/24 AM Tr. 104:14-17 (Srinivasan); 9/23/24 AM Tr.
 167:11-14, 168:14-169:20 (Korula)


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              79.1.   Bender: “It’s possible that” Bender used a Chat conversation for a substantive

                      purpose, but “likely we would have moved those to another form factor, such

                      as a meeting, a document or an email.” 9/11/24 AM Tr. 31:12-16 (Bender).

              79.2.   LaSala: Compared to Chat, which was “mostly quick hit sort of things,”

                      “email was like reasonably well thought out still could be wonky, sloppy. And

                      then documentation would be the most thoroughly constructed.” 9/13/24 AM

                      Tr. 129:15-130:21 (LaSala). As the Court confirmed, documentation referred

                      to “a standalone document,” “like a slide deck or a Word document.” Id.

                      130:5-17 (LaSala); see also id. at 131:7-21 (LaSala) (the Court noting that

                      LaSala testified at his deposition that “the more structured I thought something

                      needed to be, I would drop it into an email or document”).

              79.3.   LaSala also testified: “We documented—I think it’s proved by all of this—

                      every decision that we made. The lead-up debating to the decision, the actual

                      decision, the implementation plan with the decision. The one thing I do

                      know is that we were really good at documenting and debating.” 9/13/24

                      AM Tr. 138:2-139:19 (LaSala). As he continued: “Everything was written

                      down everywhere.” Id. (LaSala).

        80.      Google employees received “Communicate with Care” training, and none of the

 Google witnesses who testified at trial recall being told in the course of that training that they

 should label sensitive information as “privileged and confidential.”

              80.1.   Bender: Bender, when asked whether “the instructions you got through

                      Communicate With Care was to mark things as confidential and privileged for

                      sensitive topics,” responded: “As far as I recall, it would have been largely




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                  in two buckets. One is if you have a question for a lawyer, you would try to

                  ensure that the appropriate lawyer was on the email, and insofar as that was

                  legal kind of communication, that would be privileged. There were other

                  cases when there was work product that was directed by the legal team, and

                  that would be another case where I think attorney/client privilege would have

                  been warranted.” 9/11/24 AM Tr. 78:14-25 (Bender).

          80.2.   Mohan: Mohan generally labeled communications as privileged only if “there

                  might be a question that might come up that might be a legal related question

                  or what have you.” 9/16/24 AM Tr. 122:16-123:4 (Mohan).

          80.3.   Jayaram: Jayaram denied receiving training that he should “copy lawyers on

                  sensitive business communications and write privileged and confidential.”

                  9/17/24 AM Tr. 100:4-100:22 (Jayaram) (“No, that’s not how I remember the

                  training.”).

          80.4.   Bellack: Bellack labeled an email forwarding a news article to a lawyer as

                  privileged and confidential because he “wanted Sara” (the lawyer) “to be

                  aware of this article.” 9/19/24 AM Tr. 128:10-129:7 (Bellack). Bellack

                  copied a lawyer into another email because he “wanted Ted’s” (the lawyer’s)

                  “point of view on this discussion because it was discussing pricing which

                  relates to contracts, and, therefore, might have had a legal implication.” Id. at

                  129:25-130:22 (Bellack). As Bellack explained, he “had worked with Ted for

                  a long time by now. I think saying ‘bringing Ted into this for the legal POV’

                  was a shorthand way of saying, hey, Ted, what do you think about this email?”

                  Id. (Bellack).




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        81.      Google employees were aware that they played no role in deciding whether

 documents they labeled “privileged and confidential” would be withheld from production in an

 investigation or litigation; nor did they change their practices regarding use of the “privilege and

 confidential” label after receiving a litigation hold.

              81.1.   Korula: “Q. When you received a litigation hold in this matter, did you change

                      your practices with respect to attorney/client privilege? A. No, I don’t believe

                      that I did. Q. Did you ever mark a document or communication attorney/client

                      privilege in order to keep that document from being used in litigation against

                      Google? A. I did not. And it’s my understanding that my marking such a

                      document wouldn’t affect whether it was disclosed or not.” 9/23/24 AM

                      176:11-20 (Korula).

              81.2.   Jayaram: “Q. Now, Mr. Jayaram, do you have anything to do with what

                      remains redacted, what is actually withheld on the basis of privilege versus

                      what’s produced? A. No. Q. Again, are you an engineer? Yes.” 9/17/24

                      PM Tr. 43:15-20 (Jayaram).

        82.      Consistent with the nature of privilege determinations, Google attorneys assessed

 whether each document was privileged based on applicable legal standards for what constitutes an

 attorney-client communication or attorney work product—not based on whether a non-lawyer had

 labeled a document as “privileged and confidential.” As a result, Google produced to Plaintiffs

 numerous documents labeled by non-lawyers as “privileged and confidential,” including a number

 of documents that were then introduced as exhibits at trial. E.g., DTX-184, DTX-549, PTX-699,

 DTX-829, PTX-715, PTX-719, PTX-734, PTX-784, PTX-791, PTX-815, PTX-819, PTX-864,

 PTX-884, PTX-929, PTX-1507.




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  Dated: November 4, 2024              Respectfully submitted,


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